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   November, 2004 - Into the hot zone at the Second Battle
   of Fallujah
   By Pablo Villa   June 7, 2019




                                             [https://api.army.mil/e2/c/images/2016/11/21/457807/original.jpg]

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   Staff Sgt. David Bellavia was bleary eyed. He had been awake nearly 48 hours, denied sleep by a cacophony of sporadic
   gunfire aimed at him and his platoon as they made their way through the streets of Fallujah, Iraq. He had already seen
   his sergeant major, company commander and executive officer cut down by enemy fire, forcing him to assume command
   of A Company, Task Force 2-2, 1st Infantry Division.


   Now he was feet away from the front door of a house along an abandoned block in the city of 350,000. His Soldiers had
   searched nine houses along the street looking for six to eight insurgents that intelligence reports suggested were in the
   area. It was Nov. 10, 2004, Bellavia's 29th birthday. What he unwrapped upon opening the doors to that 10th house
   would etch his name into history as a recipient of the Silver Star, the nation's third highest decoration for valor in
   combat.


   "I have had better birthdays, for sure," Bellavia told the Military Channel in 2009.



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   Bellavia's men were mired in the opening stages of the Second Battle of Fallujah. Also known as Operation Phantom
   Fury, the operation was a joint effort by American, Iraqi and British forces to drive out the Iraqi insurgency in the city. It
   began Nov. 7, 2004, and ended more than six weeks later on Dec. 23. The effort was led by the U.S. Marine Corps and
   was the bloodiest battle of the Iraq war.


   The impetus for the battle began in March when four American private military contractors from Blackwater USA were
   ambushed and killed in Fallujah. U.S. Marine forces launched Operation Vigilant Resolve to take the city back from
   insurgents. The operation ended in late April with the formation of the Fallujah Brigade, a unit composed of Iraqis, which
   was charged with keeping insurgents out of the city. But insurgent strength did not wane. On Sept. 24, 2004, a senior
   U.S. official told ABC News that catching Abu Musab al-Zarqawi, who was said to be operating in the city, was "the
   highest priority."


   The insurgents holding Fallujah were formidable. They had interpreters, combat cameramen and were well-trained. But
   Bellavia's unit was battle-hardened, too. By the time they arrived on the city's outskirts, the 1st ID had been in Iraq for 10
   months and had been involved in every major battle in the war up to that point. The pair of hard-nosed contingents
   clashed immediately when the door of that 10th house opened.


   "They just opened up on us with belt-fed machine guns," Bellavia said.


   The insurgents were entrenched in a makeshift pillbox under a set of stairs. Bellavia seethed when he heard the
   anguished screams of his fellow Soldiers as they were wounded.

   "I wanted that revenge. I wanted to be that leader that I promised I would be," he said. "A light switch went off."


   According to his Silver Star citation, Bellavia, armed with an M249 Squad Automatic Weapon gun, entered the room
   where the insurgents were holed up and sprayed it with gunfire, forcing the enemy to take cover and allowing the squad
   to move into the street. While the Americans took fire from various vantage points inside the house, Bellavia called in a
   Bradley Fighting Vehicle to shell the houses.


   During a lull in the fire, Bellavia approached the house again and observed an insurgent loading a rocket-propelled
   grenade launcher. Bellavia promptly shot him and charged into the house. A second insurgent fired at him, and Bellavia
   wounded him in the shoulder. When he entered a bedroom, the wounded insurgent followed, forcing Bellavia to shoot
   him. When another insurgent began firing from a floor above, Bellavia returned fire and killed him. A fourth insurgent
   then emerged from a closet in the bedroom, yelling and firing his weapon as he leaped over a bed trying to reach
   Bellavia. The insurgent tripped and Bellavia wounded him. Bellavia chased the insurgent as he ran upstairs.

   He followed the wounded insurgent's bloody footprints to a room on the landing and threw in a fragmentation grenade.
   Upon entering the room, Bellavia discovered it was filled with propane tanks and plastic explosives. He did not fire his
   weapon for fear of setting off an explosion and instead engaged in hand-to-hand combat with the insurgent, fatally
   stabbing him in the neck.


   At this point, five members of the platoon entered the house and took control of the first floor. Before they could go
   room by room clearing the structure, however, they were ordered to move out of the area because close air support had
   been called in by a nearby unit.


   Years later, Bellavia recalled his actions as reactionary.
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   "It was survivability," he said. "This is what we were destined to do. In the moment that's very much rational."


   Bellavia left the service after six years in 2005 as a staff sergeant. He co-founded Vets for Freedom and served as vice
   chairman. He attended the 2006 State of the Union address as an honored guest. He currently is president of EMPact
   America, an American energy resiliency organization based in Elma, New York. He is married and has three children.


   In 2007, he published a memoir, "House to House: An Epic Memoir of War," co-written with John R. Bruning. In
   September 2010, the book was selected as one of the top five best Iraq War memoirs by journalist Thomas Ricks (author
   of "Fiasco"). In 2012, Bellavia signed an agreement with 2012 Oscar-winning producer Rich Middlemas to make his
   memoir into a major motion picture. Along with the Silver Star, Bellavia also was awarded the Bronze Star, three Army
   Commendation Medals, two Army Achievement Medals and the New York State Conspicuous Service Cross. He was also
   nominated for the Medal of Honor.


   Most of the fighting in the Second Battle of Fallujah subsided by Nov. 13. U.S. Marines continued to face isolated
   resistance from insurgents hidden throughout the city. By Nov. 16, after nine days of fighting, the Marine command
   described the action as mopping up pockets of resistance. Sporadic fighting continued until Dec. 23. By late January
   2005, news reports indicated U.S. combat units were leaving the area, and were assisting the local population in
   returning to the now heavily-damaged city.


   Related Links:
   NCO Journal [http://ncojournal.dodlive.mil/2016/11/17/this-month-in-nco-history-nov-10-2004-into-the-hot-zone-at-the-second-
   battle-of-fallujah/]


   Army.mil: Worldwide News [http://www.army.mil/news]




https://www.army.mil/article/178601/november_2004_into_the_hot_zone_at_the_second_battle_of_fallujah                   PX285            3/3
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                                                                                                        Governance, Identity, and Counterinsurgency: Evidence From Ramadi and Tal Afar
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                                                                                                                                                                                          GOVERNANCE, IDENTITY, AND
                                                                                                                                                                                          COUNTERINSURGENCY:
                                                                                                        Michael Fitzsimmons


                                                                                                                                                                                          EVIDENCE FROM RAMADI AND TAL AFAR
                                                                                                                                                                                          Michael Fitzsimmons                              U.S. ARMY WAR COLLEGE




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                 GOVERNANCE, IDENTITY,
                AND COUNTERINSURGENCY:
           EVIDENCE FROM RAMADI AND TAL AFAR



                           Michael Fitzsimmons



                                  March 2013


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             I am grateful to everyone I interviewed for the case studies in
        this monograph. Without exception, the interviewees were gen-
        erous with their time and candid in their descriptions of their
        experiences in Iraq.
             This work was completed as part of a doctoral dissertation
        at the University of Maryland. Thanks go to the Center for Inter-
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             I also thank the Institute for Defense Analyses, which pro-
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        my own and should not be attributed to IDA or its sponsors.
             Finally, I thank my family and friends, especially my wife
        Caitlin. I dedicate this work to my parents, Ed and Colleen




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         Fitzsimmons, on whose shoulders I stand every day. I owe much
         of what made this work possible to them: a love of learning, a
         concern for the public interest, and the fortitude to see a difficult
         task through.

                                         *****

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                             FOREWORD

             With the last departure of U.S. combat forces from
         Iraq in 2011 and a drawdown in Afghanistan already
         underway, the current era of American counterinsur-
         gency may be coming to a close. At the same time, ir-
         regular threats to U.S. national interests remain, and
         the future may hold yet more encounters with insur-
         gents for the U.S. military. Accordingly, the latest
         Defense strategic guidance has called on the Depart-
         ment of Defense (DoD) to “retain and continue to
         refine the lessons learned, expertise, and specialized
         capabilities” from the wars in Iraq and Afghanistan.
             This monograph is a contribution to this ongoing
         effort to institutionalize the military’s understanding
         of counterinsurgency, building on its hard-won recent
         experience. Michael Fitzsimmons examines two case
         studies drawn from some of the darkest months of
         conflict in Iraq to illuminate an important refinement
         of traditional counterinsurgency theory and doctrine:
         that when it comes to building legitimacy, “good gov-
         ernance” may take a back seat to the politics of ethnic
         and religious identity. Dr. Fitzsimmons’s use of com-
         parative case studies and a simple framework for sys-
         tematically reviewing evidence accumulated through
         first-hand accounts of strategy, operations, and tac-
         tics, should serve as a compelling model for what will
         likely be many studies in the years to come of the U.S.
         military’s experiences in Iraq and Afghanistan.

            			

            			 DOUGLAS C. LOVELACE, JR.
            			Director
            			 Strategic Studies Institute and
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         Fitzsimmons has also worked extensively on issues
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         Maryland.




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                              SUMMARY

              The premise of most Western thinking on counter-
         insurgency is that success depends on establishing a
         perception of legitimacy among local populations. The
         path to legitimacy is often seen as the improvement of
         governance in the form of effective and efficient ad-
         ministration of government and public services. How-
         ever, good governance is not the only possible basis
         for claims to legitimacy. This monograph considers
         whether, in insurgencies where ethno-religious iden-
         tities are politically salient, claims to legitimacy may
         rest more on the identity of who governs, rather than
         on how those people govern. Building on a synthe-
         sis of scholarship and policy regarding insurgencies
         and counterinsurgencies, the politics of ethnic iden-
         tity, governance, and legitimacy, the author presents
         an analytic framework for examining these issues and
         then applies that framework to two detailed local case
         studies of American counterinsurgency operations in
         Iraq: Ramadi from 2004-05; and Tal Afar from 2005-
         06. These case studies are based on primary research,
         including dozens of interviews with participants and
         eyewitnesses.
              In Ramadi, identity politics clearly trumped qual-
         ity of governance in shaping the course of events. The
         grievances that fueled the insurgency had far more to
         do with a deep sense of disenfranchisement within
         Iraq’s Sunni community and the related fear of sectar-
         ian persecution than it did with any failure in the gov-
         ernment’s performance. As a result, the evidence from
         this case points toward major limits to how much pop-
         ular loyalty and legitimacy could be won through the
         improvement of governance. Other factors—namely
         security itself and identity-based concepts of legiti-


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         mate rule (both tribal and sectarian)—appeared more
         decisive during the time of the case study. Moreover,
         the tribal “Awakening” movement that took hold in
         Ramadi the following year strongly supports this in-
         terpretation of events. The Awakening seems to have
         stemmed from two key changes in Ramadi and its sur-
         rounding Anbar province. First was the exhaustion of
         the population with violence and terror at the hands
         of Islamic extremists in their midst. Second was a new
         willingness of the Coalition to recognize the legiti-
         macy of local tribal rule in spite of the sectarian ten-
         sion this rule introduced between local and national
         sovereignty.
             Tal Afar’s story is quite different, but suggests a
         similar conclusion. While the quality of governance
         mattered in the way both the population and the coun-
         terinsurgents perceived legitimacy, improvements in
         governance in Tal Afar were more a consequence than
         a cause of successful counterinsurgency. Without both
         the U.S. Army’s dense presence in the city and its in-
         tensive focus on brokering compromises among the
         city’s largely sectarian tribal conflicts, improvements
         in governance likely would never have taken root.
         Governance and political compromise between sec-
         tarian groups clearly reinforced each other there, but
         interviews with participants in the counterinsurgency
         in Tal Afar suggest that improvements in governance
         were of secondary importance in reducing violence in
         the city.
             The cases examined here yield ample evidence that
         ethno-religious identity politics do shape counterin-
         surgency outcomes in important ways, and also offer
         qualified support for the argument that addressing
         identity politics may be more critical than good gov-
         ernance to counterinsurgent success. However, the


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         cases do not discredit the utility to counterinsurgents
         of providing good governance, and they corroborate
         the traditional view that population security is the
         most important element of successful counterinsur-
         gency strategy. Key policy implications include the
         importance of making strategy development as sensi-
         tive as possible to the dynamics of identity politics,
         and to local variations and the complexity in causal
         relationships among popular loyalties, grievances,
         and political violence.




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             If you’re not confused, then you don’t know how com-
         plex the situation is.

                                  Lieutenant General Jim Mattis
                                  United States Marine Corps,
                                  Anbar Province, April 20041

             It is so damn complex. If you ever think you have the
         solution to this, you’re wrong, and you’re dangerous.

                                  Colonel H. R. McMaster
                                  U.S. Army,
                                  Tal Afar, February 20062




              1. Thomas E. Ricks, Fiasco: The American Military Adventure in
         Iraq, New York: Penguin Press, 2006, p. 343.

             2. George Packer, “Letter from Iraq: The Lessons of Tal Afar,”
         The New Yorker, April 10, 2006, p. 57.



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                               CHAPTER 1

           ANALYZING GOVERNANCE AND IDENTITY
             POLITICS IN COUNTERINSURGENCY

         INTRODUCTION

              This monograph1 was born of an attempt to make
         sense of two strong but somewhat contradictory in-
         tuitions about counterinsurgency. The first intuition
         is captured by an Iraqi Sunni tribal leader’s comment
         that Iraq’s Shi’a Muslims “cannot take charge of Iraq
         in the same manner as the Sunnis. The [Shi’a] are back-
         wards. They are barbarian savages. . . .”2 From this per-
         spective, in civil conflict it matters who is in charge,
         and the ability of any party to succeed—insurgent or
         counterinsurgent—is at least partly a function of who
         they are, not just how they behave. Clearly, conflict
         is often rooted deeply in the politics of group identi-
         ties and in such cases, the principal objective of the
         insurgents may be to overturn rule by some “other”
         group. In such a case, settling the conflict over identity
         politics would become one of the keys to resolving the
         broader conflict.
              But the second intuition is that what most people
         want overwhelmingly is just a peaceful life where they
         can work, raise their children, provide for their fami-
         lies and have a society that functions and provides
         them the security and essential services that they need.
         Again, an example from Iraq illustrates the point. A
         woman in Baghdad told a reporter, “We want secu-
         rity and we want stability. Anyone who comes along
         is fine as long as he brings security and stability.”3 Or
         as an American Soldier put it, “He who is able to fix
         the public utilities holds the keys to the kingdom in


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         terms of winning the support of the Iraqi people and
         ultimately ending this conflict.”4 By this way of think-
         ing, resolving the conflict in insurgencies is all about
         establishing good governance. If the counterinsurgent
         can manage to give people a good life, they will have a
         stake in the status quo and will abandon their support
         for the insurgents who threaten that status quo.
             Each of these two intuitions implies a priority for
         counterinsurgency strategy. If people fight over eth-
         nic or religious identity, then counterinsurgents must
         get the incumbent political system to deal effectively
         with the distribution of power across those groups. If
         people fight over provision of basic governance, then
         counterinsurgents must ensure that they are capable
         of “outgoverning” their insurgent opponents. While
         both of these intuitions can be valid to some degree,
         they are also not entirely compatible with each other.
         If different groups of people under a common system
         really oppose each other for who they are, or conceive
         of their political interests within ethnically-defined
         boundaries, then how much should a counterinsur-
         gent expect to achieve by making the electricity and
         the sewers work, and by providing employment?
         Conversely, if all people want is a peaceful, comfort-
         able life, why have ethnic and religious group loyalties
         seemed so often to have subverted counterinsurgents’
         attempts to improve governance in conflict-stricken
         lands?
             The recent wars in Iraq and Afghanistan have
         made the tension between these intuitions increasing-
         ly evident in American counterinsurgency policy and
         military doctrine. The counterinsurgency field manual
         published by the U.S. Army and Marine Corps in De-
         cember 2006 states that “The primary objective of any
         counterinsurgent is to foster the development of ef-


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         fective governance by a legitimate government.”5 This
         judgment is in keeping with a conventional wisdom
         about counterinsurgency strategy that has accumu-
         lated over several decades of war and scholarship. Its
         premise, like that of most Western thinking on coun-
         terinsurgency, is that success depends on establishing
         a perception of legitimacy for the ruling regime in
         some critical portion of the local population. Among
         the mechanisms available to counterinsurgents for es-
         tablishing that legitimacy, the most prominent in both
         practice and doctrine has been the improvement of
         governance in the form of effective and efficient ad-
         ministration of government and public services. Good
         governance, by this logic, is the key to “winning hearts
         and minds.”6
             Beginning in 2003, the U.S. struggle to manage ex-
         panding sectarian civil conflict in Iraq began to call
         this traditional logic into question. As Central Intel-
         ligence Agency (CIA) Director Michael Hayden told
         the Iraq Study Group in December 2006:

            The current situation, with regard to governance in
            Iraq, was probably irreversible in the short term, be-
            cause of the world views of many of the [Iraqi] gov-
            ernment leaders, which were shaped by a sectarian
            filter and a government that was organized for its eth-
            nic and religious balance rather than competence or
            capacity. . . . The Iraqi identity is muted. The Sunni or
            Shi’a identity is foremost.7

             What the Iraqi experience was suggesting was
         that good governance is not the only plausible basis
         for claims to legitimacy among contending political
         factions, especially in environments where ethnic or
         religious identities are politically salient. Instead, per-
         haps in such conflicts, claims to legitimacy may rest


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         primarily on the identity of who governs, rather than
         on how they govern.
             In this light, is good governance even necessary to
         defeat insurgencies in cases like Iraq? Or, to formulate
         the question more precisely: In the presence of major
         ethno-religious cleavages, does good governance contribute
         much less to counterinsurgent success than efforts toward
         reaching political agreements that directly address those
         cleavages?
             This is the question this monograph will address.
         Its focus in marshalling evidence to help answer the
         question is on two detailed local cases of American
         counterinsurgency operations in Iraq: in Ramadi from
         2004-05; and in Tal Afar from 2005-06. This introduc-
         tory chapter provides some context for analysis in
         three dimensions:
             •	A summary of scholarship and policy regard-
                 ing governance, identity politics and counter-
                 insurgency;
             •	 An analytic framework for organizing case
                 study evidence, and a discussion of method-
                 ological challenges inherent in the subject;
             •	An explanation for the choice of case studies.

         Conceptual and Historical Perspectives on
         Governance, Identity, Politics, and
         Counterinsurgency.

             Understanding the roots of modern counterin-
         surgency strategy as practiced by the United States
         and its allies requires careful synthesis of ideas and
         empirical insights from a wide range of academic dis-
         ciplines and historical experiences that bear on the
         complex interactions among concepts of legitimacy,
         governance, and political violence. The central ques-


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         tion posed by this analysis demands the addition of
         theories and history related to ethno-religious identity
         and conflict to the list.
              An earlier article attempted to provide just such a
         synthesis of prior analysis and experience, and so this
         monograph will not devote much space to a detailed
         examination of these conceptual foundations.8 That
         article established a few important premises, which
         can be summarized as follows.
              Recent policy and strategy for counterinsurgency
         in the United States strongly reflect conventional wis-
         dom forged in the 1950s and 1960s in response to for-
         mative experiences in that era, the heyday of Maoist
         people’s wars, modernization theory, and Cold War
         great power competition. In particular, conception of
         counterinsurgency as a competition of governance be-
         tween insurgents and counterinsurgents is based on
         materialistic views of social welfare, justice, and legiti-
         mate authority from that era that are not universally
         held. The resulting prescription for counterinsurgents
         of winning hearts and minds, while rhetorically flex-
         ible enough to transcend narrow interpretation, is,
         historically speaking, firmly rooted in the mid-20th
         century intellectual tradition of the Cold War and
         decolonization.
              It is also important to note that both the compet-
         ing liberal and the communist sides of this intellectual
         tradition are relatively insensitive to the divisive po-
         tential of ethnic and religious identity politics in civil
         conflicts. This is true partly for diametrically opposed
         reasons: a normative emphasis on political pluralism
         in the liberal case, and a dedication to a singular cos-
         mopolitan set of values in the communist case. But
         it is also partly true for a common reason: the mate-
         rialist conception of legitimacy noted above, which


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         leaves little room for consideration of differing ethno-
         religious claims to legitimate political authority.
             Nevertheless, despite the marginal role that iden-
         tity politics have played in shaping ideas about coun-
         terinsurgency, a substantial body of scholarship from
         the past few decades establishes that conflicts where
         ethnic and religious identities are politically salient
         have different dynamics than other conflicts. Experi-
         ences in Iraq and Afghanistan have prompted a fresh
         appreciation for the importance of this factor in coun-
         terinsurgency, thus making it ripe for systematic eval-
         uation, especially given the new wealth of empirical
         evidence emerging from recent battlefields.

         Methodological Considerations and an Analytic
         Framework.

             Counterinsurgency and the politics of ethnic iden-
         tity clearly pose formidable analytical challenges.
         Relevant variables are legion, their interactions are
         complex, their descriptions subjective, and their asso-
         ciated data messy. As with other complex phenomena,
         great simplifications are sometimes necessary to make
         a given problem analytically tractable. The trick is to
         create a depiction of the world that is simple enough
         to make data available, questions coherent, and an-
         swers comprehensible, but no simpler than that.
             The first step in this direction is to examine the
         basic causal logic usually hypothesized between
         counterinsurgency strategies and the ultimate defeat
         of insurgents. In the most general sense, counterin-
         surgency strategy can be divided into two classes of
         activities: improving governance and providing secu-
         rity. The U.S. Government’s Counterinsurgency Guide
         frames the problem of counterinsurgency strategy


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         this way: “Effective COIN [counterinsurgency] . . . in-
         volves a careful balance between constructive dimen-
         sions (building effective and legitimate government)
         and destructive dimensions (destroying the insurgent
         movements).”9 As political scientist D. Michael Shafer
         describes this logic, “[American counterinsurgency]
         doctrine emphasizes development and security. . . .
         Without security, so the argument goes, development
         is impossible; without good government and econom-
         ic progress, efforts to maintain it will be bootless.”10
              Figure 1-1 outlines this logic, with events labeled
         A-H and causal processes labeled 1-9. In event A,
         counterinsurgents attempt to improve governance
         through the variety of mechanisms discussed in the
         definition above. At the same time, they also conduct
         traditional security operations, including both police
         and military operations (event C). If improvements in
         governance occur (event B via processes 1 and 2), then
         this should win popular loyalty and support for the
         government and thereby decrease popular support
         for the insurgency (event D). This should then cause
         the insurgency to decline (event G) both directly, as
         it is denied safe havens and recruits (process 5), and
         indirectly, as the population grows more cooperative
         with counterinsurgent security operations (events E
         and F and processes 6-8). Finally, the declining insur-
         gency eventually results in a stable peace (process 9
         and event H). This, in essence, is the conventional ex-
         planation offered by much of the academic literature
         and operational doctrine on counterinsurgency for an
         observed correlation between events A (attempts to
         improve governance) and H (a resulting stable peace).




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                    Figure 1-1. Basic Causal Logic of
                      Counterinsurgency Strategy.

              If, however, we observe A but do not observe any
         evidence of H over time, we can infer that one or more
         of the causal processes in this chain has not operated
         as hypothesized. Specifically, what might those break-
         downs be? Possibilities could be found in any one of
         the processes depicted in Figure 1-1, but this study
         focuses particular attention on process number 3: the
         mechanism that translates improved governance into
         shifting loyalties among the affected population. For it
         is here that legitimacy is widely believed to reside and
         to operate as a key instrument of the counterinsurgent.
         It is here that conflicts involving identity may subvert
         the intended effects of improvements in governance
         on popular support for the insurgency.
              One of the principal problems with legitimacy as
         an analytic construct, of course, is that it is an abstrac-
         tion, and therefore very difficult to observe. A little
         like dark matter in astrophysics, it is recognizable pri-
         marily through its imputed effects. In the model de-
         picted here, these effects would be visible in events E,
         G, and ultimately H. But this indirect inference of the
         causal role of legitimacy is problematic because each
         of these signal events (E, G, and H) can also be caused


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         by events C, E, and F. Moreover, events C, E, and F
         can plausibly operate without significant contribution
         from the chain of legitimacy building, events A, B, and
         D. For this reason, we cannot necessarily infer a causal
         relationship between events A and H, even when they
         correlate.
             In fact, the conceptual challenge here is even thorn-
         ier than this problem with legitimacy implies. An ad-
         ditional complication arises from the fact that security
         is both an important input and an important output of
         any counterinsurgency strategy. This has two trouble-
         some logical implications.
             First, “Stable peace” (event H) may sometimes be
         difficult to distinguish from the security operations
         depicted here as event C. Sharp reductions in the
         magnitude and frequency of insurgent violence rep-
         resent probably the clearest available indicator of the
         overall success of a counterinsurgent effort. But such
         reductions can often be provided fairly readily, if only
         temporarily, with sufficient quantities of patrols by
         police or military forces. This kind of militarized se-
         curity could hardly be described as a successful coun-
         terinsurgency, however. The real measure of success
         would have to be the relative absence of violence cou-
         pled with much smaller levels of force. Political sci-
         entist Jeffrey Race refers to these two different types
         of security as tactical and strategic security, respec-
         tively.11 Distinguishing between the two empirically
         is certainly feasible, but it requires both explicit collec-
         tion and interpretation of the data in these terms, and
         a considerable degree of subjectivity in the interpreta-
         tion of the events.
             The second logical implication, following from the
         first, concerns process number 2 in Figure 1-1. This re-
         flects the fact that improvements in security are likely


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         to help allow improvements in governance in addition
         to, or instead of, the other way around. If an observed
         improvement in security could, in fact, be either event
         C or event H, then we cannot be sure whether event
         B is actually a cause of improved security or an effect.
         This potential for confusion about cause and effect
         is not simply a methodological problem. It is an op-
         erational problem that strikes at the heart of strategy
         and decisionmaking. As one reporter described this
         problem in relating the struggles of an American pro-
         vincial reconstruction team in Baqubah, “. . . officials
         seemed unable to agree on whether poor security was
         preventing reconstruction or whether reconstruction
         failures had caused security to erode.”12 In such an en-
         vironment, what is the strategist or the analyst to do?
             The key to better understanding of complex phe-
         nomena such as these is in examining the detailed
         course of events in which the relevant variables inter-
         acted. A focus on this level of detail offers the only
         hope of being able to reliably navigate the ambiguities
         outlined above. An empirical focus on the national
         level, on simply establishing correlations among vari-
         ables, or on achieving a large sample size for statistical
         analysis could not accommodate the interpretive bur-
         den demanded by the dynamics under examination.13
             Moreover, measurement of abstract phenomena
         such as governance, identity, and counterinsurgent
         success is inherently difficult. While no methodologi-
         cal panacea for this challenge exists, it is possible to
         achieve some degree of reliability in such measure-
         ment through the collection of perspectives from di-
         rect observers of and participants in the events. This
         kind of first-hand data is available in a few different
         forms: government and military archival resources
         such as after-action reports, lessons learned, and


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         unit histories; extensive reporting by journalists of a
         diverse range of nationalities and perspectives; and
         interviews with military and civilian personnel who
         have worked in Iraq. This study draws on all three of
         these forms.
             With all of these considerations in mind, the case
         studies presented are organized around a simple ana-
         lytic framework consisting of five questions:
             1. Were ethno-religious identity-based cleavages
         significant?
             2. Was good governance provided?
             3. Were political agreements addressing ethno-
         religious cleavages pursued?
             4. Were good security operations conducted?
             5. Was the counterinsurgency successful?

             Specifically, what does each of these terms mean,
         and what information is required to answer the
         questions?
             Ethno-religious Identity-Based Cleavages: Identities
         of interest here are those that are group-based, relat-
         ed to ethnic or religious affiliations, and manifest in
         political behavior. Hence, the term “ethno-religious”
         describes group identity and behavior associated with
         either ethnicity, religion, or both together.
             Ethno-religious identities are present everywhere,
         but they are not equally politically salient everywhere.
         The term “cleavage” describes the presence of multi-
         ple politically salient ethno-religious identities within
         a single political unit. The term is rooted in theories
         of political sociology that distinguish societies with
         dominant “segmental cleavages” from those with
         dominant “cross-cutting cleavages.”14 With segmen-
         tal cleavages, individuals’ interests across multiple
         domains such as ethnicity, religion, class, profession,


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         region, etc., tend to align in discrete social segments.
         With cross-cutting cleavages, interests which cross
         multiple domains do not align particularly well, thus
         preventing strong linkages between group identity
         and political cohesiveness. The ethno-religious iden-
         tity-based cleavages of interest here are segmental
         cleavages, and thus of high political salience.
             Good Governance: “Good governance” is effective
         and efficient administration of public services and al-
         location of public resources. As such, assessment of
         the quality of governance will focus on issues such
         as economic organization, public health, education,
         the justice system, sanitation, power, and water. The
         definition used here is broader than some definitions
         of governance, notably the one offered by the U.S.
         military’s latest manual on counterinsurgency. There,
         governance is defined as one of six separate “lines of
         operation,” which “relates to the host nation’s ability
         to gather and distribute resources while providing di-
         rection and control for society.” While the activities
         that the counterinsurgency manual identifies with
         governance are included in the definition used here, so
         are activities that the manual identifies with two other
         lines of operation: “essential services,” dealing with
         the operation of power, water, sanitation, education,
         medical systems and the like; and “economic devel-
         opment,” dealing with the supervision and regulation
         of a functioning economy that provides employment
         and creates and allocates resources.15
             Political Agreements Directly Addressing Cleavages:
         Such agreements may take many different forms.
         These might include the establishment of consocia-
         tional power-sharing mechanisms, arrangements of
         ethno-religious group autonomy, or perhaps electoral
         arrangements designed to foster greater cross-group


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         cooperation. The key qualifying criterion is that the
         political agreement expressly recognizes the extant
         cleavage in trying to resolve conflict.
             Good Security Operations and Success: As described
         above, distinguishing security operations as an input
         to counterinsurgency from the enduring condition of
         security that results from successful counterinsurgen-
         cy is a delicate but crucial part of any strategic analysis
         of this topic. In looking for metrics that might define
         success, security is the most obvious candidate. Event
         H in Figure 1-1, “Stable peace prevails,” represents the
         essence of this metric. But to reiterate the earlier point,
         security is both an input and an output of counterin-
         surgency operations. Hence, simply using security to
         define success introduces a serious so-called “endoge-
         neity” problem into the research design. The hazard
         here is the potential for mistaking the direction of cau-
         sation between the effectiveness of governance-related
         activities and the intensity of the insurgency. If success
         in the counterinsurgency is defined only according to
         the prevailing level of security, and some threshold
         level of security is necessary to execute governance-
         type measures, then there is some level of violence at
         which it is impossible to test any hypotheses about the
         effects of governance on levels of violence.
             One possible response to this is to analyze only
         cases where the level of violence remains below this
         notional threshold. But this is impractical for the Iraq
         cases and would also have the drawback of exclud-
         ing a significant portion of the problem from consid-
         eration. Another response would be to treat security
         as a trailing indicator, i.e., by comparing governance-
         related initiatives in month X to security in month X+1
         or X+2. This avoids confusion regarding the direction
         of causation and also probably better represents the
         nature of any expected effects.16

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             Ultimately, distinguishing between the short-term
         security provided directly by military and police op-
         erations from more sustainable, stable security re-
         quires either retrospect through significant passage
         of time, or the judgment of people intimately familiar
         with the evolving situation. For the case studies, this
         monograph will emphasize the latter, identifying suc-
         cess and failure in instances where explicit or imputed
         counterinsurgent objectives, commensurate with the
         geographic and temporal scope under consideration,
         are either demonstrable and/or judged to be met by
         key parties to the conflict.
             In summary, the methodological challenges pre-
         sented by this research are formidable. Even the most
         careful research design will yield conclusions that are
         tentative and suggestive rather than decisive. Never-
         theless, the importance of the subject matter compels
         the work. It is worth emphasizing that the method-
         ological challenges facing questions such as those
         posed here have parallels in the operational world. For
         example, the complexities of constructing a reliable
         measure for success in counterinsurgency are more
         than academic. The counterinsurgent must wrestle
         with similar questions about defining success in order
         to build a rational, coherent strategy.17

         Case Study Selection.

             A common theme of first-hand accounts of coun-
         terinsurgency in Iraq has been the primacy of local
         conditions in explaining the course of events. Co-
         alition Provisional Authority official Rory Stewart
         found that:

            . . . [W]hat mattered most were local details, daily
            encounters with men of which we knew little and of


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            whom Iraqis knew little more. . . . We prefer the uni-
            versal and the theoretical: the historical analogy and
            the statistics. But politics is local, the catastrophe of
            Iraq is discovered best through individual interac-
            tions.18

             As outlined above, the need to examine the issues
         in a fair amount of detail also drives the focus of this
         paper to local level case studies. The two cases con-
         sidered are the experiences of the U.S. Army’s 2nd
         Brigade Combat Team, 2nd Infantry Division, in and
         around Ramadi, from September 2004 to July 2005,
         and the experiences of the U.S. Army’s 3rd Armored
         Cavalry Regiment, in and around Tal Afar, from April
         2005 to February 2006.
             Of all the potential case studies to choose from,
         why do these two rise to the top? Together, six factors
         constitute the rationale for these selections.
             1. The choice to examine two cases rather than
         three or 10 is driven by time constraints. More cases
         are always desirable, but trading depth for breadth
         would defeat the purpose of this analysis, so two com-
         parative cases will suffice to shed light on the mono-
         graph’s main question.
             2. A superficial examination of these two cases
         suggests that they share a positive value on the frame-
         work’s key conditional variable—the significance of
         ethno-religious cleavages—while having differing
         values for the outcome of counterinsurgent success.
         This combination is analytically desirable in seeking
         to explain which of the other variables (security, gov-
         ernance, or political agreements) may help to explain
         the differing outcomes.19
             3. There is value in comparing cases from similar
         time frames.



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             4. There is value in comparing cases with similar
         insurgent threats.
             5. The time frame covered by these cases—late 2004
         to early 2006—has some analytically useful properties.
         The Iraqi government became sovereign in June 2004,
         so this period avoids crossing over the transition of
         control between Coalition and Iraqi authority. At the
         same time, this period precedes a couple of key envi-
         ronmental shifts: the February 2006 Samarra mosque
         bombing and the 2007 “surge” of increased U.S. forces
         and changed tactics. During this time, the insurgency
         in the western and northern parts of Iraq was some-
         what mature. Most of the large set-piece battles, such
         as those in Najaf, Sadr City, and the first assault on
         Fallujah were past, and U.S. operations had settled
         into a focus on counterinsurgency.
             6. Ramadi has an additional attractive property,
         which is that it underwent a famous reversal of for-
         tunes in late 2006 and 2007 in the form of the so-called
         Tribal Awakening. This research will not include a
         separate case study on this development, but a simple
         comparison between the 2004-05 case and the subse-
         quent dramatic turn-around is relevant to the ques-
         tions examined by this analysis.

         ENDNOTES - CHAPTER 1

              1. This monograph was adapted from a doctoral dissertation
         by Michael F. Fitzsimmons, Governance, Identity, and Counterinsur-
         gency Strategy, unpublished dissertation, University of Maryland,
         2009. Portions of that dissertation, including a few paragraphs in-
         cluded in this monograph were published previously in Michael
         Fitzsimmons, “Hard Hearts and Open Minds? Governance, Iden-
         tity, and the Intellectual Foundations of Counterinsurgency Strat-
         egy,” Journal of Strategic Studies, Vol. 31, No. 3, June 2008.




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             2. Ahmed Hashim, Insurgency and Counterinsurgency in Iraq,
         Ithaca, NY: Cornell University Press, 2006, pp. 71-72.

             3. Anthony Shadid, Night Draws Near: Iraq’s People in the Shad-
         ow of America’s War, New York: Henry Holt and Company, 2005,
         p. 149.

             4. Michael R. Gordon, “In Baghdad, Struggle Ties Security to
         Basic Services,” New York Times, April 22, 2008, p. 1.

             5. Field Manual (FM) 3-24/Marine Corps Warfighting Publication
         3-33.5, Counterinsurgency, Washington, DC: Headquarters, De-
         partment of the Army; Headquarters, Marine Corps Combat De-
         velopment Command, Department of the Navy, December 2006,
         p. 1-21. Hereafter, this document will be referred to as FM 3-24/
         MCWP 3-33.5.

             6. The first use of the phrase “hearts and minds” in the con-
         text of revolutionary warfare is often attributed to the British
         administrator during part of the 1948–60 Malayan Emergency,
         Lieutenant-General (later Field Marshal) Sir Gerald Templer, who
         argued in 1952 that ”the answer lies not in pouring more troops
         into the jungle, but in the hearts and minds of the people.“ See
         Richard L. Clutterbuck, The Long, Long War; Counterinsurgency
         in Malaya and Vietnam, New York: Praeger 1966, p. 3; and Rich-
         ard Stubbs, Hearts and Minds in Guerrilla Warfare: The Malayan
         Emergency 1948-1960, Oxford, UK: OUP, 1989, pp. 1–2.

              7. Quoted in Bob Woodward, “CIA Said Instability Seemed
         ‘Irreversible,’” Washington Post, July 12, 2007, p. 1.

             8. See Fitzsimmons, “Hard Hearts and Open Minds?”

             9. U.S. Government Counterinsurgency Guide, Washington, DC:
         U.S. Government Interagency Counterinsurgency Initiative, Janu-
         ary 2009, p. 14.

             10. D. Michael Shafer, Deadly Paradigms: The Failure of U.S.
         Counterinsurgency Policy, Princeton, NJ: Princeton University
         Press, 1988, p. 79 (emphasis in original). Other analyses employ-
         ing two similar categories to describe counterinsurgency strategy
         include Jim Baker, “Systems Thinking and Counterinsurgencies,”



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         Parameters, Vol. 36, No. 4, Winter 2006-07, pp. 26-43; Alice Hills,
         “Hearts and Minds or Search and Destroy? Controlling Civilians
         in Urban Operations,” Small Wars and Insurgencies, Vol. 13, No. 2,
         Spring 2002, p. 6; and William J. Hurley, Joel Resnick, and Alec
         Wahlman, Improving Capabilities for Irregular Warfare, Vol. I: Main
         Text, Alexandria, VA: Institute for Defense Analyses, 2007, p. II-3,
         and Appendix A.

             11. Jeffrey Race, War Comes to Long An: Revolutionary Conflict
         in a Vietnamese Province, Berkeley, CA: University of California
         Press, 1972, p. 146.

             12. Solomon Moore, “A Promising Iraqi Province is Now a
         Tinderbox,” Los Angeles Times, January 3, 2007, p. 1.

             13. This methodological judgment is one basis for the grow-
         ing body of literature on “microlevel research” on social phenom-
         ena. For example, see Stathis N. Kalyvas, The Logic of Violence in
         Civil War, Cambridge, UK: Cambridge University Press, 2006.

              14. See Seymour M. Lipset, Political Man, Garden City, NY:
         Anchor Books, 1963; Arendt Lijphart, Democracy in Plural Societ-
         ies: A Comparative Exploration, New Haven, CT: Yale University
         Press, 1977.

             15. FM 3-24/MCWP 3-33.5, pp. 5-14 to 5-17.

              16. Stathis Kalyvas and Matthew Kocher recommend this ap-
         proach in their own work on civil conflict. See Stathis N. Kalyvas
         and Matthew Kocher, “Violence and Control in Civil War: An
         Analysis of the Hamlet Evaluation System (HES),” unpublished
         manuscript presented at the annual meeting of the American Po-
         litical Science Association, Philadelphia, August 27, 2003.

             17. The author took part in such efforts while on the staff of
         the Strategy, Plans, and Assessments directorate of the Multi-Na-
         tional Forces—Iraq headquarters in Baghdad from May to Sep-
         tember 2008. Consensus on an appropriate framework for defin-
         ing success proved impossible to achieve.

             18. Rory Stewart, The Prince of the Marshes (And Other Occupa-
         tional Hazards of a Year in Iraq), Orlando, FL: Harcourt Inc., 2006,
         pp. 46, 405.


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              19. Note that this choice violates a typical rule of thumb for
         case selection—avoiding selection based on the value of the de-
         pendent variable. However, this research does not purport to be
         drawing a random or representative sample from the full popu-
         lation of cases, nor will it draw deterministic conclusions based
         on the results of these case studies. As a result, for the purposes
         of this research, the need to observe variation in the dependent
         variable trumps the usual rationales for avoiding selection on the
         dependent variable.




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                              CHAPTER 2

             RAMADI (SEPTEMBER 2004 to JULY 2005)

             This chapter presents a case study of U.S. opera-
         tions in and around the city of Ramadi from Septem-
         ber 2004 to July 2005. Its focus is on the U.S. Army’s
         2nd Brigade Combat Team of the 2nd Infantry Divi-
         sion (2/2ID) and its subordinate units during that
         time period. The case is presented in seven parts
         covering the following topics: 1) an overview of the
         background and major events of the case; 2) the role
         of ethnic and religious identity politics in the case;
         3) counterinsurgent actions with respect to providing
         security; 4) counterinsurgent actions with respect to
         improving governance; 5) any efforts toward political
         agreements that address ethno-religious cleavages;
         6) an assessment of the outcome of the counterinsur-
         gency; and 7) a concluding discussion and evaluation
         of the case in the context of this monograph’s ques-
         tions and analytical framework.

         CASE BACKGROUND

         Ramadi and the Insurgency.

             Ramadi is the capital and the largest city of Iraq’s
         western Anbar province. It is located in the upper Eu-
         phrates river valley, situated mostly on the southern
         banks of the river, about 70 miles west of Baghdad.
         In 2004, the World Food Program estimated its popu-
         lation to be 456,853,1 though the total likely declined
         from that level during the course of the violence that
         occurred during the time period of this case study. Ra-
         madi’s population is ethnically and religiously homo-


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         geneous, with Sunni Muslim Arabs comprising more
         than 90 percent of the population.
             Founded in 1869, the city sits along the primary
         road and rail lines connecting Baghdad and the heart
         of Iraq with Jordan and points westward (see Figure
         2-1). This location has long given Ramadi an impor-
         tant commercial role, in both legitimate and illicit
         economic activity, and it also became a major transit
         point for foreign insurgents entering Iraq to fight U.S.
         and Iraqi security forces.




             Figure 2-1. Ramadi and Surrounding Area.2

             In part due to its role as a hub for international
         trade and transit, Ramadi has been a somewhat more
         cosmopolitan and secular city than its Anbar neigh-
         bors, such as Fallujah. It is the home of Anbar Univer-
         sity, and has been a relatively liberal center for intel-
         lectual and cultural life.3 Ramadi witnessed large scale
         demonstrations against Saddam Hussein in 1995, a
         phenomenon virtually unheard of in other Sunni Arab
         portions of Iraq.

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             At the same time, however, Ramadi was also home
         to many Ba’ath party officials, and the local and pro-
         vincial government hierarchies in Ramadi were close-
         ly tied to Saddam Hussein’s regime. The city served
         as the hub of Saddam’s turbulent but largely success-
         ful program of co-opting the support of Anbar’s tribal
         leaders,4 and was also home to the Iraqi Army’s com-
         bat engineers,5 its special forces,6 and a large number
         of active and retired senior officers. Consequently, the
         Coalition Provisional Authority’s (CPA) Orders, num-
         bers 1 and 2, banishing all Ba’ath party officials from
         office and disbanding the Iraqi Army, hit Ramadi es-
         pecially hard.7 Formerly powerful people in Ramadi
         had both the motivation and the tactical and technical
         expertise to mount an effective military opposition to
         the U.S. presence.
             The insurgency in Ramadi was multifaceted and
         evolved over time, but generally comprised three
         overlapping groups. One U.S. battalion staff described
         the groups this way, using the labels most commonly
         used by the local population (and written in inimitable
         PowerPoint syntax):
             •	“Resistance - fighters who are resisting occupa-
                 tion by a foreign army; they fight the United
                 States, and this is seen as an honorable endeav-
                 or; no central control of resistance groups.
             •	Terrorists - foreigners who are not from Ra-
                 madi, Al Anbar, or Iraq. There are locals who
                 support Islamic extremist (global Salafi jihad/
                 Wahabbist) groups.
             •	Criminals - primary motivation is money, orga-
                 nized crime support both Terrorists and Resis-
                 tance fighters.”8




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             The staff also estimated that 25 percent of “resis-
         tance” fighters worked with the “terrorists.” Accord-
         ing to a civilian analyst working in Anbar during this
         period who conducted extensive interviews with in-
         surgency supporters, “People always distinguished
         between the foreign jihadists and the Sunni national-
         ists, even though they tolerated the common cause
         that had been made between them.”9 However, the
         relative importance of the “resistance” and the “ter-
         rorists” shifted over time; specifically, al-Qaeda in Iraq
         (AQI) and its Islamic extremist compatriots gradually
         evolved from being the less important insurgent ele-
         ment of the two, to being the clearly predominant one.10
             By September 2004, Ramadi was one of the hot
         spots of the insurgency, forming the southwestern
         corner of the so-called “Sunni Triangle” that extended
         to Baghdad in the east and Tikrit in the north. Though
         Fallujah was considered the center of the insurgency
         in Anbar, Ramadi was not far behind it in operational
         and strategic significance and in the intensity of com-
         bat. To cite just one indicator of this intensity, the
         brigade that 2/2ID replaced (the 1st Brigade Combat
         Team, 1st Infantry Division [1/1ID]) suffered more
         than 500 casualties, including 50 fatalities, during its
         tour from September 2003 to September 2004.11 In
         just the 6 months prior to 2/2ID’s arrival, the Marine
         battalion operating under 1/1ID that had the lone
         responsibility for the city of Ramadi (the 2nd Battal-
         ion, 4th Marine Regiment) suffered more than half of
         those casualties.12




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         The Counterinsurgents.

             During the period of this case study, the U.S. op-
         erational military headquarters in Iraq was known as
         Multi-National Corps-Iraq (MNC-I). Operations in
         Anbar province were overseen by Marine headquar-
         ters units, the 1st Marine Expeditionary Force (I MEF)
         and 1st Marine Division (1 MARDIV) until March
         2005, then subsequently the 2nd Marine Expeditionary
         Force (II MEF) and 2nd Marine Division (2 MARDIV).
             The 2/2ID, somewhat unusually, was an Army
         brigade operating under a Marine division-level
         headquarters. The brigade commanded 5,560 Soldiers,
         Marines, Airmen, and Sailors. Its main combat forces
         were three organic infantry battalions, one attached
         Marine infantry battalion, and an artillery battalion.13
             The 2/2ID arrived in Ramadi at the end of August
         2004 and officially took over responsibility for the bat-
         tle space known as “AO [Area of Operations] Topeka”
         from 1/1ID on September 12. AO Topeka covered ap-
         proximately 6,500 square kilometers of Ramadi and
         its surroundings, up to Lake Thar Thar in the north,
         Fallujah in the east, Hit in the west, and Lake Razazah
         in the south.14
             The brigade deployed to Iraq (via Kuwait) directly
         from its home near the Korean Peninsula’s demilita-
         rized zone, where its mission and training had en-
         tirely focused on deterring and waging high-intensity
         conventional war against North Korea’s armed forces.
         Apropos of this long-standing mission, the brigade’s
         nickname was “Strike Force” and its motto was “Kill
         the Enemy!” (see Figure 2-2).




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                   Figure 2-2. 2/2ID Unit Insignia.15

             Like so many other Army units deploying to Iraq
         in the same period, 2/2ID had to prepare to deploy
         and re-orient its training and operating mindset on
         short notice, having received its deployment orders
         less than 3 months prior to its departure from Korea.
         After 11 months in Iraq, 2/2ID was relieved in place
         at the end of July 2005 by the 2nd Brigade Combat
         Team, 28th Infantry Division, from the Pennsylvania
         National Guard.

         What Happened (September 2004 to July 2005).

             Anbar province, after initially seeming ready to co-
         operate with Coalition forces immediately following
         the 2003 invasion, rapidly evolved into the main home
         of the Sunni insurgency. In the early days, U.S. forces
         in Ramadi, especially the Marine Corps, believed in
         the promise of showing a friendly face to the local
         population as a means of winning its loyalty.16 As one
         reporter described:

            Commanders worked to instill sympathy for the local
            population through sensitivity training and exhorta-
            tions from higher officers. Marines were ordered to


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            show friendliness through ‘wave tactics,’ including
            waving at people on the street.17

             These attitudes proved short-lived, however, as
         attacks against U.S. forces quickly escalated in fre-
         quency and sophistication. In one particularly well-
         publicized and deeply felt incident in April 2004, a
         dozen Marines were killed in a single ambush in the
         city. Naturally, this environment hardened the atti-
         tudes of many U.S. forces, even those whose original
         intent had been to do what was necessary to win the
         hearts and minds of Ramadi residents. In the words
         of one Marine noncommissioned officer (NCO) who
         was deployed to Ramadi in the spring and summer
         of 2004, “My whole opinion of the people here has
         changed. There aren’t any good people.”18 U.S. forces
         developed a strong sense that the general popula-
         tion was largely complicit in many insurgent attacks
         against them. Another Marine NCO relates the story
         of a rocket-propelled grenade attack on his platoon:

            When the Marines responded, the attacker fled, but
            they found that he had established a comfortable and
            obvious position to lie in wait. There, in an alleyway
            beside the shops was a seat and ammunition for the
            grenade launcher―along with a pitcher of water and a
            half-eaten bowl of grapes. . . . ‘You could tell the guy
            had been hanging out all day. It was out in the open.
            Every single one of the guys in the shops could tell the
            guy was set up to attack us.’19

             By the summer of 2004, U.S. forces were taking
         measures to reduce their disruptive effects on normal
         life in Ramadi, based on the premise that U.S. pres-
         ence was an irritant and stoked some of the violence in
         the city. The Marine battalion there ceased patrolling
         the city almost entirely and instead set up observation

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         posts throughout the city. But the change generated
         little improvement in the violence.20 Indeed, the se-
         curity situation had deteriorated to the point that the
         U.S. command was not confident it would be able to
         hold the planned January elections safely in the city.21
              This period also witnessed the disintegration of
         what semblance of governmental authority had re-
         mained in the city. In August and September alone,
         Anbar’s governor resigned after his sons were kid-
         napped and his own life was threatened,22 the deputy
         governor was kidnapped and murdered,23 and Rama-
         di’s police chief was arrested by U.S. forces for hav-
         ing begun working with the insurgency. By late Sep-
         tember, Anbar’s beleaguered acting governor, who
         doubled as Ramadi’s acting mayor, could only lament
         that, “We do not know who the attackers are or who is
         backing them. Are they backed from outside? Nobody
         knows.”24
              This was the environment in which 2/2ID took
         command of Ramadi in September. Commanders
         determined not to let Ramadi “become another Fal-
         lujah,” where insurgents operated with impunity. Ac-
         cordingly, 2/2ID took an aggressive early approach,
         launching three separate brigade-level offensive op-
         erations in its first 3 weeks in command.25 These op-
         erations, according to a brigade press release, were
         designed to “deny anti-U.S. forces safe haven, round
         up suspected anti-U.S. leaders and exploit weapons
         caches used against legitimate forces in the area.”26
         The tactics employed were mainly large-scale cordon-
         and-search operations.
              These operations produced some results in terms
         of detained suspects and confiscated weapons, and
         yet seemed to have little effect on the level or intensity
         of attacks against U.S. forces. On a day-to-day basis,


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         U.S. forces in Ramadi had their hands full simply se-
         curing the city’s main east-west road, known to the
         Americans as Route Michigan, and maintaining safe
         resupply of their own bases.27
             By late October, 2/2ID had already suffered 12
         Soldiers killed in action,28 and the leader of Anbar’s
         dominant Dulaym tribe declared that “the city is cha-
         otic. There’s no presence of the Allawi [federal] gov-
         ernment.” A Marine civil affairs NCO said: “We hit
         the deck one and a half months ago, and the area has
         changed for the downhill very quickly.”29
             In the face of this deteriorating situation, 2/2ID
         commander, Colonel Gary Patton, decided to realign
         his forces. Up until that point, only one of the brigade’s
         four attached infantry battalions, the 2nd Battalion,
         5th Marine Regiment (2/5 Marines), was based inside
         Ramadi. The other battalions were based in the areas
         immediately surrounding the city, including two full
         battalions in Ramadi’s eastern suburbs. With approv-
         al from the division headquarters, Patton moved one
         of those two battalions, 1st Battalion, 503rd Infantry
         (1/503rd), from the east into the city, effectively dou-
         bling the number of U.S. combat forces inside Ramadi.
             Before the increased troop levels could show much
         of an effect on security in Ramadi, however, opera-
         tions in the city were overshadowed by the prepara-
         tion and execution of the Coalition’s major November
         assault on nearby Fallujah. Ramadi saw an increase
         in attacks as insurgents pulling back from Fallujah
         sought refuge or transit there. U.S. operations focused
         on shielding the city from these collateral effects, with
         only partial success. An Al Jazirah reporter described
         the situation in Ramadi on November 17 this way:




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            Life inside the city has completely stopped, and shops
            are closed. For several weeks now, students have not
            gone to schools and colleges. Electricity has been out
            for eight days. The U.S. forces entered the city from
            the western side trying to reach the eastern neighbor-
            hoods; they, however, were confronted by the fierce
            resistance of gunmen. Eyewitnesses said that fires
            blazed in several parts of the city due to the shootout,
            and warplanes are flying over.30

              In the aftermath of the so-called “second battle of
         Fallujah,” security conditions actually improved in
         Ramadi, and in December and January, the city began
         to show some signs of a return to normal life. By this
         time, the focus of U.S. operations had shifted to en-
         suring the relatively peaceful implementation of na-
         tional elections at the end of January 2005. Much was
         at stake strategically with the elections as evidence
         of Iraq’s democratic transition, and the participation
         of Anbar province’s Sunni Arab population seemed
         particularly important. “From a symbolic and a po-
         litical standpoint, conducting a successful election in
         Ramadi, the provincial capital, is critical,” remarked
         Brigadier General Joseph Dunford, the assistant com-
         mander of the 1st Marine Division.31
              Ultimately, election day in Ramadi produced both
         good and bad news for the United States. No major
         attacks occurred, which was both a surprise and a ma-
         jor victory for the security forces in the city. Turnout,
         however, was extremely paltry. Province-wide, turn-
         out was only 2 percent, and early unofficial figures in
         Ramadi showed that only 1,700 of the city’s 400,000
         residents voted.32 Intimidation by insurgents was a
         major factor in the low turnout, as was grave suspi-
         cion of the legitimacy and reliability of the process.


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         Even the Ramadi director of the Independent Electoral
         Commission of Iraq resigned, together with his staff,
         a few days before the elections due to death threats.33
             In the wake of the elections, U.S. forces launched a
         new offensive throughout the upper Euphrates river
         valley, known as Operation RIVER BLITZ. In Ramadi,
         this effort was marked by the establishment of check-
         points at the main entrances to the city, as well as a
         curfew from 8 p.m. to 6 a.m.34 The checkpoints helped
         to limit insurgents’ freedom of movement,35 though
         they were also manpower intensive36 and drew some
         complaints from local residents for impeding com-
         merce and daily life.37 By April, 2/2ID was claim-
         ing some success for these measures, crediting them
         with “a drastic decline in the amount of insurgent
         activity.”38
             The late winter and spring of 2005 also saw a
         growing role for Iraqi security forces in Ramadi. Up
         to this point, efforts to shift responsibility for security
         to local forces had been almost entirely fruitless. The
         local police force mostly disintegrated in the fall, the
         Iraqi Army was not present, and a unit of the Iraqi
         National Guard, recruited largely from the local pop-
         ulation, had disbanded in November due to its being
         completely ineffectual and compromised by the insur-
         gents. But by the spring, some Iraqi Army units had
         deployed to Ramadi. In most cases, these units were a
         double-edged sword in terms of working with the lo-
         cal population. Most of the Army units were majority
         Shi’a Arab. Most of the soldiers were not happy to be
         in Anbar, and many Ramadi residents resented their
         presence, even interpreting it as a validation of their
         suspicions about American complicity in a Shi’a take-
         over of Iraq. These concerns were exacerbated further
         with the appointment in 2005 of Bayan Jabr Sulagh as
         the Minister of the Interior. Jabr was widely thought

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         to be affiliated with the sectarian Badr Corps militia
         and soon gained a reputation for using elements of the
         national police to conduct ethnic cleansing.39
             On the other hand, many of the Iraqi Army units,
         especially over time, proved capable of professional-
         ism and avoidance of overtly sectarian behavior.40
         Their effectiveness in understanding the local envi-
         ronment, developing intelligence, and identifying
         insurgents was naturally far superior to that of the
         Americans.41
             Importantly, the early months of 2005 also brought
         the first signs of an emerging rift between Ramadi’s
         tribal leaders and the Islamist insurgents operating in
         the area, especially AQI. Some of the earliest evidence
         of a split came in the execution of seven foreign AQI
         members in retaliation for the assassination of a Dulai-
         mi clan leader and Iraqi National Guard commander,
         Lieutenant Colonel Sulaiman Ahmed Dulaimi.42 This
         was near the same time that reports surfaced of U.S.
         military officials as well as the Iraqi Defense Minister
         holding secret meetings with elements of the insur-
         gency.43 Unnamed sources told Al Jazirah that as a re-
         sult of some of these meetings, “a military unit will be
         formed in the city of Al-Ramadi to preserve security.
         The unit will consist of former Iraqi army personnel
         and commanders and will not take orders from the
         U.S. forces or the Iraqi Defense Ministry. . . .”44 At the
         same time, U.S. forces in the far western deserts of
         Anbar had just begun working with the Albu Mahal
         Desert Protectors, a tribally-based militia formed to
         combat AQI.45
             Notwithstanding these developments, however,
         the United States faced a major obstacle in attempt-
         ing to exploit the emerging hostility between groups
         of erstwhile insurgent allies—namely, its own policy.


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         As a rule, the United States remained extremely leery
         of creating local militias with no formal ties to the
         Iraqi government. After all, this was essentially the
         model that was attempted in handing off authority to
         the “Fallujah Brigade” in April 2004, an experiment
         generally viewed inside and outside the Coalition as
         a disastrous failure.46 Instead, the United States was
         still hoping to marry up the local legitimacy enjoyed
         by Anbar’s tribal leaders with the formal institutions
         of the Iraqi government, in particular the Iraqi Army.
         Bing West, a writer, former Marine, and former Pen-
         tagon official who spent many months in Anbar prov-
         ince during this period provides a stark illustration of
         this policy in action:

            The sheikhs offered a deal in March of 2005. They
            wanted arms and ammunition, plus vehicles. They
            would protect their turfs with a tribal force of roughly
            5,000 men. They would agree to boundaries and point
            out the takfiris [Islamic extremists]. That would stop
            the IED attacks along the main roads. [Assistant com-
            mander of 1 MARDIV, Brigadier General Joseph]
            Dunford refused. You have an elected national gov-
            ernment, he said, with a new army. Send your tribal
            sons to [the Army training center in] Taji. . . . Asked
            if he could promise they would return to their tribal
            areas, Dunford said no. There was an elected govern-
            ment and no need for another militia. The days of the
            tribes were over.47

            Dunford went on to explain:

            In the spring of 2005, I met with dozens of sheikhs.
            They were shaken up by what we had done
            in Fallujah. They said they’d fight on our side,
            but refused to go through the government in
            Baghdad. In 2005, we weren’t willing to accept
            that deal.48



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             In part because of this gap between the tribes and
         the United States, relationships between U.S. forces
         and the local population in Ramadi continued to
         develop slowly. 2/2ID did begin to make progress
         in identifying some local leaders in and around the
         city who were willing to work with them in trying to
         re-establish governance in the city, and the U.S.’s lo-
         cal intelligence networks slowly expanded.49 At the
         same time, though, the local population continued to
         bristle at the restrictions imposed by U.S. forces. AQI
         attacks and intimidation continued to undermine ef-
         forts to stabilize the city. In May, the new Anbar gov-
         ernor was kidnapped in Ramadi and found dead a
         few weeks later.50 AQI also aggressively targeted the
         growing number of sheikhs who appeared willing to
         challenge its strong influence. A new city council was
         just formed as 2/2ID prepared to depart the country
         in July 2005.
             Unclassified statistics on overall attack trends in
         Ramadi during this period are not yet available. Anec-
         dotal evidence is mixed, with some participants iden-
         tifying reduced violence between the beginning and
         the end of 2/2ID’s tour and some identifying roughly
         similar levels at the beginning and end of the period.
         Estimates of casualties suffered by 2/2ID and its sub-
         ordinate units range from 68 to 98 killed in action with
         approximately 700 more wounded.51
             What does seem clear, however, is a sharp dete-
         rioration in security in Ramadi subsequent to 2/2ID’s
         departure. A few journalistic accounts chart the city’s
         downward spiral. From August 2005:

            Insurgents in Anbar province . . . are fighting the U.S.
            military to a standstill. After repeated major offensives
            in Fallujah and Ramadi, . . . many U.S. officers and
            enlisted men have stopped talking about winning a


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             military victory in Iraq’s Sunni Muslim heartland. . .
             Today, the street [in Ramadi] is pocked with holes left
             by bombs intended for U.S. convoys, storefronts are
             ripped by shrapnel, bullet holes tattoo walls, buildings
             have been blown to rubble by U.S. missile strikes and
             insurgent mortar volleys, and roofs are caved in by
             U.S. bombing. At the main U.S. base in Ramadi, artil-
             lery booms every night, sending more shells to pound
             insurgent positions in and around the city.52

          From October 2005:

             [In Ramadi,] Sunni Arab insurgents are waging their
             fiercest war against American troops, attacking with
             relative impunity just blocks from Marine-controlled
             territory. Every day, the Americans fight to hold their
             turf in a war against an enemy who seems to be every-
             where but is not often seen. The cost has been high: in
             the last 6 weeks, 21 Americans have been killed here,
             far more than in any other city in Iraq and double the
             number of deaths in Baghdad . . . more than 2 years
             after the American invasion, this city of 400,000 people
             is just barely within American control. The deputy
             governor of Anbar was shot to death on Tuesday; the
             day before, the governor’s car was fired on. There is
             no police force. A Baghdad cellphone company has re-
             fused to put up towers here. American bases are regu-
             larly pelted with rockets and mortar shells, and when
             troops here get out of their vehicles to patrol, they are
             almost always running.53

          From December 2005:

             It is clear that the U.S. forces are not present inside
             the city . . . there are no Iraqi forces either. Gunmen
             have assumed full control of the city. There is inten-
             sive shelling of the governorate building, the citizen-
             ship affairs building, which the U.S. forces use as their
             headquarters, and the main headquarters west of
             the city . . .54


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            It was only in late 2006 that Ramadi became the
         focal point of the Tribal Awakening that transformed
         the counterinsurgency in Anbar.

         Were Ethno-Religious Identity-Based Cleavages
         Significant?

             Having experienced many generations in power,
         Iraq’s Sunni Arab community has come to view politi-
         cal power as an important element of its identity. As
         one recent study of Anbar’s tribes reported:

            The modern Sunni Arabs of Iraq take a great deal of
            pride in their religious and political history. They tend
            to regard themselves as the descendents and heirs to a
            long history of intellectual development, wealth, and
            political rule over the massive Islamic empire. They
            regard other ethnic and religious groups throughout
            the history of Iraq as less worthy of political power
            and influence.55

             One commonly noted manifestation of this sense
         of political identity is that so many Sunni Arab
         Iraqis dispute the generally accepted population es-
         timates that show Shi’a Arabs with a clear majority
         of Iraq’s population. This view is not limited to the
         poor and uneducated, but is shared by many Sunnis
         who are wealthy, educated, well-traveled, and even
         pro-Western.56
             Given this context, it is difficult to overstate the
         sense of disenfranchisement felt by many Sunni Arabs
         following the U.S. invasion in 2003. Even Sunni op-
         ponents of Saddam Hussein who welcomed the inva-
         sion and the change of regime were extremely upset
         by the influence granted to Shi’a exiles—pro-Western
         and pro-Iranian alike—in the Iraqi Governing Coun-


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         cil and subsequently the Iraqi Interim Government.57
         Beyond the chagrin of coming up short in the division
         of spoils, Iraq’s Sunni Arabs found the new political
         arrangement to be unnatural and a transgression of
         cultural norms. As noted at the beginning of this pa-
         per, a Sunni tribal leader captured this feeling well in
         his assertion that, Shi’a “cannot take charge of Iraq in
         the same manner as the Sunnis. The [Shi’a] are back-
         wards. They are barbarian savages, they do not know
         true religion, theirs is twisted, it is not the true religion
         of Muhammad.”58
             In Ramadi, this sense of sectarian disenfranchise-
         ment was not the only driver of the insurgency, of
         course, but it was clearly one of the most important
         factors. While Ramadi, itself, is very homogeneous,
         one of its people’s primary grievances was a view of
         the new Iraqi federal government as a sectarian Shi’a
         force, with the Iraqi Army and the Coalition serving
         as agents of that sectarian force. As a home to many
         Ba’athists and military officers, Ramadi in particular
         struggled to come to terms with the idea of an Iraq
         where its influence was weak.
             The counterinsurgency expert John Nagl, who
         was a brigade operations officer in AO Topeka during
         2003-04, just prior to 2/2ID’s deployment, recalled:

             [We] came to realize that a very high percentage of the
             population—almost exclusively Sunni in our AO—
             did support the objectives of the insurgency, which
             was a restoration of Sunni ascendancy over the Shi’a.
             The Sunnis saw the American occupation as propping
             up the Shi’a and therefore targeted us. We couldn’t
             win this fight at the local level. Success demanded
             national-level reconciliation between the Sunnis and
             the Shi’a. . . .59




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            According to Lieutenant Colonel Justin Gubler,
         battalion commander of the 1/503rd Infantry:

            Ramadi residents’ biggest fear was being repressed
            and abused by the Shi’a government, and that was
            the biggest obstacle toward their working with us. We
            heard that from the sheikhs and from professionals
            and from former military officers. We were the ones
            that installed the Shi’a government, which they knew
            would mistreat them the way the Ba’ath party mis-
            treated the Shi’a.60

             Gubler’s executive officer, Major Greg Sierra, said
         simply, “the Sunnis just weren’t ready to play in the
         new Iraq—they hadn’t accepted that things were go-
         ing to be different.”61
             One commonly cited Sunni complaint was a belief
         that Iraq was being handed over to Iran. Just prior to
         the national elections in January 2005, the 1st Marine
         Division’s commander, Major General Richard Naton-
         ski, toured polling stations. A group of Iraqi men gath-
         ered to describe their views to the general. One man
         told him “the election will only create a Shiite Muslim-
         dominated government in Baghdad that will ignore
         Sunni Muslim cities like Ramadi.”62 On election day, a
         professor told an American reporter that he was boy-
         cotting the election because he believed that it would
         be manipulated by pro-Iranian Shiite politicians. “Iraq
         will become part of Iran after this. I want no part of
         it.”63 Another Ramadi resident pleaded with a Marine
         intelligence officer at one point, “Don’t leave us with
         this Iranian army.”64 Shortly after the elections, insur-
         gent leaders told U.S. representatives in secret meet-
         ings that they saw the Shi’a-dominated government
         as being controlled by Iran and that their “aim was to
         establish a political identity that can represent disen-
         franchised Sunnis.”65

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             It is telling that Ramadi remained among the most
         obstinate of the Sunni-dominated areas in coming to
         terms with participation in the national government.
         In the fall of 2005, the U.S. headquarters in Baghdad
         was claiming progress in bringing Sunnis into the
         political process. They cited public opinion survey re-
         sults from June 2005 showing that majorities of Sunnis
         in most areas, including approximately 80 percent of
         Sunnis in Baghdad, believed that boycotting the Janu-
         ary elections had been a “bad idea.” But in Ramadi,
         only 40 percent believed the boycott had been a bad
         idea, while 46 percent still described the boycott as a
         “good idea.”66
             Other evidence of significant sectarian cleavages
         can be found in the reactions of Ramadi residents
         in the first half of 2005 to the increased deployment
         of largely Shi’a security forces to the area. One Shi’a
         Iraqi soldier in Ramadi commented, “Of course they
         don’t like us. They don’t like people from the south, so
         when we search them, they make faces at us.” Another
         called Ramadi hostile territory, complaining that “it is
         a problem that we are Shiite. [The local people] think
         we are all spies.” Naturally, insurgents exploited these
         tensions to maximum effect, distributing literature
         and graffiti referring to the Shi’a Army units as “rap-
         ists,” “Jews,” and “dogs of the Americans.”67
             For all the importance of sectarian Sunni identity
         in Ramadi, it is important to note that the salience of
         this identity was to some degree eclipsed by tribal
         identities. These identities overlapped heavily due
         to the city’s homogeneity, but political identification
         and loyalties in Ramadi did tend to adhere more to
         tribal hierarchies than to religious ones, per se. As one
         intelligence officer described it, “the tribal identity
         trumped everything. It gives the leaders legitimacy.”68


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         The strength of tribal identities and loyalties tended to
         be more pronounced in the surrounding areas than in
         the city, itself, where tribes intermixed.69
             It is also important to note the weakness of Iraqi
         national identity that might otherwise have mitigated
         some of the divisive effects of strong tribal and sectar-
         ian identification. Several interviewees noted the ab-
         sence of any Iraqi nationalism in Ramadi, except of the
         sort tied to Saddam Hussein’s regime. For example,
         Colonel David Clark, the commander of the 1st Bat-
         talion, 506th Infantry Regiment (1/506th), commented
         that “The Iraqis that we knew and worked with were
         three or four things before they were Iraqis—clan,
         tribe, religion, all before they were Iraqis. Those inter-
         ests came first, all above the national interest.”70
             In sum, it is clear that despite the absence of much
         sectarian violence in Ramadi, conflict between Iraq’s
         Sunni and Shi’a Arabs was quite central to the origins
         and evolution of the insurgency there.

         Were Good Security Operations Conducted?

             Evaluating the quality of U.S. security operations
         during this period is not simple. The record is mixed
         and complex. Several interviewees felt that a “con-
         ventional” mindset prevailed in the brigade for too
         long. This mindset manifested itself in 2/2ID’s plan-
         ning and operations in an emphasis on targeting of
         insurgents rather than population security. “We were
         too kinetic, too focused on offensive operations,” said
         one officer. “There was a tendency toward focusing on
         raids, killing and capturing bad guys, etc.”71 A report-
         er embedded with the brigade commented that “U.S.
         forces were still in Cold War mode—they were all
         about fighting and killing . . . there were a lot of raids,
         detentions and the like that alienated the populace.”72

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             This view, though not universal among the inter-
         viewees, was common up and down the chain of com-
         mand. Marine Corporal Peder Ell did not see great
         value in large offensive sweep operations, saying,
         “We’d pick up bad guys and disrupt their operations,
         but it only worked for a while. They would just come
         back in after the operation had ended.”73 Colonel Pat-
         ton, the brigade commander, agreed: “We did a lot
         of those brigade-level and battalion-level ops and it
         never got us much of anything important. They were
         fruitless, and they pissed people off.”74 Besides alien-
         ating the local population, operations that involved
         raiding a lot of houses, arresting a lot of people, and
         taking away people’s guns, also served to confirm
         some Anbaris’ suspicions that the United States was
         making war on the whole community of Sunnis on be-
         half of the sectarian federal government.75
             According to 2/2ID’s artillery battalion command-
         er, Lieutenant Colonel John Fant:

            It took us a long time to understand that this was not a
            brigade fight, it was a platoon and squad fight. I think
            our conventional training clouded our approach to the
            problem. . . . The brigade’s role should be political and
            resource provision. . . .76

             Yet these brigade roles were not consistently
         pursued. Another officer summarized the problem
         this way:

            What I ranked as important were developing gover-
            nance and developing the Iraqi police and military.
            If you just looked at our resource allocation, though,
            you might assume that the main priority was killing
            bad guys. There was a lot of variation across different
            operating units and staff in terms of their relative fo-
            cus on governance vs. kinetic operations. I don’t think


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            we ever had a common picture across the AO of the
            center of gravity, whether it was the population or
            the enemy.77

             Two other officers interviewed argued that the
         brigade leadership may have underestimated the im-
         portance of cultivating relationships with local lead-
         ers. One recalled an incident early in the brigade’s
         deployment in which the commander cancelled con-
         secutive meetings with a local leader who had had a
         relationship with the previous brigade commander,
         and then sent a lieutenant colonel to meet with him.
         In a culture that places a high value on seniority and
         respect, this officer believed, this approach “was an af-
         front to [the leader] that set the tone for the whole time
         we were there.” Like other interviewees, he attributed
         such mistakes in part to a “conventional mindset.”78
         Another interviewee believed that the brigade com-
         mander “did not embrace his role as the person to lead
         engagement with the local leaders” until the latter half
         of the brigade’s deployment.79
             On the other hand, the brigade’s focus on conven-
         tional combat operations was at least partly a result
         of the level of threat it faced nearly immediately upon
         its arrival in Ramadi. The fall of 2004 was “brutal, just
         really violent,” said one officer.80 In the words of Colo-
         nel Clark, the 1/506th commander, “We were up to
         our eyeballs fighting those guys, so we weren’t able to
         concentrate on the political and social and economic
         aspects.”81 In this environment, traditional counterin-
         surgency approaches had difficulty taking root. An-
         other officer offered this example:

            In the fall, we planned to set up a ‘place of hope’ in one
            neighborhood, where we were going to try to concen-
            trate some security and reconstruction efforts. It was


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            essentially an ink spot approach, classic clear, hold,
            and build. We wrote the plan, but then as we were
            getting ready to execute the plan, one of our battalions
            got engaged in pretty heavy fighting and the decision
            got made that we’re not going to implement the ‘place
            of hope’. And I felt like this was a turning point when
            we turned away from the idea of focusing on securing
            the population.82

             The serious challenges posed by the high threat
         level led some interviewees to reject the charge that
         the brigade had been “too kinetic.”83
             Another major limitation 2/2ID faced in establish-
         ing security for Ramadi’s population was its relatively
         small number of troops. AO Topeka had over half a
         million people, and 2/2ID totaled only around 5,500
         personnel. As with any modern military unit, a sub-
         stantial number of those personnel were engaged in
         support functions and were not combat troops. Col-
         onel Patton estimated that even after he moved an
         additional battalion into the city—a choice he called
         one of the best decisions he made during the deploy-
         ment—there were only about 1,800 U.S. combat forces
         in Ramadi proper.84 This means the United States had
         approximately one Soldier in the city for every 222
         residents, a ratio more than four times smaller than
         the ratio the 2006 counterinsurgency field manual
         notes as a commonly-recommended “minimum force
         density” for effective counterinsurgency.85 Repre-
         sentative of the many comments from interviewees
         on the subject of troop numbers is this assessment
         from a 2/5 Marines company commander, Captain
         Eric Dougherty:

            The biggest problem was that we were so under-
            manned, that we couldn’t give the people confidence
            that we’d be around. As soon as you’re gone, the


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            people could count on the insurgents to show up and
            intimidate them or punish them in retribution for their
            cooperation with the Coalition. That puts the popula-
            tion in a precarious position—they were waiting to see
            who would win before they picked a side.86

             The natural solution to the problem of inadequate
         forces is augmentation with indigenous forces. In-
         deed, the development of Iraqi security forces was a
         key component of 2/2ID’s operations. However, this
         proved to be problematic on two related levels. First,
         for most or all of 2/2ID’s tenure in Ramadi, Iraqi se-
         curity forces there were totally inadequate to the task
         of providing security. In the first half of the brigade’s
         deployment, Iraqi security forces were virtually non-
         existent. The police force was heavily infiltrated, unre-
         liable, ill-equipped, and eventually quit en masse.87 A
         local Iraqi National Guard brigade was entirely inef-
         fective, partly due to a lack of training, but also due to
         systematic insurgents’ intimidation of Guard soldiers’
         families. U.S. forces disbanded the brigade altogether
         in the fall of 2004.88 There was some improvement over
         time, especially among Iraqi Army units deployed to
         Ramadi from other parts of Iraq during the spring of
         2005.89 But these units remained a weak supplement to
         the U.S. combat forces in the area.
             The second related problem was that Coalition pol-
         icy at the strategic level emphasized the importance of
         transition of authority and control to Iraqi forces, not
         population security. In the words of the Corps com-
         mander who took charge at MNC-I in January 2005,
         Lieutenant General John Vines, the goal was “rapid
         progress in training and preparing Iraqis to assume
         responsibility for security in every province.”90 Thus
         any U.S. officers advocating a greater focus on popu-
         lation security had not only the inadequacy of avail-


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         able resources to contend with, but also a policy that
         pointed in the opposite direction.
             Perhaps inevitably in this environment, the ap-
         proaches employed by U.S. forces in Ramadi varied
         by subordinate unit and in general improved over
         time. Brigade-level sweeps were eventually replaced
         by more small-unit patrolling, and the establishment
         of checkpoints, which provided a modicum of consis-
         tent presence in at least a few locations in the city.91
         This enabled units to improve their ability to collect
         intelligence and to build relationships with the local
         population to some degree. Even these adaptations
         were hamstrung, though, by the limited numbers of
         troops available. And it was only near the very end of
         2/2ID’s deployment that units began to refocus their
         intelligence collection efforts away from targeting and
         toward understanding the socio-political dynamics of
         the local population.92
             Overall, this record returns a somewhat ambigu-
         ous answer to the question, “Were good security oper-
         ations conducted?” From a strategic perspective, even
         allowing for variation and improvement over time de-
         scribed above, the variety of problems outlined here
         point to an answer closer to “no” than “yes.”

         Was Good Governance Provided?

             One of the distinguishing characteristics of Ra-
         madi during this period was the thoroughgoing dys-
         function of the government. Leaders of the provincial
         and local government and of the police were routinely
         targeted by insurgents for intimidation and assassina-
         tion. Those who chose to continue to serve in the face
         of threats against them were often killed. Mayors, pro-
         vincial governors, and police chiefs in Ramadi tended


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         to have short tenures in office that ended in death, res-
         ignation, or arrest for participation in the insurgency.
             Hence governance of any sort, good or otherwise,
         was a scarce commodity in Ramadi during 2004-05.
         Most interviewees stressed the severe limitations on
         reconstruction efforts that prevailed due to the vio-
         lence and intimidation. Reconstruction projects were
         regularly attacked, and Iraqis who were seen or sus-
         pected of working with the United States or taking
         funding from them were threatened and murdered.93
         One interviewee, who did not want this story attrib-
         uted, related the following illustration of the severity
         of this problem:

            One time, we detained a guy for two weeks, just so
            he could then go back out into the city and profess to
            have a major grievance against the U.S. as a cover for
            taking U.S. money and starting a sewer renovation
            project. That’s how reluctant people were to be seen to
            take American money.

             This dynamic was particularly damaging because
         it subverted not only U.S. reconstruction efforts and
         attempts to improve governance, but also efforts to
         provide jobs for Ramadi’s thousands of unemployed
         military-age males. Interviewees differed on the ex-
         tent to which unemployment was a cause of the in-
         surgency, but there is no question that it facilitated
         recruitment for the insurgents.94
             Insurgents also occasionally targeted civilian in-
         frastructure, further suggesting a deliberate attempt
         to make the city ungovernable. For example, just in
         2/2ID’s first month in Ramadi, insurgents blew up an
         agricultural center and the Red Crescent office, and
         then blamed the attacks on U.S. forces.95 Another ob-
         stacle to improving governance was corruption and a


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         certain lack of civic culture. Colonel David Clark of-
         fered one of many examples:

            We spent a lot of money getting the water purifica-
            tion system rebuilt and operational, and we got that
            all set up—should have been a tremendous victory
            for the people. But before long, it shut down, why?
            Because the guards were stealing the gasoline for
            the engine and selling it on the black market. And
            all the people along the line were tapping into it and
            contaminated it.96

            Shortcomings in the U.S.’s own capacity and plan-
         ning also hampered governance-related initiatives.
         One Marine officer complained that:

            [T]here was very little done in the way of working with
            the government. . . . I never felt that there was a State
            Department presence or a [provincial reconstruction
            team]. . . . We had a civil affairs reservist in our bat-
            talion—his job was to coordinate the civil reconstruc-
            tion efforts—it was totally ineffective, we couldn’t get
            anything done because there was no supporting bu-
            reaucracy and no unified vision.97

             The training of the brigade’s staff and leadership
         was also quite limited regarding execution of infra-
         structure and civil planning projects.98
             In spite of all these difficulties, there were some
         governance improvement successes, mostly on a rela-
         tively small scale. For example, 2/2ID ran a number of
         missions aimed at rebuilding infrastructure and pro-
         viding humanitarian aid to the city’s residents.99 Proj-
         ects included building medical clinics, soccer fields,
         refurbishing schools and Anbar University, expand-
         ing police stations, and restoring a badly damaged
         mosque.100 A Marine company commander recalls an
         attempt to set up a model city in their area:

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            We never quite got there. But the idea was, how do we
            get to the future of Ramadi, so we envisioned a model
            city where everything was working the way it should
            be, with sanitation, education, security. . . . And we
            were also able to run some humanitarian aid . . . on the
            western side of the city. The local people in those areas
            loved it. They appreciated the help.101

            Of the projects pursued, improving electrical
         power generation and distribution was prominent,
         and some slow progress was made in this area. An-
         bar province was receiving less than 8 hours per day
         of electric power as of May 2004, which was down
         from its pre-war standards of 9-15 hours per day.102
         By March 2006, Anbar had gone up to 12-16 hours
         per day.103
            One measure of the U.S. level of activity in attempt-
         ing to improve the quality of life in Ramadi can be
         found in the records of the Commander’s Emergency
         Response Program (CERP). This program provides
         money that brigade commanders and their subordi-
         nate commanders can use at their discretion to meet
         local needs in their areas of operation. CERP spending
         typically, though not exclusively, goes to relatively
         small, relatively short-term projects, and is also used
         to pay reparations for property damaged in combat
         or to family members of killed and wounded civil-
         ians. In Ramadi, estimated CERP spending increased
         significantly over the months of this case study (see
         Figure 2-4). Estimated spending by quarter rose from
         $1.1 million (August-October) to $2.0 million (Novem-
         ber-January) to $2.1 million (February-April) to $2.4
         million (May-July).104 This represents an increase from
         beginning to end of a factor of 2.2.
            Some commanders in Iraq claim to have noted
         a pattern of declining violence in the wake of CERP


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         spending, including Lieutenant General Peter Chi-
         arelli, the MNC-I commander during 2006, and Colo-
         nel John Charlton, who commanded U.S. forces in the
         Ramadi area during 2007.105 Charlton, who spent $87
         million in CERP funds during 15 months in his area of
         operations, claimed that “We did more to win coun-
         terinsurgency with our CERP dollars than we did with
         our weapons.”106 However, there is reason to question
         the causal link between CERP spending and violence.




           Figure 2-3. Estimated Monthly CERP Spending
                             in Ramadi.

             In the first multivariate statistical analysis con-
         ducted on district-level Iraq data,107 Eli Berman, Jacob
         Shapiro, and Joseph Felter found no significant rela-
         tionship at all between CERP spending and insurgent
         violence through 2006. They do find some correlation
         between the two factors starting in 2007, so their work


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         perhaps qualifies Charlton’s statement rather than
         contradicts it.
              One specific example that suggests a complicated
         causal relationship between spending and security is
         one of Charlton’s own reconstruction success stories,
         a glass and ceramics factory that Charlton’s forces in-
         vested in heavily and got up and running in Ramadi in
         2007. CERP was clearly not the decisive factor in this
         success story, because the United States spent over
         half a million dollars in CERP funds across 11 differ-
         ent contracts on that same glass factory during 2005
         without it ever opening.108 Only after Anbar’s Tribal
         Awakening began in the fall of 2006 did the spending
         begin to have its intended effect.
              Charlton’s comments, themselves, also reveal a
         certain degree of ambivalence about the direction of
         causation with regard to CERP spending and changes
         in violence levels. On the one hand, he asserted that
         “. . . the results [of CERP] were clearly evident on the
         ground. Attacks in my area went from 30-35 per day
         down to essentially zero.” But he also argued that
         “The key to any type of reconstruction or stabilization
         project is to establish a secure environment first. . . .
         Once we had [that], we were then able to work with
         the Iraqis to rebuild.”109
              This kind of confusion is common, and reflects one
         of counterinsurgency’s classic recurring dilemmas
         discussed in the first chapter—that security is a pre-
         requisite for good governance while good governance
         is a pre-requisite for security. For some interview-
         ees, this dilemma resonated with their experience
         in Ramadi.
              Other interviewees questioned whether this di-
         lemma was, in fact, at work in Ramadi. Without ex-
         ception, they believed in the dependency of good


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         governance on some threshold level of security. But
         some doubted the necessary causal link in the oppo-
         site direction, suggesting that Ramadi residents’ atti-
         tude toward U.S. forces and the local government was
         far more linked to security than to any other aspect
         of governance. In fact, some interviewees reported
         indifference among the population about demonstra-
         tions of good governance—the people were far more
         interested in reliable security.110 2/2ID’s commander
         commented that:

            Security was first and foremost what people wanted.
            That was the feedback we always got. . . . We gave
            the hospital medical supplies, conducted road repair,
            installed trash receptacles. But basically, this stuff
            couldn’t take root while we were there—it didn’t do
            any good coming from us—it had to come from the
            government. So for us, these things didn’t end up
            making critical contributions to the fight.111

             This observation came not only from U.S. forces,
         but also from local leaders. For example, the acting
         governor of Anbar and mayor of Ramadi in October
         complained, “The marines are not protecting us. It’s
         true that they’ve helped us with some projects such as
         improving the water supply and sewage disposal and
         rebuilding schools. But people think all that is worth-
         less. They need security.”112
             Moreover, even measures that were having some
         positive effects on security were viewed with hostility
         by some of the local population. In May 2005, some
         Ramadi residents staged a “sit-in” to highlight their
         grievances against U.S. forces. According to Al-Shar-
         qiyah television news, Ramadi “looked completely
         empty and paralyzed this morning with the start of a
         2-day sit-in in protest against the U.S. forces’ practices


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         against its residents.” Protesters “called for ending the
         siege imposed on the city for 2 months, the departure
         of the U.S. forces from the city, the release of prison-
         ers, stopping the acts of harassment against the resi-
         dents of Al-Ramadi, putting an end to raid operations
         against citizens’ houses, and stopping indiscriminate
         shooting.”113 Whatever the validity of these particular
         complaints, it was clear that the United States had a
         very high bar to clear in establishing any modicum
         of legitimacy for its governance activities in the city.
         Overall, it appears that good governance generally re-
         mained beyond the reach of the counterinsurgents in
         Ramadi during this time period.

         Were Political Agreements Addressing
         Ethno-Religious Cleavages Pursued?

             Two major cleavages defined the insurgency in An-
         bar and Ramadi during 2004-05. The first was between
         the Sunni Arabs and the new government of Iraq.
         The second was between those Sunni Arabs and the
         U.S.-led Coalition. These two cleavages were closely
         related since, as noted above, many Anbaris saw the
         U.S. forces as working in concert with a Shi’a-led fed-
         eral government. To a significant degree, this percep-
         tion was correct—the United States was very clearly
         in concert with the new Iraqi federal government. The
         United States would have categorically rejected the
         characterization of that government as “Shi’a-led” or
         as sectarian in any other way. Nevertheless, the U.S.
         policies were based on a fundamental premise that
         the institutions of the new Iraqi government were the
         sole instruments of legitimate political power in the
         new Iraq.
             Proceeding from this premise, U.S. policy from
         the establishment of the CPA at least through the pe-

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         riod of this case study was to insist that U.S. coopera-
         tion with tribal sheikhs and other nongovernmental
         power brokers was contingent on the integration of
         these groups into the security and governance mecha-
         nisms of the federal government. In 2003, Anbar CPA
         representative Keith Mines lobbied to create a loya
         jirga, or tribal council, to negotiate the distribution of
         political power in the new Iraq or, failing this, to at
         least empower the sheikhs who came forward to sup-
         port the United States. But the CPA leadership had
         no interest in this, being ever fearful of empowering
         nongovernmental militias and hence undermining
         the larger state-building effort.114 As one intelligence
         officer working in Iraq in 2003 put it, “the standard
         answer we got from Bremer’s people was that tribes
         are a vestige of the past, that they have no place in the
         new democratic Iraq.”115
              This policy then served as a major stumbling block
         to negotiating any sort of political compromise with
         local leaders in Ramadi. Colonel Clark acknowledged
         that, “it would have been way outside the box for us to
         accept [tribal overtures for creation of militias] at that
         time. It was against the policy, and it would have been
         difficult to predict how large the phenomenon was
         going to be.”116 General Joseph Dunford’s comments
         cited earlier in this chapter neatly summarize the situ-
         ation: “[The sheikhs] said they’d fight on our side, but
         refused to go through the government in Baghdad. In
         2005, we weren’t willing to accept that deal.”117 The
         1st Marine Division commander concurred and de-
         fended this view: “The problem we had with local mi-
         litias was that they did not work. The Fallujah Brigade
         is an example. So I don’t think this kind of initiative
         would have succeeded in 2005. It wasn’t a missed op-
         portunity at all.”118 This same reluctance continued to


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         prevail under II MEF, which took over control of U.S.
         operations in Anbar province in March 2005. The limi-
         tations of this policy were certainly not mitigated by
         the 2/2ID leadership’s previously noted slowness in
         embracing its role in engaging local leaders.
             This is not to suggest that U.S. leaders were un-
         aware of or unwilling to address the sectarian griev-
         ances of the Anbari Sunnis more generally. MEF com-
         manders did pursue several initiatives to try to bridge
         the gap between Anbar and the federal government,
         such as achieving better Sunni representation in Bagh-
         dad, moderating de-Ba’athification, and advocating
         a greater role for Sunni officers in the Iraqi Army.119
         But the effects of such efforts were hampered so long
         as the United States held the tribes’ claims to having
         their own legitimacy at arm’s length. This attitude
         tended to reinforce the common cause between the lo-
         cal resistance and the Islamist extremists. The 1/503rd
         commander, Lieutenant Colonel Gubler, explained
         the problem this way:

            For Sunnis, the fledgling Iraqi government can be seen
            to rely on illegitimate security forces—the U.S. and/
            or Shi’a militias. Hence, as the [Iraqi Army] becomes
            larger and more effective as a security force, the less
            likely it is that the Shi’a government will negotiate a
            power-sharing deal with the Sunnis.120

            For the first several months of 2/2ID’s tenure in Ra-
         madi, seeking local leaders who were willing to work
         with the Coalition and were also not working with the
         insurgents was a challenge. A Marine company com-
         mander who left Ramadi in March lamented that, “We
         never really nailed down who the real power brokers
         were. We dealt with the provincial government, but
         they weren’t the guys who were pulling the strings.”121


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             As the split between AQI and the tribes began
         to open, however, opportunities to work with tribal
         leaders began to present themselves to the United
         States during the spring and summer of 2005. Effec-
         tive response to these opportunities was slow, given
         the difficulty of even distinguishing real leaders
         from charlatans and profit-seekers (so-called “fake
         sheikhs”122). But over time, beginning at company and
         battalion levels, the United States began to build some
         relationships with sheikhs who showed promise as
         potential allies. As it became clear that the U.S. forces
         were not leaving the city, even some sheikhs who had
         been working with the insurgency seemed interested
         in seeking some accommodation with the U.S. Colonel
         Patton described the evolution of his own thinking on
         this point:

            The real power base in Ramadi was in the tribes, so if
            we were going to make any inroads in governance, we
            figured out that we would have to work through the
            sheikhs and the tribes. That wasn’t something that we
            understood on day one, it took us time to figure that
            out. . . Why did it take so long to get to this realization?
            Because we were trying to work through the govern-
            ment and were not enthusiastic about propping up
            centers of power outside government channels.123

             By the summer, 2/2ID units had developed a sheikh
         security council comprising two dozen sheikhs.124
         Still, these relationships proceeded fitfully, with a
         few steps forward often matched by a few steps back.
         For example, some tribal leaders in the 1/503rd’s AO
         requested that the United States lift its checkpoints
         and extend the evening curfew by a couple hours.
         The United States forces complied, but that resulted
         in violence immediately rising again. The battalion’s
         executive officer reports:

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            At that point, in June, several of the tribal leaders
            planned a major meeting when they were going to get
            everyone together to discuss and coordinate their ac-
            tions as part of a new effort to oppose the insurgents.
            We were prohibited from attending this meeting be-
            cause they were going to great lengths to avoid their
            efforts being seen as associated with us. But al Qaeda
            knew what they were doing, they assassinated guys,
            and scared them away, so the meeting didn’t even
            happen.125

             Carter Malkasian, a civilian analyst at the I MEF
         headquarters, cited such setbacks in tribal organiza-
         tion against AQI as evidence that in 2005, the environ-
         ment was not yet ready for a major shift. He suggests,
         “Maybe what was happening was that the leadership
         had started to change its views, but the majority of the
         insurgents—the foot soldiers—were still committed to
         the cause.”126
             In parallel with trying to cultivate tribal allies, de-
         velopment of a city council became a key focus for the
         2/2ID brigade staff beginning in the spring of 2005.
         One of the principal challenges of this effort was sim-
         ply identifying who would be amenable to gather-
         ing to discuss issues. Eventually, this effort did bear
         fruit, and a city council had just formed when the
         brigade turned over control of the city to its succes-
         sor.127 Even so, there remained a critical gap between
         the authority exercised by the official government
         and by the tribal leaders. Colonel Patton explains:

            The provincial and city governments that were just
            starting to function were not especially pleased with
            the tribal leaders’ influence. We knew that bridging
            this gap was the end game, but basically, the sheikhs
            controlled a lot more people and resources than the
            nearly absent government did.128



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             Some interviewees viewed these early in-roads
         into tribal alliance building as the earliest roots of what
         would become the Tribal Awakening movements the
         following year.129
             On balance, though, in spite of these early instanc-
         es of building relationships with the city’s tribal lead-
         ers, the evidence suggests that during the period of
         this case study, the United States was not able to pur-
         sue any serious political agreements that would ad-
         dress the fundamental sectarian cleavage between the
         disenfranchised Sunnis of Ramadi and the new Iraqi
         government. U.S. policy at the strategic level resisted
         the avenues of political compromise that were most
         salient to that cleavage, and the need to move in this
         direction only became clear gradually to counterin-
         surgents at the operational and tactical levels.

         Was the Counterinsurgency Successful?

             The outcomes of the counterinsurgency over the
         course of 2/2ID’s deployment are mixed. If success
         is measured only by attack statistics over the course
         of the brigade’s 10 ½ months in command in Ramadi,
         then some degree of success is discernible. Unclassi-
         fied attack data is sparse, though the 1/503rd’s execu-
         tive officer reported that attacks in the eastern half of
         the city went from 10 per day to 2-3 per day over those
         10 ½ months.130
             After returning to the United States, that battal-
         ion’s leadership noted a variety of improvements in
         their area of operations, as shown in Table 2-1.131




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                  September 2004                                  July 2005
      • Enemy contact everyday—Direct fire       • Enemy contact less than once per
         (RPG, RPK, PKM) and indirect fire           week—IED/SVBIED or indirect fire
         (rocket and mortar)                      • Main supply route (MSR) Michigan
      • People did not go into the street, to      remained ‘BLACK’
         work, school, or market                  • Life normalized—People drove and
      • People scared and refused to talk to        walked on the streets; children played,
         or support U.S. forces                      schools, markets, and businesses
      • No ISF; IPs worked with the enemy           were open
      • Electricity was intermittent              • People felt safer and tolerated or
      • No running water in half the city            supported CF
      • Sewers clogged and trash was piled       • ISF present; IP units were forming.
         in the city                              • Electricity restored to the city; Power
                                                     outages 2-3 times per week
                                                  • Running water to all the city
                                                  • Sewers were unclogged and trash was
                                                     picked up routinely


                     Table 2-1. Changes in Eastern Ramadi,
                           September 2004-July 2005.

               The brigade reported a somewhat more modest list
           of 10 “Brigade Achievements” in the unclassified por-
           tion of its own After Action Report:132
               1. Executed a historic deployment from Korea into
           a combat zone.
               2. No serious heat casualties during the entire
           deployment.
               3. Supported and participated in combat opera-
           tions in Fallujah, preventing Ramadi from becoming a
           second insurgent stronghold.
               4. Provided a secure voting environment in
           Ramadi for the January 30 national elections.
               5. Local leader engagement facilitated the forma-
           tion of a Ramadi city council and multi-agency secu-
           rity council.
               6. Re-enlisted over 800 Soldiers in combat.


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             7. Enabled 99 percent of 2BCT [2nd Brigade Com-
         bat Team] Soldiers to participate in the R&R [rest and
         relaxation] leave program.
             8. Developed and employed five new Iraqi Army
         battalions, and built/renovated six new Iraqi Army
         compounds.
             9. Captured or killed over 2,100 insurgents.
            10. Captured a brigade-equivalent amount of
         weapons and resources.

             The only achievement on the list that resembles
         something like strategic success—the claim of pre-
         venting Ramadi from becoming a “second insurgent
         stronghold”—was always a close-run thing, and
         proved to be quite fragile in the months following the
         brigade’s departure.
             Interviewees expressed a wide range of views on
         how successful their mission had been. Of 16 inter-
         viewees who answered a question about the success or
         failure of the mission, five characterized it as success.
         Interestingly, four of those five were Marines who
         left Ramadi in March 2005. One called the mission a
         failure. Ten interviewees felt that 2/2ID had achieved
         something in between success and failure. The follow-
         ing two quotes are representative of that view. From
         1/503rd executive officer Major Greg Sierra:

            Was this success in counterinsurgency or just success
            in combat ops? Even though we had multiple lines of
            effort, it was almost all combat ops. So even though we
            didn’t manage to build much in terms of political and
            economic development, we did start to set the condi-
            tions, and helped lay the foundation for what hap-
            pened later, in terms of working with the sheikhs.133

            And from 2/2ID’s artillery battalion commander,
         Lieutenant Colonel John Fant:

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            I’ve come to the conclusion that we just held the place
            in check. We may not have won, but we did prevent
            it from getting so out of control that it would require
            another Fallujah type operation. We resisted the
            overall collapse, and in some ways set the conditions
            for the brigades that followed to help develop the
            Awakening.134

             Whatever degree of success the brigade achieved
         during its time in Ramadi, there is little doubt that it
         was short-lived. As shown earlier in the chapter, re-
         ports from Ramadi in fall of 2005 were relentlessly
         grim, depicting an environment as bad or worse as the
         one that had greeted 2/2ID upon its arrival in 2004.
         By March 2006, a Provincial Stability Assessment
         conducted jointly by the U.S. Embassy and Multi-
         National Force-Iraq (MNF-I) rated Anbar province as
         “critical” on a scale of stable, moderate, serious, and
         critical. This designation meant to signify the follow-
         ing characteristics:
             •	a government that is not functioning or has not
                 formed, or that is only be [sic] represented by a
                 single strong leader;
             •	an economy that does not have the infrastruc-
                 ture or government leadership to develop and
                 is a significant contributor to instability; and,
             •	 a security situation marked by high levels
                 of [insurgent] activity, assassinations and
                 extremism.135


            Clearly, 2/2ID cannot be held responsible for the
         deterioration in Ramadi’s security environment fol-
         lowing its departure from the city. Without much
         more investigation, it is impossible to estimate how
         much of that deterioration resulted from changes in


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          the environment or the insurgency itself, as opposed
          to changes in the U.S. policy or operations. Still, it
          seems fair to conclude, based on both the modesty and
          the evident fragility of the progress achieved by the
          United States during the period of this case study that
          the counterinsurgency mission was not successful in a
          strategic sense.

          Evaluation.

              Table 2-2 summarizes simple answers for the
          study’s framework questions suggested by the evi-
          dence presented in this chapter. It is clear that identity-
          based cleavages were at the heart of the insurgency in
          Ramadi and Anbar province. Fundamental disagree-
          ment over the legitimacy of Sunni versus Shi’a Arab
          rule in Iraq and in Anbar was not the only source of
          conflict, but it was the most important among insur-
          gents other than the religious extremists who flocked
          to the banner of al-Qaeda in Iraq. This problem was
          evident from the beginning of the conflict, and the
          evidence presented here confirms that this dynamic,
          while evolving, continued to prevail throughout the
          time period of this case study.

                     Identity     Good         Good        Political
         Cases                                                         Success
                    Cleavages    Security    Governance   Agreement
        Ramadi
                      Yes       Ambiguous        No          No          No
       2004-2005


                   Table 2-2. Case Study Variable Summary
                                  for Ramadi.

            It is also clear that as of mid-2005, the United States
          was not yet prepared to pursue political strategies that


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         would directly address these cleavages. More precise-
         ly, the United States had staked everything on achiev-
         ing a grand political bargain at the national level that
         should have addressed the grievances of Sunnis in
         Anbar. But as national-level reconciliation efforts re-
         mained bogged down, counterinsurgents in Anbar
         were left to fight their inherently political war with
         little discretion for addressing political grievances.
              To say this is not necessarily to indict the policy
         choices made. U.S. leaders in Washington and Bagh-
         dad were loath to undermine the fragile sovereignty
         of the new Iraqi government by empowering tribal
         leaders in Anbar province. Moreover, as noted above,
         there were good reasons to doubt the viability of Sun-
         ni tribal groups fighting AQI effectively. The failed ex-
         periment with the Fallujah Brigade loomed large over
         proposals for arming tribal militias. In retrospect, the
         advantage of empowering the tribes is evident, but the
         risks of this strategy to the stability of the Iraqi state
         were significant.136 Even so, should this case count
         as evidence in support of the general argument on
         the greater importance of identity politics relative to
         good governance?
              Whatever support the case does provide must be
         qualified by the fact that the U.S. counterinsurgents
         do not score very highly on security operations or
         good governance in this case. With security, there
         is substantial evidence that 2/2ID’s initial approach
         to fighting the insurgency through large cordon and
         search operations was unproductive at best and coun-
         terproductive at worst. The decision at strategic levels
         to allocate a single brigade combat team to a popula-
         tion center with around a half million people did not
         set 2/2ID up to succeed in its security mission. On the
         other hand, these negative factors were partially miti-


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         gated over time, first by 2/2ID’s gradual adaptation
         to smaller scale operations with a growing focus on
         securing the population; and second, by the deploy-
         ment of Iraqi security forces into the city. While these
         improvements appear to have been incremental and
         uneven, they belie an easy negative categorization of
         the quality of security operations for the case.
             The coding of the good governance variable is
         more clear. Good governance cannot be said to have
         failed in this case, exactly; perhaps it is more accurate
         to say that it was barely attempted. By most accounts,
         U.S. forces believed in the potential value of improv-
         ing governance in Ramadi, as signified, for example,
         by the growing CERP expenditures over time. But
         they were unable to make significant and sustained
         investments in this objective due to the persistent lev-
         els of insurgent violence and intimidation in the city.
             So together, the weak contributions of security and
         governance in this case make the marginal impact of
         the political agreement variable on the outcome harder
         to isolate. Still, the causal link between U.S. policy in
         2004 and 2005 of discouraging the legitimation of local
         Sunni tribes and the persistence of the insurgency in
         Ramadi during this period seems strong. Fundamen-
         tally, what institutions of governance existed in Ra-
         madi at that time—principally the United States and,
         to a lesser degree, the Iraqi security forces—were per-
         ceived as illegitimate. This perception was not based
         on failures of performance, but rather on presump-
         tions of inherent legitimacy tied to ethno-religious
         identity. So in this sense, this case does provide some
         evidence of the relative importance to counterinsur-
         gency of political agreements addressing ethno-reli-
         gious cleavages.
             A relevant counterfactual question here would be,
         if the United States had managed to stand up a local

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         government and provide a greater amount of infra-
         structure improvements, basic service provision, and
         economic development, would the insurgency have
         retained the strength that it did? The question is im-
         possible to answer, though as described above, some
         interviewees were skeptical that more success in im-
         proving the quality of governance in the city would
         have had a great impact on the insurgency. In any case,
         the conditions that would probably have been neces-
         sary to allow for such a scenario seem almost categori-
         cally precluded by the prevailing political situation.
             Perhaps the most compelling evidence of this in-
         terpretation of causal factors in Ramadi can be found
         in the Tribal Awakening developments there and
         elsewhere in Anbar in 2006-07. A more detailed in-
         vestigation of the Awakening using this analytic lens
         awaits future research, but even its basic storyline is
         instructive for these purposes. In early 2006, the Co-
         alition was already reporting some positive effects of
         the expanding split between Sunni rejectionists and
         jihadists among the insurgents.137 AQI had continued
         to alienate Sunni Iraqis with its intolerance and in-
         timidation. At the same time, the first instances of co-
         operation between U.S. forces and tribal groups were
         bearing fruit in al Qaim in the Western Anbar desert.
         Former insurgents began openly fighting each other.
         In February 2006, six insurgent groups, including the
         1920s Brigades and the Islamic Movement for Iraq’s
         Mujahideen, released a statement announcing a coop-
         erative effort to form a people’s cell to oppose AQI
         and to provide security in Anbar.138
             Over the course of the next 1½ years, Ramadi
         transformed from “the blackest rat-hole in the dark
         insurgent sewer of the upper Euphrates valley,” as
         David Kilcullen memorably called it, to a model for


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         effective cooperation between the United States and
         the local Iraqi population. Attacks dropped from 100
         a day to only a few.139 The reasons for this transforma-
         tion, of course, are numerous and complex. But im-
         provements in the quality of governance in Ramadi or
         Anbar are conspicuously absent from the explanations
         offered by analysts and participants, alike.140 Bing
         West dismisses the importance of such factors explic-
         itly: “The Awakening wasn’t attributable to economic
         development; Anbar was starved for funds. It wasn’t
         due to enlightened governance; [Awakening leader
         Sheikh] Sattar referred to the Baghdad government as
         ‘those Persians’.”141
             Instead, what appears to have been decisive in the
         Awakening was the popular rejection of AQI’s bru-
         tality and the newfound U.S. willingness to partner
         directly with and empower local tribes as agents of se-
         curity and governance. U.S. Army Colonel Sean Mac-
         Farland, who took over AO Topeka in the summer of
         2006, lists as one of the most important lessons from
         his experience the realization that:

            The tribes represent the people of Iraq. . . . No matter
            how imperfect the tribal system appeared to us, it was
            capable of providing social order and control through
            culturally appropriate means where governmental
            control was weak.142

         The often-used short hand that the United States
         bought off the insurgents or paid them to switch sides,
         therefore, is extremely misleading. No doubt some in-
         dividual insurgents may have had their loyalties ma-
         nipulated by money. But for the insurgency in general,
         U.S. payments to former insurgents cum tribal militias
         is more accurately described as a consequence of the
         change in loyalties than as a cause of the change.


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            In Ramadi, who governed appears to have
         been much more important than how those
         people governed.

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             73. Interview 6 (Corporal Peder Ell).

             74. Interview 29 (Colonel Gary Patton).

             75. Interview 1 (Andrea Jackson).

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             77. Interview 15 (anonymous Army officer).

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                              CHAPTER 3

             TAL AFAR (MAY 2005 to FEBRUARY 2006)

             This chapter presents a case study of U.S. opera-
         tions in and around the city of Tal Afar from May
         2005 to February 2006. Its focus is on the U.S. Army’s
         3rd Armored Cavalry Regiment (3ACR) and its sub-
         ordinate units during that time period. Like the case
         in Chapter 2, this case is presented in seven parts
         covering the following topics: 1) an overview of the
         background and major events of the case; 2) the role
         of ethnic and religious identity politics in the case;
         3) counterinsurgent actions with respect to providing
         security; 4) counterinsurgent actions with respect to
         improving governance; 5) any efforts toward political
         agreements that address ethno-religious cleavages;
         6) an assessment of the outcome of the counterinsur-
         gency; and 7) a concluding discussion and evaluation
         of the case in the context of this study’s questions and
         analytic framework.

         CASE BACKGROUND

         Tal Afar and the Insurgency.

             The commander of the U.S. Army’s 3rd Armored
         Cavalry Regiment, Colonel H. R. McMaster, comment-
         ed that “If you take all the complexities of Iraq and
         compressed [sic] it into one city, it is Tal Afar.”1 Tal
         Afar is a small city in Iraq’s northern Ninewah prov-
         ince. It is located roughly equidistant (50-60 miles)
         between Ninewah’s capital city of Mosul to the east
         and the Syrian border to the west. Though population
         estimates for Tal Afar are as high as 300,000,2 most es-
         timates are closer to 200,000, and some interviewees

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         were convinced that the city’s population by 2005 was
         much lower, perhaps only 100,000 people or fewer.3
         Tal Afar’s population is distinct for being less than 10
         percent Arab; 90 percent of the population is ethnic
         Turkmen. Tal Afar’s Turkmen are Muslims, but split
         between about 75 percent Sunni and 25 percent Shi’a.
             In spite of its somewhat remote and isolated posi-
         tion, Tal Afar has been a strategically important city
         throughout Iraq’s history, including during the most
         recent war. Like Ramadi, it has served as something of
         a gateway for travelers, merchants, and smugglers, as
         well as being a pathway for oil pipelines transiting in
         and out of Iraq. It also straddles the boundary among
         Turkish, Kurdish, and Arab ethnic communities and
         bears the imprint of each of those rival groups. Though
         predominantly Turkmen, it had a heavily Arab culture
         during Saddam Hussein’s rule, and its strategic loca-
         tion is coveted by the nearby Kurds.4 (See Figure 3-1.)




                   Figure 3-1. Tal Afar and Western
                         Ninewah Province.5

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             In recent decades, Tal Afar’s economy was primar-
         ily based on four sectors: agriculture, trucking, smug-
         gling, and government.6 This latter sector became
         particularly important in the aftermath of the U.S. in-
         vasion. Many of Tal Afar’s Turkmen were very loyal
         Ba’athists and had been strong supporters of Saddam
         Hussein. And, again like Ramadi, many current and
         former soldiers of Iraq’s Army resided in Tal Afar,
         creating a solid basis for technical and tactical exper-
         tise in organizing armed opposition to the new forces
         in power.7 Tal Afar was disproportionately repre-
         sented in Saddam Hussein’s secret police, so much so
         that the idiomatic expression, “watch out for him, he’s
         from Tal Afar,” meant he was a person with connec-
         tions to Saddam Hussein’s ruthless internal security
         institutions.8
             Partly as a result of these relationships, and partly
         because of its location, the city fairly quickly became
         a focal point of insurgent activity in 2003-04. It was
         both a strategic transit point for foreign insurgents
         entering Iraq, and a home to many local Sunnis who
         were strongly opposed to the U.S. presence and the
         installation of a new government in Baghdad that was
         friendly with Iran and that equated Ba’athists with
         terrorists. As in Ramadi, this common cause became
         the basis for an early alliance between Islamic radicals
         and more secular Iraqis opposed to the new order. In
         the summer of 2004, this alliance of insurgents routed
         the local police force and all but took control of the
         city.9 One report referred to the city at the time as a
         “guerrilla bastion where the U.S.-backed interim Iraqi
         government exerts only limited control.”10
             In September 2004, the U.S.-led Coalition initiated
         a major offensive against Tal Afar, known as Opera-
         tion BLACK TYPHOON, in an attempt to dislodge the


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         insurgents from their stronghold in the city. Coalition
         forces conducted what amounted to a siege of the city
         for 2 weeks. Then on September 12, two U.S. battal-
         ions and an Iraqi National Guard battalion moved
         into the city in a major assault. As it turned out, they
         encountered little resistance from insurgents, as most
         had apparently fled.11
             American officials at the time were not committed
         to conducting a counterinsurgency in the city. Instead,
         in keeping with the Coalition’s larger strategy of tran-
         sition, as well as with the economy of force levels of
         resources available, they wanted to get out of the city
         quickly. The senior U.S. officer in the area, Brigadier
         General Carter Ham, said:

            Having us stay there is exactly the wrong thing. First
            of all, we don’t have enough forces to stay in the city.
            But it also sends a message to those that oppose us. It
            lets them say, ‘See, we told you, they really are occupi-
            ers. They’ve taken over a city.’12

             The aftermath of Operation BLACK TYPHOON
         was very difficult for the people of Tal Afar. Essen-
         tial services were nonfunctional, and many of the
         city’s residents were denied the freedom to return to
         their homes. Half or more of the city’s residents were
         temporarily displaced. The resulting humanitarian
         problems generated grave protests against the Unit-
         ed States from the Turkish government.13 Insurgents
         fairly quickly reasserted their freedom of action and
         control in the city.
             The Army unit that took over responsibility for
         Tal Afar in the spring of 2005 divided the insurgency
         there into two groups, borrowing locally-used terms
         that echoed the threat assessment in Ramadi: “Resis-
         tance” and “Takfiri.” According to that unit’s reports:


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            The ‘Resistance’ was made up of primarily Sunni
            Turkoman, supported by internal and external Islamic
            Extremist elements, whose fundamental goal was to
            prevent the Iraqi Transitional Government from suc-
            ceeding, stall the growing power of the Shia local
            leaders throughout the AO [Area of Operations], and
            prevent the re-establishment of security forces which
            were not representative of the Sunni Turkoman popu-
            lation or its long term desires. The ‘Takfiri’ consisted
            of Islamic Extremist elements . . . [that] sought to end
            the occupation of the area by Coalition Forces, force
            the failure of the Iraqi Transitional Government (ITG),
            and establish a Muslim Rule of Law based largely
            upon the ideology adopted by Al-Qaida and the Tali-
            ban in Afghanistan.14

             As in Anbar, these two groups were somewhat
         distinct but operated in concert against their common
         enemies, the Coalition and the Iraqi government.
             The “Takfiri” elements within the insurgency in
         Tal Afar received a great deal of attention, partly due
         to the U.S. Government’s public emphasis on fighting
         al-Qaeda, and partly due to their truly grisly acts of
         terrorism in the city, which featured suicide bomb-
         ings and leaving beheaded bodies lying in the streets.
         Colonel McMaster described the enemy in Tal Afar
         as “the worst of the worst . . . people in the world.”15
         Nevertheless, the available evidence, including the in-
         terviews conducted for this research, shows that most
         of the insurgents in the city were local Sunni Turk-
         men, not foreigners.16 For example, one cavalry troop
         detained over 350 people during the course of its time
         in the city, 90-95 percent of whom were local Sunni
         Turkmen.17 As the regiment’s operations officer, Ma-
         jor Michael Simmering, indicated:



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            Everyone talks about Tal Afar being an important lo-
            gistical hub for the foreign fighters coming into the
            country from Syria, but we didn’t really see a lot of
            that. . . . [C]ertainly AQI was present and definitely
            fed the fire, but the insurgency was primarily locally-
            funded, locally-led, locally-focused.18

         The Counterinsurgents.

             Like the 2nd Brigade Combat Team, 2nd Infantry
         Division (2/2ID) in Ramadi, 3ACR operated under a
         divisional headquarters (known at the time as Multi-
         National Forces–Northwest) and a corps headquar-
         ters (Multi-National Corps-Iraq [MNC-I]) in Baghdad.
         3ACR, a unit slightly larger than, but roughly equiva-
         lent to, a brigade combat team, was composed of five
         squadrons, each the rough equivalent of a battalion:
         three cavalry squadrons, one aviation squadron, and
         one support squadron. The design and training of a
         cavalry regiment features elements potentially both
         advantageous and disadvantageous to conducting
         counterinsurgency operations. In conventional, high-
         intensity armored warfare, the role of cavalry units is
         primarily as scouts, performing reconnaissance and
         screening missions in support of larger armored for-
         mations. These missions put a premium on both mo-
         bility and collection and processing of intelligence.
         The former requirement means that cavalry units tend
         to be very dependent on the armored vehicles around
         which their units are built. This tactical culture is per-
         haps an obstacle to adapting to counterinsurgency
         operations that involve foot patrols and extensive in-
         teraction with the local population. On the other hand,
         the focus and force structure that a cavalry unit nor-
         mally dedicates to intelligence does provide a solid
         foundation for adapting to counterinsurgency, a tra-
         ditionally intelligence-driven mission.

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             3ACR was originally designated to operate in an
         area just outside Baghdad, but as U.S. commanders
         grew more concerned about Tal Afar’s deterioration,
         four of its five squadrons were reassigned to western
         Ninewah province shortly after arriving in Iraq. First
         Squadron (“Tiger Squadron”) moved into the expan-
         sive Syrian border area and western desert, while Sec-
         ond Squadron (“Sabre Squadron”) took responsibility
         for Tal Afar, itself. The aviation and support squad-
         rons also moved with Tiger and Sabre. The regiment’s
         units began arriving in Ninewah in April, with about
         4,000 troops having settled in by the middle of May.
         Sabre Squadron, with around 1,300 troops, officially
         assumed responsibility for the city of Tal Afar on May
         1, 2005. 3ACR transferred authority to its successor on
         February 19, 2006.19

         What Happened (May 2005 to February 2006).

             In the months after Operation BLACK TYPHOON,
         western Ninewah province had received only the thin-
         nest coverage by U.S. forces. When 3ACR took control
         of the area, it approximately quadrupled the number
         of troops in the area of operations. With so few forces
         in the area, the United States and the still very weak
         Iraqi security forces had not been able to resist a grad-
         ual takeover of Tal Afar by insurgents. Soldiers de-
         scribed the city as a ghost town20 where economic ac-
         tivity had all but ceased,21 families feared leaving their
         homes, and U.S. forces were attacked every time they
         ventured out from their bases.22 A Sabre Squadron
         platoon leader reported that “the first 3 months were
         essentially an extended armed reconnaissance.”23
             The city’s neighborhoods had become tribal and
         sectarian enclaves where, for example, Sunni Farhats


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         rarely ventured into Shi’a Jolaq areas and vice versa.24
         Tal Afar’s mayor, a Sunni, was widely known to be
         working with the insurgents. The police force, mean-
         while, or at least what remained of it, was entirely
         Shi’a. Described by some interviewees as little more
         than a sectarian death squad,25 the police tended to
         stay holed up at the city’s Ottoman-era hilltop castle
         in a Shi’a neighborhood, only venturing out to con-
         duct attacks on rival tribal groups.
             3ACR’s first moves were to try to clear some key
         locations in the city, such as around the hospital, to
         secure the main east-west highway and to attempt to
         start reconstituting the police force. After initial un-
         successful attacks against the U.S. forces, insurgents
         began targeting civilians more. One local tribal leader
         complained, “Anyone not helping the terrorists can’t
         leave their homes because they will be kidnapped and
         the terrorists will demand money or weapons or make
         them join them to kill people. If they refuse they will
         chop their heads off.” A flier posted at a school read,
         “If you love your children, you won’t send them to
         school here because we will kill them.”26 This trend
         was punctuated by a pivotal attack on May 23 when
         Sunni insurgents detonated two large suicide car
         bombs in the neighborhood of the Jolaq tribe, one of
         the city’s largest Shi’a tribes, killing or injuring more
         than 40 people. Sabre Squadron commander Lieuten-
         ant Colonel Chris Hickey called this incident a turn-
         ing point for the Jolaq tribe, who turned to the United
         States for help and “created the opening needed to
         allow our Soldiers and leaders to finally begin under-
         standing the city.”27
             On June 4, in what was to be the beginning of one
         of Sabre Squadron’s main efforts in Tal Afar, Hickey
         hosted a summit of tribal sheikhs to discuss how to


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         solve the security situation in the city. More than 60
         local leaders attended, and to the Americans’ surprise,
         amid a great deal of tension, argument, and raised
         voices, many of the sheikhs in attendance advocated a
         major military assault on the city.28 In large part, how-
         ever, this reflected a deep sectarian split among Tal
         Afar’s tribes. Shi’a tribal leaders were much readier
         for a military solution than were Sunni tribal lead-
         ers, and they each lobbied the provincial and federal
         governments to this effect.29 The minority Shi’a saw
         the United States as a potential ally in protecting them
         from their Sunni rivals and were quite ready to paint
         those groups with a broad insurgent brush. As one
         Sabre trooper put it, “These guys weren’t interested
         in fighting insurgency. They were interested in us-
         ing an armored cavalry regiment to carry out their
         tribal vendettas.”30
             For the first half of the blazing hot summer, 3ACR
         resisted entreaties for a major assault on the city, con-
         tinuing to try to identify and target known insurgents
         while trying to build relationships with the complex
         network of competing sheikhs in the city. In spite of
         tactical successes, however, the city remained gripped
         by fear and violence. By late July, the regiment had
         decided that a major offensive would be necessary
         to clear some parts of the city of the worst of the in-
         surgents there. Thus began an elaborate, multiweek
         preparation for an attack focused on Tal Afar’s eastern
         Sarai neighborhood, an attack that would be known as
         Operation RESTORING RIGHTS.
             Key features of these preparations included mar-
         shalling several Iraqi Army and police commando
         units, together with their U.S. Special Forces advisors,
         building a dirt berm around the city to limit movement
         in and out of the city, and constructing a large facility


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         outside the city for residents to take shelter away from
         the combat.31 The regiment also brought more than
         half of Tiger Squadron into the western half of the city
         from its posts in the desert and along the border, and
         arranged for a battalion of the 82nd Airborne Division
         (2nd Battalion, 325th Airborne Infantry Regiment [2-
         325th]) to move into the targeted Sarai neighborhood
         immediately following the assault.
             In some respects, these preparations and the plans
         for the operation, itself, bore the hallmarks of a very
         conventional combat operation. Its intent, however,
         aligned with the regiment’s understanding of the
         political dynamics in the city, as Lieutenant Colonel
         Hickey explains:

            The overarching purpose of Operation RESTORING
            RIGHTS (ORR) was to set the conditions in which
            political and economic development could proceed.
            More specifically, by attacking the Takfirists and
            guarding against the tendency to attack the popula-
            tion directly, the Sunni could be reintegrated into the
            mainstream political process once the veil of terror
            was lifted from their ranks. Meanwhile, maintaining
            the support of the Shiites could eventually bring unity
            to the city and establish an environment that finally al-
            lowed for reconstruction operations and reconciliation
            of tribal conflicts.32

             With this objective in mind, U.S. and Iraqi secu-
         rity forces kicked off the operation on September 2.
         For nearly 2 weeks, U.S. and Iraqi forces cordoned off
         and then moved through the Sarai district and other
         eastern portions of the city, facilitating civilian evacu-
         ation, targeting known insurgent strongholds, and
         clearing city blocks. Resistance to the assault force was
         much lighter than anticipated, in part because of the
         Iraqi government’s insistence on a 7-day pause for ci-


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         vilian evacuation, which some believe allowed many
         insurgents to escape.33
             By September 15, the operation had concluded,
         with U.S. and Iraqi forces having killed around 150
         insurgents and captured another 850.34 Crucially, U.S.
         forces opted to remain stationed inside the city for the
         first time, with the newly arrived 2-325th battalion tak-
         ing over the Sarai neighborhood and Sabre Squadron
         taking up headquarters in the northern and central
         areas of the city. This began a period of major recon-
         struction and political activism on the part of 3ACR.
         In October, Sabre Squadron established the following
         goals for its operations in the city:35
             •	 Quickly establish security forces throughout
                 the depth of the city to secure the popula-
                 tion prior to the return of the majority of the
                 civilians.
             •	Establish [traffic control points] and obstacles
                 throughout the city to control the ability of the
                 [anti-Iraqi forces] to maneuver freely through-
                 out the city.
             •	Recruit, train, equip, and employ a police force
                 representative of the population.
             •	Immediately address any claims of damages
                 made by the citizens and pay compensation.
             •	 Begin large scale reconstruction operations
                 to immediately begin altering perceptions of
                 security.
             •	 Target anti-Iraqi forces operating within the
                 city to prevent them from reinitiating their
                 campaign of intimidation on the population.
             •	Immediately establish new operational police
                 stations throughout the city to begin the pro-
                 cess of transitioning security responsibilities to
                 local forces.


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            •	Conduct information operations to emphasize
               the legitimacy of the government, the necessity
               of ORR [Operation RESTORING RIGHTS], and
               the return of peace and security to Tal Afar.
            •	Ensure each citizen of Tal Afar [is] afford-
               ed the opportunity to vote in the October
               Referendum.

             Three of these goals stood out in importance.
         First was the establishment of new security stations
         throughout the city, jointly manned by U.S. and Iraqi
         forces. The idea behind this initiative was to establish
         a ubiquitous presence in the city and thus raise the
         confidence of the population while expanding intel-
         ligence collection and limiting insurgents’ freedom
         of movement.
             Second was the recruitment of a new police force.
         In particular, U.S. forces aimed to create a police force
         that was representative of the sectarian demographics
         of the city, as opposed to being dominated by the Shi’a
         minority as had been the case previously. As Lieuten-
         ant Colonel Hickey explained:

            Prior to ORR [Operation RESTORING RIGHTS], Sa-
            bre attempted to recruit police from throughout the
            city. Because of the enemy’s campaign of intimidation,
            Sunni citizens did not volunteer in significant num-
            bers. The police recruiting process began upon the
            completion of ORR and became an immediate success.
            In the first 2 days of police recruiting, over 300 people
            arrived at the castle to volunteer to become [Iraqi po-
            lice]; the more important part of the number was that
            60-70% of the people that arrived were Sunni.36

            Third was the preparation for the fall elections,
         the constitutional referendum in October and national



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         elections in December. Substantial popular participa-
         tion in these elections was seen as a critical measure
         of political development in the fledgling state. Sabre
         Squadron counted the elections as a significant suc-
         cess in Tal Afar. There were no major attacks and an
         estimated 17,000 people voted in October, and 40,000
         in December, a great improvement over 1,000 estimat-
         ed voters in the January 2005 election.37
             These efforts accompanied a significant push to re-
         establish the basic functioning of the city’s infrastruc-
         ture and services, especially provision of clean water
         and food. And 3ACR commanders continued their at-
         tempts to bring Tal Afar’s tribal sheikhs into a political
         process that might eventually form the foundation for
         a new city government.
             Violence in Tal Afar plummeted over the fall of
         2005. Figure 3-2 shows the average number of daily at-
         tacks in each of the 10 months from April 2005 to Janu-
         ary 2006.38 These numbers include attacks by multiple
         methods against U.S. forces, Iraqi security forces, as
         well as civilian targets in the city. Attacks declined
         over this period from an average of six per day in June
         2005 to about one per day in December. At the end of
         that month, the 2-385th battalion left the city, leaving
         Sabre Squadron as the main U.S. unit in the city. Nev-
         ertheless, violence continued its decline into January,
         when Tal Afar experienced only 18 insurgent attacks
         all month.




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           Figure 3-2. Average Attacks Per Day in Tal Afar.

             In February 2006, shortly before 3ACR turned Tal
         Afar over to its successors, the 1st Brigade of the 1st
         Armored Division, the city’s sheikhs held a tribal rec-
         onciliation meeting. Leading sheikhs from both Sunni
         and Shi’a tribes held civil discussions about the future
         administration of the city and proclaimed themselves
         to be not just Sunni or Shi’a, but “Iraqian.”39
             In the months after 3ACR’s departure, Tal Afar
         was not free from insurgent activity or from sectarian
         violence. Some of the same tensions that had plagued
         the city before persisted,40 not least because of the sec-
         tarian violence that swept much of Iraq in the wake of
         the bombing of the al Askariya Mosque in Samarra,
         only 3 days after 3ACR left Ninewah. But the city did
         not regress back into the ungovernable war zone that
         it had been.
             The transformation of Tal Afar from insurgent
         stronghold to a moderately functional city quickly


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         became a touchstone for policymakers in conceiving
         of a shift in U.S. strategy in Iraq toward the concept
         deemed to have been practiced there: “clear, hold, and
         build.” In October 2005 Senate testimony, Secretary of
         State Condoleeza Rice cited Tal Afar as a successful
         example of this approach.41 President George W. Bush
         dedicated an entire speech to 3ACR’s experiences in
         Tal Afar as an illustration of what was possible for the
         United States to achieve in Iraq.42 Subsequently, it fea-
         tured in the Army’s and Marine Corps’s new counter-
         insurgency manual, again as a successful example of
         “clear, hold, and build.”43

         Were Ethno-Religious Identity-Based
         Cleavages Significant?

             There is no question that Sunni-Shi’a identity-based
         conflict was central to the insurgency in Tal Afar. The
         conflict was manifest in two mutually reinforcing di-
         mensions: the national conflict between Sunnis who
         were increasingly afraid of disenfranchisement at the
         hands of the allegedly sectarian central government;
         and local conflict among tribes who were predomi-
         nantly Sunni or Shi’a.
             This sectarian cleavage is something of a historical
         curiosity because it had not been a significant problem
         among Tal Afar’s Turkmen population prior to the
         overthrow of Saddam Hussein.44 To the contrary, Tal
         Afar’s Sunni and Shi’a were united to some degree by
         pride in the distinctness of their Turkmen culture and
         language in a majority-Arab country. But in the after-
         math of the Coalition invasion of Iraq, the Turkmen
         were experiencing what one scholar called an identity
         crisis.45 Their political mobilization had been almost
         entirely based in the Ba’ath party, which was now not


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         only out of power but illegal, a problem one inter-
         viewee likened to “pulling the spinal column out of
         Iraq.”46 What would replace Ba’athism was uncertain,
         but to the extent Tal Afar’s Sunnis could discern the
         intentions of the new Iraqi government, they feared
         sectarian discrimination. One interviewee character-
         ized the views of the Sunni Turkmen elite as national-
         ist, but with “almost a colonial mentality; ‘our Shi’a’
         are OK, we can handle them. But the ‘other Shi’a’, they
         are compromised, they have come under the sway of
         the Iranians.”47
              Additionally, with the collapse of the state that
         had provided virtually everything to the city, from
         security to food, the people of Tal Afar increasingly
         looked to their tribes for sources of support. While Tal
         Afar’s tribes do not share an entirely homogeneous
         religion, they do tend to be predominantly Sunni or
         Shi’a.48 Soon these emerging tribal—and increasingly
         sectarian—grievances were being stoked by the Is-
         lamist extremists who were taking up residence in the
         city in growing numbers, thanks in part to its strategic
         location as a transit point between Syria and Mosul
         and then Baghdad. This was the environment that be-
         came fertile ground for an alliance of convenience be-
         tween nationalist local resistance insurgents and the
         Islamist radicals of al-Qaeda in Iraq (AQI) and Ansar
         al Sunna. Very quickly, then, the city descended into
         a nightmare of tribal feuds and terror imposed by the
         insurgents. In this sense, as one interviewee put it,
         the conflict in Tal Afar was “sectarian-fueled” but not
         “sectarian-based.”49
              The sectarian cleavage was further exacerbated by
         the behavior of many of the Iraqi security forces that
         operated in and around the city. The police were tak-
         en over by a Shi’a chief who quickly purged the lead-


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         ing Sunni officers from the force, prompting rumors
         of the growing local influence of the Iranian-backed
         Badr Corps militia.50 The Iraqi Army also tended to
         reinforce the fears the Sunnis had of being marginal-
         ized, or worse. In Operation BLACK TYPHOON, the
         Army’s Scorpion Brigade, a heavily Shi’a commando
         unit, was deployed to Tal Afar from Baghdad, incit-
         ing loud protests from Tal Afar’s Sunnis. Voicing a
         common complaint, one resident complained that all
         the official security forces “are from the Badr Orga-
         nization and the [Kurdish] Pesh Merga. They wear
         the military uniform for disguise. Their treatment is
         very bad. They were taking people to detention pris-
         ons just because they are Sunnis since the start of the
         military campaign.” Another resident agreed, saying:
         “The Iraqi army are the real terrorists. Even what they
         write on our walls is evidence, like ‘Long live Pesh
         Merga’ or ‘Long live Badr.’”51 Just as Tal Afar’s Sunnis
         had begun to see Badr behind every Shi’a, Shi’a were
         quick to label any Sunni as a terrorist.52
             Another measure of the division and animosity
         that had developed in the city was the reaction of Sun-
         nis in the Sarai district when told that they needed
         to evacuate through a Shi’a neighborhood. The ma-
         jority of them refused to do so, having been warned
         that Shi’a residents and police in that neighborhood
         would attack them if they left in that direction. One
         man explained, “I would rather die from American
         bombs in my home with my family than walk south.
         People are saying the Shiites will kill you or kidnap
         you.” Another resident of the Sarai neighborhood
         commented: “There are no bad people in Sarai. If you
         come with me, I will take you to all the houses and you
         can see. The bad people are the Shiites in the south
         [of the city].”53


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             Tal Afar’s appearance as something of a micro-
         cosm of a brewing civil war was not lost on Iraqi lead-
         ers in Baghdad. As Operation RESTORING RIGHTS
         went forward in September 2005, debates raged over
         it in Baghdad, with Sunni and Shi’a politicians level-
         ing accusations of sectarianism with equal gusto. Shi’a
         politicians cast the operations as a legitimate govern-
         ment intervention aimed at ceasing Sunni oppression
         of the city’s Shi’a minority. For example Ali Al-Dab-
         bagh claimed that “we support [what the government
         is doing] 100 percent. Tal Afar has been a bleeding
         wound in Iraq’s heart for a year now. There was a
         clear case of racial and ethnic cleansing in the city.”
         Others contended that the conflict was not originally
         a sectarian one, but that the government response
         was making it one. Sunni lawmaker Salih al-Mutlaq,
         for example, said, “The tension is between the people
         and the government, not between the Sunnis and Shi-
         ites. [In Tal Afar, the government is waging] a very
         ugly ethnic war.”54 Another Sunni politician, Fakhri
         al-Qaysi, argued that accusations of terrorism were only
         a pretext for marginalizing the political participation
         of Sunni communities. “The ruling political parties and
         the U.S. forces are trying to provoke the Sunni Arabs
         . . . and press to harp on the tune of sectarian-
         ism as they have been doing since the first day of
         occupation.”55

         Were Good Security Operations Conducted?

            A description of security operations in Tal Afar
         usefully divide into the periods before and after Op-
         eration RESTORING RIGHTS. Before the operation,
         U.S. forces mostly lived on forward operating bases
         outside the city and would move into and around the


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         city in their armored vehicles. Dismounted patrols
         were conducted regularly as well, but the commute
         to work was an important feature of operations. Fre-
         quently, operations took on the character of move-
         ment to contact, where the patrol’s agenda would be
         set by responding to enemy engagements.
             3ACR forces also conducted a good deal of target-
         ed operations—raids and strikes—against insurgent
         suspects or facilities. However, the quality of the in-
         telligence it used for targeting was significantly ham-
         pered by two closely related factors. First, because of
         their sporadic presence in the city, they had to rely
         on informants to generate much of what intelligence
         could not be gathered electronically. But in the regi-
         ment’s first couple months in the area, members of
         Shi’a tribes were the only local residents willing to
         work with the U.S. forces. Over time, 3ACR learned
         that many of these allies were not only unreliable,
         but counterproductive. Interviewees report incidents
         where informants had identified individuals, or even
         just groupings of houses tied to the insurgency, when
         in fact, they were simply pursuing tribal rivals.56 As
         a result, until U.S. forces recognized that they were
         being manipulated, they “actually exacerbated the
         problem to some extent, by rolling up Sunnis, not all
         of whom were bad guys,” said Major Simmering.57
         One troop commander lamented that “our increased
         cooperation with the Shi’a tribes confirmed the Sunni
         population’s worst fears.”58 Another said simply, “up
         until Operation RESTORING RIGHTS, we were pretty
         much fighting a losing battle.”59
             After Operation RESTORING RIGHTS, however,
         the situation changed dramatically. Many factors
         changed in that period, including some of those de-
         scribed in the next two sections. But one of the most
         important initiatives of this time was the movement of

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         U.S. forces (specifically Sabre Squadron and 2-325th)
         into the city and into small, neighborhood outposts
         that were jointly manned by U.S. and Iraqi forces.
             It was only at this point that U.S. forces were really
         able to start providing a strong, constant presence,
         which in turn allowed them to develop the relation-
         ships with the people that generated good intelli-
         gence. Troop commanders reported that staying in the
         city was a tough sell to their troops at first, but that the
         visible changes their presence brought were eventu-
         ally very good for morale.60 More patrolling occurred,
         both by U.S. and Iraqi forces, at section and squad lev-
         el rather than platoon level, because the improved se-
         curity environment allowed it. As a result, Lieutenant
         Colonel Hickey said, “the perception of the amount
         of coalition forces operating within the city changed
         significantly as more and more units became visible to
         the populace on a daily basis.”61
             U.S. security operations in Tal Afar were also
         aided significantly by the availability and generally
         good performance of Iraqi security forces. Through
         most of its tenure in Ninewah, 3ACR partnered with
         the 1st Brigade of the 3rd Iraqi Army Division. The
         brigade was predominantly Kurdish and Shi’a, which
         did sometimes generate friction with Tal Afar’s
         Sunni majority, as noted above. However, the unit
         received praise from many interviewees for its skill,
         professionalism, and leadership, especially the com-
         mander of the 3rd Iraqi Army Division, Major Gen-
         eral Khorsheed Saleem al-Dosekey.62 In Colonel Mc-
         Master’s judgment, “the most important aspect of
         building local legitimacy was the legitimacy of the
         [Iraqi security forces].”63
             Another key factor in security operations was the
         sheer number of forces that the Coalition was able to


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         bring to bear on the fight for Tal Afar. Precise counts
         are difficult, and the forces focused on the city varied
         considerably over time. But by virtually any measure,
         the military presence in Tal Afar was quite large rela-
         tive to the size of the city and its population. At its
         peak during Operation RESTORING RIGHTS, the
         force presence in the city included 2,000-4,000 U.S.
         troops and 3,000-6,000 Iraqi troops, including Army,
         police, and commando units. As noted, population
         estimates for this time also vary greatly, but even the
         most conservative estimate of the force-to-population
         ratio would be 1:40, and it could have gone as high as
         1:10.64 Anywhere in this range would qualify as a rela-
         tively high troop density, especially considering that
         the city of Tal Afar only covers approximately nine
         square kilometers. Interestingly, McMaster initially
         wanted even more troops for the assault.65 His judg-
         ment on the importance of troop density was that suc-
         cess “could have been possible with a smaller number
         of troops, but it would have taken a lot longer.”66 Of
         course, fewer forces were present for most of the pe-
         riod of the case study, but during the critical months
         of September to December, both Sabre Squadron and
         2-325th Battalion, as well as large portions of the Iraqi
         Army’s 1st Brigade, 3rd Division exclusively focused
         on the city.
             The combination of troop density and persistent
         presence throughout the city clearly played a major
         role in reducing the violence in Tal Afar and setting
         the city back on a path toward a semblance of normal-
         cy. On balance, this record suggests that good security
         operations were conducted in Tal Afar.




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         Was Good Governance Provided?

             As with security operations, the 3ACR’s efforts
         to improve governance in Tal Afar were quite differ-
         ent before and after Operation RESTORING RIGHTS.
         When the regiment arrived, Tal Afar’s city govern-
         ment was all but abandoned, and basic services had
         drastically deteriorated. Responsibility for taking
         care of the city’s people had largely devolved to the
         city’s many tribal leaders,67 but economic activity had
         largely ceased, creating an epidemic of unemploy-
         ment for many of those who did not leave the city.
         In some cases, infrastructure failures fell dispropor-
         tionately on the Shi’a tribes. One prominent grievance
         was the collection of the raw sewage that drained into
         a wooded area next to one of the city’s mainly Shi’a
         neighborhoods—a site that 3ACR Soldiers dubbed the
         “Shitwood Forest.”
             Echoing 2/2ID’s experience in Ramadi, most of
         3ACR’s efforts to re-establish good governance in its
         first few months in the city were frustrated by the per-
         sistent violence and the absence of many reliable Iraqi
         partners willing to work with them. First Lieutenant
         Brian Tinklepaugh described an example of the dif-
         ficulties facing projects aimed to improve governance
         during this time. His troop established a program
         to deliver water in trucks to a predominantly Sunni
         neighborhood that was suffering from unreliable wa-
         ter pressure and electricity. They hired Sunni truck
         drivers and sent along police to provide security for
         the trucks. The Shi’a police soon told the U.S. Soldiers
         that they were hiring insurgents. When the United
         States then arrested the truck drivers, they alienated
         those drivers’ tribes, whose leadership stopped sup-
         porting the Coalition’s reconstruction operations.68


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             Rebuilding the city and reestablishing the basic
         functions of governance beyond security were cen-
         tral to the planning behind Operation RESTORING
         RIGHTS. Lieutenant Colonel Hickey called recon-
         struction the most important phase of the operation.
         He explains:

            Regardless of how many people Sabre captured or
            killed, if the people didn’t feel secure, essential ser-
            vices were not re-established, and viable alternatives
            to engaging in terrorist activities were not made avail-
            able, Tal Afar would fall back into the trap of being
            a home for terrorist activities. Immediately upon
            completion of combat operations, water trucks, food
            & water drops, and other humanitarian assistance
            missions became the standard throughout Tal Afar.69

             Over the course of October and November, the
         Coalition initiated projects worth millions of dollars
         focused especially on the restoration of water, elec-
         tricity, schools, and medical services. Sabre Squadron
         created a civil military operations center in the city
         that became a focal point for interacting with the local
         population on a wide variety of issues. Similarly, Sa-
         bre Squadron Soldiers were active in rejuvenating the
         city council and several other municipal institutions.70
             The Coalition’s spending in Tal Afar via the Com-
         mander’s Emergency Response Program (CERP) also
         rose dramatically in the fall of 2005. As outlined in
         the previous chapter, this program provides money
         that brigade commanders and their subordinate com-
         manders can use to meet local needs in their areas of
         operation. CERP funds typically go to relatively small,
         relatively short-term projects, and also pay repara-
         tions for property damaged in combat or to family
         members of killed and wounded civilians. Estimated
         CERP spending in Tal Afar increased significantly

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          over the period of the case study. Estimated spending
          by quarter rose from $399,000 (May-July) to $418,000
          (August-October) to $1.1 million (November-January)
          to $1.3 million (February-April).71 This represents an
          increase from beginning to end of a factor of 3.3. See
          Figure 3-3.




            Figure 3-3. Estimated Monthly CERP Spending
                              in Tal Afar.

             The results of these large investments, not only
          CERP, but other investments made by the Coalition
          and the Iraqi government, were evident in relatively
          short order. Tal Afar’s markets and schools re-opened,
          and basic services were gradually restored to some
          level of working order. A British reporter visiting Tal
          Afar in December 2005 reported that:


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            the streets are full of building sites. New sewers have
            been dug and the fronts of shops, destroyed in the U.S.
            assault, were replaced within weeks. Sunni police have
            been hired and 2,000 goats were even distributed to
            farmers. More remarkably, the approach of an Ameri-
            can military convoy brings people out to wave and
            even clap.72

             Some interviewees noted the importance of im-
         provements in governance in building the legitimacy
         of the Coalition and the local government in the eyes
         of the local population. One U.S. squad leader called
         the difference made “night and day—people really ap-
         preciated it.”73 A troop commander said, “The popula-
         tion continuously gave us praise for what we did there. They
         were very appreciative and looked on us favorably.”74 An
         engineering platoon leader believed that, “Improving
         those kinds of quality-of-life conditions was one of
         the most important things that swayed the population
         over to supporting the Coalition.”75
            At the same time, as in Ramadi, some interviewees
         noted serious limitations to the effects of some of the
         reconstruction projects pursued, and believed that the
         local population was far more interested in and ap-
         preciative of the security provided by the Coalition. A
         regimental staff officer commented that “We dumped
         a ton of money into construction projects that they
         weren’t interested in—schools, parks, etc.”76 A report-
         er who spent a few months in Tal Afar during this pe-
         riod commented that “People would always complain
         about water and electricity. . . [But] that whole argu-
         ment about basic services – the main public utility is
         security. This is more important than anything else.”77
         Another interviewee, Lieutenant Tinklepaugh, stated
         plainly that:




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            the reconstruction activities that we engaged in
            were a consequence of our success in marginalizing
            the insurgency, not a cause of it. The population was
            appreciative, but they rarely commented on it. What
            they were much more appreciative of was the securi-
            ty . . . They were real upset about the lack of electricity
            and the lack of water pressure (and these problems
            exacerbated each other). And this created a problem
            with the sewage system, which was also exacerbated
            by all of the drainage issues created by the problems
            in the streets – caused by our vehicles as well as by
            the combat. But these problems didn’t cause people
            to want to become insurgents, it caused people to
            become apathetic.78

             3ACR’s commander, Colonel McMaster, seemed
         to share this perspective, arguing that:

            The most important thing is securing the population.
            And you can’t do much positive until you’ve estab-
            lished this. . . . Gover­nance projects were important
            factors in our progress, but they came at a different
            time—it was more of a reward for cooperation. It hap-
            pened in areas that were already secured.79

         Were Political Agreements Addressing
         Ethno-Religious Cleavages Pursued?

             From fairly early in 3ACR’s deployment, its leaders
         focused on the importance of reaching a political ac-
         commodation among Tal Afar’s tribal groups, whose
         increasingly sectarian loyalties were pushing the city
         toward something like civil war. Lieutenant Colonel
         Hickey was the regiment’s point person in this effort,
         and by all accounts he focused tirelessly on building
         relationships with Tal Afar’s sheikhs and on attempt-
         ing to bridge the divides between them.



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              Initially, as noted, only the Shi’a sheikhs were will-
         ing to talk seriously with U.S. leaders about the future
         of the city. Hickey began spending 40 or 50 hours a
         week with the Sunni sheikhs, working to convince
         them of the U.S. commitment to securing their people.
         Then just as Hickey began to make inroads with Sunni
         sheikhs, “the Shia freaked out,” as Hickey told journal-
         ist George Packer. They questioned the purpose of, as
         they viewed it, consorting with the enemy. “Because
         I’m trying to be balanced,” Hickey recalled telling the
         Shi’a leaders. “I’m trying to stabilize your city. If I just
         talk to you, I’m not going to stabilize your city.” 80
              This shift toward cultivating relationships among
         the Sunnis was not necessarily an intuitive choice
         on the U.S. side either. “At the troop level,” Captain
         Jesse Sellars said, “this was unpopular, because this
         means we have to go make friends with the guys
         who are blowing us up instead of with the guys
         who are feeding us fried chicken. But [Hickey] was
         absolutely right.”81
              Whenever possible, Hickey tried to arrange and
         moderate meetings among sheikhs where they could
         air grievances with each other and with U.S. forces
         and discuss potential resolutions. In time, one theme
         Hickey came to stress in such meetings and that the
         regiment tried to impress more broadly upon the
         city’s residents, was the common cause Tal Afar’s
         Sunnis and Shi’a ought to share against the terror-
         ism perpetrated against them by the “Takfiris.” As
         Hickey described, “the ‘Resistance’ had the potential
         to be quelled through involvement in the ongoing po-
         litical process IF they could escape the intimidation
         campaign of the [insurgents] living among them.”82
         In Major Simmering’s view, the real purpose of Op-
         eration RESTORING RIGHTS was not “to clear the
         town of insurgents . . . it was to protect the Sunni

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         population who were willing to participate in the
         political process.”83
             After Operation RESTORING RIGHTS, rebuilding
         the police force also became one of 3ACR’s most im-
         portant tools for addressing the sectarian conflicts in
         the city. Abuses by the Shi’a police force had been a
         major contributing factor to Tal Afar’s downward spi-
         ral, and as a result, U.S. forces believed that “the first
         step toward reconciliation among the populace meant
         recreating a police force that was representative of the
         population.”84 Police recruiting focused heavily on the
         city’s Sunni population.
             The insurgents may well have recognized the stra-
         tegic importance of this development and tried to
         counter it. In the first several weeks after the end of
         Operation RESTORING RIGHTS, Tal Afar was rocked
         by three major suicide bombing attacks, which to-
         gether killed around 70 people and injured more than
         130 others.85 Two of these three attacks were directed
         specifically at police recruits. Nevertheless, the police
         recruiting efforts remained a focus of the regiment’s
         strategy, and ultimately saw a great deal of success.
         By the end of its deployment in Tal Afar, 1,400 new
         police officers had been recruited, 60 percent of whom
         were Sunnis.86
             The rebalancing of the police force was part of a
         broader attempt by the 3ACR’s leadership to rebuild a
         sense of national identity in the city. As the regiment’s
         executive officer, Major Chris Kennedy, told a report-
         er, “What we’re working toward is a national army, a
         national security force, not a Shiite or a Kurdish force,
         and anyone who thinks otherwise doesn’t know the
         situation.”87 George Packer describes seeing Lieuten-
         ant Colonel Hickey “ask a group of police trainees at
         a new station whether they were Sunni or Shiite, and
         when they started to answer, he said, ‘No—Iraqi!’”88

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             In combination with all of the Coalition’s other op-
         erations, these political overtures aimed at reducing
         sectarian antagonism did appear to pay off over time
         as the city’s sheikhs began to take steps toward align-
         ing their own activities with those of the nascent city
         government, as well as with the counterinsurgency
         goals of the U.S. and Iraqi security forces. A 3ACR in-
         telligence officer described the progress he saw over
         the fall of 2005:

            The real difference since ORR has been in the report-
            ing and cooperation from the locals, both Shia and
            Sunni, to turn in anyone who is causing problems and
            there have even been fights reported between Sunni
            groups as the previously-intimated are fighting back,
            even against members of their own tribe or sect. The
            long-simmering feud in Tal Afar between the Shia Jo-
            laqs and the Sunni Farhats . . . has cooled down signifi-
            cantly after several weeks of sheikh meetings to iron
            out their long-running disputes.89

             In describing the evolution of the meeting with the
         city’s sheikhs, Major Simmering said, “Where we got
         to wasn’t perfect, but what was a screaming match in
         June was a civil conversation in January.”90
             None of this means to imply that the sectarian con-
         flicts that had created so much strife had been solved.
         Indeed, the wounds of the tribal feuding ran deep,
         even though they were young in historical terms.
         Those tensions and grievances persisted. Sectarian
         murders continued, and discrimination on the basis
         of sect and tribal affiliation was rampant. In Decem-
         ber, a self-appointed council of sheikhs and clerics
         published a formal statement complaining about the
         persecution of the Sunni population in Tal Afar.91
             Tal Afar’s reformed police were not necessarily
         a picture of professionalism or blind justice. George

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         Packer had this exchange with an officer named
         Hassan once during his visit in early 2006. Hassan
         told Packer:

            If the Americans weren’t here, we could get more out
            of our interrogations.
            You mean torture?
            Only the terrorists.
            How many terrorists and sympathizers are there in
            Tal Afar?
            Hassan considered it for a moment. “A hundred and
            fifty thousand.” This was approximately the number
            of Sunnis in the city.92

             What the record does demonstrate, however, is
         that the U.S. forces fighting the counterinsurgency
         in Tal Afar were keenly aware of the sectarian roots
         of some of the insurgency they were facing and took
         deliberate and extensive measures to reach accommo-
         dation between competing sectarian parties. As jour-
         nalist Louise Roug observed, “the military leadership
         had a very sophisticated understanding of the groups
         in the city, and who was aggrieved and why. They did
         try to prop up the groups who felt disenfranchised.”93

         Was The Counterinsurgency Successful?

             According to journalist Tom Ricks, “When U.S.
         military experts conducted an internal review of the
         three dozen major U.S. brigades, battalions, and simi-
         lar units operating in Iraq in 2005, they concluded that
         of all those units, the 3rd ACR had done the best at
         counterinsurgency.”94 There is no doubt that 3ACR’s
         operations in Tal Afar have been widely perceived by
         policymakers and the press as a model of successful
         counterinsurgency. As noted above, the experience


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         was cited in this vein by, among others, the military’s
         counterinsurgency manual, Secretary of State Condo-
         leezza Rice, and President George Bush.
             This view was not exclusive to Americans. During
         Operation RESTORING RIGHTS, Iraqi Defense Min-
         ister, Sa’dun al-Dulaymi (a Sunni Arab) told the press
         that Iraq’s leaders “consider what is going on there an
         example and a model to be followed in other areas . . .
         in Iraq.”95
             During 3ACR’s deployment, Tal Afar mayor Na-
         jim Abdullah al-Jabouri asked for the regiment’s tour
         to be extended and wrote a letter of glowing tribute to
         the unit. He credited the regiment with liberating the
         city, transforming it “from a ghost town, in which ter-
         rorists spread death and destruction, to a secure city
         flourishing with life.” He said, “This military opera-
         tion was clean, with little collateral damage, despite
         the ferocity of the enemy. With the skill and precision
         of surgeons, they dealt with the terrorist cancers in the
         city without causing unnecessary damage.” He called
         the American Soldiers “not only courageous men and
         women, but avenging angels sent by The God Him-
         self. . . .”96 Even allowing for some inevitable public
         relations spin97 and Arabic hyperbole, this registers as
         high praise.
             Sabre Squadron summed up its own performance
         as follows:

            . . . the 1,300 cavalrymen of Sabre Squadron decisively
            defeated the insurgents, re-established legitimate se-
            curity forces at nearly 41 locations throughout the area
            and revived a local government and economy on the
            brink of annihilation. . . the citizens of Tal Afar and
            the surrounding areas. . . acknowledge that participa-
            tion in the political process is the primary avenue to a
            future peace in Iraq.98



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             The regiment listed the following comparisons of
          the “enemy situation” in its area of operations near
          the beginning and the end of its deployment.99 See
          Table 3-1.


                      June 2005                               January 2006
                                                   • Enemy reactive, only capable of
         • Enemy retained the initiative,
                                                      IED and IDF attacks
            capable of complex attacks and
                                                   • Western Ninewah difficult to
            defensive operations
                                                      traverse with reduced external
         • Western Ninewah avenue for
                                                      support
            insurgents and access to external
                                                   • Tal Afar now a non-permissive
            support
                                                      environment
         • Tal Afar safe haven for leadership
                                                   • HUMINT unlimited
            and “Title 10” functions
                                                   • Leadership disrupted and
         • HUMINT access limited
                                                      displaced
         • Organization was cohesive and
                                                   • Few cells operating in small
            militarily structured
                                                      communities outside urban areas
         • Multiple cells in urban areas
                                                   • Tribal tensions exist, no open
         • Tribal violence pervasive
                                                      violence


                  Table 3-1. Changes in Western Ninewah,
                          June 2005 – January 2006.

              These assessments are supported by the striking
          drop in insurgent attacks experienced in this time
          period and shown in Figure 3-2. Interviewees univer-
          sally, albeit with varying degrees of qualification, de-
          scribed Tal Afar as a counterinsurgency success story.
              As with any celebrated event, a certain mythology
          has developed around the 3ACR’s experience in Tal
          Afar, and in fact, the success the regiment enjoyed
          there was not as “decisive” as the paeans above sug-
          gest. There were troubling signs just a month after the
          regiment left Iraq. One resident told a reporter, “the
          armed men are fewer, but the assassinations between


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         Sunni and Shiites have increased.” Another resident
         said, “Al-Qaeda has started to come back again. They
         have started to kill Shiites and Sunnis who cooperate
         with the Americans.”100 Another report suggested that
         “Fear is palpable in the streets. . . . Residents complain
         that the city is increasingly divided as tribal violence
         sharpens the boundaries between Sunni and and Shi-
         ite Muslim neighborhoods.” Even with a large Iraqi
         and U.S. troop presence, “families complain of no-go
         areas in the city, boundaries drawn up by sectarian
         violence or intimidation by rebels.”101 The insurgency
         continued in western Ninewah province, and U.S.
         forces continued to fight there for months and years
         after the period of this case study.
             Moreover, interviewees fully acknowledged the
         fragility of the stability that Tal Afar had attained on
         their watch. In one platoon leader’s judgment,

            We defeated the insurgency, but we weren’t really able
            to rebuild the government—there wasn’t enough time
            for that. . . . When I first saw the city on April 21 or
            so, it was just an absolute ghost town. That day seven
            IEDs went off, people were shooting, everybody in the
            city was hiding from us, but watching us. Compare
            that to the last patrol I did on February 13, the market
            was open, the place was mobbed, there was garbage
            pick-up, we were talking to people . . . That said, for
            the most part, people still tended to stick to their areas.
            The neighborhoods remained somewhat segregated,
            like Route Barracuda, everything south was Shi’a, ev-
            erything north was Sunni, and many people were not
            comfortable crossing that line.102

            A regimental staff officer concluded:

            I certainly won’t say we solved or defeated the insur-
            gency throughout the province. I will say, though,



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            that with the help of very effective Iraqi leaders . . . we
            were able to establish security conditions that allowed
            progress in security force development and essential
            services.103

             Tal Afar never fell back into the terrorized state of
         dysfunction that it had suffered through during 2004-
         05. The alliance that had formed between the Sunni
         tribes and the Islamist extremists of AQI was radically
         diminished. A reporter visiting Tal Afar in April 2006
         was told by a Soldier in the city’s operations center
         that there were then three to five sectarian murders
         a week in the city. The Coalition did not seem espe-
         cially concerned about it, and the reporter said, “At
         that time, this sounded like success to me too, not only
         compared to other places in the country, but also com-
         pared to Tal Afar the previous year.”104
             This is where the difference between “victory” and
         “success” becomes analytically important. Counterin-
         surgency operations in Tal Afar during this period did
         not result in victory in the sense that they ended the
         insurgency. But it is more than fair to call the 3ACR’s
         achievements there a success on the basis of the sig-
         nificant and lasting gains in security made there.

         Evaluation.

             Table 3-2 summarizes the simple answers for the
         study’s framework questions that are suggested by
         the evidence presented in this chapter. Conditions for
         positive answers for all five variables were present in
         this case. Sunni-Shi’a conflict was very clearly central
         to the insurgency, not only along the local-national
         axis as in Ramadi, but also along local tribal axes.
         On balance, counterinsurgents conducted good se-



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          curity operations. Following Operation RESTORING
          RIGHTS, the Coalition committed a large number of
          troops to security, kept them living among the people
          to focus better on population security, and worked
          closely with relatively professional indigenous secu-
          rity forces. And the counterinsurgents dedicated sig-
          nificant resources, manpower, and leadership focus
          both to improving governance in the city and to work-
          ing toward political agreements among the city’s war-
          ring groups that would address their sectarian and
          tribal grievances.
                     Identity    Good         Good        Political
          Cases                                                       Success
                    Cleavages   Security    Governance   Agreement

         Tal Afar
                      Yes         Yes            Yes        Yes        Yes
        2005-2006


                  Table 3-2. Case Study Variable Summary
                                for Tal Afar.

               From an analytic perspective, success in the Tal
          Afar case was overdetermined, thereby clouding any
          effort to parse the relative contributions to success of
          different factors. This is where the opinions of partici-
          pants on causation must be given special weight.
               Even here, though, the evidence is mixed. Some in-
          terviewees emphasized the dominant role of the force
          density that the United States was able to bring to bear
          in Tal Afar. Tiger Squadron’s commander, Lieuten-
          ant Colonel Greg Reilly, argued that “saturating the
          area with forces is guaranteed to have a major effect.
          Up until the regiment left, it still had a pretty sizable
          footprint in the city, and this accounts for a lot of the
          improvement in security and stability. But there was
          still a high level of sectarian tension.”105


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             Other 3ACR Soldiers certainly saw some causal
         connection between their initiatives to improve gov-
         ernance and the marginalization of the insurgents in
         Tal Afar. Sabre Squadron troop commander Captain
         Sellars laid out the case for this logic succinctly: “Get-
         ting people back to a more normal life, giving them
         something to lose, provides the foundation for getting
         more to the political processes, and addressing tribal
         and sectarian differences.”106 Lieutenant Colonel Chris
         Gibson, who commanded 2-325 in the Sarai neighbor-
         hood, later wrote, “The nascent governing entity must
         provide basic services to bolster its legitimacy with
         the people. . . . The water and electricity departments
         were key—they must be effective and impartial in the
         distribution of service.”107 Lieutenant Colonel Hickey,
         in many ways the principal architect of the Tal Afar
         success, concluded that “the ability of the Squadron to
         enable the Iraqi Government to meet the needs of the
         population served to strengthen relations between the
         local government and the populace as well as estab-
         lish a path toward reconciliation.”108 Here the implied
         causal chain goes from government performance to
         political reconciliation among competing groups.
             But in the very same document, in explaining
         the strategic logic behind Operation RESTORING
         RIGHTS, Hickey also says:

            . . . by [the Coalition] attacking the Takfirists and
            guarding against the tendency to attack the popula-
            tion directly, the Sunni could be reintegrated into the
            mainstream political process once the veil of terror
            was lifted from their ranks. Meanwhile, maintaining
            the support of the Shiites could eventually bring unity
            to the city and establish an environment that finally al-
            lowed for reconstruction operations and reconciliation
            of tribal conflicts.109



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             In this description, the apparent causal chain runs
         from political reconciliation to improved govern-
         ment performance, not the other way around. This
         logic matches two of the comments cited earlier in the
         chapter: Lieutenant Tinklepaugh’s assertion that “the
         reconstruction activities that we engaged in were a
         consequence of our success in marginalizing the in-
         surgency, not a cause of it”110; and Colonel McMaster’s
         observation that “Governance projects were impor-
         tant factors in our progress, but they came at a differ-
         ent time—it was more of a reward for cooperation. It
         happened in areas that were already secured.”111
             Of course, some indeterminate degree of security
         must precede both of those other factors. Lieutenant
         Colonel Gibson, while lauding the importance of “ba-
         sic services,” also argues that “No amount of money or
         kindness, and no number of infrastructure programs,
         will facilitate winning over the populace if COIN forc-
         es cannot provide security to the population.”112
             Are these counterinsurgents contradicting each
         other and themselves? That is one plausible interpre-
         tation of the evidence. Equally plausible, however,
         is that these perspectives on causal relationships are
         compatible with each other. By this logic, because the
         variables are at least somewhat mutually dependent,
         different causal directions among the variables may
         predominate at different times. The implication of this
         explanation would be that it may not be possible to
         draw a more precise conclusion than that a positive
         value for each of the variables may be necessary but
         not sufficient by itself for success in counterinsur­
         gency. In his own summation of what accounted for
         his squadron’s success, Hickey takes just this approach
         and does not discriminate among factors:


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             The cumulative effect of Sunni participation in the
             political process, establishment of security throughout
             the city, reconstruction, money distribution, position-
             ing of [2-325] in Sarai, and the establishment of a com-
             prehensive reconnaissance and surveillance plan re-
             sulted in a dramatic drop in attacks during the period
             following [Operation RESTORING RIGHTS].113

            McMaster seemed to be of a similar mind, observ-
         ing near the end of 3ACR’s tour, “It is so damn com-
         plex. If you ever think you have the solution to this,
         you’re wrong, and you’re dangerous.”114

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         pp. 5-22 – 5-23.

             44. Hashim, pp. 371-372; Patriquin, p. 17.

             45. Hashim, p. 374.

             46. Interview 30 ((Lieutenant Colonel Greg Reilly).

             47. Interview 24 (anonymous regional specialist).

            48. Interview 2 (Louise Roug); Interview 10 (Major Michael
         Simmering); Interview 11 (Monte Morin); Interview 28 (Captain
         Alan Blackburn).

             49. Interview 21 (Captain Jesse Sellars).

             50. Hashim, pp. 374-375, Hickey, p. 3.

             51. Jonathan Finer, “Iraqi Forces Show Signs Of Progress In
         Offensive,” Washington Post, September 22, 2005, p. 1.

             52. Hickey, p. 3.

             53. Jonathan Finer, “With Death At Their Door, Few Leave
         Iraqi City,” Washington Post, September 7, 2005, p. 20, Interview 2
         (Louise Roug).

             54. “Defense Minister Discusses Tall Afar, Urges Iraqis To
         ‘Drive Out Terrorists’,” Al-Arabiyah Television, September 12,
         2005, FBIS Report GMP200509125380002.

             55. “The Iraqi Scene,” Al-Jazirah Satellite Channel Television,
         September 18, 2005, FBIS Report GMP20050918564001.




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             56. Interview 12 (First Lieutenant Brian Tinklepaugh); Inter-
         view 30 (Lieutenant Colonel Greg Reilly).

             57. Interview 10 (Major Michael Simmering).

             58. Interview 21 (Captain Jesse Sellars).

             59. Interview 28 (Captain Alan Blackburn).

             60. Ibid., Interview 21 (Captain Jesse Sellars).

             61. Hickey, p. 41.

             62. Interview 8 (Second Lieutenant Dan Driscoll); Interview
         9 (Captain James Dayhoff); Interview 18 (Sergeant Chad Stapp),
         “Interview with Lieutenant Colonel Paul Yingling,” p. 6.

             63. Interview 14 (Colonel H. R. McMaster).

             64. Interview 17 (First Lieutenant Gavin Schwan); Interview
         25 (Colonel Joel Armstrong); Interview 28 (Captain Alan Black-
         burn); Interview 30 (Lieutenant Colonel Greg Reilly); Herrera,
         pp. 140-141.

             65. Interview 9 (Captain James Dayhoff).

             66. Interview 14 (Colonel H. R. McMaster).

             67. Oppel.

            68. First Lieutenant Brian Tinklepaugh, personal correspon-
         dence with the author, April 10, 2009.

             69. Hickey, p. 39.

             70. Ibid., p. 42.

             71. Iraqi Reconstruction Management System, U. S. Army
         Corps of Engineers, Gulf Region Division, June 2008. Available
         data on Commander's Emergency Response Program (CERP)
         spending totals include total funds distributed and project
         start dates and end dates. The author has estimated monthly



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         and quarterly spending totals based on equal division of to-
         tal funds spent over the number of active months per project.
         Project lengths in the database range from 1 to 40 months, but
         the average length is 4 months. As a result, aggregate quarter-
         ly spending summaries (as reported in the text above) are less
         likely to be distorted by this estimation technique than the
         monthly spending estimates (as shown in the figure).

              72. Oliver Poole, “Iraqis In Former Rebel Stronghold Now
         Cheer American Soldiers,” The Daily Telegraph, December
         19, 2005.

             73. Interview 18 (Sergeant Chad Stapp).

             74. Interview 28 (Captain Alan Blackburn).

             75. Interview 20 (Second Lieutenant Jared Leinart).

             76. Interview 9 (Captain James Dayhoff).

             77. Interview 11 (Monte Morin).

             78. Interview 12 (First Lieutenant Brian Tinklepaugh).

             79. Interview 14 (Colonel H. R. McMaster).

             80. Packer, p. 53.

             81. Interview 21 (Captain Jesse Sellars).

             82. Hickey, p. 23 (emphasis in original).

             83. Interview 10 (Major Michael Simmering).

             84. Hickey, p. 41.

             85. Sabrina Tavernise, “Suicide Blast by Woman in Iraq Kills
         8 Others; 57 Are Hurt,” New York Times, September 29, 2005; As-
         sociated Press, “More Than 50 Dead Following Series of Attacks,”
         USA Today, October 12, 2005, p. 13; Louise Roug, “Suicide Attack
         Kills 30 in Northern Iraq,” Los Angeles Times, October 13, 2005.




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            86. Thomas E. Ricks, “The Lessons of Counterinsurgency,”
         Washington Post, February 16, 2006, p. 14.

             87. Finer, “Iraqi Forces Show Signs of Progress In Offensive.”

             88. Packer, p. 54.

             89. Craig T. Olson, So This Is War: A 3rd U.S. Cavalry Intelli-
         gence Officer’s Memoirs of the Triumphs, Sorrows, Laughter, and Tears
         During a Year in Iraq, Bloomington, IN: AuthorHouse, 2007, p. 132.

             90. Interview 10 (Major Michael Simmering).

             91. Ferry Biedermann, “Tel Afar’s Ethnic Tug of War Puts
         Iraq Army to the Test,” Financial Times, January 18, 2006.

             92. Packer, p. 56.

             93. Interview 2 (Louise Roug).

             94. Ricks, Fiasco: The American Military Adventure in Iraq,
         p. 420.

             95. “Iraqi Defense Minister Says 18 Arms Caches Found in
         Tall Afar, Gives Update,” Al-Sharqiyah Television, September 11,
         2005, FBIS Report, GMP20050911538001.

              96. Quoted in Olson, pp. 193-194. The letter recalls a similar
         letter sent from an Algerian town mayor to French Army Captain
         David Galula where the future counterinsurgency theorist had
         led French efforts to improve both security and governance. See
         David Galula, Pacification in Algeria (1956-1958), Santa Monica,
         CA: RAND Corporation, 1963, p. 232.

             97. As one interviewee pointed out, Mayor Najim was not
         from Tal Afar and may have owed his position to the Coalition.
         Interview 22 (Jon Finer).

             98. Hickey, pp. 1-2.

             99. 3rd Armored Cavalry Regiment, “Operations and Intel-
         ligence Brief,” undated briefing, p. 5. (“Title 10”=training and



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         equipping, HUMINT=human intelligence, IED=Improvised Ex-
         plosive Device, IDF=Indirect Fire.)

             100. Baker.

             101. Roug, “Fear Casts A Shadow On ‘Free City’ Touted
         By Bush.”

             102. Interview 17 (First Lieutenant Gavin Schwan).

             103. “Interview with Lieutenant Colonel Paul Yingling,” p. 6.

             104. Interview 11 (Monte Morin).

             105. Interview 30 (Lieutenant Colonel Greg Reilly).

             106. Interview 21 (Captain Jesse Sellars).

             107. Lieutenant Colonel Chris Gibson, “Battlefield Victories
         and Strategic Success: The Path Forward in Iraq,” Military Review,
         September-October 2006, p. 54.

             108. Hickey, p. 42.

             109. Ibid., p. 32.

             110. Interview 12 (First Lieutenant Brian Tinklepaugh).

             111. Interview 14 (Colonel H. R. McMaster).

             112. Gibson, p. 49.

             113. Hickey, p. 46.

             114. Packer, p. 57.




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                                   CHAPTER 4

                     CONCLUSIONS AND IMPLICATIONS

               This final chapter sums up the preceding analy-
           sis in four sections: a comparison of the case studies,
           conclusions, policy implications, and an overview of
           potential priorities for further research.

           COMPARISON OF THE CASES

               Table 4-1 summarizes the answers to each of the
           analytic framework’s questions for the two case stud-
           ies. The table also includes answers for the Awakening
           movement in Ramadi and elsewhere in Anbar prov-
           ince during 2006 and 2007. Clearly, as this case was
           not addressed formally in the analysis, these answers
           are tentative. But they are included as potentially use-
           ful discussion points.
                                                   Good
                        Identity     Good                      Political
          Cases                                    Gover-                  Success
                       Cleavages    Security                  Agreement
                                                   nance
         Ramadi
                          Yes      Ambiguous         No          No          No
        2004-2005
         Tal Afar         Yes         Yes            Yes         Yes        Yes
         Ramadi
        Awakening         Yes      Ambiguous      Ambiguous      Yes        Yes
        (notional)

                    Table 4-1. Summary for Iraq Case Studies.

               Given these answers, what do the cases say about
           the primary question of the study: In the presence of
           major ethno-religious cleavages, does good governance con-
           tribute much less to counterinsurgent success than efforts


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         toward reaching political agreements that directly address
         those cleavages?
             In Ramadi, the grievances that fueled the insur-
         gency had far more to do with a deep sense of disen-
         franchisement within Iraq’s Sunni community and the
         related fear of sectarian persecution than it did with
         any failure in the government’s performance. The
         causal links between variations in the quality of gov-
         ernance and the fortunes of the counterinsurgents are
         difficult to establish precisely given the simultaneous
         weaknesses of the security and political lines of opera-
         tion in Ramadi. Nevertheless, the evidence from the
         interviews in this case points toward major limitations
         to how much popular loyalty and legitimacy could be
         won through the improvement of governance. Other
         factors—namely security, itself, and identity-based
         concepts of legitimate rule (both tribal and sectar-
         ian)—appeared more decisive. This interpretation is
         strongly supported by the dramatic shift that eventu-
         ally occurred in Ramadi, which seems to have roots
         in two key changes: the exhaustion of the population
         with violence and terror; and a new willingness of the
         Coalition to decouple the legitimacy of local rule from
         the legitimacy of national rule.
             Tal Afar’s story is quite different, but suggests a
         similar conclusion. There is no doubt that the quality
         of governance mattered in the way both the popula-
         tion and the counterinsurgents conceived of legitima-
         cy. At the same time, however, it appears that what
         improvements in governance occurred in Tal Afar
         were at least as much a consequence as a cause of suc-
         cessful counterinsurgency. Without both the 3ACR’s
         dense presence in the city and its intensive focus on
         brokering compromises among the city’s largely sec-
         tarian tribal conflicts, improvements in governance


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         likely would never have taken root. Even recogniz-
         ing some degree of mutual reinforcement, the de-
         pendency of the factors probably did not run in the
         opposite direction.
             Further evidence in support of the general form of
         the hypothesis can be found in one of the few quanti-
         tative analyses of the Iraq war published to date that
         uses official Department of Defense time-series, dis-
         trict-level data.1 Authors Eli Berman, Jacob N. Shap-
         iro, and Joseph H. Felter use multivariate econometric
         techniques to assess the relative importance of, among
         other things, economic factors and provision of basic
         services in affecting levels of violence across 104 dis-
         tricts (the sub-provincial administrative level) in Iraq.
         At first glance, the results of their analysis, which show
         a correlation between at least the economic dimensions
         of good governance and subsequent improvements
         in violence, appear at odds with this monograph’s
         general argument.
             However, their conclusions are qualified by two
         critical factors that actually bring them closer into
         alignment with the arguments presented here. First,
         the authors make the following explicit assumption in
         their model:

            [N]oncombatants decide [about sharing information]
            on the basis of a rational calculation of self-interest
            rather than an overwhelming ideological commitment
            to one side or another. This is not to say that ideologi-
            cal commitment is irrational or unusual, just that on
            the margin governments can influence noncomba-
            tants’ decisions by providing services.2

             This assumption is plausible, but it bypasses the
         central question at issue regarding the sources of
         legitimacy. It is difficult to rebut the idea that the


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         mechanisms of loyalty would work as assumed, “on
         the margin;” but for those marginal effects to be rep-
         resentative of the main dynamics of the system, the
         noncombatants would need to be basically indifferent
         between rule by the insurgents and rule by the govern-
         ment apart from the factors of service or retaliation.
         This premise is not consistent with observed group
         solidarity of various kinds, including ethno-religious.
             The other critical caveat to this analysis is that it
         shows that up until 2007, Commander’s Emergency
         Response Program (CERP) spending, the model’s
         proxy for service provision, had essentially no effect
         in reducing violence. Only beginning in 2007—a very
         different environment from previous years due to the
         Awakening and the Coalition troop “surge”—does the
         beneficial effect of CERP spending become evident.3
         The authors attribute this change to the military’s im-
         proved ability to garner intelligence in part because of
         its better integration with the population, but mainly
         because tribes were willing to share information. This
         explanation is fine as far as it goes, but what accounts
         for the shift, itself?
             The Ramadi case here suggests that the shift had
         much to do with a change in the Coalition’s politi-
         cal strategy as it related to Iraq’s sectarian rivalries.
         Specifically, in 2004-05, U.S. policy was to insist that
         Coalition cooperation with the Sunni tribal groups
         in Anbar was contingent on their integration into the
         security mechanisms of the federal government. This
         was a deal breaker for the tribes because they viewed
         the federal government as a tool of Shi’a sectarian in-
         terests. Those political institutions were illegitimate
         by virtue of their perceived identity. Cooperation
         became possible only when the Coalition decoupled
         its own support from the requirement to integrate


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         with Baghdad. By this logic, it was not primarily bet-
         ter intelligence that allowed CERP to have its natural
         salutary effect. Instead, what made the difference was
         the establishment of an authority, in the form of tribal
         leaders, who had both capacity and local legitimacy,
         both of which had been lacking theretofore. So the ser-
         vice provision improvements followed the legitimacy,
         not the other way around.

         CONCLUSIONS

             1. Identity politics shape counterinsurgency out-
         comes. The case studies presented here demonstrate
         the importance of ethno-religious identity politics in
         shaping the outcomes of insurgencies and counterin-
         surgencies. In both cases, direct causal relationships
         are evident between the counterinsurgents’ attentive-
         ness to the politics of ethno-religious identity and the
         subsequent course of the insurgencies.
             In Ramadi and Tal Afar, competition between
         insurgents and counterinsurgents over the quality
         of governance was a clearly less important factor in
         determining the conflict outcomes than the disposi-
         tion of political agreements related to ethno-religious
         cleavages. Furthermore, though the evidence is not
         conclusive, it is even plausible that providing good
         governance was neither necessary nor sufficient for
         achieving counterinsurgent success.
             This is not to say, however, that providing good
         governance was irrelevant. Even if good governance
         is evidently less important than cross-cleavage politi-
         cal agreements, it still is shown in the case studies to
         be a contributor to counterinsurgent success, and its
         absence an impediment to success. The policy implica-
         tion of this conclusion about the relative importance of


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         providing good governance is not that counterinsur-
         gents should ignore the quality of governance in the
         places they are fighting. Rather, it is that they should
         not invest all their hope of establishing legitimacy
         through activities focused on improving governance.
             2. Identity politics are local. One implication of the
         first conclusion is the need for a subtle shift in analytic
         and planning emphasis away from considering indi-
         vidual loyalties and preferences toward considering
         group loyalties and preferences. However, this shift in
         emphasis should not be extended to its logical extreme,
         which would be an assumption that ethno-religious
         groups will be reliably similar across wide swaths of
         geography, time, and circumstance. That assumption
         is not valid. Iraq demonstrates that national-level ob-
         servations of identity-group politics in the midst of
         counterinsurgency are relevant but inadequate guides
         to explaining and affecting local behavior.
             Tal Afar’s sectarian conflict certainly mirrored
         Iraq’s national sectarian conflict in some ways. But both
         the conflict’s escalation and its subsequent moderation
         in 2005-06 were driven primarily by local grievances,
         local conditions, and local compromises. The connec-
         tion between Tal Afar’s Sunni-Shi’a political rivalries
         and those in Baghdad were much more symbolic than
         causal. Even in Ramadi, where sectarian conflict ex-
         isted primarily in relation to Baghdad, not locally, the
         fortunes of the counterinsurgents turned at least as
         much on local manifestations of those identity politics
         as on national ones. Specifically, the tribal Awakening
         movement that did so much to undermine the insur-
         gency in Anbar province did not result from the suc-
         cessful resolution of national issues that were dividing
         Sunni and Shi’a, such as constitutional provisions for
         power sharing, federalism, allocation of oil revenues,


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         or control of federal ministries. To the contrary, the
         Awakening occurred in spite of ongoing rancor over
         these issues in Baghdad. Instead, the transformation
         in Anbar was based, in combination with mounting
         popular frustration with al-Qaeda, on the Coalition’s
         willingness to expand tribal and other local leaders’
         degree of control over their own territory and people.
            It seems clear that local legitimacy and loyalty de-
         velop with a significant degree of independence from
         national identity group dynamics and institutions. A
         cavalry troop commander summed it up this way:

            Ninety percent of the population does not look at the
            situation from a strategic standpoint. They think of it
            as ‘how does this affect me on my block.’ They’re not
            just neutral, waiting to be influenced—they’re leaning.
            But they will be strongly influenced by what happens
            on their own blocks.4

             3. Population security is still the most important
         factor in shaping counterinsurgency outcomes. Rec-
         ognizing the importance of ethno-religious identity
         politics should do nothing to take away from the fun-
         damental primacy of population security in counterin-
         surgency strategy. This conclusion is not new, but the
         case studies clearly underscore the point, so it bears
         repeating here. Almost all of the counterinsurgents in-
         terviewed for this research emphasized the criticality
         of establishing people’s confidence in their own phys-
         ical security as a prerequisite for accomplishing any-
         thing else in a counterinsurgency environment. Civil-
         ian analyst Andrea Jackson, who conducted hundreds
         of interviews with Iraqis during 2003-06, reported that
         “I asked every person I interviewed . . . what’s the big-
         gest concern for you and your family? They all said
         security, uniformly.”5


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             These conclusions do not overturn any of the tradi-
         tional tenets of counterinsurgency, but instead should
         help to sharpen some of them. Based on this research
         the conventional wisdom that successful counterin-
         surgency depends on establishing legitimacy, which
         in turn demands coordinated political and military
         programs, remains valid. To the extent that “winning
         hearts and minds” describes this principle, that phrase
         remains applicable.
             What this research adds to our understanding of
         counterinsurgency is an appreciation for identity-
         based sources of legitimacy which can rival and
         even eclipse the legitimacy that flows from good
         governance. Accordingly, the political component of
         a counterinsurgency strategy must be political not
         only in the sense of being focused on government
         and how government exercises power. It must also be
         sensitive to the distribution of that power across key
         identity groups.

         POLICY IMPLICATIONS

             Moving from description and analytic inference to
         prescription is an inevitably treacherous step on the
         scholarly path. Few single studies of complex social
         phenomena can hope to be comprehensive or defini-
         tive enough to produce unambiguous policy recom-
         mendations with much confidence.
             On the other hand, the applicability of the work’s
         insights to real world problems is, in the end, one of
         the most important measures of its quality. While this
         study’s results are far from the final word on its sub-
         ject, they do suggest several important implications
         for policymakers and counterinsurgent leaders.



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             1. Counterinsurgency strategy must account for
         the role of traditional social hierarchies and forms of
         legitimacy. The intermediation of relationships be-
         tween people and their government by tribes or cler-
         ics or other nongovernmental group leaders is a stra-
         tegically important factor in counterinsurgency. Iraq
         is a clear illustration that these traditional hierarchies
         can be relevant even in societies that appear in many
         respects to be quite modern or developed accord-
         ing to the Western model. This creates an imperative
         for counterinsurgents, at a minimum, to understand
         what power hierarchies exist among the people where
         they are fighting, and to explicitly examine the role
         of group loyalty and identity politics in their assess-
         ments of their operational environment. In instances
         where these factors appear salient, they must become
         integral to strategy development as well. These tradi-
         tional hierarchies and identity-based loyalties may be
         potential assets for the counterinsurgents, or they may
         be obstacles to their larger strategic goals.
             Or, as with the tribes of Anbar province, they may
         be assets and obstacles simultaneously. Empowering
         those tribes was a step backward in the Coalition’s
         effort to create a strong, unified central government,
         but at the same time was critically important in un-
         dermining the worst elements of the insurgency. Even
         participants in the counterinsurgency during that
         time may continue to differ about whether the proper
         trade-off was made in that case.6 All the same, it is
         not necessary to settle this point in order to simply
         recognize the utility of anticipating the importance
         of such trade-offs in advance rather than stumbling
         upon them a few months or years into a conflict. That
         is what makes this factor a critical element of the ini-
         tial assessment and strategy development phase for
         any prospective counterinsurgency.

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             2. Counterinsurgents should always prepare to
         employ the full range of tools addressing security,
         governance and identity. David Galula believed that
         each military, political, judicial, and other line of op-
         eration in counterinsurgency is indispensible, arguing
         that “if one is nil, the product will be zero.”7 This may
         not always be the case, but it remains a valid, conser-
         vative guide to planning.
             Notwithstanding the emphasis on the potentially
         high importance of addressing ethno-religious cleav-
         ages, the dynamics of identity politics and group loy-
         alties are likely to be so fluid, opaque, and variable
         across localities that counterinsurgents cannot afford
         to neglect any element of its legitimacy-building tool
         kit. They should prepare to build political stability
         on foundations of both identity and quality of gover-
         nance simultaneously. This is not to say that it is im-
         possible to make distinctions about where certain tools
         may be more or less effective. Rather, it is saying that
         the complexity and uncertainty associated with the
         problem recommends a conservative approach that
         does not exclude any potentially valuable contribu-
         tor to building support of the people for the counter-
         insurgent’s control.
             To reiterate the point made under the first con-
         clusion above, the policy implication of recognizing
         the limitations of providing good governance is not
         that counterinsurgents should ignore the quality of
         governance in the places they are fighting. Rather, it
         is just that counterinsurgents should adopt a height-
         ened sense of caution regarding what can be achieved
         through improving governance alone in the absence
         of the larger political strategy that addresses power
         distributions among identity groups.
             3. Local, specialized knowledge trumps doctrine
         and theory. Because the dynamics of insurgency and

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         counterinsurgency are so sensitive to variations in lo-
         cal conditions and events, strategies should be based
         to the maximum extent possible on local, specialized
         knowledge and relationships. Counterinsurgency
         doctrine and theory are useful for providing frame-
         works and guidelines for strategy development, but in
         developing strategies for particular conflicts, as David
         Kilcullen said:

            There is simply no substitute for what we might call
            ‘conflict ethnography’: a deep, situation-specific un-
            derstanding of the human, social, and cultural dimen-
            sions of a conflict, understood not by analogy with
            some other conflict, but in its own terms.8

             4. Do not economize on force size. No matter how
         sophisticated the counterinsurgency strategy, it is
         unlikely to succeed without the allocation of enough
         security forces to create a visible and ubiquitous pres-
         ence where the insurgency is active. Case study in-
         terviewees consistently reported that some degree of
         physical population security was a pre-requisite for
         gaining traction on any other element of the counterin-
         surgency strategy. The contrast between the two case
         studies illustrates the value of large densities of troops
         in urban counterinsurgency as well as the challenges
         of spreading troops thinly. Stalin’s famous dictum on
         conventional war applies to irregular warfare just as
         well: quantity has a quality all its own.
             5. Avoid getting involved in counterinsurgency.
         One final implication of this research is simply a re-
         inforcement of the enduring and yet apparently un-
         persuasive point that winning counterinsurgencies is
         extremely difficult, especially for foreign powers. In
         important respects, the issues at stake in insurgen-
         cies are not especially amenable to change through


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         the instruments of foreign governments and militar-
         ies. For governments under attack, of course, this is a
         moot point. However, for governments making com-
         mitments beyond their borders to fight this kind of
         warfare, it is quite salient. While the track record of
         counterinsurgency is not entirely one of failure, it is
         universally one of costs and complications that far ex-
         ceeded initial expectations.

         PRIORITIES FOR FURTHER RESEARCH

             An almost unavoidable hazard of research is rais-
         ing as many or more questions as one has answered.
         This research is no exception. Additionally, there are
         many ways in which the analysis could be strength-
         ened. Some of the most potentially valuable priorities
         for further research on this subject are as follows.
             A key limitation of the analysis presented here is
         the absence of significant input from Iraqi sources.
         Practical considerations prevented collection of much
         of this kind of data, but clearly, a fuller examination of
         how Iraqis think about legitimacy and the politics of
         ethno-religious identity would include the results of
         direct discussions with Iraqis, themselves. If this re-
         search inspires further work on Iraq or any other cases
         of counterinsurgency or civil conflict, investigators
         should certainly seek opportunities where possible to
         draw in perspectives of the people whose loyalty and
         security is being contested.
             Future research on this topic may also benefit from
         employing an analytic framework somewhat more
         complex than the one used in this study. Complex
         frameworks have clear drawbacks, and the relative
         simplicity of the five-variable framework employed
         here was adopted purposefully, in part so as to cap-


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         ture the kinds of intuitive categories of decision vari-
         ables that actually prevail in real policymaking. How-
         ever, there is a price to pay for this strategy in terms
         of precise specification and explicit inclusion of some
         variables. Accordingly, the analytic strategy adopted
         herein would be well-complemented by research us-
         ing a more detailed framework with a larger number
         of more specific variables.
             This analysis would also certainly benefit from in-
         clusion of a larger number of case studies. Small num-
         bers of case studies inevitably constrain the process of
         generalizing insights to draw conclusions and derive
         recommendations for policy and strategy.
             Finally, though further analysis of these topics
         would not be limited to recent American experiences
         with counterinsurgency, it is worth noting that more
         detailed analysis of more local cases should become
         increasingly feasible as data from Coalition operations
         in Iraq and Afghanistan becomes more available, in
         both classified and unclassified contexts. Those expe-
         riences will provide a rich basis for comparative case
         analysis of counterinsurgency for the next generation
         of scholars and analysts and beyond.

         CONCLUDING THOUGHTS

             A U.S. Army veteran of both Iraq and Afghanistan
         wrote that “The problem with war narratives isn’t ly-
         ing. The problem is there’s too much truth. . . . The
         enterprise is so vast that almost everything is true, and
         writers can choose whichever truths support a partic-
         ular thesis.”9 Even as an analyst armed with data and
         the time to think long and hard about the problem,
         it is difficult to avoid drawing the same conclusion
         as this veteran does. Few hypotheses about insur-


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         gency and counterinsurgency seem to be completely
         without evidence, and even fewer seem immune to
         counterexamples.
            But if this research has done nothing else, it has
         highlighted one truth about counterinsurgency to
         place alongside the others: that who governs can be
         even more important than how they govern.

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                              APPENDIX

                          INTERVIEW LIST

             I conducted 37 interviews in support of the case
         studies detailed in Chapters 2 and 3 during the period
         of March 29 to May 13, 2009. Four interviews were
         conducted in person, the rest by telephone. Interviews
         ranged in duration from 40 minutes to 140 minutes,
         and averaged around 70 minutes.
             The single criterion for invitation to be inter-
         viewed was having first-hand knowledge of events at
         the times and places addressed in the case studies. I
         identified interviewee candidates when their names
         appeared in contemporary news coverage or in other
         primary source documents or through recommen-
         dations by other interviewees. I made initial contact
         via e-mail, and all interviewees reviewed and agreed
         to the terms of the Informed Consent Form required
         and approved by the Institutional Review Board for
         the purposes of conducting this research. In all cases,
         I honored requests for attribution to be withheld. In
         most cases, this applied to a small number of the in-
         terviewees’ comments, if any. However, four inter-
         viewees requested that none of their comments be
         attributed, so these interviewees are identified in the
         lists below only by their interview number, date of in-
         terview, and general professional background.

         Legend for Abbreviations in Tables.

            1/3 ACR: 1st Squadron (Tiger), 3rd Armored
            Cavalry Regiment (U.S. Army)
            1/503rd Infantry: 1st Battalion, 503rd Infantry
            Regiment (U.S. Army)


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           1/506th Infantry: 1st Battalion, 506th Infantry
           Regiment (U.S. Army)
           2/2ID: 2nd Brigade Combat Team, 2nd Infantry
           Division (U.S. Army)
           2/3 ACR: 2nd Squadron (Sabre), 3rd Armored
           Cavalry Regiment (U.S. Army)
           2/5 Marines: 2nd Battalion, 5th Marine Infantry
           Regiment (U.S. Marine Corps)
           2/17th Field Artillery: 2nd Battalion, 17th Field
           Artillery (U.S. Army)
           3ACR: 3rd Armored Cavalry Regiment (U.S.
           Army)
           4/3 ACR: 4th Squadron (Longknife), 3rd Armored
           Cavalry Regiment (U.S. Army)
           I/II MEF: 1st/2nd Marine Expeditionary Force
           (U.S. Marine Corps)
           CNA: Center for Naval Analyses
           MNC-I: Multi-National Corps–Iraq




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                                                   Rank
                                                                                                 Interview
      Number   Date (2009)       Name           (at time of     Organization        Job/Title
                                                                                                   Mode
                                                case study)
                             Andrea
     1         March 29                       Civilian         II MEF, MNC-I      researcher     in person
                             Jackson
     3         April 1       anonymous Army officer
                                                               Stars and
     4         April 2       Seth Robson      Civilian                            reporter       phone
                                                               Stripes
                                                                                  company
     5         April 5       Ed Rapisarda     Captain (Capt)   2/5 Marines                       phone
                                                                                  commander
                                                                                  combat
     6         April 6       Peder Ell        Corporal (Cpl)   2/5 Marines                       phone
                                                                                  engineer
                                                                                  battalion
     7         April 8       Sean Kuehl       Captain (Capt)   2/5 Marines        intelligence   phone
                                                                                  officer
                                                                                  battalion
     13        April 11      David Clark      Colonel (COL)    1/506th Infantry                  phone
                                                                                  commander
     15        April 13      anonymous Army officer
                                                                                  battalion
     19        April 15      Greg Sierra      Major (MAJ)      1/503rd Infantry   executive      phone
                                                                                  officer
                             Carter
     23        April 21                       Civilian         I MEF, CNA         analyst        in person
                             Malkasian
                                                               Los Angeles
     26        April 22      Tony Perry       Civilian                            reporter       phone
                                                               Times
                                                                                  company
     27        April 22      Eric Dougherty   Captain (Capt)   2/5 Marines                       phone
                                                                                  commander
                                                                                  brigade
     29        April 23      Gary Patton      Colonel (COL)    2/2ID                             in person
                                                                                  commander
                                                                                  weapons
                                              Lance Corporal
     31        April 26      Jaime Sutton                      2/5 Marines        platoon        phone
                                              (LCpl)
                                                                                  marine
                                              Lieutenant                          battalion
     32        April 27      Justin Gubler                     1/503rd Infantry                  phone
                                              Colonel (LTC)                       commander
                             Richard          Major General    First Marine       division
     33        April 28                                                                          phone
                             Natonski         (MajGen)         Division           commander
                                                                                  tactical
                                              Staff Sergeant
     34        April 29      Brian Fennema                     2/2ID              HUMINT team    phone
                                              (SSG)
                                                                                  member
                                              Lieutenant       2/17th Field       battalion
     35        May 1         John Fant                                                           phone
                                              Colonel (LTC)    Artillery          commander
     36        May 8         anonymous Army officer
                                                                                  tactical
                             Jamie
     37        May 13                         Sergeant (SGT)   2/2ID              HUMINT team    phone
                             Braddock
                                                                                  member


               Table A-1. Interviews for Ramadi Case Study.

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                                               Rank
                                                                                             Interview
     Number Date (2009)       Name          (at time of       Organization     Job/Title
                                                                                               Mode
                                            case study)
                                                             Los Angeles
     2       April 1      Louise Roug     Civilian                           reporter        phone
                                                             Times
                                          Second                             platoon
     8       April 9      Dan Driscoll                       2/3 ACR                         phone
                                          Lieutenant (2LT                    leader
                                                                             battery cmdr/
                          James
     9       April 10                     Captain (CPT)      2/3 ACR         regimental      phone
                          Dayhoff
                                                                             ops officer
                                                                             squadron
                          Michael
     10      April 10                     Major (MAJ)        2/3 ACR         operations      phone
                          Simmering
                                                                             officer
                                                             Stars and
     11      April 10     Monte Morin     Civilian                           reporter        phone
                                                             Stripes
                          Brian           First Lieutenant                   platoon
     12      April 10                                        2/3 ACR                         phone
                          Tinklepaugh     (1LT)                              leader
                          H.R.                                               regimental
     14      April 13                     Colonel (COL)      3ACR                            phone
                          McMaster                                           commander
                          Andrew          Second                             air defense
     16      April 13                                        4/3 ACR                         phone
                          Shealy          Lieutenant (2LT                    officer
                                          First Lieutenant                   platoon
     17      April 14     Gavin Schwan                       2/3 ACR                         phone
                                          (1LT)                              leader
     18      April 14     Chad Stapp      Sergeant (SGT)     2/3 ACR         squad leader    phone
                                          Second           113th             platoon
     20      April 17     Jared Leinert                                                      phone
                                          Lieutenant (2LT) Engineers         leader
                                                                             troop
     21      April 17     Jesse Sellars   Captain (CPT)      2/3 ACR                         phone
                                                                             commander
                                                             Washington
     22      April 17     Jon Finer       Civilian                           reporter        phone
                                                             Post
                          anonymous
     24      April 22     regional
                          expert
                                                                             deputy
                          Joel            Lieutenant
     25      April 22                                        3ACR            regimental      phone
                          Armstrong       Colonel (LTC)
                                                                             commander
                          Alan                                               troop
     28      April 23                     Captain (CPT)      2/3 ACR                         phone
                          Blackburn                                          commander
                                          Lieutenant                         squadron
     30      April 25     Greg Reilly                        1/3 ACR                         phone
                                          Colonel (LTC)                      commander


                Table A-2. Interviews for Tal Afar Case Study.

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                                                                                                        Governance, Identity, and Counterinsurgency: Evidence From Ramadi and Tal Afar
U.S. ARMY WAR COLLEGE
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                                                                                                                                                                                          GOVERNANCE, IDENTITY, AND
                                                                                                                                                                                          COUNTERINSURGENCY:
                                                                                                        Michael Fitzsimmons




                                                                                                                                                                                          EVIDENCE FROM RAMADI AND TAL AFAR
                                                                                                                                                                                          Michael Fitzsimmons                              U.S. ARMY WAR COLLEGE




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PRESS CONFERENCE WITH GENERAL DAVID PETRAEUS, COMMANDER, MULTINATIONAL FORCE-
IRAQ; RYAN CROCKER, U.S. AMBASSADOR TO IRAQ MODERATOR: JERRY ZREMSKI LOCATION:
NATIONAL PRESS CLUB, WASHINGTON, D.C. TIME: 9:03 A.M. EDT DATE: WEDNESDAY,
SEPTEMBER 12, 2007

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         MR. ZREMSKI: Good morning and welcome to the National Press Club. My
name is Jerry Zremski, and I'm president of the Press Club and Washington Bureau
Chief of the Buffalo News. I'm pleased to be here today to welcome General
David Petraeus and Ambassador Ryan Crocker to this National Press Club Newsmaker
event.

         General Petraeus and Ambassador have spent the last two days testifying
on Capitol Hill, and today they are here to answer questions from the media
about the Iraq war.

        General Petraeus?

         GEN. PETRAEUS: Well, good morning and thanks for the invitation to be
here with you at the National Press Club. It's good to see some familiar faces.
As you all know, again, Ambassador Crocker and I have had two pretty full days
on Capitol Hill with a number of good exchanges with members of both houses of
Congress, and we look forward to similar exchanges with you this morning.

         I'd thought I'd begin this morning with a summary of the report I
delivered to the House and Senate committees reviewing the nature of the
conflict in Iraq, recalling the situation before the surge, describing the
current situation and explaining the recommendations I've provided to my chain
of command. And I've worked very hard to get my statement down to about 25
minutes, which should leave plenty of time for questions. And you thought I was
serious. (Laughter.) Actually, I'm not sure if even I can bear giving my
opening -- the shortened version -- (laughter) -- of my opening statement for a
fourth time, and I know that you don't want to hear it for a fourth time.
Ambassador Crocker, my great diplomatic wingman, and I have already agreed we'd
just like to move right into questions.

        And the first question.

         Q     Good morning. John Donnelly with Congressional Quarterly and
vice president of the Press Club. Among President Bush's explanations for why
the United States is fighting in Iraq -- he said we need to fight the terrorists
over there so we do not have to fight them over here.

        This week you all didn't say much about that, and appeared even to
minimize that threat, on occasion. To what extent does that remain a threat?
What are we fighting for in Iraq? Is it peace in Iraq and greater stability in




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the Middle East? In other words, what do you tell the parents of children who
gave their lives in Iraq was the cause for which they fought?

         GEN. PETRAEUS: Well, it is peace in Iraq, a stable Iraq that can
defend itself and its people from internal and external threats, provide basic
services to them, has a government that is representative of and responsive to
all Iraqis.

         I did spend a fair amount of time the past few days talking about the
consequences of an al Qaeda-Iraq sanctuary in that country, about the fact that
we believe that al Qaeda-Iraq is off-balance; certainly remains very dangerous
and has demonstrated that repeatedly; and is, as I termed it, the wolf closest
to the sled, because they are the organization that has carried out the most
horrific attacks in Iraq and in particular those that have sparked the much
greater ethno- sectarian violence, in particular, of course, following the
bombing of the golden dome mosque in Samarra on February 22nd last year, when
the incidents just took off and the result of which was a true -- enormous
damage to Iraqi society, as it was termed, actually tearing the fabric of Iraqi
society.

         What I said in answer to questions yesterday a couple of times, I
believe, was that we don't know what would happen if al Qaeda had a sanctuary in
Iraq from which they could presumably export violence, perhaps train others. We
just don't know. Would it be focused in the Levant, in the Maghreb, in -- back
in Afghanistan, Western Europe, the United States? I don't know that. And that
was my forthright answer to that particular question.

         AMB. CROCKER: If I could just add to that, I've spent three and a half
of the six years since 9/11 in Pakistan, Afghanistan and Iraq.

        Those are all fronts in the fight against al Qaeda. We've seen the
linkages between Iraq and the Pakistan-Afghanistan areas where al Qaeda
operates. The letter a year or so ago from Ayman Zawahiri to AQI -- we have to
assume that anywhere al Qaeda can find operating room, space, ability to
organize, consolidate they're going to use that to come after us.

         GEN. PETRAEUS: Actually, let me make one other point, if I could,
because, as I mentioned yesterday, it has been pretty clear to a number of us --
and this includes General McChrystal, the head of the Joint Special Operations
Command, and the director of the CIA -- that, in their view and my view, the
central front of al Qaeda's global war of terror is in Iraq. That's the sense
from seeing the communications back and forth between AQFL, the AQ senior
leadership, over in the Pakistan-Afghanistan area and the amount of resources
that they appear to have devoted to that.

         Now, it is hard to say what will happen as they -- and if they sense
that they are losing momentum in Iraq. As I mentioned yesterday, again, their
freedom of maneuver, their sanctuaries are considerably in Iraq. They still
have some, there's no question, but they're much more on the run than they have
been at any time that I can recall since they really established themselves in
Iraq. And the Euphrates River Valley, by and large, is not friendly to them, in
Anbar province. Ramadi is no longer a capital of al Qaeda. Baqubah has been
cleared. Much of Diyala province -- there's still work going on in there,
certainly, and then several neighborhoods in Baghdad and in the so-called
Baghdad belts.




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         Now, again, don't get me wrong, a lot of hard to do. They continue to
try to open up new fronts. We know they're trying to do that in the Mosul-
northern Iraq area, and we have literally with Iraqi security forces gone after
them up there. And as I mentioned, it was actually Iraqi forces that actually
located and killed the previous senior of Mosul several weeks back.

        Right there.

             Q     Thank you very much. This is Arshad with the National Press
Club Speakers Committee. General, thank you very much for doing a wonderful and
a magnificent job for the nation. And Ambassador Crocker, this question is for
you, since you are our point person and normally we like to interact with the
political questions. And once again, thank you General.

         And the reason I'm asking this -- the reconciliation, a political
reconciliation -- Ambassador Crocker, since you have got a wide- ranging
experience and you have been one of our outstanding diplomats that we have at
the State Department, on your own view -- on your own view -- how would you like
to see the reconciliation taking into a place in Iraq and in the Middle East,
because that has got a tremendous implication there. So what is the political
reconciliation that is going on there? Are there any back channel moving that
you -- are you involving the rest of the Middle Eastern countries, including the
state of Israel, on this process? What is your answer?

         AMB. CROCKER: Well, the issue of reconciliation in Iraq, I think,
pretty obviously has to be managed by Iraqis reconciling with each other. We've
spent a lot of time over the last two days talking about these issues. It's
hard. It's hard because of Iraq's history under Ba'athi rule for 35 years, in
which Saddam Hussein basically deconstructed society down to most basic
identities. It's hard because of the sectarian violence that has spread through
Iraq from early '06 to early '07. It is going to be a long, difficult, painful
process.

         But we are seeing indications not only do -- that Iraqis have the will,
they have got the ability to take these important steps. Just before I got on
the plane to come back here, for example, I was in Anbar province with the two
vice presidents of Iraq and the deputy prime minister. That's Sunni, Shi'a,
Kurd. They had all come to Ramadi to announce a considerable increase in the
provincial annual budget for capital expenditures, an additional $70 million
plus 50 million (dollars) for compensation from damages suffered in the fight
against al Qaeda. That's important for provincial development. It's also
important for linkages between the central government and the provincial
government in Anbar. And it's important as a step in reconciliation from a
Shi'a-led central government to a Sunni province.

             So there are a lot of things going on: this so-called bottoms-up
efforts, top-down efforts, the agreement of Iraq's five principal leaders at the
end of August in principle on language for de- Ba'athification reform -- that's
top down -- and then the efforts to link top to bottom. So there are efforts
underway. There is a long way to go. And as I tried to emphasize repeatedly in
the hearings over the last two days, there are no magic switches to flip in
Iraq, not on reconciliation and not on services, not on the other hard issues.
This is going to take time. It's going to take a lot of effort. It's going to
take enormous resolve on the part of the Iraqis and on the part of Americans to
get this done.




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         Q     (Off mike) -- against al Qaeda, what's the harm in laying down a
timeline to getting down to 80,000 or 100,000 troops? And does -- wouldn't a
timeline provide an incentive for Shi'ite militias to lay down arms against the
United States or help jumpstart some reconciliation?

         GEN. PETRAEUS: I'm not at all sure that it would actually. Again, you
know, there's this conflicting tension, if you will, between okay, if we put a
timeline then everybody will be satisfied with that, and then they can plan
toward that. Others will be worried by it and perhaps harden their attitudes,
start loading the magazines for their weapons and so forth.

         So I think that what we have laid out is a prudent -- and again
reflects my military judgment of what can be done to reduce our forces without
jeopardizing the gains that we have fought so hard to achieve. But to look out
beyond that is something that's just very, very difficult for me to do and not
something that I feel comfortable doing.

         I mentioned in the longer version of the opening statement, just in the
past six months really, the events that we would not have predicted. I don't
think, even though you can say, yes, the tribal activity started last October.
Certainly it did and it built towards -- it was not until mid-March that we
started the operation that truly cleared Ramadi with the soldiers and the
Marines with the headquarters from the 3rd Infantry Division Brigade.

             Again, even when I was there when I first took over, I would not
have predicted that at that time. I wouldn't have predicted the flipping of
heat, the fact that we might have all these police precincts in Fallujah. So
there are areas where we've been surprised by the rapidity of activity.

         There are other areas, frankly, where, you know, we've been surprised
by something that's unsettling, and that would include the revelations about the
extent of Iranian support for these militia extremists, the so-called special
groups and all the rest of that. And frankly, we just learned a great deal about
them in the wake of the capture of the head of the special groups, Qais Khazali,
and his brother Laith, and capturing the deputy commander of the Lebanese
Hezbollah department that had apparently been established to support them. That
was a real revelation.

         And so I think it is prudent to avoid predicting, getting locked into
something that carries you way out beyond which you cannot with confidence see.
So.

        Right here.

        Q     General, good morning.   Dave Wood with The Baltimore Sun.

        GEN. PETRAEUS:   Yeah, good to see you, Dave.

         Q     The counterinsurgency manual 3.4, you quote General Chang, I
believe, as saying that a counterinsurgency fight is 20 percent military and 80
percent non-military.

        GEN. PETRAEUS:   Yeah.

         Q     But I think you yourself have said that the war in Iraq can't be
won on a purely military basis.




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        GEN. PETRAEUS:   Right.

         Q     In your conversations with the chain of command and your
briefings with President Bush in particular, I wonder if each of you could in
turn describe what of that 80 percent of the non-military counterinsurgency
fight is yet to be done. What are the most critical tasks here that the United
States is not doing? And have you won the president's assurances that the full
weight and resources of the government will be mobilized against those
challenges? AMB. CROCKER: I think that's exactly right. And that is why
General Petraeus and I developed shortly -- started developing shortly after we
were both on the ground in Iraq a joint campaign plan that clearly spells out
that the political line of operations is the predominant one, but also economic,
regional.

         There clearly is a lot to do. The most fundamental issue is the one I
was just talking about, achieving a level of political reconciliation that moves
the dynamic in Iraq from violence as a means of asserting claims to power and
resources into a political debate, because that argument, that struggle, if you
will, is going to go on for a very long time. The challenge is for Iraqis to
move it from violence in the streets into parliament and other forms of debate.
So, clearly a lot to do there.

         It's why the surge is so important, though. Violence clearly has got
to be brought down to a level where a political debate can take place, where
people are not literally fighting for their lives on a daily basis.

        And I think as the surge reached its full height in mid-June, we're now
seeing that effect, and that gives --

         Q     With respect, sir, that's the military part. I'm talking about
the resources the federal government is putting into the 80 percent (of the
fight ?) which is the non-military part.

         AMB. CROCKER: Yeah, I'm -- actually, I understood the question to be
both what is the 80 percent and then what are we bringing to the effort? As
security starts to take hold -- it's kind of interesting. If you're out in the
streets, where maybe a couple of months ago the first thing people would tell
you about is we got to have security -- they now maybe take that as something of
a given and are saying, so where are the services? And that clearly is
something the government has to deliver on, and that's where we've got a role to
help as well.

         As you know, the administration has moved from major -- an emphasis on
major infrastructure projects that we build into capacity building, and we're
going at that really at two levels.

         One is through a significant increase in our Provincial Reconstruction
Teams. We started this year at 10; now we've got 25, and we're increasing the
staffing on those to be fully capable of assisting Iraqis not only at the
national level but at the provincial and district levels in Baghdad and
elsewhere. That's important, because Iraq's got the money; what it has to be
able to do is execute budgets. And a major emphasis on the part of both
civilians and military from the United States is helping them develop those
kinds of capacities, to develop and execute budgets.

         And we're seeing improvements. The provinces, for example, are doing
about two and a half times better in 2007 on budget execution than in 2006, and




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that ties to obviously reconciliation. If your government is delivering
services for you, you're going to feel a lot better about your government.    It
also works in Baltimore, I'm told.

         GEN. PETRAEUS: David -- I'm sorry. If I could just build on that.
You know, the ambassador mentioned something that is fairly unique, and that is
we -- of course, we have this Joint Strategic Assessment Team that came
together, all the big brains and so forth, and they provided us input. They
spent at least a month at it, and most of them were individuals that had
experience in Iraq, some very lengthy experience. And what came out of that,
the Joint Campaign Plan, is a unified effort. It is the embassy and actually
other embassies as well -- the British and the Australians participated also --
and the Multinational Force unified campaign plan, and in that, there are these
lines of operations. And interestingly, the line that -- you know, in military
significance, the line that has two little arrowheads on it, if you will --
that's the main effort. And in this case, on the diagram that sort of tries to
capture this effort, the political line of operations has!
  that designation.

        It -- and it does reflect, obviously, the enormous importance about
politics, and this 20-80 percent -- whether the mix is right or not is
debatable, but certainly.

         And in fact I mentioned yesterday that what happened in Anbar province,
in effect, is political. That's what we're trying to do, is you get the locals
to oppose the extremists. And that is what made possible the sustainable
security, so far, that's been achieved out there and on which we continue to
build in Anbar province.

         Now, having said that, that 20 percent of the military was awfully
important. And as Senator Webb mentioned yesterday about one of the Marine
battalions that had been banging away in Ramadi and the soldiers out there and
so forth -- I mean, that cleared Ramadi in the end. And in the end, in mid-
March, we launched an enormous offensive. We'd made some inroads up to that
time, but it was mid-March that we launched that. It took about a month, in
fact, to truly clear Ramadi, get the combat outposts, the patrol bases and all
the rest of that in place. Fighting was a couple of weeks. And then that has
been sustained since then, with enormous amount of support from not just Iraqis,
who are volunteering now in a way they certainly didn't for several years -- as
you'll recall, we had to close the police academy out there. There was no
military basic training facility out there. Now both of those are functioning
again, and there are volunteers -- really more volunteers!
  now than there are slots.

         Let me address the other piece of your statement as well, though, and
you know, they have that statement that we heard on the Hill in the last two
days about associating oneself with a colleague. And I actually want to
associate myself with the comments of the chairman of the Joint Chiefs, in a
spirit of forthrightness. And he is on the record as saying that not all
elements of the government are on the same kind of war footing, needless to say,
as the military and the State Department and AID. And I think we need to
continue to look at that. There have been, in a sense, you know, that while we
would love to help but we can't, because the security situation is inadequate --
well, we need to take a new look at that, I think, and to see if there are some
areas in which additional expertise could be brought to bear now. And that is
one of the things that we will do, in fact, when we get back to Baghdad.




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        So -- yes, sir?

         Q     General, as you know, General, the situation -- the security
situation in Basra and in the south has become quite   complicated, with a
violent power struggle going on between two Shi'ite factions and the British in
the process of drawing back. Can you foresee a situation where American troops
may have to be committed to that area? And if so, if that were to come to pass,
would that affect your ability to carry out the kinds of U.S. drawdowns that you
laid out in your congressional --

         GEN. PETRAEUS: Yeah, I don't envision that. I could envision,
perhaps, some small Special Forces participation, along with the Iraqi special
operations forces, which we have actually built up down there recently. And
they've operated in and out of there at various times all along, together with
British special forces as well.

         There clearly is a competition ongoing in Basra between the Fadhila
Party, the Supreme Council and the Sadr parties and militia. But interestingly,
there is an accommodation down there right now that is the kind of Iraqi
solution to problems in the south that, you know, is mildly heartening, I guess,
is the way to put it. Occasionally folks have said that this is -- I don't know
-- a little like the Italian city-states in Machiavelli's day or something like
that. But there's an awful lot of to-ing and fro-ing, some violence, certainly.
And of course in some other provinces there have been -- there's been terrible
incidents where governors were assassinated by elements linked with the militia.

         But there -- right now there is actually quite a very low level of
attacks and so forth, and it has been that way, I think, for about a month now.
The handoff of the palace actually was quite orderly. There was a force that was
trained and equipped and certified in fact by the British and the Iraqis
together. They handed that off. There was nothing dramatic in the wake of
that, and they continue to secure that area. And I believe that it will, over
time, become used by Iraqi security forces. There was the installation of a
senior Iraqi general down there, a four-star general, who had been working
directly for the minister of Defense, quite a forceful individual I knew from
the past, by the way; a new police chief some months back.

        Again, lots of challenges, don't get me wrong. There's militia
infiltration, there's political party -- all these different parties have
elements and different structures in Iraq, but they have come to accommodations
that are allowing the functioning of activities down there. And certainly the
oil has been flowing, and the ports have been moving and all the rest of that.

         So I think we -- we're in a wait-and-see approach with Basra, but we
have every expectation that Basra will be resolved by Iraqis. In fact, we are
actually helping them move right now elements of a mechanized battalion down
there. They're doing a swap of some army brigades; there's the establishment of
a full-time Iraqi special operations force battalion down there as well, so that
General Mohan will have some reliable forces if needed. And in many cases in
that area, the presence of those forces, again, when it comes to intra- Shi'a
rivalries, can sometimes be enough to keep the situation one in which they're
shouting rather than shooting.

         Q     (Off mike.) You blamed Iran for a good deal of what's gone wrong
in Iraq. Can you clarify what your evidence is for that? And could your
testimony be viewed as part of a campaign to build towards an attack on Iran?




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        GEN. PETRAEUS:    Yeah, no, I --

        Q     And to --

        GEN. PETRAEUS:    Certainly not.

        Q     -- to Ambassador Crocker, if I could.

        GEN. PETRAEUS:    Well, let me answer that first, please.   Sorry.

        Q     Of course.

         GEN. PETRAEUS: I'm not blaming Iran for all that's going wrong in
Iraq. What I stated is, in fact, what we have learned about Iranian activity,
and it certainly has contributed to a sophistication of attacks that would be no
means be possible without Iranian support when it comes to the explosively
formed projectiles, a signature item provided by the Iranians; rockets, again,
very -- particularly 240-mm that, again, there's no question where they have
come from. And the evidence is very, very clear. We captured it when we
captured Qais Khazali, the Lebanese Hezbollah deputy commander, and others, and
it's in black and white. And by the way, it includes items from the wallet of a
U.S. soldier that were digitized on this computer as part of the evidence that
they had in fact actually carried out the attack that killed five of our
soldiers in Karbala back in January. And we subsequently killed the overall
leader of that operation later on in Baghdad.

         We interrogated these individuals. We have on tape -- we have shown it
to senior Iraqi leaders -- Qais Khazali himself. When asked, could you have
done what you have done without Iranian support, he literally throws up his
hands and laughs and says, of course not. And again we have shown that to Iraqi
leaders, several of whom then went to Iran and made their case quite forcefully
about their concern of Iranian involvement.

         So they told us about the amounts of money that they have received.
They told us about the training that they received. They told us about the
ammunition and sophisticated weaponry and all of that that they received.

         And so this is evidentiary. It is not just intelligence. It rises to
the level of evidence, particularly what we captured when we got the hard drives
of the computers from the individuals that we picked up in Basra. So there's no
question about that.

        Right here.   No, one question per customer, please.

         Q     (Off mike) -- generally came only with the full complement of
forces in June and July. How will those forces be able to do the same or more
with less when the surge ends next year?

         GEN. PETRAEUS: Well, in some cases, the progress has been aided
enormously again by the changes in popular support for what's going on. That's
particularly true in some of the Sunni Arab areas, in which again al Qaeda had
sanctuaries. And so where you have now the local volunteers, especially once
they've been integrated into the ministry of interior or ministry of defense
forces, that gives you a solution that is sustainable in a way that we have not
had in the past frankly.




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         Nowhere is this illustrated better than Anbar. I hate to keep coming
back to Anbar, but it is such an important example. You know, we banged away in
Anbar for years and disrupted and disrupted and disrupted, cleared and then were
not able to hold. And we now are able to hold, because the Iraqis have rejected
al Qaeda.    They made the political statement -- their leaders, their tribal
leaders and their governmental leaders. And then because their young men, now
emboldened by the public opposition to al Qaeda, are not just willing but
volunteering to serve in the security forces to keep al Qaeda out of their river
valley and to try to get the -- you know, look. They have come to accept, we
believe, that they are not going to run Iraq again. And that's an enormous
evolution, if you will, from the initial feelings of disposition, disrespect and
other perceived sentiments, perceptions. They now want their seat at the table.
They want their share of the oil reven!
 ue in particular.

         And that's why it was so significant when Ambassador Crocker and the
others were all out there the other day, for Anbar forum summit number two, to
see some of this oil revenue as supplemental if you will. I mean, they've
learned now about supplemental funding and they got one.

        And others now, of course, want -- I mean this, again -- as I mentioned
yesterday, this is an ethnosectarian competition for power and resources. What
we are trying to do is facilitate the resolution of that competition by more
political than military or violent means, and that's the case where politics are
taking place. And they'll shout at one another, perhaps, or have direct
conversations or levy requests and all the rest, but at the end of the day,
they're not shooting at each other, and in the end of day, also, they sit down
and talk and have been able to resolve situations -- not to say that all their
expectations have been realized, nor all their requests met, but.

         So that process, again, gives you a sense that that's an area in which
you can start to thin out -- in fact, we already moved a battalion from
southeastern Anbar province to another area, an army battalion. We are going
to, if approved, bring out the Marine Expeditionary Unit, some 2,000 plus, here
later this month without replacing it, and then over time we will gradually do
that. And that's what we want to do in other areas as well, having, again,
cleared them of, say, al Qaeda or of other extremists There's still Sunni-Arab
insurgents, don't get me wrong, out there, although a number of them have
actually raised their hand and come over to oppose al Qaeda.

         The ambassador mentioned Abu Ghraib. That's an enormously significant
case, in some respects more significant than Anbar. I mean Anbar, at least, is
out there, it's all Sunni Arab. Okay, just -- let the Sunni Arabs deal with al
Qaeda out there, that's a good thing, and just keep them, you know, away from
Baghdad. Well, Abu Ghraib is on the doorstep of Baghdad, and the prime minister
approved some 1,700 men from Abu Ghraib, some of whom are certainly former Jaish
al-Islami insurgents, and they are going to graduate from the police academy.
In fact, I think some graduated on the 10th and others will graduate in several
days, and they will help police their area.

         Tied into a national chain of command, there'll be local police
policing their locality, not someone else's, and again, tied in and paid for by
the national government, which is of considerable significance, needless to say,
because you cut the salaries off if they are not living up to the bargain. But
that's what enables, that's what thickens, if you will, our capabilities and the
capabilities of the Iraqi security forces, and they become Iraqi security




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forces. And that's what we're trying to do throughout those areas.   Ryan, why
don't you call on --

        AMB. CROCKER:   Try over here.

         Q     A question for General Petraeus, and Ambassador Crocker, you can
answer, too. What is wrong if the U.S. recommends a federal state, soft-
partition solution to end the war in Iraq?

             AMB. CROCKER: Well, Iraq is a federal state. The constitution
says so. One of the challenges the Iraqis face right now is trying to work out
what that actually means translated beyond the constitution into law and into
practice. That's why such a piece of benchmark legislation as provincial powers
is tough to get, because provincial powers is states' rights. That's what the
debate is about in Iraq.

         And this is a whole new concept for them. Iraq has always been run
tightly from the center; well, now it's not. You've got governors with powers,
you have provincial councils with powers and with budgets that they're
executing. So again, Iraq is -- the new Iraq is established as a federal state.
What Iraqis now have to do is translate that into practice.

         For example, I saw one pretty heated exchange at very senior levels
over the issue of whether an Iraqi governor can command federal forces in a
state of emergency.

        And opinions are pretty sharply divided over that and it's a pretty
fundamental issue.

         I think Iraqis will work their way through these things. They've come
a substantial distance already by according provinces their independent budgets
and the ability to spend them as provinces see fit. But exactly how federalism
is going to be translated on the ground is something Iraqis have to work
through.

         One encouraging thing I've seen over the last month or two is kind of a
reenergized debate on just this issue, what will a federal state look like in
practice. And for the first time, Sunni Arab Iraqis are very much a part of
that discussion as they see in, say, Anbar or Salahuddin that actually it's a
good thing for provinces to have more authority and maybe a little less
authority for the center. But it's a work in progress.

         Q     Mr. Ambassador and General Petraeus. Yesterday, General, you
were asked a very direct question, "Will the course of action you have outlined
make America safer?" You said, "I don't know." So what I'd like to ask now is,
to both of you, first of all, is that still your answer here today? And
secondly, if not, why --

         GEN. PETRAEUS: Thanks. Yeah. Well, thanks for actually giving me an
opportunity. I did actually address that several times yesterday. What I was
trying hard to do yesterday was to avoid being more than the MNF-I commander.
And so when I was asked about the global war on terrorism, I thought that that
perhaps is a question for those who are carrying out the global war on
terrorism. I'm carrying out one piece of that, which is the part that is
prosecuted inside Iraq. When asked about the impact on, say, the military, I
obviously said that certainly I understand completely the strains and the




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stresses of extended deployments and the strains that that has placed and the
sacrifices that our families have made.

         And it was in that context that I was answering that question. I'm not
the national security adviser, don't write the national security strategy nor
the national military strategy.

         As I mentioned afterward, however, achieving our national interests in
Iraq is very important, and those national interests do, obviously, link to the
overall strategy for our country, or an important component in it, and therefore
do, yes, make our country safer because that is what our national security
strategy is intended to do. Q      General?

        Q     Ambassador?

        GEN. PETRAEUS:   In the back.   Yes, ma'am.

         Q     General, (Anna Mulrine ?) with U.S. News and World Report.
Senator -- thank you -- Senator Lieberman asked you, General, yesterday whether
maybe it was time to give you authority of pursuit in your mission in Iraq to go
after Qods Force operatives in Iranian territory. And when he asked you that
question, you demurred; you basically said that any sorts of operations like
that should be rightly overseen by MNF-I, or by combatant command. But what I'm
curious about is, you know, how would that affect you as commander of forces in
Iraq? You know, would that be helpful, not so helpful?

         GEN. PETRAEUS: Well, I think he also asked, or at least several asked,
do you have the authorities you need inside Iraq? And I answered that yes.

        And, look, again, I -- see, that really was where this came from. I'm
trying to stay the MNF-I commander; again, not be more than that. There is a
regional combatant commander, Admiral "Fox" Fallon, and that is his province.
Outside Iraq would be his area, and so I'm literally trying to avoid starting to
talk about something that would extend beyond the borders of Iraq.

         Now, having said that, I also explained on a number of occasions
yesterday the challenges that are posed for Iraq by very lethal activity carried
out by Iran in terms of the training, the arming in particular, the funding and
in some cases directing of elements through the use of the Qods Force and also
what happens in terms of foreign fighters coming into the country from the other
side through Syria.

         So this has an enormous impact on Iran. The ambassador and I have, as
we mentioned yesterday, on several occasions said you can't win in Iraq, you
can't succeed in Iraq just in Iraq; it does require greater involvement with
respect to some of the neighboring countries, some of the source countries for
foreign fighters, and it certainly involves Iran. And again, the Iraqi leaders
have developed much greater concern about Iran's activities, about the
activities of the Qods Force with respect to the militia extremists that in many
respects appear to be trying to create a Hezbollah-like force that they could
use to gain influence in Iraq.

         So it's a huge concern to Iraqis, not to mention the Multinational
Force and our effort to achieve the objectives outlined by Iraq and in our Joint
Campaign Plan. But that doesn't mean that it's something for which I should
have the authority to pursue any more than we should have that with respect to
Syria or elsewhere.




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              Right here.

          Q    General?

          GEN. PETRAEUS:    Right there.

         Q     (Off mike) -- with Al-Arabiya Television. General, is your
commitment to Iraq militarily open-ended, or at least in years from now as the
Democrats were saying yesterday? And secondly, Mowaffak al-Rubaie, the national
security adviser, was saying that they have 500,000 men, which is almost to
Saddam Hussein's army. And there's many conflicting reports about the readiness
of the Iraqi army. Can you comment on that?

          GEN. PETRAEUS:    I -- I couldn't hear the last part of that.

          Q    Mowaffak al-Rubaie --

          GEN. PETRAEUS:    I heard to 500,000.

         Q     Okay. And he was saying -- it's almost Saddam Hussein's army.
He's saying that these men are ready. And there've be many (reflecting ?)
reports about the readiness of the Iraqi army --

         GEN. PETRAEUS: I don't -- I'm not sure he did say that. I think that
he said that they are growing, they are getting better equipped, they are
gradually taking over. I think it was a bit more measured than that. That
certainly he chairs, in fact, a committee of Iraqi security force leaders and
coalition leaders and diplomats. And he's keenly aware of both the strengths
and very -- even more, the limitations, if you will, because that's where the
focus is, to try to fix equipment shortcomings, personnel shortcomings,
especially leader shortcomings, because those are the growing -- have been very
challenged to have the right number and qualified commissioned and
noncommissioned officers.

        They just aren't -- you just don't train those in a 12-or-18-week basic
training regime.

         And with respect, I don't believe I ever said that there -- I did not
say that there is an open-ended commitment. What I outlined was recommendations
that will take us to mid-July. I outlined a -- the concept that we have for the
gradual drawdown of our forces over time and how gradual or rapid it is,
depending on conditions. And I think that's what a responsible military
commander -- frankly if any of you were in my shoes, I think you would probably
recommend the same thing.

          Yes, sir.

          Q    Thank you, sir.    My name is Ron Baygents.   I work for Kuwait News
Agency.

         The question is, we hear a lot about the cross-border activity in the
surrounding countries. Can you tell us how Kuwait is handling its border vis-a-
vis Iraq? And related to that, what is your minimum realistic expectation for
the Istanbul Iraq neighbors conference in October?




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         GEN. PETRAEUS: Well, having actually done a tour as what in those days
was called the General of the Month Club in Kuwait, back when we were rotating
generals through Kuwait every month prior to the operations, and then having sat
in the Kuwaiti desert for a while before we went through the berm, the Kuwaiti
border is very substantial. I don't know if you -- you may not have -- I guess
you've never seen it. But I mean, it took us, I think, 24 hours just to cut the
holes, maybe a bit longer, in the wire, in the berms, fill in the tank ditches
and all the rest of that. It is -- it's got three complex obstacles: fences,
towers guardposts and everything else, and a lot of that of course created in
the years after the Iraqi invasion of Kuwait and for a long time monitored by a
U.N. force. I just don't recall whether they're still -- what their involvement
is now.

         But I don't have any sense that that is an area of Iraq's border across
which foreign fighters might be flowing. There are very active ports of entry,
and we do need to keep an eye on those. But again that's not really the area of
Iraq through which a Sunni Arab extremist would want to travel, I wouldn't
think. Because it means moving through the Shi'a South quite some distance
before you would get to an area where you might be able to link up with those
with whom foreign fighters normally link up.    And normally, in fact, they're
in a sense carried the entire way along there.

         AMB. CROCKER: The neighbors conference in Istanbul at the end of
October is of course the second convening of the neighbors at the ministerial
level. The P-5 and the G-8 will also be there. This is part of an expanding
kind of regional and international effort, I think, to support Iraq, and it's
something we encourage. The ambassadors of the neighboring states just met in
Baghdad a few days ago, and one of the things they discussed was the idea of
setting up a permanent secretariat so that there would be a body in place that
issues involving Iraq and its neighbors can be addressed. I think that would be
a positive step if the conference decides to adopt that.

         I also think it's an important venue for Iraq's neighbors to consider
how they can help the effort under way in Iraq to achieve security and stability
for the Iraqi people. We've seen some encouraging signs. The Saudis are
preparing to reopen their embassy in Baghdad for the first time since 2003.
This would be a good opportunity for other Arab states, I think, to follow suit.
Kuwait and Iraq are nearing conclusion on a commercial agreement for Kuwait to
supply Iraq with a significant quantity of diesel fuel, which is critical for
power generation. It's these kinds of initiatives and endeavors on the part of
the neighbors that are going to be important in bringing about a stable Iraq,
and it's also an opportunity, I think, for the neighbors to bring some focused
pressure on states like Iran and Syria who have been part of the problem more
than part of the solution.

         Q     As you both know, retired Marine General Jim Jones recently came
out with a report on the Iraqi security forces estimating it would take about 12
months to 18 months before they could stand on their own. Do you both agree
with that?

         And also, do you envision tens of thousands of U.S. troops in Iraq for
at least the next five years?

         GEN. PETRAEUS: Tom, first of all, General Jones, I think, is
addressing the fact of the institutional structures, if you will, the logistical
structures, and that is, I think, an accurate assessment. That has been the most
challenging part of this effort, frankly. We've discovered that it is certainly




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very doable to train infantry men, infantry companies, infantry battalions and
especially if you can find some of the former leaders, and they have. And those
battalions can operate with reasonable ability and success. The challenging
piece has been creating the logistical structures, the administrative structures
of all things just to make sure they get paid on time, just track personnel
strengths to do replacement, how do you deal with the wounded -- there are just
a host of these that we just completely take for granted. I mean, to give you
one example that I remember, in the fall of '04 or early '05 when we were trying
to establish a logistical training center !
 for the Iraqis, we were already training battalions, and what we're now trying
to do is to get the other -- the underpinnings of them going.

         And the Australians were great; they sent in a team of commissioned and
noncommissioned officers in very rapid and very short notice. And they came in
and they said, well, General, you can show me the logistical doctrine that we're
going to teach. Well, there just wasn't any logistical doctrine. I mean, the
entire structure had gone away, including even the buildings of the Ministry of
Defense much less any other infrastructure and so forth. So you know, you
literally have to sort out, okay, what we are we going to do? Is it going to be
first, second, third echelon the way we have it, or is it going to be -- I mean,
these sound very, very arcane, but they're hugely important. And if you're
going to use a fixed-base security system -- logistical system rather than an
expeditionary-based one -- we're relatively expeditionary in our capabilities;
the Iraqis are not. They really have to go from fixed bases, and they can do
that because they're generally operating!
  near them, they're not trying to go long distances away from those. But it's
that kind of challenge.

         You know, and then they came in and said, well, do you have the parts
system, the parts numbering system? Well, no. So literally, I mean, for
thousands of line items of parts for all the myriad vehicles -- and of course,
they never turned down a donation so you had a huge mixed fleet. This is the
kind of challenge with which they've been grappling. They have put a lot of
stock in the foreign military sales system, and frankly, it is incumbent on us
to deliver.

         And Chairman Levin and Senator Warner, in fact, came back from their
visit determined to try to help the -- encourage the speed up of the
acceleration of the process because the FMS system is a bit of a peacetime
process, candidly. And the ambassador chimed in; you know, he's got experience
in I don't know how many different countries as the chief of mission alone and
said the same thing to them that day. They've put about $1.6 billion into FMS
just in the last year or so, and there's potentially as much more going in to
it. But we've got to come through and deliver as rapidly as we can so that they
have replacement vehicles, because they get battle damage and all the rest of
this.

       So that's what General Jones was talking about.

         Now, having said that, there's numerous places in the country, entire
provinces which are under provincial Iraqi control -- and not just the three
Kurdish provinces but other places like Muthanna province, Maysan -- Karbala
will be; they're going to go provincial Iraqi control here in about a month or
so -- where we have either no forces at all, so they -- and they may not be
operational readiness assessment 1. In fact, it's unlikely that they will be,
particularly because of shortage of leaders, which is the big challenge right
now, and then the second would be shortage of equipment. The third would be




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maintaining the equipment that they have, because, again, what you're talking
about is creating a warehouse system, depot system, maintenance facilities,
training the mechanics, getting the tools, the spare parts -- it's an enormous
challenge when you are literally standing it up from scratch. So that's what
he's talking about.

         But again, as I said, there are lots of units that are operating
independently, even though they might be ORA-2 or some cases even ORA- 3.
They're just doing it. And depending on the situation, they can be okay.

         Q     (Off mike) -- of logistics, and as you talked about yesterday,
the long-term security agreement with the Iraqis -- does that mean at least tens
of thousands of U.S. troops in Iraq for at least five years --

         GEN. PETRAEUS: I -- you know, I wouldn't hazard a guess on that. I
mean, again, you saw the stairstep. We would like obviously to go as quickly as
we can along that. But I'm not going to try to sit here -- again, you know, one
of the cases I tried to make yesterday was it is very, very difficult to project
out much farther beyond the horizon at this point in time, even just to mid-July
of next year and as I cited earlier just a few of the examples of the kinds of
reasons that that can be very, very difficult.

        (Cross talk.)

        GEN. PETRAEUS:   Yeah.

        AMB. CROCKER:    No, the lady.

         Q     Jacqueline Benoit (sp) with Agence France-Presse. Mr.
Ambassador, I have a question for you. What do you think about the     French
diplomatic switch towards Iraq since Mr. Sarkozy's election? You saw Mr.
Kouchner in Baghdad recently; how do you see France play a role in the
stabilization in Iraq?

         AMB. CROCKER: Actually, there were two important European visits to
Iraq in the last half of August -- the visit of course of the French foreign
minister, Mr. Kouchner, and also the visit of Carl Bildt, the foreign minister
of Sweden. I had the chance to speak to both of them, and it seems to me that
some major European countries are now taking another look, a new look, at Iraq,
and recognizing that four and a half years after the fall of Saddam that they
have long- term interests in how things turn out in Iraq.

        So I think this expanded European engagement is a very positive thing.
And it comes at a particularly good time, with the international initiative on
Iraq under way that parallels the neighbors' initiative. And of course France
plays in both of them.

         In about 10 days' time, the International Compact with Iraq will
convene a ministerial meeting in New York, jointly chaired by the secretary-
general of the U.N. and the prime minister of Iraq. That will actually look at
the international compact. Seventy-four member states are part of that effort
to support Iraq's economic endeavors. And it will look at the new Security
Council resolution for the United Nations Assistance Mission in Iraq. That
resolution gives UNAMI a considerably expanded mandate that allows the mission,
at the request of the Iraqi government, to be involved in efforts in national
reconciliation, for example, at working on internal boundary disputes between
provinces, this sort of thing.




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         So at the same time that we see more positive activity on the part of
the neighbors, a stronger, more expanded mandate for the U.N., it is a good
thing to see as well a renewed European interest in working to further positive
change in Iraq.

         GEN. PETRAEUS: Let me just take advantage of this brief break here to
set the record straight on something. There's this mythology out there and
apparently an unnamed intelligence source who said that we only count executions
if they're shot in one part of the head and the other. That is just not true.

         As only the military can, we have a three-page document on ethno-
sectarian violence methodology. And it is fairly comprehensive, and it's pretty
logical and rational.

             And in the execution category, it says civilians that show signs of
torture, being bound, blindfolded, or shot anywhere in the head and so forth.
So if I could just put that one to rest and then let me go ahead and call one
right here.

         Q     Well, General, welcome home. John Key (sp) of the Hughes
Sullivan Show. I found your testimony to be most clear, concise and honest, and
I thank you for that. My question is this: building on Mr. Wood, it is clear
to me that some of our elected officials have no conceptual understanding of
fighting an insurgency. Should we, the American public, mandate that our
policymakers read and comprehend the COIN Manual 3-24, and would the rest of
this be academic if they had?

         GEN. PETRAEUS: Well, I mean, I'm not going to -- I don't want to try
to follow up on that. (Laughter.) I would say --

        Q     Aw, come on.   (Chuckles.)

         GEN. PETRAEUS: You know, the line about -- I've tried to spend the
last 33 years going around minefields instead of through them.

         But I actually took -- before my confirmation hearings back in January,
I took the counterinsurgency manual in fact and delivered a copy to every member
of the Senate Armed Services Committee. And in fact, you saw, I think, Senator
Kennedy had a copy of it yesterday. And we stand by it. For what it's worth, I
think it has been generally validated by what we have seen.

         I would -- as I explained yesterday, by the way, the concept of
counterinsurgency sort of in modern times is really more than counterinsurgency.
What it is, is what you might normally in the past have called counterterrorist
operations, very targeted raids, based on precise, actionable intelligence. It
is what you might have called traditional counterinsurgency, real operations
against insurgents. It may be a form of peace enforcement in certain areas; in
some other areas, peacekeeping. You know, again, as we -- for those who are the
aficionados of these definitions, nation-building, capacity-building and on and
on. All of those are encompassed by the activities that we are -- our soldiers
and our partners from the embassy and all the different interagency elements
that are over there are conducting.

        And I did recommend, when I handed out that manual, the reading, I think
it was, of pages 119 to 127, I believe is what it was. They sort of capture the




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essence of what it is that our great troopers over there are trying to do in
partnership with the civilians.

         It is exceedingly hard. In the manual, it says somewhere that this is
sort of the graduate form of warfare, and there's nothing easy about it. But we
do think that yes, we have learned a lot of lessons the hard way and we've made
our share of mistakes. And I had, I forget, three of four pages worth of them
that I laid out for the confirmation hearing submission.

         But I think that there have been enormous changes made in the
institutional parts of our own services. The Army and the Marine Corps in
particular, because a lot of this is ground. But also, you know, very heavy
involvement of air, and even our naval components have contributed enormously in
certain areas, including electronic warfare and a variety of other areas.

         But we changed our doctrine, you know, our field manuals. That's --
those are the big ideas, if you will. If you think about an engine of change
for an institution, it consists of big ideas. That's one cog that drives this,
and they're codified in our field manuals. The detainee field manual -- hugely
important -- by the way, it works. With respect to those who contributed to
that, to Capitol Hill, that has worked.

         So you have that. Then you have to of course educate your leaders.
And that is the various schools and colleges, if you will, for the commissioned,
non-commissioned and warrant officer leaders of our Army, of our Marine Corps,
of the other services. And we changed all that. In fact, I was privileged to
be in charge of some of that in my previous job.

         Then you have to get the preparation, the training of that. So the
leaders now, with their soldiers, have to train in a different way. And we
completely revamped, for example, the National Training Center out in Fort
Irwin, California. It used to be the clash of the titans, big tank armies
colliding out there in the desert. Now it is continuous, complex, challenging
counterinsurgency operations, with hundreds of native Iraqi speakers out there
playing different roles, with anywhere -- as many as up to 14 (hundred), 1,500
soldiers who will strap on simulated suicide vests, drive suicide bomb vehicles,
plant improvised explosive devices, all of the rest of that, to try to    get as
realistic a situation -- and our soldiers, again, with villages all over the
desert floor.

         And for the Afghanistan-bound soldiers, we go up into the mountains out
there. We've made similar changes, as much as we can in Central Louisiana,
given the terrain differences, and in the training center in Germany.

         And then you have to collect lessons learned. And they have to
continually help you define your doctrine, your education, your training. And
it's all now enabled by communications technology, knowledge applications that
we've never had before as well. So you can literally virtually look over the
shoulder of those downrange on a secure Internet. That has helped us, I think,
to get to a point where our leaders -- also building on the experience that many
of us have had in Iraqi or Afghanistan.

        Our leaders, I believe, get it about this and our troopers get it about
this kind of very complex endeavor more than we have in the past.

        Right here.




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         Q    Yes. Charlie Sennet from the Boston Globe. Counterinsurgency --
effective counterinsurgency also has to occur within a political context that
will accept it, and quite often the slower clock of counterinsurgency runs up
against the quickening clock of politics. I'm wondering if you could talk,
General Petraeus and Ambassador Crocker, about coming back from Iraq and
confronting that politics here at home in the United States.

         We've gone through these two grueling days of hearing. There's the
sense that the emotions of the politics around Iraq are heightening, and some of
it was very personally to you, General Petraeus. I wonder if you can comment on
the MoveOn.org ad. And in a more general sense, what do you take away from your
experience here in the two days before Congress? Do you sense patience running
out? Do you see that political clock ticking in a way that's going to affect
your ability to carry it out, to carry out the goals of the mission in Iraq?

         GEN. PETRAEUS: Let me just briefly say that I was sent a poem, by
Rudyard Kipling -- actually the morning that the ad came out -- from my
hometown, an old friend. And it's the poem "If." And I have it here. I won't
read it to you -- (laughter) -- much as I'd like to. But it might be worth
looking at, because I took some strength, I think, from that.

         Needless to say -- I mean, to state the obvious -- I disagree with the
message of those who are exercising the 1st Amendment right that generations of
soldiers have sought to preserve for Americans. Some of it was just flat
completely wrong, and the rest is at least more than arguable.

        But with that, I'd be happy to hand off to Ambassador Crocker.

         AMB. CROCKER: (Laughs.) Well, listening to the questions in the
course of the last two days, clearly there are deep divisions. That's hardly a
secret. There's a lot of frustration, and that's, of course, frustration that
we who are serving in Iraq feel every day, and it's a frustration that the
Iraqis share, including the Iraqis in the government. I was -- I really come
away from these two days, though, somewhat encouraged. Amidst the frustration,
there were -- there were a number of thoughtful and probing questions, and I
sensed a willingness to listen to -- listen to our explanations, our
assessments. Obviously, I have no idea where the debate will go from here in
the U.S. I'm -- I've got to get back to my day job -- and I'm actually looking
forward to it -- (laughter) -- and will have my hands full with that.

         But I feel pleased and privileged that I did have the opportunity, as
did General Petraeus, to lay out our unvarnished views on what Iraqi reality is
now and where it looks to us like it's going. And I certainly felt I had a fair
hearing.

        Q     General Petraeus, over here.

        GEN. PETRAEUS:   Right there.

             Q     General, Mr. Ambassador, you've talked a lot about how your
plan needs more time for the Iraqis to reconcile, and I'd like to know what is
the criteria for determining when that time runs out if they do not make any
serious moves towards reconciliation.

         AMB. CROCKER: Well, the way I framed it in my assessment that I
delivered over the past few days is that as I look at the trends in political,
economic and diplomatic developments, it's my judgment that the trajectory is




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moving upwards, but the slope is not very great. And as I'm sure you heard
repeatedly, I cited the reasons for that assessment. What we're seeing at
ground level, what we're seeing from the top, particularly the effort over the
summer by the leaders to come to terms on some key issues with some success, and
then the linkages between them, I think that as long as that process is
continuing, as long as the slope is up, even if the gradient is not step, then
Iraq is moving in the right direction. And we need to demonstrate some, you
know, strategic patience, resolve and commitment, because this will be a long
process. There are no shortcuts. I said over the last couple of days. I said
it again this morning. There's just no switch to flip that's !
 going to automatically move Iraq overnight into a situation of security and
stability. It will be a long, hard grind. Right now I think that grind is
making progress.

        Q     A question --

        GEN. PETRAEUS:    Right there.

        Q     Let's say that --

         GEN. PETRAEUS:   I'm sorry.   It was the one next to you.   But we'll come
to you next. Sorry.

         Q     Colonel Dattar (sp), Foreign Policy Association, former aide to
the president of India. General, I congratulate you on your very, very
successful accomplishment of the very difficult mission in Iraq. But what is
the military or political answer to suicide bombing? Does it require,
necessitate a change in the military doctrine?

             GEN. PETRAEUS: Well, what it requires is intelligence above all
else, gathering as much intelligence as we can to take down every aspect of the
network. And if you work your way back from point of detonation, you literally
harden markets so you make it difficult for suicide bombers to get in there.
You may recall that just before the start of the Baghdad Security Plan, there
were some horrific suicide bombings in the two largest markets in Baghdad, the
Shorja market and the so-called new Baghdad market, and in fact those were
subsequently hardened. Literally, vehicles are not allowed in there during the
day, and these are enormous markets, with tens of thousands of people in them,
and they have completely revived and are very, very vibrant.

         Now, the same in the former book market, Mutanabi Street, and so forth
-- so you work your way back, and then you have to get to those who conduct the
reconnaissance for these, because -- and there's a very clear pattern. And we
are trying constantly to get inside the networks. We know who the South Karkh
VBIED -- vehicle-bomb (sic/vehicle-borne) improvised explosive device -- network
cell leaders are, and we took them down, in fact, about three weeks ago. And it
was the result of an operation that employed conventional; foreign special
forces, not Iraqi or U.S.; interagency assets; and some very specialized
intelligence capabilities that we have just been provided for our conventional
forces as well.

         And it's about getting the final five meters, if you will. It's not
just the final hundred meters or kilometer. You know, it's all well and good to
say there's a bad guy in this particular muhalla in Baghdad, but that muhalla
may have 10,000 people in there or 5,000 or even just hundreds; it's still not
sufficiently precise.




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         You then keep going back in that network, if you will. You have to
take down the people that are mixing up -- they're more and more now using HME,
homemade explosives, who are constructing the car bombs, and they're getting
much more simplistic of late because of the pressure on their networks,
particularly in Baghdad and in the areas around Baghdad. And I showed you, you
know, some of the slides that show overall civilian casualties in Baghdad coming
down, in addition to the ethnosectarian violence, and -- but not as much outside
Baghdad, because they have continued to go after, in some cases, just literally
defenseless villages of poor Yazidis, Turkmen and so forth.

             By the way, the data, you know, the methodology, again, is quite
rigorous. I just showed you the definition for just one element of that, and
it's been consistent. We've actually looked at other data as well. We even
have unconfirmed data. They're all -- the trends are the same. So I mean,
that's -- what you're looking for is trends. And then you're trying to act and
to reinforce and to help the trends continue in the right direction.

         You keep working your way back in that network to the leaders, to the
financiers. And then when you get into the suicide bombers that are coming from
outside Iraq, in this case, most of them through Syria, you're working your way
literally all the way into, you know, what is the intelligence telling us about
what's going on over there? How can we bring various assets to bear? How can we
operate in all different ways, even diplomatically, going to the source
countries, to Syria certainly?

         So that -- you're trying to attack this in as many different ways as
you possibly can, but it still is an exceedingly difficult task. And I mean,
your own country has been afflicted with this. And as you know, you can have
complete control, and all it takes is one person with a suicide vest in a
crowded area to cause horrific damage.

         There will continue -- I mean, there's just no question. We know. We
can hear or listen to the intelligence, if you will, that -- what our sources
are telling us is that they are trying to do more of this.

         We believe that we actually pre-empted, interdicted a great number of
car bombs and suicide attacks that were planned for the past several weeks. I
mean, there's been no secret that the ambassador and I were coming back. And
there was also no secret that they were going to try to create horrific attacks,
did several weeks ago, but have not in the last couple of weeks really had a
truly horrific one. So it takes a very holistic approach, and that's the best
way to describe that. And again you have -- sadly your country has more than a
bit of experience with that as well.

             Now right there.

         Q     But your projection of drawing down approximately 30,000 troops
by next March is exactly the same projection the military personnel manifest
dictates you --

         GEN. PETRAEUS:   That's not true.   I would take issue with that.

         Q    Secondly --

         GEN. PETRAEUS:   I could have -- let me just answer that first one
first.




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        Q     (Off mike) --

         GEN. PETRAEUS: I could -- let me answer that, please.   If I could just
answer that first question.

         I could very easily have requested -- just for starters, in September
we need a replacement for the Marine Expeditionary Unit. We can request
replacements for the other forces. Again, I could have put demands on the
services had we felt the absolute imperative to do that, but I did very much
have in mind the strain and stress that has been placed on our ground forces, in
particular, as one of the considerations that was factored into the
calculations. So -- and in fact, actually, we are coming out quicker than we
had to. Again, we could have run this -- if you ran every brigade in Iraq all
the way to the 15-month mark, we would not have had to take one out without
replacement until about April because that's when the first of the surge
brigades would hit that mark.

         Now, for a variety of reasons, including the battlefield geometry of
looking at where do we want to be in mid-July, we have decided that we want to
take that first one out in mid-December without replacement. That's actually
not a surge brigade. That is another brigade that was in the mix, but that's
where we believe we can best remove a brigade and compensate, mitigate any risk
from that because of the situation in that area with respect to the enemy, the
local, political and security force situation.

         So again, yes, the surge forces were scheduled to go home between April
and mid-July. That is absolutely right. But you know, again, I could have
requested more surge forces, and we certainly could have run it much longer,
again, than as I said I've requested. There is another MEU coming into the
area. I mean, we could have requested that, as well. So I think it's a little
bit -- I (don't want ?) to say unfair, but it's just inaccurate to say that all
we're doing is just letting this thing run out.

        But go ahead, please.

         Q     What conditions -- and maybe, Ambassador, you can also comment on
-- do you see to gauge that decision on those numbers, if it's not coincidental
or, as you describe, part of your natural process? What conditions dictate that
you gauge that level of troop withdrawal? And if possible, why aren't those
conditions conducive to drawing down what the Congress and most of the American
people want to see?

         AMB. CROCKER: Well, General Petraeus has referred to a battlefield
geometry in making these determinations. From my perspective, it actually
becomes a political-military trigonometry. Again, the surge was ordered by the
president because of the really horrific deterioration of security in the course
of 2006, to take on the mission of population security to bring down violence to
allow a political process to move forward, because as you know, what we had by
the end of 2006 was a country that was dangerously close to unraveling
completely.

         It's therefore extremely important that we approach redeployments with
great care and ensure that the -- that conditions are right for this. We do not
want to see the gains that have been achieved with so much effort and blood on
the part of coalition forces and Iraqis -- we don't want to see those dissipated
because we moved too quick. So, you know, we're going to be looking at a whole
range of conditions in deciding how we move ahead.




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         GEN. PETRAEUS: If I could build on that just a little bit. In the
long version of the statement that I made to the House committees, I actually
quoted from an assessment that was made in December 2006 by Ambassador Khalilzad
and General Casey.

        They also had a joint campaign plan, and they did what is called the
periodic campaign plan review, something we do every several months. In fact, we
just did one before coming out here. And that was quite stark. I've gone back
to reread that a couple of times, but you know, the word "failing" is in that
assessment, and that is a pretty grim assessment in every line of operations.
And it then stated that what was necessary to reverse that situation was to get
the sectarian violence under control, particularly in Baghdad, and that to do
that you had to have sufficient reliable forces to retain control of an area
once it had been cleared. And that was the basis for the -- General Odierno,
the Corps commander, at that time had just taken over, put together a concept,
requested additional forces, went up through General Casey, and that was the
cause, if you will, the catalyst for the surge in forces.

         And again, I think it's very, very important to keep coming back to
that situation. That is not a situation, needless to say, that we want to
repeat.

        And I think we better come over to the last question.

        Right here.    I'm sorry.

        MR. ZREMSKI:   (Off mike.)

        GEN. PETRAEUS:   Sorry.

         MR. ZREMSKI: Before we do that, I just want to thank a few people. I
wanted to thank Bill McCarren, the general manager of the Press Club, and our
staff. I want to thank the general and the ambassador for joining us today. I
especially want to thank John Donnelly from CQ, our vice president at the Press
Club, for making this event happen.

         And also, please, if you could all stay in your seats while the general
and the ambassador leave, they have other pressing engagements, and they're
going to have to leave immediately after our event here.

         So with that, let me ask a question that kind of alludes to something
you mentioned yesterday and the day before, General Petraeus, and ask you to be
just a little bit more specific.

         Presumably, your plan stands -- in terms of the troop deployments, what
would you recommend regarding our military effort in   Iraq if next summer there
is no political progress and there's little change in the security situation?

             GEN. PETRAEUS: John, I'm afraid I'm not going to get any more
specific this morning than I did yesterday, when I think as far as I went was to
say that it would be very, very hard indeed to recommend continuing in the
current form. There are -- as the ambassador mentioned, there are so many
factors in assessing the situation at that time, and many, many more than just
where you are in a specific set of areas. You sort of have to ask, well, okay,
but has there been progress, has there been this, has there been that; what
about this other area, what are we doing here?




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         I mean, as we have mentioned, one of the reasons that we have a degree
of hope is that, although there is not an oil revenue sharing law agreed, there
is oil revenue sharing ongoing. And provinces in fact actually have budgets,
which is something, I believe, unique to Iraq in the last two years of its
existence. And they're spending them, this year, which is even better. Last
year, they really did not spend them very effectively. Nor did the ministry
spend their capital budget accounts effectively. And again, this year they are
doing a much better job. That's relative, still, and last year was pretty
abysmal, this year is better; still certainly big room for improvement.

         There is not a general amnesty law, correct, but there's this --
whatever you want to call it -- conditional immunity or what have you that is
essentially, tacitly, taking place when the prime minister's National
Reconciliation Committee approves the Ministry of Interior hiring again 1,700
men from Abu Ghraib. And again, that's not the only one, but that's a pretty
big one, given its proximity to some Sunni-Shi'a fault lines right around the
capital, given the history of that particular area and given the fact that those
individuals -- we know some of them, again, were part of the Jaish al-Islami.

        There is not a de-Ba'athification reform bill, although I think that's
gone now to the Council of Representatives as of yesterday, I believe. But there
is, again, a reaching out to former military who were dismissed. I think there
are over 50,000 now that have responded, and 5,000-plus have actually been hired
by the various security services; another -- I think it's 7,000 were offered
other government employment, and the rest will be allowed to receive retirement
benefits.

         So it's that type of activity that is ongoing, and that is what does
give us, again, some degree of hope, that if you have the willingness to take
actions like that, then perhaps there is a willingness to truly codify that in
the form of legislation.

         But with that, let me just thank you all very much, and we'll go on.
Thank you.

          Q     Thank you.   (Applause.)

END.




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Military




   PRESS CONFERENCE: Al-Qaeda in Iraq
   Update: Rear Adm. Smith, Jan. 20, 2008
   Multi-National Force-Iraq

   Sunday, 20 January 2008

   Rear Adm. Gregory Smith, Multi-National Force -Iraq’s Communication
   Division, provides a detailed brief on Coalition Force efforts against al-
   Qaeda in Iraq over the past year.

   Briefing Slides [PDF]




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RDML SMITH: Good afternoon and A’Salaam A’layQoom.

We have provided several briefings over the past year focused on
operations against al-Qaeda Iraq, and while considerable progress has
been made we still have much work to do. Operation Phantom Phoenix, an
Iraq-wide operation targeting al-Qaeda, has been underway for two weeks
and the effects of these combined coalition and Iraqi Security Force
operations has been substantial.

Since January 1, Operation Phantom Phoenix has conducted 18 battalion-
level operations, detained 1023 terrorists and killed 121 terrorists. Among
those captured or killed were 92 high-value targets. Coalition and Iraqi
forces have also found and cleared 351 caches, 410 IEDs, 3 VBIED and
IED factories, and 4 tunnel complexes.




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I thought it would be helpful to spend some time today discussing what still
remains as Iraq’s most lethal enemy and its greatest threat to peace … al-
Qaeda Iraq.

What is al-Qaeda Iraq? Who are its leaders and who makes up their rank
and file? How are they organized, funded and how do they operate? What
are they hoping to achieve in Iraq? And finally, what effect have they had on
the people living here? These are questions I hope to be able to provide
some perspective on by summarizing the fight against al-Qaeda Iraq over
the past year.

SHOW SLIDE

Al-Qaeda came to Iraq after the fall of Saddam for what it claimed was the
purging of the infidels, namely the forces of the coalition that freed the Iraqi
people from decades of tyranny. Al-Qaeda senior leadership, who by that
time had been driven into Northwestern Pakistan, saw Iraq as its caliphate,
its center of struggle and dominance for establishing its Taliban-like
ideology in the heart of the Arab world.

Al-Qaeda Iraq is foreign led, with its current leader an Egyptian named Abu
Ayyub al-Masri, having replaced the previous leader Abu Musab al-
Zarqawi, a Jordanian who was killed in June 2006. The vast majority of the
senior leadership are all foreigners. The most senior Iraqi, Khalid al-
Mashadani, was captured in July 2007 and provided considerable insight
into how al-Qaeda Iraq was organized.

Of course the vast majority of the fighters are Iraqis, many whom were loyal
to Saddam and who fought not because they believed in the twisted
ideology of al-Qaeda, but to avenge the loss of their former leader. Some of
course had little choice as the insurgency destroyed the economy and pride
drove their allegiance to al-Qaeda in order to put food on their family’s
tables.

Al-Qaeda Iraq used the most barbaric of tactics, which I will discuss in more detail shortly, to intimidate Shi’a, Sunni, Kurds and
Christians. They executed young and old, men and women. They beheaded fathers in front of their children. They extorted,
kidnapped and murdered for little or no reason. To even the most casual observer, it appeared that all of Iraq was the enemy of
al-Qaeda, no Iraqi was spared from their wrath.

A major weapon of al-Qaeda has been the suicide bomber, ninety percent who were foreigners. The suicide bomber became
the spark that ignited ethno-sectarian violence and drew all of Iraq into a near civil war. So let me now turn to how the picture
looked at the start of 2007.

SHOW SLIDE

This map represents al-Qaeda Iraq’s presence in December of 2006. Dark red represents what we assessed at that time as
their operating areas … areas where they had some level of freedom of movement and sanctuary to conduct their operations
from … and the lighter red represents areas of population influence. The image on the bottom right is a hand drawn map
captured early last year, outlining al-Qaeda’s strategy to overtake Baghdad by controlling first the outer belts then Baghdad
itself.

SHOW SLIDE


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This map was captured from al-Qaeda Iraq and represents their operations and areas of control as they perceived themselves
in early March 2006. The red represents areas they felt were under their full or partial control, with the south of Iraq as the
obvious exception, with those living in the south labeled as ‘rejectionists.’ The differences in the two maps is a striking example
of al-Qaeda’s use of propaganda to distort reality, in this case lying to their own fighters.

SHOW SLIDE

There are countless examples of the barbaric tactics, fueled by their extreme Taliban-like ideology to justify the indiscriminate
use of violence against mostly innocent Iraqi civilians, many of whom were unknowingly labeled ‘apostates’ for their refusal to
take up arms against Coalition and Iraqi forces or aid the terrorists. Two such examples are the Tall Afar attack last March
which killed and injured 223 Iraqis, and an attack in August of the Yazidi people who were targeted by multiple car bombs that
killed and injured 796 civilians.

SHOW SLIDE

These bombings were just two of the more than 4,500 attacks by al-Qaeda Iraq in 2007 that targeted civilians. Al-Qaeda
murdered 3,870 Iraqis, injuring nearly 18,000 additional innocent civilians. The violence peaked in March and April and as the
surge of operations pressed through the summer, the number of high profile explosions slowly began to decrease, however the
numbers still remain alarmingly high.

SHOW SLIDE

As Coalition and Iraqi forces have cleared al-Qaeda sanctuaries, numerous torture houses and mass graves were found.
These images were taken from an al Qaeda torture manual, and show the brutal methods they used to torture Iraqis for
something as simple as smoking cigarettes or being related to someone in the Iraqi Security Forces. They tortured and
murdered men, women, and children, and through the use of terror and intimidation controlled the populations where they were
present.

Before I highlight some of the major operations and progress to rid Iraq of al-Qaeda, I think it’s important to note the role played
by the Iraqi security forces and the Iraqi people.

SHOW SLIDE

Iraqi Security Forces continue to grow, to develop their capabilities, and to shoulder more of the burden of providing security for
their country. In 2007, the Iraqi Security Forces grew by more than 106,000 personnel. a surge over three times that of the
coalition. The total force now stands at over 567,000. The Ministry’s of Defense and Interior invested nearly $3 billion dollars in
foreign military sales in 2007 to purchase equipment and supplies.

By years end, some 140 battalions of Iraqi Army, National Police, & Special Operations units were in the fight … about 122 of
those battalions capable of taking the lead in operations. All Iraqi battalions are heavily involved in combat operations and have
been increasingly the first line of defense, with losses 2-3 times that of the Coalition.

SHOW SLIDE

Beyond the increased capacity and capability of the Iraqi Security Forces to take on al-Qaeda, perhaps even more important
was the formation of Awakening groups across Iraq.

What began in Anbar Province in early 2007 as the original “Awakening” by Sunni tribes rising up against al-Qaeda Iraq, they
worked with and increase the capacity of Iraqi and Coalition Security Forces to improve security in areas threatened by al-
Qaeda Iraq and other militant groups.

Today, more than 130 different Concerned Local Citizen groups are providing neighborhood security throughout Iraq, with over
80,000 active members … 80% of whom are Sunni; 20% Shi’a.

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Under the control of local Iraqi Security or Coalition Forces, these brave Iraqis have turned the tide against al-Qaeda and are
no longer afraid to fight against their ideology and violence. We have all witnessed the courageous acts of the concerned local
citizens and while al-Qaeda has made them their enemy, they continue to stand up for their neighborhoods and are making a
tremendous difference in restoring peace and normalcy.

SHOW SLIDE

Progress depends on squeezing al-Qaeda Iraq from every direction and with every possible means.

Much more than just kinetics, it’s a multi-dimensional approach, using all elements of combat power, integrated with “soft”
power. Progress made in security must be followed quickly by improved economic security, with employment being foremost.
The government of Iraq is acutely aware of this challenge and has worked side by side with the provincial leadership to
address many of their needs and concerns. All of this will need to be worked in order to continue squeezing al-Qaeda out of
their safe havens and operating bases and into the open where they can be killed or captured.

With that as a backdrop, let me turn to discussing a few of the high-profile terrorists that were either killed or captured during
operations by coalition and Iraqi security forces, supported by the Iraqi people.

SHOW SLIDE

Haythem Sabah Shaker Mahmud al-Badri was the Emir of Greater Samarra and was the mastermind behind the destruction of
the Samarra Mosque in February 2006.

• Operated Samarra terrorist network responsible for improvised explosive devices and vehicle bomb attacks

• Orchestrated the Kirkuk courthouse bombing June 23, 2006 (20 Killed, 100+ injured)

• Masterminded a vehicle bomb attack against an Iraqi Army checkpoint in Samarra on August 28, 2006 (29 Iraqi Security
Force Killed/66 injured; 51 Iraqi civilians injured)

• He was killed in a targeted raid last August

Khalid al Mashadani was the senior Iraqi in the al-Qaeda Iraq network.

• Principal intermediary between al- Qaeda senior leaders and Abu Ayyub al-Masri

• Created fictional al-Qaeda Iraq leader -- Abu Umar al Baghdadi to mask foreign leadership of AQI

• Prior to capture, issued order for all al-Qaeda Iraq Emirs (city and provincial) to start wearing suicide belts

• Confirmed al-Qaeda Iraq lost al-Anbar safe haven due to Coalition Force operations and tribal engagement

• He was captured last July and sentenced to death by an Iraqi court in December

SHOW SLIDE

Muharib Abdul Latif al Juburi was the minister of information and primary spokesperson for al-Qaeda Iraq.

• Involved in kidnap and murder

• Participated in the kidnapping of journalist Jill Carroll

• He was killed last May


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Abu Maysara was a senior advisor to al-Masri and a Syrian national.

• Responsible for interpreting Koran to legitimize the killing of innocent Iraqi citizens to include women and children

• Provided logistical support to operations and key leader in their media network

• Escaped from the Badush Prison in March 2007, and was killed last November

SHOW SLIDE

Abu Usama al-Tunisi was the Emir of the Southern Baghdad Belts and a Tunisian national.

• Foreign terrorist facilitator with strong connections in Levant and Syria

• Responsible for multiple vehicle bomb attacks in the Baghdad area

• Participated in the Baghdad Sheraton Hotel Bombing

• Key communications link to foreign facilitators and senior al-Qaeda leadership

• He was killed in a targeted operation last September

Muthanna was the Emir of the Iraq/Syria border

• Foreign terrorist facilitator

• Responsible for the movement of personnel from Syrian border into Iraq

• Direct contact with Abu Ayyub al-Masri

• Captured material provides insight into the foreign terrorist network spread across the Middle East, North Africa, and Europe

• He was killed last September

I want to spend a few moments discussing the material we found at the site of his Muthanna’s death.

SHOW SLIDE

I mentioned earlier that the majority of al-Qaeda’s leadership and many of its fighters are foreign born. During operations
against Muthanna, Coalition Forces captured over five terabytes of data detailing more than 750 foreign terrorists, from 22
countries that entered Iraq from August 2006 to August 2007. From this we learned that the majority of foreign terrorists enter
Iraq to carry out suicide attacks, signing a pledge that formally commits them to that duty. Over 90% of suicide bombers are
foreign terrorists, and these high profile attacks account for a large majority of the Iraqi losses inflicted by al-Qaeda.

SHOW SLIDE

Abu Yaqub al Masri was a member of the original leadership of al-Qaeda Iraq and an Egyptian national.

• Previously a military and spiritual leader in al-Anbar, then emir in Taji

• Responsible for a series of attacks and car bombs in Iraq, including bombings that killed 200 people in Baghdad

• Provided guidance and direction for attack planning, coordination and execution


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• Direct access to senior al-Qaeda leadership

• He was killed last August

Wamid was the Emir of Baghdad

• Iraqi national with extensive al-Qaeda Iraq history dating back to 2003

• Operated in the Baghdad area and had been reportedly in charge of both a security cell and a separate intelligence cell

• Identified by multiple sources as a direct link to Abu Ayyoub al-Masri and could have served as his gatekeeper

• He was detained during a raid last May

SHOW SLIDE

Umar Wahdallah Dod al-Zangana was the Baghdad Military Emir

• Ran al-Qaeda Iraq network responsible for hundreds of civilian murders within Baghdad

• Planned and directed vehicle bomb, suicide bombs, improvised explosive devices and sniper operations

• Used foreign terrorists in vehicle bomb attacks throughout the Baghdad area

• Planned and directed Baghdad chlorine attacks

• Personally beheaded two Russian Diplomats

• Had direct contact with Abu Ayyub al-Masri

• He was sentenced in December to death by an Iraqi court.

And, Muhammad Sulayman Fizza al-Zobai, the regional Emir of Kharma, Abu Ghuraib, Zaidon, and Radwaniyah

• Led an al-Qaeda Iraq foreign terrorist facilitation network

• Provided foreigners to act as suicide vehicle bomb drivers

• Involved in Abu Ghuraib prison attack on April 2, 2005

• Involved in complex attack on Kharma police station, December 24, 2005

• Organized intimidation squads against Iraqi civilian

SHOW SLIDE

Overall, operations against al-Qaeda Iraq in 2007 resulted in the capture of 8,800 terrorists while an additional 2,400 were
killed. Of those, we captured or killed 52 Emirs, 32 Improvised Explosive Device leaders, 24 cell leaders, and 92 facilitators.

SHOW SLIDE

The combined efforts of the Coalition and the Iraqis led to a much different outlook for al-Qaeda Iraq at the conclusion of 2007,
as shown in this map. Their areas of control and influence were diminished significantly. We have reduced their vehicle born
improvised explosive device networks … disrupted the flow of foreign terrorists, weapons and logistical materials … kept

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constant pressure on al-Qaeda, forcing their leadership to be on the run. Al-Qaeda has alienated the very people it needed for
support … citizens have “awakened” to defend their neighborhoods and their way of life … and finally, the Iraqi security forces
have surged and are on the front lines of the fight.

As Operation Phantom Phoenix continues, we know that this remains a tough fight and one that has had and will continue to
have dark and difficult days and weeks. The way ahead will not be easy. Inevitably, there will be unforeseen challenges that will
emerge. Nevertheless, we remain committed to pursuing al-Qaeda in order to ensure security and stability for all Iraq. And with
that, I’d be happy to take your questions. We’ll take it on any other subject you’d like as well. Please go ahead.

REP1: I am Bruno Roper, ABC. I’m just wondering, of all the people you’ve talked about who were detained and killed, who do
you see as the most significant of those as characters?

RDML SMITH: Well, if you consider that Muthanna and as a foreign terrorist facilitator, as an individual, the network they ran,
very significant. But I guess as significant is the material that was found that really gave the insights into that network and to
understand how foreign fighters were employed inside Iraq. But as importantly, how they were brought into Iraq. What was the
network that fed that? And that gave us great insight. The details of those individual 750 Iraq… foreigners that had come in
gave us a great deal of information about routes, origins, financing, and so forth, and it has made a big difference in our ability
to bring down—by about 50 percent—the number of foreign fighters currently coming into the country. Yes, sir.

REP2: Charles Levins from USA Today. Can you talk about how you used those records you found and specifically what you
learned about the routes and the countries where they’re coming from to try to not just fight them here in Iraq but try to stop the
flow from, you know, whether it is North Africa or Saudi? And how, you know what I’m saying, how that was applied to…?

RDML SMITH: This became, really, a partnership not only between bilateral relations with countries in the region and around
the world but also, from a law enforcement point of view, there has been an opportunity to exploit the knowledge there of who
the handlers were in key countries, to work with the governments in those regions to make them understand—if they didn’t
already know—the level of throughput that was coming from those countries of terrorists, and then working very closely with
some of the more significant players in the region, like Syria and Saudi Arabia, has made a tremendous difference, again, at
reducing the flow of foreign fighters. So it really became an ability to work from an interagency point of view as well as
bilaterally with nations to ensure that they understood how they could support reducing the flow of foreign fighters and reduce
the violence here in Iraq and elsewhere.

REP2: You said you are working very closely with Syria now? I mean will you qualify it as very closely?

RDML SMITH: Yeah. The connections with Syria obviously are not directly from Multi-National Force – Iraq. But from an
interagency point of view, obviously there’s relationships there that can work through the diplomatic channels and law
enforcement channels that have paid some dividends. Yes, sir.

REP3: Asks question in Arabic.

INT: Ahmed Jessem from al Arabiya Newspaper. You mentioned…you said that the majority of the al-Qaeda leaders are from
the…are foreigners. So what is the number that have been foreigners that have been killed and…through your intelligence?
And how many do you think are still there?

RDML SMITH: Well, it’s a good question. I don’t have the specific number on the number of foreigners that have been killed
inside Iraq. A significant number of the suicide bombers have been successful in their operations, and then clearly they died as
a result of the conduct of those. And they were assessed to be about 90 percent to be foreigner. We have a small population of
foreigners in detention. And again, a large part of our operations are targeting al-Qaeda’s rank and file as well. So I don’t have
a specific number for you. But we assess that the individuals that are coming into the country— around 50 percent of those—
50 to 60 percent—end up being suicide bombers and the other 40 to 50 percent conduct other operations in support of al-
Qaeda here. And our operations have been very successful. Sir.




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REP4: Thanks. Ned Parker with the L.A. Times. Just wondering, what are Syria and Saudi Arabia doing specifically that’s
different now from, let’s say in the summer period, to stop this flow?

RDML SMITH: Again, specifically, the countries have taken steps, I think, in a couple of key areas. One, I think, is a greater
understanding on their part of the impact as a regional partner in emboldening al-Qaeda here in Iraq and the impact it could
have on their country long-term. As a regional partner in providing secure border, it prevents the flow back and forth of
terrorism. So, from a long-term point of view, Syria and Saudi’s interests are for their own security of their own borders and
their own security within their countries. But specifically, they worked to identify profiles of individuals. In the case of Saudi
Arabia, they’ve reduced…made it more difficult for single males, for instance, to obtain visas without more questioning and
determining what their real intents are as they board an airplane for Syria as an example. Syria has taken steps on the border;
they’ve increased the number of border patrols and checkpoints. And so, various steps have been taken that have been
constructive and very helpful to reduce the foreign fighter flow. But it’s still a concern as the numbers coming across the
borders continue, but at reduced levels.

REP5: Gina Chung, Wall Street Journal. Can you also comment on the recent violence in the south and the security prospects
there given the coalition doesn’t have a big force there? And I also had another question regarding al-Qaeda being squeezed
here in Iraq. Do you—in terms of intelligence you’ve gotten from other parts of the world—have a sense that some of those
people then are going to other parts of the world in Afghanistan or other places given sort of the pressure that they’re facing
here?

RDML SMITH: I think the last couple of days you’ve witnessed, certainly, a very heightened level of security in the Basra and
Nasiriyah area that has been dealt with very professionally by, in the case of Basra, Major General Jalil and Major General
Mohan, through both the Army and police force of Basra, dealt with that situation very professionally. And although there was
results…there was loss of life on both the police and Army side, as well as innocent civilians, they now have that area under
control and have done a tremendous job of quelling that violence. I think what you’re seeing though is an increased capacity in
the case…part of the Iraqi security forces to handle security in their provinces. Basra, as you know, was turned over to Iraqi
control in December. A long transition took place between…leading up to that point with British forces having been supporting
the Basra Province for the last several years. They remain in a strategic over watch. We were in very close contact with the
Iraqi security forces throughout that period of time. They had the situation well under hand and dealt with it very professionally.
On the second issue, yes. When you consider that al-Qaeda itself, the senior leadership of al-Qaeda, has a much larger
footprint of activity across the world. Whether or not foreign fighters that are…would be destined for Iraq are going elsewhere is
hard to know. But clearly the…dealing with the foreign fighter population here inside Iraq has been very critical to reducing al-
Qaeda’s threats to Iraqis and that’s our main mission here. Sir.

REP6: Asks question in Arabic.

INT: Question. There has been certain operations in Basra and Nasiriyah and also there has been an [unintelligible] operation
in Najaf. Do you think the Iraqi forces will handle the situation in Najaf if something similar happened, or will the coalition forces
give support as well?

RDML SMITH: Again, I think it’s purely up to the Iraqi security forces that are in the area to make those determinations of
whether or not they need coalition support. And to date, they’ve addressed the concerns locally. A training force is present in
those areas. And they’ve had an opportunity over the last several years to build up their capability; not only in the way they are
trained and equipped, but also in their command and control. And much of their leadership now has had a seasoned amount of
activity to be able to deal with crises like that. So I suspect in Najaf, as an example, if there is a situation in Najaf that the local
leadership there will make a decision whether or not coalition support is needed. But if it is needed, we’ll be there to support it.
In the back, please.

REP7: [Unintelligible], Japanese Daily Newspaper. During your war against al-Qaeda in Iraq from…sorry. During your war with
the…against al-Qaeda in Iraq, do you get any Iraqi help from other Sunni militias like [unintelligible] or the Sahwa, the “waking
up”? Have you get any…help?



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RDML SMITH: Yes. The tremendous amount of support comes from the Awakening Groups. And what, again, what was
witnessed in Anbar and the ability of the Iraqi people to make a decision to turn against al-Qaeda has been the single biggest
component to the changed environment here inside Iraq. Al-Qaeda no longer has free sanctuary to operate thinking that the
local people will take care of them—won’t, in fact, turn them over to Iraqi security forces. And what we’re seeing in Diyala is an
example of that; whereas forces operate in the area for a period of time, people begin to build up confidence that the security
forces will protect them, and they begin to provide intelligence and tips to lead you to the remaining elements of al-Qaeda. So,
yes; the Iraqi people, through the Awakening Groups and others, have made a tremendous difference. Do you have a follow
up?

REP7: Yes. But we hear from the people that many of al-Qaeda fighters became against al-Qaeda now. They became with
Sahwa or the “waking up,” what you call them. They are fighting al-Qaeda. What do you think about that? Most of them are
killers.

RDML SMITH: Well, again, as my remarks pointed out, much of the rank and file of al-Qaeda, in the early days especially, was
Iraqis who really had
no other choice and were deprived of any way to make a living. The economy was destroyed by al-Qaeda’s presence. They
were intimidated. Their families were tortured. And they chose to survive by joining al-Qaeda’s ranks. And once they were
given the opportunity to make a decision to oppose al-Qaeda, they have turned away from that ideology and that hatred and
that violence, and are now working with the coalition and the Government of Iraq to root out those remaining elements of al-
Qaeda. So, that’s a very positive step and we welcome it. Yes, sir.

REP8: Admiral, Phil Ittner from CBS. The other big bug-bear that the U.S. military’s been talking about for years is, of course,
Iran. There’s been a lot of talk about an up tick in attacks being sourced or connected to Iran and I wonder if you could touch
on that?

RDML SMITH: The discussion recently was on the up tick or the increase in the number of explosively-formed penetrators that
we saw in early January, both those we were finding before they exploded and those that did explode. For a period of about
two weeks there was a rate of two to three times the normal…what we had seen sort of leveling out as the normal rate at the
end of 2007. But in that subsequent week, the third week now of January, we’ve seen those numbers come back to normal
levels. So there was an increase; we don’t know why precisely. Whether that was a focused use of the improvised explosive
device, this EFP, during that period of time and whether those were directed by Iran, in this case, if that leads to your question.
But there was an increase clearly of the use of that weapon and now they’ve returned to normal levels. In a broader sense, just
to discuss the issue of Iran’s influence here in Iraq, we continue to see a negative influence by Iran in the training and financing
of Iraq’s activities here. The special groups that we’ve discussed in the past which are trained inside Iran continue to be trained
in Iran as late as last fall, after the pledge made by the Iranian government to the Iraqi government that it would support a more
peaceful transition here in Iraq. So there’s a mixed signal, a mixed set of circumstances associated with Iran’s involvement
here in Iraq. And while we don’t have direct evidence of the use of weapons or of the direction of the use of weapons by Iran,
we clearly see their intent of training and financing continues today. Yes, sir.

REP8: On Iran, what’s the latest on the bilateral talks between Iran and you guys? It seems like in December there was one
that was supposed to be was canceled and we haven’t heard much since. What’s going on there?

RDML SMITH: Well, the U.S. has stated its intent to support sitting down with Iraq, on Iraq’s invitation, with Iran for these
discussions and they have yet to be scheduled. Yes, ma’am.

REP9: Huta[ph] Delhamin[ph] from Al Jazeera English. I was wondering, did you…when all these weapons you found with al-
Qaeda fighters, were any made in Iran? Did you find any EFPs with al-Qaeda?

RDML SMITH: I don’t think that we’re seeing any of the Iranian-made weapons found in areas where we know precisely were
controlled by al-Qaeda. We have no evidence of that. That’s a good question though. But we have, as you know, in 2007
uncovered twice the number of caches we found in all of 2006. I just mentioned the numbers found in Diyala. And so it’s a
good question. But no, we’re not seeing a direct link between al-Qaeda control. Now that said, al-Qaeda clearly can get access


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to weapons through other means besides directly from Iran, for instance, because they’ll sweep up munitions as it goes along
with its operations. But we’re not seeing the evidence of Iran providing weapons to al-Qaeda. Yes, please.

REP10: Hi. I’m Kian Sadick, NBC News. I wanted to ask about the Shi’a groups who have been speaking out on their
frustrations of the situation and various threats about them, you know, joining up and fighting back again. Because various
areas in Iraq which have been called success stories are fully Sunni, whereas the Shi’a and the Christians who used to live in
those areas are still displaced in other areas. And have you had any sort of communications with them? Is there anything being
done about that?

RDML SMITH: I think if I understand your question, we do see a frustration by the Shi’a of the same kind of violence that,
really, al-Qaeda had placed on the Sunni populations—in a different way, in a sense. In the case here, we’re talking about Shi’a
populations that are having to deal with basic gang-like activity, criminal activity, which makes any sort of normal life very
difficult for the average Shi’a family. And what they want—just like the Sunni want—is a way to live a peaceful life; for the
children to go to school and get a decent job and so forth. And I believe you’re seeing individuals…and that’s why we’re seeing
an increased number of these Concerned Local Citizens coming from Shi’a neighborhoods—20 percent now are Shi’a. And
while those are in the neighborhoods just to the south of Baghdad, there are no Concerned Local Citizens in the deep, deep
south of Bagh…of Iraq.

REP10: [unintelligible] Muqtada al-Sadr coming out and saying he’s going to, you know, he’s going to stop…he’s going to start
fighting again. He’s not going to continue the ceasefire, the six-month ceasefire that he had called because he’s, you know,
because his group is getting more frustrated. They are quite a big group and if the Mahdi Army begins to act up again, what
sort of plan did you have to combat such a thing?

RDML SMITH: First of all, I’ve seen those reports but I’m not certain that I’ve got the level of confidence you may have on the
accuracy of that kind of reporting. But I do believe that Muqtada al-Sadr understands as well as anyone the dangers of going
back to a level of violence that really tarnished the Sadr trend movement and began to, again, erode the confidence of the
people as to what they stood for, which was a political, peaceful process for Iraq. And so the pledge of Muqtada al-Sadr to
have a ceasefire—to have his forces stand down from any violent activity—has been a very, very positive influence here in
Iraq. And I believe the Shi’a people understand that, and he understands that. And so we’re hopeful that that long-term
objective of peace and security in Iraq is fulfilled by Sadr and others who can make a big difference in Iraq. I’ll take your
question.

REP11: Asks question in Arabic.

INT: Is there any statistics regarding the flow of the foreign fighters…of the Arab fighters or foreigns from the borders? And
also, do you have statistics of the newly…those who joined al-Qaeda inside Iraq?

RDML SMITH: We had historically…late summer we were seeing as many as 110 foreigners come into Iraq on a monthly
basis, and the vast majority of those came through Syria. We’re now, in late 2007, seeing numbers around 40 to 50 a month.
Again, still a dominant number coming through Syria. So, around a 50 percent reduction in the number of foreign fighters
coming into Iraq.

REP11: Speaks in Arabic.

INT: What are the statistics concerning the Iraqis that work inside al-Qaeda? Do you have any recent statistics of the Iraqis that
work inside al-Qaeda?

RDML SMITH: Really, to quantify the size of al-Qaeda inside Iraq in terms of who, on any given day, is aligning themselves
with al-Qaeda is a very difficult metric to come up with, and so I would hazard trying to give you a number of Iraqis who are
fighting alongside—today—al-Qaeda. Again, we’re seeing a transition over the last year in which individuals who, clearly, once
were, are no longer. And so…and it’s very difficult to quantify that situation. But the positive trend is that more Iraqis are
choosing not to align with al-Qaeda, and that’s a very, very encouraging sign. Sure.


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REP12: I was just wondering if you could actually give us a breakdown on the nationalities in terms of which group is the
largest coming in and, you know, break it down.

RDML SMITH: Okay. I think I’ve got some statistics I’ll be able to…. The largest group has always been coming from Saudi
Arabia, just below 50 percent of the foreign fighters historically have come through Saudi Arabia…from Saudi Arabia. The next
largest group was Libya. Yemen. Syria. Tunisia. And Morocco. There’s some from Central Europe.

REP12: Where in Central Europe?

RDML SMITH: France. I should mention Algeria as well. Egypt, as an example, is…very few come from Egypt. Jordan very
few, two percent.

REP12: How many from France?

RDML SMITH: Very small numbers; just a couple. So the distribution…what we learned through the Muthanna captured
documents was the
role…numbers of foreign fighters coming out of Libya was a number higher than we originally assessed. We also assessed a
higher percentage that had actually come in through Syria than we originally had thought. And the rest of our information that
we historically had developed our understanding on was fairly accurate and reinforced by the Muthanna papers in Sinjar.

REP12: Sir, in Libya and Saudi Arabia, the security forces there have arrested people based on the information the United
States has submitted to the authorities?

RDML SMITH: I don’t know specifically whether individuals that…. Again, the information we had was on historically who had
already come into the country and who had already…and, therefore, had been fighting here during the August, 2006, to
August, 2007, timeframe. We weren’t providing information directly on individuals who now were in their country that could be
dealt with from a law enforcement point of view. But the trends and the numbers was what we shared for them to deal with. Sir.
Front row, please. I guess, back to…

REP13: Asks question in Arabic.

INT: Question from Al-Babalia TV. Do you think that Operation Fardh al-Qanoon in Baghdad…do you think that Operation
Fardh al-Qanoon that has been conducted by the Iraqi armed forces, do you think that it contributed in eliminating al-Qaeda or
reducing al-Qaeda’s effect in Baghdad?

RDML SMITH: Fardh al-Qanoon, which is a joint operation between coalition forces and Iraqi security forces, has been
extremely successful in removing al-Qaeda from Baghdad. It has not completely removed al-Qaeda from every neighborhood
in Baghdad, but it certainly has reduced their influence in Baghdad. More specifically, our operations worked to target al-Qaeda
in the belts around Baghdad which is where al-Qaeda traditionally had built up its vehicle bomb factories, much of its training,
and where the al-Qaeda spent their hours planning to attack areas inside Baghdad. Because we’ve had success in the
Baghdad belts, you’re seeing a reduced influence of al-Qaeda here in Baghdad. That’s made the major impact to the security
here inside the capitol. Sir.

REP14: Can you go over where you think the main safe havens of al-Qaeda are right now? And also how all the operations for
the past three weeks may have rearranged what existed right before that in terms of safe havens and concentrations of al-
Qaeda?

RDML SMITH: Yeah. It’s…the number of safe havens now has been dramatically reduced. Our operations have put enough
force on the ground with Iraqi security forces, coalition operating in areas south of Baghdad, up through Diyala into the Diyala
River Valley, and then into the provinces north into Mosul in such a way that the al-Qaeda leadership and much of its rank and
file are on the run. So, to say that they’ve got a true sanctuary where they have impunity from our forces is becoming less of a
metric for them and more of a benefit to us because they are on the run. But they do remain, clearly, in concentrated areas in
Diyala, to the north in the Diyala River Valley. There certainly are concentrations of al-Qaeda, in small numbers, to the south of

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Baghdad. But as they push forward out of the major cities, what al-Qaeda is…the greatest handicap to al-Qaeda is they begin
to lose its main influence on population centers. Its main source of funding dries up because it no longer can intimidate and
extort funds from businessmen and so forth. Kidnapping and extortion becomes less profitable because you’re in more rural
areas. And in that sense, al-Qaeda is having a very difficult time financing and maintaining its operational base. And if they’re
on the run, they’re less likely to be doing planning—deliberative planning—against civilian targets. And that’s…I think that’s
where you’re seeing the increased levels of violence…the decreasing levels of violence associated with their instability and
their moving around.

REP14: How often…can you be a little more specific about is Diyala right now the largest concentration, largest presence of al-
Qaeda? Can you talk a little bit how Mosul figures into that? And then specifically what parts south of Baghdad?

RDML SMITH: I think if we throw up the last map we had….can you put that up on the screen, please? The last map there
gave you exactly the answer to your question. I mean we…in a general sense, you’re seeing the dark red areas to the
southeast of Baghdad. And that slice to the northeast of Baquba, up into the western province of Kirkuk areas, and then, of
course, surrounding Mosul. And you can see some red pockets there in the eastern corridors of Anbar. That’s where we assess
today al-Qaeda is operating from and has forces that are conducting training and conducting planning and building of bombs
and so forth. And that’s why in the last few weeks we’ve seen a large number of caches found in, for instance, where they had
been storing and making up these large bomb factories in the Baquba area…north of the Baquba area. So that’s again, that’s
the [unintelligible] to answer your question.

REP14: Which is the largest would you say?

RDML SMITH: Well, largest; I think the real issue is where is the greatest influence being exerted from. And Mosul will continue
to be a center of influence for…center of gravity for al-Qaeda because of its key network facilitation there; both financing and
foreign fighters, the flow through Mosul is critical for al-Qaeda in Iraq. But from an operational point of view, the closer reaches
to Baghdad which has been their principal target, would make the areas of Diyala and to the south of Baghdad their most
critical in terms of their operating capacity. So it’s a different answer from numbers, but it’s really on what their intent is. Yes, sir.

REP15: Asks question in Arabic.

INT: The experience of JAM or the freezing, do you think that the…you can release the members of JAM so that you can reach
further democracy in Iraq?

RDML SMITH: These are decisions for the Iraqi government to make regarding the detention of former Sadr trend members,
JAM members. The individuals that are out today conducting criminal activity clearly are no longer associated with Muqtada al-
Sadr, because Muqtada al-Sadr has told those individuals to cease their operations. And he himself has said they are criminals
and they must be dealt with legally; and they are being dealt with legally. As to individuals in detention, again, that’s a
Government of Iraq issue dealing with long term…this reconciliation issue of making decisions about how to deal with that. But
criminals are being dealt with as outside the Sadr trend, outside Jaish al-Mahdi because they’re conducting activities which
clearly go against the rule of law here in Iraq. I think all the way in the back.

REP16: Asks question in Arabic.

INT: Question from al Watan TV. When al-Qaeda was eliminated in Anbar Province, they found a safe haven in Diyala. Do you
think the leaders of MNF think…do you think that there is another safe haven or will there be another safe haven for al-Qaeda
in case al-Qaeda has been eliminated in Diyala?

RDML SMITH: Our goal is to not provide any safe haven in Iraq for al-Qaeda. And it’s the Iraqi people’s goal to not provide that
safe haven. And that’s where this…really this whole partnership between the Iraqi people and its security forces and the
coalition has made the difference as it made in Anbar, and it is now making in areas like Diyala. Safe havens can really only be
achieved by al-Qaeda if the Iraqi people themselves feel so intimidated and so unsure about whether or not they can turn
over…turn in these individuals because they don’t have the confidence in their security forces. That has changed over the last
year. And I think what’s happening in Diyala is a good example of the slow, slow grind of building up a relationship with the Iraqi

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people in those neighborhoods and villages for the trust and confidence that they need to have in order to make those tough
calls about turning people in. Because it’s very dangerous to them to make those decisions and we understand that. But they
have not—just to be clear—al-Qaeda has not completely left the Anbar Province, as an example. Again, that map shows you
there’s still pockets of al-Qaeda. There was explosions yesterday in Ramadi. So we’re reminded that al-Qaeda continues to be
a threat. The good news is they’re out of all the major population centers, except for Mosul, where they still retain some
capability. And that has been a big impact on reducing the violence here. Yes, ma’am.

REP17: Do you think they heard from their Awakening Council? Some of them say that they have been infiltrated by al-Qaeda.
And even though these guys say they are “repentants,” what actually they are doing is providing intelligence to al-Qaeda and
then in turn, targeting these local concerned citizens. So, how can you vet really who is part of these local concerned citizens?
And then, isn’t there a risk here of having an inter-Sunni fight in the sense that al-Qaeda could start attacking more and more of
these Awakening Councils as they spread more and more in the streets and in other provinces?

RDML SMITH: Well, there’s a couple of checks and balances as to who is part of an Awakening Group. First of all, it’s built
around a tribal relationship. And the tribal leaders, I think, know better than anyone who they can trust and who they cannot.
Secondarily, they all go through the screening, so we have some sense not—we have more than some—we have a good
sense of whether or not the individuals have had a criminal…or have had other information in the past that would link them to
criminal activity. That’s not to say that al-Qaeda has not found a way to infiltrate some members, some groups; that clearly
could be the case. But I do believe that the Awakening leadership understands that responsibility to police up within their own
ranks who is and who is not part of the group. And to the degree that we can vet that through our process of screening, I think
has been fairly well done. Up in the Diyala area, for instance, in…before a commander there left last December, he mentioned
that there was internal policing and there had been individuals who had been let go because of the, really, the lack of
confidence in their loyalty. But yes, it is a concern. It is something that must be addressed. And al-Qaeda clearly has an interest
in trying to intimidate, perhaps even through infiltration of the Awakening Groups because of the power that that represents for
the Iraqi people. Yes, sir. The front row, please. Front row, please.

REP18: Asks question in Arabic.

INT: There are some documents at the Ministry of Interior that convict some of the Awakening leaders or the commanders that
actually inside al-Qaeda. Is that true?

RDML SMITH: I’m not aware there’s specific…you’re saying there’s specific documents that would indict current leaders of
Awakening Groups. Is that correct?

REP18: Speaks in Arabic.

INT: There are some documents at the Ministry of Interior that convict some of the Awakening groups or the commanders that
they are also involved in terrorist acts and also part of Al-Qaeda. Is that true?

RDML SMITH: I’m not aware of any specific individuals currently part of the Awakening Groups which the Government of Iraq
has identified to us as individuals for which they have issued warrants for their arrests. You used the word convicted, so it
sounds like it went through a court. I think you mean there are individuals that they are concerned about. We are not aware of
any list per se. Straight back. In the corner. All the way in the corner, please. We’ll come back. In the third row, please. Okay.

REP19: Asks question in Arabic.

INT: Question from Radio Sawa. All that you have mentioned concerning the details about al-Qaeda and also especially what’s
going on in Iraq, we still witness some deterioration considering… regarding the economical situation. We’d like to know your
stance regarding the security situation that witnessed a stability in the few months…the past few months. Do you have some
concern…do you have some fear that this could collapse at any minute? The other question concerning the importance in the
Iraqi media recently, concerning the intelligence… I’m sorry, I didn’t get the second question.

RDML SMITH: I’ll come back to your second question but...

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INT: Yes, sir.

RDML SMITH: We’ve said for quite some time, and I said that in remarks today, the importance of following behind security
with economic and other programs of development is very, very critical. We understand that, again, much of the insurgency has
been fueled by a lack of opportunities and a lack of opportunity to make a solid wage doing an honest job…an honest day’s
work. And unfortunately, that led many to participate in activities which were really against the better…the future of Iraq. And
the good side of this, of course, is that people have changed, and they have made a decision to participate in a more positive
way. But you’re exactly right. The steps that need to be taken now, today, by the Government of Iraq and by other partners to
participate in this process are ongoing and are very much the commitment of the Government of Iraq to do that. And I think that
in 2008, we’ll continue to see steady progress in areas of economic development. I would argue that there has been significant
steps taken to rebuild infrastructure. If you go to cities like Fallujah and Ramadi, you’re seeing a rebirth of major cities. If you
visit many of the neighborhoods in Iraq, you’re seeing a rebirth of many of those neighborhoods. So, there is economic
development. There are people who are returned from being displaced or refugees to open up businesses and shops. That’s a
positive step. The encouragement here has to be that security will remain and that the investments these people are making
are going to be long term…are able to be sustained in the long term. And I know there’s great concern and anxiety over that.
But the assurances we can give is that the coalition will partner with the Government of Iraq to maintain that security for as long
as it’s needed. Third row, please.

REP20: Hi. Kim Gamel with AP. There was a reported mortar attack against the Green Zone yesterday and one earlier this
year, I think, as well. Are you seeing…can you confirm the one yesterday? And are you seeing an up tick in those? And I have
a second question as well. I wonder if you could comment on…going back to the clashes in Nasiriyah and Basra, can you
comment on if the military…how concerned it is with the Soldiers of Heaven group?

RDML SMITH: First of all, we don’t typically comment from the podium on indirect fire and whether or not rounds impacted
certain areas of the Green Zone. I will say that the level of violence across Baghdad has been similarly witnessed inside the
Green Zone. And I’ll just leave it at that, that the numbers are dramatically off of what they were last summer, certainly. As far
as the group that identifies themself as the Soldiers of Heaven, at least that’s the English version of their group, no. I think the
concern is not more widespread than need be and that’s in the areas of the south where they are being dealt with. And again,
the Government of Iraq understands that. There was significant numbers of the leadership of that group that were killed and
detained as a part of these operations the last 24 hours. So we’ll see how that plays out over time. You all know that this is a
group that has historically attacked around the period of Ashura. Last year it was a much more violent period of violence than it
was this particular year. Again, still too many injured and killed this past week. But a positive sign of that is the Iraq security
forces took immediate steps to keep it from getting out of control. I think if we have one more question.

REP21: Just more specifically, this map shows a significant decrease in al-Qaeda activity. How would you categorize the
activity that comes in from Iran? Is it equally as bad? Is it the same? Or, you know, how would we judge the situation? This
looks much less but is that the same amount or is it the same thing or…?

RDML SMITH: Yeah. That’s a good question. The influence of Iran inside Iraq— because it takes on so many different
dimensions, whether it’s financial support to the militias here, whether it’s actual movement of arms and weapons and
equipment into Iraq…smuggled into Iraq, whether it’s actual leadership through the Quds Force as we outlined for you early
this past year, whether Lebanese Hezbollah are in the country as proxies for the Quds Force—all those questions are very
critical questions that we still need to understand ourselves. We do believe that the number of signature weapons that have
come from Iran and have been used against coalition and Iraqi security forces are down dramatically except for this short up
tick, as I mentioned, in explosively-formed penetrators in the early part of January. We do not think that the levels of training
have been reduced at all. We don’t believe the levels of financing have been reduced. But it’s uncertain, again, what is
happening inside of Iran that’s leading to that occurrence. We do know that the Iranian government has given its pledge to the
Iraqi government—publicly and privately—to participate in the peaceful transition. It’s a mixed message; it really is. And we
continue to watch it very, very closely. And with that, I think we’ll wrap up today’s press briefing. I appreciate your time. Thank
you so much.




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                                                              We Nearly Died When We Saw What These Wo
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                           Al-Qaeda Iraq
                                             • Al-Qaeda senior leaders envision Iraq as
                                             first step towards Islamic Caliphate

                                             • Leaders are mainly foreign born

                                             • Fighters are mainly Iraqi

                                             • 90 percent of suicide bombers are
                                             foreign terrorists

                                             • Ideology describes Taliban vision for Iraq

                                             • Strategy: Indiscriminate violence to re-ignite
                                             ethno-sectarian conflict
        Abu Ayyub al-Masri                   • Tactics: car bombs, suicide attacks,
       AQI Leader—Egyptian                   executions, torture, beheadings, and
                                             amputations

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                                                                                         Al Qaeda in Iraq
                                               Mosul
                                                                                            December 2006
                                                             Irbil
                                  Tall Afar




                                                               Kirkuk



                                               Tikrit


                                                         Samarra
               Al Qa’im


                                                                        Baqubah
                                       Ar Ramadi
                                                                     BAGHDAD
               Ar Rutbah                            Fallujah




                                                   Karbala                              Al Kut



                                                        An Najaf            Diwaniyah            Al Amarah


                                                                              As Samawah

                                                                                                 An Nasiriyah



                                                                                                                Al Basrah




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                                   Captured AQI Map
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     AQI operations
    during the period
     2-8 March 2007
     as reflected in
        captured
        document




1   Crusaders Killed                  Sniper ops               Martyr ops                   Under control of ISI
1   Gov’t Supporters Killed           Centers & hideouts       Firefights & traps           Partially controlled by ISI
1   Shia Militia Killed               Rocket/RPG launch        Downing of aircraft          Areas of Turks and Rejectionists
1   Number of OPs                     Tanks & carriers         Destruction of equipment     Prominent OP of the week

3
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       Patterns of Barbaric Violence




Tall Afar Attack – 223 Killed Injured                  Yazidi Attack - 796 killed/injured




                         Letter from AQI ‘court’
                         authorizes killing of
                         Iraqi citizens as
                         ‘apostates’

                                                                 Numerous mass graves
                                                                 discovered in former al-
                                                                 Qaeda operating areas

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                            whom were civilians)
                                                                Survivors of al-Qaeda’s
                                                                bombing of the Kirkuk Girls’
                                                                Primary School, April 2, 2007
                            (5 killed and 87 injured, most of
                            0
                                                 5
                                                                 10
                                                                           15
                                                                                      20
                                                                                                25
                                                                                                     30
                                                                                                          35
                                                                                                               40
                                                                                                                    45
                                                                                                                                              50




                 1/5/2007
                1/12/2007
                1/19/2007
                1/26/2007
                 2/2/2007
                 2/9/2007
                2/16/2007
                2/23/2007
                 3/2/2007
                 3/9/2007
                3/16/2007
                3/23/2007
                3/30/2007
                 4/6/2007
                4/13/2007
                4/20/2007
                4/27/2007
                 5/4/2007
                5/11/2007
                5/18/2007
                5/25/2007
                 6/1/2007
                 6/8/2007
                6/15/2007
                6/22/2007
                6/29/2007
                 7/6/2007
                7/13/2007
                7/20/2007
                7/27/2007
                 8/3/2007
                                                                                                                                                                                                                                                                              In 2007...




                8/10/2007
                8/17/2007
                8/24/2007
                                                                                                                                                                                                                                                                                                                                              Case 1:18-cv-02248-CRC Document 97-8 Filed 09/06/22 Page 238 of 1014




                8/31/2007
                 9/7/2007
                9/14/2007
                9/21/2007
                9/28/2007
                                                                                                                                                                                                 • 3,870 civilians were murdered




                10/5/2007
               10/12/2007
               10/19/2007
               10/26/2007
                                                                                                                     2007 High Profile Explosions




                11/2/2007
                11/9/2007
        PX360




               11/16/2007
               11/23/2007
               11/30/2007
                12/7/2007
               12/14/2007
                                                                                                                                                                                                                                   • 4,552 enemy attacks targeted civilians
                                                                                                                                                                                                                                                                                           Violence Against the Iraqi People




               12/21/2007
                                                                                                                                                    • 17,815 civilians injured due to violence




               12/28/2007
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       Patterns of Barbaric Violence
                  Al-Qaeda Torture Manual Captured in May




                                  Torture and Murder




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                        Iraqi Security Forces
       Iraqi Security Forces continue to grow, to develop their
               capabilities, and to shoulder more of the
            burden of providing security for their country.

    Currently, 567,668 Iraqi’s under arms in the Ministries of Interior and Defense
       • Grew by more than 106,000
       • $2.85 billion worth of equipment supplies through Foreign Military Sales

    Some 140 Iraqi Security Force Battalions in the fight
       • About 122 battalions capable of leading operations
       • All Iraqi battalions involved in combat operations
       • Increasingly the first line of defense
       • Losses 3 times those of the Coalition

    Iraq spent more on its security than it received in
    security assistance from the United States in 2007



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                  Concerned Local Citizens
    ¾ Grassroots volunteer movement by Iraqi citizens and tribes to reject extremists

    ¾ Organized to support Iraqi and Coalition Security Forces – bridges current gaps

    ¾ More than 130 separate Concerned
    Local Citizen groups throughout Iraq

    ¾ Over 80,000 active members

    ¾ All screened and vetted, majority
    are paid volunteers

    ¾ Under full control of local Iraqi Security
    or Coalition Forces

    ¾ Some 25-30% want to become full time members of the uniformed Iraqi Security
    Forces, remainder will be offered job skill training, education and employment
    placement in public and private sector

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                                 The Main Focus
        Progress depends on squeezing al-Qaeda Iraq from
          every direction and with every possible means.

                                 Tribal Leaders         Job Creation
    Conventional Forces                                                    Ministerial Assistance to Iraq

    Counter-Terrorist Forces                                                Interdicting Enemy Funding

    Iraqi Security Forces                                                       Economic Development

    Iraqi Civilian Volunteers                                                               Fusion of Intel

    Political Engagement                                                          Regional Engagement

    Provincial Reconstruction Teams                                              Information Operations

    Regional Support to Stop Foreign Terrorists                Support to Moderate Religious Leaders




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                           Haythem Sabah Shaker Mahmud al-Badri

                           Emir of Greater Samarra


          Killed

                           Khalid al Mashadani

                           Senior Iraqi in the al-Qaeda Iraq Network

     Convicted by Iraqi
        Court and
       Sentenced to
                                                                                          PX360
10        Death                                                                            UNCLASSIFIED
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                        Abu Usama al-Tunisi
                        Emir of the Southern Belt


        Killed


                        Muthanna
                        Emir of Iraq/Syrian border


        Killed
11
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           Role of Foreign Terrorists:
               The Sinjar Papers




      Foreign Terrorist Bio           Lists of Terrorists                    Suicide Pledge


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                        Abu Yaqub al Masri
                        Member of Original
                        Leadership of Al-Qaeda Iraq

          Killed

     Umar Wahdallah Dod al-Zangana
                   Baghdad Military Emir

                                                                  Convicted by Iraqi
                                                                     Court and
                                                                    Sentenced to
                                                                       Death PX360
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                                                                                         Al Qaeda in Iraq
                                               Mosul
                                                                                            December 2007
                                                             Irbil
                                  Tall Afar




                                                               Kirkuk



                                               Tikrit


                                                         Samarra
               Al Qa’im


                                                                        Baqubah
                                       Ar Ramadi
                                                                     BAGHDAD
               Ar Rutbah                            Fallujah




                                                   Karbala                              Al Kut



                                                        An Najaf            Diwaniyah            Al Amarah


                                                                              As Samawah

                                                                                                 An Nasiriyah



                                                                                                                Al Basrah




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9/6/22, 7:57 PM                                                     DoD News: Department of Defense Briefing


                                  U.S. Department of Defense
                                  Office of the Assistant Secretary of Defense (Public Affairs)
                                  News Transcript




    Presenter: Principal Deputy Assistant Secretary of Defense for Public Affairs Lawrence               Friday, December 3, 2004 3:08 p.m.
    Di Rita                                                                                              EST



  Department of Defense Briefing

  (Also participating was Deputy Director for Regional Operations, Joint Staff Operations Directorate, Brig. Gen. David
  Rodriguez)




  To view the complete slide presentation click here. [PPT 4.27 MB]

https://www.globalsecurity.org/military/library/news/2004/12/mil-041203-dod01.htm                                                             1/12



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9/6/22, 7:57 PM                                                     DoD News: Department of Defense Briefing


          MR. DIRITA: We wanted to just get together and just go over a handful of items. We've obviously had a typically busy
  week here at the Pentagon. We made the announcement regarding the additional capability in Iraq that General Casey
  sought and will receive to sustain the momentum post-Fallujah and to prepare for the elections, get ready for the Iraqi
  elections, which are moving forward. So we thought it would be useful to kind of pull together some additional information and
  put out what we can and take your questions. And with that, I'm going to ask General Rodriguez to give sort of a summary,
  and then we'll take your questions.

           GEN. RODRIGUEZ: Thank you, Mr. DiRita, and good afternoon. Iraqi and multinational forces conducted a series of
  successful operations against anti-Iraqi forces in Najaf, Tall Afar, Samarra, Thawra and Fallujah. Specifically, Operation Al-
  Fajr struck a serious blow to the insurgency in Fallujah by denying them the use of the city as a safe haven; and Fallujah is no
  longer a terrorist center for command and control, supply, weapons storage, nor is it a base of operations.

             Today we would like to share with you some of the things the coalition found as they cleared Fallujah. We found
  evidence of an enemy who fully intended to fight the Iraqi and coalition forces and disrupt the process for a future free Iraq.
  They were heavily armed and dug in, and by that I mean there was food, water, ammunition, weapons stashed in the
  buildings they occupied, and they were prepared to fight.

              The insurgency used several hospitals, cemeteries, and about 25 of the mosques as fighting positions, clearly in
  violation of international law. Coalition forces also found more than 350 weapons and ammunition cache sites, a number of
  torture sites, improvised explosive device factories, and videos of beheadings.

          The coalition continues to analyze the vast amount of information that we collected in Fallujah. And here we're going
  to share with you some of the preliminary photographs that demonstrate what we found there.

           First slide. To better visualize how the mosques in Fallujah were exploited by the insurgents, note the colored dots on
  this slide. Out of the 26 mosques that I discussed earlier, the blue dots are mosques from where Iraqi and coalition forces
  encountered small-arms fire and rocket- propelled grenade fire. The yellow represents a location that was determined to be a
  command and control center. Insurgent snipers engaged our forces from mosques identified by the red dots -- and you can
  see the number and the spread throughout the width and breadth of the city.

          Next slide. Improvised explosive device materials were also found inside the mosque, to include a reel of detonation
  cord that was hidden inside a bag of rice that was disguised, of course, as humanitarian aid.

        Next slide. This slide depicts the city of Fallujah with red dots that indicate where Iraqi and multinational forces found
  IED-making factories. And the green dot marks the location of the vehicle-borne improvised explosive devices.

           Next slide. On the right side, a box containing an improved thermal battery for a surface-to-air, shoulder-fired missile,
  as well as two additional hand-held radios. And on the left you can see several different types of radios used as the remote
  triggering devices for IEDs.

            Next slide. The red dots on this slide depict the atrocities discovered across Fallujah, and again, across the entire
  depth and breadth of the city. The combined forces found eight hostage locations and other atrocity sites; such atrocities
  including human corpses rigged as IEDs, hostages found chained to a wall, and a mutilated body, as well as executed Iraqi.

           Next slide. And here, although it's hard to see, you can see bloodstains in the upper left, and the sandbags they used
  to try to soak up the blood in one of the hostage sites.

           Next slide. This slide depicts the locations of the weapons and ammunition caches. Basically, the description was
  there were one of these every three city blocks. And you can see the number there on the slide.

           Next slide.

           Q What's the definition of a cache? Obviously, they're allowed to keep a weapon, a personal weapon -

           GEN. RODRIGUEZ: It's above and beyond that, ma'am.

           Q Anything beyond one?

           GEN. RODRIGUEZ: Yes. Groups of them that were, you know, beyond the self-protection. This slide, here's an
  example of weapons caches in central Fallujah, in which you can see a pile of mortars and rockets. And this is just an
  example. Like I said, some of them are smaller, some of them are larger, but this is the type of cache we're describing here.

          Next slide. This location was a chemical lab, which is obviously in the southern part of the city there. Some of the
  chemicals found in the site included hydrochloric acid, also ammonium nitrate and hydrogen cyanide, which potentially can be
https://www.globalsecurity.org/military/library/news/2004/12/mil-041203-dod01.htm                                                 2/12



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9/6/22, 7:57 PM                                                     DoD News: Department of Defense Briefing
  used to produce a blood agent.

          Next slide. Also found at the chemical lab was a Mujaheddin chemical and biological book outlining instructions and
  formulas for anthrax, chemical blood agents and other explosive materials.

             Now that we have driven the insurgents from Fallujah, we still have more work to do. Iraqi and coalition forces
  continue to take the fight to the enemy. And with that, we'll take your questions.

           MR. DIRITA: Charlie?

             Q Larry, just two quick things. I'd like you to tell us as much as you can, if you will, about the Jacoby report. There
  have been some reports about that. And number two, to raise a housekeeping issue. You call this a get-together. The
  problem is we only have these get-togethers very occasionally, and I'd like to pressure the demand on behalf of the press
  corps that you start having regular briefings. You know, for years they've had two regular briefings every week on issues from
  everything from Boeing to a routine -- I'm not talking about just war briefings. I'd like to get some kind of promise from you that
  we'll start having regular briefings here so that we -

           MR. DIRITA: Yeah. No, it's a fair enough point.

           Q I mean, you've said before that you'll have a briefing when you have something to tell us. Well, it would seem to me
  that the way it should work is that we should be able to ask you things regularly and -

           MR. DIRITA: Sure. No, that's a fair point.

           Q I mean, it's a matter of accountability to the public.

          MR. DIRITA: Yeah. I would certainly not ascribe to any interpretation that we've been anything other than accountable
  to the public. I mean, we've put out an enormous amount of information. We have had god knows how many briefings down
  here. The secretary himself comes down fairly often. But I take the point. I take the point.

           Q (Off mike.)

           MR. DIRITA: And we'll -- we'll be as regular as we need to be.

           Q (Off mike) -

           MR. DIRITA: I mean, I think during the Fallujah operations -- hold on, Charlie. You've made your point. I appreciate it.
  I think during the Fallujah operations we had a coalition commander out every single day. I mean, and that's important, and
  they were to talk to the Pentagon press. The technology doesn't always make it as good as you'd like it to be and as we think
  it can be. But I take the point. We'll be -

           Q You've taken the point before. My point is that there are issues other than war here.

           MR. DIRITA: Sure.

           Q And while Christmas is a difficult time because traditionally you don't have many briefings, I'd like you to maybe
  promise us that sometime quickly after the new year starts we start having regularly scheduled, twice-a-week briefings here -

           MR. DIRITA: Is that right?

           Q -- so that the press can come and ask you questions on issues. I'd like you to consider that, if you would.

           MR. DIRITA: I'll take it under advisement.

           Q All right, thanks.

           MR. DIRITA: Thank you, Charlie.

           Q And anyway on the Jacoby -

           MR. DIRITA: Next question?

           Q -- on the Jacoby report.



https://www.globalsecurity.org/military/library/news/2004/12/mil-041203-dod01.htm                                                  3/12



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9/6/22, 7:57 PM                                                     DoD News: Department of Defense Briefing
          MR. DIRITA: The Jacoby report. Let me talk a little bit about these reports. We've gotten, I think, nine or so reports that
  have been completed having to do with the Abu Ghraib investigations. We've provided an awful lot of information on those
  briefs, perhaps not as much as you'd like, pertaining to your previous question, but we have provided an awful lot of
  information on all of the reports that have come out.

             The Jacoby report is nearing completion. It's being reviewed by -- I believe this accurate -- the commander of the
  Central Command. General Jacoby was asked to review prison conditions inside of Afghanistan. General Barno, the
  commander of the task force there asked him to do that. It consisted of a kind of snapshot of training, of conditions inside of
  prisons. It did not look back to incidents that may have occurred inside of Afghanistan. We will have more to talk about when
  the report is complete. It has leaked. I would caution, though, against sort of episodic reporting on leaked reports, and I'll give
  you an example why.

             We've had another report that allegedly leaked this week that was reported in one of the papers known as the
  Herrington report. The Herrington report, by the way, was a component of the Kern/Fay/Jones report; it was an annex to that
  report. That Kern/Fay/Jones report was briefed extensively here, extensively on the Hill. In fact, General Kern has done
  extensive public briefings around the country on it. The Herrington report was a component of that investigation.

          The reporting on it this week in The Washington Post suggested as though it were some kind of a new and previously
  undisclosed report, when in fact it's part of -- it's certainly part of what we provided to the Congress. We provided all of the
  annexes to the Kern/Fay/Jones report.

          Of note in the Herrington report, Colonel Herrington -- he's a retired Army colonel -- made the specific comment that
  "We neither saw nor learned of any evidence that detainees are being illegal[ly] or improperly treated at Abu Ghraib."

          Now that's a finding in his report. He found a lot of other things in the report, but the story that was sort of episodically
  attracted to this Herrington report failed to mention that, what I would consider to be a fairly key finding in the Herrington
  report.

           And the only reason I make that comment is because we have been providing these reports when they're finished.
  Indeed, we provided the Herrington report as part of the Kern/Fay/Jones. We didn't release every annex. I'm told we didn't
  release every annex, but we provided all that to the Congress two months ago or something.

           Q Well, but it wasn't released to us.

            MR. DIRITA: Apparently not, and I'm not sure about that, but I've been told that. But the point I'm making is that it's --
  the way it's being reported this week, it's being reported in a context that sounds rather different from the fact that -- the fact
  that it was -- generated a follow-on report by -- initiated by General Fast, to whom the Herrington Report was delivered. She
  initiated a follow-on report that was itself extensively documented and included in the previous reports.

          We're providing this stuff when we get it and we're putting it out, and when it's -- when things are episodically reported
  on through leaks or through somebody discovering an annex that's part of a broader report, I think that does a disservice to
  the public. So we're going to -- when the Jacoby report's complete and it's under review by the commander at Central
  Command, we'll put it out the way we have, consistent with classification and everything like that.

           Q Of course, it points to the fact that the quicker -

           MR. DIRITA: Sure.

           Q -- the quicker the better on getting these things out.

             MR. DIRITA: I will also note the Jacoby report does not take into account what we also know has occurred in
  Afghanistan. There have been reports of prisoner abuse in Afghanistan. There are investigations under way that predate the -
  - we have the two cases of the deaths of detainees at the Bagram facility. There are -- there's criminal proceedings that have
  begun on that.

            So the Jacoby report all by itself, without the context in the briefing, having been leaked to the press I'm not sure --
  again, I caution about the episodic reporting off of reports of leaked reports because it's not serving the public particularly well.

             And I would again draw your attention to the key finding in -- and I'm not trying to disparage Colonel Herrington's
  report. I've read the report. It's a serious report. He took it seriously. It generated additional investigations. But he did happen
  to make a finding as of December of 2003 that they found no evidence of abuse at Abu Ghraib at the very time when this
  abuse was probably occurring. And I'm not -- again, I'm not disparaging the report; I'm simply saying that's a relatively key
  finding that somehow missed the reportage. So -

           Q Are you going to release it, then, as -
https://www.globalsecurity.org/military/library/news/2004/12/mil-041203-dod01.htm                                                    4/12



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             MR. DIRITA: I'm not sure that's being considered. You know, again, it was provided to the Congress, and I'm not sure
  what the policy has been on all these annexes. Eventually we provided -- I think we ended up posting the Taguba report with
  all of its annexes, so we may do the same thing here.

           Bob?

           Q I would like to second Charlie's point about the usefulness of regular briefings. You know, the briefings you have
  given us -- the Fallujah ones, for example, and others related to the war -- have been useful and appreciated.

           MR. DIRITA: Good.

           Q But the point is about regular briefings that are about any subject we'd like to bring up, you know. So I'd just mention
  that.

           MR. DIRITA: Sure, absolutely.

           Q My question is for, I think, General Rodriguez, probably, on your discussion about what was found in Fallujah.

           MR. DIRITA: And by the way, you're free to bring up any subjects here today, too. We may not answer the question,
  but you're free to bring it -

           Q Like, that's what I'm talking about, is -

           MR. DIRITA: Oh, I see what you're saying.

           Q We could do this twice a week, and that would probably -

           MR. DIRITA: Gotcha.

           Go ahead. Go ahead.

            Q Fallujah, going forward from here -- is there indications, either based on what you saw in Fallujah, what you've
  learned since, that Zarqawi has moved to set up cells in Mosul and other particular locations outside of Fallujah?

           GEN. RODRIGUEZ: Well, the insurgency and the -- without the base that they had in Fallujah, what, you know, is --
  looks like is happening in watching very closely is that the people move to other places, obviously to try to set up the same
  type of support base as others, because that's how they adapt to losing their base. So there's several operations going on
  right now to prevent that from happening. And this is part of the pressure that we need to keep up on the insurgency.

             So for example, down there in Plymouth Rock, you know, just south of that, that has been going on since actually
  during the fighting and continuing. And it's like that throughout all the areas of Iraq because as these people lose this base of
  operation, they move to other places, which opens up intelligence opportunities for us, as well as to build up the things -- the
  capabilities that they lost in Fallujah. You know, you just can't do that without taking some risks and providing some
  intelligence opportunities. So those are ongoing, and we're continuing to -

           Q Zarqawi himself and -

           GEN. RODRIGUEZ: No, we don't know anything specifically about Zarqawi himself and the situation.

            Q Mosul connection that you know of?

            GEN. RODRIGUEZ: There's some evidence of Mosul connection at this point, but we don't have any solid evidence
  that that's where Zarqawi is moving his main base or anything like that yet.

           Q Okay.

           GEN. RODRIGUEZ: All that's being determined as it goes through.

         Q Not to sound like a broken MP3 file -- (laughter) -- to use the vernacular of the day, but I'd like to just underscore the
  importance of -

           MR. DIRITA: Are you seconding or thirding -

           Q I think it's thirding.
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           Q This is third -

             MR. DIRITA: Would this be thirding? Okay. Gotcha. (Cross talk, laughter.) Actually, Charlie seconded his own
  suggestion. So Bob was actually -

           Q (Off mike) -- all-subject briefings, as has been the tradition for years and years and years. My question, General, is
  -

           MR. DIRITA: We're trying to be more transformational here and do things a little differently.

           Q But we'd like it transformed for the better, not -

           MR. DIRITA: Check. Go ahead.

           Q My question is about the additional forces in Iraq, both the deployments and the extensions -

           GEN. RODRIGUEZ: Yes.

           Q -- and the force levels that that provides you. You said the other day that was for security for the elections and to
  keep the pressure on the insurgents. Can you tell us a little bit about what the troops -- the additional troops will be doing to
  achieve those goals? And can you tell us -- you showed us a lot of things that were found in Fallujah.

           GEN. RODRIGUEZ: Yes.

          Q Did you find things in Fallujah that are going to help you keep the pressure on the insurgents? Can you talk at all
  about that?

           GEN. RODRIGUEZ: Well, certainly any time you destroy a safe haven, a base and everything -- we showed you some
  of the things that we've begun the site exploitations on, but that's still in the infantile stage, because we have not fully looked
  at all the sites yet that we've secured.

           So yes, all that information that we gained out of there, we believe, will help us in the future and what is happening
  with the insurgency and how they operate. On the second part, the forces, the additional force level that we discussed the
  other day is for both the security of the elections and keeping the pressure.

            But the operations type, which will be determined, obviously, by the tactical commanders on the ground there, are
  mainly to keep the pressure on the operational -- or the insurgency by offensive operations to continue to exploit the things
  that we're going to discover in the wake of Fallujah by them moving, trying to set up safe havens, and such. And that's the
  type of operations. And really, that's all I'm going to get into specifics at this point because that's really a decision that's made
  on the ground over there.

           Q I mean, is the idea to keep the insurgents essentially on the run -

           GEN. RODRIGUEZ: It is, it's to keep them on the run, to pressure and prevent them from putting safe havens up in
  other places. So both the movement that they are doing and have to do, and the building up of safe havens and the support
  structure that they lost in Fallujah, to keep the pressure on that.

           MR. DIRITA: I think another consideration, Jamie, is that part of what was happening in Fallujah prior to this operation
  was a very aggressive campaign of intimidation by the sort of insurgents and foreign elements. And what this demonstrated
  was the will of the coalition and the will of the Iraqi forces. And it has -- a campaign of intimidation is essentially a campaign of
  wills, and what commanders have reported is additional -- is better and more refined intelligence coming forward because
  people feel less intimidated. In other words, they now have a better feel inside of Fallujah that this small number that was
  holding them hostage has been dealt with, and so they're more willing to come forward. Now, that hasn't led to any great
  findings, but it does over time; that's how you get more -- better.

         Q Could I just follow-up to that? Are you seeing a change in tactics, a shift toward -- as you get closer to the elections -
  - more attempt to intimidate, particularly the Iraqi security forces, such as today's attack?

            MR. DIRITA: Well, it's been going on for a while. I mean, intimidation of the Iraqi security forces is clearly one of the
  tactics that the other side is using, and we've seen that.

           Q But is that one of the reasons you had to send more U.S. troops, that the Iraqi -



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           MR. DIRITA: I wouldn't tie it to one single thing. I mean, what General Casey wanted was what he described, which
  was what General Rodriguez described, was the ability to sustain offensive operations where necessary, and to provide a
  better security environment with troops that have been through an awful lot. And given that the rotation has been spread out
  the way it has, some of the troops that have got the best experience would be leaving, and he thought it was better not to do
  that.

              So I wouldn't tie it to any specific tactic by the enemy. But one of the principal objectives was to go after the
  intimidation campaign and to show the people of Fallujah, who largely did not want to be living under the circumstances they
  were living, that it's okay to come forward.

          Q General, The New York Times reported today that there were cell phones found, lists of foreign fighters' families to
  be paid -- specific intelligence. Is that leading to other operations to take these cells down?

           GEN. RODRIGUEZ: All that right now is being analyzed right now and will be used as best we possibly can to take
  those cells down. And any time you find things like that and do the analysis, it takes a little while to do that.

           But all that is being done. Like I said, we have done many site exploitations already. We still have more to do in that
  area, but yes, there's phone books, there's lists, there's -- all those things were found as part of the operation.

          Q Can you characterize the quality of the intelligence you've seen so far, even though you're not done sifting through
  everything? I mean -

           GEN. RODRIGUEZ: No, I can't. But the bottom line is we believe it will help us in the future, in the near future here.

           MR. DIRITA: Jim?

          Q Larry, has Secretary Rumsfeld talked to the president yet about what -- about his future, whether he's going to stay
  or whether he's going to go?

          MR. DIRITA: You know, Jim, I just have nothing for you on that. And what he has said is what's going to have to do,
  which is when he's got -- when he's ready to talk about it, he'll talk about it. It's just not something I'm going to be able to
  provide any insight into.

           Q It just seems kind of odd after all this time -

           MR. DIRITA: Does it? (Laughter.)

           Q -- for there to be no indication at all whether he's still going to be in office.

            MR. DIRITA: I just have nothing for you. When he's ready to say something, he'll say something.

           Q Have you talked to him, or you just don't want to comment -

           MR. DIRITA: I'm saying I got nothing for you on it, Charlie.

           Q Larry?

           MR. DIRITA: Yeah?

           Q Could you -- General Rodriguez, describe for us the situation in Mosul, what your understanding is of what's going
  on there, and particular attention to these bodies that keep getting found. Are they innocent bystanders? Are they Iraqi
  security forces? Or are they maybe insurgents who have been killed and are just getting discovered? What's the -

             GEN. RODRIGUEZ: Most of that is part of the intimidation campaign. Most of that has been focused on the Iraqi
  security forces and the Iraqi people who are trying to run the city. As you know, during the Fallujah operation there was a --
  there was a lot of challenges at the police stations, and we have an operation going up there that is reestablishing the security
  in the city, turning over the Iraqi police stations back to the police, and building back the law of, you know, free countries or
  free cities up there. So that was part of the result of this Fallujah piece, and you know, so there were some links there. And
  we're -- they're working very hard to clean up that situation right now.

           Q And how many police stations have been turned back over, and how many police or security forces were killed -

           GEN. RODRIGUEZ: I don't have the specific numbers of police that are back on the beat or those specific numbers,
  but we can get you -- get those. But the majority of the stations were taken back, and there's calm in the city at this point in
  time, relatively speaking.
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           MR. DIRITA: Will?

           Q Larry -

           MR. DIRITA: Now wait a minute. Hold on. You're not going to second Charlie, are you? (Laughter.) Okay.

           Q Can you tell me, what was the U.S. military fatality count in Iraq in November?

            MR. DIRITA: I don't think we have the most refined -- I mean, what we know is our general -- is our -- is our updated
  tally, but I'm not sure by month we've got the data.

           GEN. RODRIGUEZ: Right. And of course, you know, it'll take us a couple days after the thing to get the final thing
  exactly because what happens is everybody wants to make sure they got the right number because some people, of course,
  leave the theater and are en route, you know, of course -- die en route or up in -- up in Germany, for example, where they take
  many of the injuries. So it'll take us a day or two to get that, but -

           Q But we're a few days into December already.

           GEN. RODRIGUEZ: Yes. It -

           MR. DIRITA: We'll get it out as soon as we've got it, I suppose.

           GEN. RODRIGUEZ: Right, but we don't have that right now.

           MR. DIRITA: Yeah?

            Q On the tanker issue, Secretary Wolfowitz signed a memo to the SASC on August 11th saying in roughly 30 days
  they should have these tier one, tier two, tier three e-mails sent over and supporting documents for the tanker issue. Can you
  tell us why all of them haven't been sent over yet and when they will go over?

         MR. DIRITA: Yeah. No, I can't tell you when, that's for sure. I think the last number I saw is something on the order of
  800,000 documents.

           Q My understanding is only six out of, like, 36 people -

           MR. DIRITA: Let me get into it. We've established -- it is the secretary's desire to provide as much information as is
  being sought that's appropriate to send. I mean, there are executive privilege issues, so therefore the White House properly
  has a role to evaluate these things. So we've developed a process by which that can be done. At some point along the way,
  we've determined that the inspector general is in the best position to kind of compile these documents and do the screening
  and the initial evaluation as to whether they're responsive to the request and to work with the general counsel -- general
  counsels in the administration to then address the executive privilege issues, et cetera.

           It is a time-consuming process. There are an enormous number of documents. It involves getting people at the White
  House that have responsibilities to evaluate them as well, and of course they're busy with a variety of tasks as well. If it were
  simply the kind of thing where you could print them up and cart them across to the United States Congress, the task would
  have been accomplished, because the secretary's clear desire is to provide -- to be as responsive as appropriate given that
  there's a handful of considerations -- for example, it's not anybody's desire that e-mails, for example, that have members of
  Congress's name in it to be -- so there is redacting that goes on and then the Congress can decide how it wishes to treat
  those. It's not our -- so it's a very time-consuming process.

          Q I understand what you're saying. But why, then, knowing the process -- I mean, this whole process has taken over a
  year. Knowing the difficulties, why did Secretary Wolfowitz send a memo saying you'll get what you want in 30 days?

           MR. DIRITA: Well, you always hope for the best, and then you get into the document collection and it takes time.
  We've got -- we've devoted an enormous number of resources to being responsive to this request.

            As I said, we were developing a process to provide documents relating to a small number of officials. Somewhere
  along the way I think the number was 26 or 27 additional officials' documents were sought. So it hasn't exactly been -- and
  this is understandable, but it hasn't exactly been "Here's a list of things we'd like; go to work on it." The list itself has been
  evolving.

         And we're dealing with complicated issues of privacy. We're dealing with complicated issues of executive privilege and
  complicated issues of sort of propriety when it comes to the names of people who aren't -- you know, you may have an e-mail,
  and we've all seen e-mail strings, that could I have three responsive lines in an e-mail that has a string of 27 different back
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  and forths. And so somebody's got to go through and analyze that and say, "Well, these three lines are responsive and the
  following 24 are not, so they have to be redacted." It is not simply push the "send" button and it goes over to the Senate.

            Q But Larry, there are also those who are saying you might be dealing with comprehensive issues of embarrassment,
  too; for instance, Secretary Roche's e-mails that were finally sent over to Congress and Senator McCain -

           MR. DIRITA: It's certainly nobody's interest -- look, those e- mails say what they say. And the secretary of Defense's
  position all along has been we're going to be responsive to the request.

           And it's not -

           Q That's not the reason that was reported -

           MR. DIRITA: -- and it's not a consideration. I mean, it is a fact that there will be e-mails that out of context will seem to
  be -- there was an article in one of the papers yesterday that obviously was a colorful exchange. We've all exchanged e-mails.
  So that's what you get when you look at e-mails. It's raw documentation.

           It's also important -- this is kind of a new thing. I mean, this is -- you know, the treatment of e-mails is a sort of new
  branch of privacy that we're all wanting to make sure we do proper and right. But it is not -- has nothing to do with whether
  anybody's going to be embarrassed. We're going to do the right thing, and the right thing is to be as responsive as possible to
  this request. And being responsive is just taking time.

           Q Why would you redact the names of members of Congress from e-mails or -

           MR. DIRITA: It's our view that if some -- it's third-hand, Charlie. So you've got an official here talking to an official at a
  company, and they mention some senator's name. Now is that fair? It's not our job to say this secondhand conversation in
  which the member had no idea he was even being discussed is going to -- we're going to dump those e-mails, because we
  know those e-mails are going to become public.
  So it's up -- that's something we're deferring to the chairman of the committee on how he wants to handle it, but it's our
  druther that we're not going to do that. It's not -- it's just not right. It's thirdhand, secondhand stuff.

           Yeah?

           Q General, that short stretch of road between central Baghdad and the airport comes under almost daily attack, as
  you know, and British and U.S. embassies have barred their employees from using it. Why can't the U.S. military do a better
  job of securing that route? Are there any plans, without getting into operational details, for the military to do more to protect
  that road? For many Iraqis, it's become a symbol of the lack of security.

          GEN. RODRIGUEZ: Yes. As you know, we've had continuous operations along that road to do that, and we'll continue
  to do that. But I don't have any specifics on those operations or how we're going to do that.

           Q Yeah. I'm curious -- the campaign of intimidation you're talking about -- against the security forces in Iraq.

           GEN. RODRIGUEZ: Yes.

           Q What effect is that having on the effort to recruit and train these people who are so critical to the long-term stability
  of the country?

            GEN. RODRIGUEZ: Yeah. The -- we continue to have sufficient people signing up to be -- at the recruiting thing. We
  continue to get the people over there who are ready to fight for a future Iraq, and of course many of them have sacrificed their
  lives in pursuit of that. And we're happy that -- on the way the development of the Iraqi security force is coming along.

           Q Can I follow up on that?

           Q It has not cut into -

           GEN. RODRIGUEZ: It has not cut into the recruiting problem (sic). That's correct.

           Q Can I follow up on -

          MR. DIRITA: And it's worth noting the fact -- and not -- we don't have the precise numbers, and we'll get right over to
  you, but the -- a large number of Iraqi security forces have been killed. They've been killed in action. They've been killed
  through the intimidation campaign. They've been -- there have been execution- style assassinations. And yet, thus far, Iraqis
  are coming forward to serve.

https://www.globalsecurity.org/military/library/news/2004/12/mil-041203-dod01.htm                                                      9/12



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          It's -- as the president said, it's time for Iraqis to go to the polls because they are trying to take control of that country,
  and Iraqi security forces are really in the front of that effort.

           Q We were told repeatedly during the Fallujah assault that the Iraqi security forces were performing well, in tandem
  with coalition forces. But reports coming from Iraq increasingly seem to suggest that they're not, that they're not up to the job,
  they can't perform, there's not discipline, there's not leadership. Where does that exactly stand? Who's right?

            GEN. RODRIGUEZ: You know, you got a full range of effectiveness over time. And you understand a lot of the training
  that's going on, for example -- and you got to remember, we're building this army from scratch. So as they go through their
  initial training and work through those pieces, and then they go out for operations, there's a growth period between the time
  that they graduate from the training, the initial training in the school, until they can do a tough operation like a military
  operation in urban terrain in concert with coalition forces. So that higher-level coordination and everything is at the higher
  range of what we're talking about doing, in which some of the Iraqi units were able to participate in - in Fallujah, back to the
  ones that have just graduated from the school and are still working the leadership development, the mentoring that's so
  critical to them, moving from the training to the level of a proficient unit enough to move forward until they are really a unit that
  can do a tough operation in an urbanized -- urban terrain in concert with coalition forces. So there is a full range of that out
  there and that's part of the reason why it depends on what time and what units you're asking, based on where they are in that
  developmental process.

            Q Well, how many are at the more complete end of it than at the beginning? You know, you say it depends on the
  situation, but where does the bulk of it lie?

            GEN. RODRIGUEZ: I don't have the exact figures on that and everything. But like I said, it has been a continual
  improvement from the last seven months. And as you know, last April we had some huge challenges with trying to push the
  people too far too fast, and we had some setbacks. So they have taken a -- they relooked that and they continue to grow that
  Iraqi security forces over time, and that's been moving forward, constantly improving. And the commanders on the ground are
  happy with their -- the ability of the units that are that good to interact with coalition forces.

           MR. DIRITA: Yeah?

         Q Yeah, Larry, the Herrington report, we're told, was passed to General Fast who passed it to General Sanchez, who
  launched an investigation into the activities of this Task Force 121. Can you tell us what the status of that investigation is? I
  mean, was it rolled into the Formica investigation, or a separate one?

             MR. DIRITA: Well, I'm going to do my best on this one, but the Herrington report generated something that became
  what they call this 15-6 inquiry by, I think, a Captain Cox, and that generated itself a large number of sort of findings and
  recommended improvements. And that occurred about the time that the abuses were coming to light. I think it was in late
  January of '03 when that report was completed and provided, and at that point is when a host of other investigations began.
  And ultimately the General Formica investigation on special operations forces, which will undoubtedly find some of the same
  things -- I mean, we've got special operations forces that are already involved in courts-martial based on -- and that was, I
  think, reflected in The Washington Post story.

           Q Right.

           MR. DIRITA: So I'm not sure that I'm able to parse exactly the lineage of the Herrington to Cox to Formica, but I know
  that it all happened almost contemporaneously with the disclosure of the -- the first public disclosure of what we learned in
  mid-January, and at that point a number of investigations began.

           And I would also say, looking back, there had already been some reviews. General Miller had already gone over and
  found a lot of the same things, to some extent, that Colonel Herrington found; in other words, a prison system that needed
  attention in terms of resources, and their doctrine needed a review, and that sort of thing. And a lot of that's already, obviously,
  been provided. So -

           Q New subject?

           MR. DIRITA: Yes.

          Q By the way, that's how we used to do it. We used to say "new subject," and then all the reporters would get to ask
  about that subject, nobody got cut off, and went to the next subject.

           MR. DIRITA: Okay. I should do this more often. I could learn that. (Laughter.)

           Q But my subject is -

           Q You're getting it!
https://www.globalsecurity.org/military/library/news/2004/12/mil-041203-dod01.htm                                                     10/12



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           Q I second that! (Laughter.)

           Q General Myers said yesterday that his -

           MR. DIRITA: You're not going to have me to kick around much longer! Go ahead. (Laughter.)

           Q New subject?

           MR. DIRITA: (Chuckles.) New subject?

           Yes, sir.

          Q General Myers said yesterday that his concerns with the intelligence reform bill appear to have been addressed in
  the conference committee on the Hill, but Congressman Hunter's staff suggests that there's still significant disagreement
  about the chain of command issue. Can you just tell us what your understanding is of whether the concerns about the chain of
  command and getting intelligence to troops on the field has been resolved in the conference report?

           Q New subject? (Laughter.)

           MR. DIRITA: I have absolutely nothing to add to what General Myers said yesterday. And you know, the negotiations
  on that legislation are being intensely engaged by -- with the White House and the committees, and we're just going to -- I just
  have nothing to add to what -- I have nothing to add to what the chairman said yesterday.

        Q Can you say whether General Myers was under any pressure from either the White House or Secretary Rumsfeld to
  change his position?

           MR. DIRITA: Absolutely not. Absolutely not.

          Q And the last subject is your nomination to be assistant secretary of Defense for Public Affairs has been withdrawn
  by the White House.

            MR. DIRITA: I asked that it be withdrawn. But let me correct something first, and then if anybody really cares about
  that last one I'll be happy to talk about it. I said Captain Cox. I've just been corrected. Lieutenant Colonel Natalie Lee (sp) did
  the 15-6 investigation.

           (As an aside.) Is that right?

           I don't know where I got Cox. There's a lot of these reports that I've -

           Q Natalie Lee (sp)?

         MR. DIRITA: Natalie Lee (sp) did an investigation as the result of the Herrington report. And I think my timing remains
  the same. It came out about the end of January and other things.

           Q Where is that report?

          MR. DIRITA: I don't know. And I'll see if we can learn. I don't know what became of it, if it just got rolled into Taguba at
  that point, or I'm not sure what. As I said, a lot of other investigations began around that exact same time.

           Q And why did you ask for your nomination be withdrawn?

            MR. DIRITA: It just seemed as though -- the 108th Congress was coming to a close. I thought there was a possibility
  that -- I had been nominated a year ago, more than a year ago now. The Senate had taken no action on my nomination, and it
  just seemed like during a period of transition, to be confirmed at that point, were I to be confirmed, when there's a transition
  going on, I just thought it would be better to have a clean slate, start over. There's a new Congress coming. You know, it gives
  everybody an opportunity to take another look at everything. So as a result, I'll just continue what I'm doing, inadequately but -
  - (laughter).

           (Cross-talk and laughter.)

           MR. DIRITA: Thank you folks.


   http://www.defenselink.mil/transcripts/2004/tr20041203-1721.html

https://www.globalsecurity.org/military/library/news/2004/12/mil-041203-dod01.htm                                                  11/12



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                        U.S. Department of Defense
                        Office of the Assistant Secretary of Defense (Public Affairs)
                        News Transcript




Presenter: Commander, Multinational Division Center                                                                                July
and 3rd Infantry Division Maj. Gen. Rick Lynch                                                                                     06,
                                                                                                                                   2007

                                         DoD News Briefing with Maj. Gen. Lynch from Iraq



(Note: General Lynch appears via teleconference from Iraq.)

MODERATOR: Today's briefer: Major General Rick Lynch, commander of Multinational Division Center and the 3rd Infantry
Division. His command took responsibility for operations in this sector in April, and he last spoke with us in May of this year. And
today he's coming to us from the division's media center at Camp Victory. General Lynch has some opening statements and then
will take some questions.

So with that, General, let's go straight to you.

GEN. LYNCH: Thanks.

And hey, folks. It's good to be back with you again today. It's important to do this. I know you're busy. Candidly, I'm kind of busy as
well. But we got to make this time routinely to talk, so you better understand what we're doing over here.

This morning I want to cover several topics with you. I want to talk about Operation Marne Torch. I want to talk about post-combat
operations. I want to talk about the support we're receiving from Iraqi citizens, and I want to give you an insight into upcoming
operations.

As you know, I'm blessed to command Multinational Division Center and Task Force Marne, composed of elements of my 3rd
Infantry Division, the 25th Infantry Division out of Alaska, and the 10th Mountain Division and many other magnificent organizations.

Our operating environment is the southern belt of Baghdad, both the Mahmudiyah and the Madain qadhas, and four of the southern
provinces: Babil, Najaf, Karbala and, as of the 20th of June, Wasit province.

Our task and purpose is clear: block accelerants of violence into Baghdad, secure the population and defeat sectarian violence.

Let me give you a sense of how I think things are going.

First, let's talk about Operation Marne Torch. As you know, Operation Marne Torch is part of the Corps offensive Operation
Phantom Thunder, and it's been going on now for about three weeks. And it's designed to eliminate enemy sanctuary areas in the
Tigris River Valley area of Arab Jabour, which is essentially the southeast quadrant of the Baghdad province.

During this operation, we focus on reducing the flow of accelerants of violence into Baghdad. Accelerants are defined as anything --
insurgents, weapons, materiel, IEDs, VBIEDs, ideology, anything -- that, left uncontrolled, would affect the security in Baghdad.

Operation Marne Torch has evolved into having three primary characteristics. We move fast and we strike hard, both on the ground
and in the air. We engage with the local population and solicit their cooperation. And we exploit all forms of intelligence. All of our
operations in Marne Torch are intelligence-driven.

Together with the Iraqi army and the Iraqi national police, we have discovered and destroyed weapons caches, we've interdicted
boat transportation used by the enemy, and we've detained or killed numerous insurgents.

We are having an impact on the enemy, and we're experiencing some operational success.

But we're still in the early stage of the operation, way too early to see dramatic changes in the security situation in Baghdad.

Let me give you one example of that success. During Operation Stampede 3, which was conducted by our 3rd Brigade Combat
Team, we uncovered two large caches of ordnance that could have been used to make a number of IEDs. We found more than 80
mortar rounds, 10 rockets, 15 pounds of plastic explosives, several artillery rounds, fuses, blasting caps and other components to
be used to make IEDs. Obviously taking these munitions out of the hands of the enemy has made the area safer for both Iraqis and
coalition forces. That was one big weapons cache but just one of the 41 caches we've found so far during Marne Torch over the
past three weeks. We've also found 54 IEDs, getting them before they can get us or Iraqi civilians or Iraqi security forces, and we

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destroyed 45 boats -- boats that were being used by the enemy to transport insurgents and munitions.

During the operation, we've run nearly 500 patrols, many of them jointly with Iraqi security forces. We've conducted at least 22
raids, 32 cordon and search operations and 70 airstrikes. We've made extensive use of airpower -- B-1 bombers, F-16s and F-18s.
We've cleared more than a thousand buildings and detained more than 230 insurgents, including 28 that we classify as high-value
individuals, among them three of our Division 15 high-value targets.

We have taken real estate from the insurgents, and will now hold on to this terrain until competent, capable Iraqi security forces can
provide the sustained security presence that'll keep the extremists away from the people of Iraq and from the government.

We have seen cooperation from the people that live in Arab Jabour; candidly, as many of you know, much more than I saw the last
time I was here, which was only about a year ago, and that's indeed an encouraging sign of support. This support has come in the
form of openness to us, peaceful coexistence with us and importantly in the form of information. In Multinational Division-Center
now, we occupy 29 patrol bases out with the Iraqi population, and we're finding this openness with them to exchange information
and help us with security.

What I sense is a growing discontent amongst the local communities, the tribes and their leaders, and we've benefitted from this
discontent. Just as it happened in Ramadi, volunteers in an operational environment have emerged, and they say enough; enough
of the violence, enough of the killing by al Qaeda; let us be part of the security forces.

What I believe is al Qaeda has worn out its welcome. They've overplayed their hand, and their tactics have indeed backfired.

Here's an example just on Wednesday. An Iraqi man out in Madain qadha of the Baghdad province -- that's just east of the Tigris
River -- gave us information that led to the discovery and destruction of a massive weapons cache. We know this reduced the
number of IED attacks on the Iraqi population, on the Iraqi security forces and on the coalition forces that are operating in that area.

Now we're entering another phase of our operation in Marne Torch, and it's entitled post-combat operations. Candidly, while we do
post- combat operations, we're continuing to do combat operations in other portions of our battle space. We're reaching out to the
Iraqi people with reconstruction efforts and humanitarian assistance.

Let me give you some examples. Task Force Marne has significantly improved the water infrastructure in Arab Jabour.
Reconstruction of pumping stations and pipelines, repair of canals have had a positive impact on the lives of more than 2.2 million
Iraqis. The bowery (ph) pump plant has been repaired by the Madain qadha government with financial assistance from us, and
water is now flowing through the canals for the first time in several months. The Madain qadha's economy is agrarian based, so as
you well know, this will indeed allow the farmers to prepare for the fall growing season, and as a result of that, they're very happy
that coalition forces are there.

As part of our economic engagement strategy, we've identified six state-owned enterprises that will receive funding to improve their
capacity. Improving their capacity will create a lot of new job opportunities for local people, especially military-age males, the kind of
guys who want to get off the streets and into jobs so they can support their families and restore their dignity. You know, with the
state-owned enterprises that we're dealing with, between now and October we believe we can employ 2,800 Iraqis, military-age
males. Now, you might say that's not a big number, but that's 2,800 people who aren't going to be planting IEDs, because they got
proper employment.

We're piloting a scrap metal initiative. There's lots of scrap metal in Iraq, and this initiative has the potential of creating a significant
number of jobs and boosting economic development in North Babil. We're also advancing a government engagement strategy. The
focus of this is to create stronger links between the provincial governments and the national government. Task Force Marne is
acting as a conduit to the central government, and this month we'll host our first governors conference down in Hillah.

We chair bi-weekly security meetings with the Iraqi security forces and the local government. Just this last week, my 3rd Brigade
Combat Team hosted the Madain qadha bi-weekly security meeting at their forward operating base. And these meetings develop
combined Iraqi and coalition security plans for the coming week. Both sides share intelligence and develop future operations.

Even though we're working post-combat operations, intensive combat operations are still necessary.

As I've said before, in Multinational Division Center area, I believe there are four enemy sanctuaries, and Marne Torch is attacking
one of those sanctuaries. And that's a Sunni extremist area, but there are others. There are additional enemy sanctuaries in our
battlespace and they must be disrupted, just like Arab Jabour with Marne Torch.

Of note, the enemy is not just Sunni extremist networks. Shi'a extremists remain disruptive and unhelpful antagonists, and we find
that they're often unfortunately foreign-supported. For the people of Iraq to live in peace and prosperity, these elements must be
defeated as well. Upcoming operations will target both Shi'a and Sunni extremists.

We can't do this all by ourselves. We need the assistance of the Iraqi people, and I'm seeing more and more of that. I'm seeing
more of the local population saying, we're tired of the violence; let us be part of the security; let us be part of the solution.

We also need the best effort of the Iraqi security forces. By the way, I sense that they're getting better every day. In my battlespace,
I deal with two Iraqi army divisions: the 6th Iraqi Army Division and the 8th Iraqi Army Division. And those division commanders are
competent, capable military professionals who are Iraqis. They're not Shi'a; they're not Sunni. They're Iraqis, and their enemy is

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anybody that's against Iraq. And they've got competent subordinate commanders as well.

Working with the Iraqi army, we have caught and detained several individuals that we classify as high-value targets: the baddest of
the bad guys. And taking these folks off the streets give new hope to the communities where they were hiding. You've heard me
say before that there aren't enough Iraqi security forces in my battlespace. That remains the case, but I have room for optimism.
There is a significant effort by the Iraqi government to build security forces that are multi-ethnic, non-secular and that can bear the
weight of Iraqi security responsibility.

Now recently we had a graduation down in North Babil of 1,000 recruits for Iraqi police, and those recruits are both Sunni and Shi'a,
and they'll be used across North Babil. They'll provide security. In Yusufiya, in the center of my battlespace, we just had a recruiting
drive for the Iraqi army, and 900 people enlisted in the Iraqi army.

So there is indeed room for optimism. I see progress, but there needs to be more. And with that, I'm happy to take whatever
questions you might have.

MODERATOR: Thank you, sir.

Let's start off with Kristin.

Q Sir, it's Kristin Roberts with Reuters.

I want to follow up on the statements you made about the progress you're seeing in Iraqi security forces. We've heard from you on
many occasions about the lack of competent and capable Iraqi security forces throughout many areas of your area of responsibility.
Can you please characterize for us the pace of improvement that you're seeing and give us more detail about the about the type of
progress they've been able to notch over recent weeks?

GEN. LYNCH: Oh, that's a great question. What I've said is across Multinational Division-Center's battlespace, which is about the
size of the state of West Virginia, there is a significant shortage of Iraqi security forces. The ones that I deal with, particularly the
Iraqi army, I find to be competent and capable. I go out every day four hours worth of battlefield circulation and where I go I
normally run into coalition forces side by side with Iraqi army forces. So I went to a patrol base just yesterday and I found a great
Iraqi army captain, and he was so very proud of what he's doing at that patrol base and proud of the security he's providing for the
local population. The issue that I got in my battlespace has been the Iraqi police. Either it doesn't exist or in some cases the Iraqi
police throughout there are either not competent or corrupt, and that's a problem. But that's working to be improved.

In north Babil, where they just had that graduation of a thousand police recruits, the fact that they are both Shi'a and Sunni is room
for optimism. When I talked to the provincial director of police in Babil, he tells me where he's going to place these forces, and it is
exactly the right place to ensure security.

So the issue comes down to number of Iraqi security forces. We can debate all the time about quality, but the issue is not just
quality, it's also quantity. You know, Arab Jabour, which has become an enemy sanctuary -- and that's why we're doing Marne Torch
-- had a total void of any Iraqi security forces, and that's how it became an enemy sanctuary. That's what we have to preclude.

So we just got to work with the Iraqi government to continue to build more Iraqi security forces, and I see improvement in terms of
the numbers of recruits.

MODERATOR: Pauline.

Q Pauline Jelinek of the Associated Press. If I could just follow on with the Iraqi security forces subject, you mentioned terrain has
been taken and that potentially you'll like to hand it off to them. Can you talk about how that's going to work, how soon that could
happen in some areas, and just generally describe when you think that can happen?

GEN. LYNCH: Yeah, you know, the time issue and the time question is always the most difficult question. Everything takes time and
everything takes longer than you think it's going to take. Some of the patrol bases -- the 29 patrol bases we have, we've already
turned over to the Iraqi security forces. Remember, it's clear, then hold and then build, and what we do is we work through Marne
Torch -- is we work aggressively with the Iraqi security forces, force to clear, and then there's got to be somebody to hold. And we're
not going to go any deeper in Arab Jabour than we can hold, either coalition forces have to stay there or competent Iraqi security
forces have to stand up to the plate and say, "I got this one. Go ahead and move south."

And that's happened now in some of the patrol bases. In other places, there just aren't any Iraqi security forces, so there's nobody
to hand the security off to, so we have to stay there. And that's why I'm excited about the locals. I'm seeing more and more of the
local population saying, "Hey, let us be part of the security. Let us be part of the security." They're not asking for weapons, they're
not asking for ammunition. All they're asking for is recognition and some legitimacy, but that gives me some room for optimism.

MODERATOR: Dave.

Q General, Dave Wood from The Baltimore Sun. We've heard over and over during the past couple of years that the critical part of
this whole U.S. effort in Iraq is not the military part, it's the economic and political part of it. In your AOR, is the United States
government doing enough projects like the 2,800 jobs you mentioned you hope to get secured before October -- is there enough of
that happening or are you disappointed that not more is happening?

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GEN. LYNCH: Well, again, I was here for an entire year with General Casey as his deputy for Strategic Effects, and I worked the
political and the military and the economic lines with the U.S. embassy. And what I see now when I come back is I see marked
improvement with these things that we call embedded PRTs, Provincial Reconstruction Teams. And all of my brigades will soon
have embedded PRTs, and they focus on capacity building at the local level, at the nahiya level, at the city level, and we're seeing
progress.

For example, in one of my brigade combat teams working their EPRT, they've identified eight model communities, and they're
working to enhance not just the security but the economic situation in those model communities, and I see great progress there.

Where I'm disappointed and where we got a lot of work to do is at the provincial level. We have to build capacity in my battlespace
at the provincial level. We've got four provinces -- Babil, Karbala, Najaf and Wasit -- and there has to be competent, capable
governors and provincial councils and folks inside the government that really focus on the needs of the Iraqis in their province and
not on Shi'a or Sunni kind of lines. That's what's most important. So I think we got to work harder to ensure we get capacity at the
provincial level, and PRTs are designed to do that.

MODERATOR: Courtney.

Q Hi, General. This is Courtney Kube from NBC News. You mentioned that the Shi'a extremists in your area you're seeing are
forward-supported. Can you elaborate on that? I mean, who specifically is supporting them, and what's the evidence that you have
that they are being supported?

GEN. LYNCH: Yeah, thanks, Courtney. I appreciate the question. You know, across Multinational Division Center, there are three
groups of enemy: It's Sunni extremists, it's Shi'a extremists and then it's those supported by Iranian influence. And what I have is
just indicators of Iranian influence, and it's causing us great concern.

Since we've been here, the 4th of April, we've had 29 EFP attacks; 18 of those were effective attacks, and it killed nine of our
soldiers. EFP technology has traced directly back to Iran, so those things that are coming from Iran, they're causing a great
concern.

Over the last three months, we've found weapons caches -- four specific weapons caches, whereas we worked our way through
those caches, we found Iranian munitions. We found Iranian rockets, we found Iranian mortars clearly marked with Iranian
markings, and that is just unacceptable. So what's happening is these bad things are coming from Iran into Iraq, they're finding
themselves in the hands of the extremists in our battlespace, and they're being used against coalition forces, against Iraqi security
forces and against innocent Iraqis, and that just has to stop.

MODERATOR: Mike.

Q General, it's Mike Mount with CNN. My understanding is there's about 1,200 MRAPs now operating inside Iraq. Do you have any
MRAPs in your AOR? And if you do, how are they performing against IEDs? And can you say whether, if you do have any, how are
they performing against EFPs?

GEN. LYNCH: Yeah, Mike, I have none of the MRAPs, and I'm not sure when they're coming in. I know there's a plan on the part of
the Army and the theater here to get us the MRAPs; we have none now.

What I'm working with are the up-armored humvees. And now we're using the additional capability to enhance the protection on
Bradleys. So for example, yesterday we had a deeply buried IED attack on one of our Bradleys. And when I look at their Bradley
now, it's unrecognizable. It looks like two sets of tracks. But the soldiers in that Bradley were able to walk away from that attack.
None of them were killed. One was pretty severely injured. But the up-armoring of their Bradleys helped a lot.

We're all excited about getting the MRAPs. Anything that improved the force protection of our soldiers, we're all excited about it.

Q General Lynch, this is Guy Raz from NPR. I was hoping that you could put your area of operation within the overall context of the
strategy in Iraq -- the clear, hold, retain strategy. So for example, last week -- earlier this week, General Fil explained that in
Baghdad, since mid-February, his troops have managed to clear or retain about 48 percent of the neighborhoods in Baghdad. And
he divides Baghdad into about 470 neighborhoods.

In your area of operation, in your battlespace, could you sort of quantify what percentage of it is now in the clear or now in the hold
and retain phase for us?

GEN. LYNCH: That's a good question, Guy. And it's -- you know, Joe -- Joe's one of my best friends, and we've grown up together,
and we call -- we talk all the time. But his battlespace is really different than mine. He's fighting inside the city of Baghdad, and --
but the majority of our area, this battlespace the size of the state of West Virginia, is a rural area.

But to get to your question, I'd say there's about 70 percent of our battlespace that has competent security forces occupying that
battlespace. And there's still about 30 percent where there's not the security force it needs to be, and that's why these surge
brigades were so very important. And that's why these operations, the one that we're doing now with Marne Torch and the ones that
are fixing to come up to take away the enemy's sanctuary, are so very important.


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So your question's a good question. I'd say about 70 percent we're in the clear and hold piece, and then there's about 30 percent
that we're just taking the fight to the enemy right now.

Q (Off mike) -- you say is in the hold and retain phase?

GEN. LYNCH: Yeah, in the retain phase, you know, we have significant pieces of our area where we're doing major construction
operations with the Iraqi government, the local government, the provincial government. And I cited some out in the Madain qadha.
So there is indeed a portion of my battlespace that's transitioned from clear to hold to retain. And again, it's about 70 percent where
I'm comfortable that we've got security forces there, and we're working with the local government, the local people to maintain a
persistent security presence. But there's about 30 percent that's still out there, that's enemy territory, and we have to take the fight
to the enemy.

What the surge brigades allow me to do is have sufficient forces to take the fight to the enemy. That's what you're seeing now in
Marne Torch and you'll see in upcoming operations over the next couple of months.

MODERATOR: Pam?

Q Sir, this is Pam Hess with United Press International. I know that you just got there in April, but could you explain to us how this
area got to be an enemy sanctuary? You mentioned that the Iraqi security forces weren't good, but who turned over that
battlespace to them? Who was watching it to make sure that it didn't go bad?

And once you get done with your work, looking forward, how long do you need to keep up this intense pace of operations and
presence to prevent it from going back to being an enemy sanctuary?

GEN. LYNCH: Yeah, Pam, thanks for the question. You always ask great questions.

The reason it became an enemy sanctuary is because nobody was there. You know, if you look back over the last four years in
Arab Jabour, there's been a coalition operation there, but it never stayed there. And what happens with the enemy forces is, they fill
the void. As soon as the security forces leave, the enemy comes back.

He's got to have a place where he can store munitions, build IEDs, conduct training, and places closer to Baghdad is what he's
looking for, and that's what happened. So the idea of going there and then leaving doesn't work. You have to go there and you have
to stay with a sustained security presence, and that's what we're trying to do now.

And again, you go back to the timing issue. I see these aggressive offensive operations that deny the enemy the four sanctuaries
we have taking us through July, August and into September. But by then, based on our calculations, we will have denied the enemy
those sanctuaries and we can transition into the hold and retain phase in those sanctuaries.

Q Sir, it's Jennifer Griffin from Fox News.

You talked about the Iranian influence. And Senator Joe Lieberman had an editorial in the Wall Street Journal this morning where
he quoted General Bergner from Monday, talking about Hezbollah's influence. He called Iraq, Iran's proxy war.

Have you captured anybody who has come across from Iran? Do you have any high-value detainees that prove that Iranian
influence? And can you give us more details about what you're seeing in terms of Iranian influence?

GEN. LYNCH: Now thanks, Jennifer.

We haven't captured anybody that we can directly tie back to Iran. What's concerning to me is the soldiers that we're losing to EFPs
and, without a doubt, the EFPs are traced back to Iran. Their capability to manufacture those EFPs, the technology behind them,
they all come from Iran. And to have the significant rocket attacks and the mortar attacks we have and then to find these weapons
caches with Iranian rockets and mortars are of great cause for concern.

And then we study the enemy in our sector all the time, and there are indeed JAM special groups that are going into Iran,
conducting training, refitting and then coming back to attack coalition soldiers and Iraqi security force soldiers. So I'm not into the
politics of what's going on. I just tell you. We've got Iranian munitions. We've got EFPs attacking our soldiers and we've got training
being conducted in Iran, all of which we're concerned about and we're working against.

Q Sir, it's Peter Spiegel with the Los Angeles Times. I just wanted to follow up on Pam's question. It's another timing one. I know
you're not usually excited about that.

But you mentioned in your opening remarks that it was way too early to see positive effects yet really at all in Baghdad. You may
have noticed, in the last few days, we've had a bit of a speeding up of what General Petraeus calls the Washington clock here -- a
lot of moderate Republicans saying, we don’t think the surge is working and whatnot and we've got to switch to a new strategy.

I'm just curious, as a division commander, to what extent you follow that debate and to what extent that affects your strategic
thinking as you look forward over the next few months in terms of what amount of time you're going to have with these extra surge
forces to do what you need to do.


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GEN. LYNCH: Yeah, I spend no time thinking about the political clock. I spend all my time focused on killing or capturing the enemy
forces to do what we can do to build capacity and government and economic development in my battlespace.

That's my focus. And that, indeed, takes time.

So we didn't get the surge brigades here until ready for combat operations on the 15th of June. We've been working through this
now for about three weeks, and as I showed you, significant progress. When you take away that many caches and that many IEDs,
you kill about 50 of them, you detain a couple hundred more, that indeed is going to have an effect on the security situation in
Baghdad. The problem is you're not going to see an instantaneous measurable effect, it's going to take a while. And when we start
our next operation that's focused on both Sunni extremists and Shi'a extremists, you'll see effect, but it's not going to be an
instantaneous effect, it's going to take some time.

So we keep getting the time questions, I don't worry about the political clock. I'm focused on killing or capturing the enemy in our
battlespace. I'm focused on helping the Iraqi people to get some kind of a sustained security presence. That's what I focus on, and
it's going to take a while. It's going to take a while.

Like I asked Pam, I think we're going to be doing detailed kinetic operations to deny the enemy sanctuary. It's going to take me July,
August and end of September to do that, and then we'll be able to work the build and retain piece with more fidelity.

Q In answer to Guy's question, you said there's about 30 percent of your AOR that still does not seem to -- you haven't sort of
poked around there yet. It would seem that with all the surge -- as you said, all the surge brigades in place now for about three
weeks, in theory you should have all the forces you need to do that kind of stuff. Is that because there's been extra forces moved
up to Diyala to deal with that unexpected contingency up there, or it's just a matter of flow on of forces and flow on of operations?

GEN. LYNCH: Yeah, what you've heard before from all of the commanders here in Iraq is we never have enough forces, and we
could use even more forces. It doesn't have to be coalition forces, but for sure Iraqi security forces to reach out.

So in my battlespace, there's 30 percent of the area that we still have to get to. Now, candidly, with the surge forces I've got the
formations now that enable me to do that.

Q General, it's Jamie McIntyre from CNN. Just again to follow up on the same theme, if -- as you're no doubt aware, the mood in
Washington is increasingly toward bringing those extra surge forces home sooner rather than later, in fact, some time in the next
couple of months. How would that affect your ability to carry out your mission, given that you've said it's those surge forces that
have given you the ability to go into these places?

GEN. LYNCH: It would be a mess, Jamie. It'd be a mess. Those surge forces are giving us the capability we have now to take the
fight to the enemy, and the enemy only responds to force and we now have that force. You know, we can conduct detailed kinetic
strikes, we can do cordon and searches, and we can deny the enemy the sanctuaries. If those surge forces go away, that capability
goes away, and the Iraqi security forces aren't ready yet to do that.

So now what you're going to find if you did that, is you'd find the enemy regaining ground, re-establishing a sanctuary, building
more IEDs, carrying those IEDs in Baghdad, and the violence would escalate. It would be a mess.

Q (Off mike.)

MODERATOR: Al, one more.

Q General, it's Al Pessin from Voice of America. A follow-up on Jamie's question. What can you say to the members of Congress,
who seem to be increasingly impatient? What can you say to them to convince them to let you keep the surge forces to the end of
the year or beyond or whenever you think you need to?

GEN. LYNCH: You know, people ask me all the time why I have so much confidence. I've got great confidence because I got great
soldiers. And they're here fighting because they want to fight terrorists here so they don't have to fight terrorists back home. That
sounds like a bumper sticker, but that's what they believe. They believe that if they don't do what our forefathers did, our children
and their children won't enjoy the freedoms that we enjoyed coming up. So they're continuing to fight the good fight.

And candidly, if we don't fight the good fight here, I believe we're going to have to fight the fight back home, and none of us want
that to happen. None of us want to experience 9/11 again. None of us want to have attacks on the American soil. So we got to fight
the fight here.

And we need these surge forces. They came in for a reason. They're being used for the reason they came in. It's going to take
some time to mature the situation. Over time we can turn the area over to Iraqi security forces, and then we'll be ready to do
something that looks like a withdrawal. But that's not going to happen any time soon.

Q When you say any time soon, if not September, which many in the United States would like to see, can you say maybe we'll be
ready to do that in January, maybe in March? I mean, what kind of hope can you provide?

GEN. LYNCH: Yeah, I wish I had some crystal ball. You know, over the last 30 years of my service to our nation, I've developed
"Lynch's rules of warfighting," and one of the rules is, everything takes -- everything is timing, and the second rule is, everything

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takes longer than you think it's going to take. So it's silly for military professionals to say, "Let me predict the future." There are so
many conditions over here that are variable, there are so many unknowns -- in how the enemy's going to respond, how the Iraqi
security forces are going to respond, how the government of Iraq is going to do in building these Iraqi security forces. There are
unknowns. So to say here's the date it's going to be okay would just be silly.

MODERATOR: The absolute last one.

Q General Lynch, it's Guy Raz again from NPR. Just a sort of a follow-up on some of the previous questions. As you know, the
overall counterinsurgency strategy, time and troop numbers are your lifeblood. It's what you need to succeed. So I'm wondering -- I
mean, you have to plan in the future. You're looking at what's going to happen in six months, what's going to happen in nine
months, where you're going to be, what kind of time you're going to have, what kind of numbers you're going to have. And clearly,
with the debate taking place in Washington, time and numbers are commodities you may not have. So, I mean, you have to be
worried about that to some extent, aren't you?

GEN. LYNCH: Well, the advantage of being a division commander is I got clearly defined battlespace and I got a clearly defined
task and purpose, and I now have the forces I need to conduct that mission. What I can't tell you is how long it's going to take to
secure the population, defeat sectarian violence. It's going to take however long it takes, and you just have to be sensitive to that.

What you don't want to do is have military commanders who arbitrarily pick dates and those dates may not be able to be
substantiated on the ground based on changing conditions.

So I know you want to -- you want some kind of definitive answer to the time question, but we can't give that to you. What we can
give you, in fact, is we've got the forces we need right now, we're working with the Iraqi security forces to have sustained security
presence, and we'll continue doing what our nation needs us to do.

MODERATOR: Well, sir, we appreciate it. We have come to the end of our time. We are certainly glad you shared some thoughts
with us today. We'd like to give it back to you for any closing remarks.

GEN. LYNCH: Yeah, first, just like I started, thank you for taking the time. Thank you for what you do, and what you do is very
important to the American public. And just know that the commanders over here appreciate what you do.

You know, on the 4th of July, I had the great opportunity to be involved in the re-enlistment ceremony and the citizenship ceremony
for about 600 great Americans; 500-plus soldiers re-enlisted, almost 200 soldiers became American citizens, and by golly, I was so
very proud to be part of that. And every day when I'm out and about wearing 60 pounds of body armor in 111 degree temperature, I
re-enlist soldiers, and they raise their right hand and say, "I'll support and defend the Constitution of the United States against all
enemies, foreign and domestic." And they're doing that between attacks, between memorial services, between mortar rounds
coming in, so I just take such confidence in the fact that we got great Americans who have committed themselves to service to our
nation, and I'd like you to have that same encouragement.

You know, it bothers me when people say the Army is on the verge of breaking. We'll never break because we've got great soldiers.

Thanks for what you do, and thanks for spending time with me this morning. Thank you.

MODERATOR: Thank you again, sir.

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 ANSAR AL-ISLAM
 accordance with paragraph 13 of resolution 1822 (2008) and subsequent related resolutions, the ISIL (Da'esh) and Al-Qaida Sanctio
ommittee makes accessible a narrative summary of reasons for the listing for individuals, groups, undertakings and entities included
e ISIL (Da'esh) and Al-Qaida Sanctions List.

De.098
NSAR AL-ISLAM
 te on which the narrative summary became available on the Committee's website: 19 November 2010
 te(s) on which the narrative summary was updated: 18 January 2018
                                                         19 July 2019
                                                         14 November 2019
                                                         23 April 2021
 ason for listing:
 sar al-Islam was listed on 24 February 2003 pursuant to paragraphs 1 and 2 of resolution 1390 (2002) being associated with Al-
aida, Usama bin Laden or the Taliban for “participating in the financing, planning, facilitating, preparing or perpetrating of acts or
 tivities by, in conjunction with, under the name of, on behalf or in support of”, “supplying, selling or transferring arms and related
ateriel to” or “otherwise supporting acts or activities of” Al-Qaida (QDe.004) and Usama bin Laden.

dditional information:
 sar al-Islam, formerly known as Jund al-Islam, is a terrorist group operating in northeastern Iraq with close links to and support from
 Qaida (QDe.004). Al-Qaida and Usama bin Laden (deceased) participated in the formation and funding of Ansar al-Islam, and Ansar
 am has provided safe haven to Al-Qaida in northeastern Iraq. Ansar al-Islam’s predecessor, Jund al-Islam, was formed in September
 01. Ansar al-Islam came into being with the blessing of Bin Laden after its leaders visited Al-Qaida in Afghanistan in 2000 and 2001.
n Laden provided Ansar al-Islam with an estimated USD 300,000 to USD 600,000 in seed money.

sar al-Islam has received training and logistical assistance from Al-Qaida. Members of Ansar al-Islam have traveled to Afghanistan t
in with the organization, while Ansar al-Islam’s non-Iraqi members are believed to be Al-Qaida trained veterans of conflicts in
ghanistan and Chechnya, the Russian Federation.

 sar al-Islam also cooperated closely with senior Al-Qaida operative Ahmad Fadil Nazal al-Khalayleh (deceased), also known as Abu
usab al-Zarqawi, whose network established a poisons and explosives training center in northeastern Iraq controlled by Ansar al-Isla
rqawi’s lieutenants helped run this camp, which has taught operatives how to produce ricin and other poisons.

 sar al-Islam has conducted attacks in northeastern Iraq. This organization has been located and primarily active in northern Iraq, but
so maintained a presence in western and central Iraq.

 lated listed individuals and entities:
 Qaida (QDe.004), listed on 6 October 2001

mar Mahmoud Uthman (QDi.031), listed on 17 October 2001

 ad ben Mekki Zarkaoui (QDi.139), listed on 12 November 2003

 mal ben Maoeldi ben Hassan al-Hamraoui (QDi.140), listed on 12 November 2003

axamed Cabdullaah Ciise (QDi.141), listed on 12 November 2003

 di Abd el Samie Abou el Yazid el Ayashi (QDi.142), listed on 12 November 2003

amadi ben Abdul Aziz ben Ali Bouyehia (QDi.143), listed on 12 November 2003

ohammad Tahir Hammid (QDi.144), listed on 12 November 2003

ohamed Amin Mostafa (QDi.147), listed on 12 November 2003

oureddine ben Ali ben Belkassem al-Drissi (QDi.149), listed on 12 November 2003

https://www.un.org/securitycouncil/sanctions/1267/aq_sanctions_list/summaries/entity/ansar-al-islam              PX528                    1/2
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 Azhar ben Khalifa ben Ahmed Rouine (QDi.150), listed on 12 November 2003
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bd-al-Majid Aziz al-Zindani (QDi.156), listed on 27 February 2004

ycal Boughanemi (QDi.188), listed on 29 July 2005

bdelkader Laagoub (QDi.190), listed on 29 July 2005

rhad Kanabi Ahmad (QDi.203), listed on 6 December 2005

essim ben Romdhane Sahraoui (QDi.222), listed on 2 August 2006

erai Abdefattah Khalil Zoghbai (QDi.223), listed on 2 August 2006

ajmuddin Faraj Ahmad (QDi.226), listed on 7 December 2006

ber Abdallah Jaber Ahmad al-Jalahmah (QDi.237), listed on 16 January 2008

ubarak Mushakhas Sanad Mubarak al-Bathali (QDi. 238), listed on 16 January 2008




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               IN THE L EVANT, I RAQ ,
                 AND A FGHANISTAN

                                     k
                          FREDERICK W. KAGAN
                             KIMBERLY KAGAN
                             DANIELLE PLETKA




           A REPORT OF THE AMERICAN ENTERPRISE INSTITUTE

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                                                Introduction


 T     he conflict between Iran and the United States
       began in 1979 with the Iranian Revolution and
 the seizure of the American Embassy in Tehran. Born
                                                             influence in post-Saddam Iraq. Indeed, mounting evi-
                                                             dence of Iranian support for Shia and Sunni groups
                                                             fighting American troops in Iraq generated deep con-
 partly of ideological differences and partly of real and    cern in the United States, and sporadic reports of simi-
 perceived differing national interests, it has continued,   lar Iranian support to the Taliban in Afghanistan have
 alternately hot and cold, for almost three decades and      received short bursts of attention. But Tehran ensured
 seems unlikely to end soon. Like most previous con-         its place in the spotlight as it rapidly moved toward an
 flicts, its conclusion cannot be foreseen. Many such        escalation of tensions over its nuclear program.
 struggles, like the Anglo-German tensions between               The policy debate in the United States has gener-
 1871 and 1945 and the centuries-long tensions               ally centered around a single issue: will (or should)
 between Britain and France, lead to full-scale war.         the Bush administration launch military strikes
 Others, like the Anglo-Russian or Russian-Ottoman           against Iran? Most have seen the Iranian nuclear pro-
 tensions throughout the nineteenth century, lead to         gram as the likeliest trigger for a U.S. attack. Those in
 more limited conflict. And some, like the U.S.-Soviet       the United States and Europe who oppose such a
 Cold War, are resolved without direct armed con-            reaction have attempted to design a program of sanc-
 frontation. One key to resolving any such conflict is       tions and diplomacy aimed at resolving the “nuclear
 understanding both the nature of the enemy and the          issue.” Fear that other points of conflict, particularly
 scope of the conflict—insights that have eluded most        Iranian support of insurgents and terrorists in Iraq
 Americans and, indeed, many Iranians. This report           and Afghanistan, might become another trigger has
 addresses this lack of understanding and argues that        also led to controversy over and even obfuscation of
 while neither Americans nor Iranians desire full-scale      events in those two important theaters. And Iran’s
 military confrontation, Iranian activism and American       continued support for Hezbollah, Hamas, Palestinian
 passivity are contributing to a drift toward war.           Islamic Jihad, and other terrorist groups, while undis-
     Iran has been in the headlines on and off since         puted, is rarely mentioned—most likely out of fear
 1979, but its significance for the United States            that “war hawks” will use any evidence of Iranian
 increased dramatically after the attacks of September       wrongdoing to press for immediate military strikes.
 11, 2001, and the subsequent invasions of Afghani-              The desire of the Bush administration—and even
 stan and Iraq. Iran had long been recognized as the         most of the supposed hawks—to attack Iran has
 premier state sponsor of terrorism, but following           always been overstated. Although some writers have
 9/11, Americans were less willing than they had been        advocated using military means to promote regime
 to tolerate Iranian attacks, such as the 1983 U.S.          change in Tehran, few—if any—serious Iran ana-
 Marine barracks bombing that killed 241 U.S. troops         lysts or defense specialists have recommended using
 and the 1996 bombing of the Khobar Towers in Saudi          force in the first instance. There has been no con-
 Arabia, and Iranian support for groups—like Hamas           certed effort within the administration—and very
 and Palestinian Islamic Jihad in the West Bank and          little pressure from the outside—for an attack. There
 Gaza—with a history of killing Americans.                   is no comparison, for instance, between the biparti-
     After Saddam Hussein was overthrown, it imme-           san efforts to condemn, contain, or remove Saddam
 diately became clear that Iran would have significant       Hussein in the 1990s and again in 2003 and isolated

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IRANIAN INFLUENCE IN THE LEVANT, IRAQ, AND AFGHANISTAN

    attempts to promote military strikes against Iran             be able to recognize openly, fully, and objectively Iran’s
    since the start of the Iraq war. The reason is simple:        activities in the region that affect our interests without
    Iran is more than three times as large as Iraq in every       fearing that such recognition will lead to a foolish war.
    dimension, with daunting physical terrain, even               And we must also recognize that our conflict with Iran
    more daunting human terrain, and a global terrorist           is regionwide, complex, and broad-based—it is not a
    network. The prospect of full-scale war has never             simple misunderstanding over the nature of Iran’s
    been appealing, and the waning of enthusiasm for              nuclear program or the threat Tehran feels from hav-
    precision-strike regime change after 2003 has made            ing U.S. troops deployed to its east and west. This
    that option relatively unattractive as well.                  report aims to present empirical evidence of Iran’s
        This is not to say that the Bush administration or        actions in three critical areas: Iraq, Afghanistan, and
    its successors will not launch either limited or full-        the Levant (Syria, Lebanon, and the West Bank and
    scale military operations against Iran. Unattractive as       Gaza). It does not address Iran’s nuclear program,
    the prospect of military conflict is, the prospect of an      which is relatively familiar to most people who follow
    Iranian nuclear arsenal is at least equally unappeal-         the issue, nor does it address Iranian activities beyond
    ing. Much as Americans might desire to avoid war              the broader Middle East and South Asia, although
    with Iran, continued Iranian intervention in Iraq,            these are also worthy of study. Above all, it makes few
    Afghanistan, and throughout the Middle East might             claims about Iran’s intentions.
    ultimately make that option less repulsive than the               The debate about the aims and even the nature
    alternatives. Western democracies do not go to war            and power of the Iranian regime is charged. The
    because they want to—they go to war when they                 regime is unusually opaque. The combination of
    determine that they have no other choice. The chal-           openness, rhetorical diversity, apparent internal
    lenge in managing any cold war lies in ensuring that          schism, plausible and implausible deniability, and
    neither side ever feels that hot war is the lesser evil.      American neuralgia about Iranian intentions has
    And the key to that challenge is finding a modus              made drawing firm conclusions about Iranian presi-
    vivendi, rather than insisting one side surrender to          dent Mahmoud Ahmadinejad’s government or its
    the other. This platitude is normally taken to mean           possible successors almost hopeless. In the end, the
    that the United States should make sufficient conces-         United States is not likely to achieve any important
    sions to Iran to mollify the mullahs. But the often-          goals vis-à-vis Iran without addressing better than we
    ignored converse is also true: stability will not result      have thus far the issue of who controls the levers of
    any more from an American surrender to Iran than              power in Tehran and what they intend to do. But the
    from an Iranian surrender to America.                         American debate has thus far been so short on facts
        Sadly, there is very little prospect of success in this   and so compartmentalized that establishing a ground-
    or any other endeavor unless the policy debate moves          truth of Iran’s activities in its immediate environs,
    beyond the compartmentalization and hysteria that             whatever their goals and whoever ordered them, is an
    have characterized the discussion thus far. We must           important undertaking.




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                                                            1
                    Syria, Lebanon, and the West Bank/Gaza


 I  ranian policy in Syria, Lebanon, and the West
    Bank and Gaza is a microcosm of Tehran’s broader
 foreign policy strategy. Although it is possible to
                                                                al-Assad, have been fingered in the assassination of for-
                                                                mer Lebanese prime minister Rafiq Hariri.3) Bashar’s
                                                                weakness at home, his precarious position in a “dictator-
 view Iran’s actions in each of these areas as indicative       ship without a dictator,”4 and a changing international
 of separate bilateral relationships, a step back reveals       scene have led him to rely on an ever closer relation-
 a larger pattern. In each instance, Iran began with            ship with Tehran for both guidance and security.
 significant investment in allies—in the case of Syria,             Notable examples of this shift include several
 the regime; in Lebanon, the Shiite “militia” Hezbol-           reported weapons transfers between the two states,
 lah; and in the Palestinian areas, rejectionist groups         possible cooperation on weaponization of chemical
 opposed to Fatah, including Hamas and Palestin-                weapons, joint training on newly supplied air
 ian Islamic Jihad. Many in the United States and in            defense systems from Russia, and Iran’s likely financ-
 other governments—particularly in the intelligence             ing of Syrian weapons acquisitions.5 In addition,
 community—are keen to identify a clear operational             Iran has achieved an important presence in Syria in
 relationship between the Iranian regime and its                recent years. While some might argue that this pres-
 regional allies. This, however, misses the point of the        ence merely serves to enhance Syrian security, Syrian
 Iranian model: proxies are ideological and political           parliamentary speaker Mahmoud al-Abrash was
 fellow travelers who serve their own interests as well         more honest in November 2006 when he stated that
 as Iran’s. Only rarely do observers see Tehran giving          “Damascus considers consultations and cooperation
 direct operational instructions to these groups. That          with the Islamic Republic of Iran as a major rule and
 said, it is questionable whether Iran’s allies could           principle of its foreign policy.”6
 survive without the cash, arms, and diplomatic sup-                Under Hafez al-Assad, the Iranian ambassador to
 port the Islamic Republic regularly provides.                  Damascus wielded considerable clout, but Iranian
                                                                military forces were not active in Syria. They confined
                                                                their activities to the Hezbollah stronghold in the
                         Syria                                  Bekaa Valley in Lebanon and Lebanon’s southern Shi-
                                                                ite redoubt. That is no longer the case. Syria’s evolu-
 Military Relations. In July 2007, Syrian president             tion from partner to enabler to inferior has been
 Bashar al-Assad and Iranian president Mahmoud                  visible. In 2005, the two states agreed to cooperate on
 Ahmadinejad declared that “Iran and Syria were, are,           defense matters, including the construction of joint
 and shall be brothers and allies.”1 Under Hafez                Iranian-Syrian signals intelligence stations (completed
 al-Assad, Bashar’s father, Syria and Iran were indeed          in 2006) in the Al-Jazira region in northern Syria and
 allies rather than master and subordinate. Since Hafez         on the Golan Heights7 and a Syrian commitment to
 al-Hassad’s death in June 2006, however, the weak              “allow Iran to safely store weapons, sensitive equip-
 son has been incapable of earning respect in the region        ment, or even hazardous materials on Syrian soil
 or at home. Instead, he is widely rumored to lean on           should Iran need such help in a time of crisis.”8
 the power behind his throne—his brother-in-law and                 By December 2006, Al-Hayat, a daily pan-Arab
 head of Syrian military intelligence, Assef Shawqat.2          UK-based newspaper, reported that an Iranian Rev-
 (Shawqat and Bashar’s younger brother, Maher                   olutionary Guard base was established in Damascus.

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IRANIAN INFLUENCE IN THE LEVANT, IRAQ, AND AFGHANISTAN

    While many Iranian-funded Palestinian rejectionist       In exchange for this package, Syria pledged not to
    groups such as Hamas, Palestinian Islamic Jihad,         enter into peace negotiations with Israel.15
    and others have found a home in Damascus, it is              This agreement follows on a June 2006 coopera-
    unclear why the Assad regime would give a head-          tion agreement signed by Najjar and his Syrian
    quarters in its capital to the most potent and sub-      counterpart General Hassan Turkmani embracing
    versive terror apparatus in the Middle East. Yet the     roughly similar outlines—with a reported price tag
    deepening ties do not stop there.                        of $800 million.16 Whether these generous agree-
       In a March 2007 visit to Damascus, Iranian            ments are part and parcel of the new satellite rela-
    defense minister Mostafa Mohammad-Najjar placed          tionship or a response to possible Iranian fears about
    Iran’s defense capabilities at Syria’s disposal and      ongoing Syria-Israel secret talks is unclear. It is also
    underscored the two nations’ weapons manufactur-         unclear whether the Syrian military could function
    ing cooperation.9 While such declarations have           at this point without continued Iranian support.
    been regular features in past meetings, there is sub-
    stantial evidence that this time the promised            Economic Support. In the economic realm, the Syria-
    cooperation is real. Recent reports indicate that Iran   Iran relationship is undergoing the same deepening
    will acquire at least ten 96K6 Pantsyr-S1E short-        and broadening. The Syrian economy is becoming
    range gun and missile air defense systems from Syria     increasingly dependent on Iranian joint ventures,
    (which acquired them from Russia), with delivery         financing, and support in key sectors such as energy,
    scheduled for late 2008.10 In addition, Iranian Air      telecommunications, agriculture, and transportation,
    Force specialists are slated to train with the Syrians   as well as anticipated oil refineries, wheat silos, cement
    on the Pantsyr system.11 Reports suggest that in         plants, and a renovated oil pipeline from Iraq’s north-
    addition to its work on conventional weapons, the        ern oil fields to Syria’s Mediterranean coast. This eco-
    Iranian military is also cooperating on Syrian           nomic cooperation, reaching record levels over the
    weapons of mass destruction. In 2005, Tehran             past few years, represents bilateral trade estimated at
    reportedly committed to assisting Syria with its         $200 million per year and direct Iranian investments
    already well-developed chemical weapons program,         in Syria totaling more than $2 billion.17
    including the establishment of “four or five” new            In January 2007, the Syrian government reported
    production plants for VX and Sarin nerve agents and      that Iran was the top investor in Syria among non-
    a mustard blister agent.12 In July 2007, intelligence    Arab countries in 2006, with $400 million.18 Iranian
    agencies detected an explosion at a joint Iranian-       investment in Syria in 2006 was two-thirds that of
    Syrian site in Syria, and officials surmise that some-   total Arab investment and half that of all non-Arab
    thing went awry in efforts to fit chemical warheads      investment in the country.19 In addition, in late
    to short-range ballistic missiles.13                     2006, Iranian and Syrian officials estimated that the
       Assad and Ahmadinejad reportedly signed a new         volume of Iranian projects in Syria was around $750
    and secret military cooperation agreement in July as     million, compared with $100 million the year
    well.14 According to the report, the seven articles of   before.20 For its part, Iran sees few bounds to its rela-
    the agreement include new financing for Syrian           tionship with Syria, particularly in energy, even
    weapons purchases from Russia, Belarus, and North        including sharing nuclear technology. In March
    Korea; $1 billion to acquire four hundred Russian        2007, Ahmadinejad adviser Parviz Davoudi
    T-72 tanks, eighteen MiG-31 jets, eight Sukhoi-24        explained that “Iran’s intentions [are] to establish a
    bombers, and a number of Mi-8 helicopters; new           suitable framework for conducting [joint] oil and gas
    Iranian facilities in Syria to produce medium-range      activity. . . . Iran possesses innovative and significant
    missiles and launchers; new Iranian-made sea-            technologies, including nuclear technology for
    launched missiles for the Syrian navy; and technical     peacefulpurposes . . . which it is inclined to transfer
    support for nuclear research and chemical weapons.       to its friend and sister Syria.”21

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                                                                   SYRIA, LEBANON, AND THE WEST BANK/GAZA

    The most important sectors in which Iranian            Culture. In July 2007, Zahedi, Damascus University
 investment, finance, and cooperation are key to the       chancellor Wail Mu’alla, and Iranian ambassador to
 Syrian economy are as follows.                            Syria Mohammad-Hassan Akhtari discussed Iranian
                                                           financial and spiritual support for Persian-language
 Transportation. SIAMCO is a $60 million joint ven-        faculty at Damascus University.29
 ture in automotive production in which Iranian
 automotive giant Iran Khodro Company has a 40             Electricity. The first phase of the Banias power plant
 percent stake, the Syrian government 35 percent,          in Syria was inaugurated in June 2007. The Export
 and a private Syrian company called Al Sultan the         Development Bank of Iran financed $11 million of
 remaining 25 percent.22 In December 2007, the             the $18 million power plant, and the rest was pro-
 Syriab Arab News Agency (SANA) reported that,             vided by Syria.30 Iranian energy minister Parviz
 under a $50 million joint venture, the International      Fattah and his Syrian counterpart commissioned
 Syrian-Iranian Factory for Cars will produce up to        two power plants in Syria in May 2007. The Ira-
 fifteen thousand SABA cars a year and anticipates         nian company Azar Ab engaged in overhauling the
 reaching a capacity of thirty-five thousand cars          170-megawatt power plant at a cost of around $62
 annually in its final stage.23 In March 2007, the         million.31 The Iranian cabinet approved a $230
 Samand automotive production line was inaugu-             million payment to establish a combined cycle
 rated by Assad and Iranian vice president Parviz          power plant in Syria in April 2007.32 Fattah agreed
 Davoudi. Iran plans to allocate 40 percent of the         with Syrian minister of electricity Ahamad Khalid
 Syrian car market to itself and is estimated to bring     al-Ali in November 2006 to connect the power net-
 in $220 million for its industry.24                       work of the two countries via Turkey and Iraq.33

 Natural Resources. In September 2007, Iran’s acting       Oil. Iran’s deputy oil minister Mohammad-Reza
 mines and industry minister Ali-Akbar Mehrabian           Nematzadeh, Syria’s deputy oil minister Hassan
 announced $10 billion worth of Iranian investments        Zeinab, and Venezuela’s director general of refinery
 in Syria within the next five years. The two countries    affairs Roberto Delgado agreed in October 2006 to
 are currently cooperating on sixteen projects valued      construct a refinery with a capacity of 140,000 barrels
 at $1 billion.25                                          per day of oil. The projected cost is $1.5 billion.34
                                                           In October 2007, Iran’s oil minister Golamhossein
 Cement. A new cement plant was inaugurated in Syria’s     Nozari and Syrian oil minister Sufiyan al-Alaw signed
 northern city of Hama, SANA reported. The $250 mil-       an agreement, expected to take effect by 2009,
 lion plant has a production capacity of 1.1 million       whereby Iran will export 3 billion cubic meters of gas
 tons annually and is expected to create four hun-         to Syria through Turkey.35
 dred jobs.26
                                                           New Construction. An Iranian private-sector mission to
 Water. Iran has undertaken a water supply project in      Syria offered to build an industrial city in Syria,
 the Syrian city of Aleppo; in addition, several Iranian   including a steel mill with a production capacity of
 companies, including Sabir and Satkab, are involved       eight hundred thousand tons a year, an eight-hundred-
 in the construction of ten dams in Syria.27               megawatt power plant, and a housing complex with
                                                           fifty thousand housing units. The total cost was esti-
 Education. In a July 2007 meeting, Iranian science,       mated at $8 billion, to be funded by the Iranian pri-
 research, and technology minister Mohammad Mehdi          vate sector.36
 Zahedi announced the establishment of an Iranian
 university in Syria, which will be an international       Mining. In May 2006, Syrian minister of the economy
 branch of Tehran’s Tarbiat Modares University.28          and trade Amir Husni Lutfi met in Tehran with

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    Iran’s minister of industries and mines Ali-Rez                        Lebanon and Hezbollah
    Tahmasbi. Tahmasbi stated that the current volume
    of trade exchange in industry and mining sectors          Hezbollah is a topic unto itself, a sophisticated political-
    amounted to over $1 billion. The Iranian minister         military-social organization—a key player in the
    stated that Iran is currently involved in some sixteen    Lebanese government, a dominant force in southern
    industrial and mining projects in Syria.37                Lebanon, a potent militia, itself a trainer for regional
                                                              terror groups, an exporter of terror, and more. Hezbol-
    Banking. In March 2006, the Bank Saderat of Iran          lah is a force to be reckoned with. For our purposes,
    and the Commercial Bank of Syria announced they           however, it is Hezbollah’s tie to Iran that demands
    will form a jointly run bank.38                           attention. Formed in 1982 by Iranian seminarians, its
                                                              links to Tehran have only strengthened as it has grown
    Trade. In February 2006, Davoudi discussed with           into a semi-autonomous power of its own.
    Assad, Syrian vice president Farouq al-Shara, and
    prime minister Muhammad Naji al-Utri possibili-           Weapons Transfers. At this point, there is little
    ties for opening joint ventures in the petrochemical,     doubt that Hezbollah has recovered from any set-
    gas, and oil sectors; installing production facilities,   backs suffered in its 2006 confrontation with Israel.
    including agricultural units and machinery, irriga-       The group has rearmed and regrouped, and Iran has
    tion, roads, and housing; transferring Iranian oil        been an important part of that recovery. In a Febru-
    and gas to Syria; and constructing a railway con-         ary 2007 interview, Hezbollah leader Hassan Nasral-
    necting Iran, Iraq, and Syria. Bilateral cooperation      lah openly stated that Iran is supplying his group
    has been placed at about $750 million. Trade              with monetary aid and weapons.40 Weapons ship-
    exchanges between the two countries stood at              ments come by land, sea, and air from Iran, often via
    $100 million in 2005. Over 350,000 Iranian pil-           Damascus. Shipments are frequent and large. For
    grims visit holy sites in Syria annually.39               example, Israel’s Intelligence and Terrorism Informa-
                                                              tion Center reported that at least nine times between
       Though Syria and Iran are independent states           December 2003 and January 2004, the Iranian Revo-
    and may freely contract any bilateral agreements          lutionary Guard Corps (IRGC) Quds Force “used
    they choose, it is worth noting that Tehran has           Iranian and Syrian cargo planes flying humanitarian
    not only contributed to building nearly one thou-         aid in to the earthquake victims . . . in Southeastern
    sand megawatts of electrical production capacity          Iran . . . to take large quantities of weapons for Hez-
    in Syria—while maintaining that it needs a civil-         bollah on their return flights.”41
    ian nuclear power program to supplement its own               Over the years, Iran has gone from supplying rudi-
    energy needs—but has also been working to inte-           mentary weapons to providing more sophisticated
    grate the Syrian and Iranian economies through            long-range missiles and other higher-end weaponry
    constructing roads, railways, and oil and gas             destined to escalate tensions on Lebanon’s southern
    pipelines and linking power grids. This growing           border. In mid-2004, IRGC officers reportedly
    economic interdependence (with Iran at the cen-           unloaded 220 missiles with a 250–350-kilometer
    ter of a dependency network) and the increase             range for Hezbollah at an airfield near Damascus.42
    in military aid from Iran to Syria risk reducing          Indeed, according to calculations reported by the
    Damascus to a vassal state that is so tied econom-        Middle East Media Research Institute (MEMRI),
    ically and militarily to its more powerful patron         between 1992 and 2005, Hezbollah received approx-
    that disobedience may become unthinkable.                 imately 11,500 missiles and rockets; four hundred
    Whether this was Tehran’s goal is not important.          short- and medium-range pieces of artillery; and
    What matters is that it is increasingly the reality       Aresh, Nuri, and Hadid rockets and transporters/
    in Syria.                                                 launchers from Iran.43 In 2005, Iran sent Hezbollah a

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 shipment of large Uqab missiles with 333-millimeter         Other sources note that the IRGC established twenty
 warheads and an enormous supply of SA-7 and                 missile bases on the Israeli border in Lebanon.52 In
 C-802 missiles, two of which were used in an attack         July 2006, a senior Iranian army officer reported that
 on an Israeli ship.44                                       the IRGC had established dozens of advanced rocket
    During Hezbollah’s summer 2006 conflict with             and missile bases in the Lebanon Valley and along
 Israel, Iran resupplied the group’s depleted weapons        the border with Israel.53
 stocks. In July of that year, secret IRGC airlifts from        Other vignettes detail the depth and breadth of
 bases in Bandar Abbas transported supplies for              Iranian training of Hezbollah, which often trickles
 Hezbollah to the Dumeir Syrian military airfield near       down to other groups trained in Lebanon. MEMRI
 Homs.45 A month later, Iran sent more advanced              (among others) does an excellent job collecting
 surface-to-air missiles, including Strela-2/2M, Strela-3,   examples of Iranian support for Hezbollah’s mili-
 Igla-1E, and the Mithaq-1. The same missiles were           tary capabilities:
 reported to have been used to target Israeli helicop-
 ters.46 Iran does not restrict its equipment support           • Two Hezbollah terrorists who were cap-
 of Hezbollah to heavy arms: British-made night-                  tured by the IDF during the 2006 war con-
 vision goggles found in a Hezbollah bunker during                fessed they had been trained by IRGC
 the war apparently also came from Iran.47                        operatives at a camp near Karaj, north of
                                                                  Tehran. They said they were part of a group
 Military Training. Hezbollah’s performance in 2006               of forty to fifty Hezbollah operatives trained
 stunned Israelis who had long assumed that they                  in Iran.54
 could devastate the terrorist group in any serious
 confrontation. Far from it—in addition to hunker-              • In the last three years, fifty Hezbollah pilots
 ing down in sophisticated tunnels built with North               have been trained. In Lebanon, there are
 Korean assistance,48 Hezbollah fighters had bene-                seventy Iranian trainers and technicians as
 fited from serious, in-depth training from IRGC on               well as sixty Faylaq Quds intelligence
 the ground in Lebanon and Iran.                                  agents. There is a secret IRGC unit in Leba-
     Hezbollah reportedly had hundreds of Iranian                 non of twenty officers who track Israeli
 engineers who, with North Korean experts brought                 movements and select targets in Israel.55
 into Lebanon by Iranian diplomats, built a twenty-five-
 kilometer underground tunnel to move fighters. The             • Hundreds of Hezbollah fighters took special
 IRGC also constructed underground storerooms in the              training courses at IRGC bases in Tehran,
 Bekaa Valley to hold missiles and ammunition.49                  Esfahan, Mashhad, and Havaz. Hezbollah’s
     It should not be assumed, however, that Hezbol-              missile unit includes two hundred techni-
 lah cannot operate without IRGC guidance or plan-                cians and experts trained in Iran.56
 ning. To the contrary, reports indicate that most
 IRGC troops left Lebanon at the end of the 1980s               • Colonel Ali Reza Tamiz of the Quds Force
 and were replaced by thousands of Hezbollahis who                is responsible for training Hezbollah
 had fought and trained with Iranians inside Iran.50              members in the use of advanced equip-
 Instead, IRGC troops appear to be in Lebanon to                  ment and weaponry, including Ra’ad mis-
 help with specialized activities such as tunnel-                 siles, Shahin launchers, and surface-to-air
 building and weapons-training. For example, Israel               missiles.57
 Defense Forces (IDF) naval and ground forces
 reported separately that IRGC officers were key to             We need not belabor the question of Iranian inten-
 coordinating C-802 missile attacks against their            tions, but it is worth noting the series of events pre-
 ships and missile fire against Israeli helicopters.51       ceding the Hezbollah-Israel confrontation. On April 28,

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    2006, director general of the International Atomic              The mechanism for transferring money should
    Energy Agency (IAEA) Mohamed ElBaradei submitted             not be complicated: Hezbollah is a legitimate user of
    a report to the IAEA board of governors and the              the Lebanese national banking system. Iran has also
    United Nations (UN) Security Council. The report             been reported to transfer large sums of money to
    noted “gaps” in the IAEA’s knowledge about “the role         Hezbollah using the Syrian and Palestinian banking
    of the military in Iran’s nuclear programme” and con-        systems, and Arab Bank has been identified as a
    cluded that “the Agency is unable to make progress           main conduit for channeling money to Hezbollah
    in its efforts to provide assurance about the absence        and other terrorist organizations.63 That said, there
    of undeclared nuclear material and activities in             have been occasional reports of suitcase-style cash
    Iran.”58 On June 8, ElBaradei released another report        transfers as well. Following the 2006 Israel-Lebanon
    to the IAEA board of governors, noting that Iran con-        war, Hezbollah was seen doling out hundreds of
    tinued to refuse to provide the requested information        hundred-dollar bills procured from a suitcase to
    about its nuclear program.59 On July 12, Lebanese            Lebanese seeking compensation for Israeli bomb
    Hezbollah forces crossed the Israeli border and              damage to their homes.64 An October 2006 report
    seized two Israeli soldiers, prompting an Israeli inva-      describing diplomatic bags stuffed with cash being
    sion of southern Lebanon that immediately grabbed            trundled to Lebanon states that the money origi-
    public attention.                                            nated from the religious center in the city of Mash-
        Iran certainly had an interest in distracting atten-     had as well as from other organizations in Qom,
    tion from the escalating investigation of its illegal        Shiraz, Gorgan, Kerman, Esfahan, and Zahedan. The
    nuclear weapons program in the summer of 2006.               money is mainly earmarked for reconstruction
    And once the Hezbollah-Israel war began, Iran had an         work—some sources claim it could be as much as
    interest in seeing Hezbollah emerge unscathed from its       $2 billion—and is managed in Lebanon by Hezbol-
    confrontation with Israel (hence Iran’s risky attempt to     lah’s treasurer, Nasrallah’s brother-in-law.65
    resupply Hezbollah with critical weapons in July).60 In         Iran has been key to Hezbollah’s regaining its rep-
    this instance, it seems appropriate to think of Iran as      utation, its social networks, and its political clout in
    Hezbollah’s enabler and of Hezbollah as a willing            the months since the 2006 conflict. While it seems
    handmaiden in times of Iranian need. Whether wreak-          clear that Hezbollah scored a major victory and
    ing havoc on the rest of Lebanon served Hezbollah’s          dented seriously Israel’s deterrent for the first time in
    long-term interests remains unclear. It is also unclear if   many decades, from a Lebanese perspective, things
    Tehran ordered Hezbollah to launch the attack that           look different. Nasrallah was forced to apologize to
    started the war or if the timing of the Lebanese crisis      the Lebanese people for bringing massive destruc-
    had nothing to do with the timing of the IAEA reports        tion upon the country.66 Many in Lebanon blamed
    and the prospect of UN sanctions. Regardless, the tim-       Hezbollah for initiating a war that Lebanon’s elected
    ing coincided rather nicely for Iran, and Tehran             government had not chosen.
    appears to have acted rapidly to support its proxy and          Extricating Hezbollah from Lebanese recrimina-
    benefit from the distraction.                                tions was an expensive task: Iran made $150 million
                                                                 available for Hezbollah to distribute to Lebanese citi-
    Economic Support. Because Hezbollah represents               zens.67 Fuel and generators were delivered to war-
    the historically poor Shiite community of Lebanon,           torn villages after the conflict, and families who lost
    money from Iran has been vital for buying and                homes were granted $12,000 each—all at Iran’s
    maintaining political support within the country.            expense.68 In July 2007, the head of Iranian recon-
    Estimates of Iran’s annual support to Hezbollah are          struction efforts in Lebanon, Hessham Koshnevis,
    in the range of $100 million or more per year.61             reported that out of the twenty-five bridges Iran had
    Iran’s total investment in Hezbollah has topped              pledged to rebuild, reconstruction of twelve was
    $1 billion and may be as high as $2 billion.62               complete; forty-three out of sixty-three villages had

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 been rebuilt; and one hundred forty-nine schools             degree of latitude in operations but lacks complete
 and fifty mosques had been rebuilt. Overall, Iran            independence from Iran. Whether or not Iran dic-
 had finished 704 out of 1,032 reconstruction proj-           tates or merely advises how Hezbollah’s “political”
 ects it pledged to carry out in Lebanon.69                   wing should behave inside Lebanon is less clear. It is
                                                              also evident that recent events have increased
 Politics. Unlike proxies in Syria and even the Pales-        Hezbollah’s dependence on Iran even further. Both
 tinian territories, which remain nominally independ-         Hezbollah’s loss of weapons and fighters in the con-
 ent, Hezbollah is an important Iranian instrument            flict with Israel and the resulting damage to its rep-
 over which Tehran exerts significant, though not             utation and position within Lebanon weakened
 always clear, control. According to former Hezbollah         Hezbollah’s burgeoning independence and made it
 secretary general Sheik Subhi Al-Tufeili (who broke          more reliant upon Iran.
 with Iran and Hezbollah), “Hezbollah is a tool, and it
 is an integral part of the Iranian intelligence appara-
 tus. . . . Iran is the main nerve in the activity today in             West Bank/Gaza and Hamas
 Lebanon. All Hezbollah activity [is financed] by
 Iranian funds. Syria has an important role, but Iran         Military Training. The rhetoric of the Palestinian
 is the main and primary support of [the Lebanese             struggle has been central to Arab and postrevolution-
 opposition].”70 Iranian officials agree: Ali Akbar           ary Iranian foreign policy for decades. But a balance
 Mohtashemi, one of the founders of Hezbollah, for-           sheet of Arab rhetoric and pledges of support to
 mer Iranian ambassador to Syria and Lebanon, and             Palestinians adds up to very little in reality, particu-
 former Iranian interior minister, has said that              larly compared with Iran’s very real, practical eco-
 “Hezbollah is part of the Iranian rulership; Hezbollah       nomic and military support for rejectionist Palestinian
 is a central component of the Iranian military and           groups (including, until very recently, the Palestine
 security establishment; the ties between Iran and            Liberation Organization and Fatah). The 2006 U.S.
 Hezbollah are far greater than those between a revo-         State Department report on terrorism accused Iran of
 lutionary regime with a revolutionary party or organi-       providing “extensive” funding, weapons, and training
 zation outside its borders.”71                               to Hamas, Palestinian Islamic Jihad, the al-Aqsa
     More recently, Hezbollah’s second-in-command,            Martyrs’ Brigades, and the Popular Front for the Lib-
 Sheik Naim al Qassem, explained in an interview on           eration of Palestine–General Command.75
 Iranian television that Hezbollah yields to Iranian              A review of the history of Iranian support for
 authority for all military issues, including suicide         Hamas and other rejectionist Palestinian groups since
 bombings, rocket launches, and other terrorist               Iran took the reins of the movement in 1992 is not
 operations. Qassem references “‘al-wali al-faqih’ (the       practical in the context of this report. An examina-
 ruling jurisprudent), a title formerly used by Ayatol-       tion of the last two years of relations, however, shows
 lah Ruhollah Khomeini and presently used by his              a pattern similar to that of Iranian relations with Syria
 successor, leader Ali Khamenei . . . to describe             and Hezbollah: financial support, weapons supplies,
 Hezbollah’s source of authority.”72                          diplomatic coordination, and what might be called
     Qassem also explained that terrorist operations          the “Hezbollah-ization” of Iran’s relationships with
 against Israel require Iranian permission.73 Whether         political/military terror groups. Notably, however,
 Qassem’s interview is part of an ongoing power               Hamas has refused to accept money from Iran
 struggle between the deputy and Nasrallah (recent            through Hezbollah and instead demanded its own
 reports suggest Nasrallah was demoted in favor of            separate bilateral relationship. From a Palestinian
 Qassem by an Iranian leadership furious over the             standpoint, this desire seems natural, and for the
 fallout from the war with Israel)74 or a recitation of       Iranians, too, there would be little strategic reason to
 facts, keen observers agree that Hezbollah has a             give more control to Hezbollah.

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         Past suggestions that a sectarian divide limits the         While Iran has proven itself willing to escalate the
     common cause between Iran and Sunni groups such             quality, reach, and sophistication of the weapons it
     as Hamas are based on a misreading of Iranian               supplies to its terror proxies, a newer and potentially
     pragmatism—Iranian support for Sunni as well as             more troubling trend is the quality of Iranian—par-
     Shiite insurgents inside Iraq is well documented (see       ticularly IRGC—military training. As Israel learned
     Chapter 2). Some see the Damascus location of the           to its detriment in the summer 2006 conflict with
     leadership of groups such as Hamas and Palestinian          Hezbollah, IRGC/Quds Force training has made ter-
     Islamic Jihad as a sign that there are two centers of       rorists much more effective against and lethal to an
     power among these groups. But while Palestinian             Israeli military that had once been dominant.
     Islamic Jihad—despite its localized mission to                  Although Hamas operatives have been trained by
     destroy Israel and establish an extremist Islamic           Iran for some years—likely since the early 1990s82—
     Palestinian state—is “almost completely dependent           Hamas representatives reportedly traveled to Tehran
     on Syria, which permits its leadership, under the           in 2006 to discuss the issue and, according to the
     direction of [Secretary General] Ramadan Shalah, to         Islamic Republic News Agency, were warmly received
     operate from its territory and from Lebanon, from           by Ahmadinejad, who offered anew to transfer Ira-
     where it directs its anti-Israeli terrorist activities in   nian “experience and achievements” to Hamas.83
     the Palestinian Authority–administered territories,”        Since then, large contingents of Hamas operatives
     the real boss remains “Iran, its most important             have been training inside Iran for significant periods
     patron, which provides it with massive financial            of time.84 A pro-Fatah news site, Intifadat Filastin,
     support.”76 Just as Syria has fallen under the Iranian      recently noted that 150 members of Hamas filtered
     shadow, so, too, have these groups become proxies           back into Gaza after spending over three months
     and fellow travelers of the Tehran regime.                  training in Iran.85 In addition, Iran reportedly sent
         In early 2007, the head of the Israeli Shin Bet,        advisers into Gaza to work with Hamas.86
     the domestic security service, reported that Iran               Although a report about a Hamas-Iran pact to
     had become Hamas’s main supplier of weapons                 train 6,500 men cannot be confirmed with other
     and training.77 Earlier reports indicated that Iran         sources, it seems credible that Tehran committed to
     was supplying Hamas with vehicles and aircraft,             training a Hamas “rapid deployment force of 6,500
     although there is no evidence that Hamas received           men in Hezbollah combat tactics.” The report goes
     the aircraft.78 Iran has also taken advantage of the        on to detail IRGC training and Iran’s agreement to
     relative proximity of Hamas to Hezbollah to enable          foot the bill for arming as well as training Hamas
     IRGC training for Hamas (and, reportedly, Fatah)            operatives at IRGC installations in southern Iran.87
     in the use of SA-7 (Strela) anti-aircraft missiles at
     the Janta Base in the Bekaa Valley in Lebanon.              Economic Support. Since Hamas’s electoral victory
     Graduates of this course reportedly transition to           in January 2006, Iran has reportedly smuggled hun-
     training in Iran near Qom.79 Others have benefited          dreds of millions of dollars to the Hamas leadership.
     from training by IRGC officers inside Gaza, and             According to the former security chief of Hamas rival
     Israeli officials have testified that they believe there    and Palestinian governing party Fatah, the group has
     are a large number of Iranian experts in Gaza.80 In         received $400 million from Iran.88 This money was
     a raid on a Hamas-linked Islamic university in              not simply to buy arms or pay for training; rather, as
     Gaza City in February 2007, national security               in Lebanon, Iran appears to be insinuating itself into
     forces affiliated with Palestinian president Mah-           the social and economic fabric of the Palestinian
     moud Abbas seized hundreds of weapons and                   areas, making itself an indispensable ally. Accord-
     arrested several Iranian citizens who had purport-          ingly, in December 2006, Iran allegedly promised
     edly been sent to the university by Iran to train           Hamas prime minister Ismail Haniya $250 million
     Hamas affiliates.81                                         in aid, including $100 million for 2007 salaries of

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 employees working for the ministries of welfare,            of joint operations between the Revolutionary
 labor, and culture; $45 million for allowances for          Guards and Iranian intelligence groups with revolu-
 Hamas prisoners in Israeli jails; and aid for three         tionary forces in the region, including al Qaeda,
 thousand Palestinian fisherman and one hundred              Hezbollah, and the Palestinian and Egyptian jihad
 thousand unemployed workers.89 Because much of              organizations.92
 the assistance comes to the Palestinians illicitly, num-        According to Shalah, “Palestinian Islamic Jihad is
 bers are difficult to track. Hamas officials visiting       one of Khomeini’s numerous creations.”93 Unlike
 Tehran in 2006 returned hauling cash, and the Inter-        Hamas, which can credibly claim to have some
 national Monetary Fund estimates that in 2006 some          Palestinian roots, Palestinian Islamic Jihad appears
 $70 million in cash was carried into the territories,       to be a wholly owned proxy organization. According
 largely from Iran.90 And Haniya was famously nabbed         to the authoritative Intelligence and Terrorism Infor-
 carrying a suitcase with $35 million from Iran.91           mation Center, Palestinian Islamic Jihad is “almost
     Iran did not create Hamas and does not control it.      totally dependent upon Iran.”94
 But Tehran has clearly seized opportunities to estab-           Iran is likely the sole source of the organization’s
 lish a patron-client relationship with this Sunni ter-      financing, providing the group with an estimated
 rorist group. As is often the case with Iran’s external     $2 million in annual funding.95 Interestingly, even
 activities, the relationship provides many benefits: It     Palestinian Islamic Jihad, which is far less potent
 supports a key terrorist enemy of Israel, and anti-         and broad-based than Hamas, also demanded to be
 Zionism is a core element—at least rhetorically—of          distinct from Hezbollah. In 2002, Supreme Leader
 the present Iranian regime. It diversifies Tehran’s         Ayatollah Khamenei promised to separate Palestin-
 portfolio in the Levant beyond Hezbollah and even           ian Islamic Jihad from the Hezbollah budget and
 beyond the limited Shia community there, providing          expand its budget by 70 percent to cover suicide
 a wedge into the Sunni extremist community on the           bomber recruiting.96
 basis of need and common enemies. It opens the                  In addition, Iran has provided Palestinian Islamic
 possibility of multiple “western fronts” in Iran’s strug-   Jihad with weaponry—Grad rocket components—
 gle against the United States and Israel and multiple       smuggled into the Gaza Strip from Iran via the border
 opportunities to generate distractions from events          with Egypt.97 Palestinian Islamic Jihad fighters have
 elsewhere without having to sacrifice the same              also been among the hundreds of Palestinians that
 proxy continuously. And, operationally, it establishes a    have trained with IRGC and Quds forces in Iran.98
 potential Iranian proxy on another of Israel’s borders.
 Again, the question of Tehran’s intentions is unim-
 portant for the moment. What matters is that Iran                               Conclusions
 benefits in all of these ways from intensifying the
 support to its ally.                                        Iran has nurtured four separate but interconnected
                                                             proxy organizations in the Levant—the Syrian gov-
                                                             ernment, Hezbollah, Hamas, and Palestinian Islamic
        West Bank/Gaza and Palestinian                       Jihad. The first two have allowed or facilitated the
                Islamic Jihad                                positioning of Iranian headquarters, intelligence
                                                             bases, training camps, and weapons depots in Syria
 In February 2003, Asharq Al-Awsat, a pan-Arab daily         and Lebanon. Iranian support to each has ranged
 newspaper, and Voice of America published inter-            from high-end weapons to trainers to economic
 views with Hamid Reza Zakeri, a supervisor and              assistance programs aimed at enhancing the stature
 director of intelligence for the IRGC who defected          of each organization among its own target popula-
 to the West. Zakeri claimed that as supervisor of           tion. The past two years have seen a significant
 the intelligence apparatus’s secretariat, he was aware      expansion of Iranian support for all four groups and

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     concerted efforts to increase the dependency of               Media Research Institute (MEMRI), Inquiry and Analysis
     these groups on Tehran. In at least one case—                 Series no. 380, available at www.memri.org/bin/articles.
     Hezbollah in Lebanon—a proxy has taken actions                cgi?Page=countries&Area=iran&ID=IA38007 (accessed
     to its own apparent detriment to assist Tehran, and           January 29, 2008).
     Iran responded by increasing its assistance. Each                 6. “Syria Stresses Strategic Consultation with Iran,” Fars
     proxy has demanded and received its own direct                News Agency (Iran), November 14, 2006, available at
     relationship with Tehran—though there is still                www.farsnews.com/English/newstext.php?nn=85082305
     coordination among them—which places Iran at                  66 (accessed January 28, 2008).
     the center of a network that spans the Levant and is              7. Robin Hughes, “Iran and Syria Advance SIGINT Co-
     increasingly linked directly with the Iranian mili-           operation,” Jane’s Defence Weekly, October 4, 2006, avail-
     tary and economy. Whatever Tehran’s intentions                able at www.janes.com/defence/news/jdw/jdw061004_
     might have been, this is the reality Iranian actions          1_n.shtml (accessed January 29, 2008).
     are creating on the ground and the situation that                 8. Robin Hughes, “Iran, Syria Sign a Further Defence
     America and its allies will have to confront in the           Co-operation Agreement,” Jane’s Defence Weekly, June 27,
     years to come.                                                2006, available at www.janes.com/defence/news/jdw/
     Danielle Pletka is vice president for foreign and defense
                                                                   jdw060627_1_n.shtml (accessed January 29, 2008).
     policy studies at AEI.                                            9. Islamic Republic News Agency (IRNA) (Iran), March
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                                                           2
                                                      Iraq


 I  ran and its Lebanese proxy Hezbollah have been
     actively involved in supporting Shia militias and
 encouraging sectarian violence in Iraq since the
                                                               manufactured with highly calibrated machine tools,
                                                               have been used by Hezbollah in Lebanon with Ira-
                                                               nian military assistance. Many of the EFPs found in
 2003 invasion—and Iranian planning and prepara-               Iraq have markings that indicate that they were
 tion for that effort began as early as 2002. The pre-         manufactured in Iran as recently as 2007.3 EFPs
 cise purpose of this support is unclear and may have          have accounted for an increasing number of U.S.
 changed over time. But one thing is very clear: Iran          casualties since October 2006.
 has consistently supplied weapons, its own advisers,              The Iranian government has also exported rock-
 and Lebanese Hezbollah advisers to multiple resist-           ets, sniper rifles, and mortars to enemy groups in
 ance groups in Iraq—both Sunni and Shia—and has               Iraq and has provided them with trainers and advis-
 supported these groups as they have targeted Sunni            ers who answer to Quds Force commanders.
 Arabs, Coalition forces, Iraqi security forces, and the       Tehran’s efforts have made certain Shia militia groups
 Iraqi government itself. Their influence runs from            more effective and lethal than they had previously
 Kurdistan to Basra, and Coalition sources report that         been. The evidence for Iran’s extensive involvement
 by August 2007, Iranian-backed violence accounted             in training “secret cells” of Shia militias has only sur-
 for roughly half the attacks on Coalition forces—a            faced publicly in recent months, even though senior
 dramatic change from previous periods in which the            U.S. officials have stated publicly since November
 overwhelming majority of attacks came from the                2006 that the Iranian government has fueled vio-
 Sunni Arab insurgency and al Qaeda.1                          lence in Iraq by providing funds and weapons, and
                                                               media reports have suggested it since 2004.4
                                                                   The Quds Force and Hezbollah have worked
                     Background                                together since 2003 to support Shia extremists in
                                                               Iraq and to develop these groups into an organiza-
 The Iranian Revolutionary Guard Corps (IRGC) Quds             tion modeled after Hezbollah. Shia groups were
 Force has been organizing, training, funding, and             responsible for about half of the violence in Iraq in
 equipping Iraqis to fight against Coalition and Iraqi         July 2007.5 U.S. military officials estimate that the
 security forces.2 Lebanon’s Hezbollah has assisted the        Quds Force provides between $750,000 and $3 mil-
 Quds Force in training and organizing Shia resistance         lion worth of equipment and funding to these groups
 groups since 2003 and also served as the Quds Force’s         every month. In spring 2007, U.S. and Iraqi forces
 proxy in its advisory effort. The Iranian government          launched special operations within Iraq to capture the
 provided substantial financial and technical support to       leaders of the Iranian-funded movement. The cam-
 militias in the second half of 2006 and increased its         paign aimed to reduce the ability of Shia extremists to
 support in 2007.                                              destabilize the government and security of Iraq. These
     The U.S. military has catalogued large quantities         special operations supplemented the counteroffensive
 of enemy weapons in Iraq with imprints showing                against al Qaeda extremists in central Iraq. U.S. and
 they were recently manufactured in Iran. In particu-          Iraqi forces have captured numerous suspects with
 lar, highly lethal explosively formed penetrators             links to Iran and evidence documenting how the
 (EFP), which are made from special copper disks               Iranian government supported violence in Iraq. U.S.

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     forces have publicly released some of this material,          Hezbollah also sent agents into Iraq in 2003.9 By
     which forms part of the basis for this chapter.               August 2005, Abu Mustafa al-Sheibani had developed
                                                                   an extensive “network of insurgents created by the
     The Origins of Iranian-Backed Special Groups in               Iranian Revolutionary Guard Corps with the express
     Iraq. Iran began preparing to confront American               purpose of committing violence against U.S. and
     forces in Iraq even before the invasion of 2003.              coalition forces in Iraq.”10 Sheibani’s group intro-
     According to an August 2005 article by Michael                duced into Iraq “‘shaped’ explosive charges”—used to
     Ware based on classified intelligence documents,              target U.S. military armored vehicles—based on a
     Supreme Leader Ayatollah Ali Khamenei convened a              model used by Hezbollah against the Israelis, and its
     council of war in Tehran in 2002 that concluded: “It          fighters trained in Lebanon as well as Sadr City and
     is necessary to adopt an active policy in order to pre-       “another country,” according to U.S. intelligence
     vent long-term and short-term dangers to Iran.” As            sources.11 An American military official in Baghdad
     a result, Iranian intelligence services organized the         explained that “the U.S. believes that Iran has bro-
     various Iraqi resistance groups they had been shel-           kered a partnership between Iraqi Shiite militants and
     tering under Brigadier General Qassim Sullaimani,             Hizbollah and facilitated the import of sophisticated
     the current head of the Quds Force.6                          weapons that are killing and wounding U.S. and
         Immediately after the U.S. invasion, thousands of         British troops.”12 An American Special Operations
     members of these resistance groups, primarily from            Task Force report claimed “the Lebanese Hezbollah
     the Badr Corps, moved into Iraq and attempted to seize        leadership believes that the struggle in Iraq is the
     control of various key locations in the Shiite areas.         new battleground in the fight against the U.S.”13
     Ware cited an IRGC intelligence report of April 10,           Sheibani’s group was estimated to include 280 fight-
     2003, that “logs U.S. troops backed by armor moving           ers organized into seventeen bomb-making teams
     through the city of Kut. But, it asserts, ‘we are in con-     and death squads.14
     trol of the city.’ Another, with the same date . . . claims      Tehran had a natural Shiite proxy in the Badr
     ‘forces attached to us’ had control of the city of Ama-       Corps and the Supreme Council for the Islamic
     rah.”7 Other reports confirm this view:                       Revolution in Iraq—now the Supreme Islamic Iraqi
                                                                   Council (SIIC)—but it hedged its bets from the
        In a sermon on May 2 [2003], Ayatollah Ahmad               beginning by backing Moqtada al-Sadr as well. Sadr
        Jannati, secretary general of Iran’s powerful              visited Tehran in June 2003 and was apparently
        Council of Guardians, called on Iraqis to stage            receiving funds from Grand Ayatollah Kazem
        suicide attacks to drive U.S.-led forces from              al-Haeri until October of that year when Haeri
        [Iraq]. . . . Two months later . . . coalition forces      started to cut his ties to Sadr.15 Sadr and three advis-
        uncovered a document describing a fatwa, or                ers traveled by road from Najaf to Ilam, “where Ira-
        religious edict, that had reportedly been issued           nian authorities had a 10-seat private plane waiting
        in Iran for its Shiite supporters in Iraq. The             for them.”16 In Tehran, the group met with Supreme
        fatwa urged “holy fighters” in Iraq to get close           Leader Ayatollah Ali Khamenei, former president Ali
        to the enemy—the U.S.-led troops. These fight-             Akbar Hashemi Rafsanjani, and Ayatollah Mahmoud
        ers, the fatwa said, should “maintain good rela-           Hashemi Shahroudi. The invitation to Sadr appar-
        tions with the coalition forces” but at the same           ently angered Iraqi clerical leaders in Najaf.
        time create “a secret group that would conduct
        attacks against American troops.”8                            “The marjas [the holy city’s highest leaders]
                                                                      found it offensive that Moqtada would be offi-
        The Badr Corps and Iranian agents were not                    cially invited to Iran,” says Sheik Ali al-Rubai,
     the only ones involved in training and arming an                 spokesman for one of the holy city’s four top
     anti-American Iraqi resistance under Iranian auspices.           clerics, Grand Ayatollah Ishaq Fayadh. “When

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    Khamenei’s representative came to Najaf [in             assassinations. Reports suggest that in fall 2003, “a
    August 2003], the marjas spoke to him in a              senior Iranian cleric in Tehran set up a special
    rough way and demanded to know why they                 100-member army, known as al Saqar, which means
    invited Moqtada.” The lavish reception was a            eagle in Arabic, to assassinate [Coalition Provisional
    particular slap to Ayatollah Mohammad Baqir             Authority director L. Paul] Bremer and carry out other
    al Hakim, a major beneficiary of Iranian sup-           terrorist attacks.” This “eagle army” apparently “had
    port for two decades. Hakim threatened to cut           trained for 30 days at an Iranian terrorist camp.”24
    ties with Tehran in protest.17                              In August 2005, Michael Ware reported:

     Hezbollah also established a long-term relation-          More sinister are signs of death squads charged
 ship with Sadr, which they apparently began trying            with eliminating potential opponents and for-
 to do in July 2003 and succeeded by August. At the            mer Baathists. U.S. intelligence sources confirm
 end of that month, according to a U.S. intelligence           that early targets included former members of
 report, “Hezbollah had established ‘a team of 30 to           the Iran section of Saddam’s intelligence serv-
 40 operatives’ in Najaf in support of Moqtada Sadr’s          ices. In southern cities, Thar-Allah (Vengeance
 Shi’a paramilitary group.” The report added that              of God) is one of a number of militant groups
 “Hezbollah was recruiting and training members of             suspected of assassinations. . . . The chief of the
 Sadr’s militia. A later report . . . said that Hezbollah      Iraqi National Intelligence Service, General
 was ‘buying rocket-propelled grenades . . . antitank          Mohammed Abdullah al-Shahwani, has pub-
 missiles’ and other weapons for Sadr’s militia.”18            licly accused Iranian-backed cells of hunting
 Unconfirmed reports suggested that Hezbollah’s sec-           down and killing his officers.25
 retary general Hassan Nasrallah had sent a senior
 adviser to deliver funds to Sadr in Najaf.19 In Octo-          One former Iraqi army officer reported “that he
 ber 2005, a British government official “alleged that      was recruited by an Iranian intelligence agent in
 Iran had supplied explosive devices to Sadr’s Mahdi        2004 to compile the names and addresses of Min-
 Army.”20 Prime Minister Tony Blair subsequently            istry of Interior officials in close contact with Ameri-
 supported that assertion and “attributed the ship-         can military officers and liaisons.” The Iranians
 ments to ‘Iranian elements’ or Iran’s ally, Lebanese       wanted to know “‘who the Americans trusted and
 Hezbollah, acting on Iran’s behalf.”21                     where they were, and pestered [the former officer] to
     The covert nature of Iranian support for its prox-     find out if [he], using his membership in the Iraqi
 ies was clear and disturbing from the outset. Iranian      National Accord political party, could get someone
 intelligence services penetrated Iraq rapidly and          inside the office of then Prime Minister Iyad Allawi
 thoroughly, and the thrust of their collection efforts     without being searched.” The Iranian agent “also
 was “finding out what weapons U.S. troops were car-        demanded information on U.S. troop concentrations
 rying and what kind of body armor they were wear-          in a particular area of Baghdad and details of U.S.
 ing. Iranian agents also sought information on the         weaponry, armor, routes and reaction times.”26
 location of U.S. Army and intelligence bases; on the
 routes traveled by U.S. convoys; on the operations of      Hezbollah Trains Iraqis in Iran. The number and
 the Special Forces’ elite Delta Force; and on the plans    quality of special groups increased in 2005 as the
 of the U.S. military and intelligence inside Iraq.”22      Iranian government allowed Hezbollah to train Iraqi
 The Iranians preferred not to be directly implicated       militias in Iran. The three small camps used for
 in attacks on U.S. forces but instead offered bounties     training Iraqi militias were, as of summer 2007,
 to Iraqis for killing Americans, shooting down U.S.        located near Tehran. Twenty to sixty Iraqis can be
 helicopters, and destroying American tanks.23 Iran’s       trained at once in these facilities, and the training
 proxies in Iraq also undertook a campaign of targeted      courses last from four to six weeks.27

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         The recruits were generally members of militias,     Reorganization of Special Groups with Hezbollah
     including, but not exclusively, Jaysh al Mahdi.28        as Proxy. Though the Hezbollah training of special
     They crossed the border at Zurbatiya-Mehran, usu-        groups in Iran began in 2005, the Iranian govern-
     ally unarmed and in pairs, sometimes in buses.29         ment decided to adjust the way these groups were
     Recent arrests by Iraqi army soldiers reveal one         organized. A joint Quds Force–Hezbollah effort to
     recruiting technique used by special groups in           organize these trained opposition groups into a
     Najaf, the Shia holy city where the Office of the        Hezbollah-style structure began in May 2006. The
     Martyr Sadr and other political and religious            Iranian Quds Force leadership sponsored the reor-
     organizations are well established. The director of      ganization effort by holding a meeting with Hezbol-
     a charity, the Amin Allah Cultural and Humanitar-        lah leaders Hashim and Daqduq, who traveled to
     ian Establishment, funneled funds designated for         Tehran for that purpose. In Tehran, they met with
     humanitarian use through the charity for the             Hajji Yusif, the deputy commander of the Quds
     purpose of recruiting foreign fighters, training         Force who heads its Department of External Special
     rogue Jaysh al Mahdi operatives in lethal attack         Operations. They also met with the commander.36
     tactics, and trafficking illegal weapons from Iran.30        The Quds Force instructed Daqduq “to make
     Two employees at the charity took advantage              trips in and out of Iraq and report on the training and
     of their positions to offer $500 to those who            operations of the Iraqi special groups. In the year
     would emplace improvised explosive devices (IED).        prior to his capture, Ali Mussa Daqduq made four
     These same recruiters also facilitated the training of   such trips to Iraq. He monitored and reported on the
     Iraqis in Iran and received money and weapons            training and arming of special groups in mortars and
     from Iran.31                                             rockets, on the manufacturing and employment of
         The Quds Force and Hezbollah trained Iraqis in       improvised explosive devices, and on kidnapping
     groups of twenty to sixty so that they functioned as     operations. Most significantly, he was tasked to
     a unit—a secret cell or special group. The Iraqis        organize the special groups in ways that mirrored
     returned to Iraq after their training, maintaining       how Hezbollah was organized in Lebanon.”37
     their group’s organization and knowing how “to               The Quds Force sponsored, or at least accepted,
     use EFPs, mortars, rockets, as well as intelligence,     another significant personnel change at the same time.
     sniper and kidnapping operations.”32 These special       In June 2006, just a month after the Tehran meeting,
     groups could be combined into larger organiza-           Qais Khazali became the head of special groups in Iraq
     tions. The director of the Amin Allah charity coor-      (Daqduq remained chief adviser).38 Khazali is an Iraqi
     dinated “more than 200 rogue [Jaysh al Mahdi]            who once supported the Sadrist movement. Accord-
     members” and “ordered them to conduct assassi-           ing to a Sadrist spokesman, Sadr expelled Khazali
     nations on local citizens and government officials       from his organization in 2004 because the latter gave
     who oppose the group’s illegal activities.”33            “unauthorized orders” during the battle for Najaf.39
         Hezbollah oversaw the special groups training        Khazali thus had a reputation for working with but
     effort by sending one of its members, Yussef Hashim,     undercutting Sadr. It is not clear from the open sources
     to serve as the organization’s head of special opera-    what relationship existed between Khazali and Sadr
     tions in Iraq.34 The trainer leading this effort in      during Khazali’s tenure as head of special groups.
     2005 was a Lebanese Hezbollah operative named Ali        Khazali’s relationship to Iran, however, is clear: he
     Mussa Daqduq, who had an impressive military             reported to Yusif just as Daqduq did.40
     career in that organization. He joined Hezbollah in          Some members of Iraqi special groups observed
     1983 and commanded a Hezbollah special opera-            or participated in the Hezbollah-Israel war in July
     tions unit. He coordinated both the personal secu-       2006. They traveled from Iraq to Syria to Lebanon
     rity of Nasrallah and operations in large sectors of     and worked alongside Hezbollah in groups of
     Lebanon before he came to Iran.35                        twenty to forty fighters.41

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 Possible Aims of the Quds Force. Initially, the               political aims in Iraq and for the effect it would have
 Quds Force’s goal might have been pinning U.S.                on American policy. Hezbollah in Lebanon exists
 forces in Iraq rather than ejecting them. According           despite the presence of an elected government there.
 to Ware, “Intelligence sources claim that Brigadier           Hezbollah uses existing government structures and
 General Sullaimani ordained in a meeting of his               personnel to accomplish some of its goals, so the
 militia proxies in the spring of last year [2004] that        reorganization of Iraqi special groups into a Hezbol-
 ‘any move that would wear out the U.S. forces in              lah-like model implies that the Quds Force might
 Iraq should be done. Every possible means should              have intended the special groups to operate under
 be used to keep the U.S. forces engaged in Iraq.’”42          the umbrella of Iraqi government institutions in
     In 2005 and 2006, the Quds Force’s “goal was to           order to compete with (or, indeed, effectively
 develop the Iraqi special groups into a network similar to    replace) Iraq’s elected government, as Hezbollah does
 the Lebanese Hezbollah. Special groups would be unable        in parts of Lebanon.
 to conduct their terrorist attacks in Iraq without Iranian-       Ryan Crocker, the U.S. ambassador to Iraq, sug-
 supplied weapons and other support,” according to a           gested that the Quds Force might have the goal of
 U.S. military spokesman.43 The purpose of the Quds            assuring that southern Iraq remains beyond the con-
 force effort, then, was to create a highly lethal network     trol of the central government of Iraq and Iraqi secu-
 that relied upon the Iranian government to survive. Pre-      rity forces. In this scenario, the Quds Force might
 sumably, this reorganization would increase Tehran’s          desire an end-state in which those who receive their
 ability to control and influence operations in Iraq.          funding, weapons, and military training provide
     Iran and Hezbollah made these changes as the              security and services in southern Iraq and hold
 current government of Iraq was being established.             political offices there. Crocker stated:
 Parliamentary factions selected Nuri al-Maliki as
 prime minister on April 21, 2006.44 His cabinet took             The fact that we have arrested the Lebanese
 power on May 20, 2006. The Quds Force reorgani-                  Hizbollah trainer and have had many long con-
 zation of the special groups into a Hezbollah-like               versations with the head of the secret cells, so
 structure seems likely to have been either a deliber-            called of the Jaish al Mahdi, who has gone on at
 ate Iranian response to the creation of an Iraqi gov-            length about Iranian connections, has to leave
 ernment or, more specifically, to Maliki’s premiership.          you with the issue out there, is Iran intending a
 The Quds Force certainly took these steps as Maliki’s            Lebanonization or a Hezbollahzation of parts of
 government was forming.                                          the south. So in addition to . . . criminally
     The Quds Force might have intended to reorgan-               driven violence, you cannot rule out the pos-
 ize the Iraqi secret cells into a Hezbollah-style organi-        sibility of an overlay of not just politically
 zation because that military advising effort has                 directed violence but politically directed vio-
 succeeded well, but it might also have intended to               lence with outside support.45
 achieve goals in Iraq similar to those Hezbollah has
 pursued in Lebanon. The primary goal of Hezbollah
 before 2005 was to expel Israeli forces from territory        The Quds Force Advisers in Iraq. Most members of
 in southern Lebanon. By extension, it seems possible          special groups are Iraqis, like Khazali, but there are
 that Hezbollah and the Quds Force viewed the special          Iranian operatives in Iraq assisting the special groups.
 groups as an organization well-suited to drive Coali-         Iranians tied to the Quds Force operated in Iraq
 tion forces from Iraq. That would represent a change          at the end of 2006 and the beginning of 2007. U.S.
 from the 2007 Quds Force strategy articulated by Sul-         Special Forces detained Mohsin Chizari, the third-
 laimani, if Ware reported it correctly.                       ranking official in the Quds Force, at the Baghdad
     The Quds Force and Hezbollah might have                   compound of Abd al-Aziz al-Hakim on December
 reorganized their efforts in 2006 to achieve broader          29, 2006. He and his captured colleague

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        had detailed weapons lists, documents per-                      Iranian Support for al Qaeda
        taining to shipments of weapons into Iraq,
        organizational charts, telephone records and           From the beginning, Iran did not confine its support
        maps, among other sensitive intelligence               of anti-American fighters to Shia groups. It also sup-
        information. Officials were particularly con-          ported Ansar al-Islam, a radical Sunni terrorist
        cerned by the fact that the Iranians had infor-        group with close ties to al Qaeda. U.S. and British
        mation about importing modern, specially               intelligence reports in 2004
        shaped explosive charges into Iraq, weapons
        that have been used in roadside bombs to tar-             concluded that Ansar al-Islam was working
        get U.S. military armored vehicles.46                     closely with Iran, and also al Qaeda, in its ter-
                                                                  rorist attacks against coalition forces. . . .
         These two men claimed they had diplomatic pass-          [O]ne British defense report noted pointedly:
     ports, but U.S. officials argued that they did not have      “Some elements [of Ansar al-Islam] remain in
     diplomatic immunity, as they were using aliases. The         Iran. Intelligence indicates that elements” of
     Iraqi government disagreed with the U.S. officials           Iran’s Islamic Revolutionary Guard Corps “are
     and decided to expel them.47 On January 11, 2007,            providing safe haven and basic training to
     Coalition forces detained five Iranians, without             Iran-based [Ansar al-Islam] cadres.”51
     proper diplomatic credentials, with links to the Quds
     Force in Irbil, in the Kurdish region in northeastern         A report by the Iraq Survey Group noted that a
     Iraq.48 These five Iranians have remained in deten-       source had reported “approximately 320 Ansar al-
     tion since then. The Quds Force had ties with Ansar       Islam terrorists being trained in Iran . . . for various
     al Islam terrorists in the Kurdish region before and      attack scenarios including suicide bombings, assassi-
     after the fall of Saddam Hussein.                         nations, and general subversion against U.S. forces in
         There are a significant number of Iranian advis-      Iraq.”52 Another British intelligence source “said that
     ers in Iraq. Iraqis functioned as liaisons for Iranian    Iranian government agencies were also secretly help-
     intelligence officers in the cities of Amarah and         ing Ansar al-Islam members cross into Iraq from Iran,
     Majjar al-Kabir, known havens for weapons smug-           as part of a plan to mount sniper attacks against coali-
     glers.49 Major General Rick Lynch, commander of           tion forces.”53 American sources confirmed this infor-
     the Multinational Forces Center, estimated in             mation, adding that “an Iranian was aiding Ansar
     August 2007 that the center had about fifty high-         al-Islam ‘on how to build and set up’ . . . IEDs. An
     value targets related to the special groups. Roughly      analyst for the U.S. Central Command offered this
     thirty of them are “IRGC surrogates, people that          assessment: ‘[Ansar al-Islam] is actively attempting to
     have been trained by the IRGC in Iran who’ve come         improve IED effectiveness and sophistication.’”54
     back in Iraq to conduct acts of violence.” In addi-           Iranian arms also reached Sunni insurgents west of
     tion, he said, “I believe I got some members of the       Baghdad. For example, U.S. and Iraqi forces found a
     IRGC, some Iranians, who are working in our battle-       cache containing 250 eighty-one-millimeter mortar
     space.” He believes that there were about twenty          rounds north of Abu Ghraib (west of Baghdad) on
     Iranian IRGC advisers “either training Iraqis to con-     February 3.55 Iran exports eighty-one-millimeter mor-
     duct acts of violence or conducting those acts of         tars, whereas other states in the region use and export
     violence themselves. . . . And what they do is they       eighty-two-millimeter tubes and shells.56 Sunni insur-
     transit the battlespace. They don’t come in and they      gents held the area west of Baghdad, so it is reasonable
     stay, but they’re going back and forth.”50 These          to suppose that Sunni insurgents had acquired Ira-
     Quds Force operatives seem to fill an important           nian arms no later than early February.
     advisory niche, perhaps in the wake of the capture            More recently, Iranian arms dealers have supplied
     of Daqduq.                                                new weapons to al Qaeda in Iraq. A supply of arms

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 flowed from Iran into al Qaeda strongholds in             Shiite militias.67 It is logical to conclude that the EFPs
 Salman Pak and Arab Jabour, presumably from the           were flowing into Doura from Arab Jabour and other
 Iranian border to the south and east. From there,         points south along the Tigris.
 al Qaeda transported the munitions to Baghdad.57              In early October 2007, U.S. forces conducted an
     Iranian arms became an important part of              operation in Kirkuk province, targeting a suspected
 al Qaeda’s arsenal. In May 2007, both Lynch and           al Qaeda emir of foreign terrorists involved in EFP
 Colonel Ricky Gibbs, commander of the 4th Brigade         attacks on Coalition Forces.68 A few weeks prior to
 Combat Team, 1st Infantry Division, briefed on the        this operation, a Quds Force officer involved in EFP
 use of EFPs by Sunni extremists south of Baghdad.58       trafficking was detained in Sulaymaniyah, a city in
 Moreover, al Qaeda promoted an expert—whom U.S.           northern Iraq without a large Shia presence.69 These
 forces killed on May 25, 200759—who knew how              incidents suggest that Iranian support is not limited
 to obtain and use EFPs, showing the value that the        to special groups but rather reaches Sunni insur-
 group places on that technology.                          gents across Iraq. Whatever Tehran’s intent might be,
     In June and July 2007, U.S. forces conducted tar-     it is clear that Sunni insurgents, including al Qaeda
 geted raids on insurgent safe houses in Arab Jabour       terrorists, have received Iranian aid in the form of
 during Operation Marne Torch, discovering caches of       sanctuary within Iran and advanced Iranian-supplied
 new weapons with Iranian markings. The weapons            weapons. It is reported that some of them also
 had been imported recently rather than buried or          received training in Iran.
 stockpiled.60 Weapons were being stored in Arab
 Jabour, indicating that it was a way station of sorts.
     From Arab Jabour, al Qaeda smuggled these new             Undermining the Iraqi Government:
 Iranian weapons, along with the fighters that would            Special Group Activities in 2006
 use them, into Baghdad.61 The Tigris River was their
 primary supply route.62 Lynch explained, “as we           The special groups’ operations contributed directly
 engage with the local population, they tell us that       to turmoil in Iraq’s central and provincial govern-
 the only people on the Tigris River are extremists,       ments in 2006 and 2007. The special groups are not
 insurgents. So what we’ve chosen to do is to take out     solely responsible for the political turmoil in Iraq,
 all boats.”63 Colonel Wayne Grigsby Jr., commander        but they have actively undermined the Maliki gov-
 of 3rd Brigade, 3rd Infantry Division, reported that      ernment from its inception.
 his forces had targeted and destroyed twenty-one              The special groups contributed vigorously to the
 boats during the first ten days of Operation Marne        sectarian violence plaguing Iraq in 2006. Leaders of
 Torch.64 Bombing the boats often generated second-        secret cells organized and facilitated death squad activ-
 ary explosions, indicating that the river craft were      ities by militia groups and government employees.
 transporting munitions.65                                 They organized kidnappings of Iraqi government
     Evidence suggests that fighters and weapons           officials and workers from their ministries. They
 moved from Arab Jabour into the capital’s Rashid dis-     diverted Iraqi government funds to support their
 trict, in particular.66 Arab Jabour is an easy commute    operations. Many used their official positions within
 to al Qaeda–held areas of Rashid, such as Doura, sug-     the government of Iraq to fund, organize, staff, and
 gesting a connection between them. Gibbs reported         execute these secret cell operations.
 in late May that some enemy fighters in Rashid came           The special groups also directly caused some of the
 into the district from outside of Baghdad and, indeed,    personnel turmoil within the Maliki government that
 from other areas of Iraq. More importantly, Gibbs esti-   prevented it from functioning in the second half of
 mated that 15 or 20 percent of the IEDs his troops        2006. Some of the targeted kidnappings of Iraqi offi-
 encountered were EFPs. He stated that the EFPs were       cials in spring and summer 2006 are directly linked to
 being used in terrain controlled by al Qaeda, not by      secret cell leaders whom U.S. forces captured and

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     interrogated in 2007. These kidnappings removed           Martyr Sadr or to its military wing, the Jaysh al
     mid-level functionaries—often but not exclusively         Mahdi. It is not possible from the evidence pre-
     Sunni—from the central government of Iraq and             sented to conclude firmly whether Sadr personally
     from the provincial governments.                          directed Zamili’s activities in 2006 or whether Zamili
                                                               acted independently. Zamili was one of the first offi-
     Hakim al Zamili, Special Groups, Deputy Minis-            cials arrested after Sadr left Iraq in late January
     ter of Health. In June 2006, Diyala’s provincial          2007. His arrest preceded the beginning of Opera-
     director of health was the Sunni nominee for one of       tion Fardh al Qanoon, or Enforcing the Law (com-
     the deputy minister positions in the Maliki govern-       monly known as the Baghdad Security Plan).
     ment.70 He traveled to Baghdad that month for a
     meeting at the Ministry of Health with the minister       Mass Kidnappings in June and July 2006. It is
     and was kidnapped while inside the building. His          not clear from open sources which organizations—
     kidnapping was organized by Hakim al Zamili, the          government forces, militia groups, secret cells, or pri-
     deputy minister of health, whom U.S. and Iraqi            vate citizens—organized and perpetrated the mass
     forces apprehended on February 9, 2007.71 The             kidnappings that plagued Iraq in June and July 2006.
     allegations against the ministry had provoked previ-      Many of these attacks were conducted by men wear-
     ous operations by U.S. and Iraqi forces. For exam-        ing Iraqi police uniforms, but the kidnappers were
     ple, they had attempted to locate kidnap victims in       probably militia members who also worked in the
     the Ministry of Health in August 2006, but they           Iraqi security forces—or, indeed, in special groups.
     failed to find their targets.72                           Many of these June and July kidnappings targeted
         In November 2006, officials in the Ministry of        government officials rather than randomly selected
     Health were targets of kidnappings and assassina-         civilians and deserve consideration as part of the
     tions. Men in police uniforms abducted Ammar              destabilization of the Maliki government, whether or
     al-Safir, another deputy minister of health, on           not special groups were involved. Gunmen in cam-
     November 19, 2006.73 Two days later, roadside             ouflage uniforms seized three busloads of factory
     bombs in eastern Baghdad wounded two guards in            workers on their way home from a government-
     the convoy for Minister of State Mohammed Abbas           owned industrial plant in Taji on June 22, 2006.76 In
     Auraibi. And on that same day, gunmen fired on            early July, gunmen kidnapped individuals working
     Zamili’s convoy in Baghdad, killing two of his secu-      for the government of Iraq, including the minister of
     rity guards.74 All three men were Shia officials in the   electricity (who was released) and his bodyguards; a
     Iraqi government. The U.S. military has not indi-         female Sunni legislator and her bodyguards; and a
     cated whether Zamili and his secret cell were com-        consular official who was on leave in Baghdad from
     plicit in the November kidnapping of his colleague.       his routine diplomatic assignment in the Iranian city
     Nor have they indicated whether the assassination         of Kermanshah.77 On July 16, gunmen in police uni-
     attempt against him was a reprisal for that or any        forms and using official vehicles kidnapped the head
     other action. Zamili used resources of the Ministry       of Iraq’s olympic committee and approximately thirty
     of Health—such as ambulances—to transport                 other sports officials while they attended a conference
     weapons, death squads, and their victims between          in the Karrada neighborhood in eastern Baghdad.78
     Sadr City and other locations in Baghdad. Zamili
     allegedly paid the death squad members by includ-         Azhar Dulaymi, Special Groups, and the Kidnap-
     ing them on the payroll of the Ministry of Health.75      pings of Iraqi Officials and U.S. Soldiers. On
         As part of the parliamentary compromise that          November 15, 2006, a secret cell organization kid-
     brought Maliki to power, the minister of health has       napped numerous employees of the Iraqi Ministry of
     been appointed by the Sadrist bloc. Many employ-          Higher Education from its headquarters in Karrada.
     ees in that ministry have ties to the Office of the       The kidnapping garnered major public attention

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 because of its scale and its contribution to unrest       Khazali, Laith Khazali, and Daqduq were leaders of a
 within the Iraqi government, culminating in the with-     network deliberately developed by the Iranian gov-
 drawal of Sadrist members from the Iraqi Council of       ernment to foment violence in Iraq. The U.S. military
 Representatives on November 29, 2006.79 Secret cell       spokesman in Baghdad released a file early in July
 operative Azhar Dulaymi, whom U.S. forces killed          reproducing some of these documents.86
 during a raid on May 20, 2007, coordinated this              The Multi-National Force–Iraq reported:
 operation.80 Differing reports suggest that between
 fifty and eighty gunmen, all in police uniforms,             When Qais [Khazali] was captured, we found
 stormed past security guards within the ministry             an in-depth planning and lessons learned
 compound. The gunmen separated male and female               document. It was about the attack the special
 employees, locked the latter in a room, and loaded           groups coordinated against the Karbala Provin-
 the former into roughly thirty Interior Ministry trucks      cial Joint Coordination Center on January 20th.
 without license plates.81 U.S. officials estimated that      This 22-page document provides a unique win-
 fifty-five people had been kidnapped; they believed          dow into the planning and execution of special
 that the abductors took their victims to the Belidiyat       group operations here in Iraq. . . . Ali Musa
 neighborhood on the southeastern fringe of Sadr              Daqduq and Qais Khazali state that senior lead-
 City.82 Approximately forty of the hostages were             ership within the Qods Force knew of and sup-
 released by the kidnappers or rescued by the Iraqi           ported planning for the eventual Karbala attack
 Army within twenty-four hours.83 In addition, Maliki         that killed five coalition soldiers. Ali Musa Daq-
 immediately ordered the arrest of several police offi-       duq contends that the Iraqi special groups
 cials in Karrada, presumably for complicity in the plot      could not have conducted this complex opera-
 (or, alternatively, for incompetence).84                     tion without the support and direction of the
     Dulaymi organized other high-profile kidnap-             Qods Force. Daqduq and Khazali both confirm
 pings executed by members of special groups. He              that Qais Khazali authorized the operation, and
 participated in the January kidnapping of U.S. sol-          Azhar al-Dulaimi, who we killed in an opera-
 diers from the Provincial Joint Coordination Center          tion earlier this year, executed the operation.
 in Karbala, where a small U.S. team worked with                  The document that we captured showed the
 Iraqi security forces. Operatives entered the center         following. It showed that the group that
 unopposed in a convoy of civilian vehicles, wearing          attacked the Provincial Joint Coordination Cen-
 components of American military uniforms, and                ter in Karbala had conducted extensive prepa-
 stormed into rooms where the U.S. soldiers were              ration and drills prior to the attack. Qods Force
 working. They ultimately killed the five American            had developed detailed information regarding
 soldiers whom they attempted to kidnap.85                    our soldiers’ activities, shift changes and fences,
                                                              and this information was shared with the
                                                              attackers. They had American-looking uni-
     U.S. Forces Capture Qais Khazali,                        forms, vehicles and identification cards that
    Laith Khazali, and Ali Mussa Daqduq                       enabled the attackers to more easily penetrate
                                                              the Provincial Joint Coordination Center and
 U.S. forces captured Qais Khazali, Laith Khazali, and        achieve surprise. [It] reported that the captured
 Daqduq in a single operation on March 20, 2007, in           soldiers were killed when the attackers’ disper-
 Basra, Iraq’s southernmost city. The three obviously         sal from the site was interrupted.87
 worked together on occasion. U.S. forces also confis-
 cated a computer, false identification cards, and            U.S. forces exploited the intelligence gained in
 diaries in the raid. From these documents and sepa-       these documents and from interviews with the cap-
 rate interviews, U.S. forces confirmed that Qais          tives to identify significant secret cell leaders and

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     members of the weapons smuggling network. The                sale in the open markets, RPG-7s, sixty-millimeter
     affiliated kills and captures included secret cell           canisters filled with Iranian-manufactured mortar
     leader Abu Zaki; Dulaymi, the executor of the Min-           rounds, and 240-millimeter rockets.97
     istry of Health and Karbala attacks; Abu Tiba, one of            In addition, earlier in 2007, American troops dis-
     Dulaymi’s gang members;88 Al Hilfi, the head of              covered over one hundred Austrian-made Steyr HS50
     secret cells in Baghdad;89 Sheik (Ahmed) Moham-              .50 caliber sniper rifles in Iraq.98 These high-powered
     mad Hassan Sbahi Al Khafaji, who supplied                    sniper rifles, which fire Iranian rounds, “can pierce all
     weapons to Baghdad;90 and many others.91                     body armor from up to a mile and penetrate armored
                                                                  Humvee troop carriers.”99 The rifles were part of a
                                                                  larger shipment legally purchased from the Austrian
          Arming the Secret Cells with EFPs                       manufacturer by Iran a year before under the justifi-
                and Other Weapons                                 cation that they would be used by the Iranian police
                                                                  to combat drug smugglers.100 Although eyebrows
     A variety of Iranian weapons flowed into Iraq through        were raised in both Washington and London at the
     direct purchases from the government of Iran. Coali-         time, the sale went through, and the weapons were
     tion forces first noticed that enemy groups were using       shipped to Iran.101 The presence of these weapons
     EFPs in Iraq in the middle of 2004. The number of            shows a high level of sophistication in the Iranian
     EFPs used against Coalition and Iraqi forces rose “at a      arms flow into Iraq, as the purchase was made offi-
     rate of 150 percent” between January 2006 and                cially by the Iranian government.
     December 2006 and increased every month from
     November 2006 through January 2007.92 Weapons                The Special Groups Network Transit Routes for
     were typically smuggled from Iran to Iraq, and the           EFPs and Other Weapons from Iran. The network
     Quds Force played a role in that process.93                  of special groups transports EFPs along the major
         The training alliance between Hezbollah, Iran, and       highways to Baghdad via Iranian border crossings in
     Shiite militias corresponds, temporally, with the            Diyala and Wasit provinces. Most of these routes
     increased use of EFPs in Iraq. The timing is probably        were not patrolled by Coalition forces in 2006, and
     not coincidental. As discussed in Chapter 1, Iran            the mission of Coalition forces in 2006 did not regu-
     originally manufactured EFPs for Hezbollah. Copper           larly include interdiction operations but rather
     EFPs require a great deal of metallurgical and techno-       focused on training Iraqi security forces for these and
     logical precision to manufacture. Consequently, they         other missions.
     cannot be made without specific machinery, access to             In Wasit province, EFPs, weapons, recruits for
     which the Iranians have controlled. Sheibani has sup-        special groups, and smuggled goods flowed through
     plied EFPs to Iraq since 2005, if not earlier.94 His rela-   the major border crossing between Mehran, Iran,
     tive, Abu Yasier al-Sheibani, served as “the deputy, the     and Zurbatiya, Iraq.102 Iranian trucks did not trans-
     key logistician and financier for this group in Iraq.”95     port weapons into Iraq through Zurbatiya. Rather,
     The Sheibanis relied on a network within Iraq to dis-        goods and weapons were transloaded from Iranian to
     tribute EFPs to special groups and other extremists,         Iraqi trucks near the border.103 Legitimate commer-
     concentrating on Baghdad. Some smugglers in these            cial traffic also crosses the border at Zurbatiya, as do
     distribution networks had direct connections to the          religious pilgrims and political figures—such as
     Quds Force.96                                                Amar al-Hakim, now head of the SIIC, a major politi-
         Other weapons smuggled from Iran to Iraq in              cal party in the Maliki government—with ties to
     2007 included: eighty-one-millimeter mortars                 Iran.104 The city of Kut, just to the west along the
     (again, the remainder of the region uses eight-two-          highway, has strong ties with the SIIC and its military
     millimeter mortars), repainted 107-millimeter rock-          wing, the Badr Corps.105 Kut is also the hub of the
     ets imported into Iran from China and marked for             road and smuggling network from the Iranian border

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 to Baghdad.106 The road from Mehran runs through                       The Quds Force in Diyala
 Kut, as does the road from Amarah. U.S. forces con-
 ducted a series of operations this summer to interdict       The Quds Force responded to the surge of U.S.
 the smuggling of Iranian weapons from Amarah to              troops in Iraq by escalating its support for special
 Sadr City.107 And Iraqi security forces, with the help       groups in central and southern Iraq. Daqduq
 of Coalition troops, conducted operations in Kut             recorded information about attacks in Basra, Ama-
 against rogue elements of the Jaysh al Mahdi.108             rah, Karbala, the Rusafa neighborhood of Baghdad,
     Basra might be another point of entry for Iranian        and Diyala.116 The special groups also increased
 arms and weapons. Certainly, there is evidence of            attacks in other neighborhoods of Baghdad. It is not
 the trafficking of weapons along the roads out of            possible to detail every such incident, but Diyala
 Basra to Amarah and Nasiriyah.109 In mid-June,               province, northeast of Baghdad, is an interesting case
 Nasiriyah was the site of a firefight between Iraqi          study of the special groups’ reaction to the American
 forces and the Mahdi Army.110 On June 27, 2007,              troop increase in both February and August 2007.
 Iraqi special forces destroyed a weapons cache                   Jaysh al Mahdi operated in Diyala in 2006 because
 belonging to rogue Jaysh al Mahdi militiamen.111             of the mixture of sectarian and ethnic groups there;
 Among the weapons destroyed were thirty sixty-               the al Qaeda stronghold that emerged in Baqubah, the
 millimeter mortar rounds, a weapon known to be               capital of Diyala; and the region’s proximity to Bagh-
 Iranian in origin.112 A day later, Iraqi special forces      dad. Diyala suffered from sectarian cleansing and ter-
 captured “a rogue Jaysh al-Mahdi insurgent leader            rorism in 2006. The targeting of Shiite militia
 during an operation in Nasiriyah.”113 The man cap-           elements during the Baghdad Security Plan did not
 tured, later identified as Khafaji, is suspected of hav-     push Jaysh al Mahdi fighters into Diyala. Rather, they
 ing “provide[d] financial support to weapons                 were already active in the province, and the special
 trafficking networks which supply Iranian affiliated         groups actively targeted Coalition and Iraqi forces in
 Special Groups units in the Baghdad area.”114                Diyala province in March, April, and May by rein-
     Cities like Majjar al-Kabir and Amarah in Maysan         forcing the area and supplying it with weapons.
 province—places known to be “smuggling routes                    The special groups in Diyala received direct
 for Secret Cell terrorists who facilitate Iranian lethal     attention from the Quds Force proxies in Iraq. Some
 aid” as well as safe havens for “liaisons for Iranian        time before March 20, 2007, Daqduq met with lead-
 intelligence operatives into Iraq”—were the target of        ers of special groups who conducted small arms and
 disruption operations in mid-June.115 Weapons and            IED attacks against troops in Diyala, presumably to
 aid entering these towns near the Iranian border             review their activities.117 His visit shows the impor-
 must still travel through the heavily Shia central five-     tance of Diyala to the special groups.
 city region before reaching Baghdad, increasing the              This spring, the conflict in Diyala consisted of a
 violence in the south.                                       struggle between the Jaysh al Mahdi, al Qaeda, and
     Kut, Diwaniyah, Hilla, Karbala, Najaf, Musayyib,         U.S. forces to control the lines of communication to
 Mahmudiyah, Iskandaria, Mahawil, and numerous                Baghdad. Special groups and rogue Jaysh al Mahdi
 other sites of sectarian violence or Shiite militia bases    moved into areas of Diyala as al Qaeda receded from
 all lie between Nasiriyah and Baghdad. The fight for         its stronghold in Turki Village and reconcentrated in
 these cities is likely the fight for control of main Jaysh   Baqubah, Tarmiyah, and the Diyala River Valley.118
 al Mahdi supply routes and bases of operation.                   Iranian weapons were smuggled into and
     Iranian weapons and trained terrorists enter Iraq at     through Diyala Province in the first quarter of 2007.
 key border crossings. Although the exact mechanism           U.S. and Iraqi forces worked to discover the pattern
 of supply remains unclear, Iranian arms are moved via        by which they were smuggled, interdict the flow of
 extensive networks, and often the so-called secret           weapons, and identify the smugglers who were
 cells are responsible for facilitating their transfer.       responsible for this activity.119

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         Two insurgent supply lines traversed Diyala in         Balad Ruz. This operation detained four suspects and
     February, March, and April 2007. One ran from Iran         captured a large ammunitions cache.124 These types
     through Muqdadiyah into northern Baqubah (a pre-           of operations generally signal the presence of U.S.
     dominantly Shiite area) and another through Man-           Special Forces in the area. And all of these factors
     dali to southern Baqubah or Buhriz (which Sunni            suggest that this operation aimed to interdict
     insurgents have controlled). Rogue Jaysh al Mahdi          weapons-smuggling across the Iranian border.
     or other Shiite extremists might have controlled              Because al Qaeda had been the primary enemy
     both supply lines. Alternatively, one sectarian group      in Balad Ruz in January 2006, the Iraq Report pre-
     (perhaps the Jaysh al Mahdi) controlled the supply         viously speculated that Iran was supplying these
     line from Muqdadiyah to northern Baqubah, and              weapons to al Qaeda.125 But U.S. forces subse-
     another controlled the supply line from Mandali to         quently stated that they suspected these were
     Buhriz. Sunni extremists established bases and             linked to Shiite extremists rather than to al Qaeda.126
     training camps about halfway along both of these           We now know that secret cell networks in Diyala
     supply routes, suggesting that they aimed either to        were being reviewed by the Quds Force proxy
     cut them or facilitate the movement of weapons             before March.127 The Mandali caches seem, there-
     along them.                                                fore, to have been brought by the special groups
         Facilitators from Iran and northern Iraq supplied      network for its own use, in order to escalate the
     weapons and men to the province from February              fight against Coalition forces in Diyala or in Bagh-
     through April 2007. When the Baghdad Security              dad in February.
     Plan began on February 14, U.S. and Iraqi forces              Indeed, the special groups in Baghdad did rely on
     closed certain border crossings into the country for       weapons stored in and distributed from Diyala
     seventy-two hours.120 On February 17, Iraqi border         province. This became clear in August when Coalition
     enforcement officials discovered an unattended don-        forces captured an important facilitator near Qasarin,
     key with a cache of weapons near the Iranian bor-          on the Tigris River in Diyala, whose responsibilities
     der.121 Presumably, smugglers had used the animal          included distributing EFPs and other “weapons to
     to carry weapons to that location or were intending        Special Groups operating throughout the Baghdad
     to use the animal to carry weapons from that loca-         area.” This weapons smuggler made “numerous” trips
     tion. On February 21, Iraqi border police found a          to Iran, where he apparently had “ties to the Iranian
     large cache of weapons east of Balad Ruz in Mandali,       Revolutionary Guards Corps–Quds Force.”128
     a town that sits on the secondary road that follows           The Khalis corridor, in western Diyala province,
     the mountains dividing Iran and Iraq and is an obvi-       also served as a main supply route and safe haven
     ous point on a smuggling route from the legitimate         for Iranian-backed special groups. U.S. forces
     border crossing to its north at Khanaqin. The cache        found a huge cache in Al Jadidah on February 24,
     contained antipersonnel mines, mortar rounds,              2007, that contained 130 copper disks for the fab-
     ammunition, and a rocket-propelled grenade.122             rication of EFPs, a hallmark of Iranian-backed
     Iraqi forces, supported by U.S. forces, discovered         groups.129 This town is conveniently located on the
     another cache near Mandali on April 4.123                  east bank of the Tigris River along the highway
         In the early morning hours of April 4, Iraqi forces,   from northeastern Baghdad to Khalis—convenient
     with U.S. support, conducted a sweep of a site in          to both lines of supply.130 In addition to the 130
     Imam al-Hajj Yusuf Village, a town 5.25 miles south-       EFP disks, the cache contained improvised mines in
     west of Mandali, on the eastern edge of the well-          various states of production, containers for making
     irrigated Diyala plain. The village is not far from the    IEDs, five anti-aircraft rounds, six rocket launchers,
     mountains near the Iranian border. A small road con-       IED-making materials, twenty-four mortar rounds,
     nects the village with Mandali and another route           and fifteen rockets.131
     leads back toward the main east-west road toward              In late July, U.S. and Iraqi forces pursued special

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 groups members through the Khalis and Qasarin                      Special Groups in Baghdad:
 areas.132 Coalition forces engaged in a firefight with              Mortaring the Green Zone
 twenty-five men west of Baqubah on October 5
 while attempting to apprehend a special groups           Special groups, trained and equipped by Iran, esca-
 leader who facilitated the transportation of weapons     lated the number of mortar and rocket attacks
 from Iran into Iraq. That particular group was suffi-    against targets in the Green Zone throughout the
 ciently well organized and trained to remain in          spring of 2007. The accuracy of this indirect fire
 defensive positions as U.S. forces arrived, then         improved as a result of the training they received in
 maneuver from the positions to attack, supported by      Iran and the quality of weapons with which they
 anti-aircraft weapons that were used against Coali-      were supplied. Lieutenant General Ray Odierno
 tion air support.133                                     reported in June, “We have found a few people that
    Special groups interacted with criminal net-          were Shi’a extremists that . . . had some training in
 works in Khalis and Qasarin.134 East of the Diyala       Iran—those mostly being the mortar and rocket
 River, individuals with close ties to the Quds Force     teams inside of Baghdad. . . . [T]hey were trained in
 facilitated the movement of weapons in Kharnabat,        Iran and came in here to conduct attacks against not
 just north of Baqubah, in July.135 U.S. forces also      only Coalition and Iraqi security forces, but govern-
 found several large EFP caches south of Baqubah in       ment of Iraq targets inside of the Green Zone.”140
 October and November.136 Between February and                Major General Joseph Fil, commander of Coali-
 November, special groups might regularly have            tion forces in Baghdad, elaborated further, explaining
 transported weapons from Iran and stored them in         that most of the rocket and mortar attacks originate
 depots along the banks of the Tigris and Diyala          from Sadr City or its environs, and most of the rock-
 rivers. Alternatively, special groups emplaced           ets and mortars are recently made Iranian weapons:
 weapons there in February and reactivated the sup-
 ply lines and headquarters through southern                 [M]uch of the indirect fire that we receive,
 Diyala as Operation Arrowhead Ripper and its suc-           especially that which is pointed at the Interna-
 cessors dislodged al Qaeda from the area.                   tional Zone, the Green Zone, is in fact Iranian.
    As U.S. and Iraqi forces pushed northeastward            And when we check the tail fins of the mortars,
 along the Diyala River in late 2007, other units tar-       when we find the rockets—and frequently
 geted the special groups and other Shiite extremists        we’re able to find them preemptively, before
 in the southern portion of the province. In late            they actually launch . . . there’s no doubt that
 September, U.S. forces arrested the special groups          they’re coming out of Iran. Most of them are
 leader linked to the large cache found in Khan Bani         made fairly recently, in the past several years,
 Saad in February. The suspect was responsible for           and they have lot numbers that we can . . .
 the smuggling network north of Baghdad, includ-             trace later on. I’ll also say that most of these are
 ing facilitating foreign fighters and training mili-        coming from the eastern side of the river, by far
 tants in bomb-making.137 U.S. forces arrested               the majority, in and around the Sadr City area.
 special groups members in Qasarin—including a               And so we focused our efforts very strongly
 facilitator who made multiple trips to Iran—who             into discovering where these areas are that
 smuggled weapons and aided rogue elements of                they’re frequently shooting from and denying
 the Jaysh al Mahdi.138 A large firefight erupted            those [areas to the enemy].141
 between U.S. forces and a special groups cell west
 of Baqubah, terrain that lies in the Khalis corri-           Odierno said, “I do concern myself, over time,
 dor.139 The arrest of extremist militia members and      about the Iranian influence on Shi’a extremist groups
 special groups members throughout October also           and what that means in the future. And we cannot
 mitigated the tensions.                                  allow this rogue Iranian influence to continue to

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     influence, in my mind, and in many ways attack the          in Hurriyah in Baghdad to rebuff the attempt of the
     government of Iraq. Many of these indirect fire             Golden Mahdi Army.146 The results of these con-
     attacks that these groups have done are directly            flicts are not clear.
     against the government of Iraq in the Green Zone. So            General David Petraeus emphasized that secret
     they’re clearly challenging the government. . . . We        cells are “different” from Jaysh al Mahdi—unlike the
     cannot allow that to continue.”142                          standard militiaman in the Mahdi Army, the secret
                                                                 cells “have had extra training and selection,” the
                                                                 training being conducted by the Quds Force.147
     The Relationship between the Secret Cells                   These secret cells function as enablers, facilitating
          and the Jaysh al Mahdi in 2007                         Iranian support for the Jaysh al Mahdi and coordi-
                                                                 nating continued attacks. Sadr City is the support
     The secret cells function alongside the Jaysh al            base for secret cells, Jaysh al Mahdi, and many rogue
     Mahdi and other militia groups in Iraq. They are not        Jaysh al Mahdi militias within Baghdad. These net-
     identical but are overlapping groups. “They come            works overlap extensively.
     from militia groups, and they are generally the more            A militia commander seized in Najaf illustrates a
     extreme members of those militia groups. Some of            common relationship between the current special
     them have come from Jaysh al-Mahdi. Some have               groups and the Jaysh al Mahdi organization. “The
     come from other militia groups as well,” said               former commander’s Jaysh al-Mahdi cell is suspected
     Brigadier General Kevin Bergner, a U.S. military            of conducting aggressive insurgent attacks using
     spokesman.143 Bergner stressed, “While some of these        explosively formed penetrators throughout southern
     people may have come from or been affiliated with           Iraq during late 2005 and early 2006. After leaving
     Jaish al-Mahdi at one point—and these special               Jaysh al-Mahdi, he allegedly formed an independent
     groups were an outgrowth, perhaps, of relationships         cell of more than 150 Shi’a extremists that is believed
     with Jaish al-Mahdi—they have in fact broken away           to have conducted attacks on Iraqi and Coalition
     from Jaish al-Mahdi.” Furthermore, “they are cellu-         Forces.”148 U.S. forces captured another extremist in
     lar in nature. . . . We believe that these [special         Sadr City who broke from Jaysh al Mahdi, ran his
     groups] are operating outside his [Sadr’s] control          own cell, and had ties to weapons provided by spe-
     and that he shares our . . . concern in the serious-        cial groups.149
     ness that they represent.”144
         The Jaysh al Mahdi fractured this spring. Sadr
     publicly ordered his militias not to fight Iraqi secu-                         Conclusions
     rity forces during the Baghdad Security Plan. As a
     result, the Maliki government declared that all mili-       There can be no question that Iran is actively sup-
     tia groups that fought the Iraqi security forces were       porting multiple insurgent and terrorist groups in
     “rogue elements” and therefore were subject to mili-        Iraq, that its efforts began even before the American
     tary targeting. Clashes between Iraqi security forces       invasion, that Iranian elements have included the
     and rogue militia elements occurred in Diwaniyah in         provision of direct support in the form of weapons
     March and Amarah in June.                                   and advisers, and that they have involved facilitating
         When Sadr left Iraq for Iran in late January, it fur-   the growth of a solid relationship between Lebanese
     ther undermined the leadership structure of the             Hezbollah and Iraqi Shiite militias, particularly the
     militia. In May, the Golden Mahdi Army, a Najaf-            Jaysh al Mahdi. Iranian agents and proxies in Iraq
     based group that claimed to be dispatched by Sadr,          have attacked Iraqi government officials in Baghdad
     attempted to cleanse the Jaysh al Mahdi of rogue            and in the provinces, suggesting that their aims do
     elements not responsive to Najaf.145 Local groups,          not include supporting or solidifying the democrati-
     calling themselves the Noble Mahdi Army, emerged            cally elected, Shiite-dominated government of Maliki.

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 They have been lavish with their support to all groups        available at www.usnews.com/usnews/news/articles/
 engaged in violence against the Coalition—including           041122/22iran.htm (accessed January 31, 2008). The arti-
 Sunni groups with ties to al Qaeda—and they have              cle notes that U.S. intelligence sources could not confirm
 supported a number of different Shiite groups even            that the fatwa had come from Iranian clerics, “but they
 when they are in competition with one another.                believe it was credible.”
                                                                  9. Ibid.
 Kimberly Kagan is president of the Institute for the Study
 of War.                                                         10. Michael Ware, “Inside Iran’s Secret War for Iraq.”
                                                                 11. Ibid. Ware did not use the term explosively formed
                                                               penetrator (EFP), which was not yet common currency,
                          Notes                                but the weapon he described was probably what is now
                                                               known as an EFP.
     1. Lieutenant General Raymond T. Odierno (Department        12. Ibid.
 of Defense press briefing, Arlington, VA, August 17, 2007),     13. As quoted in Edward T. Pound, “Special Report:
 available at www.defenselink.mil/transcripts/transcript.      The Iran Connection.”
 aspx?transcriptid=4023 (accessed February 3, 2008).             14. Michael Ware, “Inside Iran’s Secret War for Iraq.”
     2. Rear Admiral Mark Fox and Philip Reeker (press           15. Ibid.
 briefing, Combined Press Information Center, Baghdad,           16. Babak Dehghanpisheh, Melinda Liu, and Rod Nor-
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     3. Michael R. Gordon, “Deadliest Bomb In Iraq Is Made       17. Ibid. Mohammad Baqir al-Hakim was the older
 by Iran, U.S. Says,” New York Times, February 10, 2007;       brother of Abd al-Aziz al-Hakim, the current head of the
 and author’s discussions with American officers in Iraq.      Supreme Islamic Iraqi Council.
     4. Michael R. Gordon and Dexter Filkins, “Hezbollah         18. Edward T. Pound, “Special Report: The Iran
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 Michael D. Maples (director of the Defense Intelligence       (accessed February 5, 2008).
 Agency). General John P. Abizaid (then-commander of             21. Ibid.
 U.S. Central Command) stated that Hezbollah was train-          22. Edward T. Pound, “Special Report: The Iran
 ing operatives in Iran, some of whom would operate in         Connection.”
 Lebanon and others (from Iraqi Shiite militia groups) who       23. Ibid.
 might operate in Iraq, but he did not specify what those        24. Ibid.
 links were or how they functioned.                              25. Michael Ware, “Inside Iran’s Secret War for Iraq.”
     5. Lieutenant General Raymond T. Odierno (Depart-           26. Ibid.
 ment of Defense press briefing).                                27. Babak Dehghanpisheh, “Iraq’s New Guns for Hire,”
     6. Michael Ware, “Inside Iran’s Secret War for Iraq,”     Newsweek, May 7, 2007.
 Time, August 15 2005, available at www.time.com/time/           28. Brigadier General Kevin Bergner (press briefing,
 magazine/article/0,9171,1093747,00.html (accessed Feb-        Combined Press Information Center, Baghdad, Iraq, July 2,
 ruary 3, 2008).                                               2007) available at www.mnf-iraq.com/index.php?option=
     7. Ibid.                                                  com_content&task=view&id=12641&Itemid=131
     8. Edward T. Pound, “Special Report: The Iran Connec-     (accessed February 3, 2008).
 tion,” U.S. News & World Report, November 14, 2004,             29. Babak Dehghanpisheh, “Iraq’s New Guns for Hire.”

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     Leader,” press release 20070814-07, August 14, 2007,            ber 30, 2006.
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       32. Brigadier General Kevin Bergner (press briefing).         February 3, 2008).
       33. Multi-National Corps–Iraq, “Iraqi Army, U.S. Special        51. Edward T. Pound, “Special Report: The Iran
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                                                              3
                                                 Afghanistan


 I  n 2007, Iran offered economic, social, and cultural
    assistance to Afghanistan; pressured Kabul over
 Afghan refugees and migrant workers in Iran; lent lim-
                                                                  changing power relations within Afghanistan and
                                                                  between Iran and Afghanistan in important ways.
                                                                      Iran had been hostile toward the Taliban regime,
 ited military support to the Taliban and possibly other          just as it had been toward the Soviet-installed and
 insurgent groups; tried to develop a deep bilateral rela-        backed Afghan governments of the 1980s and early
 tionship between Tehran and Kabul; attempted to cre-             1990s. Iran had accepted millions of Afghan refugees
 ate a gap between Kabul and the West; and possibly               but had supported insurgent groups in Afghanistan
 tried to destabilize the government of Hamid Karzai.1            and avoided any serious effort to establish or expand
 Taken together, these activities constitute what might           economic ties with regimes it saw as its foes. The
 be a deliberate strategy on Afghanistan for Tehran,              collapse of the Taliban regime in fall 2001 changed
 although there is no direct evidence to prove that Iran          Tehran’s attitude profoundly. It appears that Iran
 is following such a strategy. Whatever Iran’s purposes           actively assisted the United States in bringing down
 might be, however, the effects of its various undertak-          that regime and was initially helpful in the creation of
 ings in Afghanistan are clear: the creation of a buffer          a new government in Afghanistan.2 Then-president
 zone of the three western provinces of Herat, Farah,             Mohammad Khatami visited Kabul in August
 and Nimruz, which are tied increasingly to Tehran                2002—the first such high-level visit in forty years.
 rather than to Kabul; the intimidation of Afghanistan’s          Trade agreements followed in January 2003, includ-
 government in confrontations with Iran; and the hin-             ing efforts to replace Karachi with the Iranian port of
 drance of Coalition efforts (which are halting in any            Chabahar as Afghanistan’s principal trade outlet.
 event) to develop and implement a coherent country-              Iran offered Afghanistan a 90 percent discount on
 wide strategy.                                                   duties and tariffs for goods exported through the
                                                                  Chabahar free trade zone.3 Iranian-Afghan trade
                                                                  grew from less than $10 million in 2001 to $500
 Economic, Social, and Cultural Assistance                        million in 2006.4 By mid-2007, Iran had extended
                                                                  more than $500 million in credits to Afghanistan, at
 Iran’s assistance to Afghanistan is unquestionably               least half of which were in grants.5
 significant. Since it is natural for a large and wealthier           Some of Iran’s assistance was general support to
 state to assist and develop an impoverished and war-             Afghan reconstruction. In June 2006, Tehran prom-
 torn state on its border, or for any state to try to             ised to build two fifty-megawatt electrical power sta-
 expand commercial relations with its neighbors,                  tions to supplement Kabul’s electrical supply (then
 Iran’s activities in these areas have aroused little             around 150 megawatts) at a cost of around $80 mil-
 comment and even some praise. Nor is it possible to              lion.6 Iran provided nearly $2 million to assist the
 draw a line between normal economic activity and                 Afghan Independent Administrative Reforms and
 an economic strategy intended to affect power rela-              Civil Service Commission to train government offi-
 tions. In the broader context of Iran’s activities in            cials in Kandahar, Herat, and Kabul in 2006 and
 Afghanistan, however, its economic efforts are creat-            2007.7 Iranian support helped build a communica-
 ing a set of incentives and disincentives that operate           tions institute; provide training for postal employees;
 powerfully on the Afghan government and that are                 rebuild the medical department at Kabul University;

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     establish “the first national teacher training centre,      Kabul. An October 2007 report noted that the aver-
     construction of a centre for religious affairs, provision   age transit time for cargo from Kabul to the Pakistani
     of education scholarships, construction of a voca-          and Uzbek borders is around nineteen days but that
     tional training centre,” and a program to “send experts     it takes nearly one hundred days for passage from
     to train Afghan teachers”; and help “Afghan teachers        Kabul to the Iranian border.17 And it goes without
     from religious seminaries and schoolteachers . . . [to]     saying that modern road and rail links between
     be sent to Iran to get training.”8 The Iranian company      Herat, Farah, and Zaranj and the Iranian border cities
     Shaheedi Qandi joined forces with an Indian firm to         will be much faster—it is nearly 650 miles from
     add 150,000 telephone lines in Kabul, Kandahar,             Kabul to Herat along the “ring road,” while Herat is
     Mazar-e Sharif, Jalalabad, and Kunduz.9 Iran also           75 miles and Farah 120 miles from the Iranian bor-
     signed a number of memoranda of understanding               der. Zaranj is right on the border. When the relative
     and formal trade agreements with Afghanistan, and           security of travel between Afghanistan’s western
     both countries hoped that trade would double to             provinces and Iran compared to travel on Afghani-
     $1 billion in 2008.10 The combined $1 billion in Ira-       stan’s ring road is considered, the difference is even
     nian trade and aid are extremely significant for a coun-    greater. A relatively small amount of highly targeted
     try whose 2006 GDP was a little over $8 billion.11          infrastructure aid is binding Afghanistan’s west closer
         In addition to this general aid, Iran has also pro-     to Iran than to Kabul.
     vided targeted assistance to the border provinces of            Tehran has also been helping to link western
     Herat, Farah, and Nimruz. The most visible forms of         Afghanistan to the Iranian power grid and to upgrade
     aid have been in electricity and transportation infra-      the electrical capacity of the western provincial capi-
     structure, with many projects seemingly intended to         tals generally. In 2004–2005, Iran gave Afghanistan
     draw Afghanistan’s western border areas closer to the       $13 million to install an electric substation in Herat.
     Iranian economy. Thus Iran, Afghanistan, and some-          In January 2007, an Iranian-funded thirty-megawatt
     times international partners have been hard at work         transformer began operating in the Ghurian district of
     on road and rail links between the two countries. In        Herat province (at a cost of $2 million), and Tehran
     early 2006, the construction of a highway between           has promised another such plant in the area soon.18
     Dilaram and Zaranj (the capital of Nimruz) was              In May 2007, Tehran constructed a power line
     announced.12 A year later, Iran and Afghanistan             between Herat and Iran and promised to begin sup-
     unveiled a project to link Mashhad (a major city in         plying electricity to Farah province.19 Again, the scale
     northeastern Iran) with Herat city by rail. Iran prom-      of the effort is relatively small, but the effects on the
     ised to pay 60 percent of the project’s cost.13 Shortly     western part of an impoverished and war-devastated
     thereafter, Iran announced its intention to build cus-      country are not to be discounted.
     toms offices and warehouses in Farah city, along with           All of these efforts are in line with Afghanistan’s
     ninety kilometers of paved road connecting the facil-       National Development Strategy20 and parallel efforts
     ities to the city.14 In August 2007, Iranian president      by Afghanistan’s other neighbors to improve trans-
     Mahmoud Ahmadinejad announced on a visit to                 portation and electrical links with Afghanistan. The
     Kabul that Tehran would build a 110-kilometer road          Afghan railway development strategy, in fact, priori-
     from Farah city to the Iranian border area of Mailak.15     tizes “linking major border provincial capitals to the
         Although a few hundred kilometers of road and           neighboring countries” ahead of “linking major
     rail does not seem very significant, it is to a country     Afghan cities, with a focus on improving transit time”
     nearly the size of Texas that had only around 8,300         and “facilitating the connection between European,
     kilometers of paved roads in 2004.16 The net result         Central Asian and South Asian railway networks.”21
     of this construction will be to link the provincial cap-    The Iranian efforts are more advanced than those of
     itals (which are also the major cities) of Afghanistan’s    most of Afghanistan’s other neighbors. Work has
     three western provinces more closely to Iran than to        already begun, for example, on the Mashhad-Herat

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 railway even though the remaining 40 percent of the         War against the Soviets throughout the 1980s cre-
 funding has not yet been identified.22                      ated more refugees. Civil war and the Taliban during
     The purpose of this discussion is not to question       the 1990s created still more. The great majority of
 the economic wisdom of Afghanistan’s planners or the        these refugees fled to Pakistan and Iran, where many
 international community, or even to ascribe motives to      have remained for decades. The collapse of the Tali-
 the Iranian regime. Iran is a larger and wealthier coun-    ban and the rise of an internationally supported and
 try than any of Afghanistan’s other neighbors, and the      protected representative government have reversed
 Afghan-Iranian border region has been generally more        this flow. Reports suggest that as many as 4 million
 secure than the Afghan-Pakistani border and even            Afghans may have returned from abroad already.25
 than some of Afghanistan’s northern frontiers. The          There are still nearly a million Afghan refugees in
 result, however, is that Iran is absorbing western          Iran, however, and slightly more in Pakistan.26
 Afghanistan into its economic orbit far faster than             In principle, the refugees themselves are not a
 Pakistan, Tajikistan, Uzbekistan, Turkmenistan, and         problem in Iranian-Afghan relations. The problem
 China are integrating the Afghan provinces on their         stems from the perhaps 1.5 million Afghan migrant
 borders—faster even than Afghanistan is integrating         workers in Iran, many if not most of whom lack work
 its own regions and cities into an economic unit.           or residence permits.27 Iranian officials at many levels
     Iran’s support for Afghanistan’s religious and edu-     have identified the usual litany of problems caused by
 cational programs suggests that this outcome might          illegal immigrants: strains on the Iranian school
 not be entirely unintended. Not only has Iran offered       system, migrant workers taking scarce jobs away from
 to send Iranian teachers to Afghanistan and bring           Iranians, violence and insecurity, and narcotics traf-
 Afghan teachers and clerics to Iran for training, but       ficking, among others.28 Although these problems are
 Tehran has also initiated a program to encourage the        most prevalent in the Iranian provinces bordering
 teaching and learning of Farsi in Afghanistan—even          Afghanistan (Sistan and Baluchistan, South Khorasan,
 in areas beyond the western border provinces.23 Ira-        Razavi Khorasan, and North Khorasan), Iranian
 nian leaders and media frequently refer to the close        officials in Tehran, Esfahan, and elsewhere have com-
 cultural ties between the two states, and Afghan lead-      plained about Afghan migrant populations.29 Since
 ers sometimes reciprocate.24 This posture is natural        Iran has allowed many registered Afghan refugees
 for the Perso-centric, Farsi-speaking Iranians as well      relatively free movement, rather than confining them
 as for many of the Afghan elite who speak Dari (the         all to camps, it is not always easy to distinguish
 Afghan dialect of Farsi). It is less natural for a neigh-   between legal Afghan refugees, legal Afghan migrant
 bor that wishes to help stabilize Afghanistan’s govern-     workers, and illegal migrant workers or immigrants.
 ment in the face of the primarily Sunni and Pashtun             After gaining power in 2005, the Ahmadinejad
 Taliban insurgency that is fueled by resentment of the      administration wasted little time in highlighting its
 Dari-speaking elite and its members’ supposedly             concerns about Afghan migrant workers. In February
 Shiite proclivities. An Iranian emphasis on pan-            2006, the Iranian ambassador in Kabul announced
 Persianism or pan-Shiism may have interesting and           that “all Afghan refugees living in Iran illegally”
 unpredictable long-term effects within Afghanistan          would be expelled by September 2006.30 Those who
 and on Afghanistan’s relationship with Iran.                failed to comply would be arrested and detained in
                                                             camps. It would have been impossible for Afghani-
                                                             stan to absorb more than a million returning refugees
         Refugees and Migrant Workers                        and migrants within seven months, and the Iranians
                                                             apparently abandoned the notion.31 Ahmadinejad
 Over the past three decades, Afghans have fled their        resumed deportations a year later, prompting a
 country in staggering numbers. Millions of Afghans          humanitarian and political crisis in Afghanistan that
 fled the country after the Soviet invasion of 1979.         persisted throughout 2007.

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         On April 15, 2007, Afghan foreign minister Ran-       in particular is reaching alarming levels; and there is
     gin Dadfar Spanta announced that the Iranians were        a desperate shortage of urban and rural housing.”39
     going to start expelling illegal Afghan immigrants.32     Human Rights Watch (HRW) declared on June 19
     On April 21, the Iranian interior ministry, working       that “Iran should immediately halt the mass depor-
     with the affected provinces, began rounding up            tations of Afghan nationals and investigate allega-
     Afghans in Iran illegally, concentrating them in newly    tions that its authorities have abused numerous
     constructed camps on the border, and deporting            deportees.” Noting that Iran had expelled one hun-
     them to Afghanistan. Iranian interior minister Mostafa    dred thousand Afghans since April 21, HRW
     Pour-Mohammadi described the effort as a two-phase        asserted that “Iranian officials have also expelled
     plan aimed at expelling “one m[illion] resident aliens”   Afghans who have been registered with the authori-
     by March 2008.33 By early May 2007, tens of thou-         ties, many of whom have been regarded as refugees
     sands of Afghans had been repatriated.                    (panahandegan) for many years.”40
         Afghan officials, including speaker of the Wolesi         Iranian deputy foreign minister for Asia-Pacific
     Jirga (the lower house of the Afghan parliament)          and Commonwealth countries Mehdi Safari arrived
     Yunus Qanuni, negotiated with their counterparts in       in Kabul on May 13 for talks with Karzai. The two
     Tehran.34 Qanuni’s intervention was the prelude to a      “stressed gradual and regular repatriation of Afghan
     serious political crisis in Kabul. Spanta said that the   refugees living in Iran who have no legal documents.
     mass expulsion was unexpected. President Hamid            Safari said Iranian President Mahmoud Ahmadine-
     Karzai announced that he had instructed the minis-        jad has agreed with gradual and regular return of
     ter for refugee affairs to address the problem and said   Afghan refugees to their homeland.”41 Karzai and
     that he intended to call Ahmadinejad. Allegations of      Safari agreed that an Afghan team would go to
     violence and misconduct by Iranian officials began to     Tehran to discuss the issue further. Karzai once again
     circulate as the refugees arrived in Afghanistan.35 In    invited Ahmadinejad to visit Kabul—a visit that was
     response to the growing tension, Tehran escalated         apparently already scheduled for mid-June. Safari
     its rhetoric. Pour-Mohammadi announced that the           also met with Qanuni and called for the “consolida-
     surge of Afghan refugees in Iran was the result of the    tion of mutual relations and establishment of Iran-
     “heavy American military presence” in Afghanistan.        Afghanistan Parliamentary Friendship Group.”
     He claimed that the number of Afghans in Iran had         Qanuni was invited to visit Iran soon.42 Two weeks
     been swelling since the deployment of NATO troops         later, Karzai spokesman Karim Rahimi announced
     and claimed, “I have visited Afghan refugee camps         that “Iranian officials had agreed to halt the process
     and noticed that most of those expelled following         [of involuntary repatriations] for three months.”43
     their arrests have re-entered into Iran over the last         If Tehran actually agreed to suspend the deporta-
     three years.”36 The next day, refugees minister           tions at the end of May, the news was slow to
     Mohammad Akbar Akbar lost a no-confidence vote            reach the relevant provincial officials. Police and the
     in the Wolesi Jirga—the first minister ever to do so.37   Fath Operational Base in Sistan and Baluchistan
     Spanta followed two days later.38                         announced that they had driven out 74,597 “for-
         By mid-June, humanitarian organizations were          eigners” since April 21 and urged remaining “illegal
     in an uproar over the Iranian deportation. The Inter-     foreign nationals” to register with the authorities “as
     national Organization for Migration (IOM) called          soon as possible in order to take part in creation of
     for a mobilization of international resources to “avert   their homeland’s future.”44 The governor of Zabol
     a humanitarian crisis,” noting that “the forced           (on the Afghan border, a few miles from Zaranj),
     removals are taking place at a time when Afghani-         boasted of clearing 165 villages of “foreign nationals”
     stan still faces serious internal challenges. The secu-   and expelling over 45,000 foreigners since April. He
     rity situation remains volatile; unemployment in          added that “from the outset of the project, most of
     general and among the youth and unskilled laborers        the foreigners did not believe that the project would

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 be launched effectively and some hostile groups were        accompanied by the complaints of international
 trying to halt the plan, but thanks to God’s favors and     organizations, generated hardly any notice. The
 our officials’ vigilance, the problems were resolved        seizure of two or three truckloads worth of military
 and plots of enemies were foiled.”45 The Esfahan            supplies for the Taliban, however, was widely
 provincial governor’s deputy for alien and immigra-         reported and highly controversial and has served,
 tion affairs complained in mid-June that forty thou-        quite improperly, as a litmus test for Iranian inten-
 sand Afghans still lived in his province without            tions in Afghanistan. The weapons shipments them-
 permits. He warned that anyone employing illegal            selves were small—at least those that NATO and
 residents would be fined and punished.46 A Friday           Afghan forces seized. The significance of these ship-
 prayer leader of Saravan (in Sistan-Baluchistan             ments can only be understood within the larger con-
 province) declared that Karzai’s objections to the          text of Iranian involvement in Afghanistan and the
 repatriation program are “because of American dom-          security situation within Afghanistan.
 ination and orders in Afghanistan.” He added that              The first significant report of Iranian weapons in
 “the project to round up and deport illegal immi-           Afghanistan in 2007 came from a press conference
 grants must be carried out at full stretch. He also said    with then-chairman of the Joint Chiefs of Staff Gen-
 that security bodies, intelligence agencies, and the        eral Peter Pace on April 17. Pace announced: “We
 public must coordinate their work in order to send          have intercepted weapons in Afghanistan headed for
 foreigners back to their countries.”47 And on June 21,      the Taliban that were made in Iran. It’s not clear in
 the governor of Zahedan—the capital of Sistan and           Afghanistan which Iranian entity is responsible.”
 Baluchistan—“announced the beginning of the sec-            The shipment included mortars and plastic explo-
 ond phase of the project to expel foreign nationals         sives and was seized near Kandahar within the pre-
 from Sistan-Baluchestan.” He declared, “Everything          vious week. Pace was careful to obfuscate the
 is ready to start the second phase of the project to        question of Iranian government control over the
 expel illegal foreign nationals from Zahedan that will      shipment: “We know that there are munitions that
 begin tomorrow 1 Tir (22 July).”48                          were made in Iran that are in Iraq and in Afghani-
     It is not entirely clear what has become of the         stan. And we know that the Quds Force works for
 plan to evict a million Afghans from Iran by March          the IRGC [Iranian Revolutionary Guard Corps]. We
 2008. By early July, the IOM reported that Iran had         then surmise from that one or two things. Either the
 deported some 130,000 Afghans since April 21, but           leadership of the country knows what their armed
 Iranian news reports suggest that most of the depor-        forces are doing, or that they don’t know. And in
 tations occurred within the first month or six weeks        either case that’s a problem.”50 The next day,
 after the order. Thereafter, the actual movement of         Brigadier General Joseph Votel, deputy command-
 Afghan refugees across the border appears to have           ing general for operations of Combined Joint Task
 slowed, although it is possible that the Iranians con-      Force-82 (CJTF-82), was asked about Pace’s state-
 tinued to arrest and concentrate Afghans in camps           ment in a press conference at Bagram Air Base. He
 near the border.49 One fact, however, is inescapable:       explained that the caches Pace was referring to were
 the Iranian government has Kabul on the defensive.          found outside of his area of operations, “so I don’t
                                                             know all the particulars of those finds.” Pressed fur-
                                                             ther, he said, “I’m not sure I really have the visibility
              Support for Insurgents                         to address that particular problem. . . . Being in
                                                             Regional Command East, you know, our focus is
 Iran’s economic involvement in Afghanistan and its          more over on the Pakistan border, so we certainly
 role in the refugee crisis are indisputable, but they are   don’t see [any] direct influence from Iran. . . . Right
 almost totally ignored by the Western media. Even           now it’s not having an impact here in Regional Com-
 the expulsion of more than 130,000 Afghans,                 mand East.”51

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                                                                    FIGURE 1
                                            COMMAND STRUCTURE IN AFGHANISTAN


                                                                                                              U.S. Central Command
                                                  Supreme Allied Commander, Europe                             ADM William Fallon
                                                      GEN Bantz Craddock (U.S.)                                        (U.S.)



                                                  Commander, Joint Forces Command,
                                                              Brunssum
                                                      GEN Egon Ramms (GER)


                                                                                                               Operation Enduring
                                                      Commander, International Security                         Freedom/CTJF-82
                                                            Assistance Force
                                                         GEN Daniel McNeill (U.S.)
                                                                                                               Regional Command
                                                                                                                 (East)/CTJF-82
                                                                                                              MG D. Rodriguez (U.S.)
            Regional Command      Regional Command           Regional Command             Regional Command
                  (North)               (West)                    (South)                      (Capital)
           BG D. Warnecke (GER)    BG F. Macor (IT)           MG J. Page (UK)             BG K. Erdem (TUR)



     SOURCE: AEI, 2008.




        This exchange highlights an important problem                        Special Operations Task Force, which operates both
     in the command arrangements in Afghanistan that                         in Iraq and Afghanistan, and through Operation
     has seriously hindered the Coalition’s ability to                       Enduring Freedom. The force executing Enduring
     comprehend—or at least articulate—the scale and                         Freedom is CJTF-82, based around the headquarters
     intentions of Iranian intervention in Afghanistan.                      of the 82nd Airborne Division, commanded by
     The 2006 transition in the Afghan mission from                          Major General David Rodriguez. But CJTF-82 is also
     American leadership to NATO leadership created at                       the headquarters and force responsible for executing
     least two major problems in the command structure                       the NATO–International Security Assistance Force
     of the mission (see Figure 1). It shifted operational                   (ISAF) mission in Regional Command (RC) East. It
     control of American forces in Afghanistan from U.S.                     is therefore nominally under the control both of the
     Central Command (CENTCOM)—the four-star                                 CENTCOM commander, Fallon, and of the EUCOM
     headquarters now under Admiral William Fallon                           commander, Craddock, via an American headquar-
     that has responsibility for the area from Pakistan                      ters in Bagram, Afghanistan, and a German-com-
     to Morocco—to a NATO headquarters—Joint                                 manded headquarters in Brunssum. The rest of
     Forces Command–Brunssum (JFC Brunssum), com-                            Afghanistan is the responsibility of four other ISAF
     manded by German General Egon Ramms. JFC-                               headquarters: RC West (Italian command), RC
     Brunssum reports to the Supreme Headquarters                            South (British command), RC North (German com-
     Allied Powers Europe, commanded by the Supreme                          mand), and RC Capital (Turkish command).
     Allied Commander Europe, General Bantz Crad-                                The result of this byzantine command arrange-
     dock, who is also the commander of U.S. European                        ment is that it is very difficult for anyone to develop
     Command (EUCOM). But CENTCOM retains                                    a coherent, detailed understanding of what is actu-
     responsibility for counterterrorism operations in                       ally going on in Afghanistan. ISAF commander Gen-
     Afghanistan, both through the Combined Joint                            eral Daniel McNeill theoretically holds the position

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 in Afghanistan equivalent to the one General David         from Iran have been found in Afghanistan.” Instead
 Petraeus holds in Baghdad, but not in reality.             he replied: “It’s very hard to say something about that.
 McNeill operates within a NATO framework over-             We, of course, received the information that this
 seeing the soldiers of twenty-six NATO and twelve          might be the case. We cannot deny or confirm it. We
 non-NATO countries, many of them deployed with             know that there are some high-end weapons like the
 national caveats that restrict the operations they can     AGS-17, which has shown up in Helmand. Whether
 undertake. His immediate subordinates, apart from          this weapon has been brought into Iran [sic] is for us
 Rodriguez, are NATO commanders, not American               very hard to actually be very firm about.”53 At a Kabul
 commanders, and they are accountable to and take           press conference ten days later, ISAF spokeswoman
 orders from their own national governments as well         Lieutenant Colonel Maria Carl was more specific:
 as from McNeill. Even the media suffers from this          “The weapons seized included RPG-7 launchers, light
 arrangement. American reporters regularly inter-           guns, and explosive devises. The arms bore the dis-
 view American commanders, from McNeill to indi-            tinct hallmarks of Iran, she claimed.”54 Carl stopped
 vidual brigade commanders, but rarely interview            short of addressing the question of the involvement of
 even the British commanders of neighboring RC              the Iranian government.
 South, let alone the Turkish, German, or Italian com-          The issue surfaced more dramatically following
 manders of the other sectors. Following the details of     the seizure of another shipment in early June. Colonel
 a complex story like the movement of a few truck-          Rahmatullah Safi, commander of the Afghan Sixth
 loads of Iranian weapons from Iran through Herat           Border Brigade, told Afghan media that his forces had
 and Farah provinces (in RC West) into Nimruz, Hel-         seized Iranian “high-intensity anti-tank bombs” from
 mand, and Kandahar provinces (in RC South) and             a mountain cave in western Herat province. Major
 possibly into the areas in which U.S. forces regularly     General Kiramuddin Yawar, the border police com-
 operate is extraordinarily difficult. This difficulty is   mander for the western zone, showed the Pajhwok
 one of the reasons for the confusion surrounding the       Afghan News Agency six bombs that bore “all the
 story of Iranian weapons moving around Afghanistan         Iranian hallmarks.” An anonymous “intelligence offi-
 and helps explain why the American division com-           cial” (nationality not specified) “revealed around 10
 mander in eastern Afghanistan can reasonably claim         Iranian-made bombs had been seized so far in Herat’s
 to have no real idea of the scope or purpose of Iranian    Shindand district alone.”55 It is not clear if these are
 arms shipments captured to his immediate west.             one or two caches—the Ghurian district in which Safi
    The command confusion is only part of the prob-         says his forces had found six bombs is not that close
 lem, however. Another, perhaps greater, issue is the       to the Shindand district, which has no border with
 determination of military officials at all levels from     Iran. It is quite possible that there were two separate
 early on to distinguish between the presence of Ira-       caches, as McNeill announced on June 5:
 nian weapons in Afghanistan and the implication
 that the Iranian government was deliberately sending          We have intercepted at least two convoys that
 them there. Thus, the commander of American                   have contained munitions or weapons. Some
 forces in the westernmost sections of RC East                 of those munitions and weapons clearly of—
 explained on April 24, 2007, that “there may be an            are Iranian origin. . . . We do have two events
 Iranian presence throughout the battle space. But is          in which we have recovered explosively
 it state-sponsored? Is it state-sanctioned? I have            formed penetrators [EFP]. . . . In one case, it
 absolutely no ability to link that together at this           was not highly sophisticated in terms of giving
 time.”52 Even Dutch Major General Ton van Loon,               it a technology-type measurement; in the other
 then-commander of RC South—where the weapons                  case, it was fairly sophisticated. In both cases,
 were found—refused to clear up the confusion when             they had characteristics of EFPs that I had read
 he was asked about “the latest report that weapons            about that have been found and indeed used in

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        Iraq and are said to have originated from Iran.             Clarity briefly emerged on June 13 when Under
        . . . We intercepted those convoys. . . inside of       Secretary of State Nicholas Burns said, “There’s
        Afghanistan. We intercepted them out west. In           irrefutable evidence the Iranians are now” transferring
        the case of one of them, there were mortar              arms to Taliban fighters in Afghanistan. He added, “It’s
        rounds that were clearly of Iranian origin.             certainly coming from the government of Iran. It’s
        There were also explosives, plastic explosives,         coming from the Iranian Revolutionary Guard Corps
        packaged to make it look like U.S.-made C-4,            command, which is a basic unit of the Iranian gov-
        which is an up-scale version of plastic explo-          ernment.”60 The Afghan and American governments
        sives. It’s my understanding that similar types         almost immediately began to walk it back, however.
        of explosives have been found in Iraq, and              The same day, Gates said:
        once again, the information says they originate
        from Iran. . . . The convoys were intercepted              I think it’s been a couple of weeks or so since I
        inside of the Afghan border with Iran—in one               was asked about the Iranian supply of weapons
        case, well inside; in the other case, inside.56            to Afghanistan. I have seen additional analysis
                                                                   in the interval that makes it pretty clear there’s
        McNeill took pains, however, to emphasize that             a fairly substantial flow of weapons. I would
                                                                   say, I haven’t seen any intelligence specifically to
        [w]e don’t have conclusive evidence to say                 the effect—to this effect, but I would say, given
        that this was something officially sanctioned              the quantities that we’re seeing, it is difficult to
        by the government of Iran. But I might point               believe that it’s associated with smuggling or the
        out that in the experience I’ve had in Afghani-            drug business or that it’s taking place without
        stan, which is going on for almost a year and              the knowledge of the Iranian government. . . .
        a half, over two tours now, it’s not uncommon              My impression is that the weapons are intended
        to find weapons or munitions from lots of                  for the Taliban. I don’t know that we have seen
        countries. . . . I just stand by what I said. I            any evidence of Qods Force in Afghanistan.61
        haven’t seen conclusive evidence there’s any-
        thing in the way of formal sanctioning by the              State Department spokesman Sean McCormack
        Iranian government for what we have found               added that he could not establish a “hard link . . .
        in the way of weapons and munitions that                between an Iranian government–approved program
        have come into this country.57                          and the transfer of those arms,” but that it is “hard to
                                                                believe that they’re not” involved. “And if they don’t
         Pace was similarly positive in a June 3 press con-     know about it, then that raises other troubling ques-
     ference that Iranian weapons—including EFPs—had            tions, that they don’t fully control what’s going on
     been seized in Afghanistan and that he did not know        inside their own country.”62 Asked about Burns’s
     whether or not the Iranian government was intention-       statement, McCormack said, “I think what Nick was
     ally sending them there.58 Secretary of Defense Robert     doing was giving voice to all of these concerns and
     Gates took a similarly ambivalent stance in a June 5       suspicions that all of us have.”63 Burns himself
     joint press conference with Karzai, but the Afghan         revised the statement a little the next day:
     president was less ambivalent: “We don’t have any
     such evidence so far of involvement of the Iranian gov-       What I meant to say was that there is
     ernment in the supplying [sic] the Taliban. We have a         irrefutable, clear evidence that Iranian-origin
     very good relationship with the Iranian government.           weapons have found their way into Afghani-
     Iran and Afghanistan have never been as friendly as           stan, and they have been intercepted by allied
     they are today. In the past five years, Afghanistan have      forces, and those weapons, we believe, were
     [sic] been Iran’s very close friend. . . .”59                 destined for the Taliban. Secretary of Defense

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    Gates said yesterday that he finds it very diffi-      what results we are getting after the investigation
    cult to believe that the Iranian Government is         and assessments in the area.”67 The following
    not aware of these or connected to these, so           month, an ISAF officer and “expert on explosive
    this is a change in Iranian government policy.         devices,” Thomas Kelly, told Afghan media “that
    For a long time, we assumed that the Iranians          they had found no evidence regarding arms supply
    were the foe of the Taliban and were going to          to the opponents from other countries. . . . Last
    give constructive support to the Afghan govern-        month, intelligence officials announced that a land-
    ment. But now we have a situation where there          mine defused near the Polytechnic University in
    is this very disturbing evidence that Iranian-         Kabul was similar to ones used by insurgents in
    origin weapons have been conveyed across the           Iraq. However, Kelly said tests had proved that
    border into Afghanistan for the Taliban.64             the explosive device was different from those used
                                                           in Iraq.”68
    Safi, however, continued to stoke the fire,               But three days later another story broke. Pajhwok
 announcing on June 18 that “more than 20 armed            Afghan News reported: “The government of Iran has
 men crossed the border from Iran into Afghanistan         converted the military camps of former mujahedeen
 and entered a town. . . . [A]ccording to intelligence     into training camps for the opponents of the current
 information, the group of armed militants crossed         Afghan government.” An anonymous parliamentar-
 the border into the Anardara District of Farah            ian from Herat,
 Province on 18 June.” He added, “Two pickup trucks
 with over 20 armed people onboard crossed the bor-           [q]uoting residents of Herat and Farah
 der from Iran to Afghanistan.” Safi explained that           provinces, who had freshly returned from the
 according to intelligence, “the men were heading             neighboring country, said the former muja-
 toward the Zirkoh area in Farah province, which has          hedeen training camps in Turbat Jam, Birjand,
 been the site of escalating militant activity in recent      Taibat and Haji Abad areas had now been con-
 months.” A few days later, he said, “We had some             verted into training camps for Taliban.
 reports that two vehicles entered our country from               He said people who had returned from
 the border areas. . . . There were only some reports.        Iran claimed that high ranking Taliban were
 We have not seen them personally. We have ordered            also freely visiting those “training facilities.”
 our forces to control such movements. However, we                He added Yahya Khurdturk, a former com-
 did not find any other incidents.”65 According to            mander of Islamic Movement of Sheikh Asif
 Radio Free Europe/Radio Liberty (RFE/RL), “Safi also         Mohsini and currently a member of the
 has told Western and Afghan journalists that rem-            Islamic United Front of Ustad Akbari, leader
 nants of Iranian ammunition were discovered on the           of the Shi’a community, had also got training
 ground in Herat Province after fierce clashes last           along with his colleagues at . . . those camps.
 weekend between Taliban and Afghan police. He                    The MP said Yahya was directly linked to
 said five antitank mines with Iranian markings were          the Revolutionary Guards known as Sipah-i-
 also seized at the border two weeks ago.”66                  Pasdaran [the IRGC]. . . .
    But even Safi was careful to distinguish between              Ahmad Behzad, another MP from Herat
 Iranian weapons and Iranian intentions, telling              province, said: “We have information that Sep-
 RFE/RL, “So far we don’t have any evidence which             ahi Qudus (sacred force) [the Quds Force], a
 would satisfy our government and the international           wing of the Pasdaran, is organizing and equip-
 community that our neighboring countries have                ping opposition inside Afghanistan as well as
 been undermining our country’s [laws]. . . . We              train[ing] them at the centers in Iran.”
 would need evidence to prove it. We have ordered                 He termed the alleged training facilities for
 our military units to check the reports. We will see         Taliban as an open intervention in the internal

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        affairs of Afghanistan by the neighboring            “YM-type landmines” of Iranian manufacture on the
        country.                                             way from Uzbekistan into Afghanistan.72 Three
            Behzad added: “We have information that          weeks later, an interior ministry spokesman denied
        such centers are existing not only in the bor-       that any Iranian-made mines had been seized.73 The
        der areas, but also in remote provinces.”69          next day, Safi and Afghan deputy interior minister
                                                             General Munir Mangal announced that large caches
        Safi repeated the accusations in an interview with   of Chinese, Iranian, and Russian weapons had been
     the Gulf Times, saying                                  seized in the Ghurian district of Herat province.74
                                                             Five days later, U.S. director of national intelligence
        that he had intelligence information that mili-      John Negroponte “rejected any direct supply from
        tants including former mujahedin, who fought         China to the militants. However, he said the Chinese
        Soviet forces in Afghanistan and later plunged       officials had told them they had sold such weapons
        the country into a bloody civil war, ousted          to Iran some time back.”75 In October, Afghan
        members of the Taliban and foreign fighters          defense minister Abdul Rahim Wardak noted that
        were trained in Iranian military bases.              evidence was piling up that Iranian weapons,
            “I have information that 45 fighters led by      including EFPs, were going to the Taliban. He said
        Yahya Khortarak, who was a mujahedeen                that he had taken the matter up with the Iranians,
        commander in Herat province in the past, are         who had completely denied it. He added: “There is
        now under training in the border town of Tur-        no doubt that there is something coming from our
        bat Jam in Iran and they want to enter Herat         western border. There are weapons and maybe some
        from the Kamana area of the border to carry          financial supports [sic] and others. But to be really
        out some terrorist acts like planting mines, or      completely clear about it, I think it will take a little
        even maybe suicide attacks,” Safi said.              bit of time to come up with the right conclusion.”76
            The brigade that Safi commands comprises         At the end of the month, Safi coyly explained his
        1,652 agents, but he says the actual number of       apparently shifting views on the matter to a German
        men patrolling the 1186km border is barely 900.      magazine: “The Interior Ministry has forbidden me
            “We don’t even have one guard per kilome-        to talk with journalists anymore,” he said. “I have
        ter, but the Iranians have thousands, so it’s        never seen weapons from Iran. . . . There are many
        impossible that they are unaware of these            things that I am not supposed to say.”77
        movements,” he admitted. . . .
            “I am not talking for any one, neither for
        Karzai nor for the Americans—whatever I see                                Analysis
        I say it. I have seen the Iranian-made mines
        and armed people entering Afghanistan and            There are three key questions to be answered about
        I know that the militants are trained there,”        Iranian activities in Afghanistan: Are the Iranians
        he stressed.70                                       pursuing a coherent strategy? If so, what is it? And
                                                             irrespective of Tehran’s intentions, what is happen-
        The next day, however, Safi twice denied on          ing on the ground? The first two questions cannot be
     Afghan radio stations that he had said that Iran was    answered based on available open-source informa-
     involved in training terrorists.71                      tion. Since neither Afghan nor Coalition forces have
        The back-and-forth about Iranian weapons and         captured senior Iranian advisers in Afghanistan—as
     the possible involvement of Tehran in shipping          American and Iraqi forces have done in Iraq—there
     them continued for the rest of the year. In mid-        is no indisputable proof that Tehran or its agents are
     August, officials in Balkh province in north-central    pursuing any particular strategy. Internal dynamics
     Afghanistan claimed that they had seized a hundred      in the eastern provinces of Iran, moreover, suggest

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 plausible explanations for some of the important            Afghanistan is the world’s largest supplier of opium
 events described above, although even these internal        and Iran a major consumer, Iranians connect
 dynamics could also be part of a larger strategy. In        Afghans—especially illegal migrant workers—with
 the absence of solid evidence, however, the discus-         the drug trade. For all of these reasons, a canny
 sion of Iranian intentions is difficult to resolve. It is   politician in Tehran could well calculate the domes-
 much easier and helpful, however, to describe the           tic benefits of an ostentatious effort to round up and
 effects of Iranian actions in Afghanistan. At the end       deport illegal aliens.
 of the day, whatever Tehran’s intentions might be,              Iranian officials have worked to take political
 Iranian agents—up to the presidential level—have            advantage of the expulsion of Afghans, whatever its
 set in motion a chain of events in Afghanistan that is      true motivations were. A senior official at the Ira-
 hindering NATO’s efforts to stabilize that country.         nian Ministry of Labor and Social Affairs announced
                                                             three days before the start of the operation that
 Iranian Intentions. The Ahmadinejad government              Iranian workers had replaced 107,700 Afghans in
 has been preoccupied with three things in 2007:             2006 and that they aimed to replace at least
 improving the Iranian economy, escalating tensions          210,000 more in 2007.80 As the operation began,
 with the United States, and defeating its political         officials in Sistan and Baluchistan claimed that the
 opponents in the March 2008 parliamentary elec-             deportation was improving the situation in the
 tions. Ahmadinejad has made much of his repeated            province almost immediately. Less than a week after
 tours of every province in Iran, during which he            the operation’s beginning, several senior officials
 meets local leaders and local people and accepts peti-      reported reductions in traffic, the price of fuel, and
 tions, promises improvements, exhorts, and gener-           lines outside of bakeries, as well as a falloff in human
 ally behaves like a politician. He has emphasized           trafficking.81 The claims are possibly accurate—
 efforts to improve the lives of the Iranian people,         removing tens of thousands of people rapidly from
 although he has become perhaps more shrill as sanc-         an area tends to depress prices and eliminate lines,
 tions, Iran’s international isolation, and government       at least for a time.
 mismanagement have driven perceptions of quality                The mass expulsion of Afghans could also dove-
 of life downward.78 He and his political allies have        tail with Iranian security developments in several
 also made much of the steadily rising tensions with         ways. Tehran seems concerned about the possibility
 the United States over Iran’s nuclear program and its       of U.S. attacks coming from Afghanistan or Paki-
 activities in Iraq. There was significant public rhetor-    stan.82 It is difficult otherwise to explain the open-
 ical defiance by Iranian military officials over the        ing of a new Iranian air base at Birjand in South
 course of 2007, accompanied by the announcement             Khorasan in the middle of Iran’s eastern frontier. At
 of a number of undertakings supposedly aimed at             the inaugural ceremony in October 2007, the base’s
 preparing the Islamic Republic to defend itself             commander said that “with the inauguration of this
 against American attack. All of these activities can        base, from now on, all the military movements of
 help to explain Iranian interference in Afghanistan.        the regional and world powers based in Afghanistan
     The presence of more than a million Afghan              and the Persian Gulf would be under the observa-
 migrant workers is seen by many Iranians as a drag          tion of the air force.”83 The Iranian police estab-
 on the economy.79 Iranian officials frequently point        lished a new base called Rasul-e Akram (Most Noble
 out that, unlike Pakistan and most other countries,         Prophet) near Zahedan in Sistan and Baluchistan to
 Iran has not confined Afghan refugees in camps but          control the borders and deal with “the problem of
 rather has allowed them to live among the Iranian           the refugees and illegal immigrants in the region.”84
 population and more or less enjoy the benefits of           A provincial official explained that “it was only in
 Iranian citizenship. Poor Afghan migrant workers are        Sistan-Baluchestan Province where the police forces
 presumed to take jobs away from Iranians. Since             were given the responsibility to observe the security

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     issues, and the Rasul-e Akram Operational Base was        benefits Iranian officials have claimed for this action
     established to that end.” He added:                       may have been secondary benefits. They may also
                                                               have been the primary purposes, with the intimida-
        For the first time in the military history of the      tion of Kabul a secondary benefit or, less plausibly, an
        country and based on a project approved by             unanticipated consequence. As shown below, it is not
        his eminence the great leader (Seyyed Ali              necessary to resolve the question of intentions to
        Khamenei), some units of the Iranian army,             understand the actual effects of the action. The same
        units of the Air Force of the Islamic Republic         is true of Iranian economic assistance to Afghanistan.
        of Iran, some parts of the Intelligence Ministry,          The issue of Iranian military support for the Tali-
        and units coming from the Iranian Revolu-              ban requires a little more examination before turn-
        tionary Guards Corps and Basij were sent to            ing to the effects on the ground in Afghanistan,
        be at the service of the Law Enforcement Force         however. Two arguments are commonly adduced to
        (police) in Sistan-Baluchestan.85                      show that the Iranian government is probably not
                                                               actively aiding the Afghan insurgents. First, the
         The IRGC also recently announced the construc-        mutual antipathy of the Islamic Republic of Iran and
     tion of one hundred new posts for the IRGC volun-         the Taliban is well-known and long-standing. Ira-
     teer paramilitary force known as the Basij in the         nian rhetoric continues to demonize the Taliban,
     “border areas” of South Khorasan,86 coinciding with       and the Taliban returns the favor. It is difficult to
     an increased role for the Basij in defending Iran         imagine a basis for any long-term relationship
     against internal and external threats.87 In this con-     between these two groups or any desire in Tehran to
     text, the regime’s determination to drive Afghans out     see the Taliban return to power in Kabul. Second, as
     of the provinces bordering their own homeland may         almost everyone in Kabul and Washington has been
     be part of an effort to remove potential fifth colum-     at pains to point out, there is no direct evidence that
     nists or at least sources of information from strategi-   the government in Tehran—that is, Ahmadinejad
     cally important areas prior to an anticipated attack.     and his immediate subordinates—ordered the ship-
     The “compromise” that Tehran seems to have                ments of weapons that Coalition forces captured in
     worked out with Kabul over the refugee issue sug-         Afghanistan. Instead, both Afghan and U.S. officials
     gests that such strategic concerns play a role. Iran      have labored to create the possibility that rogue ele-
     has insisted that it will clear Afghans from Sistan and   ments within the Iranian military have been smug-
     Baluchistan, however many it ultimately repatri-          gling advanced weapons to the Taliban without the
     ates.88 Even as Tehran promised to issue more work        knowledge of the senior leadership in Tehran.
     permits to Afghans, it reaffirmed its decision to ban         The second argument is difficult to take seriously.
     Afghans from eleven cities.89                             The movement of several truckloads of weapons,
         There is certainly some connection between Ira-       including EFPs and advanced explosives, from arse-
     nian internal economic issues, security concerns (both    nals in operational bases to the border, through bor-
     internal and external), and the expulsion of Afghan       der checkpoints, and then to Taliban operatives is
     refugees in 2007. Available evidence does not sup-        not something that a handful of low-ranking officers
     port a conclusion about causal relationships, how-        and soldiers could undertake without anyone above
     ever. The overall decision to expel the refugees may      them knowing about it. If such a scenario is really
     have been aimed primarily at threatening the Karzai       feasible, then Iran is an incredibly dangerous state,
     government—demonstrating Iran’s virtually limitless       because its military lacks any meaningful controls
     ability to cripple Afghanistan’s reconstruction at any    on the export of military technology. But that is not
     time by dumping hundreds of thousands of destitute        the case. The IRGC is a disciplined and professional
     refugees and migrant workers into Herat, Nimruz,          force, its operational bases are closely guarded and
     and Farah. The economic and internal security             watched, and Iran is sufficiently open that any such

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 rogue cabal would be rapidly revealed, arrested, and        IRGC base on the Mashhad-Herat road called
 punished. The fact that Tehran has instead simply           Mohammad Rasulullah (Prophet of God). The name
 denied sending any weapons to Afghanistan rather            of the base is unremarkable but, similar to that of the
 than punishing scapegoats to maintain plausible             Rasul-e Akram base, known from the Iranian press to
 deniability renders this argument unsustainable.            have been established at the same time near Zahedan
     The first argument is superficially stronger—           for the purpose of rounding up Afghan refugees.
 since it cannot possibly be in Tehran’s interest for the    Zahedan is hundreds of miles south of the location
 Taliban to return to power, it makes no sense for the       the Afghans offered for the Mohammad Rasulullah
 IRGC to support the Taliban. In reality, this argu-         base, along a different road leading from a different
 ment is also rather weak. There is very little question     Iranian province to a different Afghan province.
 of the Taliban returning to power at this stage.            Refugees in Herat, indeed, are extremely unlikely to
 Whatever the flaws and weaknesses of the NATO               have come via Zahedan, since we know from the
 effort and the Karzai government, the Taliban is            Iranian press that refugees in Sistan and Baluchistan
 nowhere close to overturning the political order in         were sent to the much closer Afghan provinces of
 Kabul. It is barely able to maintain safe havens in its     Nimruz and Farah, rather than Herat. On the other
 own heartland for more than weeks at a time. A few          hand, it is quite plausible that the Iranians established
 truckloads of Iranian weapons are not going to turn         a new operational base in Khorasan Razavi, parallel to
 the tables on NATO and Karzai. The Iranians need            the Rasul-e Akram base in Sistan and Baluchistan, for
 not fear that military support at the level they appear     many of the same reasons: to improve security, over-
 to be providing will bring their nemesis back to            see the expulsion of Afghan refugees, and improve
 power. If the IRGC is sending weapons to the Tali-          border monitoring. It so happens that the Iranian
 ban at the levels observed in 2007, the purpose is          media made much of the Sistan and Baluchistan base
 much more subtle and the aim more limited. A                and has not apparently done so with the one in
 plausible strategy can be seen in the confluence of         Khorasan Razavi, but that may be a matter of provin-
 Iranian economic support, the location and nature           cial media or government priorities. Of course, if the
 of the major Taliban fights in 2007, and the role a         Mohammad Rasulullah operational base were really
 small number of advanced weapons could play in              being used to train Taliban or non-Taliban Shiite
 those fights. This confluence will be examined fur-         insurgents in Afghanistan, then the Iranian media
 ther in the next section.                                   would be unlikely to report on it. Fallon recently said:
     The most mysterious accusation against Tehran is        “To the best of my knowledge we have not inter-
 that the IRGC is using former mujahedin bases to train      cepted any arms shipments in recent months. . . . But
 Taliban insurgents. Reports of this activity coincided      we know that there were some shipments from Iran
 with the flow of involuntarily repatriated refugees and     that certainly came into Afghanistan earlier this year.
 migrant workers into Herat in the spring. These             And we have lots of anecdotal evidence that indicates
 reports are exactly what irritated Afghans might            that they have been training some of these insurgents
 invent to discredit the Iranian government—the bases        for Afghan.”90 Based on open-source information, we
 cited are all along the major road from Herat to Mash-      can only conclude that the story of Iranian training of
 had, were well-known locations of mujahedin training        Afghan rebels told by various Afghan officials is plau-
 camps, and in some cases are now Iranian police and         sible but not confirmable.
 IRGC operational bases engaged in collecting and
 deporting Afghan migrant workers and refugees. It is        Effects. The difficulty of determining—let alone
 possible that these reports are no more than angry          proving—Iranian intentions in Afghanistan is great,
 conspiracy-mongering.                                       as the evaluation above shows. Observing the effects
     It is also possible that there is some truth to them.   of Iranian actions and the relationship between
 Afghan officials described the establishment of a new       them and events in Afghanistan is much more

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     straightforward and enlightening—and also more            mass expulsion of Afghan migrant workers and
     important. At the end of the day, the United States,      refugees into Herat, Farah, and Nimruz. On June 22,
     Afghanistan, and their allies must concern them-          the WFP “warned that continuing security problems
     selves with what is actually occurring, regardless of     are hampering operations in some parts of Afghani-
     Tehran’s actual intentions, and they must deal with       stan, especially in the west of the country where food
     the situation the Iranians are helping to create, even    stocks are running short and thousands of the most
     if the allies cannot tell whether or not Tehran is        vulnerable people may soon see critical food supplies
     actively trying to create it.                             curtailed or interrupted.”95 Insecurity and attacks on
         To see the full effect of Iranian activities in       convoys—including twenty-five incidents since June
     Afghanistan, we must briefly consider the major           2006—had prevented the WFP from moving food to
     Coalition and Taliban military operations in the west-    western Afghanistan for four weeks.96 According to
     ern areas in 2007. Since the beginning of the year, the   news reports, WFP Afghanistan country director
     efforts of RC South focused on clearing the Helmand       Rick Corsino said that the disruptions had had a sig-
     River Valley from Garmsir to Kajaki. By the end of the    nificant impact on relief operations for the involun-
     year, ISAF reported that it had finally cleared Musa      tary returnees. Corsino particularly referred to “the
     Qala, the last Taliban stronghold in the area, north-     western region, where WFP had been unable to dis-
     west of Kajaki. The fighting peaked in early May,         tribute promised food to tens of thousands. . . . Some
     when the Taliban launched a significant counterof-        100,000 very poor Afghans have been waiting weeks
     fensive against British forces operating north of the     for food.”97 Deliveries resumed in early July, follow-
     ring road near Sangin. According to multiple reports,     ing the defeat of the Taliban counteroffensive,
     there were several battles that lasted for ten hours or   although attacks on food convoys—which move in
     more and involved hundreds of Taliban fighters. Dur-      unmarked trucks—continued.
     ing these battles, Taliban reinforcements arrived and         Coincidentally, Iran appears to have scaled back
     attempted to set up secondary and tertiary defensive      the involuntary repatriation program in June. Also
     positions and ambushes. In at least one case, British     coincidentally, Coalition forces reported seizing Ira-
     sources reported reinforcements arriving from Shin-       nian weapons moving to the Taliban in mid-April—
     dand district of Herat province, another known Tali-      during the first major British clearing operations in
     ban stronghold. ISAF and the Afghan security forces       Helmand and three days before the start of the invol-
     defeated these counterattacks and continued clearing      untary repatriation program—and in late May to early
     operations, but violence and disorder were prevalent      June, a few weeks into the major Taliban counter-
     in Helmand for much of the spring and summer.91           attack against RC South. Reports of Iranian training
         One interesting consequence of this disorder was      camps for Taliban fighters surfaced in late July, a few
     that insurgents were able to attack food convoys          weeks after movement resumed along the ring road.
     moving along the ring road from Pakistan to Nimruz,           The net result of these activities was to cut
     Farah, and Herat with desperately needed supplies.        Afghanistan’s western provinces off from the rest of
     The United Nations called for a halt on such attacks      the country—including their principal non-Iranian
     in May 2007.92 The World Food Programme (WFP)             sources of aid—through Taliban-inspired violence
     announced that its convoys had suffered twenty            aided by Iranian weapons. This isolation occurred
     attacks in the year preceding May 25, 2007, of which      exactly as Iran flooded Herat, Farah, and Nimruz
     eight had occurred since April 2007.93 The violence       provinces with destitute refugees. It coincided with
     disrupted movement along the ring road generally,         the announcements that work on the Mashhad-Herat
     creating shortages in Herat, Farah, Badghis, and          railway had begun (April 15), that work had started
     Ghor provinces and preventing the movement of             on the Iranian-funded and overseen construction of
     supplies sent from Iran out of the western areas of       warehouses and roads in Farah (May 28), that an
     Afghanistan.94 These disruptions coincided with the       Iranian company would help provide 150,000

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 more telephone lines to Afghanistan (June 10), and         • Tehran demonstrated a limited ability to
 that Iran and Afghanistan were close to signing a            destabilize the Afghan government by tak-
 preferential trade agreement aimed at doubling the           ing actions that pit different factions
 volume of trade and establishing a railroad system           against one another.
 between the two countries (June 18). In Septem-
 ber, the WFP director announced that his organi-           • The combination of Iranian actions and
 zation was purchasing wheat in Herat for the first           Taliban activities tied western Afghanistan
 time, noting that “[i]nsecurity on the southern ring         ever more tightly to Iran economically
 road means we have been unable to move food for              and politically.
 well over two months. With seriously depleted
 stocks, poor and hungry people in the west of the          • Afghan fears of Iranian retaliation and
 country have been suffering.” The WFP release                confusion in the ISAF command struc-
 added that it had purchased wheat for the first time         ture, among other things, hindered Coali-
 from Iran.98                                                 tion efforts to identify the scope and scale
     The combination of violence and economic                 of Iranian intervention and seriously con-
 investment created a powerful synergy in 2007                fused Afghan and American public state-
 that drove Afghanistan’s western provinces further           ments about it.
 from Kabul and closer to Tehran. The overall Ira-
 nian aid program, combined with the threat of              • Iran continued to blame publicly all of
 more mass expulsions, muzzled the Karzai govern-             Afghanistan’s problems on the presence of
 ment on the issue of Iranian support to the Taliban.         American and NATO forces and met accu-
 Pressed on that question, Wardak and Karzai                  sations of Iranian support to the Taliban
 always prefaced comments by referring to the posi-           with accusations of American support to
 tive role Iran was playing with its economic assist-         al Qaeda.99
 ance; highlighting the good relations Tehran and
 Kabul enjoyed; and casting doubt on the question           • It became obvious and undeniable that
 of the weapons shipments, even when both Afghan              there is no NATO, U.S., or Afghan strategy
 and Coalition officers were unequivocal that they            for controlling—or even recognizing—
 were occurring. The Iranian management of the                and reacting to Iranian influence in
 refugee crisis itself destabilized the Karzai govern-        Afghanistan and that the United States
 ment, prompting the Wolesi Jirga to fire two min-            and NATO are not interested in develop-
 isters and miring the government in needless                 ing such a strategy.
 controversy for half the year.
     Whatever the Iranians intended to do in Afghani-       • Therefore, the Karzai government appears
 stan in 2007, the following things occurred:                 to have drawn the conclusion that it is on
                                                              its own with regard to Iran and must
    • Tehran demonstrated its ability and will-               make the best of the situation.
      ingness to destabilize western Afghanistan
      at will, using Afghan refugees and migrant            The sum total of Iran’s activities in Afghanistan in
      workers as bargaining chips with Kabul.            2007 is a coherent and intelligent program to “Fin-
                                                         landize” Afghanistan (that is, neutralize its role in
    • The Afghans have clearly perceived a carrot-       international affairs), create a strategic buffer along
      and-stick strategy from Iran—mass                  the Iranian-Afghan border, and finely calibrate mili-
      expulsions of refugees are the stick, and          tary support to insurgents to produce small but
      $1 billion in trade and aid is the carrot.         strategically important results in support of that

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     effort. Iran evinces a willingness to deploy all               defenselink.mil/transcripts/transcript.aspx?transcriptid
     resources—military, diplomatic, political, economic,           =4065 (accessed February 6, 2008).
     social, and religious—in support of this effort. The              6. “Iran Pledges Help in Power Sector,” Pajhwok
     likeliest explanation is that Tehran meant to do this.         Afghan News, June 25, 2006.
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     various organs of the Iranian government at every                 8.“Iran Pledges Cooperation in Education Sector,”
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                                                Conclusions


 I  ran is the principal source of weapons, funding,
    training, and on-site advisers for a number of Sunni
 and Shiite insurgent and terrorist groups in Iraq,
                                                             included defense and interior ministers; commanders
                                                             of the Iranian Revolutionary Guard Corps (IRGC);
                                                             ambassadors and envoys in several states; numerous
 Syria, Lebanon, and the West Bank and Gaza, and it          deputy ministers; police, regular army, air force, and
 is almost certainly providing some military support         naval officers; and so on. One may question the level
 to the Taliban in Afghanistan. Iran has projected its       of involvement of any particular individual in any
 economic power—sometimes even at the expense of             particular decision, but the control of the Iranian gov-
 the prosperity of its own people—throughout the             ernment as a whole over the activities of its agents in
 region using grants, loans, joint ventures, and private     all fields is not in question. The effort to identify some
 enterprises. Many of its major economic projects            “rogue element” within the Iranian regime causing
 have had the effect (and sometimes the stated goal)         problems in spite of (or, at least, without the knowl-
 of making Iran the vital economic nexus of the area         edge of) Iran’s government is a folly that can persist
 from Kabul to the Mediterranean, particularly in the        only so long as we continue to compartmentalize
 realms of electricity, hydrocarbons, and road and rail      activities that reveal a very clear and coherent pattern
 networks. Iran has developed and used significant           when viewed as a whole.
 political and diplomatic influence throughout the               The question of Tehran’s goals and intentions need
 region with a variety of tools: overt and secret treaties   not detain us. Taking an Olympian view, one might
 and agreements, preferential support for some politi-       note that Iran is, with a few exceptions, simply behav-
 cal parties against others, the use of economic and         ing like a normal powerful state: using its economic
 migratory leverage, and occasional targeted assassi-        power to derive political leverage; supporting some
 nation campaigns. Iranian officials have also worked        factions and opposing others in regional politics;
 to advance Iran’s cultural and religious sway               training, equipping, and advising favored military
 throughout the region through Persian-language pro-         organizations against their enemies; and so on. Yet
 grams, cultural and religious exchange programs,            explaining Tehran’s behavior as natural realpolitik or,
 and subsidized pilgrimages to Shia holy sites.              more disingenuously, as a response to the surround-
                                                             ing American menace, does not diminish the reality of
                                                             the Iranian threat to the United States and its allies.
             Intentions and Realities                        Nor does it account for the fact that the Islamic
                                                             Republic is not a status quo power and, regardless of
 The notion that Iranian officials and individuals have      how many ordinary Iranians may feel, often seeks to
 unconsciously, independently, or unintentionally            promote an ideology that is, at its root, hostile to the
 deployed all of the resources of Iranian national           fundamentals that underpin U.S. society.
 power coherently in such a way as to move Iran                  It is for this reason that the Islamic Republic’s
 toward military, economic, political, and socio-            pursuit of its interests conflicts directly with that of
 religious hegemony of its region is absurd. As the con-     the United States. The political and military proxies
 tents of this report manifest, Tehran pursues a coher-      Tehran supports throughout the region are almost
 ent, integrated, and often transparent strategy.            invariably U.S. enemies. The economic power Iran
 Officials openly involved in these efforts have             has deployed in Iraq and Afghanistan has had the

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     effect of weakening the control of Baghdad and             itself into an indispensable nation economically,
     Kabul over outlying regions as the United States has       politically, and militarily in the Middle East. Pursuing
     been trying to strengthen that control. Iran’s political   these interests requires understanding the scope and
     leverage has served to boost Moqtada al-Sadr—an            scale of Iranian activities as they are now.
     avowed enemy of the United States—while Iranian
     agents attempted to assassinate Iraqi prime minister
     (and wayward Iranian ally) Nuri al-Maliki; to force a                 Iranian Military Activities
     confrontation between Afghan president Hamid
     Karzai and speaker of the lower house of the Afghan        Iran’s military involvement in the Middle East over the
     parliament Yunus Qanuni as we were working to              past few years has been sophisticated, coordinated,
     solidify Karzai’s government; to strengthen the            skillful, and nuanced. Iran has recognized the power
     power of Hamas while we sought to broker some              differential between it and the United States and has
     kind of reconciliation in the West Bank and Gaza;          developed innovative methods of asymmetric war-
     and so on. And it is certainly not in America’s inter-     fare. Iranian external military policies in general have
     est for Khomeini-style politically activist Shiism to      relied on leveraging technologies and capabilities to
     prevail over Sistani-type politically quietist Shiism.     achieve maximum effect with minimum cost and
         These facts may reflect Iran’s reflexive fear or       exposure. They are a skillful blend of equipping,
     resentment of America or a genuine desire to achieve       training, organizing, funding, and advising, appropri-
     Iranian hegemony throughout the Middle East—or             ately variegated depending on the specific circum-
     both. Either way, the Islamic Republic is not a status     stances in each theater. Iran has been willing to
     quo power, and there is nothing Washington can do          escalate both the quality of the weaponry and the
     to reverse Tehran’s strategic calculus. More impor-        training it provides, but it has not to our knowledge
     tantly, were it possible, as some insist, to assuage       been willing to share chemical or biological weapons
     Tehran’s fear or satisfy its appetites, the forces Iran    or more sophisticated systems. However, this policy
     has unleashed can no longer be reinserted into the         could change without notice.
     genie’s bottle. It is perfectly reasonable to debate the       Tehran rarely aims at or presupposes the subordi-
     merits of higher-level negotiations with Iran or           nation of local proxies to its control or interests but
     airstrikes against some set of targets, but neither the    generally works instead to support and encourage
     one nor the other will make the problem disappear.         proxies whose interests more or less align with its
         The United States must therefore develop a more        own. Like the Soviet Union in the Cold War, the
     comprehensive strategy to address the manifold             Iranians are often content to help “fellow travelers.”
     challenges Iranian policy in the region poses to our       They have proven patient with divergences and even
     interests. Concurrently, Washington must consider          incompetence on the part of some of their proxies,
     the nature of the regime and the wisdom of various         apparently taking the long view that misguided lead-
     measures to change Tehran’s behavior or to change          ers can ultimately be corrected or replaced, but use-
     the regime itself. The United States has an abiding        ful proxies are hard to find or create.
     interest in stabilizing Lebanon and the West Bank
     and Gaza (and therefore weakening or moderating            Equipment. The most visible and tangible and veri-
     Hezbollah and Hamas); in ensuring that Syria does          fiable aspects of Iranian military activities outside
     not remain a vassal of Tehran and a staging area for       Iran’s borders are in the realm of military equipment.
     Iranian involvement in the Levant; in keeping vio-         Iran’s efforts in this area have ranged from the more
     lence down in Iraq and Afghanistan and helping             or less obvious, as in the case of support for Syria and
     both Baghdad and Kabul develop independent and             Hezbollah, to the almost entirely opaque, as in the
     mature political processes and regain control over all     case of Afghanistan. It is difficult to track closely how
     of their territory; and in preventing Iran from turning    much low-level military equipment the Iranians have

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                                                                                                       CONCLUSIONS

 been sending their proxies, though Israel has made            In Lebanon, Iranian support has been overt and
 an art of tracking Hezbollah’s resupply chains. But for    broader. Even so, the provision of Chinese-model
 our purposes, the details and range of various mis-        antishipping and surface-to-surface missiles allowed
 siles, the component parts of shaped charges, and the      Hezbollah to generate spectacular attacks against
 make of light arms is less important than Tehran’s         Israeli naval targets and in the towns of northern
 willingness and ability to provide proxies with niche      Israel, and the provision of advanced antitank and
 capabilities that can give them key advantages over        anti-aircraft weapons caused the Israeli Defense
 their adversaries.                                         Forces considerable trouble during the 2006 war.
     The deployment of Iranian explosively formed           These attacks, and their deterrent and terror effects,
 penetrators (EFP) in Iraq is a classic example. Iranian    were more important than any number of AK-47s or
 agents have supported the efforts of both Sunni and        regular rocket-propelled grenades the Iranians might
 Shia insurgents and terrorists to make and deploy reg-     have given Hezbollah.
 ular improvised explosive devices and conduct ordi-           The Taliban are openly scornful of the notion that
 nary guerrilla attacks, but insurgents of both sects       they need Iran’s help to arm themselves, and, for the
 have also developed these capabilities without Iranian     most part, they are right—there are more than
 help. The three most significant types of attack in        enough AK-47s and other such weapons available on
 Iraq over the past few years—the kinds of attacks that     the open market for a group with access to nar-
 get widespread media coverage and contribute to            codollars. But the International Security Assistance
 negative trends in key indicators that affect the debate   Force (ISAF) has intercepted two or three shipments
 in Washington—have been car- and truck-bombs,              of higher-end weapons with Iranian markings,
 EFP attacks, and rocket and mortar attacks on Coali-       including rockets and EFPs, intended for the Taliban
 tion bases and especially the Green Zone in Baghdad.       in the past year. These interceptions have been the
 It appears that Sunni terrorists, particularly al Qaeda,   source of significant controversy, partly because of
 pioneered the car- and truck-bomb style of attacks,        the widespread reluctance to believe that Tehran
 and these became their signature (although it is now       would arm a group that has been as inveterate an
 clear that some Iranian-backed groups have also            enemy and as dangerous a threat as the Taliban. In
 adopted this technique). But EFPs come only from           truth, this reluctance is farcical. Three or four or ten
 Iran, and the rockets and mortars with which specially     truckloads of such weapons would not make the
 trained Shia groups have been hitting the Green            Taliban a threat to Iran. But, delivered during intense
 Zone and other Coalition bases are Iranian-                operations against NATO forces in critical areas (as
 made 107-millimeter or 240-millimeter rockets and          these were apparently intended to be), they could
 81-millimeter mortars. These niche capabilities            provide the Taliban with niche capabilities necessary
 allowed small groups of highly trained terrorists to       to disrupt communications in Afghanistan in ways
 have disproportionate effects on the situation and         that benefit Iran. The sorts of weapons shipments
 perceptions in Iraq and the United States. Tellingly,      ISAF and Afghan forces have seized track perfectly
 the Iranians appear to have refrained from sending         with the general pattern of Iranian support—key sys-
 their Iraqi proxies significant numbers of advanced        tems delivered in just enough quantity at the right
 man-portable surface-to-air missiles (MANPADs).            moment to create maximum effect without posing a
 Although such weapons could have had an even               danger to Iran or its other allies.
 more disproportionate effect on the situation, they           And the level of capability seems calibrated not
 have also been an American “red-line.”1 Sending            only to the needs of the local proxies but also to the
 advanced MANPADs into Iraq in quantity might have          probability of undesired escalation. In Lebanon and
 triggered a direct U.S. attack on Iran. Whether for that   Syria, where Iran can be reasonably confident that
 reason or for some other, the Iranians appear to have      virtually nothing it does will lead to a direct attack
 held back from such an escalation, at least so far.        on Iranian soil, Tehran has been open-handed. In

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     Iraq, the level of support appears to have been cali-       have trained hundreds of Lebanese. It is unknown how
     brated to a reasonably well-publicized U.S. red-line.       many Afghans or Palestinians have passed through
     In Afghanistan, where Tehran clearly seeks to play          the camps. But the effort is sophisticated. There are
     the part of helper to and ally with Kabul, plausible        initial training courses, and then some cadres are
     deniability has been the key, and the nature and            brought back for more advanced courses. The Ira-
     quantity of weapons sent to the Taliban have been           nians also conduct “train-the-trainer” (TTT) exercises
     kept in check accordingly. And the skill with which         in which they instruct advanced insurgent cadres how
     this equipment strategy has been conducted has              to set up and run their own training programs. TTT
     achieved at least one of its likely aims: very few out-     exercises are evidence of a calculated, long-term
     side observers have detected a pattern and drawn            approach to the problem of creating and maintaining
     the relevant conclusions for each theater.                  reliable and effective proxies in difficult situations.
                                                                 They are also an indication that Tehran is willing for
     Training and Advising. The Iranian penchant for             its proxies to develop some independence—TTT
     leveraging assets and capabilities carries over into        exercises are essential to setting up self-maintaining
     training and advisory efforts, which focus on devel-        autonomous military organizations, which is why
     oping and maintaining a relatively small cadre of           they have been a core component of the U.S. advisory
     highly trained leaders, advisers, and indigenous train-     efforts in Iraq and Afghanistan.
     ers that can operate relatively independently but very          The Iranians do not simply throw their trained
     effectively. The presence of training camps within Iran     proxies into the fight without any additional guid-
     is well-documented. We know from numerous open              ance. They also provide on-scene advisers in some
     sources, including information derived from captured        theaters. Apart from the overt effort in Syria and the
     Iranian agents, that the IRGC Quds Force maintains          slightly less overt effort in Lebanon, the Iranian advi-
     training camps near Tehran. Slightly less reliable          sory effort in Iraq was probably the most sophisti-
     reports suggest that the Quds Force also maintains          cated and well-developed. It includes Iranian Quds
     camps near Mashhad and elsewhere on the Afghan              Force operatives, Lebanese Hezbollahis, and Iraqis
     border and along the Iraqi border as well. Iranian          given advanced training in Iran and then sent back.
     training camps house Iranians, Lebanese, Syrians,           The Iranian advisory effort in Iraq was designed to
     Iraqis, and probably Afghans and Palestinians as well.      allow the Iraqis a fair amount of autonomy while
     It is clear that Lebanese Hezbollahis are involved in       providing objective reporting on their actions. Thus
     training Iraqi fighters, and Lebanese Hezbollahis have      the Iraqi leader of the secret cell network, Qais Khaz-
     been reported as far east as Mashhad, although it is        ali, reported directly to his Quds Force overseer in
     not clear what role, if any, they play in training          Iran in parallel with the Lebanese Hezbollahi Ali
     Afghans nearby. Nor is it possible to establish from        Mussa Daqduq who was assisting him.
     open sources whether there are other links or interac-          In places where Iranian activities can be more
     tions between Afghan, Lebanese, Syrian, Iraqi, and          open, their advisory efforts are more obvious. Ira-
     Palestinian fighters training in Iran—only that they        nian advisers in the Bekaa Valley, for instance, have
     are all there. Iranian training camps thus have the         been key to Lebanese terrorist training, and the
     potential to be the sort of terrorist nexus that Afghani-   Iranians have naturally maintained a more-or-less
     stan was for so long, although it is not clear from open    overt advisory presence on Syrian territory. There
     sources whether or not they are actually functioning        are no open-source reports of Iranian advisers in
     in that way at the moment.                                  Afghanistan. It is quite possible that there are few or
         Iranians and Lebanese Hezbollahis have trained          none—the Taliban has been a well-organized and
     thousands of Iraqi fighters for almost twenty-five          determined fighting force for decades and hardly
     years—going back to the IRGC’s training of Iraqis in        needs outside overseers. But there are many Iranians
     the Badr Corps for fighting in the Iran-Iraq war. They      in Afghanistan, particularly in the western border

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 regions, and the paucity of reporting on the question        and antisecularism are all popular themes for Iranian
 of Iranian involvement in Afghanistan is such that           proxies, but, then, they are popular themes for many
 we can draw no real conclusions about this ques-             groups throughout the Middle East. Tehran is far
 tion. One thing is clear: the scale and nature of the        more comfortable with at least superficially national-
 advisory effort, like that of the military equipment         istic or local proxies than the Soviets were. The Jaysh
 effort, seems to be calibrated both to the needs of the      al Mahdi has always claimed to be an Iraqi national-
 proxies and to the likely effect of its revelation.          ist army, not the vanguard of any pan-Shiite front.
                                                              Hezbollah manipulates the concept of pan-Shiite
 Organizing. Iranian efforts at organizing proxies have       identity, but remains at heart a Lebanese party and
 also varied depending on the requirements of a given         militia. Hamas and the Taliban, both Sunni groups,
 situation. In the 1980s, Tehran organized two proxies        naturally make no attempt to claim participation in
 virtually from scratch—Lebanese Hezbollah and the            any pan-Shiite effort. Hamas—Palestinian Arabs—
 Badr Corps. More recently, the Quds Force developed          and the Taliban—Pashtuns—likewise make no more
 the secret cell structure in Iraq in a weird symbiosis       effort to identify themselves as pro-Persian than do
 with Sadr’s Jaysh al Mahdi—which Tehran did not              Iraqi Arabs. In this sense, there is no “Iranian bloc”
 invent or organize. It is not clear if recent reports that   similar to the Soviet bloc with parallel objectives and
 Tehran has been trying to help Sadr reorganize the           a distinct shared ideological identity.
 Jaysh al Mahdi are correct. Tehran certainly did not             This heterogeneity is tactically advantageous for
 organize or reorganize either the Taliban or Hamas           Tehran—it allows Iran to support whatever tools are
 but worked instead through structures that were              most readily at hand throughout the region without
 already highly developed.                                    signing on to any particular ideological or even prac-
      Tehran has shown remarkable willingness to              tical regionwide (let alone global) program. But it
 work with whatever organizations suit local circum-          does raise an intriguing question: what would Iranian
 stances and to allow these organizations to evolve as        hegemony actually look like? The aims of Tehran’s
 the situation changes. Hezbollah went from being a           various proxies are not necessarily consonant with
 terrorist/insurgent group to being a mini-government         one another (as evidenced by the fact that they are
 and semi-legitimate party (albeit still with a terrorist/    actively fighting each other in Iraq). Anti-American-
 insurgent wing), and Iranian agents have facilitated         ism (and anti-Zionism) does not distinguish Tehran’s
 every step of the process. Iran supports Hamas—a             proxies from other Muslim groups, but it is almost the
 relatively well-organized fighting force now attempt-        only common feature they all share (and it is not even
 ing to act as a governing partner (or political rival) to    clear that all elements within the Badr Corps continue
 Fatah—but it also supports the Taliban, which has            to share it). This fact suggests that Iran’s grand strat-
 no real political legitimacy in Afghanistan, very little     egy is reactive—Tehran supports anyone who will
 popular support outside of a few localities, and very        help it defeat America and Israel.
 little probability of regaining any real share of politi-        Iran’s flexibility on basic questions of mission and
 cal power. In Iraq, Iranian agents and money have            ideology calls into question Tehran’s commitment to
 supported the well-organized and relatively disci-           stability in the region. Not only are its proxies work-
 plined Badr Corps and the ill-organized and undisci-         ing against stability in some areas, but the discord
 plined Jaysh al Mahdi, even while creating the most          among their various agendas and objectives creates
 highly organized and disciplined Shia force of all in        greater instability. In this respect, again, Iran differs
 the secret cell network.                                     profoundly from the Soviet Union. By requiring
      This flexibility in organization contrasts with the     their proxies to accept a common set of goals and
 Soviet approach to its revolutionary proxies during the      values, the Soviets thereby made them intellectually
 Cold War, which followed a doctrinaire and largely pre-      interoperable. By forcing their proxies to renounce
 dictable model. Anti-Americanism, anti-Westernism,           nationalism and localism, they (theoretically)

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     ensured that their own hegemony would be stable              have ever “gone out of business” for lack of cash. But
     and internally consistent. Ascendant Iranian proxies         these peculiarities of Islam offer Islamist insurgencies
     will not be as interoperable. Whatever idea guides           additional revenue streams with which to supple-
     Iranian actions, a coherent and stable vision for the        ment the largesse of key donors like Iran.
     Middle East is not part of it.                                   They also allow some proxies to effectively develop
                                                                  independent revenue bases. It is widely reported
     Funding. Iran provides a great deal of cash to its           (although there is very little hard evidence) that
     favored clients. Iranian money supports Hezbollah,           Hakim’s Supreme Iraqi Islamic Council (SIIC), the
     Sadr, the rival Iraqi Shia bloc of Abd al-Aziz               party formerly known as the Supreme Council for the
     al-Hakim, perhaps the major Kurdish parties, virtu-          Islamic Revolution in Iraq, continues to receive Ira-
     ally every other major political grouping in Iraq,           nian subsidies. It may, but it would almost certainly
     Palestinian Islamic Jihad, Hamas, and so on. Much            survive without them, since SIIC partisans control the
     has been made of the difficulty of confronting non-          Imam Ali and Imam Hussein Shrines in Najaf and
     state actors such as al Qaeda. While it is certainly         Karbala, are the most powerful Shiite party in the
     more difficult in some respects, it is easier in others.     Iraqi government and therefore control most local
     Iran appears to have the best of both worlds. It har-        government in southern Iraq, and benefit from Iraq’s
     nesses the resources of a large and wealthy state and        oil resources. The Sadrists, by contrast, are probably
     puts them at the disposal of various asymmetric              more dependent on Iranian cash. They control the
     proxies. As long as Tehran has the will to support           Kadhimiya Shrine in Baghdad but little else of finan-
     these groups and oil prices remain high, Iran’s prox-        cial value. When Iranian money to the Sadrists dried
     ies need never lack for funds.                               up, the movement’s ability to finance its activities suf-
         It is worth noting in this regard a special feature of   fered. When examining Iranian proxies, therefore, it is
     Islamist asymmetric groups resulting from a peculi-          important to keep in mind not only the fact that
     arity of Islam: the zakat, or religious alms. Repeated       Tehran does not attempt to impose any rigid ideolog-
     Quranic injunctions to pay the zakat, which can              ical unanimity, but also that some proxies can eman-
     range from the standard 2 to 20 percent of disposable        cipate themselves from Iranian support more readily
     income (in the Shiite Khums tradition), are ingrained        than others. It is too soon to tell how exactly Iran will
     in the Muslim consciousness. The relatively flat hier-       react to this development in Iraq.
     archy of Sunni Islam allows extremists who control
     local clergies (or establish local “emirates” that claim
     to have political legitimacy) to lay claim to this rev-                           Economics
     enue stream. The Shiite sect has a more hierarchical
     structure, which has complicated matters for the             Iran is a large state with massive oil reserves. In an
     Tehran regime, since the most influential single Shi-        age of high oil prices, the Tehran regime will invari-
     ite religious figure now is Grand Ayatollah Ali al Sis-      ably have a lot of cash, even if mismanagement has
     tani in Najaf. But many expatriate Lebanese, for             led to unemployment, underemployment, and infla-
     example, identify Hezbollah (or at least its spiritual       tion. And while Iran’s economic integration into the
     leader, Hassan Fadlallah) as the legitimate beneficiary      region has been limited by the incompetence of the
     of their religious dues, providing Hezbollah with an         regime’s policies, Iranian cash remains a vital lever in
     important source of additional funding. And much of          influencing the Middle East and beyond. Funda-
     the fighting in Iraq’s holy cities of Karbala and Najaf      mentally, the cost of support for terror is minimal,
     has centered around which faction would control the          and even the hundreds of millions extended to
     lucrative pilgrimage trade—another source of                 groups such as Hezbollah are more than recouped
     income for Islamist groups. Insurgencies generally           by the IRGC’s increasingly lucrative business activ-
     find ways to raise money—very few insurgencies               ities. More interesting, perhaps, is Iran’s effort to

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 carve out economic spheres of influence that jibe           Afghanistan to Lebanon and in which it is by far the
 with its political goals—hence, the buildup of trade        most important player—Iran’s 170 billion kWh of
 and infrastructure in Syria, Afghanistan, and Iraq.         production is rivaled only by Turkey’s 154 billion. It
                                                             dwarfs the 33 billion or so that Iraq and Syria produce
 Electricity. Iran’s electrical production and consump-      annually, to say nothing of Afghanistan’s 754 million.
 tion have become a significant issue because Tehran            Does it matter? Depending on how the grid is
 has claimed that it needs nuclear power to make up          designed, Tehran might or might not be able to turn
 its production deficiencies. Tehran’s great efforts to      the lights off when its neighbors displease it. There are
 export electrical generating capacity to neighboring        indications that it has done so in Iraq already. Even
 countries, to put neighboring areas on the Iranian          without that threat, the scale of Iran’s generating
 power grid, and to use Iranian cash to subsidize the        capacity and consumption compared to those of its
 construction and improvement of transmission lines          neighbors can give it a disproportionate say in how
 and transformers in neighboring states are somewhat         the entire grid is run, providing significant economic
 puzzling in this regard. According to the CIA 2008          leverage throughout the region. And the very fact of
 World Factbook, Iran exported nearly 2.8 billion            an interconnected power grid running through and
 kilowatt-hours (kWh) in 2005 while importing                dependent on Iran is also a step toward an intercon-
 slightly over 2 billion. By comparison, of the states       nected regional economy centered around Iran.
 from India to Libya, only Turkey and Egypt exported
 significant amounts of electricity—Turkey around            Transportation and Energy Infrastructure. Iran
 1.7 billion kWh, and Egypt slightly less than 1 billion.    has been following a parallel path in the areas of
 Ayatollah Ali Khamenei recently said that he expected       regional transportation and energy infrastructure.
 Iran’s nuclear program to produce 20 million kilo-          Over the past two years, Tehran has initiated pro-
 watts of power over the next twenty years.2                 grams to link Afghanistan’s border regions more
     But Iran has constructed generating capacity in         closely with their Iranian neighbors than with Kabul
 excess of 1 million kWh in Syria, Lebanon, Afghani-         and to divert Afghan and ultimately Central Asian
 stan, and Iraq in the past few years. It has built          trade through Iranian ports instead of Karachi. Ira-
 transmission lines and transformers in Afghanistan’s        nian officials and private firms have been working to
 western provinces, linking them to the Iranian              extend rail and road links through Iraq and Turkey
 power grid. It has linked large areas of Iraq’s border      into Syria. Tehran has also been working to build gas
 provinces to its power grid. It has proposed building       and oil pipelines from Iran into Syria and from Iraq
 generators in Najaf and then linking that province to       into Iran (the Abadan pipeline project). This last is
 the Iranian power grid, as well as joining the Ira-         the hardest to explain. Iraq already has a perfectly
 nian, Syrian, Turkish, and Iraqi grids.                     good port and outlet for its own oil exports. Building
     There are a variety of reasons why Iran might want      a pipeline to Abadan makes little sense from an eco-
 to adopt this policy, and we need not speculate about       nomic standpoint—states interested in helping Iraq
 its aims. Three things, however, are worth noting.          rebuild its oil industry would do better to invest
 First, the Iranian nuclear power program will not pri-      directly in Iraq. But it does (needlessly) tie Iraq to the
 marily compensate for inadequate generating capacity        Iranian oil industry and create an additional and
 in Iran but will rather subsidize a deliberate state pol-   unnecessary dependency for Baghdad on Tehran.
 icy of exporting electricity and generating capacity           If the United States and Iran did not have so many
 throughout the region. Second, the effect of this pol-      interests in conflict, and if Iran were not so reliably
 icy will be to make Iran’s near neighbors, including        supporting America’s enemies throughout the region
 Syria and Turkey, increasingly interdependent with          and working against American efforts to reestablish
 Tehran and the Iranian economy. Third, Iran is mak-         central and independent control in Baghdad and
 ing itself the nexus of a power grid that stretches from    Kabul, these economic efforts would be unremarkable

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     except as a sign that Tehran appears to be seeking to                        Religious Activities
     consolidate its position at the center of a region that
     runs from Central Asia to the West Bank and Gaza.             The Islamic Republic’s religious activities in the
     But in the context of the American-Iranian competi-           region are more readily apparent and more inher-
     tion, American policymakers have to ask themselves            ently troubling. The struggle within Shiism between
     if it is in our interest for Iran to be consolidating such    Khomeini-style proponents of clerical rule and tradi-
     a position. In all events, it is past time to start closely   tional quietism is as fierce as any sectarian struggle
     tracking Iranian economic activities not for signs of         between Sunnis and Shiites. Iraq’s liberation accentu-
     illegal or nefarious intent but for indications that even     ates the struggle, as any utterance from Iraqi religious
     overt and ostensibly harmless economic interactions           authorities that contradicts the Iranian supreme
     might be creating a reality on the ground that will           leader necessarily undercuts the Islamic Republic’s
     endanger American interests in the region.                    legitimacy. The Iranian embrace of lower-ranking
                                                                   clerics like Sadr and Islamist laymen like Maliki and
                                                                   Ibrahim Jaafari represents Iran’s desire for Iraq to be
                             Politics                              a compliant follower that poses no challenge to the
                                                                   Iranian clerical leadership. Iranian efforts to bring
     The Iranian regime interferes in the politics of states       Afghans and others for clerical training in Iran is, on
     and groups throughout the region. Iranian activity in         the one hand, natural and, on the other hand, dis-
     Iraqi politics is apparent: Sadr’s long stays in Tehran,      tressing. One would expect Iran, as a center of Shi-
     Iranian support for the Badr Corps re-invasion of             ism, to be a source of emulation and education for
     2003, continued Iranian support to various Iraqi              other Shiite clerics—and we must note that by no
     political parties, and so on. Iran has also attempted to      means do all of Iran’s leading Shiite clerics actually
     involve itself in the internal politics of Hezbollah. It is   accept the Khomeini ideals of political Shiism. On
     harder to say that Iran is interfering in Syrian politics,    the other hand, when the government that explicitly
     except in the sense that Tehran is clearly working to         embraces those ideas sends missionaries and brings
     stabilize and consolidate the rule of a weak Alawite          foreign clerics to study, one must assume until it is
     dictator. And, although there is evidence that Iran is        demonstrated otherwise that part of the purpose is to
     meddling in Afghan politics—most notably through              spread the ideas of the Iranian revolution. It is cer-
     the apparent manipulation of the involuntary refugee          tainly not in America’s interest for that to occur.
     repatriation crisis—it is more difficult to demonstrate
     the extent of that interference from open sources.
        All states have an interest in the success or failure                    The Hezbollah Model
     of parties and leaders in their neighbors. What mat-
     ters in this instance is that Iranian efforts to create       Finally, there have been many discussions of the
     dependency relationships between Tehran’s proxies             adoption of the “Hezbollah model” by Iranian prox-
     and Iran are rapidly increasing Tehran’s leverage in          ies and other groups. That model is usually taken
     regional political dynamics. Iranian leaders may not          to mean a political group dominated by a militia/
     give direct orders to their proxies, but states and           terrorist organization that provides social services to
     organizations that require continued military, finan-         populations it claims to govern in competition with
     cial, organizational, and training assistance from Iran       the sovereign government. Iraq’s Sadrists have clearly
     in order to survive are not independent of Tehran. As         followed this model, as have other groups in the
     we can see most vividly in Afghanistan, it is often not       region, such as Hamas.
     necessary for Tehran to give orders for others to                 But Western discussions of this model often
     know what the Iranians desire and what the conse-             ignore what is perhaps its most important character-
     quences of refusing them would be.                            istic: a particular kind of dependency relationship

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 with Tehran. We have noted that Iran rarely gives                that the United States has been engaged in
 direct orders to its proxies; conversely, it allows them         conflict with Iran for three decades is the
 a fair degree of local independence. But it also retains         starting point for an analytical effort to
 control over the most important components of its                understand fully what that conflict has
 support. Most EFPs are built in Iran, and it does not            looked like from Tehran’s vantage point. We
 appear that Tehran has been willing to “license” the             have started with what is easily demonstra-
 technique to its allies. Doing so would create a much            ble. The next steps of this effort involve
 greater degree of plausible deniability for the regime,          greater work on the internal dynamics of
 but Tehran has preferred to keep control of the dis-             the Iranian regime and more intense study
 persion of this technology. Tehran has likewise pre-             of Iranian activities on a regional basis.
 ferred to send Iranian trainers or to bring local
 end-users to Iran for training in advanced systems            • We must recognize that American and
 and has remained the principal conduit for supply               Iranian interests conflict beyond the
 even of Russian and Chinese systems, again at the               issue of the nuclear crisis. For too long,
 expense of plausible deniability. Regime proxies must           discussions of “containment” have
 know that they would suffer terribly if Tehran ever             addressed means of hammering the Ira-
 cut them off—some would probably perish. The                    nians into submitting to their international
 Hezbollah model is thus not simply a model for legit-           obligations on the nuclear issue. Resolving
 imizing terrorist groups in their communities, but it           that issue is a pressing priority, but its reso-
 is also a model that allows Iran to retain overall con-         lution will not end hostilities. The Islamic
 trol over its proxies without having to command                 Republic and the United States have too
 them directly.                                                  many other interests in conflict in a region
                                                                 that is key to both sides.

                  Recommendations                              • Containment. The containment strategy
                                                                 the United States adopted in the 1940s
 The purpose of this report has been to identify and             was infinitely more comprehensive than
 describe Iranian activities in several key areas. It is not     the strategies currently under considera-
 exhaustive. The depth of Iranian economic and politi-           tion toward Iran. The United States
 cal involvement in Iraq, for example, would require a           imposed sanctions on the Soviet Union
 report as long as this. Fully cataloguing Iranian activ-        and its allies periodically, maintained a
 ities in Syria and Lebanon is as large a task. Nor can          strong military deterrent, fought a rhetori-
 we offer a set of recommendations that is in any way            cal and informational campaign, and occa-
 complete or firm. What follows are a few fairly obvi-           sionally used force on smaller or larger
 ous corollaries from the facts we have established.             scales against Soviet proxies. But the
                                                                 United States also competed with the
    • The United States must begin to look                       Soviet Union in the fields of soft power
      holistically at Iranian activities across the              more directly. The Marshall Plan aimed to
      spectrum, from economic aid to military                    restore European economies as a way of
      support. The primary aim of this report has                shoring up European confidence to resist
      been to show that there are overarching pat-               the Soviet Union. Throughout the Cold
      terns in Iran’s activities in its region, patterns         War, the United States tracked Soviet
      that become clear when the customary                       efforts to create economic and military
      compartmentalization of the study of Ira-                  dependency in third states and competed
      nian issues is broken down. Recognizing                    with them intentionally. The current crisis

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       requires no less comprehensive a strategy.             challenges by Iranian proxies—such as the
       Iran cannot compete directly against the               murder of 241 U.S. Marines in Lebanon,
       United States in much of the region; where             the attack on Khobar Towers in Saudi
       the regime prospers, it is because the                 Arabia that left nineteen U.S. troops
       United States neither perceives nor engages            dead, and continuous attacks on the
       in competition. Roads and railways are                 American military in Iraq and increasingly
       built by Iran because the United States is             in Afghanistan—have too often gone unan-
       not in the game; southern Lebanon is                   swered by the United States. Recognizing
       beholden because America’s interest has                how enmeshed those proxies actually are in
       waned. Washington and its allies in the                an overarching struggle, we should con-
       region and beyond should work with Iraq,               sider at what point we might have to get
       Lebanon, Turkey, Afghanistan, Pakistan,                involved directly in those proxy struggles
       and the Central Asian states to develop                and, if so, on what terms.
       decentralized transportation networks that
       obviate dependency on Iran. Aid programs            • Mobilization. The United States is not now
       should contemplate how to avoid regional              mobilized on any dimension appropriate
       dependence on Iranian power. And                      for the necessary struggle. Our military is
       regional oil and gas distribution networks            too small, our foreign aid programs ill-
       should be incentivized to work around                 designed, our intelligence systems dysfunc-
       Tehran. American focus has thus far been              tional, and our decision-making apparatus
       on denial rather than on redirecting                  poorly designed and conditioned to take a
       Tehran’s allies. That must change.                    holistic view of the challenges we face in a
                                                             key region. Mobilization and reorganiza-
     • Proxy Conflict. The likelihood of any                 tion to face the new threat were key com-
       encounter between Iranian proxies and                 ponents of the Cold War containment
       U.S. forces escalating into a major conflict          strategy. They are no less important or
       between Iran and the United States is small.          urgent now.
       Outside Iraq, however, the United States
       has been reluctant to either combat these
       proxies (in Afghanistan) or empower their
       opponents in any significant fashion.                                   Notes
       (Those who might argue that U.S. assistance
       to Israel constitutes just such empowerment         1. Authors’ interviews with commanders and diplo-
       need only review Washington’s view of            mats in Iraq.
       Israeli military action against the Palestini-      2. “Khamenei Says Iran Ties with US Possible,” Asso-
       ans to realize this claim is false.) Military    ciated Press, January 3, 2008.




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  The Long War Journal: Iran and al Qaeda in Iraq


  Written by Bill Roggio on January 6, 2007 12:50 PM to The Long War Journal

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   Qods Force
    logo. Click
  image to view.


  Further evidence of Iran's support of the Shia death squads and Sunni al Qaeda has emerged. At the end of
  December, two Iranian agents of the Qods force were arrested in a SCIRI compound in Baghdad. The Iraqi
  government was angry over the arrests, as the Iranians were part of a diplomatic delegation, and the agents were
  later released and deported.

  But the Washington Post reported the two Iranian intelligence agents captured in Baghdad possessed "weapons
  lists, documents pertaining to shipments of weapons into Iraq, organizational charts, telephone records and
  maps, among other sensitive intelligence information... [and] information about importing modern, specially
  shaped explosive charges into Iraq." One was "the third-highest-ranking official of the Iranian Revolutionary
  Guards' al-Qods Brigade."

  The New York Sun described the documents as "the equivalent of Iran's Iraq Study Group" which "show how the
  Qods Force — the arm of Iran's revolutionary guard that supports Shiite Hezbollah, Sunni Hamas, and Shiite
  death squads — is working with individuals affiliated with Al Qaeda in Iraq and Ansar al-Sunna." "We found
  plans for attacks, phone numbers affiliated with Sunni bad guys, a lot of things that filled in the blanks on what
  these guys are up to," an intelligence official told the New York Sun.




     Qassem
  Soleimani, the
  commander of
   Qods Force.
  Click image to
      view.
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  Iranian involvement with al Qaeda and other Sunni jihadis groups is nothing new, however the conventional
  wisdom in media and some intelligence circles is Shia Iran could never cooperate with Sunni al Qaeda due to
  ideological differences. This ignores a mountain of evidence to the contrary, such as Iran's sheltering of over 100
  al Qaeda leaders, including Said bin Laden, Osama's son, and Saif al-Adel, al Qaeda's strategic planner, or
  Iranian support of Somalia's Sunni Islamic Courts by providing arms and training.

  The 9-11 Commission Report was explicit about Iran's connections with al Qaeda. "The relationship between al
  Qaeda and Iran demonstrated that Sunni-Shia divisions did not necessarily pose an insurmountable barrier to
  cooperation in terrorist operations." Contacts between Iran, Hezbollah
  and al Qaeda were established in Sudan in the early 1990s. "Al Qaeda members received advice and training
  from Hezbollah," according the the 9-11 Commission report. Many of al Qaeda's 9-11 hijackers transited
  through Iran. "After 9/11, Iran and Hezbollah wished to conceal any past evidence of cooperation with Sunni
  terrorists associated with al Qaeda."

  Iranian involvement in Iraq with the Sunni terrorists has been an open secret in military and intelligence circles
  since the Fallujah uprising in March of 2004. Iranian mines and weapons were funneled to Zarqawi's terrorists in
  Fallujah and elsewhere throughout Sunni dominated Anbar province.




       Imad
    Mugniyah,
      Iranian
   operative and
     leader of
    Hezbollah's
  military. Click
  image to view.


  Iran's influence in Iraq must be countered for the U.S. and Iraqi governments to succeed in restoring order in
  Baghdad. For starters, the United States should seal the Iranian border and mount an information campaign
  exposing Iranian support for the murder of numerous fellow Shia, as well as for backing the group that is
  responsible for the destruction of the Golden Dome of the Al Askaria mosque, the holiest site in Shia Islam.

  The United State has proven incapable of mounting a serious information campaign, let alone sustaining one,
  which is why Iran has operated with such success. The Iran Syria Policy and Operations Group, a grouping of
  State, Defense and Administration officials, is working to subvert Iran's rise in the Persian Gulf and beyond, but
  at some point Iran must be countered outside of working groups.



     Site Meter




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          From Insurgency
          to Stability
          Volume II: Insights from
          Selected Case Studies




          Angel Rabasa, John Gordon IV, Peter Chalk, Audra K. Grant,
          K. Scott McMahon, Stephanie Pezard, Caroline Reilly,
          David Ucko, S. Rebecca Zimmerman




          Prepared for the Office of the Secretary of Defense
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      Preface




      This monograph is the second of two volumes that examine how insur-
      gencies transition from a high level of violence to a more stable situ-
      ation. It examines a number of case studies to determine the key fac-
      tors necessary for a successful transition. The monograph should be
      of interest to the U.S. Department of Defense, other agencies of the
      U.S. government, as well as government and nongovernmental orga-
      nizations in other countries that are concerned with insurgency and
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      Summary




      The Office of the Secretary of Defense asked RAND to examine how
      conflicts transition from intensive counterinsurgency (where the level
      of violence might be very high) toward stability. The ultimate goal of
      the research was to identify good—and bad— practices that the United
      States military in particular, and the U.S. government in general, can
      implement in the insurgencies that it faces today as well as in possible
      future interventions.
            The research was divided into two phases. The first phase, which
      took place from March to September 2009, examined a series of case
      studies of past and ongoing insurgencies to identify the key policy
      decisions, techniques, and technologies that helped facilitate the
      transition to a more stable situation. This document is the result of that
      research. After the second phase of the research had been completed, it
      was decided that the case studies contained in this document would be
      presented as Volume II.
            The other phase of the research, From Insurgency to Stability,
      Volume I: Key Capabilities and Practices, MG-1111/1, OSD, is an
      examination of the U.S. capabilities required to successfully transition
      an insurgency toward stability. That portion of the research focused on
      the Department of Defense but included insights on other elements of
      the U.S. government that are also involved in the transition process.




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      xvi   From Insurgency to Stability, Volume II: Insights from Selected Case Studies



      The Transition from Counterinsurgency to Stability

      Insurgencies tend to last a considerable amount of time. The post–World
      War II average has been roughly 12 years; some insurgencies last much
      longer than that.1 The counterinsurgency (COIN) effort may have
      been conducted exclusively by the threatened nation, or that country
      may have received various levels of assistance from third-party nations
      such as the United States. For the indigenous government, the COIN
      campaign can end in success, which involves a transition to complete
      peace or some less intensive, perhaps police-led, stability operation.
      Ideally, the transition away from COIN will result in a stable, lasting
      peace. If the government does not achieve a clear-cut win against the
      insurgents, the transition could include some type of accommodation
      with the insurgents, for example, a political compromise to allow more
      autonomy to a particular region or ethnic or religious group.
            If, on the other hand, the government fails to defeat the insur-
      gents, there will not be a transition period. In that case, the insur-
      gents will have achieved all or a major portion of their goals. There are
      also cases where the government threatened by an insurgency initially
      thought it had reached the transition phase, only to see the situation
      worsen. Instead of moving forward toward a more stable situation (the
      goal of transition) the government was forced to revert to COIN. Such
      “false transitions” are often the result of a government’s incorrectly
      assessing the strength of the insurgents or reverting to bad internal
      policies that cause the insurgency to reignite.
            There is no universally accepted criterion for how, when, and
      under what circumstances an insurgency can be said to have entered
      a transition phase toward stability. For purposes of this document, we
      define a COIN transition as having started when the following are
      taking place:

      1  David C. Gompert, John Gordon, Adam Grissom, David R. Frelinger, Seth G. Jones,
      Martin C. Libicki, Edward O’Connell, Brooke Stearns Lawson, and Robert E. Hunter, War
      by Other Means: Building Complete and Balanced Capabilities for Counterinsurgency, Final
      Report, Santa Monica, Calif.: RAND Corporation, MG-595/2-OSD, 2008, pp. 373–396;
      Ben Connable and Martin Libicki, How Insurgencies End, Santa Monica, Calif.: RAND
      Corporation, MG-965-MCIA, 2010, pp. 27–29.



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                                                                  Summary    xvii



        • The level of violence has been declining in the contested region
          for at least 12 to 24 months. The number of insurgents and insur-
          gent attacks has been declining and there have been significant
          defections or demobilization of combatants.
        • Reforms are being pursued. These include government programs
          to improve the political process, establish an impartial and cred-
          ible judicial system, reduce corruption, invigorate the economy,
          address religious or cultural discrimination, or remove other
          sources of dissatisfaction that resulted in part of the population
          siding with the insurgents.
        • The population interacts with and supports the security forces
          and government representatives and assistance workers.
        • The police forces of the government combating the insurgency are
          taking over responsibility for internal security from indigenous
          (and any foreign) military forces.

            How the indicators listed above are assessed or measured can be
      difficult. In many ways, each insurgency is unique, even if the underly-
      ing motivation of the insurgents may be based on a universalistic ideol-
      ogy such as Communism or Islamism. The aim of post-COIN opera-
      tions is to ensure that the these conditions are followed by lasting peace
      and stability rather than a relapse into violence. The COIN transition
      can be said to be complete when the insurgency has been reduced to a
      level at which the state is able to provide security to the population and
      perform its basic functions. Figure S.1 depicts the concept of COIN
      transition.
            During the transition from COIN, which tends to have a large
      military-security component, to less violent stability operations, a
      change normally occurs in the nature of support provided by third-
      party nations. In this transition period, there will probably be signifi-
      cant changes in the relationship between various U.S. government
      agencies that have been assisting the threatened nation. For example,
      the role of the Defense Department will probably decline while that of
      other agencies, such as the State Department and the U.S. Agency for
      International Development (USAID), will increase.



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      Figure S.1
      Moving from COIN Toward Stability


                                             Transition phase
                                             • The level of violence has been declining in the contested region for
       COIN phase                              at least 12 months
       • Fighting is still                   • Reforms are being actively pursued, including government programs
         taking place                          to improve the political process, judicial system, and the economy,
                                               together with efforts to address the sources of the grievances that
       • Some recovery
                                               led to the insurgency in the ﬁrst place
         may be in
         progress                            • The number of insurgents has been declining and there have been
                                               signiﬁcant defections or demobilization of combatants
                                             • A shift in roles between the army (both local and foreign troops)
                                               and the police is underway where the police are assuming most of
                                               the normal security and law enforcement functions




       The changes between
       phases can take considerable
       time and be fraught with
       ambiguity and the possibility
       of “regression” back to higher                       Stability phase
       levels of instability and violence.                  • Fighting is essentially over—although “stability” may
       “Clean breaks” between phases                          actually be a protracted, but lower, level of violence
       are rare                                             • A treaty or some other accommodation has been
                                                              reached with most or all of the former insurgents
                                                            • The local government is functioning, although it may
                                                              require multi-year assistance from outsiders
                                                            • This phase will, hopefully, last years into the future
       RAND MG1111/2-S.1




            For each of the cases included in this study, we review the cause
      and key players in the insurgency. We emphasize what the threatened
      government (often referred to as “the incumbent” because that term is
      frequently used in COIN literature) did right—or wrong—to bring
      the insurgency to an end and its actions in transitioning from COIN to
      a more stable situation. As will be seen, in some of the cases we exam-
      ined the transition process was successful; in others, it was not.


      The Case Studies

      In selecting the cases, RAND decided to include situations where the
      United States was (or still is) deeply involved, as well as insurgencies
      where there was little or no American participation. Some of the cases
      are large insurgencies; others are small. Most are still under way to one


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                                                                   Summary   xix



      extent or another, while in some cases the insurgency has been resolved
      and a successful transition has taken place. As mentioned above, we
      purposely did not choose “success stories” only, since we felt that
      important lessons could be learned from insurgencies where the COIN
      transition has not yet been successful. Below, we list the cases included
      in the study. They are presented in generally chronological order, from
      oldest to newest in terms of when they started.
            The Communist Insurgency in the Philippines. This is a long-
      running (since the 1940s) effort to suppress the New People’s Army
      that has seen several “false transitions”: The Philippine government
      thought the insurgents were defeated, but policy errors and other fac-
      tors led to a reignition of the insurgency. There has been some Ameri-
      can involvement in the Philippines in the form of assistance to the
      Philippine government. Today, despite some serious challenges, the
      Philippine government is probably better positioned to transition from
      COIN to stability than at any point in the past 30 years.
            Colombia from the 1960s to 2009. In one of the longest-lasting
      insurgencies in the world, it appeared at times that the Colombian gov-
      ernment would be defeated by the FARC (the Revolutionary Armed
      Forces of Colombia). Today, however, the Colombian government is
      clearly in the transition phase in many parts of the country that were
      controlled by the FARC until a few years ago. As with the Philippines,
      the United States has provided support and assistance to the local
      government.
            El Salvador from 1980 to 1992. This was a relatively small insur-
      gency that has ended. Again, the United States provided assistance to
      the local government. Although the formal insurgency is over, the mis-
      management of the “end game” (i.e., the transition phase) resulted in
      a major spike in lawlessness in El Salvador; there are important lessons
      to be learned from this case.
            Mali from 1990 to 2007. This former French colony was threat-
      ened by an insurgency in the northern part of the country by a portion
      of an ethnic minority. Despite a few false starts, this insurgency is also
      now generally in a transition phase. This is a case with little American
      involvement.


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            Iraq’s Anbar Province from 2005 to 2008. This is a large insur-
      gency with considerable American involvement. Between 2006 and
      2008, the difficult and dangerous situation in Anbar Province clearly
      transitioned from COIN to a more stable situation.
            Afghanistan from 2001 to the present. At the time of this writ-
      ing, a major insurgency is still under way in Afghanistan, and it has not
      reached the transition stage. This case was included because of Afghan-
      istan’s great importance to the United States. Important lessons can be
      learned from this case because the United States initially thought it was
      going directly from a successful regime-toppling invasion to stability,
      only to see a serious insurgency develop that has not yet transitioned
      toward stability.


      Conclusions from the Case Studies

      Volume I of the project focused primarily on identifying capability
      gaps and possible policy changes on the part of the United States. This
      volume provides insights from the case studies that helped guide the
      determination of what capabilities are required to ensure a successful
      transition from COIN to stability. It should be noted that although
      there are some similarities in the cases, there are also important
      differences. It is therefore difficult to assess whether a “more military”
      or more “economic/political” approach was the most significant reason
      why a particular insurgency started to transition toward stability. It is,
      however, safe to say that in each case we examined there was a need
      for an approach that balanced security needs with making important
      reforms in other areas. Important, overarching insights from this phase
      of the work include the following:

           1. Successfully transitioning from COIN to relative stability requires
              an interagency approach. Counterinsurgency requires security
              measures to protect the population and maintain pressure on
              the insurgents as well as simultaneous efforts to reform politi-
              cal, economic, and other sources of real or perceived grievance
              that the insurgents are capitalizing on. Only by addressing


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                                                                 Summary   xxi



          both problems will the legitimacy of the local government be
          enhanced in the eyes of its people. Almost by definition, this
          requires an interagency approach. COIN is not exclusively the
          responsibility of security forces (police, military, and intelli-
          gence). An explicit effort to coordinate the security and civil
          aspects of COIN, starting at a very high level of government,
          is a strong indicator that there will be a successful transition
          toward stability. Important insights on interagency approaches
          were derived from the Philippine and Colombian case studies,
          both of which we describe in detail in this volume.
       2. It is important to develop an in-depth understanding of the partici-
          pants in the insurgency, including what issues are driving a portion
          of the population into the hands of the insurgents. Unless and until
          this is accomplished, moving toward a successful transition
          period is virtually impossible. Only when those involved in the
          counterinsurgent effort (the local government as well as that of
          any external participants such as the United States) become well
          versed in the issues that the insurgency is attempting to exploit,
          the key personalities that are involved, and the grievances and
          needs of the local population, will meaningful efforts at reform
          become possible. The longer the process of learning the nature
          of the insurgency takes, the greater the risk that support for
          the insurgents will increase, possibly to unmanageable levels.
       3. There is a clear need to manage the demobilization of the various
          militia groups, which may number many thousands of armed men.
          Militia groups (either pro-insurgent or pro-government) almost
          always arise during an insurgency. Successful transitions include
          explicit efforts to “find a home” for former militia members by
          integrating some of them into the police and/or military of the
          country or providing job opportunities for them. If this is not
          managed properly, the insurgency could either restart (a fear
          in Anbar Province today) or the presence of large numbers of
          unemployed, armed, former militia members could lead to a rise
          in criminal violence (as in El Salvador).
       4. Gaining some degree of cooperation from nearby nations to end
          or minimize support for the insurgents is essential. Most studies


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            of insurgencies acknowledge the key role of nearby countries.
            Combating the insurgency is a much more difficult proposition
            when insurgent groups can obtain sanctuary and support from
            neighboring countries. Therefore, the cooperation of nearby
            states is essential. In some cases, this could be as simple as their
            neutrality (including denial of sanctuary for the insurgents);
            in other cases, overt assistance from nearby nations might be
            required, such as helping to monitor border areas, sharing the
            burden of dealing with refugees, or providing economic assis-
            tance to the neighbor that is in the process of transitioning from
            an insurgency toward stability.
         5. There must be sufficient resources and time for meaningful transi-
            tion efforts. Even when an insurgency enters the transition phase,
            it could still be years before the country reaches a sustainable
            degree of stability. During this possibly years-long transition
            phase, there will be a need to continue to address the issues
            that contributed to the insurgency in the first place. Economic
            and political reforms, job creation, and reforming the security
            forces, for example, are resource- and time-consuming under-
            takings. If sufficient resources to complete the key goals of the
            transition phase are not available, the insurgency could restart,
            albeit in a somewhat modified form. To a large extent, this is the
            problem the Philippine government has faced since the 1940s.
            Periodically, the communist insurgents have apparently been
            “defeated,” but inadequate follow-through in the transition
            phase allowed dissatisfaction among elements of the population
            to reemerge and thus reinvigorate the insurgency.



      Insights and Implications for U.S. Policy in Iraq,
      Afghanistan, and Beyond

      The issues raised above can apply to the host nation, other countries
      (such as the United States or the United Kingdom) that are attempting
      to assist the host nation’s transition effort, or both. There are,


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      however, some insights derived from the cases that are of particular
      importance to “external participants” such as the United States.
      Ideally, a counterinsurgency effort—and the post-COIN transition
      period—should be overwhelmingly in the control of the host nation
      that is threatened by the insurgency. Although other countries can
      offer important help, ultimately it is the effectiveness and legitimacy
      of their own governments that will cause the local population either
      to side with that government or with the insurgents. In situations
      where the host nation’s government and its security forces are so weak
      that considerable direct involvement by foreign forces is needed, the
      goal should be to strengthen the COIN capacity of the host nation as
      rapidly as possible and pass most of the effort to them as soon as they
      are capable of performing adequately.
            That said, some issues apply primarily to the “outside” parties,
      such as the United States. Several of them are highlighted below.

      Providing Intelligence Support to the Host Nation
      In several of the cases, intelligence support to the host nation was a key
      capability provided by outside, external powers. In the broadest terms,
      modes of intelligence collection fall into two categories. Technical
      collection includes the interception of electronic communications,
      telemetry from missile tests, and the electromagnetic emanations from
      military equipment, such as radar transmitters (known collectively as
      signals intelligence, or SIGINT), and the gathering of photographic
      imagery. Human intelligence collection (HUMINT) is in essence the
      use of agents by an intelligence organization to collect information.
      As demonstrated in the cases of El Salvador, Iraq, Afghanistan, and
      Colombia the United States provided important technical intelligence
      to the host nation government and its security forces, intelligence that
      often gave them significant advantages over the insurgents. This can,
      of course, help improve the security situation, thus facilitating the
      transition from COIN to a more stable, less violent situation.
            In general terms, HUMINT should be an area where the host
      nation’s security forces have the advantage over foreign forces, at least
      in theory. After all, the incumbent’s security forces are operating among
      their own people, and it seems unlikely that foreign forces would ever


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      be able to develop the same degree of knowledge and detailed cultural
      insights as the local forces. That said, it is certainly the case that in
      many instances the incumbent power badly misreads the nature, scope,
      and motivations of armed opposition groups. Typically, insurgents
      (particularly in the early stages of a given conflict) are dismissed as
      mere “bandits,” “criminals,” or “terrorists.” At a political level, this may
      make good sense, since labeling the armed opposition as something
      other than criminal may provide them with a measure of legitimacy.2
      But such labeling is seldom the result of a prudent political calculation.
      More often, it reflects a profound lack of understanding of the
      insurgent challenge. Indeed, the emergence of a full-blown insurgency
      is in part a product of the incumbent’s inability and unwillingness
      to understand and take appropriate steps to thwart its growth and
      development.3 This appears to have been the case in Iraq in 2003–
      2004, when the incumbent regime (effectively the United States, in
      this instance) branded the insurgents as mere malcontents and Baathist
      “dead-enders.”4
            Paradoxically, some of the most threatened regimes are often in a
      state of self-denial. Acknowledging the full scope of an insurgent chal-
      lenge would be a tacit (or perhaps even explicit) acknowledgment that
      the regime in question is facing a profound crisis that it was unable or
      unwilling to prevent and for which it may be deemed responsible. Such
      an admission could further erode whatever little standing and legiti-
      macy the incumbent regime possesses.
            All of this suggests that threatened “host nations” may not always
      be the most competent or reliable intelligence partners. The U.S. gov-
      ernment is likely to be tempted to rely heavily on intelligence provided
      by the so-called “liaison services” of threatened regimes. Politically,


      2  For more on this point, see Philip Deery, “The Terminology of Terrorism: Malaya, 1948–
      52,” Journal of Southeast Asian Studies, Vol. 34, No. 2, June 2003, pp. 231–247.
      3  For more on thwarting “proto-insurgencies,” see Daniel Byman, Understanding Proto-
      Insurgencies, RAND Counterinsurgency Study–Paper 3, Santa Monica, Calif.: RAND
      Corporation, OP-178-OSD, 2007, particularly pp. 21–30.
      4  See for example remarks delivered by Secretary of Defense Donald H. Rumsfeld, Veterans
      of Foreign Wars, San Antonio, Tex., Monday, August 25, 2003.



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      such reliance can help reinforce the notion that the threatened govern-
      ment is a full counterinsurgency partner; in economic terms, depend-
      ing on the host nation for intelligence on the insurgency is likely to be
      far cheaper than mounting “unilateral” U.S. collection operations. But
      for the reasons suggested above, such dependency can have potentially
      dangerous consequences for U.S. policy. Of course, the United States
      can ill afford to ignore intelligence provided by a supported govern-
      ment. However, such intelligence (as with any intelligence provided
      by another government) must be evaluated and considered along with
      other sources of information, including U.S. sources.

      Managing Militias and Government Forces Toward the End Game
      American policymakers need to be alert to the challenges surrounding
      the use of militia forces. Self-defense units “clearly need support, or else
      the guerrillas will overwhelm them one village at a time,” as Anthony
      James Jones concludes.5 But in many instances, host nations underequip,
      undertrain, and underpay—and fail to protect—auxiliary forces such
      as militia groups. The incumbent government is often reluctant to
      provide modern arms to villagers, fearing that such weapons will “bleed
      out” and find their way into insurgent hands. Conventional military
      forces typically view self-defense militia forces with disdain and as a
      distraction from the “real business” of fighting guerrillas. Conventional
      forces also tend to regard militias as potential “little soldiers” and as
      low-cost light infantry who should be deployed to fight insurgents
      rather than guard villages.6 Recognizing their potential utility as a
      counterinsurgency instrument, insurgents will typically make major
      efforts to infiltrate and otherwise disrupt auxiliary units. Insurgents
      are often successful in this regard, and this success serves to reinforce
      suspicions that surrogate forces are unreliable.



      5 Anthony James Jones, Resisting Rebellion; The History and Politics of Counterinsurgency
      Lexington Ky.: The University Press of Kentucky, 2004, p. 121.
      6 William Rosenau, “Low-Cost Trigger Pullers”: The Politics of Policing in the Context of
      Contemporary “State Building” and Counterinsurgency, Santa Monica, Calif.: RAND
      Corporation, WR-620-USCA, October 2008, pp. 9–13.



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             In addition to understanding how self-defense forces can be
      neglected and misused by the host nation, U.S. policymakers need to
      ask three questions before beginning any program of support to militias
      and home guards: (1) How will these forces contribute to broader polit-
      ical and military objectives? (2) How will they be organized, trained,
      equipped, and resourced, and by whom? (3) As the insurgency starts
      to transition toward stability, what is the “end game” plan for militia
      groups (i.e. will they be integrated into the host nation’s police and
      military, will they be “paid off” with money or jobs, etc). The answers
      to these questions are not usually self-evident early in an insurgency.
      Local conditions, culture, resources, and the nature of the insurgency
      should play a major part in determining the roles, missions, and func-
      tions of the auxiliaries. These factors should also shape the program for
      raising, training, and sustaining these forces. Additionally, U.S. poli-
      cymakers need to consider how such forces might upset local power
      balances in ways that undercut wider counterinsurgency objectives.
      For example, “[i]n states whose societies are divided by ethnic, racial,
      tribal or confessional strife, the use of surrogates from one particular
      group . . . can exacerbate internal tensions and encourage civil war,” as
      Hughes and Tripodi have observed.7 Iraq and Afghanistan clearly fit
      these criteria, so any program of support to auxiliary forces in those
      countries should be carefully crafted to avoid aggravating communal
      tensions and grievances.
             Finally, the issue of the role of government forces after the con-
      flict requires careful consideration, ideally during early stages of transi-
      tion planning and execution. As cases such as El Salvador demonstrate,
      the failure to properly plan and implement disarmament, demobiliza-
      tion, and reintegration (DDR) of government forces (including local
      self-defense units) can undercut the prospects for long-term peace and
      security. Given the prominent role played by auxiliaries in many coun-
      terinsurgency campaigns, it is essential that these forces be included in
      any comprehensive program of DDR.


      7  Geraint Hughes and Christian Tripodi, “Anatomy of a Surrogate: Historical Precedents
      and Implications for Contemporary Counter-Insurgency and Counter-Terrorism,” Small
      Wars & Insurgencies, Vol. 20, No. 1, 2009, p. 25.



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      Providing the Resources and Management Structure for What Might
      Be a Protracted Transition Phase
      It was noted in all of the cases that had either successfully transitioned
      from COIN to stability (El Salvador) or were apparently well along in
      that process (Colombia, Iraq, the Philippines) that the transition period
      lasted years. The local government’s resources might be greatly strained
      following a multiyear COIN effort. For the transition period to be
      truly successful, economic, political, and other reforms will usually
      need to be carried through to completion. A considerable portion of
      these resources may have to come from the external power(s) that are
      assisting the incumbent government during the COIN phase.
            Not only is the sheer level of resources an issue, the management
      of their delivery is also critical for the external power. As COIN transi-
      tions toward stability, there will probably be a change in the roles and
      responsibility between, for example, the Department of Defense and
      the Department of State. This highlights the reality that other agen-
      cies of the U.S. government, which will probably assume a leading role
      from the Department of Defense (DoD) as the insurgency transitions
      toward stability, must have sufficient financial resources and enough
      personnel (either on staff as government employees and/or contrac-
      tors) to accommodate what might be a multiyear effort to complete the
      transition process.




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       Abbreviations




       ADC         May 23, 2006 Democratic Alliance for Change
       AFP         Armed Forces of the Philippines
       ANA         Afghan National Army
       ANP         Afghan National Police
       ANSF        Afghanistan National Security Forces
       AOG         all of government
       APPF        Afghan Public Protection Force
       AQI         al Qaeda in Iraq
       AQIM        al Qaeda in the Islamic Maghreb
       AQP         Arabian Peninsula
       ARENA       Alianza Republicana Nacionalista
       ARLA        Azawad Liberation Revolutionary Army
       ATNM        Niger-Mali Tuareg Alliance
       AUC         United Self-Defense Forces of Colombia
       BBFI        Bantay Bayan Foundation Incorporated
       BDS         Barangay Defense System
       CAFGU       Citizen Armed Force Geographical Unit




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      CARHRIHL Comprehensive Agreement on the Respect for Human
               Rights and International Humanitarian Law
      CCAI                Center for Coordinated Integrated Action
      CERP                Commander’s Emergency Response Program
      CF                  coalition forces
      CHCD                clear, hold, consolidate, develop
      CIDENAL             Colombian Higher War College National Security
                          Course
      CIVAC               Civic Actions in Insurgency Affected Areas
      CMO                 civilian military operation
      CODEM               ESAF training and doctrine command
      COIN                counterinsurgency
      COPAZ               National Commission for the Consolidation of Peace
      CPP                 Communist Party of the Philippines
      CVO                 Civilian Volunteer Organization
      DDR                 disarmament, demobilization, and reintegration
      ELN                 National Liberation Army
      ENCAPS              engineering civic action programs
      EPIC                Economic and Political Intelligence Cell
      ESAF                armed forces of El Salvador
      EU                  European Union
      FARC                Revolutionary Armed Forces of Colombia
      FATA                Federally Administered Tribal Areas
      FFT                 Fact Finding Team



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       FIAA        Arab Islamic Front of Azawad
       FMLN        Salvadoran Farabundo Martí National Liberation
                   Front
       FPLA        Popular Liberation Front of Azawad
       FTO         foreign terrorist organization
       FY          fiscal year
       GIRoA       Government of the Islamic Republic of Afghanistan
       GSPC        Salafist Group for Preaching and Combat
       IA          Iraqi Army
       IED         improvised explosive device
       ILPS        International League of People Solidarity
       IMEF        First Marine Expeditionary Force
       ISAF        International Security Assistance Force
       ISF         Iraqi Security Forces
       JPEC        Joint Prosecution and Exploitation Center
       KBP         Kalayaan Barangay Projects
       LE          law enforcement
       LPSA        Local Peace and Security Assembly
       MEDCAPS     medical civic action programs
       MiTT        Military Transition Team
       MNF-W       Multi-National Force–West
       MNJ         Niger Movement for Justice
       MPA         Popular Movement for Azawad
       MPLA        Popular Movement for the Liberation of Azawad



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        MTA                Military Technical Agreement
        NATO               North Atlantic Treaty Organization
        NDF                National Democratic Front
        NGO                nongovernmental organization
        NISP               Philippine National Internal Security Plan
        NPA                New People’s Army
        NRP                National Reconstruction Plan
        OIE                State Intelligence Office (El Salvador)
        OIF                Operation Iraqi Freedom
        ONUSAL             UN Observer Mission in El Salvador
        OPATT              U.S. Brigade Operational Planning and Assistance
                           Training Teams
        OTI                Office of Transition Initiatives
        PAT                Auxiliary Transitory Police
        PCS                Communist Party of El Salvador
        PCSD               Policy for the Consolidation of Democratic Security
        PHIC               Philippine Human Rights Information Center
        PKP                Partido Komunista ng Pilipinas
        PN                 National Police
        PNC                National Civilian Police
        PNP                Philippine National Police
        POC                Peace and Order Council
        PRT                provincial reconstruction team
        PSI                Pan-Sahel Initiative



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       RP          Republic of the Philippines
       SEC         Securities and Exchange Commission
       SHA         Strategy of Holistic Approach
       SO          stability operations
       SOT         Special Operations Team
       SYP         Sandata Yunit Proganda
       TransCo     National Transmission Corporation
       TSCTP       Trans-Saharan Counterterrorism Partnership
       TSE         Supreme Electoral Tribunal
       UNAMA       UN Assistance Mission in Afghanistan
       USAID       U.S. Agency for International Development
       USMC        U.S. Marine Corps




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      CHAPTER ONE

      Introduction




      Background

      The Office of the Secretary of Defense asked RAND to examine how
      conflicts transition from intensive counterinsurgency (where the level
      of violence might be very high) toward stability. The ultimate goal of
      the research was to identify good—and bad—practices that the U.S.
      military, in particular, and the U.S. government, in general, can imple-
      ment in the insurgencies that it faces today as well as possible future
      interventions.
             The research was divided into two phases. The first phase, from
      March to September 2009, was a series of case studies of past and
      still-ongoing insurgencies to identify key policy decisions, techniques,
      and possibly technologies that helped facilitate the transition to a more
      stable situation. This volume is the result of that research.
             The second phase of the research concentrated on identifying cur-
      rent capability gaps and possible policy changes within the Depart-
      ment of Defense, and to a lesser extent the broader U.S. government,
      that should be addressed in order for the United States to be better
      able to transition an insurgency toward stability. The second phase of
      the research drew on the insights derived from the initial case studies,
      together with other RAND research on insurgencies.
             After the second phase of the research had been completed, it
      was decided that the case studies contained in this document would
      be presented as Volume II, while the insights gained from the second
      phase would be presented in Volume I. The two volumes are designed
      to complement each other.


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      The Transition from Counterinsurgency to Stability

      Insurgencies tend to last a considerable amount of time. The post-World
      War II average has been roughly 12 years; some insurgencies last much
      longer than that.1 The counterinsurgency (COIN) effort may have
      been conducted exclusively by the threatened nation, or that country
      may have received various levels of assistance from third-party nations,
      such as the United States. For the indigenous government, the COIN
      campaign may end in success, involving a transition to a less inten-
      sive, perhaps police-led, operation—resulting, ideally, in a stable, last-
      ing peace. If the government does not achieve a clear-cut win against
      the insurgents, the transition could include some type of accommoda-
      tion with the insurgents—for example, a political compromise to allow
      more autonomy to a particular region or ethnic/religious group.
            If, on the other hand, the government fails to defeat the insur-
      gents, there will not be a transition period. In that case, the insurgents
      will have achieved all or a major portion of their goals. There are also
      cases in which the government threatened by an insurgency initially
      thought it had reached the transition phase, only to see the situation
      worsen. Instead of moving forward toward a more stable situation (the
      goal of transition), the government is forced to revert to COIN. Such
      “false transitions” often result when a government incorrectly assesses
      the strength of the insurgents and/or reverts to bad internal policies,
      causing the insurgency to reignite.
            There is no universally accepted criterion for how, when, and
      under what circumstances an insurgency can be said to have entered
      a transition phase toward stability. For purposes of this document,
      we define a COIN transition as having started when the following are
      taking place:

          • The level of violence between the government and the insurgents
            has been declining in the contested region over the previous 12
            to 24 months. The number of insurgents and insurgent attacks

      1  Gompert et al., War by Other Means, pp. 373–396; Ben Connable and Martin Libicki,
      How Insurgencies End, Santa Monica, Calif.: RAND Corporation, MG-965-MCIA, 2010,
      pp. 27–29.



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          has been declining and there have been significant defections or
          demobilization of combatants.
        • Reforms are being pursued. These include government programs
          to improve the political process, establish an impartial and cred-
          ible judicial system, reduce corruption, invigorate the economy,
          address religious or cultural discrimination, or remove other
          sources of dissatisfaction that resulted in part of the population
          siding with the insurgents.
        • The population interacts with and supports the security forces
          and government representatives and assistance workers.
        • The police forces of the government combating the insurgency are
          taking over responsibility for internal security from indigenous
          (and any foreign) military forces.

            How the indicators listed above are assessed or measured can be
      difficult. In many ways each insurgency is unique, even if the underly-
      ing motivation of the insurgents may be based on a universalistic ideol-
      ogy, such as Communism or Islamism. The aim of post-COIN opera-
      tions is to ensure that these conditions are followed by lasting peace
      and stability rather than a relapse into violence. The COIN transition
      can be said to be complete when the insurgency has been reduced to a
      level where the state is able to provide security to the population and
      perform its basic functions. Figure 1.1 depicts the concept of COIN
      transition.
            During the transition from COIN, which tends to have a large
      military-security component, to less violent stability operations, a
      change normally occurs in the nature of support provided by third-
      party nations. In this transition period, there will probably be signifi-
      cant changes in the relationship between various U.S. government
      agencies that have been assisting the threatened nation. For example,
      during the transition period, the role of the Defense Department will
      probably decline while that of other agencies, such as the State Depart-
      ment and the U.S. Agency for International Development (USAID),
      will increase.



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      Figure 1.1
      Moving from COIN Toward Stability


                                             Transition phase
                                             • The level of violence has been declining in the contested region for
       COIN phase                              at least 12 months
       • Fighting is still                   • Reforms are being actively pursued, including government programs
         taking place                          to improve the political process, judicial system, and the economy,
                                               together with efforts to address the sources of the grievances that
       • Some recovery
                                               led to the insurgency in the ﬁrst place
         may be in
         progress                            • The number of insurgents has been declining and there have been
                                               signiﬁcant defections or demobilization of combatants
                                             • A shift in roles between the army (both local and foreign troops)
                                               and the police is underway where the police are assuming most of
                                               the normal security and law enforcement functions




       The changes between
       phases can take considerable
       time and be fraught with
       ambiguity and the possibility
       of “regression” back to higher                       Stability phase
       levels of instability and violence.                  • Fighting is essentially over—although “stability” may
       “Clean breaks” between phases                          actually be a protracted, but lower, level of violence
       are rare                                             • A treaty or some other accommodation has been
                                                              reached with most or all of the former insurgents
                                                            • The local government is functioning, although it may
                                                              require multi-year assistance from outsiders
                                                            • This phase will, hopefully, last years into the future
       RAND MG1111/2-1.1




      The Case Studies

      In selecting the cases, RAND decided to include both situations in
      which the United States was (or still is) deeply involved and insurgen-
      cies in which there was little or no American participation. Some of the
      cases are large insurgencies; others are small. Most are still under way
      to one extent or another, although in some cases the insurgency has
      been resolved and a successful transition has taken place. As mentioned
      above, all the cases are “success stories,” since we felt that important
      lessons could be learned from insurgencies where the efforts to transi-
      tion from COIN have not yet been successful. Below, we list the cases
      included in the study, from the oldest start point to the newest.
            The Communist Insurgency in the Philippines. This is a long-
      running (since the 1940s) effort to suppress the New People’s Army
      that has seen several “false transitions”: The Philippine government


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      thought the insurgents were defeated, but policy errors and other fac-
      tors led to a reignition of the insurgency. There has been some Ameri-
      can involvement in the Philippines in the form of assistance to the
      Philippine government. Today, despite some serious challenges, the
      Philippine government is probably better positioned to transition from
      COIN to stability than at any point in the past 30 years.
            Colombia from the 1960s to 2009. In one of the longest-lasting
      insurgencies in the world, it appeared at times that the Colombian gov-
      ernment would be defeated by the FARC (Revolutionary Armed Forces
      of Colombia). Today, however, the Colombian government is clearly in
      the transition phase in many parts of the country that were controlled
      by the FARC until a few years ago. As with the Philippines, the United
      States has provided support and assistance to the local government.
            El Salvador from 1980 to 1992. This was a relatively small insur-
      gency that has ended. Again, the United States provided assistance to
      the local government. Although the formal insurgency is over, the mis-
      management of the “end game” (i.e., the transition phase) resulted in
      a major spike in lawlessness in El Salvador; there are important lessons
      to be learned from this case.
            Mali from 1990 to 2007. This former French colony was threat-
      ened by an insurgency in the northern part of the country by a portion
      of an ethnic minority. Despite a few false starts, this insurgency is also
      now generally in a transition phase. This is a case with little American
      involvement.
            Iraq’s Anbar Province from 2005 to 2008. This is a large insur-
      gency with considerable American involvement. Between 2006 and
      2008, the difficult and dangerous situation in Anbar Province clearly
      transitioned form COIN to a more stable situation.
            Afghanistan from 2001 to the Present. At the time of this writ-
      ing, a major insurgency is still under way in Afghanistan, and it has not
      reached the transition stage. This case was included because of Afghan-
      istan’s great importance to the United States. Important lessons can be
      learned from this case because the United States initially thought it was
      going directly from a successful regime-toppling invasion to stability,
      only to see a serious insurgency develop that has not yet transitioned
      toward stability.


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            It can be seen from this list that the insurgencies vary consider-
      ably. Some are large; others small. Some had considerable American
      involvement; others had none. Most are still under way today. As men-
      tioned previously, we wanted to examine a variety of insurgencies to
      see what practices, both successful and unsuccessful, governments had
      used as they tried to transition from COIN to stability.
            Although the nature of the cases varied, we developed a common
      analytical template for examining the insurgencies, to facilitate com-
      parisons among them. The elements of this template were the following:

      A. Introduction: Brief history of the conflict leading up to the period
         of transition.
          • What was the nature and scope of the conflict?
          • Who were the key domestic, international, and transnational
            actors?
          • Who were the insurgents?
          • What external powers (if there was one or more) supported the
            belligerents?
          • What were the key strengths and weaknesses of these strategies?
          • What factors brought about the transition?
          • How did the incumbent power know it was “winning”?
          • Were there previous “false starts”?
          • What was the insurgents’ “end game”? How did they recognize
            they were “losing”?
          • Did key external actors understand the changing conflict dynam-
            ics? What role did they play?
          • What were the key phases?
          • What were the central components of the incumbent’s transition
            process?
          • What were the major gaps in the transition capabilities of the
            incumbent and any outside supporting states?
          • Did the role of external actors change in significant ways?
          • How did the insurgents manage the transition?
          • What followed the transition period? Was there a permanent
            peace, a lesser form of instability (i.e., widespread criminality


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                                                               Introduction   7



          and disorder), or an eventual reemergence of sustained armed
          opposition?
        • How long and to what degree did external actors remain engaged?
      B. Strategy (pre-transition)
         • What was the nature of the incumbent (the local government
           threatened by the insurgency)?
      C. The transition period
      D. Managing the transition
      E. Conclusions
         • What does this case say about the kinds of capabilities the United
           States should have to assist nations in the transition process?




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       CHAPTER TWO

       The Philippines




                      Map of the Philippines




                      SOURCE: CIA World Factbook.
                      RAND MG1111/2-2.1




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      10   From Insurgency to Stability, Volume II: Insights from Selected Case Studies



      This chapter examines the main parameters of the Philippine counter-
      insurgency against the Communist Party of the Philippines (CPP) and
      its armed wing, the New People’s Army (NPA). After briefly describ-
      ing the background to the conflict, we discuss the strategy pursued by
      both protagonists and examine the strengths and weaknesses of the
      approach adopted by the incumbent state. The chapter argues that while
      some significant gains have been made against the CPP/NPA, Manila
      has yet to reach a decisive transition point in its campaign against the
      rebel communist movement, reflecting some key weaknesses in overall
      Filipino COIN capabilities and policies. These shortfalls can usefully
      inform U.S. military planners as they seek to refine their own tech-
      niques and procedures for waging this type of unconventional war in
      the contemporary era.


      Introduction: Background of the Communist Conflict in
      the Philippines

      Communist insurgent violence in the Republic of the Philippines (RP)
      dates back to the 1940s when the Partido Komunista ng Pilipinas
      (PKP) allied with the Hobo ng Bayan Laban sa Hapon (the hukbala-
      haps or Huks) to overthrow the central government in Manila. The
      Huks, who were led by Louis Taroc, constituted a peasant-based army
      that had fought with great skill against the Japanese occupation during
      World War Two. Although the group participated in the independence
      elections of 1946, it was defeated by the victorious Liberal Party and
      subsequently retreated to the jungles to act as the vanguard of an anti-
      western Filipino communist revolution. Full-scale rebellion broke out
      in February 1950 when the Huks changed their name to Hukbong
      Mapagpalaya ng Bayan (People’s Liberation Army) and called for the
      overthrow of the central government in Manila. Pledging to liberate
      the peasantry from the “tyrannical hold of the landed elite,” commu-
      nist rebels subsequently commenced operations with widespread grass-
      roots support. By the end of 1950, the Huks had grown to a sizable
      force of 3,000 armed insurgents and had managed to take temporary



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      control of several provincial capitals in Luzon—both of which gave the
      impression of imminent revolutionary success.1
             The communists failed to secure ultimate victory, however. Their
      appeal among the poor faded as a result of a failure to bring about any
      meaningful change in land distribution. Moreover, the Secretary for
      National Defense, Ramon Magsaysay, was able to progressively steer
      popular support away from the Huks through personal charisma and
      a skillful public relations campaign that the insurgent leadership could
      not match. Just as important, he was able to revive the spirits of a
      demoralized army and, with U.S. backing, significantly enhance the
      effectiveness of military offensive drives. After Magsaysay was elected
      president in 1953, he bolstered the general COIN effort with a vigor-
      ous agrarian reform agenda that was instrumental in further dimin-
      ishing the communist appeal. By 1954 what remained of the People’s
      Liberation Army had been reduced to desultory banditry, representing
      little if any threat to the stability of the Philippine state.2
             Despite this victory, the government failed to capitalize on the
      post-Huk peace dividend. Magsaysay’s successor, Diosdado Macapagal
      (in office from 1961 to 1965), did little to extend government benefac-
      tion in the rural areas—reflecting a basic problem of programmatic
      discontinuity that continues to beset the polity to this day—while per-
      vasive corruption continued to extend throughout the country’s ruling,
      military and administrative structures. These conditions bred discon-
      tent among the masses and, in so doing, gave succor to a deflated PKP.



      1  Michael Leifer, Dictionary of the Modern Politics of Southeast Asia, London: Routledge,
      1996, p. 122.
      2   George Rosie, The Directory of International Terrorism, Edinburgh: Mainstream Publish-
      ing, 1986, p. 145; Armed Conflict Events Database, “The Huk Rebellion in the Philippines
      1946–1954,” December 16, 2000; Leifer, Dictionary of the Modern Politics of Southeast Asia,
      p. 122; Derek McDougall, Studies in International Relations: The Asian-Pacific, the Super-
      powers, Australia, Melbourne: Edward Arnold, 1991, p. 69. See also Manuel Bautista, The
      Hukbalahap Movement in the Philippines, 1942–1952, Los Angeles: University of Califor-
      nia, 1952; and Laurence Greenberg, The Hukbalahap Insurrection: A Case Study of a Success-
      ful Anti-Insurgency Operation in the Philippines, 1946­–1955, Washington, D.C.: U.S. Army
      Center of Military History, Analysis Branch, 1987.



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      12   From Insurgency to Stability, Volume II: Insights from Selected Case Studies



      Counterinsurgency Under Marcos
      The communist insurgency gathered strength after 1972, when Presi-
      dent Ferdinand Marcos, barred by the Philippine constitution from
      seeking a third term, declared martial law. Counterinsurgency under
      Marcos relied heavily on search-and-destroy operations. Insurgents
      were able to evade contact with government forces and to choose
      engagements when conditions were in their favor. These operations
      often entailed harassment of the local population in an attempt to gain
      intelligence. In some cases, heavy-handed tactics alienated the popu-
      lation and increased local support for the insurgency.3 Corruption in
      the armed forces contributed to a decline in professionalism. Marcos
      centralized the military, police, and intelligence agencies under the
      control of his cousin, General Fabian Ver, and placed relatives and cro-
      nies at all levels of the government. Senior officers were allowed to
      run private businesses and extortion rackets. This created the condi-
      tions for the growth of the insurgency and the formation of groups of
      reform-minded junior officers, such as the Reform of the Armed Forces
      movement.4
            Calculating that popular sentiment could once again be shifting
      decisively in their favor, the communists reconstituted their political
      and military structures. Under the leadership of Jose Maria Sison, the
      party quickly declared its adherence to the Maoist precept of “people’s
      war” and announced a new offensive that would be executed through
      dedicated military and political wings, to be known, respectively, as
      the New People’s Army (NPA)5 and the National Democratic Front
      (NDF). The CPP specifically identified its cause as rooted in liberation
      theology, seeing its main objective as the creation of a more just and



      3  Mike Fowler, “Philippine Counterinsurgency Strategy: Then and Now,” Small Wars Jour-
      nal, January 18, 2011.
      4  Douglas J. Macdonald, “Ethical and Moral Issues in Intelligence Reform: The Philip-
      pines,” in Thomas Bruneau and Steven C. Boraz, eds., Reforming Intelligence: Obstacles to
      Democratic Control and Effectiveness, Austin: University of Texas Press, 2007, p. 306.
      5  The NPA was originally created under the leadership of a former Huk commander, Bern-
      abe Buscayno (aka “Commander Dante”).



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      humane Philippine society free from what it referred to as the “tyran-
      nical” influence of U.S. imperialism.6
            The NPA commenced its armed campaign in the rural areas of
      central and northern Luzon, progressively expanding its operational
      presence during the early 1970s to Samar, Negros, and Panay in the
      Visayas and the eastern part of Mindanao in the south.7 Although
      Sison and other senior CPP leaders were captured in 1977, the com-
      munist resistance continued to draw sustenance from economic stag-
      nation, poor governance, cronyism, corruption, and human rights
      abuses.8 Just as important, the rebels benefited positively from Manila’s
      gradual scaling back of land redistribution, which itself reflected a pre-
      vailing (and mistaken) attitude among policymakers that there was no
      causal connection between peasant unrest, agrarian reform, and politi-
      cal stability. Evidence provided by the Ministry of Agriculture shows
      that the real income of small farmers declined by nearly 40 percent
      between 1974 and 1979 and that fewer than a quarter of peasant ten-
      ants had acquired land ownership by 1984.9 The resulting situation
      fostered a general perception that the Marcos regime was neither inter-
      ested in protecting and furthering the interests of the average citizen
      nor willing to abrogate the holdings of large-scale rice and corn pro-
      duction conglomerates.


      6   “25 Years of the New People’s Army,” Liberation International, March/April 1994. See
      also David Wurfel, “Government Responses to Armed Communism and Secessionist Rebel-
      lion in the Philippines,” in Chandran Jeshurun, ed., Governments and Rebellions in Southeast
      Asia, Singapore: Institute for Southeast Asia Studies, 1985, pp. 227­–228; Thomas Marks,
      Maoist Insurgency Since Vietnam, London: Frank Cass, 1996, pp. 85–96; Richard J. Kes-
      sler, Repression and Rebellion in the Philippines, New Haven: Yale University Press, 1989, pp.
      83–84; and McDougall, Studies in International Relations, pp. 77–79.
      7  David Wurfel, Filipino Politics: Development and Decay, Ithaca, N.Y.: Cornell University
      Press, 1988, p. 227.
      8  The decision to declare marshal law reflected a prevailing concern that the CPP-NPA was
      receiving material and financial support from Communist China and, therefore, had to be
      crushed as quickly as possible. See Wurfel, “Government Responses,” p. 299; and Purifiacion
      Quisumbing, Beijing-Manila Détente: Major Issues, Quezon City: University of the Philip-
      pines Law and Foreign Service Institute, 1983, p. 147.
      9   Wurfel, “Government Responses,” p. 229.



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            The growing sense of CPP/NPA confidence culminated in 1985,
      when the NDF announced a 12-point agenda that gave concrete expres-
      sion to the communist movement’s long-term objectives:

           1. To unite the Filipino people to overthrow the tyrannical rule of
               U.S. imperialism and local reactionaries
           2. To wage a people’s war to win total, nationwide victory
           3. To establish a democratic coalition government and a people’s
               democratic republic
           4. To integrate the revolutionary armed forces into a single national
               revolutionary army
           5. To uphold and promote the free exercise of the people’s demo-
               cratic right
           6. To terminate all unequal relations with the United States and
               other foreign entities
           7. To complete the process of genuine land reform, raise rural pro-
               duction through cooperation, and modernize production
           8. To carry out national industrialization as the leading factor in
               economic development
           9. To guarantee the right to employment, raise the people’s living
               standards, and expand social services
           10. To promote a patriotic, scientific and popular culture and ensure
               free public education
           11. To respect and foster the self-determination of the Moro and
               Cordillera people and all ethnic minorities
           12. To adopt and practice a revolutionary, independent, and peace-
               loving foreign policy.10

           This platform struck a chord among the Philippines’ aggrieved
      and increasingly disenfranchised rural and urban masses. It also
      directly correlated with the foreign policy priorities of Libya’s Muam-
      mar al-Qhaddafi, who was actively seeking to expand his country’s
      influence across the Asia-Pacific on the back of revolutionary anti-west-
      ern proxy forces. Benefiting from a groundswell of grass-roots support

      10 Kessler, Repression and Rebellion, 83–84.




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      and boosted by the financial largesse of Tripoli, the CPP/NPA had
      reached a peak strength of 22,000 self-proclaimed “Red Fighters” by
      1988. With influence in some 20 percent of the country’s barangays
      (the smallest administrative unit), the communists appeared set to
      move against the existing levers of state power.11
            The civilian opposition to Marcos was united and energized by the
      assassination of Benigno (Ninoy) Aquino at the Manila International
      Airport as he was returning from exile in the United States in August
      1983. The February 1986 presidential election, contested by Ninoy’s
      widow Corazon (Cory) Aquino, was the catalyst of the “People’s Power
      Revolution” against Marcos. Defense Minister Juan Ponce Enrile and
      the head of the Philippine Constabulary, General Fidel Ramos, joined
      in a military revolt that was instrumental in driving Marcos from
      power in 1986 and ushering in a period of democratic rule.12

      The Post-Marcos Period
      After the downfall of the Marcos regime, Corazon Aquino assumed
      the presidency, with Ramos as chief of staff of the armed forces. Post-
      1986 counterinsurgency strategy continued offensive operations while
      incorporating a concept of providing security to the population. Pop-
      ular support for the communists was further eroded by the Aquino
      administration’s promise of agrarian reform. However, the Aquino
      administration, beset by constant coup attempts and the opposition of
      elite sectors, was not able to make good on much of its reform agenda.13
             The presidency of Fidel Ramos, who succeeded Aquino in 1992,
      was a period of unprecedented political stability and economic growth.
      The Ramos administration repealed the Anti-Subversion Law of 1981,
      which declared the CPP to be “an organized conspiracy for the purpose
      of overthrowing the Government of the Philippines,” amnestied mili-
      tary mutineers and rebels, and reached out to the CPP/NPA, offering

      11 Author interviews, Manila, June 2009. See also McDougall, Studies in International Rela-
      tions, p. 79; Kessler, Repression and Rebellion, p. 56; Bayani Cruz, “Qadhaffi Aids NPA,
      MNLF,” Manila Times, June 16, 1987.
      12 Macdonald, “Ethical and Moral Issues,” p. 308.

      13 Fowler, “Philippine Counterinsurgency Strategy.”




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      it opportunities for genuine political participation.14 Ramos’s succes-
      sors, Jose Ejercito (Erap) Estrada and Gloria Macapagal-Arroyo, did
      not live up to the standard of governance that Ramos had set during
      his term; their inability to deliver competent and honest government
      or economic growth has contributed to the persistence of insurgency.
            The momentum of the CPP/NPA/NDF insurgency suffered as a
      result of the democratization of Philippine political life and of a major
      split between those who insisted on the continued relevance of Maoist
      rural guerrilla war and those who advocated a more explicit reorienta-
      tion to urban-based activities (violent and nonviolent). The subsequent
      internal struggle, which pitched longtime CPP Secretary Sison (whom
      the Cory Aquino government had released from jail in 1986 and who
      remained an ardent supporter of Maoist principles) against so-called
      “insurrectionist-line” cadres who believed it was possible to shortcut
      the process of popular revolution by projecting communist rural influ-
      ence directly into the cities. Resultant in-fighting and splintering led to
      a purge of armed cells and the effective collapse of their wider support-
      ing political infrastructure.15
            The communists have never been able to recover from this period,
      and they certainly do not represent the threat they did in the 1980s.16
      That said, the NPA remains intact, with an overall armed member-
      ship of 4,874 and access to some 5,390 firearms. Moreover, the CPP/
      NDF continues to operate across the country (including metropoli-
      tan Manila), affecting an estimated 1,381 barangays as of the end of
      2008.17 It is this national influence combined with the residual but siz-
      able force quotient that continues to stem from the NPA that accounts


      14 Fidel V. Ramos, The Continuing Revolution, Manila, 2001, pp. 88–89.

      15 Author interviews, Manila, January 2008. Sison and “orthodox” Maoists preferred a
      strategy of encircling the cities from the countryside, while the opposing faction favored a
      combination of rural and urban struggle, modeled on the Sandinista campaign in Nicara-
      gua. For further details see Antonio Abaya, “Jose Maria Stalin,” Manila Standard Today, July
      6, 2006.
      16 Author interview, Manila, June 2009.

      17 Author interviews, Manila, June 2009. See also “Current NPA’s Strength Down to Lowest
      Level Since the ‘80s,” Philippine Star, June 28, 2009.



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      for the Armed Forces of the Philippines’ (AFP’s) current view of the
      communist insurgency as the number-one internal security threat con-
      fronting the Philippine state.18
            As mentioned previously, the Philippines have been confronted
      with a communist insurgency since the 1940s. At times, the commu-
      nists appeared to be getting the upper hand; at others, the government
      seemed to be on the verge of defeating the insurgency.
            Of considerable importance for the longevity of the insurgency
      are the deep, systemic problems that have contributed to the insur-
      gency and undermined the legitimacy of the government in the eyes
      of much of the population. These problems include poverty, inequity
      in wealth distribution, corruption at all levels of government, and
      sometimes inappropriate, brutal tactics employed by the government’s
      security forces. Without question, the failure to address these issues
      has helped keep the communist insurgency alive for so long. It is also
      important to note, however, that recent reforms in the Philippines have
      gone far toward undermining the case of the communists, as explained
      below.


      Strategy
      CPP/NPA
      In its attempt to accomplish its goals, the communist movement has
      employed all tactical means at its disposal: military struggle; mass
      mobilization; political lobbying, including “buying” elected represen-
      tatives as well as actual participation in elections through its legiti-
      mate arm, the NDF; international solidarity work; and pursuit of peace
      negotiations.
            The NPA remains at the forefront of the communist militant
      agenda. In theory, the group remains under the direct control of the
      26-member CPP Central Committee with authority exercised through


      18 Author interviews, Manila and Zamboanga, January 2008. See also “Philippines: Com-
      munists Say Guerrillas Have Not Been Dismantled,” Adnkronos International, January 8,
      2009.



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      the eight-member Politburo headed by Sison (who is presently exiled in
      Utrecht, the Netherlands). In practice, however, the armed wing enjoys
      considerable autonomy due to the fragmented nature of the Philip-
      pine archipelago and the considerable difficulty this has engendered in
      terms of day-to-day communications. The NPA itself is currently orga-
      nized into 62 guerrilla fronts that are scattered across the country; prior
      to their abduction by a suspected undercover military unit in 2007, the
      two main operational chiefs were thought to be Pedro Calubid and
      Leo Valesco.19 The group’s principal areas of current strength include
      the traditional areas of Samar in the Visayas and eastern Mindanao as
      well as parts of the Compostela and Surigao Valleys, Davao Oriental,
      Davao del Norte, Misamis and Zamboanga del Norte.20
            The NPA’s armed campaign has been primarily based on the
      Maoist theory of protracted guerrilla warfare. This strategic tactic
      assumes that, in order to launch a successful people’s revolution in the
      major metropolitan centers of power, it is first necessary to win the
      active support of the peasantry in the countryside.21 In line with this
      precept, most NPA insurgents are organized into armed mobile propa-
      ganda units known as Sandata Yunit Proganda (SYP), which report-
      edly reflect the CPP’s focus on ideology and indoctrination as the best
      means for rebuilding its mass peasant base. Typically, a SYP will use
      family connections to establish a primary foothold in a targeted baran-
      gay. This provides a base from which to, first, assess local socioeco-
      nomic conditions and second, create relevant functional civic organi-
      zations as vehicles for entrenching “white areas”22 that receive critical
      support from activist sections of the population, such as peasants,

      19 Author interviews, Manila, June 2009. See also Glenda Gloria, “War Without End: The
      Military Is Treading on Dangerous Ground with Its Counterinsurgency Experiments,”
      Newsbreak, December 2007/February 2008, p. 34.
      20 Author interviews, Manila and Zamboanga, January 2008.

      21 According to Mao, the peasants were the “sea” in which the guerrillas needed to “swim”
      and without their continuous and active support any revolution would be doomed to failure.
      For more on Mao’s concept of people’s war see Michael Handel, Masters of War: Classical
      Strategic Thought, London: Frank Cass, 2003, Chapter 4.
      22 The term white area was coined by communist insurgents themselves and is used to refer
      to a region where government agencies are present but unable to meet the basic needs of the



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      youths, women, and students. SYPs can also be tasked with killing
      police and bureaucratic officials deemed to be corrupt, those who are
      suspected of acting as government spies, and anyone engaged in what
      is loosely defined as “anti-people activities” (such as criminals and drug
      traffickers). In addition, they can be used to settle simple blood debts or
      as the “muscle” to collect revolutionary taxes and other coerced forms
      of payment (see below).23
            Operationally, SYPs can be brought together to form guerrilla
      companies of between 50 and 100 armed cadres who are typically
      deployed for assassinations, tactical offensives against municipal build-
      ings, and attacks on businesses that have refused extortion demands
      and on police/military outposts.24 Some of the assaults perpetrated by
      these combined units have exhibited a high degree of discipline and
      tactical sophistication. Between January and May 2008, for instance,
      communists bombed no less than 23 high-voltage power towers of the
      government-owned National Transmission Corporation (TransCo),
      succeeding on a number of occasions to trigger blackouts in Mindanao
      that lasted for several hours.25 More recently in March 2009, an NPA
      team ambushed a local defense patrol base in Malaybay City, killing
      17 part-time soldiers; the incident marked one of the AFP’s costliest
      encounters with the Maoist rebels since 2001.26
            Beyond guerrilla strikes and propaganda, fundraising constitutes
      a critical component of the NPA’s operational activities. Money is pro-


      local population or prevent guerrillas from receiving vital logistical and political support
      from the indigenous community. See Gloria, “War Without End,” p. 39.
      23 Author interviews, Manila and Zamboanga, January 2008; Anthony Davis, “NPA Rebels
      Complicate Manila’s Counterinsurgency Strategy,” Jane’s Intelligence Review, June 2003,
      p. 16.
      24 Author interview, Manila, June 2009. See also Davis, “NPA Rebels Complicate Manila’s
      Counterinsurgency Strategy,” p. 16.
      25 “Transco Towers Bombed, Half of Mindanao in Darkness,” Philippine Daily Inquirer,
      May 31, 2008; and John Paul Jubelag, “Insurgents Blast 2 TransCo Towers,” Philippine Star,
      May 31, 2008.
      26 Jem Strikar, “NPA Attacks CAFGU Patrol Base in Malaybalay City,” Mindanao Maga-
      zine, April 1, 2009.



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      cured mostly from extortion,27 which typically takes the form of a “rev-
      olutionary tax” that businesses are obliged to pay in order to operate in
      areas under communist control. Sums vary but are usually determined
      as a set premium of the respective firm’s annual profits. Logging, agri-
      cultural, telecommunications, mining, transportation, commercial,
      quarrying, and construction companies have been especially favored
      targets, collectively handing over 32 million pesos in 2008.28 The NPA
      has additionally extorted wealthy private individuals, demanding that
      they pay a percentage of their annual earnings to support the com-
      munist struggle; in 2008, this particular source yielded an estimated
      12.7 million pesos.29 During elections, pressure has also been exerted
      on politicians to pay so-called “permit to campaign” fees. In 2004,
      for example, congressional candidates were forced to contribute up
      to 500,000 pesos (approximately US $12,500) for the right to access
      CPP/NDF strongholds.30 A largely similar pattern of financial compul-
      sion characterized the 2010 presidential run-off.31
            In terms of its current military aspirations, much of the NPA’s
      focus has been directed toward recruiting more members, expanding
      the number of fronts and combat platoons across the country, intensi-
      fying military training, and launching more tactical strikes (including,
      where necessary, acts of sabotage and terrorism in major metropolitan
      centers). Although many of these operational facets continue to remain
      salient, the relative emphasis on violent modalities has been increas-

      27 In 2008, extortion yielded ps62 million in revenue for the communist insurgency. Addi-
      tional sources of financing included support from left-wing sympathizers in Europe and the
      United States (the NPA is known to have received at least some American money channeled
      through the International League of People Solidarity, or ILPS) as well as remittances from
      overseas Filipino workers (OFWs).
      28 Author interviews, Manila and Zamboanga, January 2008 and June 2009. See also Davis,
      “NPA Rebels Complicate Manila’s Counterinsurgency Strategy,” pp. 17–18.
      29 Author interviews, Manila, June 2009.

      30 Author interviews, Manila, January 2008. See also Immigration and Refugee Board of
      Canada, “Philippines: Reports of Extortion and Kidnapping of Civilians by the New Peo-
      ple’s Army (NPA) or Other Armed Groups; State Response to Extortion and Kidnapping;
      Extent of Recruitment Efforts by the NPA (2003–2006),” October 18, 2006.
      31 Author interviews, Manila, June 2009.




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      ingly sidelined over the past several years by a more concerted focus
      on political struggle, which now accounts for as much as 90 percent of
      the communist struggle. In broad terms, the main priorities appear to
      be participating in elections (through the NDF), solidifying popular
      support, generating income, and delegitimizing the Philippine state.32
      According to AFP officials, this agenda is being pursued by encour-
      aging public sector groups/individuals to join local branches of left-
      leaning political parties; organizing mass street protests of the sort that
      were emphasized as part of the “oust Arroyo” campaign;33 sensational-
      izing extrajudicial killings, graft and corruption, and internal security
      laws as a threat to the people; strengthening the political machinery of
      the CPP/NDF; de-designating the NPA as a foreign terrorist organiza-
      tion (FTO) in the United States and European Union (EU); and mobi-
      lizing left-wing supporters and potential funders in America, Europe,
      Australia, and Hong Kong.34
            The communists have also been prepared to supplement their
      political struggle by engaging in peace talks with the Philippine gov-
      ernment. This particular tactic was suspended in 2005, however, after
      the CPP broke off contact with Manila in protest at the NPA’s inclu-
      sion the U.S. and EU lists of proscribed FTOs. Sison, who, as noted,
      currently lives in self-imposed exile in the Netherlands, has categori-
      cally stated that his organization will not resume any form of bilateral
      interaction with the government until its designation in America and
      Europe is lifted—a decision that the Arroyo administration has little
      ability (or, indeed, inclination) to influence.35

      32 Author interviews, Manila, January 2008 and June 2009.

      33 During the latter stages of the Arroyo administration, there was substantial pressure for
      the president to step down over revelations of bureaucratic mismanagement and endemic
      corruption within her government. Attempts to reform the constitution to allow Arroyo to
      stand for an additional term were especially unpopular and a major source of popular criti-
      cism and disenchantment between 2009 and 2010. (Author interviews, June 2009.)
      34 Author interviews, Manila, January 2008.

      35 Author interviews, Manila, January 2008. See also Republic of the Philippines, Office of
      the Presidential Advisor on the Peace Process, CPP-NPA-NDF, October 24, 2007. The NPA
      was designated a foreign terrorist organization by the United States in August 2002 and by
      the European Union in November 2005.



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      The Philippine State

      Reflecting the military-political nature of the CPP/NPA’s current strat-
      egy, the AFP has sought to institute a “left hand, right hand” approach
      to COIN that includes both hard and soft, less combat-intensive,
      approaches. The dual aim is to neutralize existing NPA guerrilla fronts
      while simultaneously moving to blunt the underlying political and
      socioeconomic infrastructure on which the communist insurgency
      currently relies.36
            The Philippine National Internal Security Plan (NISP), formu-
      lated by the now defunct Cabinet Oversight Committee on Internal
      Security, lists the country’s domestic security priorities in the follow-
      ing order: (1) counterinsurgency, primarily directed against the NPA
      (referred to as the Local Communist Movement, or LCM); (2) coun-
      terseparatism, directed primarily against Islamic Moro groups on Min-
      danao (collectively referred to as the Southern Philippines Secession-
      ist Group/SPSG); (3) counterterrorism, directed against both local
      and international organizations (al-Qaeda, Jemaah Islamyya, and the
      Abu Sayyaf Group); and (4) counter-destabilization, which is primar-
      ily aimed at neutralizing efforts to overthrow the government.37 The
      insurgent challenge emanating from the CPP/NPA is viewed as the
      country’s number one domestic threat—absorbing roughly 60 percent
      of the government’s resources devoted to internal security38 —largely
      because the group operates nationally, has the stated objective of over-
      throwing the central government, and because the CPP/NDF has pen-
      etrated a wide range of civil sector interests and organizations.39 As one
      AFP official observed, whereas terrorists and separatists are generally
      confined to the south of the country and aim only for autonomy or

      36 Author interviews, Manila, June 2009.

      37 Rommel Banalaoi, “Identity Politics and Philippine National Security in an Age of
      Terror,” unpublished paper provided to author, June 2009, p. 10. An earlier version of the
      paper, titled “Identity Politics and National Security in the Philippines,” can be found in
      Pilipinas: A Journal of Philippine Studies, Vol. 42, March 2005, pp. 25–45.
      38 This is compared to 15 percent devoted to counter-terrorism and counter-separatism and
      10 percent to counter-destabilization. See Gloria, “War Without End,” p. 35.
      39 Author interviews, Manila, January 2008.




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      secession, the NPA operates across the whole country and sees itself as
      the main vehicle for implementing people’s war through a sustained
      campaign of sabotage and disruption.40
            In instituting its COIN strategy against the communist insur-
      gency, Manila has sought to develop a holistic “all of government”
      (AOG) approach41 that involves all key stakeholders in the civilian,
      governing, and security force sectors. The input of these parties is coor-
      dinated through Peace and Order Councils (POCs),42 which operate at
      the national, regional, provincial, city, and municipal levels and have
      the following four core functions and responsibilities: (1) to formulate
      plans and recommend measures that will serve to improve or enhance
      peace and order; (2) to monitor the implementation of peace and order
      programs at all levels and audit their performance in terms of COIN
      programs and activities; (3) to receive, hear, and adjudicate on com-
      plaints made against government personnel—either civilian or mili-
      tary; and (4) to make determinations as to when prevailing conditions
      are suitable for the transfer of security responsibility from the military
      to civilian authorities and associated paramilitary/self-defense forces
      (see below).43
            The POCs are also the main mechanism for the formation of
      Local Peace and Security Assemblies (LPSAs). These gatherings bring
      together local government officials, civil society leaders, and military
      and police officials to discuss the problems of insurgency and to craft


      40 Author interview, Manila, January 2008.

      41 Manila adopted the terminology of AOG in 2006. Prior to this, the COIN effort was
      based on the “Strategy of Holistic Approach” (SHA). The concepts behind the two are
      largely the same, although the AOG places greater emphasis on civilian outreach, develop-
      ment, and general military operations of a nonlethal manner. Banalaoi, “Identity Politics,”
      p. 17.
      42 Author interviews, Manila, June 2009. POCs were originally signed into law by then-
      President Corazon Aquino through Executive Order Number 320 (1988). The National
      POC is made up of officials from executive cabinet departments, other executive agencies,
      the security forces, and the private sector representing academic, civil, religious, youth, labor,
      legal, business and media organizations; membership on local POCs reflect that of their of
      national counterparts.
      43 Author interviews, Manila, June 2009.




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      action agendas for particular areas. The central government regards the
      LPSA as a useful mechanism to begin the process of normalization in
      regions affected by communist guerrillas as a well as a means through
      which to reach out to NPA militants who have indicated an interest in
      laying down their arms and reintegrating into mainstream society. Five
      LPSAs were held in 2007, and they apparently have contributed to the
      government’s growing success against the communists since then.44
            In terms of actual strategy, an enhanced version of the NISP
      (e-NISP) outlines five offensives and three programs. Together, these
      efforts are intended to increase confidence in the legitimacy of the Phil-
      ippine government and undermine the agenda and effectiveness of the
      communists. The five offensives include

           • a military offensive, aimed at degrading the operational capabili-
             ties of the NPA
           • a legal offensive, aimed at securing convictions of violent mili-
             tants by educating the AFP on appropriate procedures for secur-
             ing crime scenes and ensuring the sanctity of forensic evidence
           • an economic offensive, focused on cutting the flow of funds to the
             NPA from sympathizers abroad and upgrading the effectiveness
             of anti-money laundering operations
           • a political offensive, directed at weaning local community organi-
             zations away from the CPP/NDF
           • a strategic communications/psyops (psychologicial operations)
             offensive, aimed at countering CPP/NDF propaganda and pro-
             moting the Philippine state as a socially caring polity.

      The three programs include

           • an amnesty program, which applies only to the NPA and is cur-
             rently being debated in the Philippine Congress
           • a social reintegration program, which focuses on the demobiliza-
             tion, disarmament, and reintegration of “repentant” NPA cadres



      44 Author interview, Manila, January 2008.




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           and falls under the responsibility of the Office of the Advisor for
           the Peace Process
         • a human rights program, which is basically directed toward the
           Philippine National Police (PNP) and AFP and is intended to
           boost the proficiency of police and army human rights awareness
           and understanding.45

             Combined, the five offensives and three programs are aimed at
      instituting the “left hand, right hand” approach against the LCM.
      The overall objective is based on the principle of “clear, hold, consoli-
      date, develop” (CHCD), which is designed to neutralize and dismantle
      the communist political and militant machinery in insurgent “white”
      areas and gradually normalize these regions to allow a transfer of secu-
      rity from the military—which remains the lead agency in Philippine
      COIN efforts—to civilian forces.46 Integral to the Philippine CHCD
      methodology are Special Operations Teams (SOTs). These units are
      embedded in each of the divisional commands of the AFP (the specific
      number varies according to the situation on the ground) and are com-
      posed of nine intelligence, civil affairs, and psyops specialists, accom-
      panied by a security detachment of around 20 troops. A SOT will be
      inserted into an insurgent “hot zone” for up to nine months with the
      twin goals of sapping active or latent popular support for the commu-
      nist cause and encouraging the local populace to work with the author-
      ities in dampening militant activities. Before the SOT is dispatched, a
      thorough survey of the critical needs of the respective community is
      undertaken and used to inform the content and direction of any socio-
      economic and/or confidence building measures that are subsequently



      45 Author interviews, Manila, January 2008.

      46 Banalaoi, “Identity Politics and Philippine National Security in an Age of Terror,”
      p. 16. Then-President Arroyo explained the “left hand, right hand approach” in the follow-
      ing terms: “How do we address this problem (of) insurgency? Through the right-hand and
      left-hand approach. (The) right hand is the full force of the law and the left hand is the hand
      of reconciliation and the hand of giving support to our poorest brothers so that they won’t
      be encouraged to join the rebels.” Cited in Marichu Villanueva, “Palace Announces RP-CPP
      Peace Talks Resume in Oslo February 10–13,” Philippine Star, February 6, 2004.



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      instituted.47 SOTs play a critical role in defining the parameters of and
      executing the implementation of so-called Kalayaan Freedom Baran-
      gay Projects (KBPs), which are designed to win the people’s hearts and
      minds through the construction of schools, houses, and hospitals and
      the provision of basic services, such as potable water, health care, and
      electricity (See Table 2.1).48
            As noted, Manila has also sought to harness the totality of munic-
      ipal resources in countering urban-based insurgent threats by institut-
      ing a “multistakeholder co-ownership” approach to COIN. Perhaps the
      clearest example of this stratagem was on the island of Bohol. Here
      POCs were established to bring together local government agencies,
      church representatives, nongovernmental organizations (NGOs), aca-
      demics, civil society organizations, and the business sector to formulate
      plans on how best to restore normalcy in rebel-infested areas.49
            Finally a number of specific pilot schemes have also been devel-
      oped for particular areas. One notable scheme is the Barangay Defense
      System (BDS), which was initially set up to cover the remote towns
      of Nueva Ecija province in Central Luzon. The idea of Colonel Greg-
      ory Cayteno, the BDS is composed of local residents who act as key
      informants for the military. Members are not armed; rather, they are
      equipped with cell phones that they use to access a dedicated hotline
            Table 2.1
            The Kalayan Barangay Program

            Projects                     Completed          Ongoing      To Be Started

            Water supply                       37               19              94

            Building schools                   89               20             150

            Farm-to-market roads                0                2              94

            Total                             126               41             338

            SOURCE: Briefing Paper, J3, AFP, 2007.


      47 Author interviews, Manila, June 2009. The roots of SOTs go back 20 years and stem from
      techniques that were first introduced to deal with the Muslim insurgency in Mindanao.
      48 Author interviews, Manila, January 2008. See also Gloria, “War Without End,” p. 39.

      49 Author interviews, Manila, June and September 2009.




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      whenever they spot a suspected rebel(s) or sense an impending incur-
      sion. Apart from acting as a real-time intelligence source for the AFP,
      the BDS concept is also employed as means of preventing petty crimes
      (such as cattle rustling) and helping with the protection of livelihood
      projects for local residents.50

      Self-Defense Militias
      Self-defense paramilitaries constitute an important component of the
      AFP’s overall COIN effort. These entities are regarded as a relatively
      cheap and effective means of augmenting the police security presence
      in areas considered at or approaching a state of normalization.51 Two
      main types of militia exist: First are the Citizen Armed Force Geo-
      graphical Units (CAFGUs), which are fully integrated into the army’s
      chain of command and are subject to all applicable military law, rules,
      and regulations.52 CAFGUs are trained by the AFP in the fundamen-
      tals of village protection and local community organization and per-
      suasion, have a legal basis in the constitution, and are paid a nomi-
      nal monthly allowance. There are currently around 60,000 CAFGUs
      deployed in 13,400 villages—up from 41,979 in 2001. Seventy percent
      of these units are stationed in Central Mindanao; the remaining 30
      percent are scattered across other designated priority areas.53
            Complementing the CAFGUs are Civilian Volunteer Organiza-
      tions (CVOs). Members of these groups are unarmed54 and work with

      50 Gloria, “War Without End,” p. 35.

      51 The annual cost of maintaining a regular soldier (private) in the AFP is around 120,000
      pesos, compared to just 33,000 pesos for a paramilitary member.
      52 Rommel Banlaoi, “CAFGU, CVOs and Vigilante Groups in the Philippines,” paper pre-
      pared for the South-South Network (SSN) Philippine Armed Groups Political Mapping
      Research Project, 2006, p. 2. It should be noted that because CAFGUs are fully integrated in
      the military chain of command, the AFP denies that they are either a paramilitary or militia
      unit.
      53 Author interviews, Manila, June 2009. See also Banlaoi, “CAFGU, CVOs and Vigilante
      Groups in the Philippines,” p. 6; and Office of the Assistant Chief of Staff for Operations,
      CAFGU Primer, Makati City: Headquarters of the Philippine Army, 2006.
      54 Although they are not legally mandated to carry arms, there have been reports of CVOs
      engaged in skirmishes with NPA and Moro Islamic Liberation Front militants during which



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      the police in supporting local peace, order and security development
      projects.55 They also act as a form of neighborhood watch and periodi-
      cally engage in intelligence and undercover work for the military and
      police in their respective localities. Training and education to CVOs is
      provided by the Bantay Bayan Foundation Incorporated (BBFI), which
      was registered with the Securities and Exchange Commission (SEC)
      in 1984. According to the BBFI, some 9,018 CVO chapters have been
      formed nationwide, with a combined strength of 4,509,000. These per-
      sonnel play a pivotal role in the implementation of the AFP’s COIN
      operation known as Bantay Laya (see below).56


      AFP COIN Progress

      The stated goal of the AFP was to achieve a strategic victory over the
      CPP/NPA by the end of 2010—the year that was supposed to mark
      the termination of President Arroyo’s presidency.57 Orchestrated under
      “Bantay Laya I and II” (“Guard Freedom” I and II), this objective had
      as its aim a 75 percent reduction in present CPP-NPA strength, capa-
      bility, and influence by meeting the following self-imposed annual
      benchmarks: (1) The collapse of 65 guerrilla fronts; (2) the completion
      of 500 KBPs (126 had been finished by the end of 2007— see Table
      2.1); (3) the implementation of at least four major highway initiatives


      M1 Garand, M-14 and M-16 assaults rifles, as well as rocket propelled grenades (RPGs) have
      been used.
      55 A CVO can be formed by any group of interested and law-abiding citizens (over the age
      of 18) to promote community self-defense and safety against criminals and other lawless ele-
      ments.” See Consideration of Reports Submitted by States Parties Under Article 40 of the Cov-
      enant: The Philippines, Geneva: United Nations (UN) Covenant on Civil and Political Rights
      (CCPR), August 2002, p. 119.
      56 Banlaoi, “CAFGU, CVO and Vigilante Groups in the Philippines,” pp. 6–7.

      57 Under the terms of the Philippine Constitution, an individual can only serve as president
      for a maximum of two terms. As noted previously, however, Arroyo moved to introduce
      changes that would allow for a third tenure in office. The issue remains highly contentious
      and is currently one of the main sources of political uncertainty and tension in the country.
      Author interviews, Manila, June 2009.



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      on the island of Mindanao;58 and (4) the systematic intensification
      of white area cleansing operations to neutralize the CPP-NDF urban
      command structure.59
             The AFP has made steady progress toward meeting some of these
      objectives, chalking up a number of notable successes against the CPP/
      NPA. By the end of 2007, 13 guerrilla fronts had been totally cleared
      and consolidated; an additional 17 were in the advanced stages of deg-
      radation; 13 key CPP leaders had been either detained or killed; and a
      further 191 communist members had been arrested and prosecuted for
      rebellion (representing 34 percent of all intended targets). In 2009, the
      government declared the NPA’s combined strength to be 4,874 cadres
      organized in 75 fronts—the lowest level since the 1980s.60
             Arguably more important, a number of formerly “hot” guer-
      rilla zones have not only been normalized but are now in the stages of
      advanced popular development. A case in point is the island of Bohol
      in Region VI of the Visayas. A hotbed of communist insurgency in
      2000, the AFP had managed to clear out all CPP and NPA influence
      by 2006. One of the main reasons for this success was the input of
      Governor Erico Aumentatdo, who was instrumental in establishing a
      consultative process that allowed for the effective pairing of civilian
      and military power to confront and defeat the insurgent threat.61

      58 The four planned projects include a circumferential road for Basilan, a triple S-B coastal
      road for Zamboanga del Norte; three circumferential highways for Cotabato City; and a
      Lapinig-to-Jipadad road in Sampar.
      59 Author interviews, Manila, January 2008.

      60 “Current NPA’s Strength Down to the Lowest Level Since the 1980s,” Philippine Star,
      June 28, 2009.
      61 Author interviews, Manila, January 2008 and June 2009; “Linking Security Sector
      Reform and Peace-Building: The Case of Bohol,” unpublished paper provided to author,
      n.d., p. 2. Some of the resulting mechanisms that appear to have borne particular dividends
      included the formation/implementation of: (i) Quick Response Teams (QRTs) to address the
      immediate needs of victims of NPA attacks; (ii) Fact Finding Teams (FFTs) to gather per-
      tinent information on any matter related to provincial internal security; (iii) Civic Actions
      in Insurgency Affected Areas (CIVAC) aimed at winning the hearts and minds of the local
      population; and (iv) local Monitoring Mechanism for the Comprehensive Agreement on the
      Respect for Human Rights and International Humanitarian Law (CARHRIHL) to ensure
      the rights of both combatants and noncombatants are fully respected.



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            To a certain degree, the AFP’s successes against the CPP and
      NPA are due to internal schisms within the rebel ranks that were first
      triggered by the decision to switch from rural to urban operations (see
      above). These splits worked to the specific advantage of the military,
      which was able to exploit internal doctrinal disagreements among the
      communist leadership to confuse and divide the movement’s wider
      membership.62 As Lieutenant Colonel Noel Patajo of the Philippine
      Air Force (PAF) commented: “[T]he AFP gained the upper-hand and
      a so-called “strategic victory” when [elements] of the CPP-NPA opted
      for the immediate seizure of power while post-insurgency problems, as
      secondary preoccupations, were shelved for the time being.”63
            However, just as important in accounting for the armed forces’
      progress is the holistic COIN approach outlined above. In an attempt
      to replicate Magsaysay’s success against the Huks, a considerable
      component of this stratagem has focused on nonkinetic, “hearts and
      minds” initiatives that are directed toward weaning popular support
      away from the NPA while simultaneously enhancing the military’s per-
      ceived standing in the local community. Indicative of this approach are
      the joint U.S.-Philippine Balikatan (literally, “shoulder-to-shoulder”)
      exercises, held each year to enhance the AFP’s general counterinsur-
      gency and counterterrorism modalities in areas of endemic political
      violence. The 2008 round of these drills was oriented exclusively to
      civilian military operations (CMOs) in Basilan, Tawi-Tawi, and Sulu
      and involved eight medical civic action programs (MEDCAPS) and
      four engineering civic action programs (ENCAPS).64 The most recent
      exercises, which were held April 16­–30, 2009, were similarly devoted to
      CMOs, this time emphasizing relief and assistance efforts in the event
      of natural disasters and other crises that endanger public health and
      safety. In addition, AFP personnel conducted comprehensive humani-

      62 Author interviews, Manila, September 2009.

      63 Noel Patajo, “An Alternative Approach to Counterinsurgency,” Air Force Review, Vol. 6,
      No. 3, October 2006, p. 4.
      64 Author interviews, Zamboanga, January 2008. See also Eric Schmitt, “Gains Seen in
      Asian Terror Fight,” New York Times, June 9, 2008. MEDCAPS involved fifteen AFP
      personnel/project, ENCAPS twenty personnel/project.



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      tarian assistance projects in Zamboanga, Bico, and Central and South-
      ern Luzon, offering free medical, dental, and veterinarian care as well
      as building and repairing community infrastructure in areas deemed
      to be in most need of assistance.65
            The Balikitan exercises have had an important effect on AFP
      thinking concerning COIN and counterterrorism. In particular, the
      annual drills have underscored to participating officers that develop-
      ment assistance often goes hand in hand with military operations,
      especially in terms of the favorable impact that can be elicited on the
      attitudes of the local population through road-building and other
      construction work. Opening a dialogue with local stakeholders also
      appears to have exposed the AFP to an alternative means of at least
      trying to change local perceptions on the ground.66
            The “hearts and minds” approach has gained increased currency
      at the highest levels of the AFP. According to the head of a nongovern-
      mental organization (NGO) in the southern Philippines, this is now
      the preferred approach of several commanders deployed to Mindan-
      ao.67 Moreover, the military has now created a new, nonlethal division
      that is specifically dedicated to CMO efforts—the National Develop-
      ment Support Command. The rationale behind the unit is that the best
      way to defeat a terrorist insurgency is by giving people what the rebels
      cannot: roads, bridges, businesses, houses, schools, electricity, medical
      centers, and medicines—in short, better governance.68
            Besides appreciating the potential utility of CMOs, AFP com-
      manders have become increasingly cognizant that inappropriate
      involvement of national-level security forces in local disputes can act as
      a trigger for violence. As one AFP commander explained it: “A party
      to a land or political dispute could call on associates in the local police
      or government-sanctioned militias to support him while a [local rebel]

      65 See “RP, US Announce Balikatan Exercises 2009 in Bicol,” philstar.com, January 8,
      2009; Robert Clowney, “Airmen Spread Goodwill During Balikatan 2009,” U.S. Air Force,
      April 29, 2009.
      66 Author interviews, Zamboanga, January 2008, and Manila, June 2009.

      67 RAND interview, Cotabato City, January 2008.

      68 Author interviews, Manila, January 2008 and September 2009.




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      commander might support or lend arms to the other party; very quickly
      what began as a local dispute escalates into a national-level conflict.”69
      To prevent entanglement in local disputes and their ensuing negative
      effects, the Philippine security forces have reached out to NGOs to
      organize and conduct conflict management seminars. These sessions
      are aimed at helping military personnel understand the local envi-
      ronment to which they are to be deployed and providing techniques
      and procedures to minimize the danger of their becoming involved
      in conflict-prone situations.70 In addition AFP officers have worked
      closely with development NGOs, participating in programs that are
      designed to resolve societal divides by including legitimate stakeholders
      in negotiating and mediation processes. One such course is the Bridg-
      ing Leadership Fellowship that is funded and run by the Asian Insti-
      tute of Management .71


      Transition?

      Notwithstanding these operational successes and the wider concep-
      tual breakthroughs that have been registered in the military’s think-
      ing about COIN over the past two to three years, Manila—by its own
      admission—continues to confront a significant communist challenge.
      More specifically, while the government has made undoubted progress
      in overhauling and refining its overall counterinsurgency strategy, the
      government has yet to reach a decisive turning point in the campaign
      against the CPP-NPA. Indeed, the supposed strategic victory over the
      communist movement by 2010 is now questioned by a number of
      senior officials, many of whom concede that the timetable should be
      revised by at least one year and possibly as many two years.72 This reas-
      sessment bears testimony to several important gaps that continue to

      69 RAND interview, Cotabato City, January 2008.

      70 RAND interview, Cotabato City, January 2008.

      71 For more on this see AIM TeaM Energy Center, “The Bridging Leadership Fellows Pro-
      gram,” n.d.`
      72 Author interviews, Manila, June 2009.




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      hamper the AFP’s capabilities and policies, which have so far prevented
      a “real” transition from occurring, at least on a national basis.
            First, the integrated approach to stabilization that underscores the
      strategic campaign against the NPA assumes that the army will take
      and hold a given area and that the civilian agencies will then go in to
      reestablish an effective state presence. In reality, however, cleared zones
      are frequently reinfiltrated by militants, largely because civil authori-
      ties fail to discharge their responsibilities in a meaningful and decisive
      manner. This has generated particular consternation on the part of the
      AFP, which repeatedly charges that inadequate follow-on consolida-
      tion by local bureaucrats and administrators merely serves to create
      governance vacuums that insurgents and terrorists have been quick to
      capitalize on.73 In the words of one AFP officer with extensive experi-
      ence of battling the NPA:

            One of the main weaknesses of the government’s COIN strat-
            egy is the inability to consolidate control over held areas. Typi-
            cally once a region is cleared, the army will depart and hand over
            responsibility to local civilian agencies and bureaucrats. In most
            cases, however, these personnel have been incapable of prevent-
            ing re-infiltration by Communist operatives. Indeed in a number
            of cases, guerrillas are known to have tactically withdrawn from
            base fronts knowing that once they do so the military will leave,
            effectively leaving them free to re-establish control.74

            Second, efforts to implement a consistent national security strat-
      egy have been impeded by severe policy discontinuities, reflecting the
      highly adversarial nature of the Philippine political and administra-
      tive system. New officials and politicians are seldom willing to endorse
      and build on the initiatives of their predecessors—even if they are
      working—because they want to leave their own personal stamp on
      the office.75 Compounding matters is a mandatory retirement age of


      73 Author interviews, Manila, January 2008 and June 2009.

      74 Author interview, Manila, January 2008.

      75 Author interview, Manila, September 2009.




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      56, which applies to all three branches of the armed forces. This has
      resulted in an extremely high turnover of personnel in the senior ranks,
      which has in turn precluded the opportunity to introduce programs
      and ensure that they are followed through and sustained. This dis-
      juncture has been particularly apparent in the area of social reinsertion
      for demobilized and/or surrendered NPA cadres. Not only do these
      schemes remain in a constant state of flux, they also tend to be highly
      ad hoc in nature. Such inconsistency in terms of content and dura-
      tion has, not surprisingly, impeded their ability to ensure the long-term
      rehabilitation of former combatants, many of whom simply return to
      arms.76
            Third, although there has been a significant shift in AFP culture
      toward greater recognition of nonviolent, “effects-based” COIN opera-
      tions, the overall tempo of security reform continues to be held hostage
      by a degree of organizational inflexibility. Reflecting this has been a
      general failure either to integrate peace-building modules into the mili-
      tary curriculum or incorporate and validate metrics into the promotion
      system that explicitly reward these types of activities.77
            Fourth (and to a degree the product of the above), while the AFP
      has certainly been prepared to emphasize hearts and minds efforts in its
      overall COIN strategy, the relative emphasis on countering the political
      dimension of the CPP-NPA campaign has been somewhat lacking. In
      many ways, the army continues to confront the communist insurgency
      in military terms, even though the bulk of rebel activity (90 percent)
      is now focused on penetrating and subverting formal state and civic
      institutions, such as labor unions, the Catholic Church, schools, uni-
      versities, student bodies, and business cooperatives.78 This is something
      that the AFP itself admits. As Colonel Ricardo Visaya, a former battal-
      ion commander stationed in Pampanga in Central Luzon, remarked:
      “We admit there was a problem . . .We [have been] too focused on the
      armed group, even though we [know] that 70 percent of the enemy’s


      76 Author interviews, Manila, January 2008 and September 2009.

      77 Author interview, Cotabato City, January 2008.

      78 Author interviews, Manila, January 2008 and June 2009.




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      effort is [focused] on political struggle and that only 30 percent [is on]
      military struggle.”79
            Fifth, the AFP frequently fails to work and communicate effec-
      tively with the PNP, especially with regard to preserving forensic evi-
      dence. Generally, the military is the first to arrive at an urban guerrilla
      incident, given their resources and ability to rapidly deploy. Problemat-
      ically, however, the AFP often fails to coordinate its response with the
      that of the PNP—resulting in a situation where the lead responsibil-
      ity for cordoning off a crime scene falls to an organization that is nei-
      ther trained in law enforcement nor attuned to protocols for collecting
      information that can be used for judicial purposes (the AFP priority
      is on garnering tactical and strategic intelligence). The PNP have, as
      a result, defaulted to relying on witness testimonies when prosecuting
      alleged offenders, many of which have been thrown out of court for
      their unreliable nature.80 Not surprisingly, the conviction rate has not
      been as high as it might otherwise have been and, until recently, tended
      to be less than a third of all cases brought forward for prosecution.81
            Sixth, the Philippine military continues to suffer from varying
      degrees of politicization, cronyism, and nepotism—both on an indi-
      vidual and institutional level. Within the AFP, people are typically pro-
      moted on the basis of who they know and their graduating class at the
      military academy—not on talent. This has hampered the army’s ability
      to fully capitalize on organizational reform and prevented the institu-
      tionalization of a modern, merit-based system of performance review.82
      Corruption also remains a lingering problem. It has both encouraged



      79 Colonel Visaya, cited in Gloria, “War Without End,” 35.

      80 Author interviews, Manila, June 2009. Defense teams are often able to dismiss the reli-
      ability of witness testimony by arguing that it was given under duress or otherwise extracted
      under “questionable” circumstances.
      81 Author interviews, Manila, January 2008 and June 2009. Exacerbating the situation
      is the PNP’s continuing reliance on witness statements in bringing cases against suspects.
      Because these are often given under questionable circumstances, they are invariably thrown
      out of court as inadmissible.
      82 Author interviews, Manila, September 2009.




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      adventurism on the part of junior officers83 and allowed the military
      to exert a dangerous degree of influence over the country’s political
      establishment.84
            Finally, although the AFP has made steadfast progress in its pro-
      fessionalism, human rights transgressions continue to undermine the
      record of paramilitary forces trained under its auspices. According to
      the Philippine Human Rights Information Center (PHIC), CAFGU
      members have been implicated in a broad range of abuses, including
      salvaging, harassment, forced evacuation, and even reported cases of
      cannibalism. CVOs have also been linked to various human rights
      violations, allegedly becoming more violent in tandem with a grow-
      ing involvement in the illegal drug trade and increased (unsanctioned)
      access to small arms.85
             These various shortfalls are reflected in the overall record of the
      AFP’s struggle against the NPA. As noted above, although certain suc-
      cesses have been achieved, the military has yet to reach a decisive tran-
      sition point in its COIN effort. Complete stabilization remains more
      the exception than the rule and has been achieved in only a few notable
      places, such as the island of Bohol. In most cases, the counterinsur-
      gency strategy remains in either a fully offensive or mixed offensive/

      83 There have been numerous cases involving senior members of the AFP taking bribes from
      companies with interests to protect and/or simply falsely declaring their assets and outside
      business holdings. In one notable incident that broke on 2004, an army general was court-
      martialed for amassing in excess of $2 million in cash and real estate on a $600/month
      salary. See Heda Bayron, “Philippine Military Corruption Trial Starts,” newsVOA.com,
      November 16, 2004.
      84 Author interviews, Manila, January 2008. See also Carlos Conde, “Corruption Troubles
      Philippine Military,” International Herald Tribune, May 26, 2005. Corruption has always
      been part of the AFP culture and was in fact institutionalized during the Marcos era. When
      the former dictator was removed from power, members of the armed forces became politi-
      cized themselves, appropriating the role of “guardians of the constitution” and assuming the
      self-defined right to intervene against governments that were not deemed to be functioning
      adequately. Numerous analysts have blamed the weakness of civilian administrations in the
      Philippines on this messianic mindset in the military.
      85 Banaloi, “CAFGU, CVOs and Vigilante Groups in the Philippines,” p. 7. See also Agnes
      Camacho, Zenaida Marco, P. Puzon, and Yasmin Patrice Ortiga, Children and Youth in
      Organized Armed Violence in the Philippines: Contextualisation, Personal Histories and Policy
      Options, Quezon City: UP Center for Integrative and Development Studies, 2003.



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      normalization mode with security responsibilities left squarely in the
      hands of the AFP, as opposed to civilian authorities.86
           Moreover, while the NPA’s operational capabilities have been
      blunted, the CPP’s ability to infiltrate at the local level has been far
      from curtailed. Although the number of barangays infiltrated by the
      communists is much less than the 8,059 reported in 1987, the figures
      have been steadily climbing since 1995 and by 2006 (the latest year
      for which accurate data are available) amounted to at least 5 percent of
      the country’s total (see Table 2.2). As Gloria commented: “And then a
      new landscape emerged in 2001: [the AF] was suddenly faced with a
      guerrilla unit that was emaciated on the battlefield but whose political
      stock—through its control of leftwing political parties and a popular
      anti-government stance—has risen to levels never before seen since the
      height of the anti-Marcos years.”87

                               Table 2.2
                               Barangays Affected by the CPP
                               and NPA

                                             Number of Affected
                               Year             Barangays

                               1987                 8,059
                               1991                 4,841
                               1995                  445
                               1996                  534
                               1998                  772
                               2000                 1,279
                               2001                 1,969
                               2004                 2,510
                               2005                 2,178
                               2006                 2,121
                               SOURCE: National Intelligence
                               Coordinating Agency, Manila,
                               2007.




      86 Author interviews, Manila, January 2008.

      87 Gloria, “War Without End,” p. 35.




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      Conclusion: Lessons for the United States

      The Philippine experience highlights a number of notable lessons.
      On the positive side, it illustrates the worth of balancing hard kinetic
      COIN approaches with softer “hearts and minds” initiatives that are
      relevant and respond to the needs of local communities. Not only do
      such strategies engender greater trust and confidence in the security
      forces, they also increase the scope for active popular involvement in
      rebel mitigation efforts.88 These approaches have a dual effect: First,
      they deprive insurgents of crucial pools of civil passive support; second,
      they serve to greatly expand the potential scope of military and police
      surveillance on the ground. They were certainly a major factor in the
      defeat of the Huks and, through KBPs, they have generated dividends
      in several regions with regard to the struggle against the CPP/NPA.
            No less significantly, the campaign against the CPP/NPA high-
      lights the importance of involving all key stakeholders in a conflict at
      the earliest possible stage. Bohol stands as testimony to how effective
      such an approach can be in fully normalizing a former conflict zone.
      Indeed, in her 2006 State of the Nation Address, President Arroyo spe-
      cifically cited the province- and city-based POCs as an exemplary case
      of innovative peace-building that was understood by everyone from the
      highest official to the ordinary citizen.89
            On the negative side, the campaign against the CPP/NPA high-
      lights the problems that can arise when the armed forces leave a nomi-
      nally cleared area before full consolidation has been attained. As noted,
      one of the main reasons why many insurgent zones remain in a state
      of only partial normalization is that there is no effective security pres-
      ence to prevent rebel reinfiltration once the military has left. Indeed,

      88 In the words of the Stanley Foundation, “It is this kind of goodwill support—not the
      provision of “hard” combat equipment and training—that has been especially welcomed by
      indigenous communities in conflict-ridden regions and, hence, most successful in alienating
      latent militant sympathies and tendencies.” Cited in International Crisis Group, “The Philip-
      pines: Counter-Insurgency vs. Counter-Terrorism in Mindanao,” Asia Briefing No. 152, May
      14, 2008, p. 22.
      89 Author interviews, Manila, June 2009; “Linking Security Sector Reform and Peace-
      Building: The Case of Bohol,” p. 2.



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      in many cases communist guerrillas are thought to have deliberately
      withdrawn from base fronts precisely because they know that once they
      do, the army will depart—giving them ample opportunity to reestab-
      lish control at will.90
            On a wider level, the chapter bears witness to the criticality of pro-
      grammatic continuity in ensuring the COIN effort. Manila failed to
      win the peace over the Huks largely because it squandered the progress
      that had been made in land reform. The current campaign against the
      CPP/NPA appears to be faltering, at least in part, because the demo-
      bilization and social reintegration programs are in a constant state of
      flux. As one well-informed and well-placed official with the Philippine
      National Security Council (NSC) lamented: “The Philippines suffers
      from a critical disease: policy, program and leadership discontinuity.
      No attempt is made to build on past strengths and achievements. This
      is not healthy for a young democracy as it causes severe strategic dis-
      junctures, removes critical stock knowledge and essentially forces each
      new government to start from scratch.”91
            The Philippine example also shows how corruption, nepotism,
      and cronyism can impede the development of an effective and pro-
      fessional military fighting force that is able to definitively address the
      range of internal threats arrayed against it. Although progress has
      certainly been made in boosting the proficiency of the AFP’s lower
      and middle ranks as part of a broader process of defense reform and
      rationalization,92 in many ways the senior leadership continues to oper-
      ate as an “old boy network” that is more interested in protecting and
      advancing the vested interests of its own members. This has stymied
      the growth of what might otherwise have been a fully flexible and for-



      90 Author interviews, Manila, Jaunuary 2008.

      91 Author interview, Manila, September 2009.

      92 Manila’s Department of National Defense is currently looking across doctrine, force
      structure, training and equipment to redirect financing and mapping in accordance with a
      multiyear capabilities planning system – a long-range scheme developed with U.S. assistance
      and divided into six three-year segments. Information presented to the author at an AFP
      intelligence briefing, Manila, January 2008.



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      ward-looking organizational culture that is ready, able, and willing to
      embrace and validate innovative, “out-of-the-box” thinking.93
            The Philippine case additionally underscores the danger of rely-
      ing on inadequately trained and controlled local self-defense militias.
      Although the AFP has made significant progress regarding its own pro-
      fessionalism, CAFGUs and CVOs operating under military auspices
      continue at times to be implicated in serious human rights abuses and
      transgressions. This has tarnished the army’s reputation, provided the
      CPP/NPA with useful recruiting propaganda, and transformed what
      could potentially constitute a cheap and viable security “force mul-
      tiplier” into one that risks driving a permanent wedge into the wider
      population. As the PHIC elaborates, “the CAFGUs are fighting not as
      part of a nation united against an external aggressor but in a nation
      divided against itself, where one part of the population is [an] enemy
      very often broadly defined, thus lending itself to abuse.”94
            Finally, this chapter illustrates the importance of the political
      context of COIN. One of the main factors accounting for the NDF’s
      success in penetrating a wide array of Philippine civic, student, and
      labor bodies has been Manila’s failure to recognize and respond to an
      insurgent threat is now predominantly nonmilitary in nature. While
      the AFP has certainly moved to incorporate a “soft” hearts and minds
      component in its campaign against the CPP/NPA, far less emphasis has
      been placed on developing “smart” initiatives aimed at countering and
      discrediting the movement’s propaganda. To a large extent, this reflects
      the prevailing view in the government that the root causes of militancy
      are poverty and underdevelopment rather than ideology. The Philip-
      pine case suggests that both are pertinent (especially in societies beset
      by chronic and endemic problems of corruption); thus, they need to
      be factored equally into overall policy, planning, and decisionmaking.

      93 Author interviews, Manila, January 2008 and June 2009.

      94 Philippine Human Rights Information Center (PHIC), The Militarization of the Philip-
      pine Society: CAFGUs Against Human Rights, Quezon City: PHIC, 1993; Banaloi, “CAFGU,
      CVOs and Vigilante Groups in the Philippines,” p. 5. See also Rene Sarmiento, “The Legal-
      ity of Vigilante Groups,” paper prepared for the Eight House Annual Convention of the
      Integrated Bar of the Philippines. Manila: Hilton Hotel, June 7, 1987.



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      CHAPTER THREE

      Counterinsurgency Transition Case Study:
      Colombia




                      Map of Colombia




                      SOURCE: CIA World Factbook.
                      RAND MG1111/2-3.1




      Nature and Scope of the Conflict

      The origins of the current Colombian insurgency go back to the period
      of extreme violence between adherents of the Liberal and Conservative
      parties in the late 1940s and early 1950s that is known as La Violencia,
      during which an estimated 200,000 persons lost their lives. The Cuban
      revolution and the beginning of Soviet support for national liberation
      movements in Latin America encouraged the advocates of revolution-


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      ary change in Colombia to challenge the government through armed
      struggle. Colombia’s two main guerrilla organizations, the Havana-line
      National Liberation Army (ELN) and the Moscow-line Revolutionary
      Armed Forces of Colombia (FARC), as well as other smaller groups,
      were established in the initial wave of Cuban-inspired effort to export
      the revolution to the Latin American mainland in the 1960s. This his-
      tory makes the FARC and the ELN two of the oldest guerrilla groups
      in the world.1
            The ability of these groups, particularly the FARC, to challenge
      the central government increased significantly in the 1980s and 1990s,
      as revenue from the drug trade, kidnapping, and extortion enabled the
      group to expand its military capabilities and area of operation. The
      FARC established a presence in two-thirds of the country’s territo-
      rial jurisdictions,2 and developed an extensive infrastructure to move
      drugs, arms, supplies, and personnel across Colombia’s permeable bor-
      ders with Venezuela, Panama, and Ecuador.3 The ELN had its stron-
      gest presence in the oil region of northeastern Colombia, attacking the
      oil infrastructure and deriving income from extortion of the oil com-
      panies. The stature of the ELN has been reduced over the past decade
      because of military losses to Colombian forces, the FARC, and the
      Autodefensas Unidas de Colombia or AUC (United Self-Defense Forces
      of Colombia) and its limited involvement with the drug trade. The
      ELN no longer represents a significant threat to the Colombian state.


      1   See Angel Rabasa and Peter Chalk, Colombian Labyrinth: The Synergy of Drugs and
      Insugency and Its Implications for Regional Stability, Santa Monica, Calif.: RAND Corpo-
      ration, MR-1339-AF, 2001; Richard Maullin, Soldiers, Guerrillas, and Politics in Colombia,
      Santa Monica, Calif.: RAND Corporation, R-0630-ARPA, 1971; Paul Oquist, Conflict and
      Politics in Colombia, New York: Academic Press, 1980; Rafael Pardo, La Historia de Las
      Guerras, Bogotá, 2004.
      2  Known as municipios (municipalities or townships). According to a statistical data base
      on violence in Colombia, by 1995 the FARC presence had spread to 622 of Colombia’s
      1,050 municipios. Camilo Echandía Castillo, El Conflicto Armado y las Manifestaciones de la
      Violencia en las Regiones de Colombia, Bogotá: Presidencia de la República, Oficina del Alto
      Comisianado para la Paz, 1999, p. 60.
      3 Rabasa and Chalk, Colombian Labyrinth, pp. 85–91; Alfredo Rangel Suárez, Colombia,
      Guerra en el Fin de Siglo, Bogotá: TM Editores, 1998.



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                                    Counterinsurgency Transition Case Study: Colombia      43



            At the same time, so-called paramilitaries, organized under the
      umbrella of the AUC, established themselves as another force in the
      Colombian conflict. The AUC came about largely because of the
      inability of the state to provide security to the population. The para-
      militaries mirrored the FARC in that they had links to the drug trade
      as well as political objectives. The paramilitaries were able to displace
      the FARC and the ELN from a number of contested areas, and their
      activities contributed to the overall decay of the state and a condition
      of generalized violence.4
            Until the 1980s, the FARC engaged in small-scale attacks on mil-
      itary and police units in remote areas of Colombia. In the late 1990s,
      the FARC attempted to make a qualitative jump to a higher stage of
      military operations by engaging and defeating battalion-sized units of
      the Colombian army (Las Delicias in August 1996 and El Billar in
      March 1998). However, the sequence of successful large-scale attacks
      on isolated army units was broken toward the end of the decade when
      the Colombian military learned to combine air power with land forces
      to defeat FARC attempts to overwhelm local garrisons. Since then, the
      Colombians have used air-land synergies to prevent guerrilla concen-
      trations. The ELN has never attained the capabilities to mount large-
      scale operations. Over the past several years, the organization came
      under pressure by FARC and paramilitary forces, which drove it from
      some of its strongholds; it is now concerned largely with survival.5
            Since 2002, the strategic environment in Colombia has changed
      significantly as the result of two key developments. One was the suc-
      cessful counterinsurgency campaign of President Álvaro Uribe’s gov-
      ernment, which significantly weakened the FARC; the other was the
      demobilization of paramilitary formations. These trends have made
      possible the shift in Colombian government strategy from counterin-


      4  Rabasa and Chalk, Colombian Labyrinth, pp. 53–60; Rangel Suárez, Colombia,
      pp. 49–50.
      5   Angel Rabasa, Lesley Anne Warner, Peter Chalk, Ivan Khilko, and Paraag Shukla, Money
      in the Bank—Lessons Learned from Past Counterinsurgency (COIN) Operations: RAND Coun-
      terinsurgency Study—Paper 4, Santa Monica, Calif.: RAND Corporation, OP-185-OSD,
      2007, pp. 63–64.



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      surgency to the consolidation of state functions in areas recovered from
      armed nonstate actors.


      International and Transnational Actors

      The Colombian conflict has, of course, an important international
      dimension. The contraction of the Colombian government’s authority
      facilitated the spread of the activities of guerrillas, paramilitaries, and
      drug traffickers to neighboring states. The border regions of Panama,
      Ecuador, Venezuela, and the Putumayo and Caquetá river systems of
      southern Colombia, which flow into the Amazon, are critical nodes in
      the Colombian narcotraffickers’ and guerrillas’ support structure.
            The most important international actors are the United States,
      which has provided critical assistance to the Colombian government;
      Venezuela; and, to a lesser extent Ecuador, Panama, and Brazil. Cuba
      has facilitated discussions between the Colombian government and
      the ELN, and some European countries have extended economic assis-
      tance to Colombia. Spain, France and Switzerland have engaged in
      diplomatic efforts to secure the release of hostages held by the FARC.
      The FARC has international connections with sympathetic govern-
      ments and political actors and with other violent groups.6
            From fiscal year (FY) 2000, when Plan Colombia was inaugu-
      rated, to 2008, the United States provided over $6 billion in support
      of Plan Colombia, the Colombian government’s plan to reduce illicit
      drug production and reclaim control of areas held by illegal armed
      groups. Of this amount, nearly $4.9 billion went to the Colombian
      military and police.7 In the stabilization area, USAID’s Office of Tran-

      6  For instance, the FARC reportedly received assistance in bombmaking from IRA spe-
      cialists. One of the IRA members arrested in Colombia in 2001, Neil Connolly, was the
      representative in Cuba of the Sinn Fein, IRA’s political wing. Connolly was believed to have
      initiated contact with FARC through the Spanish terrorist group ETA. (Mark Burgess, “Glo-
      balizing Terrorism: The FARC-IRA Connection,” CDI Terrorism Project, June 5, 2002. )
      7  U.S. Government Accountability Office (GAO), “Plan Colombia: Drug Reduction Goals
      Were Not Fully Met, but Security Has Improved; U.S. Agencies Need More Detailed Plans
      for Reducing Assistance,” GAO-09-71, October 6, 2008.



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      sition Initiatives (OTI) plays a critical role in supporting Colombian
      government agencies involved in the consolidation of the state’s pres-
      ence in areas recovered from illegal nonstate actors.8
            Venezuela has provided covert assistance to the FARC and its con-
      tinued involvement may be critical to the FARC’s survival. Venezuela’s
      involvement with the FARC is discussed in the section entitled “Exter-
      nal Powers Supporting Belligerents.” The FARC also uses Ecuador’s
      territory for logistics and support purposes. The FARC maintained
      logistical support bases in Panama in the 1990s and early 2000s, until
      the group was displaced from the Panamanian border region by the
      AUC. The FARC has also moved drugs through Brazil. Brazil, how-
      ever, has cooperated with Colombia in maintaining border security.
      Recently, both countries signed an air border control agreement that in
      principle allows each party to go 50 miles into each other’s airspace.9


      Strategy (Pre-Transition)
      Colombian Government Strategy
      The Colombian government’s Policy for the Consolidation of Demo-
      cratic Security (PCSD) seeks to reestablish state control over the areas
      affected by the activities of illegal armed groups and drug traffickers.
      The policy has five strategic objectives broken down into 28 plans.10
      The core aim of the policy is to generate a virtuous cycle in which
      increased security produces confidence and stability, which in turn


      8   USAID/OTI Colombia Field Report, October–December 2008.
      9 Raymond Colitt, “Brazil, Colombia Agree on Anti-Drug Border Defense,” Reuters,
      March 12, 2009.
      10 The five strategic objectives are: (1) to consolidate territorial control and strengthen the
      rule of law across the entire national territory; (2) to protect the public and hold on to the
      strategic initiative against all threats to citizen security; (3) to drastically raise the cost of
      trafficking drugs in Colombia; (4) to keep the public security forces modern and effective,
      with a high level of legitimacy based on public confidence and support; and (5) to maintain
      the downward trend in all crime rates in the country’s urban centers. Republic of Colombia,
      Ministry of National Defense, “PCSD: Policy for the Consolidation of Democratic Secu-
      rity,” 2007, pp. 29–45.



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      creates an environment favorable to private investment and economic
      growth. Economic growth generates greater tax revenues, which permit
      investment in social development programs and meet the population’s
      needs.11
            To accomplish the goals of the PCSD, the Uribe government
      intensified the process of expanding and strengthening the Colombian
      security forces, which increased from 158,000 military and 104,000
      police personnel in 2002 to 267,000 military and 137,000 police per-
      sonnel in 2009, representing an overall increase of almost 50 percent.
      Largely through U.S. assistance, the Colombian armed forces were
      provided with enhanced mobility and intelligence capabilities. As a
      result, the Colombian armed forces have developed the capability to
      conduct operations in remote areas in a sustained manner and to hold
      areas previously controlled by the guerrillas. By 2004, the Colombian
      government was able to meet its goal of establishing a presence in every
      one of the country’s 1,098 municipalities, a critical component of the
      territorial recovery strategy.12
            At the same time, through a combination of pressure and incen-
      tives, the AUC agreed to participate in a process of demobilization
      that has led to the deactivation of some 32,000 members of its armed
      formations and their support networks. (The legal framework for the
      demobilization of paramilitaries is the Peace and Justice Act, which
      sets eight-year ceilings on the prison terms of individuals found guilty
      of criminal offenses and provides for rehabilitation programs for the
      rank-and-file and restitution to victims.)13 The process has been criti-
      cized as too lenient, but proponents of the program point out that a




      11 “PSCD: Policy for the Consolidation of Democratic Security,” pp. 17–18.

      12 República de Colombia, Ministerio de Defense Nacional, “Todos los municipios del país
      tienen Policía,” February 13, 2004.
      13 Olga Martin-Ortega, “Human Rights, Demobilisation and the Paramilitaries: The Ley
      de Justicia y Paz in Colombia,” paper prepared for the Annual Convention of the interna-
      tional Studies Association, San Francisco, March 26–29 2008.



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      harsher regime would not create incentives for members of paramili-
      tary groups to lay down their arms.14
            The weakening of the FARC and the demobilization of the AUC
      generated, in the Colombian government’s view, a new strategic sce-
      nario that requires a different strategy than the COIN-oriented strat-
      egy implemented under the first Uribe administration (2002–2006).
      As the threat posed by the FARC and other armed groups outside of
      the state’s control receded, new security problems arose, in particular,
      the emergence of criminal bands linked to narcotraffickers in areas
      previously influenced by the paramilitaries. The Colombian govern-
      ment’s initial goal of territorial control has now given way to what the
      Colombians call the “social recovery of territory.” This refers to the
      reestablishment of the presence of state institutions through integrated
      state action in areas recovered from illegal armed actors.15

      Insurgent Strategy
      Since its inception in the 1960s, the FARC has pursued a strategy of
      “protracted people’s war,” which was reaffirmed at the group’s landmark
      Seventh Conference in 1982. The strategy, based on Maoist, Vietnam-
      ese, and Cuban precepts, involved gradually extending the organiza-
      tion’s presence and control in the countryside and eventually isolating
      the government forces in the major cities. The final stage in the FARC’s
      strategy was to be a move to large-scale offensive operations, culminat-
      ing in a general uprising.16 This strategy of territorial control is linked
      to the FARC’s involvement in the cocaine drug trade, which generates



      14 Proponents of the AUC demobilization program also note that critics do not demand
      equally harsh treatment of former militants with regard to demobilization of the FARC.
      This is because some critics consider the FARC to be a “political” group while the AUC is
      regarded as a purely criminal group. This is, of course, a very questionable distinction.
      15 Discussions with Colombian officials, Bogotá, March 2009.

      16 The Salvadoran Farabundo Martí National Liberation Front (FMLN) pursued a similar
      three-stage strategy, culminating in the failed “Final Offensive” of November 1989. After the
      failure of the offensive, the FMLN concluded that there was no viable alternative to a politi-
      cal settlement.



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      much of the revenues that fund the organization’s operations (the other
      main sources of funds are extortion and kidnappings).17
            This strategy achieved its greatest successes in the second half of
      the 1990s, when the FARC was able to engage and defeat battalion-
      sized Colombian military forces, as mentioned above. In an interview
      published in El Tiempo on March 2, 1999, FARC leader Manuel Maru-
      landa observed that, as the result of the FARC’s military advances, the
      struggle had reached a new stage in which the Colombian government
      had been forced to agree to negotiations. Marulanda stated that the
      FARC would continue the struggle “until victory.”18
            Throughout the administration of Andrés Pastrana (1998­–2002),
      the FARC pursued a dual approach of combining peace negotiations
      with offensive military operations. The FARC used the negotiations to
      consolidate and expand the territory under its control or influence and
      to seek to secure domestic and international legitimacy. The negotia-
      tion process also created real strategic and operational advantages for
      the FARC—particularly the FARC’s ability to operate freely in the
      Switzerland-size “demilitarized zone” conceded by the government in
      southern Colombia to conduct the talks.19 In the end, however, the
      FARC overplayed its hand. Through a combination of dilatory tactics
      in the negotiations and provocations—most notably the hijacking of
      an aircraft with Senator Jorge Gechem Turbay onboard in mid-Febru-
      ary 2002, the FARC left the Pastrana government with no choice but
      to declare an end to the negotiations and reoccupy the demilitarized
      zone.20
            The FARC also attempted, without success, to leverage a “human-
      itarian exchange” of hostages that it held to recreate a new “demilita-


      17 The drug-insurgency link in Colombia has been well established. See the study by Ian
      Bannon and Paul Collier, eds., Natural Resources and Violent Conflict: Options and Actions,
      The World Bank, 2003.
      18 “Pastrana Desconoce Cómo Marchar Hacia Adelante,” El Tiempo, Bogotá, March 1,
      1999.
      19 See discussion of the history of Colombian peace negotiations in Rabasa and Chalk,
      Colombian Labyrinth, pp. 71–78.
      20 Camilo González Posso, “Negotiations with the FARC,” Conciliation Resources, 2004.




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      rized zone.” In discussions in 2006 and 2007 pursuant to a proposal
      advanced by the governments of Spain, France, and Switzerland, the
      FARC demanded the temporary demilitarization of the municipali-
      ties of Florida and Pradera in the department of Valle de Cauca in
      southwestern Colombia for the purpose of exchanging a group of
      political hostages for approximately 500 imprisoned FARC fighters.
      However, the two sides did not agree on conditions for the release of
      the hostages. In August 2007, the Colombian government accepted
      Venezuelan President Hugo Chávez’s offer to mediate but terminated
      Chávez’s mediation three months later, when he ignored the rules set
      by the Colombian government.21 The rescue or escape of many high-
      profile hostages over the past year has deprived the FARC of much of
      its leverage.22
             The FARC is increasingly using Venezuela as a sanctuary. Accord-
      ing to well-informed Colombian sources, 60 percent of the personnel
      of the Caribbean Bloc of the FARC are currently stationed in Venezu-
      ela. On the Venezuelan side of the border, the FARC maintains perma-
      nent camps with field hospitals.23 Venezuelan sources say that FARC
      fighters move freely in the Venezuelan states of Barines and Apure,
      where there has been a significant increase in kidnappings and other
      criminal activities.24


      21 IKV Pax Christi, “Kidnapping Is a Booming Business,” July 2008, p. 35.

      22 Most prominently, the rescue of former presidential candidate Ingrid Betancourt and
      14 others, including three Americans and 11 Colombian policemen and soldiers on July 2,
      2008. Betancourt was the FARC’s most valuable hostage.
      23 Discussions with well-informed Colombian sources, Bogotá, March 2009. Arturo Rodrí-
      guez Ataya, a pilot captured by Colombian authorities in 2005, worked for the Ríos drug
      cartel and the FARC, transporting drugs and wounded guerrillas between Colombia and
      Venezuela. Rodríguez Ataya gave the coordinates of FARC bases in Venezuela and photo-
      graphs of contacts with Venezuelan National Guard officers who provided arms to the FARC
      on instructions from Venezuelan military intelligence chief Hugo Armando Carvajal Bar-
      rios. ������������������������������������������������������������������������������������
            “Contactos de Chávez y Correa con las Farc no se limitan a los que figuran en compu-
      tador de Reyes,” Cambio, Bogotá, August 9, 2009.
      24 Discussions with well-informed Venezuelan sources, Caracas, March 2005; Giovanni
      Moreno Castro, “El conflicto colombiano: Expansión de sus protagonistas hacia las fron-
      teras,” Revista Arcanos, No. 10.



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      External Powers Supporting Belligerents
      There is compelling evidence that individuals in Chávez’s inner circle
      had been providing support to the FARC—ammunition, safe houses,
      documentation, and weapons, as well as political support. Until his
      capture by Colombian agents (or “kidnapping,” according to the Ven-
      ezuelan authorities, by bounty hunters who stuffed him into the trunk
      of a car and drove across the border to Colombia) in February 2005,
      FARC “foreign minister” Rodrigo Granda was living openly in Caracas
      with Venezuelan identity papers. Several members of the FARC Secre-
      tariat are believed to be living in Venezuela, including Ivan Márquez,
      who is charged of the FARC’s relations with Chávez, and Timoleón
      Jiménez, aka “Timochenko.” In addition, Chávez is believed to have
      provided thousands of Colombians, including many FARC members,
      with Venezuelan identity papers.25
            Documents recovered from the laptops of Raul Reyes, the FARC’s
      second in command, killed in a Colombian raid on his camp on the
      Ecuadoran side of the border on March 1, 2008, reveal close strategic
      coordination between Chávez and the FARC. There are references in
      the captured documents to the “300,” also called the “dossier,” which
      appears to refer to a $300 million donation by Chávez to the FARC,
      and discussion of business deals to be undertaken with the money.26
            One message from Ivan Márquez found in Reyes’s computer files
      describes the FARC’s plan to buy surface-to-air missiles, sniper rifles,
      and radios in Venezuela. Márquez wrote that the effort was facilitated
      by General Henry Rangel Silva, the head of DISIP, the Venezuelan
      intelligence service until July 2009, and Ramón Rodríguez Chacín, a
      former interior minister who served as Chávez’s emissary to the FARC


      25 Jens Glüsing, “How Hugo Chavez Courted FARC,” Spiegel Online International, June 4,
      2008.
      26 One of the deals discussed was an oil allotment from Venezuela to the FARC to sell out-
      side the country. Another was the sale of gasoline in Venezuela or Colombia, or setting up a
      company in Venezuela with the possibility of obtaining government contracts. “A letter from
      commanders Iván and Ricardo to the Secretariat dated February 8, 2008,” cited in Douglas
      Farah, “What the FARC Papers Show Us About Latin American Terrorism,” NEFA Founda-
      tion, April 1, 2008.



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      in the negotiations to gain the release of hostages.27 In July 2009, the
      Colombian military captured five Swedish Saab AB AT-4 85mm anti-
      tank weapons, which had been sold to the Venezuelan army, in a FARC
      camp.28
            The captured FARC documents also reveal close contacts between
      the FARC and senior officials in the government of Ecuadoran presi-
      dent Rafael Correa, including a meeting between Reyes and Ecuador’s
      then Internal Security Minister Gustavo Larrea.29 In a videotape cap-
      tured by the Colombian army in a FARC camp, Jorge Briceño, aka
      “Mono Jojoy,” the commander of the FARC’s Eastern Bloc and the
      most important FARC field commander, confirmed that the FARC
      contributed to Correa’s electoral campaign.30 (Mono Jojoy was killed
      in a strike on his camp by Colombian forces in September 2010.) Doc-
      uments found in the computer captured from another FARC figure,
      Gustavo Arbeláez, alias “Santiago” indicate that the Sandinista gov-
      ernment of Nicaragua was involved in providing arms and explosives
      to the FARC.31

      Key Strengths and Weaknesses of the Strategies
      The FARC is one of the longest-lasting insurgencies in the world. Over
      a period of 40 years, the FARC and the smaller Marxist guerrilla group
      ELN have survived efforts by the Colombian military to eradicate
      them. The FARC’s longevity is due to a variety of factors, including
      stable leadership (the FARC’s commander Marulanda led the group

      27 Simon Romero, “Venezuela Still Aids Colombia Rebels, New Material Shows,” New York
      Times, August 3, 2009. The U.S. Treasury froze the assets of Rangel Silva and Rodríguez
      Chacín, as well as those of a third Chávez associate, Director of Military Intelligence Hugo
      Armando Carvajal Barrios, for materially assisting the FARC’s narcotics trafficking. U.S.
      Department of the Treasury, “Treasury Targets Venezuelan Government Officials Support-
      ing the FARC,” HP-1132, September 12, 2008.
      28 Maite Rico, “Turbulencias en la región andina,” El Pais (Madrid), August 3, 2009.

      29 “A letter from Raul Reyes to Secretariat dated January 18, 2008,” cited in Farah, “What
      the FARC Papers Show Us.”
      30 The tape is at www.youtube.com/watch?v=n_dCRhwhsvk. It was made available by the
      Colombian government to the Organization of American States and Interpol.
      31 José Adán Silva, “Ejército manipulado,” El Nuevo Diario (Managua), November 9, 2008.




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      in various capacities from its founding in the 1960s until his death
      in March 2008); strategic flexibility; exploitation of Colombia’s poorly
      controlled borders; and, more important, its linkage to the illegal drug
      trade, which provides it with an estimated annual income of between
      $200 million and $400 million.32
            Although income from the drug trade was a critical factor in the
      FARC’s ability to carry out and expand its operations in the 1980s and
      1990s, the linkage with the drug trade was also a significant weakness.
      Involvement in the drug trade produced a loss of ideological cohesion,
      as some of the commanders became more interested in profits from
      the drug trade than in advancing the organization’s politico-military
      agenda. This connection, in fact, led many to consider the FARC as
      largely a criminal, rather than political organization. It also resulted in
      a loss of domestic and international support and probably doomed the
      FARC’s efforts to gain international recognition as a legitimate party
      to a civil conflict.
            From a strategic perspective, the FARC’s inability to execute the
      transition called for in the group’s strategy from small-unit to large-
      scale (battalion-size) operations or to sustain attacks on strategic cen-
      ters in Colombia’s populated heartland signaled the failure of its grand
      strategy.33 Nevertheless, despite strategic failure and (from the FARC’s
      perspective) a deteriorating politico-military environment, the FARC
      derives strength, as noted above, from its connections to Venezuela and
      to other governments that share Chávez’s regional agenda and hostil-
      ity to the Colombian government. The ability of these governments
      to support the FARC has been compromised by the revelations in the


      32 The FARC’s involvement in the illegal drug trade has been extensively documented and
      includes the participation of high-level FARC leaders. According to the captured Reyes
      documents, Reyes negotiated directly with an associate of the notorious drug lord Juan
      Carlos Ramírez Abadía, aka “Chupeta,” who was arrested in Sao Paulo, Brazil in August
      2007. Reyes wrote that Chupeta pocketed $15,000 (€9,680) per kilo of cocaine smuggled to
      Europe, where the market price is $30,000 (€19,360) per kilo, Glüsing, “How Hugo Chavez
      Courted FARC,” 2008.
      33 The strengths and weaknesses of the Colombian government and FARC strategies are
      analyzed in the section on Colombia in the RAND study Money in the Bank: Lessons Learned
      from Past Counterinsurgency (COIN) Operations, 2007.



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      captured Reyes documents, but covert support for the FARC on the
      part of these governments is likely to continue. Such support could
      enable the FARC to survive, but it is unlikely to transform the balance
      of forces in Colombia, in view of the impressive strengths displayed by
      the Colombian government.
            The main strength of the Colombian government is its demo-
      cratic character and popular and competent leadership. Despite imper-
      fections, Colombia has one of the longest records of elected civilian
      governance on the continent. Colombia has managed free and com-
      petitive elections and peaceful transfers of power despite chronic politi-
      cal violence and an escalating insurgency in the 1990s. President Uribe
      was regarded as a strong and competent leader and has enjoyed unprec-
      edented approval rates of over 70 percent for sustained periods of time.
      A poll released in February 2011 indicated that Uribe’s successor, Juan
      Manuel Santos, had an approval rate of 86 percent after six months in
      office.34
            Another factor was sustained U.S. support. U.S military assis-
      tance was extended with a minimal footprint and, of course, without
      the involvement of U.S. military personnel in combat operations. The
      United States provided critical equipment, training, and logistical and
      intelligence support to the Colombian forces.
            A key strength is the Colombian government’s successful adjust-
      ment to the FARC’s strategy and tactics. New operational and tactical
      approaches have enabled the Colombian armed forces to take the stra-
      tegic initiative away from the FARC, while the seize-and-hold strategy
      has substantially increased the territory under government control and
      driven the FARC away from the country’s populated heartland.
            Despite notable advances over the past several years, there are
      weaknesses in the Colombian institutional and military structures that
      could be exploited by the FARC if the Colombian government’s cur-
      rent efforts falter. One potential risk is the transition from the Uribe to
      the Santos presidency. Uribe’s leadership was instrumental in energiz-
      ing the Colombian government’s response to the FARC threat and in
      reestablishing government control over much of Colombia’s disputed

      34 “Santos’ Approval Rating at 86%,” Colombia Reports, February 8, 2011.




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      areas. As minister of defense, Santos was a key player in the Colom-
      bian counterinsurgency effort and has continued the Uribe adminis-
      tration’s consolidation strategy, but it is too soon to know whether the
      effort will be sustained. Second, despite the impressive progress made
      by government forces in reducing the FARC’s military strength and
      command and control capabilities, the FARC remains a threat. More-
      over, the FARC is likely to remain a viable organization as long as it
      maintains a significant presence and influence in the border regions as
      well as its sanctuaries in Venezuela. Third, the persistence of criminal
      networks constitutes a major and growing security challenge to the
      Colombian government. Finally, it is too early to tell what will be the
      impact of the reduction in U.S. assistance under Plan Colombia on the
      Colombian government’s ability to maintain the tempo of its counter-
      insurgency campaign.

      How the Parties Define “Victory”
      For the FARC, the definition of victory historically has meant the over-
      throw of the established political order in Colombia and its replace-
      ment with a socialist state. Realistically, the FARC leadership is aware
      that near-term military victory is not possible. In fact, at this stage the
      organization’s main concern is survival. The FARC near-term political
      goal is to achieve international legitimacy and recognition as a bellig-
      erent party in a civil conflict with the Colombian government.35 This
      is why the FARC has always insisted on international participation in
      so-called “humanitarian exchanges” of prisoners. A return to the level
      of recognition that the FARC enjoyed during the negotiations with the
      Pastrana government is probably the best that the FARC could realisti-
      cally attain under current circumstances.
            From the Colombian government’s perspective, as stated by a
      senior Colombian commander at a conference in Bogotá in March
      2009, victory should be irreversible, sustainable, and unquestioned, in



      35 In international law, belligerency is the status of parties legally at war. Belligerency pre-
      scribes rights and obligations in accordance with the laws of war. The Colombian state has
      always refused to acknowledge the FARC’s belligerency.



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      terms of both means and ends.36 For Colombian governments, going
      back to the first negotiations with the FARC in the 1980s, an accept-
      able end to the conflict is defined in terms of the FARC’s agreement to
      disarm and to participate as a normal political actor in the Colombian
      political process.37


      The Transition Period

      The transition period in Colombia, defined as the transition from
      counterinsurgency to securing stability, has begun to occur in certain
      parts of the country since about 2007. The beginning of this transition
      came about as the result of a change in the strategic environment in
      Colombia that began in 2002, when the outgoing Pastrana administra-
      tion declared an end to the demilitarized zone in southern Colombia
      that the FARC has been allowed to occupy during three years of peace
      negotiations. It should be noted, as described later in this report that
      the Colombians consider that counterinsurgency and stability opera-
      tions need to occur simultaneously in different regions, depending on
      the conditions in each region.
            President Uribe, elected in May 2002, inaugurated a more aggres-
      sive counterinsurgency strategy—the Democratic Defense and Secu-
      rity Policy and its military component, Plan Patriota—that sought to
      expand the presence of the state throughout the country and protect
      the population. Since then, the Colombian military has made signifi-
      cant headway in increasing the scope and pace of counterinsurgency
      operations, improving training, tactics, and interservice cooperation,
      and disrupting the guerrillas’ infrastructure and support networks.
      Because of this progress, the Democratic Defense and Security Policy

      36 Discussion at Conference on Contemporary Counter-Terrorism and Counter-Insurgency:
      The Colombian Experience, Bogotá, Colombia, March 30–April 2, 2009.
      37 A precedent could be the agreement that the government of President Virgilio Barco
      reached with an armed Marxist group, the M-19, in 1989. At the time the M-19 was the
      second largest guerrilla group in Colombia, after the FARC. The M-19 renounced armed
      struggle in exchange for an amnesty and guarantees of participation in the political process
      and became a political party, the Allianza Democrática M-19 or AD/M-19.



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      was superseded by the Policy for the Consolidation of Democratic
      Security.
            Since March 2008 there are indications that the FARC may be
      headed for strategic defeat. March 2008 witnessed the demise of three
      of the seven members of the Secretariat, the FARC’s highest decision-
      making body: Luis Edgar Devia Silva, alias Raúl Reyes, the organiza-
      tion’s second in command, was killed in a March 1 Colombian raid on
      his camp on the Ecuadoran side of the border. Iván Ríos was killed by
      one of his own bodyguard in order to collect a reward from the Colom-
      bian government. On March 26, 2008, the FARC confirmed the death
      of its leader, Manuel Marulanda Vélez, aka “Tirofijo.” According to
      the FARC, Marulanda died of a heart attack, although Colombian
      officials have suggested a connection between Marulanda’s demise and
      heavy bombing raids in the area where he was located about the time
      that he died.38 On September 23, 2010, the FARC’s leading strategist,
      Jorge Briceño, known by his nickname “Mono Jojoy,” commander of
      the FARC’s largest force, the Eastern Bloc, was killed in a large-scale
      military operation that targeted his camp in eastern Colombia.39
            In addition, a record number of FARC combatants have been cap-
      tured or have deserted, including some senior commanders. Among
      these was Nelly Avila Moreno, the one-eyed female commander known
      as Katrina, who had been with the FARC for 24 years and was the
      commander of the 47th front of the FARC in Antioquia when she sur-
      rendered in May 2008. Gustavo Arbeláez, alias Santiago, said to be the
      commander of the Manuel Cepeda Vargas urban front, was captured
      in the Pacific coast port of Buenaventura. José Márvel Zamora, also
      known as “Chucho” or “The Professor,” a member of the inner circle
      of Jorge Briceño, was captured in the central department of Tolima in
      October 2008.
            The overall strength of the organization has declined from
      between 15,000–20,000 fighters in 2000 to an estimated 7,000–9,000

      38 Interview with Defense Minister Juan Manuel Santos, in “Tirofijo está muerto,” Semana
      (Colombia), May 24, 2008.
      39 “Santos Congratulates Armed Forces on Death of ‘Mono Jojoy,’” Colombia Reports, Sep-
      tember 23, 2010.



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      today. At its peak the FARC was organized in some 70 fronts. Over the
      past two years, several of the most important fronts have been severely
      weakened or dismantled. The morale problems in the FARC are illus-
      trated by the fact that in order to maintain discipline, some FARC
      commanders have resorted to large-scale executions.40
            From a counterinsurgency perspective, the most significant devel-
      opment has been the collapse of the FARC’s command and control
      structure. This was manifested in Operación Jaque (Operation Check),
      the rescue of Ingrid Betancourt and fourteen other hostages in July
      2008. The operation succeeded entirely through deception. No vio-
      lence was employed. The Colombian military personnel that imper-
      sonated an international NGO squad were unarmed. The operation
      succeeded only because the commanders of the group that was holding
      the hostages were unable to verify the presumed instruction from the
      FARC central command to transport the hostages to a meeting with
      Alfonso Cano, the new FARC commander.41
            More than anything else, this dramatic episode illustrates the
      inability of the FARC Secretariat to communicate with its units in the
      field. And this has very profound consequences. If the central leader-
      ship cannot exercise command and control, it cannot pursue a coherent
      strategy. Moreover, loss of command and control accelerates centrifu-
      gal tendencies within the FARC. The FARC has never been a mono-
      lithic organization, because of the difficulties, even in the best of cir-
      cumstances, to communicate and control operations across the vast
      expanses of Colombia’s territory. Now with the selection of Alfonso
      Cano, a man who falls far short of Marulanda’s prestige and authority,
      as head of the Secretariat, the FARC is likely to become more factional-
      ized, with local commanders pursuing their own agenda.

      Managing the Transition
      The Colombian government’s focus has shifted from COIN to what
      the Colombians call “social recovery of territory,” which means the
      coordination and reestablishment of a state presence in areas that have

      40 Discussions with Colombian defense officials, Bogotá, March 2009.

      41 See Juan Carlos Torres, Operación Jaque: La Verdadera Historia, Bogotá: Planeta, 2009.




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      been, or are being cleared of guerrillas. The central elements of the
      analysis underlying the new strategy include: threats to democracy,
      the adaptation of irregular armed actors to the new strategic scenario,
      how the civil population is affected and the institutional capacity of
      the Colombian state. The goal is a coordinated, progressive, and irre-
      versible process, which guarantees a sustainable environment of peace
      and security, allowing for the strengthening of democratic institutions
      and the free exercise of civil rights and human development for all of
      Colombia’s citizens.42
            The challenges in implementing this effort are in some ways more
      complex than the COIN campaign itself. The effort requires identify-
      ing priority areas, assessing costs and benefits, defining common pur-
      poses in the interagency process, and establishing a structure of coor-
      dination and mechanisms of control and accountability.
            The concept for the Colombian post-COIN approach was devel-
      oped as a course project by the members the Colombian Higher War
      College (Escuela Superior de Guerra) 2003 National Security Course
      (CIDENAL). The project responded to a concern of the military about
      how to extend the reach of the state to territories that the state had never
      reached before. The concept was to create a structure to coordinate
      state action in prioritized conflict areas where the military was advanc-
      ing. When President Uribe received the proposal from the Ministry of
      Defense, he asked the U.S. Southern Command (USSOUTHCOM)
      for help in mounting a strategy. As a result, the Center for Coordinated
      Integrated Action (CCAI) was established on May 10, 2004.43

      Institutional Framework: Theory and Practice
      The CCAI was organized as a matrix of delegates of ministries and
      state agencies linked to the initiative. Each agency appointed a del-
      egate who was the liaison with the delegate’s home ministry or agency,


      42 República de Colombia, Presidencia, Centro de Coordinación de Acción Integral (CCAI)
      Briefing, Sustainable Consolidation, 2009.
      43 Discussions with Colombian officials involved in implementation of the Colombian gov-
      ernment’s stabilization plan, Bogotá, March/April 2009. One of the discussants was a par-
      ticipant in the 2003 CIDENAL course.



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      to ensure responsiveness by the ministry or agency.44 The permanent
      members of the CCAI are shown in Figure 3.1.
           In the Colombian government structure, the CCAI was placed
      under the Presidential Agency for Social Action and International
      Cooperation (Agencia Presidencial para la Acción Social y la Cooper-
      ación Internacional), known for short as Acción Social.45 This agency is
      located in the Office of the Presidency and is responsible for coordinat-
      ing domestic and international social development programs. Figure
      3.2 shows the structure of the CCAI.
           In addition, a number of state agencies are linked to, but not insti-
      tutionally part of, the CCAI. These include the High Council for Rein-
      tegration, the Agricultural Bank, the Colombian Institute for Rural
      Development (INCODER), The Higher Council of the Judiciary, the
      National Ombudsman, the National Department of Planning, the
      Administrative Department of Security (DAS), the Energy Solutions
      Planning Institute (IPSE), the Department of Environment, Dwelling
      and Territorial Development, the Department of Communications, the
      Department of Commerce, Industry and Tourism, the Department of

         Figure 3.1
         Membership of the CCAI


            • Acción Social (Ofﬁce of the Presidency)      • Department of National Education
            • Colombian Institute for Sports               • Department of Social Protection
              (Coldeportes)                                • Department of the Interior
            • General Command of Military Forces             and Justice
            • Ofﬁce of the Attorney General                • Ofﬁce of the High Commissioner
                                                             for Peace
            • Colombian Family Welfare Institute
              (ICBF)                                       • National Police
            • Department of Agriculture and Rural          • National Registry of Civil Status
              Development                                  • National Service for Learning
            • Department of National Defense                 (SENA)

          RAND MG1111/2-3.2




      44 Discussions with Colombian officials involved in implementation of the Colombian gov-
      ernment’s stabilization plan, Bogotá, March/April 2009.
      45 See Acción Social web site.




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                Figure 3.2
                Structure of the CCAI


                                       Office of the Presidency
                                            Acción Social


                                      CCAI Executive Committee
                                         (Comité Directivo)


                                       Operational Committee
                                        (Comité Operativo)




                   Civilian Coordinator                         Military Coordinator




                                          Technical Secretary

                RAND MG1111/2-3.3




      Culture, and the Department of Mines and Energy.46 In summary, the
      concept involves integrating and institutionalizing the activities of all
      relevant government agencies to support the stabilization effort.
            At the ground level, in every CCAI zone there is a padrino (liter-
      ally, godfather), a person appointed to coordinate all state activities in
      the zone and to generate responses. The padrino can be a delegate of
      a state agency or a contractor. In theory, each padrino is expected to
      have a strategic plan for his zone. In practice, according to an informed
      observer, one person in charge of a region with a complex set of prob-
      lems cannot do everything. To develop a strategic plan, a team of spe-
      cialists is needed, as well as operational support. In the view of this
      observer, the CCAI ended up as a facilitator for specific activities that
      did not reach the level of strategic plans. For instance, the jornadas
      médicas, where medical personnel were brought in for a day or two to


      46 Republic of Colombia, Acción Social, “Contemporary Anti-Terrorism: The Colombian
      Experience,” briefing, April 1, 2009.



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      provide services to the local population, have been very successful, but
      they represent a transitory presence of the state in the consolidation
      areas, while what is needed is a permanent presence.47
           Also, while in theory the delegates to the CCAI should be high-
      ranking officials in their agencies, in practice, these agencies have del-
      egated the responsibilities to individuals who do not have the authority
      to commit their agencies to support the CCAI’s work. In short, the
      theoretical framework for integrated action is good, but there were fail-
      ures of implementation of the concept of padrinos and at the level of the
      delegates of state entities to the CCAI central body.48


      Stages of Transition

      According to the Colombian strategic plan, the transition process is
      to be implemented sequentially: (1) territorial control; (2) stabilization
      or transition; and (3) consolidation. In each of these phases there is an
      effort to coordinate the work of state agencies to achieve the desired
      result, but with a different mix of efforts.49 As Figure 3.3 shows, in the
      phase of military operations, the main effort is by the military (blue
      line) and is focused on establishing territorial security. As the process
      moves to the second stage, transition, the military effort lessens, and
      the police and judicial system effort (green line), focused on providing
      protection to citizens and the economic, social and institutional devel-
      opment effort (orange line) increase. In the last phase, consolidation,
      the police and development efforts predominate.
            The first phase involves establishing territorial control over secu-
      rity recovery zones. These are areas where illegal armed groups are still
      present. The priority in these areas is to neutralize the threat posed by
      these groups, regain control of territory, and protect the population. In
      the absence of basic security, measures to promote economic, social, and

      47 Discussions with Colombian officials involved in implementation of the Colombian gov-
      ernment’s stabilization plan, Bogotá, March/April 2009.
      48 Discussions with U.S. and Colombian officials, Bogotá, March 2009.

      49 Republic of Colombia, “PCSD,” 2007.




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      Figure 3.3
      Composition of State Efforts in the Three Phases of the Transition Process




                                                                                       Desarrollo Económico,
                                                                                       Social e Institucional
      Esfuerzo del estado




                                                                                       Protección al
                                                                                       Ciudadano
                                                                                       Seguridad territorial
                                Operaciones
                                                     Transición       Consolidación
                                 militares



       SOURCE: Centro de Coordinación de Acción Integral (CCAI), “Plan de Consolidación
       Integral de la Macarena,” Bogotá, August 2008.
       RAND MG1111/2-3.4




      institutional development are not effective and could even be counter-
      productive if insurgents or criminals are able to capture the resources
      allocated by the government to economic and social programs. As the
      FARC fronts are pushed out, however, and the FARC’s militia struc-
      ture (through which the FARC enforces day-to-day control) dissolves,
      people become more willing to cooperate with the authorities. At this
      point, the transition stage begins.50
            Transition zones are those where the security forces have been
      able to neutralize the operational capability of illegal armed groups but
      where these groups maintain logistical support and information net-
      works. To consolidate control of these areas, the government needs to
      gain the support of the population. Consequently, the priorities are to
      reestablish law enforcement institutions, primarily the police and the
      judicial system, and to meet the basic needs of the population in the
      transition from an illicit, drug-based economy to a legal economy. In

      50 Briefing, Fusion Center, Vista Hermosa, Colombia, March 2009.




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                                    Counterinsurgency Transition Case Study: Colombia        63



      this stage, the government begins to create the conditions for economic
      and social development with infrastructure projects (roads and com-
      munications), technical support and access to credit, and basic social
      services (education, health, and sanitation).51
            A major challenge is responding rapidly to the economic disloca-
      tion generated by the eradication of coca crops. When coca disappears,
      there is a need to make up the income that farmers previously received
      from coca. Colombian officials decry the “mistaken view” of thinking
      about counterdrug operations only in terms of crops eradicated. Some-
      thing needs to be done for those previously engaged in coca cultiva-
      tion. The Colombian response is in three parts:
            In the short term, emergency food aid is provided. Packages of
      basic commodities are distributed to families every 15 days over a 3–4
      month period. The government tries to deliver the aid as soon as pos-
      sible after the coca crops are eradicated.
            In the medium term, the government provides help to farmers to
      grow subsistence crops, with a yield expected in 3–4 months. The gov-
      ernment provides seeds, fertilizers, technical assistance for production
      and marketing of corn and beans, and for improvement of pastures.
            Over the long term, the government’s expectation is that farmers
      will move to a credit-based commercial agriculture, producing crops
      such as cocoa, rubber, sugar cane and soybeans.52
            Consolidation zones are areas that have been cleared of antistate
      actors. In these areas, the main task is to reestablish the presence of
      state institutions and create the conditions for sustained economic,
      social, and institutional development. Priorities for state action include
      the following:

         • Strengthening local governance and encouraging citizen participa-
           tion. One of the preconditions of successful consolidation is to


      51 Briefing, Fusion Center.

      52 Republic of Colombia, “PCSD”; Centro de Coordinación de Acción Integral (CCAI),
      “Plan de Consolidación Integral de la Macarena,” 2008; discussions with Colombian offi-
      cials involved in implementation of the Colombian government’s stabilization plan, Bogotá,
      Colombia, March/April 2009.



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             enable municipal authorities to govern effectively and provide ser-
             vices to the citizenry.
           • Clarifying property rights. This is a significant problem in areas
             that have experienced large population displacement, such as
             Montes de María (see below). In a strategic consolidation zone, La
             Macarena, there is the additional problem that over half the area
             encompasses three national parks of high environmental value
             that were invaded by squatters during the period of FARC pre-
             dominance. One of the goals of the consolidation effort in La
             Macarena is to return these areas to their original condition as
             national parks by relocating the illegal settlers in lands appropri-
             ate for cultivation.
           • Building basic infrastructure, especially secondary and tertiary roads.
             This will help farmers bring their crops to market, as well as elec-
             tricity and telecommunications. Many of the territories recovered
             from the FARC and other illegal actors were isolated from the rest
             of the country. Connecting them to the national infrastructure
             network is key both to consolidating state control and to generat-
             ing economic and social development.
           • Providing education, health and social security services. The educa-
             tion, health and social security levels in consolidation areas are
             generally much lower than those of the country at large. The goal
             of the consolidation effort is to bring these areas to the national
             average or to narrow the gap as much as possible.
           • Promoting economic development. In promoting economic develop-
             ment, the government takes a market-oriented approach. Empha-
             sis is placed on giving small and medium-sized producers access
             to credit and technical support so that they can benefit from the
             opportunities created by the process of institutional consolidation
             in these areas.53




      53 CCAI, “Plan de Consolidación Integral de la Macarena.”




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      Implementation: What Is the Actual Experience of the Colombian
      Transition?
      The Colombian post-COIN plan has been implemented or is being
      implemented in three areas: (1) the Sierra Nevada de Santa Marta,
      a mountain range along Colombia’s northeastern coast inhabited by
      indigenous peoples—the Kogi, Arhuaco, and Wiwa; (2) La Macarena,
      an area that was formerly part of the demilitarized zone controlled by
      the FARC; and (3) Montes de María, an area near Colombia’s Carib-
      bean coast that was heavily contested by the FARC and paramilitaries.
      There are also plans to extend the plan to other regions such as eastern
      Antioquia, the Pacific coast, the central cordillera of the Andes (south-
      ern Tolima and Valle de Cauca) and the Caguán river basin.54
            Sierra Nevada de Santa Marta. This is the most successful CCAI
      project. First, the problem was correctly identified: The local indig-
      enous people were vulnerable to penetration by illegal armed groups
      into their lands. Together with the indigenous communities, the gov-
      ernment formulated a plan to establish townships on strategic points
      that controlled access to the zone. The government financed the con-
      struction of the housing in the townships (which followed traditional
      forms, but with better conveniences), clinics, and other facilities. The
      indigenous people preferred not to have police stationed in their town-
      ships. Rather, they rely on social pressure to keep the illegal armed
      groups out.55
            Two other factors contributed to security in the absence of state
      security forces: (1) the eradication of coca cultivation, which removed
      an incentive for illegal armed groups to move in; and (2) increased
      military pressure on illegal armed groups in the surrounding region,
      which has significantly reduced the threat from these groups. So far
      the system has worked well. However, it remains to be seen whether




      54 Republic of Colombia, Acción Social, briefing.

      55 Discussions with Colombian officials involved in the implementation of the Colombian
      government’s stabilization plan, Bogotá, March 2009.



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      the social control structure is strong enough to keep out illegal armed
      groups permanently, especially if there is a return to coca cultivation.56
            La Macarena. What happens in La Macarena could determine
      the future of Colombia’s post-COIN experiment. From the point
      of view of the FARC, La Macarena has high strategic and opera-
      tional value. The La Macarena region is composed of five municipios
      in the departments of Meta and Caquetá in southern Colombia (La
      Macarena, Mesetas, San La Uribe, Vista Hermosa, San Juan de Arama,
      and Puerto Rico). The region sits astride what in the FARC’s heyday
      were the group’s main logistic and mobility corridors and produced a
      large part of the coca that funded the FARC’s operations. In addition,
      La Macarena has symbolic importance as a historic stronghold of the
      FARC (some 100,000 people were under FARC control at one point)
      and, as the headquarters of the FARC’s Eastern Bloc, is its strongest
      military component.57
            The Colombian government’s decision to focus its efforts on recov-
      ery of La Macarena was informed by a number of considerations: the
      weakening of the FARC, the good prospects for consolidation within a
      reasonable period of time, and the availability of reconstruction fund-
      ing from a variety of sources (Plan Colombia, the Colombian govern-
      ment’s Acción Social funding, and international donors). In addition,
      the Colombian government sees La Macarena as a template for other
      social recovery efforts in other regions.58
            The consolidation plan for La Macarena differed from the CCAI
      template in that it was decided that that the padrino was not adequate.
      Instead, a coordination team was established to manage the transition,
      composed of a civilian manager (gerente civil), a military coordina-
      tor, and a police coordinator. These officials operate out of a Fusion
      Center (Centro de Fusión Integral) established in the town of Vista
      Hermosa. The civilian manager has a team of coordinators responsi-
      ble for six functional areas: property rights, institutional development,

      56 Discussions with Colombian officials involved in the implementation of the Colombian
      government’s stabilization plan, Bogotá, March 2009.
      57 Briefing, Fusion Center.

      58 Briefing, Fusion Center.




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      infrastructure and connectivity, social development, economic devel-
      opment, and transition initiatives (which refer to facilitating the transi-
      tion from a drug economy to a legal economy). The military coordina-
      tor interacts with local military units to provide security for civilian
      teams and logistics (transportation of personnel and materials). The
      police coordinator is the liaison with the police. The plan is that the
      police should be phased in gradually, as the military clear the area of
      guerrillas. There are police contingents in the main towns of all six
      municipios that together constitute the zone of La Macarena.59
            Montes de María. Unlike the zone of La Macarena, Montes de
      María was never a significant coca producing area, but in previous
      years it had strategic importance as a corridor for the transport of drugs
      to the Caribbean coast. In addition, the important Caño Limon–Cov-
      eñas oil pipeline and two major highways from Bogotá to the coast
      traverse the region, which allowed irregulars in the area to extort pay-
      ments. In the 1990s and early 2000s, two FARC fronts, ELN guerril-
      las, and paramilitary forces heavily contested the area. There were some
      notorious paramilitary massacres of civilians in the villages of Chengue
      and El Salado, which caused significant population displacements.
            The killing of Martín Caballero, the FARC kingpin in northern
      Colombia, in an air strike in October 2007, and the subsequent dis-
      banding of his forces, together with the demobilization of the para-
      militaries, marked an end to the violence in the region. The govern-
      ment priority now is to facilitate the return of displaced persons and
      to consolidate the post-violence environment. The initial strategy was
      to establish control of territory by permanently stationing troops and
      police in all of the municipios. Civilian agencies are to be gradually
      introduced.60
            An indicator of the improvements in security and in the economic
      prospects of the area is that a hectare of land in the locality of Chengue,


      59 Discussions with Colombian officials involved in the implementation of the Colombian
      government’s stabilization plan, Bogotá, March 2009.
      60 The author visited the town of Chengue in March 2009. Now that security has been
      established, the population is gradually returning, but it has not yet reached the pre-massacre
      level.



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      which was going for 100,000­–200,000 pesos (US $52–$104)61 in June
      2007, was selling at 2 to 3 million pesos (US $780–$1170) as of March
      2009, over a tenfold increase in price.62 This, in turn, has created a
      potential social problem, because of the temptation for small landhold-
      ers to sell their land rights to outsiders for ready cash.63
            From the military’s perspective, gaining the trust and support of
      the population is the key to the transition process. This requires pro-
      viding social services to the community. However, in Montes de María
      the civilian agencies have not been adequate to the task. The military
      does not want to do the work of the civil authorities, but it is clear
      from observations made during a trip to the region in the spring of
      2009 that the military, the Colombian Navy and Marines in particular
      (the First Marine Brigade has responsibility for the area) are doing the
      heavy lifting in trying to bring economic and social development to the
      region. For instance, the Colombian Navy has flown in executives from
      Colombian food processing and distribution industries to arrange for
      planting and marketing of cocoa and avocados, and military engineers
      are improving roads to bring agricultural products to market. From
      an institution-building standpoint, the Marines have promoted com-
      munity organizing and arranged workshops for community leaders.64
            The Colombian strategic consolidation plan contemplates extend-
      ing the process to other priority areas, as shown in Figure 3.4. Aside
      from (1) the Sierra Nevada de Santa Marta, (2) La Macarena, and (3)
      Montes de María, discussed above, the Colombian government has
      consolidation projects under way or in the planning stage in the fol-
      lowing priority areas: (4) the Caguán river basin, (5) the Zona Sur in
      western Guaviare, and (6) Putumayo. These are areas in the south of


      61 The exchange rate was 1,925.5 pesos per dollar in June 2007.

      62 The exchange rate was 2,561.21 pesos per dollar in March 2009.

      63 Clarification of property rights is a major challenge in consolidation. Usually, small land-
      holders do not have titles to the land. What they have is a legal document that certifies that
      they have been in possession of the land, which confers certain rights. Without titles, how-
      ever, they cannot gain access to credit.
      64 This discussion of Montes de María is based on a field trip to the region and discussions
      with Colombian military officials involved in the transition process there, March 2009.



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         Figure 3.4
         Consolidation Regions




                                                         1

                                                 3



                                                         14
                                          12
                             10
                                               13
                                                                  15




                                 11


                             8            9
                                                     2

                     7                               4        5

                                      6




         SOURCE: Based on República de Colombia, Presidencia, Centro de
         Coordinación de Acción Integral (CCAI) Briefing, Sustainable
         Consolidation, 2009.
         RAND MG1111/2-3.5




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      Colombia that in the past were FARC strongholds and now constitute
      the focus of the Colombian government’s counterinsurgency and stabi-
      lization efforts. On the Pacific coast, the priority areas are (7) Nariño,
      (8) Cauca and Valle de Cauca, (10) the lower and middle Atrato river
      basin, and (11) the south of Chocó. These areas play an important role
      in the smuggling of illegal drugs via the Pacific route. (9) The central
      cordillera in the south of Tolima and Valle de Cauca, and (12) the
      south of Córdoba, and (13) eastern Antioquia are also priority areas,
      as are (14) Catacumbo and (15) Arauca, near the Venezuelan border.


      Gaps

      The main gaps in the transition capabilities of both the Colombian gov-
      ernment and its principal supporting state, the United States, relate to
      resources. The CCAI does not have its own budget and relies on other
      government agencies and international aid for funding and personnel.
      Moreover, the consolidation project is resource-intensive and some offi-
      cials involved in the project are pessimistic that the Colombian govern-
      ment can muster enough resources to replicate the Macarena experi-
      ment in other regions. The same is true on the U.S. side. USAID’s
      Office of Transition Initiatives has played a critical role in assisting the
      Colombian government’s consolidation initiatives by hiring key staff to
      manage logistics for the civilian elements of the consolidation plan and
      helping to develop a communications strategy for the consolidation
      effort. OTI funds small-scale community-infrastructure projects and
      quick-impact, small-scale income-generating activities to increase citi-
      zen confidence in the state’s commitment and ability to resolve press-
      ing needs. OTI activities in Colombia, however, were scheduled to be
      terminated in mid-2010.65


      65 USAID/OTI Colombia Field Report, October–December 2008.




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      Conclusions
      Assessment of Colombian Transition Plan
      The effectiveness of the Colombian government’s program of social
      recovery of territory is measured in terms of four indicators:

         1. Indicators of violence. The extent to which these indicators
            (for instance, number of homicides, kidnappings, and terrorist
            attacks) decrease to the national average.
         2. Social indicators rise to the national average.
         3. Economic development strengthens.
         4. Governance strengthens.
         5. With regard to the last two indicators, the Colombian authori-
            ties do not believe that it is reasonable to expect that previously
            “ungoverned territories” can rapidly reach the level of economic
            development and governance of the rest of the country, but the
            expectation is that there can be measurable improvements in
            these areas.66

            From an outside perspective, the Colombian transition plan is
      very solid. It has been successfully implemented in La Macarena. The
      military has been successful in clearing and holding the ground. There
      is a police presence in the towns. Illegal crop eradication is proceeding.
      Civilian agencies are providing services to the population, although
      their presence is not as robust as it could be. Some agencies are very
      strongly committed: for instance, the National Institute of Roads
      (INVIAS), the Electric Power Enterprise (ENSA), and some offices in
      the Ministry of Agriculture. On the other hand, according to well-
      informed sources, the ministries of Education, Health, and Justice are
      not seriously engaged.67
            The plan is working in La Macarena because of two factors: the
      permanent presence of the security forces and the population’s belief


      66 Discussion at Conference on Contemporary Counter-Terrorism and Counter-Insurgency:
      The Colombian Experience, Bogotá, Colombia, March 30–April 2, 2009.
      67 Discussions with U.S. and Colombian officials, Bogotá, March 2009.




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      that the civilian agencies will respond to its needs (and these agencies
      are indeed responding to some extent). The strong support of the Min-
      istry of Defense and the military for the consolidation plan has been
      key to its success. In theory, civilians should be in charge of the process
      once security has been established, but the military have assumed the
      leadership of this effort by default. The challenge in La Macarena—
      and elsewhere in Colombia—is to motivate some of the civilian agen-
      cies to become more actively engaged.68

      Prospects for the Future
      The success of the Colombian state consolidation project—and the
      future post-COIN environment—will be affected by a variety of fac-
      tors. One is the change of leadership in Colombia from President Uribe
      to President Santos. As noted above, the success of the Colombian
      counterinsurgency effort was due to a large extent to Uribe’s leadership
      and the high levels of support that he enjoyed throughout his presi-
      dency. President Santos’ challenge is to maintain political support and
      commitment to the state consolidation effort.
            External support will also likely continue to diminish. U.S. assis-
      tance to the Colombian military and police has been declining from
      $591.1 million in FY 2007 to $268.055 million in FY 2010 (Admin-
      istration request) and is expected to continue to decline. The decline
      in U.S. military and police assistance will impose painful choices on
      the Colombians. Moreover, as noted above, USAID/OTI assistance to
      the consolidation program is scheduled to terminate in 2010. The criti-
      cal question is whether Colombia will be able to compensate for the
      declining levels of U.S. assistance with national funds.69




      68 Discussions with U.S. and Colombian officials, Bogotá, March 2009.

      69 Discussions with U.S. and Colombian officials, Bogotá, March 2009.




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      What Capabilities Does the United States Need to Have
      or Need to Develop?

      The United States is not engaged in kinetic operations in Colombia. Its
      indirect approach to Colombia focuses on building capabilities through
      equipment transfers, logistical support, and training of Colombian per-
      sonnel. The capabilities that the United States needs, therefore, reside
      in the area of building partnership capacity (BPC). These capabilities
      must to be closely integrated with the Colombian government’s coun-
      terinsurgency strategy to fill gaps in Colombian capabilities. On the
      military side, major potential gaps are in maintenance of rotary wing
      and fixed wing aircraft; support and training for riverine operations;
      communications and intelligence; institutional transformation, includ-
      ing the Colombian military justice system, and military education.70
      However, as the COIN effort moves into the consolidation phase, the
      United States will have to build greater civilian capabilities to support
      the shift that is foreseen in the Colombian strategic plan from a mili-
      tary to a civilian focus.




      70 Discussions with U.S. and Colombian officials, Bogotá, April 2009.




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      CHAPTER FOUR

      Counterinsurgency Transition Case Study:
      El Salvador




                     Map of El Salvador




                     SOURCE: CIA World Factbook.
                     RAND MG1111/2-4.1




      Introduction

      When war broke out in El Salvador in 1981, it was readily interpreted
      as another front in the global confrontation between capitalism and
      communism. Sponsored by the Soviet Union and Cuba, the left-
      ist rhetoric of the Farabundi Marti National Liberation Front raised
      the specter of a communist takeover in Central America. To the U.S.
      administration, this outcome was unacceptable: Having lost Nicaragua



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      to the Sandinistas in 1979, President Ronald Reagan feared that with-
      out U.S. intervention, “new Cubas will arise from the ruins of today’s
      conflicts.”1 The language was of “drawing a line” over El Salvador by
      helping the government counter the rebel threat.
            Although El Salvador’s conflict fitted nicely within the Cold
      War narrative, its roots were deeper and related to the country’s long-
      running bifurcation of power and wealth. While under Spanish colo-
      nial control, a small percentage of the population was elevated by the
      Spanish crown to act as stewards of its lands. This system engendered
      a rich-poor divide between a small Salvadoran elite and a large popu-
      lation living in extreme poverty, which persisted beyond El Salvador’s
      independence from Spain in 1839. By the late 1920s, El Salvador’s
      middle class had all but disappeared. At this point, economic decline,
      combined with political marginalization, prompted many rural poor to
      mobilize and in 1930 the Communist Party of El Salvador (PCS) was
      formed. When President Arturo Araujo allowed the PCS to participate
      in the coming elections, he was overthrown in a military coup spon-
      sored by the landed elite. Their theft of the ensuing election prompted
      an uprising, spearheaded by Agustín Farabundo Martí. The revolt was
      swiftly crushed by the security forces, which in a few weeks killed
      between 10,000 and 40,000 people. These events, since referred to as
      la Matanza, have strongly informed El Salvador’s politics.
            The inequalities persisted into the period preceding the insurgency
      and provided the social base of the insurgent movements. During this
      period, beginning in the 1960s, however, there was considerable social
      change. Urban society became more complex with the development of
      industrial labor and a modern middle class of technicians, managers,
      and intellectuals. New parties and organizations—the most important
      of which was the Christian Democratic Party—sought to represent the
      interests of the urban sectors. By contrast, the traditional mechanisms
      of social control remained largely intact in the countryside.
            The 1977 presidential election was a critical turning point. The
      Christian Democratic–led opposition nominated a retired military

      1  “Transcript of President’s Address on Caribbean Aid Program,” New York Times, Febru-
      ary 25, 1982, p. 14.



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      officer in the hope that he would be acceptable to the military and the
      elite. The outgoing administration, however, imposed the election of
      its candidate, a former minister of defense. The outcome provoked a
      crisis of legitimacy, at a time when the country was facing a campaign
      of terrorism by emerging Marxist revolutionary organizations and an
      uncertain international environment because of the Sandinista take-
      over in Nicaragua in 1979.
             This history forms the backdrop to the emergence of the Far-
      abundi Marti National Liberation Front (FMLN), named after the
      leader of the 1932 uprising. Formed in 1980, the FMLN comprised five
      leftist groups seeking to trigger a popular uprising to reverse “decades
      of suffering [and] more than 50 years of military dictatorship.”2 The
      origin of the Salvadoran guerrillas can be traced to splits within the
      PCS in the late 1960s. PCS Secretary-General Cayetano Carpio broke
      with the party in 1969 and established the Popular Liberation Forces
      (FPL), which pursued a strategy of Vietnamese-style people’s war. The
      People’s Revolutionary Army (ERP) originated in a breakaway fac-
      tion of the FPL and derived its inspiration from Che Guevara’s theo-
      ries of guerrilla warfare. A breakaway faction of the ERP established
      the Armed Forces of National Resistance (FARN). In the late 1970s
      these groups carried out a campaign of terrorism (the most notable
      attack being the kidnapping and assassination of Foreign Minister
      Mauricio Borgonovo in 1977), combined with attacks on small police
      and National Guard units. In 1980 the armed Marxist organizations
      were integrated, under Cuban auspices, into a unified military com-
      mand with headquarters in Managua, Nicaragua, to direct the coming
      armed struggle. The insurgents had sanctuaries in the bolsones—
      disputed border areas between El Salvador and Honduras—and across
      the Gulf of Fonseca in Nicaragua.
             The response of the authorities and the paramilitary groups of the
      right to the challenge of the radical left was to step up the counterter-
      ror operations, which extended to political activists who were seeking
      to organize urban and rural workers. The most spectacular assassina-

      2 “FMLN: Call for a General Offensive (January 1981),” in Robert Leiken and Barry
      Rubin, eds., The Central American Crisis Reader, New York: Summit Books, 1987, p. 421.



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      tion was that of Archbishop Oscar Arnulfo Romero of San Salvador
      in March 1980, killed while he was conducting Mass. The murder is
      believed to have been ordered by Major Roberto D’Aubuisson, who later
      founded the right-wing political party Alianza Republicana Nacion-
      alista or National Republican Alliance (ARENA). As the Kissinger
      Commission on Central America noted, the common denominator of
      these methods was the systematic use of mass reprisals and selective
      killings and torture to dissuade the civil population from participating
      in the insurgency or from providing any help to the insurgents. The
      methods, the Commission stated, magnified congressional pressures
      against U.S. military assistance to El Salvador, which in turn made
      more difficult the pursuit of an enlightened counterinsurgency effort.3
            In the early years of the conflict, there were an estimated 6,000
      front-line guerrilla fighters and a slightly larger number organized in
      militias and support units. Over time, the latter forces were increas-
      ingly well armed and involved in operations with the front-line forces.
      By the mid-1980s the Salvadoran armed forces grew to about 37,000
      men.4 The FMLN launched a ‘final offensive’ on January 10, 1981.
      Although the offensive failed to overthrow the government, it estab-
      lished the FMLN as a credible force. And it prompted the United
      States to provide El Salvador with increased military aid and advice,
      lest the country succumb to the same fate as Nicaragua.
            The stage for a prolonged civil war was thus set. Seeking to assist
      the El Salvadoran government, the Unite States provided support to
      its ineffective and brutal military and pushed socioeconomic reforms
      intended to address the root causes of the conflict. U.S. leverage was low
      because the U.S. Congress limited the American military presence in
      El Salvador to 55 advisers, who were furthermore barred from accom-
      panying the armed forces of El Salvador (ESAF) on combat opera-
      tions. U.S. attempts at nonmilitary reforms also progressed slowly: El
      Salvador adopted a new constitution in 1983 and held general elections
      in 1984, in which José Napoleón Duarte from the center-right Chris-

      3  Report of the National Bipartisan Commission on Central America (Kissinger Commission),
      January 1984, pp. 95–96.
      4    Report of the National Bipartisan Commission on Central America, p. 98.



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      tian Democrats was elected president, but the right wing control over
      the country’s legislative, judiciary, and military drastically limited the
      scope for change.


      Strategy (Pre-Transition)

      By the mid-1980s, the conflict had reached a stalemate: The ESAF
      had prevented the government from being toppled, but the government
      was incapable of defeating the FMLN, which continued to disrupt the
      nation’s economy and stability through sporadic attacks, economic
      vandalism, and sabotage. These actions undermined ESAF morale
      and strained the economy, but they did not threaten the government’s
      survival.
            The stalemate was unsatisfactory to all sides, but not sufficiently
      so to force a change in approach. The FMLN posed a considerable
      threat to the Duarte government, but the government and its Amer-
      ican patrons were convinced of the incumbent’s advantage over the
      guerrillas. Within the Reagan administration, frustration mounted
      over its lack of leverage and over the congressional skepticism at what
      was after all a commitment of $1.5 million per day. Nonetheless, attri-
      tion was deemed preferable to changing course, if only to deny the
      FMLN a chance at all-out victory.5 The new constitution, the 1984
      elections, and the ESAF’s gradual professionalization undermined the
      FMLN’s appeal and influence, yet the group still controlled one-third
      of the countryside and elected to keep fighting, perhaps to sap U.S.
      resolve and work toward victory on its terms.6
            In short, none of the parties felt sufficiently threatened to com-
      promise. In the first peace talks, held in La Palma, Chalatenango, in
      1984, the government refused to discuss reforms to the constitution,

      5 Todd Greentree, Crossroads of Intervention: Insurgency and Counterinsurgency Lessons in
      Central America, Westport, Conn., & London: Praeger Security International, 2008, p. 155.
      6  Colonel Lyman C. Duryea, former U.S. Defense Attaché in El Salvador, cited in Max G.
      Manwaring and Court Prisk, eds., El Salvador at War: An Oral History of Conflict from the
      1979 Insurrection to the Present, Washington, D.C.: National Defense University Press, 1988,
      p. 377.



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      something that FMLN’s far-reaching socioeconomic reforms would
      clearly require. Duarte’s precondition was presented as his own, but
      was also dictated to him by the overbearing military.7 The impasse was
      one reason that a later U.S. Central Intelligence Agency (CIA) report
      described Duarte’s second call for talks in June 1986 as “intended pri-
      marily as a dramatic public relations gesture.”8
            In the first half of the 1980s, the conflict was characterized by
      a cyclical pattern in which the initiative swung between government
      and guerrilla forces. But in the second half of the decade, the politico-
      military balance shifted in favor of the government as the result of a
      combination of guerrilla weaknesses and government strengths. The
      main guerrilla weaknesses were the following:

           • Lack of mass support. The FMLN and its political front, the FDR,
             never enjoyed majority support among the population. Lack of
             mass support was manifested in the failure of several “final offen-
             sives” (1981, 1982, 1989) to provoke a mass uprising as anticipated
             by the FMLN. The guerrillas’ strategy of systematic attacks on
             the country’s infrastructure also cost them popular support.
           • Lack of political legitimacy. The guerrillas were weakened politi-
             cally by a sustained democratic process that brought to power
             a government with credible democratic credentials, led by José
             Napoleón Duarte’s Christian Democratic Party.
           • Disunity. Although the various guerrilla forces were formally uni-
             fied in the FMLN, each retained its separate identity, doctrine,
             and area of operations. Moreover, suspicions and rivalries among
             the groups’ leaders continued and sometimes turned deadly.
           • Inability to prevent U.S. assistance to the Salvadoran government.
             Until the signing of the peace agreement in 1992, FMLN sup-
             porters and sympathizers mounted a campaign in the United
             States and Europe to bring about the end of U.S. and interna-


      7    Manwaring and Prisk, eds., El Salvador at War, p. 377.
      8 U.S. Central Intelligence Agency, Directorate of Intelligence, “El Salvador’s Insurgents:
      Resurrecting an Urban Political Strategy,” An Intelligence Assessment, Washington, D.C.:
      Central Intelligence Agency, September 1986, p. 11.



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            tional support of the Salvadoran government—a campaign facili-
            tated by death squad activities.
          • Reliance on outside support. One of the strengths of the
            insurgency—Cuban and Nicaraguan support—became a liabil-
            ity when that support declined as a result of changes in the inter-
            national environment after the collapse of the Soviet Union and
            the end of Soviet assistance to Cuba and Nicaragua. The Sandini-
            sta government of Nicaragua also came under additional pressure
            because of U.S. support of the Nicaraguan resistance (which some
            U.S. officials presented as reciprocal treatment for the Sandinistas
            for their support of the Salvadoran insurgency).9

           The strengths of the government side were in some respect the
      obverse of the guerrillas’ weaknesses. The main strengths of the Salva-
      doran government during the civil conflict were the following:

          • Political legitimacy. In the 1980s El Salvador began a democratic
            experiment with a series of free elections (constitutional assembly
            and legislative elections in 1982, 1985, 1988 and 1991; and presi-
            dential elections in 1984 and 1989) that delivered a government
            that had legitimacy and broad popular support.
          • Duarte’s leadership. As leader of the Christian Democratic oppo-
            sition to the pre-1979 military regime Duarte had great personal
            credibility. His leadership was instrumental in keeping El Salva-
            dor on a democratic track, curbing excesses by the security forces,
            and maintaining international support for El Salvador.
          • International support. U.S. and international support was critical
            to the survival of the Salvadoran government. Despite the inter-
            national campaign, international support for the Salvadoran gov-
            ernment increased significantly during the conflict.
          • Restructuring of Salvadoran military and security forces. At the onset
            of the insurgency the Salvadoran armed forces were a barracks-

      9   Angel Rabasa, Lesley Anne Warner, Peter Chalk, Ivan Khilko, and Paraag Shukla, Money
      in the Bank—Lessons Learned from Past Counterinsurgency (COIN) Operations: RAND Coun-
      terinsurgency Study—Paper 4, Santa Monica, Calif.: RAND Corporation, OP-185-OSD,
      2007, pp. 42–47.



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            bound, defensively minded organization with severe deficiencies
            in command and control, tactical intelligence, tactical mobility,
            and logistics. The U.S. security assistance program was designed
            to address these deficiencies and transform the Salvadoran armed
            forces’ strategy, doctrine, training, and equipment, with a mini-
            mum of direct U.S. involvement. In formerly guerrilla-held areas,
            the government implemented a civic action program that con-
            sisted of rebuilding the social and economic infrastructure and
            training civil defense units to protect key targets and free the mil-
            itary to engage in offensive operations.10

            Negotiations were again attempted in January 1989, when the
      FMLN offered to join the government in exchange for a postpone-
      ment of the presidential elections in March. Duarte initially rejected
      the proposal but, encouraged by the United States, he reconsidered
      his position. The rebels elaborated on their offer: They would support
      the mainstream leftist party, Democratic Convergence, in the election,
      provided the election was postponed to September. They also wanted
      the army to be reduced to its prewar level, the police to be demilita-
      rized, and the perpetrators of abuses to be punished; in return, FMLN
      dropped its demand for transitional power-sharing and for integration
      into the army. The efforts came to naught, as Duarte dismissed the six-
      month postponement of the election as unconstitutional and insisted
      on a ceasefire prior to talks.
            While this effort fared no better than previous attempts, the con-
      text was different, signaling a first step in El Salvador’s transition. Most
      critical was the change in U.S. leadership. The FMLN had predicted
      that “no matter what kind of administration follows [Reagan’s], the
      tendency will be to diminish United States support to the govern-
      ment”; they therefore waited until Reagan was out of office to make
      their proposal.11 In a sense, their analysis was correct, because President


      10 Rabasa et al., Money in the Bank.

      11 Guillermo M. Ungo, President of the Revolutionary Democratic Front, as cited in Man-
      waring and Prisk, eds., El Salvador at War, p. 476. See also William Branigin, “Salvadoran
      Rebels Amplify Cease-Fire Offer,” Washington Post, February 21, 1989.



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      George H. W. Bush quickly changed tack in El Salvador. Two weeks
      into his administration, Vice President Dan Quayle traveled to San
      Salvador to voice his tentative support for the rebels’ peace offer. Later
      that month, the State Department backtracked on its opposition to
      talks and instead urged a negotiated settlement.12 In March, Guillermo
      Ungo, then president of the Revolutionary Democratic Front (FDR),
      an FMLN component organization, traveled to Washington, D.C., for
      talks.
            One reason for America’s changed stance was the developments in
      the Soviet Union. The drawdown of the Cold War signaled that aid to
      El Salvador would be reduced. U.S. intelligence reports also suggested
      that the Kremlin was pressuring the FMLN “to curtail military activi-
      ties and seek a negotiated settlement.”13 The changing strategic land-
      scape eroded the ideological lens through which the U.S. had viewed
      the El Salvadoran conflict and placed in doubt the need for total vic-
      tory. Instead, the priority for Bush was to find an acceptable conclu-
      sion to its commitment in El Salvador, one that would end the conflict,
      allow for a U.S. withdrawal, but nonetheless safeguard the country’s
      democracy. This outcome would require negotiations with FMLN.
            Despite these propitious circumstances, the prospect of negotia-
      tions appeared much weaker following the March 1989 elections, in
      which the Christian Democrats lost to ARENA, a right-wing party
      close to the land-owning elite and military. The new president, Alfredo
      Cristiani, sought to reassure his friends in Washington, D.C. and his
      local constituents with promises of respecting human rights and of
      pursuing negotiations, but it was difficult to persuade the U.S. Con-
      gress, particularly given the recent increase in death-squad activity. It
      was feared that Cristiani would be unable to control (or would become
      a front for) the more radical elements within his party.


      12 See Rita Beamish, “Quayle Tells Salvadoran Military that Aid Depends on Rights
      Efforts,” Associated Press, February 3, 1989; Jim Anderson, “State Department Shifts on El
      Salvador,” Associated Press, February 27, 1989.
      13 U.S. Central Intelligence Agency, Directorate of Intelligence, “El Salvador: The FMLN
      After the November 1989 Offensive,” Washington, D.C.: Central Intelligence Agency, Janu-
      ary 26, 1990, p. 3.



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            In the end, Cristiani proved a more potent negotiator than his
      predecessor, as his political loyalties gave him more room for maneuver.
      For the initial five months of his administration, however, the situation
      in El Salvador did not change. In September 1989, the FMLN presented
      the government with a peace offer and proposed fundamental reforms
      to the armed forces, judiciary, and the agrarian system.14 Despite some
      promising confidence-building measures, neither side was ready to
      make major concessions. “We are flexible,” a FMLN spokesman said,
      “but they are making a mistake if they think we are negotiating from
      weakness.” The government, meanwhile, dismissed FMLN as “a small
      reality [that] cannot oblige the government to change the republic’s
      constitutional system.”15


      The Transition Period

      The turning point came with the FMLN’s second “final offensive,”
      launched on November 11, 1989, in which the rebels entered the capi-
      tal and made some territorial gains before gradually being repelled to
      the city’s outskirts.16 The offensive and its associated events turned the
      balance of power in El Salvador into a “mutually hurting stalemate.”17
      The position of weakness that both sides had denied was mutually
      exposed: Neither side could hold out for a better outcome than a nego-
      tiated solution.
            For the rebels, the two sought-after effects of its offensive—a gov-
      ernment surrender or negotiations on the FMLN’s terms—had not

      14 Philip Bennet, “Salvador Rebels Say Peace Plan Would Give US a Low-Cost Exit,” Boston
      Globe, September 15, 1989.
      15 See Douglas Tweedale, “Little Hope Seen for Quick End to Salvadoran Civil War,”
      United Press International, October 16, 1989; Douglas Grant Mine, “Military Command
      Rejects Rebel Purge Demand as ‘Ridiculous,” Associated Press, October 20, 1989.
      16 For the chronology and aftermath of the final offensive, see U.S. Central Intelligence
      Agency, “El Savaldor: The FMLN After the November 1989 Offensive.”
      17 Cynthia J. Arnson, “El Salvador and Colombia: Lessons of the Peace Process,” in Mar-
      garita S. Studemeister, ed., El Salvador: Implementation of the Peace Accords, Peaceworks No.
      38, Washington, D.C.: United States Institute of Peace, January 2001, p. 41.



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      materialized; and a massive popular uprising did not appear likely.18
      Moreover, the FMLN’s fighting power had been reduced and aid from
      the Soviet Union was drying up. The El Salvador government could
      have capitalized on all of this, had it not been for three developments.
      First, the offensive punctured the belief that the rebels were no longer
      capable of major offensives. The FMLN was certainly weakened,19
      but it was no spent force.20 Second, during the counteroffensive, the
      ESAF’s Atlacatl Battalion, an elite U.S.-trained unit, killed six Jesuit
      priests and two housekeepers. The act gained immediate media notori-
      ety and inflamed an already heated debate in the U.S. Congress about
      U.S. support of the ESAF and the regime more generally. Henceforth,
      securing military aid would become far more politically difficult.21
      Third, the FMLN’s infiltration of San Salvador’s wealthier suburbs
      convinced many within the private sector that a negotiated solution
      was now necessary; others were disturbed by the overly autonomous
      military and wanted to cut it down to size.22
            El Salvador thus embarked on a two-year-long process of nego-
      tiations, starting with initial overtures to the United Nations in late
      1989 and ending with the signing of a peace agreement in Chapulte-
      pec Castle. The two sides met first in April 1990 in Geneva and then
      in Caracas to sequence the talks: first negotiations, then a ceasefire
      (an important concession by the government). Talks then stalled over

      18 See Mark Levine, “Peacemaking in El Salvador,” in Michael W. Doyle, Ian Johnstone,
      and Robert C. Orr, eds., Keeping the Peace: Multidimensional UN Operations in Cambodia
      and El Salvador, Cambridge: Cambridge University Press, 1997, p. 229, fn. 8.
      19 A 1989 CIA analysis of FMLN shows that they had “lost 15 to 19 percent of their force
      over the last two years, [that] their base areas are less secure, and [that] their attacks on mili-
      tary targets have been less effective.” U.S. Central Intelligence Agency, Directorate of Intel-
      ligence, “El Salvador: Government and Insurgency Prospects,” Special National Intelligence
      Estimate, Washington, D.C.: Central Intelligence Agency, February 1989, p. iii.
      20 Rumors that the FMLN were acquiring surface-to-air missiles also informed the ensuing
      shift in government policy.
      21 Terry L. Karl, “El Salvador’s Negotiated Revolution,” Foreign Affairs, Vol. 71, No. 2,
      Spring 1992, p. 153.
      22 David Holiday and William Stanley, “Building the Peace: Preliminary Lessons from El
      Salvador,” Journal of International Affairs, Vol. 46, No. 2, Winter 1993, p. 3.



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      reforms to the armed forces but were kept afloat by a number of smaller
      summits. Álvaro de Soto, the UN secretary-general’s special adviser,
      organized a meeting in San José, Costa Rica, at which the two sides
      committed themselves to minimum human-rights standards and
      agreed to the deployment of a UN human-rights verification mission.
      In April 1991, the National Assembly voted to modify various clauses
      in the constitution, limiting the domestic role of the armed forces and
      of military courts, establishing a national police force under the Min-
      istry of Interior and creating a “Truth Commission” to investigate war-
      time human-rights abuses.
            A package of proposals put forward by de Soto at the New York
      summit of September 1991 addressed the main outstanding issues: The
      rebels were barred from integration within the army but could partici-
      pate in the new police force, while the government would implement
      long-neglected agrarian reforms and submit its soldiers to an “Ad Hoc
      Commission” to review their human-rights records and competence.
      Finally a broad-based National Commission for the Consolidation
      of Peace (COPAZ) was created to oversee the implementation of the
      peace agreements.
            The signing of the treaty to end the war on January 16, 1992 set
      in motion a carefully defined schedule. On February 1, the ceasefire
      would begin; five days thereafter both sides would abandon their mili-
      tary positions. Over the next month, the FMLN would concentrate its
      units in 15 sites, after which its demobilization and integration into the
      police force could begin. The ESAF, meanwhile, would be placed in 62
      sites, dismantle its paramilitary forces, and transfer internal-security
      duties to the new police force. Terry Lynn Karl argues that a hallmark
      of a successful negotiation is that “both sides believe they have won.”23
      In the case of El Salvador, this was precisely the case because all sides
      achieved results through negotiations that would have been largely
      unattainable through war. Cristiani secured the demobilization and
      disarmament of the FMLN yet maintained control of the government
      (pending elections). Moreover, the FMLN’s exclusion from the army
      represented a security guarantee should the ceasefire unravel. To Cris-

      23 Karl, “El Salvador’s Negotiated Revolution,” p. 160.




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      tiani, a former businessman, peace also signified an overdue opportu-
      nity to liberalize El Salvador’s ‘“broken economy,” a higher priority for
      his administration than pursuing an unlikely military victory.24 The
      FMLN, meanwhile, achieved almost all of the aims set out in its previ-
      ous overtures: The government had agreed to constitutional changes,
      the army would be purged, and FMLN leaders were free to enter party
      politics. Although the FMLN did not secure an interim place within
      the government, the establishment of COPAZ would give it a say over
      the implementation of the peace accords.25 Finally, the United States
      would be able to extricate itself from El Salvador without undermin-
      ing El Salvador’s democracy. In a circuitous manner, the final outcome
      promised to meet the four objectives that Reagan had identified during
      the conflict: democracy, development, dialogue, and defense.26
            The antagonism that went into the negotiations—between the
      FMLN and the government; between the government and the ESAF;
      between the Bush administration and the FMLN, and between the
      White House and Congress—makes their outcome all the more aston-
      ishing. Beyond seeking to end the conflict if possible, there was no
      joint strategy, no unity of purpose, among the negotiating partners.
      Instead, levels of trust were low and there were instances in which a
      return to war appeared likely. Against this backdrop, a number of fac-
      tors helped sustain the negotiations.

      Domestic Factors
      The “hurting stalemate” mentioned above was the sine qua non of the
      peace agreements. Added to this factor was the specific role played by
      the political leadership on either side. Cristiani was well placed to make
      the compromises necessary for peace because the military trusted him
      not to give anything away but trusted him when concessions nonethe-
      less had to be made. He also participated personally in the negotiations
      and was willing to trade concessions with the FMLN. By the end of

      24 Levine, “Peacemaking in El Salvador,” pp. 229–230.

      25 Karl, “El Salvador’s Negotiated Revolution,” p. 160.

      26 Ronald Reagan, “Central America: Defending Our United Interests,” Department of
      State, 1984, p. 4.



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      the process, he had earned the respect of UN diplomats for “his states-
      manship and courage in leading a recalcitrant military down the path
      of peace, which was in many ways against its institutional interests.”27
            Like Cristiani, the FMLN’s leadership kept its more radical fac-
      tions in check. It also sought to improve its relations with the United
      States, particularly following the change of U.S. administrations. In
      February 1989, the FMLN announced a halt to attacks on U.S. per-
      sonnel (barring advisers embedded with the ESAF). It also sent a letter
      to President Bush prior to his election, advocating a negotiated settle-
      ment. When FMLN fighters overtook the Sheraton Hotel in the capital
      as part of its final offensive, it opted not to confront the U.S. military
      personnel staying there but let them escape unharmed. To suggest any
      sort of rapprochement would be excessive, and several incidents greatly
      strained relations; nonetheless, the overtures established a degree of
      confidence that would later aid negotiations.
            Two other domestic contextual factors fueled the talks. First, polls
      in the late 1980s showed that 83 percent of the population “supported
      an end to the war through negotiated settlement.”28 Once the initial
      steps toward peace had been taken, public pressure for a settlement
      deterred both sides from abandoning the negotiations. Second, politi-
      cal space had opened up, enabling grassroots and civil-society organi-
      zations to build alliances with small business associations and other
      centrist forces. A reduction in state violence had also granted greater
      latitude to the left, leading to the return of exiled politicians and the
      participation of Democratic Convergence in the 1989 elections.29 This
      progress was quashed following FMLN’s final offensive, but the bridges
      that had been established would later underpin the negotiations.




      27 Levine, “Peacemaking in El Salvador,” pp. 246–247.

      28 Charles T. Call, “Assessing El Salvador’s Transition from Civil War to Peace,” in Ste-
      phen John Stedman, Donald Rothchild, and Elizabeth Cousens, eds., Ending Civil Wars: the
      Implementation of Peace Agreements, Boulder, Colo.: Lynne Rienner, 2002, p. 387.
      29 William Deane Stanley, “El Salvador: State-Building Before and After Democratisation,
      1980–95,” Third World Quarterly, Vol. 27, No. 1, 2006, p. 106.



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      The United States’ Role
      The Bush administration’s shift in focus from defeating the FMLN to
      pursuing a negotiated solution was critical to achieving an agreement.
      As noted, Bush was eager to leave El Salvador, but he also wanted
      to ensure the survival of its young democracy and the elimination of
      armed threats from the right and the left. These aims would require
      careful diplomacy and leverage, an element conspicuously absent from
      earlier U.S. dealings with El Salvador.
            The new U.S. approach centered on the reduction of military aid
      to the ESAF, through which the Bush administration signaled Amer-
      ica’s changed objectives and deterred a resumption of war. The move
      was risky: It could have led to increased abuses from an unrestrained
      and embittered military or emboldened the FMLN to capitalize on
      the United States’ “losing heart.” Yet despite a significant reduction in
      aid (see Figure 4.2), neither of these eventualities occurred. There are
      several reasons for this, three of which relate to the new U.S. approach.
            First, Congress introduced a condition on aid that tied future
      allocations to the Salvadoran government’s respect for human rights
      and its negotiations with the FMLN. The conditionality cut both ways,
      in that any transgression by the FMLN would trigger the restoration
      of U.S. assistance to the government, which—while not always helpful
      to the negotiations30 —did provide for an even-handed system of sticks
      and carrots. The conditions for aid had more credibility than those
      stated throughout the 1980s, given the Bush administration’s readiness
      to abandon its partner should its efforts be found lacking. In contrast,
      the imperative of defeating the rebels during the 1980s had provided
      the ESAF with almost unlimited leeway.31
            Second, the U.S. government managed to reduce aid without
      alienating Cristiani or undercutting his domestic credibility. As one

      30 According to T. E. Karl, the restoration of aid following the FMLN’s downing of a U.S.
      helicopter in 1991 emboldened the ESAF to take more forceful action against the FMLN,
      which threatened ongoing negotiations. See Karl, “El Salvador’s Negotiated Revolution,”
      p. 157.
      31 See Benjamin C. Schwarz, American Counterinsurgency Doctrine and El Salvador: The
      Frustrations of Reform and the Illusions of Nation Building, Santa Monica, Calif.: RAND
      Corporation, R-4042-USDP, 1991.



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      American diplomat put it: “If we use public blackmail . . . that robs
      foreign leaders of dignity. We don’t want Cristiani to look like a U.S.
      puppet.”32 It was therefore fortuitous that the reduction in military
      aid was mandated by the U.S. Congress and not the White House.
      Throughout the peace process, White House officials would lobby
      Congress for continued assistance to El Salvador and reassure Crist-
      iani of their support. At the same time, Congress insisted on progress
      in the negotiations and gradually cut aid. This “good cop/bad cop”
      approach allowed for a continued partnership between the White
      House and Cristiani in which both could curse, but not easily cir-
      cumvent, the demands of Congress. Indeed, some analysts suggested
      that while “administration officials do not say so publicly . . . they find
      Congressional pressure useful.”33 More generally, it was decided that
      economic assistance to El Salvador would continue to flow at a healthy
      rate, whereas military aid was all but eliminated; this helped ensure
      the government’s economic viability yet made the ESAF appreciate the
      necessity of negotiations (see Figure 4.1).
            Third, in marked contrast with the previous administration, the
      Bush administration entered office with a positive view of the UN
      and its role in conflict resolution. In February 1990, Secretary of State
      James Baker wrote a joint letter with his Soviet counterpart, urging the
      UN to assume a mediating role in El Salvador’s negotiations. The overt
      support for the UN gave it the authority and legitimacy needed during
      the talks. The United States was also happy to defer to various multilat-
      eral efforts to secure peace, which ultimately proved invaluable. This is
      not to say that the United States delegated the task of peacebuilding to
      the international community: A year into the negotiations, when levels
      of trust were higher and momentum had amassed, the United States
      began to play a greater role, meeting with FMLN leaders and sending
      senior U.S. officials to put pressure on the government.34


      32 U.S. Foreign Service officer, cited in Robert Pear, “Congress Is As Skeptical As Ever on
      Salvador Aid,” New York Times, January 14, 1990.
      33 U.S. Foreign Service officer, cited in Pear, “Congress Is As Skeptical As Ever.”

      34 Greentree, Crossroads of Intervention, p. 155.




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         Figure 4.1
         U.S. Economic and Military Aid to El Salvador, 1988–1993 (in constant 2007
         U.S. $ millions)


                                       700
                                                                                             Economic
                                       600                                                   assistance, total
       Million, constant 2007 U.S. $




                                                                                             Military
                                       500                                                   assistance, total
                                                                                             Economic
                                       400                                                   and military
                                                                                             assistance, total
                                       300

                                       200

                                       100

                                        0
                                        1988   1989   1990     1991      1992      1993

         RAND MG1111/2-4.2




            At the operational level, U.S. advisors in El Salvador adapted
      their work to facilitate the transition to peace. In 1990, the U.S. Bri-
      gade Operational Planning and Assistance Training Teams (OPATT)
      were given the added mission of monitoring and reporting suspected
      human-rights violations.35 In coordination with the UN, U.S. advisors
      also became increasingly “concerned with civic action, psychological
      operations and garrison operations and the development of peacetime
      unit training management systems.”36 These shifts complemented the
      OPATTs’ general contribution in professionalizing ESAF brigades and
      reducing the number of Army abuses. While progress here had always
      been slow, the net result was beneficial and the achievement lauded



      35 Cecil E. Bailey, “OPATT: The U.S. Army SF Advisers in El Salvador,” Special Warfare,
      December 2004, p. 22.
      36 Memorandum for Director, Security Training Management Office, Fort Bragg, N.C.,
      Subject: Training Assistance Evaluation, El Salvador ETSS (OPATT), April 24, 1991.



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      even by FMLN, which asked for the advisers to remain following the
      peace agreement.37

      The Role of the International Community
      At several instances, the personal involvement of UN Secretary-
      General Pérez de Cuéllar and his envoys was instrumental in overcom-
      ing obstacles that might otherwise have wrecked the peace process. UN
      mediators persuaded the FMLN to drop its demand to be included in
      a transitional government.38 The secretary-general was also central in
      securing the San José agreement on human rights, first in proposing
      the agreement (as a means of keeping stalled negotiations afloat) and
      then in convincing Cristiani to agree to the human-rights monitors.39
      UN representatives were also responsible for the Ad Hoc Commission.
      The FMLN had long insisted on the abolishment of the military, Cris-
      tiani favored a self-administered cleanup, and the Ad Hoc Commission
      was a compromise solution proposed by the UN to which both parties
      eventually agreed and which later proved to be “remarkably effective.”40
      Here and elsewhere, the direct involvement of senior-level UN officials
      raised the costs of appearing obstructionist or of abandoning the peace
      talks.
            The UN’s second major contribution to securing a peace agree-
      ment lay in its deployment of the UN Observer Mission in El Salva-
      dor (ONUSAL). Upon the request of the government and the FMLN,
      the 101-strong ONUSAL was established in July 1991 with a mandate
      to monitor compliance with the human-rights commitments agreed
      to at San José.41 The mission had three immediate effects: Human-



      37 See Levine, “Peacemaking in El Salvador,” pp. 251–252.

      38 Levine, “Peacemaking in El Salvador,” p. 236.

      39 Levine, “Peacemaking in El Salvador,” p. 235.

      40 Ian Johnstone, “Rights and Reconciliation in El Salvador,” and David H. McCormick,
      “From Peacekeeping to Peacebuilding: Restructuring Military and Police Institutions in El
      Salvador,” both in Doyle, Johnstone, and Orr, eds., Keeping the Peace, pp. 316 and 294.
      41 See United Nations Security Council Resolution 693, May 20, 1991.




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      rights abuses declined;42 the level of violence subsided, particularly
      in the cities; and the mission acted as a confidence-building measure
      between the two sides.43 With the ceasefire, ONUSAL’s mandate grew
      “to include the verification and monitoring of the implementation of
      all the agreements” between the two parties.44 Its personnel were con-
      solidated in a Human Rights Division, and a new Military Division
      and Police Division were formed to manage the mission’s added duties.
            Underpinning the UN’s work was a web of bilateral and mul-
      tilateral efforts to liaise between the negotiating sides and pressure
      each to make difficult compromises. Most significant were the “Four
      Friends” of the process: Mexico, Venezuela, Colombia, and Panama
      (later replaced by Spain). The Friends positioned themselves as subor-
      dinate to the UN secretary-general, which ensured unity of action, but
      they took the initiative to lean heavily on either side, if necessary. In
      this regard, the membership of the group was propitious: While none
      of the Friends was aligned to either party, Mexico and Spain enjoyed
      closer ties to the FMLN, whereas Colombia and Venezuela were more
      sympathetic to the government because of their experience with com-
      bating insurgencies.45 The regional nature of the Friends brought three
      added advantages. First, their involvement signaled a regional climate
      that was conductive to peace. Second, the composition of the group
      ensured interventions that were sensitive to El Salvador’s history and
      culture. Third, the Friends’ participation obviated participation by the
      Organization of American States and the UN Security Council, both
      U.S.-dominated institutions and therefore likely to raise fears of bias or
      American interventionism.46


      42 Holiday and Stanley emphasize ONUSAL’s ability to “enter any military facility without
      prior notice’ as critical to its ‘dissuasive’ or ‘preventative’ impact. See Holiday and Stanley,
      “Building the Peace,” p. 7.
      43 Adapted from testimony of UN official, as cited in Holiday and Stanley, “Building the
      Peace.”
      44 United Nations Security Council Resolution 729, January 14, 1992.

      45 Levine, “Peacemaking in El Salvador,” p. 250, n. 92.

      46 Levine, “Peacemaking in El Salvador,” pp. 250–251.




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      Managing the Transition

      The final agreement, signed at Chapultepec, Mexico, in January 1992,
      was a remarkable achievement. Yet despite the two years of negotiations,
      it was only the beginning of El Salvador’s transition. Much would now
      depend on whether the commitments made were respected, the root
      causes of the war could be satisfactorily addressed, and new sources of
      instability and unforeseen challenges would also be adequately tackled.

      Ceasefire and Demobilization
      Perhaps the most fundamental success of El Salvador’s transition to
      peace is that the ceasefire held, despite real moments of tension. In this
      sense, El Salvador truly did move from war to peace and, 20 years on,
      the transition could be characterized as a “success story” on this count
      alone.
            This success was far from preordained. When the peace agree-
      ment was only weeks old, the military defaulted on the demobilization
      of the National Guard and Treasury Police; meanwhile, the ARENA-
      dominated legislature passed a law that extended the lives of these two
      controversial units. Further provoked by the government’s security
      operations to evict FMLN supporters from land occupied since the
      ceasefire, the FMLN suspended its own concentration of forces, citing
      logistical reasons.
            As it did during the negotiations, the UN intervened effectively.
      Under-Secretary Marrack Goulding traveled to El Salvador and per-
      suaded the government to desist from the land-seizure operations
      and rescind the new law. Also, ONUSAL, together with other UN
      agencies, addressed the logistical burdens that had hindered FMLN
      cantonment.47 Then and in general, the UN was critical in assessing
      compliance with prior commitments, maintaining open channels of
      communications, and securing renewed agreements.
            Following the concentration of forces, the UN deployed observ-
      ers to monitor both sides. The National Guard and Treasury Police
      were officially disbanded in March 1992, other civil defense units were

      47 Call, “Assessing El Salvador’s Transition,” pp. 393–394.




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      dismantled in June, and the government adopted an accelerated demo-
      bilization program by which the ESAF had shrunk by 54.4 percent by
      April 1993 (though this related also to the many “ghost soldiers” on
      the army’s payroll).
            Although the FMLN needed to disarm and demobilize in order
      to transform into a political party, the maintenance of arms was its
      only source of leverage, without which it was entirely dependent on
      UN pressure to force government compliance. Partly for this reason,
      the FMLN delayed its demobilization by two months until Decem-
      ber 1992. However, this hedging prompted the government to stall on
      the dismantling of its rapid-reaction forces, whose dissolution occurred
      only after the FMLN had completed its own demobilization. This stag-
      gered implementation signaled both a lack of trust between the two
      sides and an ability to make progress through incremental exchanges
      of ever more significant concessions.
            FMLN disarmament proved more controversial, with both the
      government and the ESAF alleging foul play. The ONUSAL Military
      Department’s decision to declare the FMLN’s disarmament complete,
      on December 14, 1992, was probably pragmatic rather than empirical:
      ONUSAL certified what it must have known were incomplete FMLN
      inventories, thereby allowing the peace process to proceed, and gam-
      bled that any future arms discoveries would be less damaging than an
      early insistence on full compliance. As David McCormick notes, “In
      retrospect this decision appears justified. It is not clear that alterna-
      tive actions would have had more desirable outcomes.”48 When, six
      months later, an FMLN weapons cache was discovered in Nicaragua,
      ONUSAL’s credibility was undermined; yet, by intervening person-
      ally and swiftly, the secretary-general was able to push the FMLN to
      declare and destroy its remaining 120 weapons caches. By that point,
      given the FMLN’s own loss of face domestically and internationally,
      the infraction was less consequential than it might have been earlier:
      The government used the incident as a bargaining tool in its dealings
      with the UN but did not reverse its previous concessions.


      48 McCormick, “From Peacekeeping to Peacebuilding,” pp. 287–288.




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           The demobilization was helped by the flexibility of the imple-
      mentation phase. Delays, deliberate or otherwise, led to “recalendariza-
      tion” agreements where the two sides committed to new timelines and
      addressed the cause of the holdup. Overseen by the UN, the recal-
      endarizations limited the disruptive impact of delays and sustained
      confidence that agreed-to action would be taken. It was, for example,
      through such an agreement in June 1992 that the government’s reluc-
      tance to dismantle its internal security forces was addressed.
           Yet there was an important limit to the flexibility, which also
      aided demobilization. Per El Salvador’s constitution, elections were to
      be held in 1994, and the FMLN’s participation in the elections was
      fundamental to peace. To partake, the FMLN first needed to have
      undergone its transformation into a political party, which added pres-
      sure on its leadership to disarm and demobilize with enough time left
      to prepare an electoral campaign. This pressure forced the FMLN to
      maintain the pace of its demobilization and rely more heavily on the
      UN as a guarantor of government compliance.

      Public Security and Security-Sector Reform
      As part of the peace accords, El Salvador implemented fundamen-
      tal reforms to its security sector, restricting the military’s role to ter-
      ritorial defense against external threats and establishing a new civil-
      ian police. Although these two broad objectives were eventually met,
      security-sector reform was undermined by the ESAF’s initial reluc-
      tance to abandon its internal security functions and status, and by the
      difficulties in providing public security during this transitional period.
      While neither factor resulted in a resumption of full-scale war, both
      would significantly mar El Salvador’s transition to peace and its longer-
      term evolution.

      ESAF Reform
      Given the army’s long-standing history of repression and role in society,
      security-sector reform in El Salvador was a deeply political as well as
      technical task. To assist with the process, approximately 40 U.S. advis-
      ers remained in El Salvador throughout 1993, deploying throughout
      the ESAF in four- to five-person teams. The U.S. military also helped


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      create the ESAF training and doctrine command (CODEM), reform
      the Military College, and create a School of High Strategic Studies,
      which opened in September 1993 to offer instruction to senior civilian
      and military officials.49 In parallel, ONUSAL’s military and human-
      rights divisions assisted the ESAF with the internalization of its new
      doctrine.
            These efforts notwithstanding, ESAF reforms encountered several
      problems, many of which have since been attributed to ONUSAL’s
      limited oversight of the process. First, the dismantling of the Treasury
      Police and National Guard, which the government said had occurred
      in March 1992, actually entailed their wholesale inclusion, under dif-
      ferent names, in ESAF. Second, the army maintained some of its prior
      functions: Particularly after 1993 and following a dramatic increase
      in crime, it was called on to conduct patrols and other domestic oper-
      ations. Third, the defense ministry’s intelligence section remained
      focused on internal rather than external threats; the ESAF retained
      control over the recruitment and training of civilian intelligence opera-
      tives; and the new State Intelligence Office (OIE) came to be heavily
      staffed by former military intelligence personnel, some of whom were
      later implicated in various human-rights abuses.50
            Demobilizing soldiers presented a different set of problems.
      Because of funding constraints and significant logistical requirements,
      the government was unable to provide many of the demobilizing sol-
      diers the payouts promised in the accords: Charles Call notes that
      “over two years after the accords were signed, only 6,000 of 18,000
      ex-soldiers had received their severance pay.”51 A related problem
      concerned the weapons of the demobilizing soldiers, many of which
      went missing and were not recovered. By February 1995, the minis-
      ter of defense acknowledged that “approximately 300,000 weapons,
      ‘intended for military use,’ had found their way into civilian hands.”52


      49 McCormick, “From Peacekeeping to Peacebuilding,” p. 297.

      50 Call, “Assessing El Salvador’s Transition,” p. 399.

      51 Call, “Assessing El Salvador’s Transition,” p. 396.

      52 As cited in McCormick, “From Peacekeeping to Peacebuilding,” p. 295.




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      Armed and militarily trained, many disgruntled former combatants
      turned to crime as a means of self-enrichment, which would become a
      significant problem for the new police force.

      Police Reform
      An early decision in the transformation of the security sector was
      whether to retrain the old police or establish a new force. Given the
      distrust and abuses of the National Police (PN), it was agreed that a
      new National Civilian Police (PNC) would be formed, and that the
      majority of its officers (60 percent) would be civilian recruits. In terms
      of starting anew, this was a natural choice, yet it proved problematic in
      ensuring security during the transition to peace.
            The establishment of a new police force requires time and
      resources and calls for an interim strategy for the provision of public
      security. In El Salvador, the shift from old to new security forces was
      further complicated by the deeply political nature of the transition: The
      ESAF deliberately obstructed the police reforms by delaying or other-
      wise disrupting the transfer of premises to the new force. Such action,
      along with funding shortages, impeded PNC recruitment and training
      and made the need for functioning interim public-security arrange-
      ments all the more acute.53
            Regrettably, these arrangements proved largely inadequate. For
      example, the Auxiliary Transitory Police (PAT) deployed to former
      FMLN-controlled territories was composed of PNC cadets with mini-
      mal training; although overseen by ONUSAL, they were “woefully
      unprepared and underequipped to perform this mission.”54 Elsewhere,
      UN police monitors accompanied the patrols of the old police force.
      Yet as McCormick notes, “the PN was composed of soldiers, not pro-
      fessional policemen, who lacked enthusiasm for a job that they would
      soon lose, and harbored resentment for the UN observers whom they
      blamed for their predicament.”55 During the transition, human-rights
      abuses, arbitrary detention, and levels of corruption all increased.

      53 McCormick, “From Peacekeeping to Peacebuilding,” p. 301.

      54 McCormick, “From Peacekeeping to Peacebuilding,” pp. 288–289, fn. 20.

      55 McCormick, “From Peacekeeping to Peacebuilding,” p. 289.




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      Where ONUSAL advisers were present, they were effective, yet with
      fewer than 400 police observers for a 6,000-strong police force, many
      of whom were also devoted to the standing up of the PNC, there were
      clear limits to the UN’s oversight.
            By 1993, the police academy was up and running and the PNC
      was becoming fully operational. Where deployed, the PNC were pro-
      fessional and effective; however, the institution faced new threats. First,
      the government and the ESAF inserted trusted units and personnel
      into the force, compromising its integrity and standards. The govern-
      ment appointed as operations director a military officer who brought
      with him staff from the military and terminated a PNC agreement with
      ONUSAL for technical and logistical support.56 The government also
      transferred more than 1,000 former soldiers into the PN as a means of
      integrating them into the PNC. Similarly, two entire units, the Special
      Investigative Unit and the Anti-Narcotics Executive Unit, were trans-
      ferred into the PNC in 1993. The FMLN had agreed to their inclusion
      subject to screening and retraining, yet these conditions were not ful-
      filled. Once in the new force, members of these units were implicated
      in various crimes and cover-ups.
            The most fundamental threat to the PNC was its inability to con-
      trol the rising levels of violent crime, caused in part by the security
      gap created during its own establishment. The demobilization of both
      the FMLN and the ESAF, along with the dismantling of other secu-
      rity forces, had “effectively cut the coercive forces available for deploy-
      ment from some 60,000 to 6,000 in only a few weeks.”57 Given the
      inadequate compensation given to ex-combatants, a difficult economic
      climate, and the lack of a fully developed police force, many unem-
      ployed, embittered and militarily trained young men gravitated toward
      crime as a means of making a living or settling scores. Violent crime
      quickly became and remained a most urgent concern; in 1995 there




      56 Call, “Assessing El Salvador’s Transition,” pp. 401–402.

      57 Call, “Assessing El Salvador’s Transition,” pp. 399–400.




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      were an estimated 8,500 murders, more than the average annual death
      toll during the war (6,250).58
            This widespread insecurity undermined the PNC in several ways.
      First, the PNC’s inability to counter crime encouraged the government
      to lean on armed units that should have been dismantled or given new
      roles under the accords. It was the rise in insecurity along the highways
      that prompted the government to send the army to conduct patrols.
      Similarly, the crime wave delayed the dismantling of the PN.
            Second, the PNC’s standards of recruitment and training were
      compromised by the acute need to grow and deploy the force. This
      dilution of standards fueled corruption within the force. Moreover, the
      fact that the shift to a more “civilian” force coincided with a dramatic
      rise in crime served to discredit the standards and norms promoted by
      ONUSAL and the international community.59
            Under the administration of Armando Calderón Sol, elected in
      1994, many of the PNC’s problems were addressed: The old police force
      was dismantled, the PNC was able to deploy throughout the country
      and develop the remainder of its specialized agencies, the operations
      director was replaced, and a technical agreement with ONUSAL was
      restored.60 Yet many of the old issues left permanent marks: Accusa-
      tions of human-rights abuses, corruption, and incompetence have con-
      tinued, as has El Salvador’s acute problem with crime. Therefore, while
      PNC was celebrated as an achievement by the international commu-
      nity, the domestic reputation of the force has suffered. More broadly,
      the dramatic rise in crime and insecurity since the war remains the
      most serious and fundamental problem in El Salvador’s transition to
      peace.




      58 Philippe Le Billon, with Joanna Macrae, Nick Leader, and Roger East, The Political Econ-
      omy of War: What Relief Agencies Need to Know, Humanitarian Practice Network Paper 33,
      London: Overseas Development Institute, 2000, p. 4.
      59 Margaret Popkin, “Building the Rule of Law in El Salvador,” in Studemeister, ed., El Sal-
      vador: Implementation of the Peace Accords, p. 17,
      60 McCormick, “From Peacekeeping to Peacebuilding,” p. 303.




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      Human Rights, Truth and Reconciliation
      After a conflict such as El Salvador’s, marked by its “harmful climate
      of impunity,” it is often important to address society’s need to deal
      with the past, either by punishing those guilty of wrongdoings or by
      reconciling former enemies to build a brighter future.61 In El Salva-
      dor, both sides agreed to a purge of the ESAF based on the findings of
      the Ad Hoc Commission and to a “Truth Commission” to investigate
      wartime human-rights abuses. Truth and reconciliation were therefore
      integral to the peace being formed. However, this area is often inflam-
      matory. A delicate balance must be struck between uncovering the past
      and moving forward, and there is a risk that finger-pointing by outsid-
      ers may provoke a backlash and imperil progress being made on other
      fronts.
            When the Ad Hoc Commission’s confidential report was issued on
      September 23, 1992, it recommended the discharging of 103 officers,
      including most of the ESAF’s high command, along with the minister
      and vice minister of defense. The government delayed implementing
      these recommendations, the scope of which had not been expected. In
      securing full compliance with the report, Secretary-General Boutros
      Boutros-Ghali blended pragmatism with pressure. While acquiescing
      with various delays, he dispatched UN envoys to agree to new time-
      tables and thereby achieved a slow but gradual process of implementa-
      tion. He was helped by a U.S. announcement in February 1993 that
      $11 million worth of military aid would be suspended unless the rec-
      ommendations were all applied.62 The next month, six months after the
      report’s release, Cristiani submitted a plan for full compliance, which
      was duly executed.63 Despite the delays, this “constituted an unprec-
      edented civilian review of the military.”64


      61 Sentence drawn from 1989 U.S. Department of State report on human rights, as cited in
      Pear, “Congress Is As Skeptical As Ever.”
      62 Levine,“Peacemaking in El Salvador,” p. 252, fn. 96.

      63 This episode is recounted in McCormick, “From Peacekeeping to Peacebuilding,”
      pp. 292–293.
      64 Popkin, “Building the Rule of Law in El Salvador,” p. 11.




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            The implementation of the Ad Hoc Commission’s recommenda-
      tions was helped by the March 1993 release of the Truth Commis-
      sion’s report, which implicated some of the same officers, including
      the defense minister. Because of time constraints, the Commission
      only investigated a number of particularly egregious abuses, for which
      its definitive findings provided closure. The Commission also made
      other recommendations, the bulk of which implicated the judiciary,
      but these were largely ignored.65 Cristiani protested that the Commis-
      sion had unnecessarily dug into the past and exceeded its authority by
      including the judiciary; he proclaimed an amnesty prior to the report’s
      release to prevent the prosecution of those it had named.66 The FMLN
      had its own concerns because the report’s citing of several guerrilla
      leaders by name would bar them from assuming government posts.
      The FLMN’s vow to implement the recommendations only after the
      government had done the same led to stasis.
            Margaret Popkin makes the point that temporary commissions,
      such as the Truth Commission, “should facilitate a longer-term soci-
      etal process, not become a substitute for it.”67 In the end, the Truth
      Commission did neither. Its short time span, limited scope, and inabil-
      ity to force compliance made it at best a promising starting point for
      the catharsis it had meant to engender.68 But the truth and reconcilia-
      tion process never took off after the report’s release: No prosecutions,
      reparations, official reports, or investigations into wartime abuses ever
      emerged. Nor, significantly, did the population express a strong desire
      for such action; in general, they suggested that “both sides inevitably
      commit terrible abuses in wars, and that the best thing to do is bury
      the past and make changes to make sure it cannot be repeated.”69


      65 See Johnstone, “Rights and Reconciliation in El Salvador,” pp. 319–320.

      66 The amnesty excluded those already cited in the Ad Hoc commission. See Popkin, “Build-
      ing the Rule of Law in El Salvador,” p. 12.
      67 Popkin, “Building the Rule of Law in El Salvador,” p. 12.

      68 “Central America: UN to Verify 1994 Elections in El Salvador,” UN Chronicles, Vol. 30,
      No. 2, June 1993, p. 26.
      69 Popkin, “Building the Rule of Law in El Salvador,” p. 14.




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             The dilemma presented to the UN was whether to insist on com-
      pliance with emerging human-rights norms or to acquiesce to the silence
      on past abuses. The risk lay either in antagonizing the government or
      abandoning the efforts of those who did want to address the conflict’s
      legacy. In this case, the international community did not insist. The
      United States, the principal donor to the justice sector, expressed no
      dismay at the amnesty law and the secretary-general, beyond noting his
      concern, yielded to government preferences.
             The degree to which these partial efforts at truth and reconcili-
      ation have marred El Salvador’s transition to peace is debatable. On
      moral grounds, a more just outcome may have been desired. Nonethe-
      less, if the local population sees digging up of the past as hurtful and
      unnecessary, the insistence on such action by international actors can
      do more harm than good. In El Salvador, the fact that the military was
      behind the vast majority of abuses (95 percent of them, according to
      the Truth Commission),70 and the need to keep the military on board
      (while simultaneously downsizing, reforming and purging it) may also
      have contributed to the amnesty and to its acceptance by the interna-
      tional community.
             The effect of such pragmatism was to stymie future efforts at truth
      and reconciliation. In 2000, the Salvadoran Supreme Court did finally
      challenge its predecessor’s finding that the amnesty was “not subject
      to its constitutional control,” but it saw nothing unconstitutional with
      the amnesty per se.71 More critically, Herrera and Nelson describe how,
      as late as 2003, government officials still asserted that various high-
      profile wartime crimes remained “under investigation,” even though



      70 The Truth Commission found the ESAF responsible for 85 percent of the abuses; death
      squads, for 10 percent; and FMLN for the remaining 5 percent. See United Nations Com-
      mission on the Truth for El Salvador, From Madness to Hope: The 12-Year War in El Salva-
      dor, S/25500, New York: United Nations, April 1, 1993, p. 43. As Cynthia Arnson notes,
      “[T]he death squads in El Salvador were deeply rooted in official security bodies.” See Cyn-
      thia J. Arnson, “Window on the Past: A Declassified History of Death Squads in El Salva-
      dor,” in B. B. Campbell and A. D. Brenner, eds., Death Squads in Global Perspective: Murder
      with Deniability, New York: St. Martin’s Press, 2000, p. 110.
      71 Popkin, “Building the Rule of Law in El Salvador,” p. 14.




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      the Truth Commission had effectively established accountability.72
      Similarly, attempts to revisit the 1981 El Mozote massacre, in which at
      least 1,000 civilians were killed, or to establish the facts behind war-
      time disappearances have, with few exceptions, gone nowhere.

      Addressing the Factors Contributing to the Insurgency
      For the transition to peace to be sustained, it is necessary to address
      the factors that contributed to the insurgency, to prevent them from
      giving rise to renewed conflict. In this instance, there were three areas
      to consider: combating El Salvador’s climate of impunity; expanding
      political participation; and reintegrating formerly excluded communi-
      ties into the productive life of the country.
            Ending the Climate of Impunity. The climate of impunity in
      prewar El Salvador enabled the repressive enforcement of the status
      quo, which in its denial of peaceful avenues for change, ultimately gave
      rise to the insurgency. To correct this system, the Chapultepec Accords
      ended the fuero militar, or military jurisdiction for government forces;
      installed an inspector general to oversee the security forces; and empow-
      ered the legislature to remove PNC and OIE directors for human-rights
      violations.73 Security-sector reform was also part of this process, as was
      ONUSAL’s human-rights instruction to the country’s police and mag-
      istrates.74 Together, these and other measures contributed to a dramatic
      improvement in human rights between 1991 and 1995.75
            To sustain the progress being made, the secretary-general pro-
      posed the Joint Group for the Investigation of Politically Motivated
      Armed Groups in 1993. Composed of UN and government represen-
      tatives, this group was mandated to investigate the activities of illegal
      armed groups since Chapultepec and the surge in political killings seen
      in 1993. It found that illegal armed groups were still active and, in

      72 Major M. Chris Herrera and Major Michael G. Nelson, “Salvadoran Reconciliation,”
      Military Review, Vol. 88, No. 4, July–August 2008, p. 24.
      73 Call, “Assessing El Salvador’s Transition,” p. 406.

      74 McCormick, “From Peacekeeping to Peacebuilding,” pp. 290–291.

      75 For statistics, see Charles T. Call, “Democratisation, War and State-Building: Construct-
      ing the Rule of Law in El Salvador,” Journal of Latin American Studies, Vol. 35, 2003, p. 846.



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      some cases, protected by the security forces. As a more general finding,
      the report stated that the justice system had “continued to provide the
      margin of impunity these structures require” and recommended vari-
      ous reforms to the PNC and judiciary.76 The Joint Group’s existence
      and ability to publish its findings were significant, and the investiga-
      tion itself served to curb the rise in political violence.77 Even so, most
      of its recommendations were ignored and virtually no action was taken
      against those cited in the report.
             The fate of the Joint Group highlighted a fundamental problem
      with UN efforts to institutionalize a human-rights regime in El Sal-
      vador: While the UN was quite successful in imposing human-rights
      mechanisms, it was less able to encourage local ownership over such
      efforts. As an example, the peace accords had created a National Human
      Rights Advocate’s Office to act as a host nation version of ONUSAL’s
      human-rights division, but lack of political interest and support meant
      the new office struggled to get off the ground. ONUSAL and inter-
      national assistance rescued the new entity from an early demise and
      helped it establish a nationwide presence. Yet despite a surge of activity
      under a new and notably effective director, the end of her term in 1998
      left the organization once again floundering.78
             UN efforts to reform the judiciary, a bulwark of El Salvador’s cli-
      mate of impunity, also confronted a lack of local interest and will. The
      judiciary suffered from three main problems: corruption, politicization,
      and the centralization of power at the Supreme Court.79 Reforms had
      been agreed to in the Chapultepec agreement, but their implementa-
      tion lagged, partly because the terms were vague and partly because the


      76 Johnstone, “Rights and Reconciliation in El Salvador,” pp. 323–324.

      77 Joaquín M. Chávez, “Perspectives on Demobilisation, Reintegration and Weapons Con-
      trol in the El Salvador Peace Process,” in Centre for Humanitarian Dialogue, Reflections
      on Guns, Fighters and Armed Violence in Peace Processes, Vol. 1, Geneva, Switzerland: HD
      Centre, 2008, p. 15.
      78 Call, “Assessing El Salvador’s Transition,” p. 407; Popkin, “Building the Rule of Law in
      El Salvador,” pp. 14–15.
      79 Stanley, “El Salvador: State-Building Before and After Democratisation,” p. 105. See also
      Johnstone, “Rights and Reconciliation in El Salvador,” pp. 332–333.



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      Supreme Court opposed them and considered itself above the agree-
      ments struck between the FMLN and the executive. ONUSAL’s efforts
      to force change were imaginative, multifaceted, and often valuable, but
      achieving institutional reform proved beyond its capacity. Even after
      the 1994 elections, when a new Supreme Court and legislative assem-
      bly were formed, progress in this field was slow; a 1998 poll ranked the
      Supreme Court as the institution least capable of defending human
      rights and, years later, the judiciary remained “weak, inefficient, anti-
      quated, overly partisan, and subject to corruption.”80
            Nevertheless, the climate of impunity that had caused and char-
      acterized El Salvador’s war was no longer in effect. Profound problems
      continued to mark its human-rights regime and judiciary, but—due
      to the changed political atmosphere in El Salvador and to the other
      reforms implemented as part of its transition to peace—there has been
      no deliberate attempt to exploit the weaknesses of its institutions to
      commit human-rights abuses with impunity.
            Electoral Reform. The absence of democratic political space was a
      fundamental cause of El Salvador’s civil war. For this reason, the peace
      accords proposed various reforms to produce a more open democratic
      system. In 1993, a new electoral code was enacted, creating institutions
      to ensure fair elections. At the government’s behest, ONUSAL formed
      an Electoral Division to monitor the coming 1994 elections.81
            The deep problems with El Salvador’s electoral system could not
      be entirely fixed in time for the 1994 elections. Part of the problem lay
      with the new Supreme Electoral Tribunal (TSE), which did not ade-
      quately address the issue of voter registration, and for whose inadequa-
      cies ONUSAL’s Electoral Division could only partially compensate.82
      An ONUSAL survey of August 1993 found that 27 percent of El Sal-
      vador’s voting population was still not registered and, at the elections,



      80 Call, “Constructing the Rule of Law,” pp. 858–859.

      81 Ricardo Córdova Macías, “Demilitarizing and Democratizing Salvadoran Politics,” in
      Studemeister, ed., El Salvador: Implementation of the Peace Accords, p. 29.
      82 Call, “Assessing El Salvador’s Transition,” p. 409.




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      an estimated 300,000 people intending to vote were unable to do so,
      representing 20 percent of the electorate.83
            Despite these significant shortcomings, the 1994 elections were
      sufficiently fair to be celebrated. They also confirmed the FMLN’s
      transformation into a political party, meaning that “for the first time in
      the contemporary history of El Salvador, the political parties contest-
      ing an election reflected the nation’s entire spectrum.”84 Furthermore,
      the FMLN was able to establish itself as the main opposition party
      only two years after the cessation of hostilities.
            In spite of efforts by the administration of Armando Calderón,
      problems with the electoral system persisted, primarily because the
      legislative assembly refused to approve several much-needed reforms.
      Nonetheless, El Salvador has held several elections since 1992 with-
      out major irregularities. In the latest presidential contest in 2009, the
      FMLN defeated ARENA by 2.6 percent of the vote, indicating the
      very real possibility of change through democratic means. Indeed, El
      Salvador’s democracy constitutes one of the more successful outcomes
      of its transition to peace.
            Land Reform and Reintegration. In addition to reconciling the
      political elites of the two parties, a perceived requirement for sustained
      peace was the reintegration into society of former combatants, their
      base, dependents, and other war-affected populations. These groups
      were to be given a stake in El Salvador’s future through the National
      Reconstruction Plan (NRP), a five-year effort unveiled by the govern-
      ment in 1992. The NRP involved infrastructure repair in war-damaged
      areas, poverty reduction, the reintegration of former combatants, and
      a land-transfer program benefiting ex-combatants and war-affected
      civilians.
            The NRP’s results were uneven. While many quantitative tar-
      gets for reintegration and employment were met (often with heavy
      foreign assistance, particularly from the United States, the circum-
      stances facing the program’s beneficiaries did not improve much, if
      at all. Throughout the 1990s, almost half of surveyed former combat-

      83 Johnstone, “Rights and Reconciliation in El Salvador,” p. 329.

      84 Macías, “Demilitarizing and Democratizing,” p. 29.




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      ants were pessimistic about the future and believed that conditions
      had worsened since the end of the war.85 In part, this was due to the
      inadequacies of the program and its implementation, whose logisti-
      cal and resource requirements were significant. However, even those
      successfully “reintegrated” through the NRP necessarily “returned to
      the relatively low-level of productivity and economic integration that
      typifies their neighbors”—in other words, “to say that the demobilized
      have been reinserted or inserted in productive life does not imply any
      great economic success.”86
            An underlying reason for the NRP’s mixed results was the per-
      sistence of El Salvador’s economic disparities. Although it was a root
      cause of El Salvador’s war, the socioeconomic imbalance between rich
      and poor was not fully addressed in the peace accords. Subsequent
      financial reforms also did little to address the problem. A convinced
      neo-liberal, Cristiani hoped that liberalizing the country’s economy
      opportunities for employment and wealth generation would help lift
      the whole of society out of war. By means of ambitious neo-liberal eco-
      nomic policies, Cristiani oversaw an impressive growth in GDP, which
      increased threefold between 1986 and 1994.87 However, these gains
      did not address the country’s socioeconomic imbalance. Instead, El
      Salvador remained toward the bottom of the UN’s Human Develop-
      ment Index in regional terms.88 Between 1989 and 2004, poverty levels
      actually rose from 47 percent to 51 percent; by 2008, “the income of
      the richest 10% of the population [was] 47 times higher than that of
      the poorest 10%,” with 25 percent of the population looking to emi-




      85 For a summary of these surveys, see U.S. Agency for International Development, Assis-
      tance to the Transition from War to Peace: Evaluation of the USAID/El Salvador’s Special Stra-
      tegic Objective, Project No. 519-0394, Washington, D.C., 1996, p. 7.
      86 USAID, Assistance to the Transition, p. 7.

      87 In this endeavor, Cristiani was helped by U.S. nonmilitary aid and by the remittances
      sent by Salvadorans living in the United States, which amounted to $1 billion per year in
      1993 and 1994. See Call, “Assessing El Salvador’s Transition,” p. 411.
      88 Call, “Assessing El Salvador’s Transition,” p. 411.




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      gration as a necessary means of finding work.89 In such a context, rein-
      tegration into civilian life, even if well implemented, was not a very
      attractive prospect.
            The land-reform program implemented throughout the 1990s
      was another means by which the imbalances alluded to above were to
      be addressed. While the Chapultepec accord did not foresee a redis-
      tribution of land, it did envisage that “access to productive activities”
      would help give former combatants and civilians a stake in peace.90
      To that end, the government provided low-interest loans for land pur-
      chases, agricultural training, and technical assistance along with other
      forms of help.
            Despite the centrality of the land issue, time-constraints during
      the peace negotiations meant the final accords were vague as to how
      the land was to be transferred.91 From then on, any ambiguity in the
      accords turned political, whereas more detailed provisions became
      obstacles rather than aids in implementation. In both cases, the logisti-
      cal and resource requirements of the endeavor, the challenge of turning
      former combatants into farmers, and the deeply political nature of this
      process, ensured slow and difficult progress.
            Graciana del Castillo describes the many technical, political, and
      logistical impediments to the land transfers, which in general would
      proceed slowly, reach an impasse, require senior-level mediation by the
      UN, and then advance slightly only to confront another obstacle down-
      stream.92 The Chapultepec agreement had stipulated that the legaliza-
      tion of land tenure in former conflict zones would be completed by July
      31, 1992, but it took until late 1995 for just 85 percent of potential ben-
      eficiaries to receive title to land. Of those, only 34 percent had their title
      filed with the national land registry, which, as del Castillo notes, meant

      89 Clare Ribando Seelke, El Salvador: Political, Economic, and Social Conditions and U.S.
      Relations, CRS Report for Congress, RS21655, Washington, D.C.: Congressional Research
      Service, updated November 18, 2008, p. 3.
      90 Graciana del Castillo, “The Arms-for-Land Deal in El Salvador,” in Doyle, Johnstone,
      and Orr, eds., Keeping the Peace, p. 342.
      91 Chávez, “Perspectives on Demobilisation, Reintegration and Weapons Control,” p. 15.

      92 See del Castillo, “The Arms-for-Land Deal in El Salvador,” pp. 349–357.




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      the land-transfer program had actually processed less than 30 percent
      of potential beneficiaries.93 As with the NRP, even those who were
      successfully processed faced difficulties because many were unable to
      pay back the government-provided loans or sustain themselves on their
      acquired land.94 Helped by USAID, the government passed various
      laws to forgive debt, but given the declining importance of the agricul-
      tural sector in El Salvador and the difficulties of many to access credit
      and technical assistance, land reforms became an inadequate means of
      addressing social inequality.95
            Reintegration, land transfers, and economic reforms were all
      intended to address the root causes of the conflict. While success in
      these endeavors has been at best uneven, war has not resumed. Even
      so, the failure to do better has contributed to frustration and the rise
      of new sources of instability. Indeed, as a USAID assessment of the
      NRP concluded in 1996, the “further disintegration of the Salvadoran
      society, with associated internal problems of violent crime and destruc-
      tion of property, and the external problems of uncontrolled migration,
      will be the price to pay for inadequate attention to the needs of this
      population.”96

      Conclusions
      A Successful Transition?
      Through a UN-mediated peace process, rivals who had fought a
      bloody, decade-long war met at the negotiating table and agreed to
      difficult and important concessions, all while respecting the agreed-to
      ceasefire. The accords, in T. L. Karl’s words, represented a “negotiated
      revolution” in that they promised to address the causes of the conflict:

      93 del Castillo, “The Arms-for-Land Deal,” p. 356. As del Castillo explains, unregistered
      lands could not be sold, meaning that the beneficiaries of these lands had “incurred a debt
      without having the possibility of selling the asset should they desire to do so or were forced
      to by failing to service their debt.”
      94 Macías, “Demilitarizing and Democratizing,” p. 28.

      95 Chávez, “Perspectives on Demobilisation, Reintegration and Weapons Control,” p. 15.

      96 USAID, Assistance to the Transition, p. 10.




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      the armed repression, authoritarianism and human-rights abuses, the
      social inequalities and the militarization of society.
             The maintenance of the ceasefire since then is an accomplishment
      for El Salvador and for the international community. The implemen-
      tation of reforms, meanwhile, has been uneven. The development of
      democracy, the reform of the ESAF and the security-sector in gen-
      eral all count as relative successes, while reforms to more fundamental
      aspects of the state—its judiciary, the economy and the land-reforms
      program—suffered delays and a lack of political will. In many cases,
      change required more time than anticipated; in others, the continued
      existence of entrenched norms and a lack of economic and political
      support has prevented change. Social inequalities persisted after the
      signing of the peace agreement. Richard Tardanico’s study of social
      inequalities and basic infrastructure in post-civil war San Salva-
      dor states that San Salvador’s poor (estimated at some 30 percent of
      households at the beginning of the 21st century) face “lack of housing
      finance; settlement in ravines vulnerable to earthquakes, floods and
      landslides; property tenure insecurity; overcrowded housing; serious
      air, land and water pollution; absent or woefully deficient utilities and
      health programs; and chaotic public transportation.”97
             Beyond the implementation of agreed-on reforms, the most fun-
      damental problem in El Salvador’s complete transition from war to
      peace was the failure to provide public security following the cessation
      of hostilities. A second major problem was the government’s reinte-
      gration strategy, which failed to provide for the thousands of former
      combatants and dependents who were demobilized as part of the peace
      process or required particular care. Neither of these problems resulted
      in a resumption of war, yet they did contribute to a crime wave that
      continues to affect El Salvador today. This rampant criminality cannot
      be seen as a mere footnote to an otherwise successful transition because
      it has resulted in a level of violence comparable to the war itself. The
      gangs formed since 1992 have also become increasingly involved in


      97 Richard Tardanico, “Post-Civil War San Salvador: Social Inequalities of Household and
      Basic Infrastructure in a Central American City,” Journal of Development Studies, Vol. 44,
      No. 1, 2008, pp. 127–152.



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      human trafficking, drug trafficking, and kidnapping, threatening El
      Salvador’s stability.98
            Just as seriously, widespread insecurity has tarnished El Salvador’s
      political transformation; in a survey in 1999, 55 percent of respondents
      cited crime as a justification “for the toppling of the democracy.”99
      Such action against the government has not materialized, yet crime
      has encouraged vigilantism and produced a mass-scale subcontracting
      of security to private actors. The government’s own crime-reduction
      strategies are also problematic: The deployment of military anti-gang
      units prompted charges of brutality by the armed forces and was a
      reversal on one of the peace process’s key accomplishments: the demili-
      tarization of the provision of public order.100 Meanwhile, widespread
      criminality has also compounded the other inadequacies of El Salva-
      dor’s transition by overloading the judiciary and the PNC and eroding
      El Salvador’s patience with human rights and due process.101 While the
      crime wave has also added impetus to further reform of El Salvador’s
      institutions, such as the judiciary and security forces, initiatives arising
      from these pressures have been condemned by some as representing a
      return to the repression typical of earlier times.102
            Underlying the crime wave was the failure to address the social
      and economic imbalance that once provided FMLN with a promising
      recruitment base. In part, this failure relates to a lacuna in the accords,
      of which only 10 percent was devoted to socioeconomic reforms.103
      Accordingly, some observers have faulted the peace accord for recon-
      ciling two upper-middle class elites while excluding the El Salvadoran


      98 Seelke, El Salvador: Political, Economic, and Social Conditions, p. 4.

      99 Call, “Constructing the Rule of Law,” p. 828.

      100 Mo Hume, “El Salvador: The Limits of a Violent Peace,” in Michael Pugh, Neil Cooper,
      and Mandy Turner, eds., Critical Perspectives on War-transformed Economies, Basingstoke:
      Palgrave, 2008, pp. 327–328.
      101 Popkin, “Building the Rule of Law,” p. 17.

      102 Hume, “El Salvador: The Limits of a Violent Peace,” pp. 327–328. See also “El Salvador:
      Terrorism Law Misused Against Protesters,” Human Rights Watch, July 30, 2007.
      103 Call, “Assessing El Salvador’s Transition,” p. 389.




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      people.104 It is, however, difficult to see how the accords could have
      accommodated demands more ambitious than already included; given
      the combustible atmosphere in which the agreement was made, not
      much more could have been hoped for than the creation of an open
      and demilitarized political system that at least offered the opportu-
      nity for the required socioeconomic changes to be made over the long
      term.105 More than the accords themselves, it is the subsequent failure
      to see these changes through that represents, in Call’s words “the mug-
      ging of a success story.”106

      Lessons Learned
      El Salvador offers several lessons for future efforts to transition from war
      to peace. First, the case study illustrates once again that any rigid dis-
      tinctions between “war” and “peace” do not accurately reflect the con-
      tinuities that persist across these supposedly distinct phases. As Mats
      Berdal notes, “the formal end of armed conflict, especially if reached
      through a negotiated settlement, rarely entails a clean break from past
      patterns of violence, nor does it mean that the grievances which gave
      rise to conflict in the first instance have been entirely removed.”107
            One important lesson is that restraint of militias or paramilitary
      formations and the imposition of discipline on the military is essential
      to reaching a negotiated solution. Militias or paramilitary units sup-
      ported by the military but operating without effective supervision by
      local authorities tend to extend insurgencies and undermine support
      for the government.
            Second, the El Salvador case study illustrates the contributions
      that the UN, and the international community more broadly, can


      104 See Hume, “El Salvador: The Limits of a Violent Peace,” p. 320.

      105 Stanley, “El Salvador: State-Building Before and After Democratisation,” p. 109.

      106 Charles T. Call, “El Salvador: The Mugging of a Success Story,” in Charles T. Call, ed.,
      Constructing Justice and Security After War, Washington, D.C.: United States Institute of
      Peace Press, 2007.
      107 Mats Berdal, “Consolidating Peace in the Aftermath of War: Reflections on ‘Post-Con-
      flict Peace-Building’ from Bosnia to Iraq,” in John Andreas Olsen, ed., On New Wars, Oslo:
      Norwegian Institute for Defence Studies, 2007, p. 121.



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      make to the processes of peacemaking, peacekeeping, and peacebuild-
      ing. The efforts of the UN, in particular, and of the United States
      and its regional partners were manifold and wholly indispensable to
      the final agreement and to the implementation of subsequent reforms.
      Coordination among these actors was a force multiplier. It helped the
      UN muster the authority and leverage needed for the multifaceted
      responsibilities it chose to undertake.
            Third, international assistance, no matter how well designed,
      can never carry a country from war to peace but must form part of a
      local political process. In El Salvador, the transition required a favor-
      able alignment of international, regional, and domestic circumstances
      in the late 1980s. In the words of de Soto, the negotiations took place
      “almost in laboratory conditions.”108 Absent these conditions, the same
      actions by outsiders would have brought entirely different results.
            Fourth, peace-building is a long-term process likely to encounter
      setbacks and delays. The peace negotiations in El Salvador lasted for
      two years; implementation dragged on for many more. It was therefore
      critical that ONUSAL maintained a presence until 1995, and was then
      replaced by various follow-on missions and finally by the UN’s special-
      ized agencies. Similarly, the transition benefited from the willingness of
      the United States to sustain its investment in peace beyond the conclu-
      sion of the 1992 agreement.
            Fifth, the long duration of peace-building demands a mandate and
      skill set that can be adapted to suit the host nation’s evolving require-
      ments. In El Salvador, there was an initial, urgent need for public secu-
      rity that was not adequately met. Later in the transition, the mission
      required technical skills: judicial experts, human rights lawyers, and
      specialists in agrarian reform. Overall, these endeavors call for an abil-
      ity to strengthen and complement the host nation wherever it is weak.
            Sixth, while the role of the international community in securing
      peace is important, there are definite limits to what international assis-
      tance can bring. In El Salvador, the initial negotiations to end the war

      108 As cited in Nicole Ball and Tammy Halevy, eds., Making Peace Work: The Role of the
      International Development Community, Overseas Development Institute, Washington, D.C.:
      Johns Hopkins University Press, 1996, p. 12.



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      presented a fruitful opportunity for deep-rooted reforms. After this
      point, imposing change from outside became more difficult, as evi-
      denced by the struggles throughout the 1990s to reform the judiciary.
            Finally, the international community must be careful not to
      engender a dependence on external institutions and initiative. Ulti-
      mately, whether internationally sponsored reforms sink or swim will
      be up to local institutions. Counterintuitively, in seeking to ensure
      local compliance, the guaranteed and sustained commitment of out-
      side actors can be counterproductive because the host nation is never
      required to take responsibility for the evolution of its own institutions.
      As the United States found in El Salvador, in these cases the threat of
      withdrawal can produce better results than continued assistance.




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      CHAPTER FIVE

      The Tuareg Insurgency in Mali, 2006–2009




                       Map of Mali




                       SOURCE: CIA World Factbook.
                       RAND MG1111/2-5.1




      Introduction
      Background: Mali’s North-South Divide
      One of the largest countries in Africa, Mali is also one of the poorest,
      ranking 173rd out of 177 in the United Nations Development Pro-
      gramme’s (UNDP) human development index.1 Geographically, eth-

      1 Based on 2005 data. UNDP (United Nations Development Programme), Human Devel-
      opment Report 2007/2008, New York, 2007, p. 232.



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      nically, linguistically, and even economically, Mali is broadly divided
      in two. The south of the country, where the capital city, Bamako,
      is located, has a subtropical climate, most of the country’s farming
      and economic activities, and 80 percent of the population (mostly of
      Mande ethnicity). The north, which comprises the regions of Tim-
      buktu, Gao, and Kidal, belongs to the Sahelian belt and, further north,
      to the Sahara.
            The four main ethnic groups living in the north are broadly
      divided between nomadic (Tuaregs and Arabs) and sedentary (Song-
      hai and Fula) people. The former have increasingly sedentarized over
      the past decades, both as a result of the modernization policy of the
      Malian government in the 1960s, which promoted farming over herd-
      ing, and the severe droughts of the 1970s and 1980s that decimated
      the herds of cattle, sheep, and goats on which the nomads depended
      for their subsistence.2 Increasing desertification and overgrazing have
      represented additional challenges to the nomads’ traditional lifestyle.3
      In addition to these episodic hardships, northern Mali has remained
      less developed, in terms of infrastructure, than the rest of the country.4
      Until 1985, for instance, there was no tarmac road between Gao and
      Mopti, the next-largest town further south.5
            This lack of infrastructure, as well as the sheer size of the country,
      contributes to further isolating a northern region that has long been
      politically remote from the south. Travelling by road from Bamako to
      Gao takes an estimated 35 hours; 4–5 days is a realistic travel time to

      2 Baz Lecocq, “Unemployed Intellectuals in the Sahara: The Teshumara Nationalist Move-
      ment and the Revolutions in Tuareg Society,” International Review of Social History, Vol. 49,
      Supplement S12, December 2004, p. 89; David Gutelius, “Islam in Northern Mali and the
      War on Terror,” Journal of Contemporary African Studies, Vol. 25, No. 1, January 2007, p. 61.
      3  Ann Hershkowitz, “The Tuareg in Mali and Niger: The Role of Desertification in Vio-
      lent Conflict,” ICE Case Study No. 151, The Inventory of Conflict and Environment (ICE),
      Washington, D.C.: American University, 2005.
      4  Kalifa Keita, Conflict and Conflict Resolution in the Sahel: The Tuareg Insurgency in Mali,
      Strategic Studies Institute Report, Carlisle, Pa.: United States Army War College, 1998, p. 6.
      5  Robin-Edward Poulton and Ibrahim Ag Youssouf, A Peace of Timbuktu: Democratic Gov-
      ernance, Development and African Peacemaking, Geneva: UNIDIR (United Nations Institute
      for Disarmament Research), 1998, p. 31.



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      reach Kidal.6 An airline with unreliable and sporadic schedules con-
      nects Bamako to Timbuktu, the only city in the north with an airport.
      Because of this isolation, civil servants and technicians posted to the
      northern regions have often been reluctant to take their posts or never
      come at all, reinforcing the lack of economic and social services in these
      regions and the northern populations’ feeling of living on the margins.7
            As a consequence, the populations of northern Mali have his-
      torically been closer to the populations of southern Algeria or west-
      ern Niger than to the rest of Mali. Relative socioeconomic deprivation
      and the distance from the capital have led the northern populations to
      establish their own economic networks. Northern Malians commonly
      procure basic consumer goods across the border from neighboring
      Algeria rather than obtaining them from Bamako.8 This is even more
      so for goods that are subsidized in Algeria—and thus cheaper than
      their Malian equivalents—such as fuel, sugar, couscous, and milk.
      Informal trade in the region also includes higher-value “goods,” such
      as cigarettes, weapons, drugs, and migrants from sub-Saharan Africa.
      Trans-Saharan routes have been used over centuries and are still to
      this day largely unregulated due to the remoteness of these areas and
      the inhospitality of the terrain for police and customs patrols. A sharp
      increase in smuggling activities can be traced to the droughts of the
      1970s and 1980s, which forced pastoralist nomads to find other means
      of subsistence. Cross-Sahara smuggling routes were used extensively
      during the Tuareg rebellion of 1990–1996, providing the rebels with
      weapons, fuel, and vehicles. Recently, narcotics—especially cocaine




      6  Macartan Humphreys and Habaye Ag Mohamed, “Senegal and Mali,” in Paul Collier
      and Nicholas Sambanis, eds., Understanding Civil War Africa: Africa Evidence and Analysis,
      Volume 1: Africa, Washington, D.C.: The World Bank, 2005, p. 267.
      7   Poulton and Ag Youssouf, A Peace of Timbuktu, p. 29.
      8   Baz Lecocq and Paul Schrijver, “The War on Terror in a Haze of Dust: Potholes and Pit-
      falls on the Saharan Front,” Journal of Contemporary African Studies, Vol. 25, No. 1, 2007,
      p. 159.



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      from South America—have been an increasing share of the cargos that
      are transported across the desert toward Europe.9

      A History of Contestation
      The northern regions’ relative isolation carries political implications.
      The north has long been considered a nest of dissent and separatism;
      the Tuaregs, in particular, have a history of contesting against the
      Malian state.10 Indeed, long before Mali gained independence from
      France, the Tuareg north had a difficult relationship with the southern
      part of the country due to its isolation and the region’s cultural ties to
      the other regions of the Sahara. Since its independence from France
      in 1960, Mali has experienced three Tuareg-led rebellions:11 in 1962–
      1964, 1990–1996, and 2006–2009.12 This track record of rebellions is
      critical to understanding current events in northern Mali because the
      key actors and the claims for which they fight tend to recur from one
      rebellion to the next.
            In 1962, the Tuaregs, feeling excluded from the government of
      newly independent Mali and oppressed by its modernization policy
      that clashed with their traditional lifestyle, initiated a rebellion, which


      9  2004 seems to have been the turning point for drug trafficking in Africa. According to
      the United Nations Office on Drugs and Crime (UNODC), the amount of cocaine seized
      in Africa jumped from 266 kg in 2003 to 1,788 kilograms the following year. In 2007, this
      figure reached 6,458 kg. See UNODC (United Nations Office on Drugs and Crime), Drug
      Trafficking as a Security Threat in West Africa, November 2008, p. 8.
      10 For a detailed history and sociology of Malian Tuaregs and in particular the Kel Adagh
      tribal confederation, see Pierre Bouilley, Les Touaregs Kel Adagh, Paris: Karthala, 1999.
      11 Although the words “rebellion” and “insurgency” have both been used in the media
      to describe Tuareg uprisings against the Malian state, “rebellion” is the one that was used
      almost exclusively by the participants themselves—whether on the rebels or the government
      side. The word “rebellion” is accordingly used most often in this chapter (phone interview
      with former MPA member and expert on North Mali, August 17, 2009; phone interview
      with Malian military official, August 18, 2009).
      12 There were also Tuareg uprisings during the French colonization period, most notably
      in 1894 and 1916. Both were severely repressed by the authorities (Humphreys and Ag
      Mohamed, “Senegal and Mali,” p. 254). Historically, Kidal has always been the epicenter of
      these contestation movements (Panapress, “Mali: La rebellion touarègue dans le Nord vue de
      Tripoli,” May 21, 2008).



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      was brutally repressed by the Malian authorities. An estimated 1,000
      Tuaregs were killed, and many fled the country toward Algeria and
      Libya, while the central government in Bamako put the three regions
      of Timubuktu, Gao, and Kidal under military administration.13 The
      decades that followed saw a reinforcement of the political marginaliza-
      tion of Tuaregs and Arabs, with an administration and an army made
      up almost exclusively of Songhai.14
            The second rebellion, which is also the most important one in
      terms of duration and number of actors involved, started in 1990. It
      was driven mainly by economic factors: The droughts of the 1970s
      and 1980s had impoverished and socially marginalized many Tuaregs,
      whose frustration was compounded by the fact that little of the drought
      relief funds handed to the Malian government ever reached them,
      due to high levels of corruption in the administration.15 A number of
      Tuaregs who had migrated to Libya in the 1970s came back to Mali
      after the sharp decline in oil prices in the mid-1980s cost them their
      jobs. In June 1990, a small group of Tuaregs from the MPLA (Popular
      Movement for the Liberation of Azawad16) attacked a military outpost
      in Menaka (near the border with Niger), killing soldiers and capturing
      weapons.17
            The Malian government, following its blueprint of the 1960s
      rebellion, declared a state of emergency in the northern region and
      responded to the Menaka attack with repressive measures against civil-
      ians—Tuaregs and Arabs alike. As a result, numerous Tuaregs, who
      previously had had little interest in politics and armed action, decided
      to join the rebellion. The Arab communities created their own armed



      13 Keita, Conflict and Conflict Resolution, pp. 10–11; Lecocq, “Unemployed Intellectuals,”
      p. 89; Chérif Ouazani, “Priorité à la médiation,” Jeune Afrique, September 10, 2008.
      14 Humphreys and Ag Mohamed, “Senegal and Mali,” p. 274.

      15 Lecocq, “Unemployed Intellectuals,” p. 89; Gutelius, “Islam in Northern Mali,” p. 61.

      16 Azawad is the Tuareg-populated region that spans across northern Mali, southern Alge-
      ria, and northwestern Niger.
      17 Humphreys and Ag Mohamed, “Senegal and Mali,” p. 247.




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      émovement, the FIAA (Arab Islamic Front of Azawad), which emerged
      out of the MPLA.18
            Facing simultaneously a Turaeg-Arab rebellion in the north,
      whose first military actions were rather successful,19 and an increasing
      movement for democratization in the south, Malian president Moussa
      Traoré, who had been presiding over a military dictatorship since over-
      throwing President Modibo Keïta in a coup in 1968, decided to accept
      Algeria’s offer to serve as a mediator.20 The Tamanrasset Peace Treaty of
      January 6, 1991, between the Malian government, the MPA, and the
      FIAA stipulated that the Malian army would reduce its presence in the
      north. It also gave more administrative and political powers to local
      actors and promised that sizable funds would be funneled to the north
      for development programs.21
            The peace, however, was short-lived: Some elements of the army
      were hostile to the terms of the accord, which they saw as too favorable
      to the north, and continued to carry out attacks and abuses against the
      civilian population. Tuaregs and Arabs soon became equally unsatis-
      fied with the accord, which was not implemented for lack of funding
      and failed to translate into any concrete improvement of their situ-
      ation. The MPA split and gave rise to two new groups, the Popular
      Liberation Front of Azawad (FPLA) and the Azawad Liberation Revo-
      lutionary Army (ARLA).22

      18 The remainder of the MPLA became the MPA (Popular Movement for Azawad). See
      Poulton and Ag Youssouf, A Peace of Timbuktu, p. 56–57.
      19 Humphreys and Ag Mohamed note that “Militarily, […] the MPLA turned out to be
      strong. In one battle at Tuxemene in September 1990, the movement defeated the army with
      up to 200 troops lost on the government side. […] By the end of the year, the maquis com-
      prised an estimated 3,000 fighters.” (“Senegal and Mali,” pp. 255–256.)
      20 Keita, Conflict and Conflict Resolution, p. 16. Traoré was deposed in a coup in late March
      1991, and its democratic successors proved more prone to providing the Tuaregs with politi-
      cal reforms.
      21 Government of Mali, MPA and FIAA, “Communiqué de presse et texte des Accords de
      paix signés à Tamanghasset,” January 6, 1991.
      22 Humphreys and Ag Mohamed, “Senegal and Mali,” p. 257. FPLA is the “Front Populaire
      pour la Libération de l’Azawad” and ARLA is the “Armée Révolutionnaire pour la Libération
      de l’Azawad.”



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            On April 11, 1992, all parties eventually signed a “National Pact”
      whose provisions differed little from those of the Tamanrasset accord
      but this time included a timetable for implementation. 23 Its two major
      problems, however, were lack of funding to support its implementa-
      tion and the fact that sedentary populations were not consulted and
      felt excluded from the accord.24 Violence resumed once again, and this
      time included inter-ethnic violence between the Tuareg groups and the
      Arab FIAA, as well as between the Tuareg and Arab groups on one side
      and the Patriotic Movement of the Ganda Koy—a self-defense mili-
      tia created by the Songhai and Fula population—on the other.25 The
      conflict eventually petered out around 1995: the FIAA was militarily
      defeated by the army and the Tuareg groups, the ARLA disappeared
      when most of its members decided to join the MPA and the FPLA,
      and the FPLA decided to start negotiating with the Ganda Koy.26 On
      March 27, 1996, in Timbuktu, 3,000 weapons were publicly burned
      in a ceremony known as the Flame of Peace. Close to 12,000 former
      Tuareg rebels were integrated into the Malian armed forces or the
      administration.27
            When Tuaregs took up arms again in 2006, many elements of
      the new insurgency were reminiscent of the 1990s rebellion. To a large
      extent, the main actors involved were the same, and the claims for
      which they fought had barely changed since the signing of the National
      Pact. The rebellion covered three years, from 2006 to 2009, but is best
      understood as comprising two main phases interrupted by almost a
      year of respite. During the first phase, from May to July 2006, a Tuareg


      23 Government of Mali, “Pacte national conclu entre le gouvernement de la République du
      Mali et les mouvements et fronts unifiés de l’Azawad consacrant le statut particulier du Nord
      Mali,” April 11, 1992.
      24 Humphreys and Ag Mohamed, “Senegal and Mali,” p. 258.

      25 Humphreys and Ag Mohamed, “Senegal and Mali,” p. 258. Ganda Koy means “the mas-
      ters of the land” in Songhai. For more on the Ganda Koy, see Poulton and Ag Youssouf, A
      Peace of Timbuktu, pp. 71–72.
      26 Humphreys and Ag Mohamed, “Senegal and Mali,” p. 260.

      27 IRIN (Integrated Regional Information Networks), “Mali-Niger: Insecurity Persists
      Despite Militia Leader’s Arrest,” September 29, 2008.



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      group, the May 23, 2006, Democratic Alliance for Change (Alliance
      Démocratique du 23 mai pour le Changement or ADC), started nego-
      tiating with the government almost immediately after its first attacks
      and signed a peace agreement under the mediation of Algeria within
      three months. Less than a year later, a splinter group from the ADC,
      the Niger-Mali Tuareg Alliance (ATNM), resumed fighting. The
      ending of this second phase came in February 2009 when the ATNM
      incurred major losses, the group split, and its leader fled the country.


      Phase 1: The ADC Rebellion, May–July 2006
      Introduction: Brief History of the Conflict Leading Up to the Period
      of Transition
      On May 23, 2006, 150 Tuareg officers and soldiers billeted in the mili-
      tary posts of Kidal and Menaka deserted their bases with their weapons
      and army vehicles.28 The Menaka garrison was a highly symbolic place
      to attack, for that is where the 1990 rebellion started. This event had
      been preceded, a few months earlier, by the desertion of a well-known
      figure of the 1990s rebellion, Lieutenant-Colonel Hassan Fagaga, who
      left his military post in Bamako and retreated to the area north of
      Kidal with a few men he had recruited.29
            The deserters called themselves the May 23, 2006 Democratic
      Alliance for Change (ADC) and quickly let the Malian government
      know what their demands were: an increased level of autonomy for
      the northern regions and a more equitable distribution of national
      resources in order to contribute to the development of the north. Such
      claims were almost exactly identical to those brought during the 1990s

      28 RFI (Radio France Internationale), “Les Touaregs rebelles veulent négocier,” May 24,
      2006. For a detailed account of the Kidal attack by Hassan Fagaga, see Mustapha Benfodil,
      “Interview of Hassan Fagaga: ‘Il faut un statut particulier pour Kidal,’” El Watan (Algiers),
      June 24, 2007, p. 6.
      29 Zaïre Djaouane, “Les insurgés attendent une médiation étrangère,” Afrik.com, May 29,
      2006; Evariste Ouédraogo, “Désertion du colonel Fagaga de l’armée malienne: Ne réveillez
      pas la rébellion qui dort!” L’Observateur Paalga (Ouagadougou), February 21, 2006; Benfo-
      dil, “Interview of Hassan Fagaga.”



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      Tuareg rebellion; they were fueled by a feeling of frustration borne out
      of the perceived delays in the implementation of the 1992 National
      Pact.30 The main figures of the ADC were Tuaregs who had taken
      part in the 1990s rebellion. The ADC leader, Iyad Ag Ghaly, was the
      former leader of the MPA, and his military chief, Fagaga, had been a
      key member of the same group.31

      Strategy (Pre-Transition)
           Incumbent. For the Malian government, the history of successive
      rebellions and how they had been dealt with by previous leaders rep-
      resented a considerable learning opportunity. Accordingly, the govern-
      ment’s counterinsurgency strategy benefited from the lessons of what
      had worked and what had failed ten years earlier. The main lesson
      the Malian government had learned in the 1990s was that a repressive
      policy against the civilian population bred support for the rebellion
      rather than deterring it. But when the government agreed to negotiate
      and came up with a peace accord, civilians tended to withdraw their
      support to the rebels.32 Another lesson from the 1990s was that, with
      the wrong strategy, the conflict could quickly intensify and spread to
      other categories of the population besides the Tuaregs.
            These considerations may explain why, after the initial attacks,
      the immediate reaction of the Malian government followed two lines:
      appeasement and containment. President Amadou Toumani Touré
      called for dialogue with the mutineers; he also asked the population
      to stay calm and to not confuse the rebels with the rest of the Tuareg
      community.33 Army spokesman Colonel Abdoulaye Coulibaly made


      30 Jane’s World Insurgency and Terrorism, “Malian Tuareg Groups,” August 12, 2009.

      31 Jane’s, “Malian Tuareg Groups.”

      32 Lecocq, “Unemployed Intellectuals,” p. 107. Or, as a military official put it: “We found
      out in the 1990s that a military solution is never final. It is the political solution that is most
      durable” (interview with Malian military official, August 18, 2009).
      33 “Déclaration à Diéma du Président Amadou Toumani Touré sur la situation à Kidal,”
      quoted in Mohamed Sacko, “Attaques rebelles à Kidal : l’armée sécurise la zone,” web site
      of the Ministry for Expatriate Malians and African Integration (ministère des Maliens de
      l’extérieur et de l’ intégration africaine), May 23, 2006. President Touré’s crisis management



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      clear that the army would not reiterate the mistakes of the 1990s and
      publicly stated that “The Malian army, who perfectly controls the situ-
      ation in Kidal and the surrounding areas, did not allow itself to be
      caught in the rebels’ trap. They thought that the regular forces would
      react indiscriminately against Tuaregs and incite other [Tuaregs] inte-
      grated [in the army] to leave the ranks to join the rebellion. Obviously,
      this plan did not work. . . . Currently we can say that the Malian army
      has the city of Kidal and its surrounding areas completely safe with-
      out harming anyone.”34 Beyond appeasement and containment, how-
      ever, President Touré also prepared for the worst by sending additional
      troops from Bamako, Mopti, and Gao toward Kidal.35
            Insurgent. The main request of the ADC was the implementation
      of the 1992 National Pact that had not, ten years later, been fully car-
      ried out.36 In particular, they wanted a lesser presence of the army in
      the north and more development funds.37 Some of the soldiers who had
      deserted also accused the army, into which they had been integrated as
      a result of the peace accord, of discriminating against them—limiting
      their professional advancement and even the supplies to which they
      had access.38
            The ADC, to a large extent, followed the same containment
      policy as the government. They did not attempt to rally other Tuaregs
      (such as those living in Niger) or other nomadic populations (such




      was also very much in line with his leadership style, which is centered on negotiation and
      coalition-building.
      34 Sacko, “Attaques rebelles à Kidal.”

      35 RFI, “Les Touaregs rebelles.”

      36 Lecocq and Schrijver, “The War on Terror in a Haze of Dust,” p. 155.

      37 Abdoulaye Tamboura, “Le MNJ et la crise d’identité des sociétés touarègues,” in “Crises
      touarègues au Niger et au Mali,” roundtable organized by IFRI (Institut Français de Rela-
      tions Internationales), November 27, 2007.
      38 Chahana Takiou, “Situation dans la région de Kidal: une paix à consolider !” L’Indépendant
      (Bamako), February 19, 2009. The populations of the north harbor contradictory feelings
      toward the army.



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      as the Arabs) to their cause.39 There was no consideration, either, of
      attempting to collaborate with the Mali-based cells of al Qaeda in the
      Islamic Maghreb (AQIM), which has represented a new actor in the
      region since the rebellion of the 1990s. At its highest, the ADC had up
      to 1,000 members,40 but they were generally restricted to the Ifoghas
      tribe, which is mostly present in the Kidal region; other tribes and
      regions remained largely outside of the rebellion.41 Within a few days,
      the ADC requested negotiations with the government.
            External Powers Supporting Belligerents. Algeria. Algeria has
      long been, and remains, a key actor in northern Mali. The geographic
      proximity between northern Mali and southern Algeria and the poros-
      ity of the border have resulted in their respective populations engag-
      ing in frequent exchanges and trade relationships. Algeria has had a
      sustained record of diplomatic involvement in the disputes that arose
      between the Malian Tuaregs and Bamako. Both the 1991 Tamanras-
      set agreement and the 1992 National Pact were negotiated under its
      auspices.
            In May–July 2006, when Algeria was called to act as a mediator
      between the Malian government and the ADC, it reportedly put two
      conditions to its involvement: a commitment from the ADC not to
      involve other Tuaregs in the dispute, in particular those from Niger,
      and a pledge that the ADC would not seek autonomy or indepen-
      dence.42 The interests of the Algerian government were therefore per-
      fectly in line with those of the Malian government: to contain the crisis
      and to avoid disintegration of the state in the region.


      39 Iyad Ag Ghaly apparently considered that the rebellion was an internal issue that should
      be confined to Malian Tuaregs (phone interview with Fihouroun Maiga, former Ganda Koy
      combatant and expert on North Mali, September 1, 2009).
      40 Jane’s, “Malian Tuareg Groups.”

      41 Tamboura, “Le MNJ et la crise d’identité des sociétés touarègues”; phone interview with
      Malian journalist, August 14, 2009. This alignment of rebel groups with tribal confedera-
      tions is not unusual. During the 1990s rebellion, the MPLA was largely composed of Kel
      Adagh, while the FPLA drew support from the Chemenammas tribe (Humphreys and Ag
      Mohamed, “Senegal and Mali,” p. 282).
      42 Ouazani, “Priorité à la médiation.”




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             The GSPC. One reason why the crisis in northern Mali received
      more international attention than it had in the 1990s is the emergence
      of a new local actor: the Salafist Group for Preaching and Combat
      (GSPC) and its Saharan cells. The GSPC is a splinter group of the
      Armed Islamic Group (GIA), a radical Islamist group that was par-
      ticularly active during the Algerian civil war of the 1990s. The GSPC
      pledged allegiance to Al Qaeda and renamed itself Al Qaeda in the
      Islamic Maghreb (AQIM) in January 2007. Among the emirs of the
      GSPC, some are more ideologues and others more opportunistic; over-
      all, it is often difficult to distinguish between Muslim fundamentalists
      and traffickers, the two categories largely overlapping.43 The activities
      of the GSPC in the Sahara came to public attention in 2003 when one
      of its emirs, Abderrazak el-Para, kidnapped 32 European tourists and
      reportedly reaped a € 5 million ransom for their release.
             After more than ten years sharing the same territory, GSPC/
      AQIM members and local nomadic tribes (mainly Arabs, but also
      Tuaregs) have developed business and, in some cases, family rela-
      tionships, especially in the Timbuktu region.44 Not only do the two
      groups occasionally compete for the control of smuggling networks,
      but the activities of the GSPC/AQIM—such as the kidnapping of
      Westerners—also risk attracting unwanted local and international
      attention on the informal trade that still represents the basic livelihood
      of many families in the region.45 Tuaregs have also complained that
      the GSPC/AQIM represents a risk to their communities—imposing a
      much more fundamentalist approach to religion and an ideology that
      differs radically from their traditional way of life.46



      43 Jane’s Intelligence Digest, “Mali Peace Accord Could Counter AQMI’s Reach,” March 2,
      2009.
      44 Ali Lmrabet, “Mali: Al-Qaida veut séduire les Touaregs,” Courrier International (origi-
      nally published in El Mundo, Madrid), October 9, 2008; phone interview with Malian jour-
      nalist, August 14, 2009.
      45 Anneli Botha, Terrorism in the Maghreb: The Transnationalisation of Domestic Terrorism,
      ISS monograph No. 144, June 2008, p. 195; Jane’s Intelligence Digest, “Mali Peace Accord.”
      46 Jane’s Intelligence Digest, “Mali Peace Accord.”




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           The ADC publicly denied having any link with the GSPC.47
      Eglasse Ag Idar, a spokesman for the ADC, also denied that the Tuaregs
      were in any way receptive to GSPC ideas, stating instead that “Our
      Democratic Alliance handles security in the region and we chase out
      those who are not from there, that’s the position we’ve taken to control
      the zone.”48 The two groups clashed militarily on at least two occa-
      sions. A leader of the GSPC was reportedly killed and three Tuaregs
      were wounded in a firefight that took place northwest of Kidal on Sep-
      tember 19, 2006.49 This was followed a month later by a revenge attack
      from the GSPC in which nine Tuaregs were killed, several of them
      injured, and two taken prisoners.50 According to one media source,
      the clashes happened in retaliation for the GSPC’s trying to recruit
      Tuaregs.51

      The Transition Period
      Unlike past Tuareg insurgencies, the conflict ignited by the ADC
      moved very quickly toward a resolution.
            For the government, it was clear that the rebels were not inter-
      ested in protracted fighting. The ADC asked for negotiations imme-
      diately after the Kidal and Menaka incidents, and it did not engage in
      further attacks after that.52 This suggests either that the group did not
      have much of a military plan or that its objective was to put pressure
      on the government to advance a political agenda rather than to achieve
      military victories. In an interview he gave almost a year later, Fagaga
      confirmed this point: “If we had wanted war for war itself, we would
      have repeated our attacks and locked all ways toward dialogue—which


      47  “Démenti pour toute connexion de notre mouvement avec le GSPC,” Azawad-Union
      blog, June 9, 2006.
      48 Reuters, “Mali Tuaregs Say Algerian Militant Killed in Clash,” October 1, 2006.

      49 Reuters, “Mali Tuaregs.”

      50 Reuters, “Algerian Militants Ambush Malian Tuaregs, Kill 9,” October 24, 2006.

      51 Reuters, “Algerian Militants Ambush Malian Tuaregs.”

      52 Phone interview with Fihouroun Maiga, former Ganda Koy combatant and expert on
      North Mali, August 11, 2009.



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      we did not. We thought of this attack [in Kidal and Menaka on May
      23, 2006] as a warning.”53
           The ADC, however, refused to speak directly with the Malian
      government, which it distrusted, and expressly requested a foreign
      mediator. Fagaga told a journalist that “there were four candidates: the
      United States, France, Libya, and Algeria.”54 The Malian government
      chose Algeria, which became the lead mediator in the crisis.55

      Managing the Transition
      With negotiations under way, the conflict seemed circumscribed.
      Abdelkrim Ghrieb, Algerian ambassador to Mali, helped the two par-
      ties (represented by Minister of Territorial Administration General
      Kafougouna Koné for the Malian government and Iyad ag Ghaly for
      the ADC) reach a peace agreement, which was signed in Algiers on
      July 4, 2006.
            The Algiers Accord granted the Tuaregs more development funds,
      with Bamako pledging to funnel $2 million to the north for that pur-
      pose.56 It specified a list of infrastructure projects that would be built in
      the region. It also recognized the specificity of the northern regions and
      promised a quickening of the devolution of power toward local institu-
      tions. The rebels who had deserted were allowed back into the army,
      which would largely evacuate the north. In exchange, the Tuaregs
      pledged not to seek political autonomy, and reintegrated rebels would
      return the weapons they had seized from the Malian security forces.57
            The Algiers Accord provided for the reintegration of ADC ex-
      combatants not just into the Malian army but also within the Special
      Units, where they would be mixed with Malian soldiers. These units,

      53 Hassan Fagaga, quoted in Benfodil, “Interview of Hassan Fagaga.” Author’s translation.

      54 Hassan Fagaga quoted in Benfodil, “Interview of Hassan Fagaga.”

      55 Benfodil, “Interview of Hassan Fagaga.”

      56 IRIN, “Mali: Civil Society Cautiously Optimistic About Prisoner Release,” Septem-
      ber 10, 2008; Chérif Ouazani, “Priorité à la médiation.”
      57 BBC, “Tuareg rebels in Mali Peace Deal,” June 30, 2006; Government of Mali, “Accord
      d’Alger pour la restauration de la paix, de la sécurité et du développement dans la région de
      Kidal,” July 4, 2006.



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      to be “composed essentially of elements originating from nomadic
      regions,” included many former combatants and were tasked with
      basic security and patrolling roles in the north.58 More than 400 new
      recruits were planned to join these Special Units, which were put under
      the commandment of Hassan Fagaga.
            The brief rebellion of 2006 was a winning game for both the gov-
      ernment and the ADC. Bamako solved a crisis that could have turned
      into a civil conflict within a matter of weeks, and secured its prime
      interest: the preservation of the country’s territorial integrity, with the
      ADC renouncing any claim to political autonomy. President Touré
      gained direct political benefits from his appeasement strategy: support
      from Tuareg leaders in the presidential elections that took place on
      April 29, 2007, allowed him to win with a large majority.59 The Tuaregs
      successfully brought to the government’s attention the problems they
      were facing in the north and, more generally, their frustration that
      most of the provisions of the 1992 National Pact had not been imple-
      mented. They quickly obtained the negotiations they asked for, and
      their main grievances were addressed in the Algiers Accord.
            The leaders of the rebellion were either reintegrated into the army
      or given prominent positions. Ag Ghaly and Bahanga became mem-
      bers of the Haut Conseil aux collectivités (the Malian senate).60 In 2007,
      Ag Ghaly was appointed Consul of Mali in Saudi Arabia, and his
      deputy Amada Ag Bibi was elected a representative to Mali’s National
      Assembly.61
            For a few months, the crisis seemed resolved. On March 8, 2007,
      the weapons of more than 2,000 former combatants were collected,



      58 Government of Mali “Accord d’Alger,” Chapter III, § 4. AFP, “Joint Malian-Tuareg Com-
      mission to Prepare New Round of Talks,” August 20, 2008; Jeune Afrique, “Le casse-tête des
      unités spéciales,” February 23, 2009.
      59 Tiemoko Diallo, “Tuareg Rebels Attack Police Post in Northeast Mali,” Reuters, May 11,
      2007.
      60 El Watan (Algiers), “Les rebelles touareg attaquent Tinzaouatène,” September 14–15,
      2007, p. 12.
      61 Panapress, “Mali: La Rebellion”; Jane’s Intelligence Digest, “Mali Peace Accord.”




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      and their owners were billeted in Kidal.62 Two weeks later, a large donor
      meeting (the “Forum de Kidal,” planned for in the Algiers Accord)
      took place, with the objective of gathering international contributions
      to fund a $1.1 million, ten-year development plan for the region.63
           Overall, Bamako transitioned out of the counterinsurgency by
      pursuing a number of measures that were all aimed at promoting
      national reconciliation. The government

         • addressed the grievances of the ADC by granting its two main
           requests (a lesser military presence in the north and a larger share
           of national financial resources)
         • built confidence within the northern communities by refraining
           from forcible disarmament
         • increased the role of local actors in securing the north
         • integrated the rebel leaders into the national political apparatus
         • quickly followed through on some of its most essential promises,
           such as making resources available for the development of the
           northern regions.

            In exchange, the Malian government obtained the promise that
      Malian territorial integrity would not be challenged by the ADC. The
      situation reverted to normal, but this peaceful transition lasted only a
      few months. What the government could not prevent was a schism in
      the ADC and the emergence of an unyielding minority that denounced
      the Algiers Accord and took up arms again.




      62 Chérif Ouazani, “Rebellion au Nord du Mali: Les dessous d’une attaque,” Jeune Afrique,
      May 20, 2007.
      63 Ouazani, “Rebellion au Nord du Mali.” See Conclusions et recommandations du forum
      de kidal pour le developpement des régions nord du Mali, Kidal, les 23 et 24 mars 2007.



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      Phase 2: The ATNM Rebellion (May 2007–February 2009)
      Introduction: Brief History of the Conflict Leading Up to the Period
      of Transition
      The peace was short-lived. Bahanga had only half-heartedly accepted
      the Algiers Accord and, less than a year later, founded a new group, the
      Niger-Mali Tuareg Alliance, and attacked a Malian security post in
      Tin-Zaouatène, near the Algerian border, on May 11, 2007. This attack
      was deadlier for the rebels than for their victims, because eight men out
      of the ten who were killed belonged to their ranks, but it marked the
      beginning of a new insurgency. On August 26, 2007, another ATNM
      attack in the Tedjeret region resulted in the kidnapping of 60 soldiers. 64
            Unlike the ADC, the ATNM reportedly had links with traffick-
      ing networks active in the region, 65 as well as with the Niger’s Move-
      ment for Justice (MNJ), a Tuareg group involved in a rebellion against
      the government of Nigerien President Mamadou Tandja. The Tin-
      Zaouatène attack of May 2007 was reportedly conducted with the help
      of Nigerien Tuaregs.66 It is unclear whether this alliance was born out
      of commitment to a pan-Tuareg ideology or if it was mainly opportu-
      nistic and represented a way for Bahanga to make up for his lack of
      manpower.67 The latter interpretation is more consistent with the fact
      that, overall, only a small fraction of the MNJ fought alongside Ba-
      hanga, and only for a short period of time.

      Strategy (Pre-Transition)
           Incumbent. Initially, the strategy of the Malian government was
      very similar to the one it had pursued with the ADC. This strategy
      was fourfold: (1) to isolate the rebels and avoid contagion; (2) to avoid
      antagonizing neutral Tuaregs; (3) to pursue a diplomatic track with the


      64 El Watan, “Qui est Ibrahim Bahanga?” September 14–15, 2007, p. 12; BBC, “Mali Boosts
      Army to Fight Tuareg,” September 18, 2007.
      65 Jane’s World Insurgency and Terrorism, “Malian Tuareg Groups.”

      66 Diallo, “Tuareg Rebels Attack Police Post.”

      67 Ouazani, “Rebellion au Nord du Mali.”




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      help of Algeria and Libya; and (4) to keep a low level of military pres-
      sure on the insurgents.
             The government attempted to separate those members of the
      ADC who supported the Algiers Accord from Bahanga’s followers.68
      Its attitude toward Bahanga was very different from what it had been
      toward the ADC. From the very beginning, the government presented
      Bahanga as a drug smuggler and a bandit, claiming that he did not
      have any legitimacy speaking for the Tuaregs.69 A ministry of defense
      spokesman called members of the ATNM terrorists rather than reb-
      els.70 After the Nampala attack of December 2008 (see below) Malian
      authorities described those responsible as “an armed gang linked to
      drug traffickers.”71 One interpretation of Bahanga’s rationale for fight-
      ing was that he was trying to get the army to withdraw from the Tin-
      Zaouatène area, a move that would allow him to carry out smuggling
      activities undisturbed. Rather than acting for the common good of the
      Tuareg people, Bahanga was accused of trying to secure a sanctuary for
      his business interests72 —an interpretation supported by several Malian
      and Western sources.73

      68 AFP, “Mali: ‘Pas de trêve’ dans les combats contre le group rebelle d’Ag Bahanga,”
      February 3, 2009.
      69 IRIN, “Mali: Indignation Dominates Reaction as Attacks in North Escalate,” August 31,
      2007. ADC members were first called “deserters” and then “rebels” by the Malian govern-
      ment, but never (at least publicly) “bandits” (phone interview with former MPA member and
      expert on North Mali, August 17, 2009).
      70 Voice of America, “Analyst Says Mali Troop Buildup Raises Risk for Renewed Violence,”
      October 22, 2007.
      71 Quoted in BBC, “Tuareg Rebels Raid Mali Army Base,” December 20, 2008.

      72  BBC, “Mali Boosts Army to fight Tuareg.” Army Chief of Staff Colonel Gabriel Poudi-
      ougou described the conflict as “part of a battle for control over lucrative smuggling routes
      across the Sahara for goods such as cigarettes. ‘It is a struggle of interests between traffickers,
      that’s how it has to be understood’” (Colonel Poudiougou, quoted in Reuters, “Interview—
      Mali Counts on Negotiation, Not Force with Rebels,” November 17, 2006).
      73 Jane’s Intelligence Digest, “Mali
                                     �����������������������������������������������������������
                                           Peace Accord”����������������������������������������
                                                         ; phone interview with a Malian journal-
      ist, August 14, 2009; see also interview of Head of United Nations Office on Drugs and
      Crime (UNODC) bureau in West and Central Africa Antonio Mazzitelli in Pascal Fletcher,
      “Interview—West Africa Is Crime, Terrorism ‘Black Hole’—UN Expert,” Reuters, January
      13, 2008.



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            In what appears as another attempt to discredit the rebels, the
      Malian government accused the ATNM of having links with AQIM
      and of having participated in the kidnapping of four Western tourists
      in January 2009.74 Bahanga formally denied the claim and described
      his group’s relations with AQIM as one of “war” in an interview to
      Algerian newspaper El Khabar, stating that “their cause is not ours.”75
            The Malian government’s effort at attempting to isolate Bahanga
      within the Tuareg community paid off. Malian army spokesman Colo-
      nel Abdoulaye Coulibaly told Reuters that members of the ADC were
      helping soldiers hunt down those who had attacked the Tin-Zaouatène
      post.76 The ADC, in fact, had publicly condemned the May 2007
      attack. Moderate Tuaregs not only helped militarily, but also diplo-
      matically. In September 2007, Tuareg elders undertook to negotiate
      with Bahanga on behalf the Malian government.77
            Avoiding a spread of the crisis also required that other ethnic
      or political groups be kept out of the fighting. This became a press-
      ing issue for the Malian government when a Fula and Songhai mili-
      tia group, the Ganda Izo (meaning “the sons of the land” in Sorhaï),
      emerged in 2008 in the Gao area.78 Presented by its instigators as a self-
      defense movement against cattle raiding and acts of violence commit-
      ted by Tuaregs, the Ganda Izo was the natural successor of the Ganda
      Koy movement that had taken part in the 1990s rebellion on the side
      of the government.79 Contrary to the Ganda Koy, however, the Ganda
      Izo was not well-structured, and probably never counted more than




      74 El Watan, “Des rebelles touaregs pénètrent en Algérie,” February 7, 2009.

      75 El Khabar (Algiers), “Brahim Ag Bahanga: ‘Le Gouvernement malien n’a fait aucune
      concession,’” July 26, 2008.
      76 Diallo, “Tuareg Rebels Attack Police Post.”

      77 BBC, “Mali Boosts Army to fight Tuareg.”

      78 “Ganda-Izo” can also be found with the spelling “Gandaiso.”

      79 Abdoulaye Diakité, “Conflit intercommunautaire à Ansongo: Que veut réellement le
      leader du movement ‘Gandaïso’?” L’Indicateur Renouveau (Bamako), June 26, 2009.



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      100 members.80 The Malian army did not back or arm the Ganda Izo,
      unlike what it had done with the Ganda Koy in the 1990s.81
            The Malian government started negotiating promptly with the
      ATNM, but its mediation effort differed in one major way from the
      one it had pursued with the ADC: Bamako never intended to sign an
      “encore Algiers Accord” with the ATNM. The existing Algiers Accord
      had already raised much criticism from the army and the population
      in the south, who thought that too many concessions had been made
      to the rebels while the full application of the National Pact could have
      sufficed.82 The government’s objective was to get Bahanga to cease the
      fighting but without making any additional concessions in exchange.
      Combined with a military strategy that remained largely defensive—
      no effort was made, for instance, to attack the logistics base of the
      ATNM—this policy effectively gave Bahanga the initiative. His
      sudden stepping down was the only way the conflict would stop, but
      the government offered him no incentive—whether carrot or stick—to
      do so.83
            Insurgent. Sources differ on how many combatants the ATNM
      could claim, with estimates ranging from 100 to 1,000.84 Bahanga
      himself claimed to have 3,000 Malian Tuaregs following him.85 The
      ATNM’s tactics consisted in taking civilian and military hostages, as
      well as conducting attacks against military posts.
            Ibrahim Bahanga’s motivations for reverting to military action
      after the Algiers Accord are unclear. To the Malian newspaper
      L’Indépendant he claimed that the way the Algiers Accord was applied

      80 Tiemoko Diallo, “Niger Arrests Mali Militia Leader After Killings,” Reuters, September
      27, 2008; phone interview with a Malian journalist, August 14, 2009.
      81 See, for instance, Keita, Conflict and Conflict Resolution, p. 20.

      82 Phone interview with Malian military official, August 18, 2009.

      83 Phone interview with Malian military official, August 18, 2009.

      84 Jane’s World Insurgency and Terrorism, “Malian Tuareg Groups”; phone interview with
      Malian journalist, August 14, 2009; phone interview with Fihouroun Maiga, former Ganda
      Koy combatant and expert on North Mali, August 11, 2009.
      85 El Khabar (Algiers), “Brahim Ag Bahanga: ‘Le gouvernement malien n’a fait aucune
      concession.’”



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      was “not normal,” arguing that there was a “reinforcement of the mili-
      tary deployment in the area, security posts were created, and houses
      were searched.”86 The deployment of military units in the north may
      have been perceived as an infringement on the Algiers Accords, which
      provided for a reduction of the military presence in the northern
      regions.87 ATNM spokesperson Hama Ag Sidahmed also cited the lack
      of implementation of the Algiers Accord as the reason why Tuaregs
      were taking up arms again, adding that the ATNM’s objectives were
      to get the governments of Mali and Niger to “accept” that “Tuareg
      regions obtain a complete autonomy that takes into account all [their]
      particularities.”88
            The ATNM’s requests differed little from the ADC’s, except that
      its main focus was the complete evacuation of the northern regions by
      the army. The Malian government refused to give in to the ATNM’s
      demands, arguing that this would create a no-law zone and allow all
      trafficking activities, in particular drug trafficking, to prosper in that
      region.89
            Like the ADC before it, the ATNM quickly asked for negotia-
      tions. In September 2007, ATNM spokesman Ag Sidahmed claimed
      that the 2006 Algiers peace process had been concluded “too fast” and
      that the provisions of the accord had either not been implemented or
      were changed unilaterally by the Malian government; accordingly,
      the ATNM requested new negotiations.90 At the same time, repeated
      attacks against military posts and convoys suggest that the group was



      86 Ibrahim Bahanga in L’Indépendant, August 30, 2007 (quoted in El Watan, “Pourquoi les
      troubles ont repris?” September 14–15, 2007). Author’s translation.
      87 Panapress, “Mali: La Rebellion.”

      88 Naima Chekchak, “La Nouvelle Alliance Touareg du Niger et du Mali (ATNM),”
      Occitan-Touareg blog, September 9, 2007.
      89 AFP, “Crise au Nord-Mali,” December, 28, 2008. A 750-kg shipment of cocaine was
      intercepted by the Malian police near the northern town of Tin-Zaouatène in January 2008,
      after a firefight with the traffickers (Reuters, “Mali Seizes 750 kg Cocaine After Saharan
      Gunfight,” January 3, 2008).
      90 Chekchak, “La Nouvelle Alliance Touareg du Niger et du Mali (ATNM).”




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      also trying to put the Malian government under military pressure to
      gain leverage in future negotiations.
            External Powers Supporting the Belligerents. Algeria returned
      to its mediating role when the new rebellion broke out, and was at one
      point replaced in this effort by Libya. Other key external actors during
      the ATNM rebellion were Niger and, to a lesser extent, the United
      States.
            Algeria. The second phase of the rebellion was marked by a series
      of negotiations leading to truces that were quickly broken. After the
      attacks of July 2007, the ATNM and the Malian army agreed on
      August 31 to a ceasefire after a mediation in which Iyad Ag Ghaly
      took part.91 The ATNM pledged to cease attacks and kidnappings.92
      This ceasefire was broken two weeks later, when the ATNM attacked
      a Malian army position near Tin-Zaouatène. In early September 2007,
      Algeria was asked officially by the Malian government to become once
      again the lead mediator in the crisis. New talks, again mediated by
      moderate Tuaregs and Algeria, led in mid-September 2007 to a new
      truce.93
            Algeria suspended its mediation efforts for a few weeks in early
      2008, reportedly in reaction to the arrival of Libya in the negotiations,
      and to critics in the Malian media accusing President Abdelaziz Boute-
      flika of not making sufficient efforts to help obtain the release of hos-
      tages, some of whom were thought to be on Algerian soil.94 Algeria,
      however, agreed to resume its efforts in May, after Libya’s failure to
      secure a longer-lasting truce than Algeria and a particularly murderous
      attack on Abeïbara, where ten soldiers lost their lives. Violence resumed
      again in December 2008, when members of the ATNM attacked an
      army post in Nampala.95

      91 El Watan (Algiers), “Les troubles dans le nord du Mali en 2007,” September 14–15, 2007.

      92 El Watan, “Les rebelles touareg.”

      93   BBC, “Mali’s Tuareg Rebels Agree Truce,” September 19, 2007.
      94 Ouazani, “Priorité à la médiation”; El Watan, “Crise malienne: l’Algérie reprend la média-
      tion,” May 25, 2008; phone interview with Fihouroun Maiga, former Ganda Koy combatant
      and expert on North Mali, August 11, 2009.
      95 BBC, “Tuareg Rebels Raid Mali Army Base.”




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             Libya. Libya represents the other major powerbroker in the region,
      along with Algeria. Like Mali, Algeria, and Niger, Libya has a Tuareg
      population that is mostly located in the southwestern corner of the
      country. Libya’s leader Mu’ammar Qadhafi has long presented himself
      as a defender of the Tuareg cause. During the 1970s and 1980s, many
      Tuaregs migrated to Libya, mainly for economic reasons. Qadhafi also
      promised Tuaregs—in Mali and elsewhere—to help them in their fight
      against their respective central governments.96 Many young Tuaregs
      benefited from Libyan military training, and first used their skills in
      Qadhafi’s expeditionary corps (the “Islamic Legion”) before putting
      them at use in their own country.97 Many of the actors in the rebellion
      of the 1990s returned from Libya with experience of sustained fight-
      ing gained with the Legion, including in Lebanon and Chad.98 During
      the Tuareg rebellion of the 1990s, Qadhafi was present at the nego-
      tiation table—along with Algeria and Niger—after President Traoré
      eventually decided to search for a mediated solution. The Libyan leader
      famously showed up to the meeting wearing the traditional Tuareg
      dress.99 Qadhafi’s involvement with the Tuareg cause has allowed him
      to become a central actor in the Sahelian region.100 Libya’s interest in
      North Mali is also evidenced by its opening of a consulate in Kidal in
      early 2006, which it closed only a few months later in an effort to back
      its official claim that Tripoli had no involvement in the rebellion.101

      96 Humphreys and Ag Mohamed, “Senegal and Mali,” p. 255.

      97 Other Tuaregs were incorporated in Libya’s regular army (Keita, Conflict and Conflict
      Resolution, p. 13).
      98 Humphreys and Ag Mohamed, “Senegal and Mali,” p. 255.

      99 Tor A. Benjaminsen, “Does Supply-Induced Scarcity Drive Violent Conflicts in the Afri-
      can Sahel? The Case of the Tuareg Rebellion in North Mali,” Journal of Peace Research, Vol.
      45, No. 6, 2008, p. 830.
      100 Libya’s influence in Northern Mali is also important on the religious front: the Libyan
      World Islamic Call Society (WICS) occupies an important place in the region alongside
      other missionary Muslim movements such as the Da’wa (backed by Saudi Arabia) and the
      Da’wa al-Tabligh (backed by Pakistan). On this point, see Gutelius, “Islam in Northern
      Mali,” p. 72, n. 7.
      101 Sacko, “Attaques rebelles à Kidal.” This claim was backed later by Bahanga himself, who
      claimed that the sole source of weapons procurement for his group was their attacks against



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             Libya was nevertheless involved diplomatically, becoming lead
      mediator in early 2008. On April 2, a truce was signed in Tripo-
      li.102 The ATNM promised to release more than 30 prisoners,103 and
      the Malian government agreed to reduce its military presence in the
      north.104 Libya also promised to provide some development assistance
      to the region.105
             Niger. Niger’s Tuareg issue is, to a large extent, very similar to
      Mali’s. Niger’s northern regions are home to Tuareg communities
      who have taken part in several armed rebellions over the past decades,
      including a large-scale one in the 1990s that was concluded by a peace
      agreement mediated by Burkina Faso and whose provisions mirrored
      closely what the Malian Tuaregs had achieved through the Tamanras-
      set Accord and the National Pact. 2007 saw a resurgence of Tuareg
      unrest in Niger.106 In February, a Tuareg group calling itself the Niger
      Movement for Justice, led by Aghaly ag Alambo, launched an attack
      against the town of Iferouane, near Agadez (460 miles northeast of
      the capital Niamey). As in Mali, Tuaregs complained that their region
      was underdeveloped in comparison to the rest of Niger and called for
      a better redistribution of the country’s revenue—especially the part

      Malian troops and bases—suggesting that Libya had not provided military support to the
      group (El Khabar, “Brahim Ag Bahanga.”)
      102 Panapress, “Mali: La Rebellion.”

      103 BBC, “Mali Tuareg Rebels in Peace Pact,” April 4, 2008.

      104 BBC, “Tuareg Rebels in Deadly Mali Raid,” May 22, 2008.

      105 BBC, “Tuareg Rebels in Deadly Mali Raid”; B. Daou, “Bahanga attaque le Camp mili-
      taire d’Abeibara et exige l’ouverture du dialogue,” Le Républicain (Bamako), May 22, 2008.
      The ADC, which had been at peace with the Malian government since the Algiers accord,
      is said to have taken part in the Abeibara attack along with the ATNM. Both attacks were
      perceived by Tuaregs as retaliation for the killing of Barka Ag Cheikh and Mohamed Ag
      Moussa. Many Tuaregs outside of Bahanga’s group felt that it was their duty to avenge their
      deaths (phone interview with Malian journalist, August 14, 2009; phone interview with
      former MPA member and expert on North Mali, August 17, 2009). This reversal of the
      ADC’s support for the government (albeit unofficial, and probably not permanent) illustrates
      the volatility of the situation in the area.
      106 It is, however, unclear whether the 2006 Tuareg rebellion in Mali—and its relative suc-
      cess for the insurgents—influenced Nigerien Tuaregs’ decision to resort to arms in early
      2007.



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      derived from the exploitation of Niger’s uranium resources, which are
      located in Tuareg-populated areas.107 The governments dealt very dif-
      ferently with their respective internal crises. Nigerien President Mama-
      dou Tandja chose an exclusively military response, calling the rebels
      a band of bandits and smugglers. Not only did this fail to crush the
      movement, it also led a number of soldiers to desert their posts and join
      the MNJ.108
            In terms of the tactics employed by the ATNM, the involvement
      of Nigerien Tuaregs may help explain the use of antipersonnel and
      anti-vehicle mines in the rebellion. They represented a novelty in Mali,
      having been used neither during the Tuareg rebellion of the 1990s nor
      during the ADC’s rebellion of 2006.109 The MNJ, however, was known
      to use them routinely on the other side of the Mali-Niger border.110
            The Nigerien connection dwindled rather quickly, and the MNJ
      soon denied being involved in the ATNM’s activities.111 A few months
      later, in an interview in the Algerian newspaper El Khabar, Bahanga
      denied that his group included any Nigerien (or Algerian) Tuareg.112
      It is unclear whether this was a pragmatic response to the disengage-
      ment of Nigerien elements from the Malian theater or whether it rep-
      resented a change of strategy on the part of Bahanga, who realized
      that his movement would have more appeal if it focused on Mali and
      gave up on pan-Tuareg claims. In any case, both groups are unlikely
      to have ever held serious pan-Tuareg claims,113 and the links between
      Malian and Nigerian Tuaregs should not be overstated. They are better
      described as occasional and temporary alliances rather than a deep-


      107 STRATFOR, “Niger: A Rebel Threat to the Uranium Sector,” February 1, 2008.

      108 David Zounmenou, “Niger: Making Sense of the New Tuareg Rebellion,” ISS Today,
      Institute for Security Studies (Pretoria), July 27, 2007.
      109 IRIN, “Mali: Indignation Dominates Reaction as Attacks in North Escalate.”

      110 IRIN, “Mali: Indignation Dominates Reaction as Attacks in North Escalate.”

      111 IRIN, “Mali: Indignation Dominates Reaction as Attacks in North Escalate.”

      112 El Khabar, “Brahim Ag Bahanga.”

      113 Zounmenou, “Niger: Making Sense of the New Tuareg Rebellion”; Jane’s World Insur-
      gency and Terrorism, “Nigerien Tuareg Groups,” September 23, 2008.



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      rooted partnership. The two groups’ concerted action may have been
      limited to providing each other with logistical support and a rear base
      when the situation was becoming a little too hazardous on either side
      of the border, or to move hostages around.114
            On August 22, 2007, the governments of Mali and Niger agreed
      to grant each other a “right of hot pursuit” on their respective territories
      and to create joint patrols.115
            The United States. The 1998 terrorist attacks against the U.S.
      embassies in Kenya and Tanzania led the United States to reevaluate
      the relevance of Africa for American national security. The events of
      9/11 and a concern that some areas in Africa might be providing sanc-
      tuaries for terrorist groups heightened this change of perception. The
      2006 National Security Strategy stated that “our security depends upon
      partnering with Africans to strengthen fragile and failing states and
      bring ungoverned areas under the control of effective democracies.”116
      The Saharan-Sahel belt—Northern Mali in particular—fit well the
      “ungoverned area” definition, for it combines weak control from cen-
      tral governments and porous borders. The area also has a history of
      smuggling and political instability, a large presence of small arms, and
      evidence of a radical Islamist group (GSPC/AQMI) taking root in the
      area. All these elements explain why the United States has paid increas-
      ing attention to this region over the past decade. Not everyone agrees
      with the inclusion of northern Mali in the “ungoverned area” category,
      however. Baz Lecocq and Paul Schrijver, for instance, contend that
      Tuareg leaders and the Malian government have a solid and long-held
      arrangement according to which the former are unofficially in charge
      of governing and policing the area. This system already existed during
      the colonial period and has continued since. 117

      114 Phone interview with a Malian journalist, August 14, 2009.

      115 El Watan, “Les troubles dans le nord.”

      116 USNSC (United States National Security Council), The National Security Strategy of the
      United States of America, March 2006, p. 37.
      117 Lecocq and Schrijver, “The War on Terror in a Haze of Dust,” p. 156–157. According to
      these authors, “The position of tribal leader grew to become that of a fully-fledged colonial
      civil servant with its own rank, career path and salary scale, responsible for justice, safety,



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            The Pan-Sahel Initiative (PSI) announced by Washington in late
      2002 provided training and assistance to the armed forces of Mau-
      ritania, Mali, Niger, and Chad, with the objective of making them
      more capable of patrolling and securing their respective territories. In
      2005, the PSI became the Trans-Saharan Counterterrorism Partner-
      ship (TSCTP) and was extended to Algeria, Morocco, Tunisia, Nige-
      ria, and Senegal. The Flintlock joint military exercise of June 2005
      brought together up to 1,000 U.S. military personnel and participants
      from Algeria, Chad, Mauritania, Mali, Niger and Senegal.118 Since the
      early days of U.S. involvement in the region, Northern Mali has been
      considered an area of priority, absorbing more than half of PSI funds.119
      Such assistance has been welcomed by Malian authorities: In 2006, the
      Army Chief of Staff stated that “Mali by itself can’t sort out terrorism
      and Mali is only a link in the chain in the global fight with world ter-
      rorism. Our weakness is we have a big territory that we can’t control
      with our very limited means, and for that we need partners like the
      United States, France and others.”120
            When the Bahanga rebellion broke out in 2007, the United States
      used some of the assets it had deployed in the context of the TSCTP
      to assist the Malian government in its fight against the rebels.121 This
      discreet assistance was brought to public attention when an American
      C-130 supplying an isolated military outpost near Tin-Zaouatène was
      shot at by the ATNM on September 12, 2007. This aircraft was in
      Mali to be used in the Flintlock exercise that had taken place a few
      weeks earlier.122 The United States downplayed its involvement, noting
      about the resupplying plane that “U.S forces were in a position to assist,

      taxes and education. […] In 1961 this civil service status given to clan leaders was formally
      revoked. But, like the French before them, the Malian authorities quickly discovered that
      direct rule without tribal leaders was not possible.
      118 EUCOM (United States European Command), “Exercise Flintlock 05 Under Way in
      Africa,” June 9, 2005. This exercise was repeated in 2007 and 2009.
      119 Lecocq and Schrijver, “The War on Terror in a Haze of Dust,” p. 144.

      120 Reuters, “Interview—Mali Counts on Negotiation.”

      121 BBC, “Mali Boosts Army to Fight Tuareg.”

      122 El Watan, “Les rebelles touareg.”




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      as they had just completed the [Operation] Flintlock exercise, so they
      conducted the re-supply mission.”123

      The Transition Period
      The Nampala attack of December 2008 was the turning point of the
      conflict, and it led to a radical change in the Malian government’s
      strategy. On December 20, the ATNM attacked a military garrison
      located in Nampala, near the Mauritanian border, 300 miles north of
      Bamako. The attack was the deadliest since the June 2, 2007, attack
      against an army convoy near Tin-Zaouatène.124 Nine soldiers were
      killed, along with 11 rebels, and several soldiers were taken hostage.125
      The high number of casualties in the Nampala attack provoked out-
      rage within the ranks of the army, where an increasing number of sol-
      diers and officers were criticizing the appeasement policy of the govern-
      ment and called for forceful retaliation for the lives lost at Nampala.126
      The Nampala attack also confirmed, after the Diabaly attack of May
      2008 (only 150 miles away from Bamako), that the crisis threatened
      to spill outside of the three northern regions.127 Finally, Nampala may
      also have been a turning point because it marked the end of a five-
      month ceasefire and suggested that the seemingly endless cycle of
      negotiations/truces/resumption of violence would continue unless
      the ATNM was eliminated for good.
            Bamako decided that it was time retake the initiative. It aban-
      doned, at least temporarily, the diplomatic track and opted for a more-




      123 Captain Darrick Lee, EUCOM Public Affairs Officer, quoted in Dulue Mbachu, “US
      Tactics in Africa Could Lead to a Self-Fulfilling Prophecy of a Desert War,” ISN Security
      Watch, International Relations and Security Network at ETH Zurich, November 7, 2007.
      124 Christophe Boisbouvier, “ATT entre en guerre,” Jeune Afrique, January 27, 2009; AFP,
      “Mali: Brève ‘offensive’ de l’armée contre des rebelles touareg dans le nord,” January 2, 2009.
      125 BBC, “Tuareg Rebels in Deadly Mali Raid.”

      126 Phone interview with Fihouroun Maiga, former Ganda Koy combatant and expert on
      North Mali, August 11, 2009; phone interview with Malian journalist, August 14, 2009.
      127 Reuters, “Nouvelles attaques des rebelles touaregs,” May 7, 2008.




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      offensive military approach.128 On December 22, President Touré pub-
      licly stated, “Enough is enough. We cannot keep on suffering, counting
      our dead and looking for peace,”129 and followed the same line in his
      speech of New Year’s eve 2008: “While reaffirming its commitment to
      pursue the implementation of the Algiers accord, our country cannot
      tolerate acts of violence such as the attack perpetrated against Nampala
      by armed bandits with links to narcotraffickers.”130 As a first step, he
      sent additional troops to the north. The military effort was led by Colo-
      nel Mohamed Ould Meidou (an Arab from Timbuktu who was the
      military commander—Chef de Zone—of Mopti), and Colonel El Hadj
      Gamou, a Tuareg who was the military commander of Gao.131 The
      forces deployed were reinforced with civilians, who formed militias and
      provided the Malian army with logistic logistic and combat support.
      These civilians were young (mostly in the 18–22 year-old range). Their
      precise number is not known; estimates vary between 200 and 600.
      They included Arabs (mostly from the Timbuktu region) and Tuaregs
      (mostly from the Kidal and Gao regions).132 Chosen for their knowl-
      edge of the terrain, they were officially referred to as “guides” who
      helped the army along desert trails, but they were armed and took part
      in the fighting.



      128 BBC, “Tuareg Rebel Base Is ‘Destroyed,’” January 21, 2009; Boisbouvier, “ATT entre en
      guerre.”
      129 President Touré, quoted in Boisbouvier, “ATT entre en guerre.” Author’s translation.

      130 Government of Mali, “Discours à la Nation, December de Son Excellence Monsieur
      Amadou Toumani Touré, Président de la République, Chef de l’Etat,” December 31, 2008.
      Author’s translation.
      131 AFP, “Mali: Brève ‘offensive’”; phone interview with Malian journalist, August 14, 2009.

      132 Boisbouvier, “ATT entre en guerre”; Le Malien (Bamako), “Région de Kidal: Les Colonels
      Gamou et Meidou aux Trousses de Bahanga,” January 19, 2009; phone interview with a
      Malian journalist, August 14, 2009; phone interview with Fihouroun Maiga, former Ganda
      Koy combatant and expert on North Mali, September 1, 2009. The acknowledgement that
      Arabs should be involved more deeply in the resolution of the crisis came from the fact that in
      order to reach Diabaly and Nampala, Bahanga and his men had to go through the Timbuktu
      region, which is largely populated by Arab communities (phone interview with a Malian
      military official, August 18, 2009).



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            The endgame for the ATNM was marked by two fateful—and
      linked—trends: the progressive implosion of the group and a succes-
      sion of military defeats. On January 4, 2009, Fagaga and 300 other
      combatants left the ATNM with their arms.133 Another smaller group
      of 35 combatants left the group a few weeks later.134 After a January
      1, 2009, series of grenade attacks by the ATNM against Tuareg offi-
      cials, the government-backed forces quickly retaliated by launching
      offensives against the ATNM bases.135 They first targeted a base in the
      Aguelhoc area (near the Algerian border) and killed 20 ATNM mem-
      bers, arresting eight more.136 On January 22, the Malian army took
      over a rear base of the ATNM at Tin Essalek, near the Nigerien bor-
      der.137 During the firefight, 31 ATNM members were killed.138
            This intensification of military pressure led Bahanga to ask for a
      ceasefire on February 1, to which a Malian official replied that there
      would be “no truce.”139 The Malian ministry of defense declared that
      the army would keep on chasing the “Bahanga gang,” and would
      ignore the request for a ceasefire sent by “armed bandits.”140 Bamako’s
      new no-negotiation policy was again reaffirmed when it sent the army
      farther than ever in the northeast corner of the country.141 With the


      133 Chérif Ouazani, “Ibrahim Ag Bahanga,” Jeune Afrique, January 27, 2009.

      134 AFP, “Des rebelles Touareg acceptent les propositions de Bamako pour la paix,”
      February 5, 2009.
      135 AFP, “Mali: Brève ‘offensive’ de l’armée.”

      136 Jane’s World Insurgency and Terrorism, “Malian Tuareg Groups.”

      137 Ouazani, “Ibrahim Ag Bahanga.”

      138 According to Malian authorities. See El Watan, “Ag Bahanga demande à réintégrer l’ac-
      cord d’Alger,” February 4, 2009; AFP, “Mali: ‘Pas de trêve’ dans les combats.”
      139 Malian Ministry of Defense official quoted in AFP, �����������������������������������
                                                             “Mali: ‘Pas de trêve’ dans les com-
      bats.” This represented a quick and complete reversal for Bahanga, who on January 25 was
      telling Algerian newspaper El Khabar that “Today our position is clear: our only alternative
      is to respond [to the Malian army’s January 22 attack] and armed war” (quoted in El Watan,
      “Ag Bahanga demande à réintégrer”).
      140 Official from the Malian Ministry of Defense, quoted in AFP, “Mali: ‘Pas de trêve.’”

      141 AFP, “Mali: ‘Pas de trêve.’”




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      Malian government refusing dialogue, Bahanga appealed to Algeria for
      a negotiation and a ceasefire, to no avail.
            By February 6, according to Malian military authorities, all
      ATNM bases had fallen. Bahanga and a few of his men fled the coun-
      try. Libya admitted to hosting him “for humanitarian reasons,” in the
      words of a Libyan diplomat who added that “[Bahanga] has agreed in
      writing not to conduct politics or anything else. We have informed our
      Malian brothers” that Bahanga “has not come here to negotiate.”142

      Managing the Transition
      With the ATNM de facto disbanded and its leader on the run, Bamako
      had to address the issue of the group’s former combatants. The disarma-
      ment process proved particularly thorny. The disarmament ceremony
      had to be postponed for several weeks until a decision was made on
      whether the former rebels should be allowed to enter the city with their
      weapons or whether the weapons should be collected first. It was ulti-
      mately decided that only those who would be integrated in the Tuareg/
      Army Special Units would be allowed to keep their weapons in the
      city, while others were to hand their arms to the Algerian mediator.143
      On February 17, 2009, the disarmament ceremony eventually took
      place in Kidal under the auspices of Algeria, with the participation of
      578 former rebels, both from the ADC and the ATNM. In addition
      to arms and ammunition, two vehicles were returned to the Malian
      army.144 Four hundred former rebels were billeted in Kidal.145
            Algeria remained engaged in northern Mali after the crisis was
      resolved. It pledged to provide development funds for the region and to
      contribute, along with the Malian government, to the initial budget of
      €1.5 million devoted to the reintegration of former combatants. Alge-
      ria also announced it would be building infrastructure in the region,

      142 Libyan diplomat quoted in AFP, “Mali Rebel Leader Takes Refuge in Libya: Diplomat,”
      February 23, 2009.
      143 AFP, “Des rebelles Touareg acceptent. ”

      144 Tiemoko Diallo, “Nearly 600 Malian Rebels Disarm in North,” Reuters, February 17,
      2009.
      145 Phone interview with a Malian military official, August 18, 2009.




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      including a professional training center and clinics.146 It also provided
      for the logistics, training, and equipment of the Special Units tasked
      with patrolling the northern areas. 147
            There is, however, a concern that development efforts may not
      suffice to mitigate the risks of conflict resurgence. Although the lack
      of development and, more generally, the poverty of northern Mali is
      largely claimed by the Tuaregs to be the reason why they occasionally
      turn to violent action, political claims are also extremely important,
      and a number of Tuaregs do want, ultimately, an autonomous territory.
            Such autonomy is not necessarily perceived, however, as a short-
      term goal, which may explain why the ADC renounced it relatively
      easily: most of the group’s members believe in autonomy in the longer
      term, if only because it makes more strategic sense to develop commu-
      nications, infrastructures, and education with funds from the Malian
      state before attempting to break away.148 In a June 2007 interview to
      an Algerian newspaper, Hassan Fagaga clearly explained why indepen-
      dence—or even too strong a decentralization—was not in the interests
      of the north: “Decentralization means that for everything related to the
      commune, the cercle,149 and the region, each governs alone by drawing
      on its own resources. The fact is that our region has no wealth. We have
      no human or natural resources. We do not even have fiscal revenues.
      This region is poor, arid, and thirsty. Asking a commune like Tinza-
      ouatine (Algeria-Malian border) to live on its farming resources and its
      taxes is like sentencing it to death.”150 It is extremely difficult to assess

      146 AFP, “Nord du Mali: lancement d’un programme de réinsertion de 10.000 jeunes,”
      July 25, 2009.
      147 Jeune Afrique, “Le casse-tête des unités spéciales,”

      148 Phone interview with former MPA member and expert on North Mali, August 17, 2009.

      149 The cercle is an intermediary administrative division in Mali. The Gao and Kidal regions
      have four cercles each. The Timbuktu region has five.
      150 Hassan Fagaga, quoted in Benfodil, “Interview of Hassan Fagaga.” According to Kalifa
      Keita, concerns about the sustainability of an independent north have been present since
      before decolonization: “According to Bakara Diallo, governor of Gao in the 1960s, some
      French colonial officials apparently tried to pressure the Tuaregs to fight for an indepen-
      dent Tuareg homeland, although this met with less than universal enthusiasm among the
      nomads. The Tuareg leaders consented at the time to be part of the new Republic of Mali.”



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      what percentage of the Tuareg population shares this ambition of an
      autonomous state, but this political claim, whether widespread or not,
      is most likely to remain a thorn in the side of the Malian government.
            Algeria also pursued its role as mediator between the Malian
      government and the Tuaregs on the modalities of implementation of
      the Algiers accord. The Follow-up Committee (Comité de suivi) of the
      accord met for the first time in Bamako on July 18, 2009.151 The meet-
      ing’s agenda went beyond the Algiers accord and tackled security issues
      in general, including the presence of AQIM cells in northern Mali.152
            Bamako had been reluctant to intervene against AQIM, probably
      for fear of igniting more troubles in the North with Arab and maybe
      Tuareg populations, and because of its lack of ability to take action in
      a region that is difficult to patrol and control. There was no immedi-
      ate reason to do so, either: AQIM, which attacked numerous military
      and official targets in Algeria and Mauritania, always refrained from
      doing the same in Mali.153 Mali’s stance changed in early May 2009,
      when Bamako sent three combat units from Kidal to hunt down what
      was described as a convoy of armed men—although it was unclear, at
      the time, whether they were members of AQIM or simple traffickers.154
            Mali’s forceful stance toward AQIM had important implications
      for the north. Tuareg representatives had tried to convince the Malian

      (Keita, Conflict and Conflict Resolution, p. 37, n. 27). The French project of Common Orga-
      nization of the Saharan Regions (Organisation Commune des Régions du Sahara, or OCRS)
      was, however, taken up again by a number of Tuaregs during the 1962 rebellion (Humphreys
      and Ag Mohamed, “Senegal and Mali,” p. 292, n. 37).
      151 AFP, “Mali/Touareg: Réunion à Bamako pour relancer le processus de paix,” July 19,
      2009. This committee, set up by the Algiers Accord, includes three representatives from the
      Malian government, three from the ADC, and three from Algeria (Mustapha Benfodil, “Les
      réserves de l’ex-rébellion et le satisfecit du general Diagouraga,” El Watan (Algiers), July 4,
      2007, p. 10).
      152 N’Tji Diarra, “Face à la menace Al Quaïda . . . l’armée malienne et les ex rebelles touaregs
      font cause commune,” Aurore (Bamako), July 20, 2009.
      153 There are, however, unconfirmed reports that the GSPC had planned to blow up the
      American Embassy in Bamako some time before 2002 (Lecocq and Schrijver, “The War on
      Terror in a Haze of Dust,” p. 152).
      154 Tiemoko Diallo, “Mali Pursues al Qaeda Suspects in North,” Reuters, May 9, 2009; AFP,
      “Mali Announces Joint Operations Against Al-Qaeda,” July 21, 2009.



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      government that they could take care of the AQIM threat, and that
      they ran a higher chance than the army of doing so thanks to their
      knowledge of the terrain and their experience in guerrilla tactics.155
      The Malian government held back for a few weeks but reversed its posi-
      tion following mediation by the Algerian ambassador to Mali. The July
      18 meeting of the Comité de Suivi resulted in the Malian government
      agreeing to officially enroll the help of Tuaregs against AQIM. This
      commitment was reaffirmed on August 2 during a “reconciliation”
      meeting that included all three major northern communities—Arab,
      Tuareg, and Songhai.156
            Overall, the Malian government’s strategy for transitioning out of
      the insurgency was largely similar to the one it followed after the ADC
      insurgency; Bamako

         • Increased development funds (with the help of Algeria);
         • Disarmed former combatants and integrated some of them in
           Special Units;
         • Increased the role of locals in the securing of the north and the
           elimination of AQIM, along with the Malian army.

            It is still too early to assess whether the transition can be hailed
      as a success. On September 15, 2009, the United Nations lowered its
      threat assessment level for Kidal,157 but tensions between communi-
      ties remain. In June 2009, six Tuaregs were murdered in Ansongo,
      the former base of the Ganda Izo movement, arousing suspicions that
      Ganda Izo sympathizers may have been involved.158




      155 Jane’s Intelligence Weekly, “Mali’s Tuareg Tribesmen Join Fight Against Al-Qaeda,” July
      21, 2009; phone interview with former MPA member and expert on North Mali, July 17,
      2009.
      156 AFP, “North Mali Rivals Meet to Back Anti-Qaeda Fight,” August 2, 2009.

      157 Ouazani, “Le retour du chef rebelle,” Jeune Afrique, September 28, 2009.

      158 Toure Sambi and Chahana Takiou, “Six Touaregs assassinés à Ansongo: La Signature du
      Mouvement armé ‘Gandaïso,’” Info-Matin (Bamako), June 17, 2009.



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      Conclusions

      A number of factors must be taken into consideration to appreciate the
      degree of threat that the Tuareg insurgency of 2006–2009 represented
      for Mali.
             First, it is important to note that the government was not, at any
      point, seriously threatened by the ADC or the ATNM. It is unclear
      whether the rebels ever considered taking the fight to Bamako. The
      ATNM leadership apparently toyed with the idea (which acted as a
      strong incentive for the young recruits in the group) but were discour-
      aged to do so.159 From the point of view of the army, this was not a
      realistic threat: the group had no sufficient means and no supporters in
      the south.160 Overall, it may be precisely because President Touré knew
      that his power was not directly threatened that he could afford a pro-
      tracted policy of mediation with the ATNM in spite of the numerous
      truce violations.
             Secondly, one important characteristic of the Tuareg community
      is its deep division according to castes and tribes. Unless the Malian
      state makes a major mistake that will somehow antagonize all Tuaregs
      and unite them against Bamako, as happened in the 1990s, it is likely
      that the rebel movements will always find it difficult to rally large num-
      bers of supporters. And it is equally likely that the government will
      always be able to play one Tuareg community (or tribe) against the
      other. The division of the Tuareg community explains why the ADC
      asked for negotiations immediately after launching their movement,
      and never represented a real threat.
             Considering that the 2006–2009 rebellion was the third one of
      its kind since Mali’s independence, it is difficult to be overly hopeful
      that there will never be a fourth one. The last rebellion was caused, in
      large part, by the frustration of the population in the northern regions
      regarding the delays in the implementation of the National Pact signed
      ten years earlier. The Algiers accord of 2006 will be judged on how it is
      implemented by the Malian government. New delays or obstacles may

      159 Phone interview with former MPA member and expert on North Mali, August 17, 2009.

      160 Phone interview with a Malian military official, August 18, 2009.




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      re-ignite the situation at any time. An even more pessimistic view holds
      that claims for an independent, or autonomous, Tuareg state that would
      cover the three northern regions of Mali (as well as, possibly, Tuareg-
      populated regions in Algeria, Niger and Libya) are deep-rooted and
      likely to resurge in the coming years whether or not the government
      delivers on its promises to provide better development to the north.
      Another issue is the number of weapons handed in during the vari-
      ous collection initiatives that took place after the Algiers Accord; this
      number does not come close to the account of those that were stolen
      in Kidal and Menaka. Most of the weapons that were used during the
      insurgency are most likely still in circulation.161 The reasons for keep-
      ing a working weapon in this region are many, but it is likely that many
      people involved in the rebellion doubt that the crisis has been solved for
      good, and they keep arms “just in case,” as appears to have been true
      after the 1996 Flame of Peace.
            An important issue is the fact that few insurgent weapons were
      collected. A number of the young men who enrolled voluntarily in the
      militias will benefit from the socio-economic reinsertion program put
      in place by the Algiers Accord for young ex-combatants and unem-
      ployed people.162 This program will benefit former combatants and
      noncombatants alike, so as not to favor those who took up arms. How-
      ever, because it is not specific to ex-combatants, it does not involve
      any disarmament initiative. The young members of these militias are
      therefore likely to still have the weapons with which they fought the
      ATNM in early 2009.
            Nonetheless, there are grounds for hope. Mali seems to have been
      learning from its past mistakes. Most of the pitfalls in which it had
      fallen in the 1990s and which had resulted in turning the Tuareg rebel-
      lion into a protracted conflict that included, at some point, inter-ethnic
      violence (after the emergence of the Ghanda Koy), were avoided in


      161 Phone interview with former MPA member and expert on North Mali, June 6, 2009;
      phone interview with a Malian journalist, August 14, 2009.
      162 RFI, “Lancement d’un programme de réinsertion de 10.000 jeunes,” July 26, 2009;
      phone interview with Fihouroun Maiga, former Ganda Koy combatant and expert on North
      Mali, September 1, 2009.



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      2006–2009. In addition, the Malian government resorted to a number
      of strategies that may provide useful lessons for counterinsurgencies
      beyond the specific case of Mali.
            The winning strategy of the Malian government against the ADC
      was to focus on finding a political solution to the crisis while keeping
      a low degree of military pressure. It pursued the same strategy against
      the ATNM, but with sustained military action once it became clear
      that Bahanga’s rebellion, rather than losing momentum, was extend-
      ing geographically and becoming more intense. This change of strat-
      egy was also a reaction to popular and army dissent in the face of
      the mounting casualties on the government side. Although the first
      phase of the strategy may appear far from optimal (it seems that media-
      tion was pursued only to give Bahanga a face-saving way to surrender,
      and that the government had no intention of making any concession
      beyond what it had already granted in the Algiers Accord), it did play
      the role of showing all Malians, including Tuaregs, that the govern-
      ment had tried everything before resorting to more powerful means.
      Overall, the government also managed to circumscribe the rebellion
      to a limited number of Tuaregs, and to keep other communities (espe-
      cially the Fula and Songhai) out of the fight. By choosing a defensive
      rather than offensive stance, and protecting the population (by clearing
      mined areas, for instance) rather than going after the group’s bases, the
      Malian army has followed a classic population-centric approach that
      has proven successful in preventing the insurgents from widening their
      support base. Bamako’s restraint paid off—a lesson that may be appli-
      cable to other theaters of conflict.
            Studying the post-counterinsurgency transition in Mali also pro-
      vides useful lessons in the subtle art of political and military decentral-
      ization. Northern Mali, because of its geographic isolation, has a long
      history of self-reliance that began in the colonial era with the French
      delegating much of the central state’s political power to tribal leaders.
      The current Malian government has adopted a position whereby it has
      a limited presence and impact in the area, and only intervenes when
      serious political and military issues such as a rebellion arise, in which
      case it co-opts local actors to help it get rid of the threat. It followed
      this strategy first with the ADC, then with the ATNM.


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            U.S. policymakers should explore how existing traditional hier-
      archies, such as those that are clan and tribe-based, can be utilized to
      promote security and enforce order. Providing security to their constit-
      uents is often the most important task such traditional leaders under-
      take, and it is their ability to do so successfully that makes them legiti-
      mate in the eyes of their community. To a large extent, therefore, clan
      leaders and the state share a similar interest in enforcing civil order.
            Arguably, this method has its limits, as the number of locals who
      can be co-opted by the government must represent a critical mass—or,
      at least, a majority compared to those willing to follow the rebellion.
      In the 1990s, co-opting Tuareg tribal leaders against the rebel groups
      did not prove sufficient.163 This, however, can be partly blamed on the
      adoption of a repressive policy that rallied to the rebellion large num-
      bers of previously non politicized Tuaregs and Arabs.164 In the light of
      the subsequent resolution of the crisis, and the successful experience of
      2006–2009, Bamako is unlikely to revert to such a policy.
            After its successful counterinsurgency effort, the Malian govern-
      ment has continued to rely on local actors for security and the mainte-
      nance of order in the north. In a way, the Malian government is cur-
      rently re-applying the method that proved successful in chasing and
      ultimately defeating Bahanga: co-opting members of the local popu-
      lation who know the terrain and guerrilla tactics much better than
      the Malian regular army. The development of Special Units composed
      mainly of Tuaregs has had three main benefits: providing former com-
      batants with a legitimate occupation, reducing the army’s footprint in
      an area where it was not welcomed, and reducing the army desertion
      rates, which were due, in part, to the reluctance of integrated northern-
      ers to be deployed in the south of the country.


      163 Tribal chiefs saw rebel leaders as direct competitors for power in the Tuareg community
      and accordingly denounced them publicly as “bandits and traitors”; the chief of the Kel
      Adagh tribal confederation was even kidnapped in March 1994 by the ARLA, and subse-
      quently formed his own small self-defense militia. See Lecocq, “Unemployed Intellectuals in
      the Sahara,” p. 106–107.
      164 Inter-Tuareg fighting was also part of the reason why the conflict lasted as long as it did.
      The Malian government’s actions had only limited impact on these internal disputes.



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            Ironically, the transition was much aided by the emergence of
      AQIM as a common enemy for the government and the Tuaregs.
      Although AQIM had been present for years in the region, increased
      pressure from Algeria and AQIM’s first targeting of a Malian official
      resulted in this threat being taken more seriously than it had been in
      years. This gave the Tuaregs, who have a good knowledge of the ter-
      rain, some leverage in their dealing with the government; it also gave
      the government an incentive to hasten the deployment of the Special
      Units.
            It is too early to tell whether this strategy will pay off and rid Mali
      of AQIM cells, but if it proves successful it may provide a model for
      delegating local policing to local actors, rather than relying on a central
      government that is often perceived as unwelcome and barely legitimate
      in some areas. Bamako pragmatically came to the realization that, of
      the two issues it faces in the north—AQIM and Tuareg separatism—at
      least the first may be solvable. Making the Tuaregs part of the solution,
      furthermore, may give these communities the political and social rec-
      ognition they have been longing for. Scrutiny should be paid to how
      the government will manage this small devolution of its powers, and
      how it will impact on the Tuareg separatist movement. Although the
      latter is unlikely to disappear in the near future, Bamako’s strategy may
      contribute to withholding it for a time.




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      CHAPTER SIX

      The Transition in Al-Anbar, Iraq




                     Map of Iraq




                     SOURCE: CIA World Factbook.
                     RAND MG1111/2-6.1




      Introduction

      Insurgent activity was widely reported throughout Iraq in the period of
      interest to this case study, 2003 to 2008. However, there was no single
      “insurgency” in the country. Instead, following the invasion by the U.S.-
      led coalition forces (CF), various groups sought to repulse the coalition
      and reject the governing institutions it supported. These groups had
      different agendas—from restoring Saddam Hussein’s regime to estab-


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      lishing an Islamic caliphate. Some of them more resembled criminal
      gangs than insurgents but nonetheless posed a threat to CF objectives.
            The insurgent environment varied from place to place in Iraq,
      depending on the groups that dominated or fought for control of local
      areas and their objectives. Similarly, there has been uneven reporting
      on the course of insurgency and counterinsurgency activities across
      Iraq.
            Al-Anbar is a noteworthy case study for several reasons. First, it
      was considered one of the most violent regions of Iraq. Many Ameri-
      can soldiers and Iraqi civilians lost their lives in a conflagration that
      spiraled into prolonged insurgency. Yet the reversal of conditions in
      Anbar was about as dramatic as the violence itself. Understanding how
      this change evolved merits attention. Second, U.S. strategies in Anbar
      provide models and lessons for COIN operations in other theaters,
      such as Afghanistan. More pragmatically, participants on all sides of
      the conflict in Anbar have been documented and widely reported on,
      and veterans of the U.S. campaign there agreed to share their experi-
      ences during the conflict. Finally, a period of transition from COIN to
      stability operations (SO), which occurred between 2005 and 2008, is
      discernable in the case of Anbar.
            For the purposes of this case study, we considered the COIN and
      SO elements of CF operations in Anbar in the context of definitions
      offered by the United States government. In this regard, counterin-
      surgency is a blend of civilian and military efforts designed to contain
      simultaneously insurgency and its root causes.1 Counterinsurgency
      involves the political, military, paramilitary, economic, psychological,
      and civic actions taken by a government to defeat an insurgency. An
      insurgency itself is defined as an organized movement aimed at the over-
      throw of a constituted government through the use of subversion and
      armed conflict.2 Joint military doctrine defines stability operations as



      1  U.S. Government Interagency Counterinsurgency Initiative, U.S. Government Counter-
      insurgency Guide, Washington, D.C.: U.S. Government Printing Office, January 2009.
      2 U.S. Department of the Army, Headquarters, Field Manual 3-0, Operations, February
      2008.



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            . . . various military missions, tasks, and activities conducted out-
            side the United States in coordination with other instruments
            of national power to maintain or reestablish a safe and secure
            environment, provide essential governmental services, emergency
            infrastructure reconstruction, and humanitarian relief.3

            In Iraq, the incumbent central government in Baghdad was sup-
      ported by an intervening actor, the U.S.-led coalition. As we describe
      further below, the insurgency in al-Anbar specifically was an amalgam
      of sometimes competing groups. COIN and SO methods involved an
      array of military operations that were combined with reconstruction
      and stability initiatives designed to secure the province and to support
      political reform and long-term recovery efforts.


      A Brief History of the Conflict in Al-Anbar Province

      Al-Anbar province was once the cradle of a brutal Sunni insurgency
      that mired the Sunni-dominated province in violence and spread to
      other parts of Iraq. Many observers believe that insurgent forces were
      stronger in Anbar than in any other area in Iraq. This perception earned
      the province the dubious distinction of being the most lethal region in
      the country.
            Al-Anbar became intractable following the 2003 fall of Saddam
      Hussein and the subsequent occupation by U.S. and other coalition
      forces. The city of Ramadi was especially dangerous; the area of opera-
      tions in Ramadi averaged over three times more attacks per capita than
      any other Iraqi region.4 Indeed, insurgents enjoyed almost complete
      freedom of movement throughout the city and dominated most of its
      vital institutions. Ease of mobility also allowed insurgents to deploy
      complex improvised explosive devices, further contributing to Anbar’s
      isolation. By fall 2008, more than 1,000 U.S. military personnel had

      3  U.S. Department of Defense, Joint Chiefs of Staff, Joint Publication 3-0, Joint Operations,
      September 2006, p. iv; U.S. Department of the Army, Field Manual 3-0.
      4  Major Niel Smith, U.S. Army and Colonel Sean McFarland, U.S. Army, “Anbar Awak-
      ens: the Tipping Point,” Military Review, March–April 2008.



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      died in Anbar, amounting to a quarter of the total American death toll
      in Iraq.5
            The insurgency in Anbar occurred against a backdrop of com-
      plex external and internal factors. The insurgency itself, though pre-
      dominantly Sunni, was far from monolithic. It comprised nationalists,
      Ba’athists and former regime elements, Salafi-jihadi Islamists, and for-
      eign fighters. With dozens of groups and organizations, the face of the
      insurgency constantly shifted as various actors and individuals moved
      in and out of threat groups.
            Tribes with a long history of revolt added to the potent mix in
      Anbar. Indeed, in some respects, U.S. and other coalition forces faced
      an insurgency that was based on pre-established networks defined by
      kinship, loyalty, and self-interest.6 Anbar was also vulnerable to the
      influence of external actors, which contributed to the prolonged vio-
      lence. The province, home to a population of 1.2 million,7 is bordered
      by three countries that either served as major transit points for for-
      eign fighters seeking to join the insurgency in Anbar and through-
      out Iraq or were major centers of recruitment for insurgents and other
      oppositionists.
            The devastation wrought by the insurgency in Anbar was sig-
      nificant. The city of Fallujah was almost completely razed, and entire
      neighborhoods in Ramadi were severely damaged.8 Moreover, the
      municipal and provincial governments, local security forces, and infra-
      structure barely functioned and in some cases even ceased to exist.
            Significant coalition battles in Fallujah during 20049 to purge
      the province of Sunni rebels were largely unsuccessful and only tem-

      5  Dexter Filkins, “U.S. Hands Off Pacified Anbar, Once Heart of Iraq Insurgency,” New
      York Times, September 2, 2008.
      6  Senior Analyst/All Source Fusion Officer, 1-MEF, 2005–2006, interview by authors,
      Arlington, Virginia, July 26, 2009.
      7  United Nations, “Population Projection 2003,” Office of Coordination for Humanitarian
      Affairs, Baghdad, Iraq, 2008.
      8   Smith, “Anbar Awakens.”
      9 These were known as Operation Valiant Resolve and Operation Phantom Fury in April
      2004 and November 2004, respectively.



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      porarily suppressed insurgents who eventually reclaimed the area. The
      second battle, in particular, would eventually be seen as one of the
      most hard-fought and destructive of Operation Iraqi Freedom. There-
      after, insurgents made the city of Ramadi their power base (see Figure
      6.1).
            By 2005 the al Qaeda in Iraq (AQI) group dominated the insur-
      gent landscape. The Anbari public, hardened against coalition forces
      and their tactics,10 turned their support toward the insurgents.
                  Figure 6.1
                  Map of Iraq Featuring Al-Anbar Province




                  SOURCE: Central Intelligence Agency.
                  RAND MG1111/2-6.2




      10 Many mosques, homes, and infrastructure were destroyed as a result of U.S.-insurgent
      fighting. Some 200,000 Anbaris were internally displaced in Iraq.



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            It was not until late-2006 that the United States would make a
      third push to re-establish control in Anbar. By this time, the 2004
      experience in Fallujah, along with national Iraqi elections in January
      2005, led some tribal leaders to determine that “the political process
      might hold more benefit than continued fighting.”11 This notion was
      reinforced as AQI’s intentions vis-à-vis Anbar became evident. Upon
      its arrival the group had portrayed itself as an ally in the Anbari tribes’
      fight against the CF “occupation” of Iraq. By 2005, however, AQI was
      clearly attempting to subvert traditional governance structures in order
      to establish a pan-Islamic, fundamentalist theocracy. Moreover, AQI
      had begun to compete “for control of revenue sources—such as ban-
      ditry and smuggling—that had long been the province of the tribes.”12
            The U.S. experiences in Fallujah prompted the development of a
      revamped counterinsurgency strategy, which later facilitated the transi-
      tion from COIN to stability operations. Below we describe the foun-
      dations, key determinants, and select components of the transition
      from COIN to SO in Anbar, as well as some capability gaps identified
      during the process. Our account is based largely on the writings of
      and/or interviews with U.S. military personnel who operated in Anbar
      before and during the transition period. These individuals were in posi-
      tions that enabled them to initiate and sustain the process of transition-
      ing from COIN to SO in Anbar, arguably one of the most important
      achievements by coalition forces during Operation Iraqi Freedom.


      Pre-Transition Strategy, 2005­–2006

      For the purposes of this study, we consider the 2005–2006 timeframe
      to be the pre-transition period in Anbar Province. During this period,
      Multi-National Force–West13 (MNF-W, also referred to hereafter as
      “the Command”) began to implement a new strategy to arm Anbari

      11 Austin Long, “The Anbar Awakening,” Survival, Vol. 50, No. 2, April–May 2008, p. 77.

      12 Long, “The Anbar Awakening,” p. 77.

      13 MNF-W comprised a U.S. Marine Expeditionary Force, which commanded subordinate
      U.S. Army and Coalition Force units.



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      tribes and secure the local population. We begin our assessment of the
      pre-transition period with a description of insurgent strategies and con-
      clude with observations on the insurgents’ external supporters.

      Insurgent Strategies in the Pre-Transition Period
      The goals of the AQI-led Sunni insurgency were multifold from 2005
      to 2006. These generally reflected the belligerents’ aims throughout
      their campaign against incumbent Iraqi government and the coalition.
      They included the establishment of an Islamic caliphate in Iraq, with
      Ramadi as the capital, and the defeat of U.S. forces on Iraqi soil.
            Insurgents launched indiscriminate attacks against coalition
      forces, various Iraqi government organizations, and Shi’a civilians to
      foment inter-sectarian violence and fuel perceptions that Iraq’s govern-
      ing institutions were incapable of securing and controlling the country.
      Members of the Shi’a-led, central government in Baghdad, the Iraqi
      security forces, Kurds, and coalition forces were AQI’s main targets.
      AQI’s strategy also extended to the execution of attacks against infra-
      structure vital to the Iraqi economy.14
            In Anbar, AQI’s efforts to control the province saw the group’s
      role shift from collaborator to oppressor, committing acts of extortion
      against Iraqi merchants and laborers, and intimidating the population
      and local law enforcement. AQI’s reach also extended to control of
      the fuel market. Each month, the province was scheduled to receive
      roughly 80,000 gallons of subsidized gasoline. AQI, instead, diverted
      those deliveries to Jordan and Syria, resulting in a profit of $10,000
      per shipment for the insurgents.15 Meanwhile, the centuries-old tribal
      structure in Anbar collapsed, as sheikhs were murdered or co-opted by
      AQI or fled the area.
            Despite group promulgations to bring Islamic law to Iraq start-
      ing with Anbar, AQI did not initially strictly enforce or even itself
      adhere to religious tenets in the province. In fact, they functioned more

      14 Institute for the Study of War, Commentaries: “Intercepted Document Discusses AQI
      Strategy,” April 27, 2008.
      15 Bing West and Owen West, “Iraq’s Real ‘Civil War,’” The Wall Street Journal, April 5,
      2007.



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      like a criminal group than an exemplary Islamic organization.16 AQI
      relied on patronage to gain the cooperation of local sheikhs, and was
      arguably in a better position to do so, given its advantage of wealth
      vis-à-vis that of other local actors. AQI insurgents also permitted the
      expansion of smuggling in the province, which served the interests
      of tribes already engaged in such activity. However, the reservoir of
      goodwill between AQI and community notables and sheikhs ran dry
      by 2006, after AQI began to harshly punish those who used tobacco,
      alcohol, or pornography. In addition, AQI began to assassinate prom-
      inent Anbari sheikhs who opposed them. This combined with AQI
      extortion—which diminished economic gain for tribes engaged in similar
      activity—and tribal opposition to AQI ideology galvanized local tribes
      into resisting the group.
            Critics of AQI and the Sunni insurgency point to a number of
      missteps and weaknesses that led to its eventual displacement from
      Anbar. First, AQI never controlled enough territory to establish an
      Islamic state in Iraq and could not provide enough security for such
      an entity. Second, Sunni leadership was not involved in the decision
      to form an Islamic state and thus withheld their support. Third, AQI
      maintained that “improving conditions of the people is less impor-
      tant than the conditions of their religion,”17 which led to harsh tactics
      and intimidation that alienated the Sunni population. Insurgents went
      too far in their indiscriminant use of force and coercion against ordi-
      nary Anbaris. Moreover, the criminality, harassment, and assassination
      of tribal and community leaders turned local elites once loyal to the
      insurgency into forces of resistance.

      External Powers Supporting the Anbar Insurgents
      The involvement of external actors contributed to the complexity
      of the insurgent environment and prolonged the conflict in Anbar.
      While some countries intervened directly, others were involved more
      indirectly.


      16 West and West, “Iraq’s Real ‘Civil War.’”

      17 West and West, “Iraq’s Real ‘Civil War.’”




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            Syria. In Anbar, Syria emerged as a key supporter of belligerents
      and thus contributed to sustained violence in the province. Although
      Syria had only minimum capacity to broadly effect developments in
      Iraq, its position both as a source of and throughway for foreign fight-
      ers, combined with Syrians’ linkages to Iraq’s exile community made
      Syria a source of destabilization and ongoing violence. Syria’s interests
      in Iraq were based on calculations of how events in the country would
      influence domestic conditions and Syria’s regional standing.
            During the pre-transition period in question, Syria’s goals included
      promoting the establishment of an Iraq that was stable yet sufficiently
      weak, so that Damascus could continue to influence events in the
      country without inducing harm to its own security interests. Syria did
      not want an Iraq that was strong enough to militarily confront Syria
      to the extent of challenging its regional position or posing a security
      threat regionally. Syria did, however, want sufficient ability to influence
      Iraq in order to strengthen its hand with the United States, Iran, and
      other regional actors. To this end, Syria relied on two primary strate-
      gies which influenced events in Anbar, and by extension Iraq.
            First, parts of Syria’s 360-mile border with Iraq served as a main
      thoroughfare for foreign fighters seeking to join the insurgency. This
      was a major means through which Syria was a destabilizing force in
      Iraq. According to U.S. military officials, 70 percent of the 60 to 80
      foreign fighters entering Iraq each month did so via Syria.18 Though
      leadership in Damascus did not admit to actively encouraging passage
      of individuals, the constant and heavy traffic of foreign fighters con-
      firmed suspicions that Damascus was providing at least passive support
      to the insurgency.
            Syria and its local communities also enjoyed long-standing link-
      ages to Iraqi exile groups and numerous tribes in Iraq. Syria main-
      tained deep ties to Ba’athists and former regime elements in Iraq.19
      Such relations extended to tribes as well. Historically, transnational

      18 Steven Simon, “Won’t You Be My Neighbor: Syria, Iraq and the Changing Strategic Con-
      text in the Middle East,” Working Paper, United States Institute of Peace, March 2009.
      19 Some of these individuals are wanted for war crimes. Izzat Ibrahim al-Douri and Moham-
      med Younis Ahmed are well-known Ba’athists believed to still reside in Syria.



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      links between tribal groups in Syria and Iraq have cemented relations
      through marriage and lineage. Some of these actors were intransigent
      and hostile to the Shi’a-led central government in Baghdad. Others
      were hostile to coalition forces. Whatever their predilection, Syria skill-
      fully used these groups to advocate on the behalf of Syrian interests.
      For example, members of the Association of Muslim Ulama—a group
      with strong ties to Syria and led by Harith al-Dari—joined Syria in its
      opposition to the U.S. presence in Iraq.20
            Saudi Arabia. By comparison, Saudi Arabia’s role in influencing
      events in Anbar was more indirect. Saudi was a source country for
      Salafi-jihadi recruits that would later join the insurgency. Some 45 per-
      cent of insurgents are believed to have been from Saudi, perhaps the
      largest supplier of insurgents in Iraq. Of that number, half arrived as
      suicide bombers.21 Saudi nationals are thought to have executed more
      suicide bombings than any other nationality,22 thus underscoring Sau-
      di’s role as a source of recruits, and the part this dynamic played in
      augmenting the ranks of the insurgency in the pre-transition period.
            Despite its role as a source of recruits for the insurgency in Anbar
      and elsewhere in Iraq, Riyadh was acutely aware that militants hostile
      to the Saudi regime could flow into the kingdom and pose a serious
      threat to its government. Therefore, preventing an influx of militants
      from Iraq as well as a flow of jihadists from Saudi figured prominently
      among leadership goals.
            Even when sectarian strife was at a peak, Saudi leadership
      eschewed interventionist strategies that included funding and equip-
      ping Sunni insurgents. This is not to say that there were not discus-
      sions about such tactics. Indeed, Saudi leadership paid close attention
      to violence against its co-religionists. However, Saudi lacked posses-
      sion of a structure analogous to Iran’s lethal al-Quds force and, impor-
      tantly, did not enjoy well-established links to Sunni militias. Instead,
      the regime opted to support a host of Sunni political actors, such as

      20 Senior Analyst/All Source Fusion Officer, interview, July 26, 2009.

      21 Ned Parker, “The Conflict in Iraq: The Saudi Role in Insurgency,” Los Angeles Times, July
      15, 2007.
      22 Ned Parker, “The Conflict in Iraq.”




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      members of Tawafiq, the Iraqi Islamic Party and, like Syria, backed
      Harith al-Dhari of the Association of Muslim scholars, widely known
      for his anti-coalition vitriol.
            Jordan. Turning to Anbar’s second neighbor to the West, Jordan,
      like Saudi, was host to a significant portion of foreign fighters. Fighters
      were recruited in Jordan and eventually made their way to Anbar and
      other parts of Iraq. This corps of recruits contributed to bolstering the
      insurgency in the pre-transition period, 2005 to 2006.
            In addition, Jordan—as well as Syria and the United Arab
      Emirates—became host to a large, wealthy Sunni Anbari expatriate
      community that fled Iraq after 2003. The exodus of middle-class pro-
      fessionals, technocrats, and the wealthy business class severely stifled
      economic growth and development in Anbar and throughout the
      country. An unstable security situation and rampant corruption, symp-
      toms of the general absence of rule of law, were an unfavorable mix for
      establishing a viable economic and business environment in Anbar.
            The loss of the middle-class base and investment opportunity in
      Anbar was by no means in and of itself a condition that supported
      the insurgency in Anbar. However, the effect that the losses had on a
      persistently crippled economy did benefit militants because the Anbari
      populace blamed coalition forces for abysmal economic circumstances
      in the province. The insurgents provided services and economic oppor-
      tunities that traditional actors could not and at the same time exploited
      popular resentment toward the U.S.-led coalition.
            A Jordanian strategy that was more positive in its impact during
      the pre-transition period involved using its Sunni Iraqi expatriate com-
      munity to encourage Iraqi Sunnis residing in both countries to engage
      in Iraq’s political process through participation in the 2005 elections.
      Sunni endorsement of the process was central to creating an alternative
      to the insurgency in Anbar and elsewhere Iraq.
            Otherwise, like Saudi, Jordan’s engagement did not include pro-
      vision of military support to regular or to alternative groups in Iraq.23
      Nor did Jordan send members of its own security forces.

      23 Scott Lasensky, “Jordan and Iraq: Between Cooperation and Crisis,” United States Insti-
      tute of Peace, Special Report 178, December 2006.



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           Having described the external setting, we now turn to the transi-
      tion period of 2006 to 2008. This timeframe is characterized by a dis-
      cernable shift in the direction of the Anbar campaign. However, some
      of the foundations for that change were laid during the early phases of
      OIF.


      Counterinsurgency and Transition, 2006–2008

      Our research indicates that a transition from COIN to stability opera-
      tions in al-Anbar province can be identified. Although the U.S. Marine
      Corps (USMC) personnel we interviewed did not indicate that an actual
      “transition” concept existed in USMC doctrine during the 2006­–2008
      timeframe, some did agree that the term is applicable to what they
      more generally described as a shift in emphasis during the Anbar cam-
      paign. More specifically, the shift was from lines of operation focused
      on kinetic COIN activity (e.g., aimed at establishing security during
      2005–2006), to lines of operation focused more on development (e.g.,
      reconstruction and economic investment during 2007–2008). COIN
      activity continued through the period to suppress insurgent elements
      and other threats to stability, but commanders increasingly focused on
      matters of economics, politics, and sustainable governance. Indeed, a
      clear indicator of the transition was commanders’ diversion of resources
      (e.g., manpower and intelligence collection assets) from COIN activi-
      ties to stability and reconstruction.

      The Transition in Anbar: Contributing Factors
      Many environmental factors contributed to the transition in Anbar,
      but it was arguably the confluence of four local factors that helped set
      the stage for a transition from COIN. These factors included AQI’s vio-
      lent tactics, harsh population control measures, and severe “shadow”
      governance; the decisions of key Iraqi tribes and groups’ to collabo-
      rate in forceful opposition to AQI the same year; increasing numbers
      of adequately trained Iraqi Security Forces (ISF); and the revamped
      strategy and approach widely adopted by U.S. military forces by
      2006. This strategy sharply contrasted Multi-National Force–West


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      (MNF-W) actions with those of AQI and gradually won the trust and
      confidence of the Anbari populace.
            Regional factors also contributed to the transition in Anbar. Spe-
      cifically, neighboring Syria and Saudi Arabia both saw the specter of
      instability in Iraq on the doorstep of their own countries. For Saudi
      Arabia, this would become a catalyst for their support of the tribal
      Awakening movement.
            As mentioned above, the al-Saud regime was deeply concerned
      about the reemergence of AQI in Saudi Arabia because of the long-
      standing linkages that existed between AQI and the militant organi-
      zation’s counterpart, al Qaeda on the Arabian Peninsula (AQP). AQP
      was responsible for a number of anti-regime activities in Saudi during
      2003 to 2007.
            From the Saudi perspective, the situation in Iraq, particularly from
      2005 through 2006, could replicate the country’s 1980 experience,
      when mujahideen returned from Afghanistan with both enhanced
      combat skills and an ideological dedication to toppling “apostate”
      regimes. If renewed, this dynamic could threaten the ruling family by
      initiating a cycle of disorder that would produce more terrorists whose
      operations could become increasingly more threatening to the regime
      and, in turn, attract still more terrorists.24
            The prospect of such an outcome, first, provided an incentive
      for Saudi security cooperation with the United States. Second, Saudi
      leadership understood that support for the U.S.-backed Awakening
      movement provided an effective means of defeating al Qaeda. Like
      the United States, the Saudis saw the movement as instrumental for
      creating a bulwark against jihadism at home. However, Saudi support,
      mostly through the provision of funding for arms, was cautious. The
      regime was wary of growing tribalism. Empowering local Anbari tribes
      might encourage the tribes’ compatriots in Saudi to advocate for more
      power and influence. This being the case, the future integration of the
      Awakening fighters into formal Iraqi security structures was important
      to Riyadh.

      24 Joseph McMillan, “Saudi Arabia and Iraq: Oil, Religion and an Enduring Rivalry,”
      United States Institute of Peace, Special Report 157, January 2006.



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            For Damascus, concerns about the export of militant jihadism
      to Syria eventually caused its leadership to stem the flow of foreign
      fighters to Iraq. Following the beginning of Operation Iraqi Freedom
      (OIF), Syrian leaders had seemed to passively support terrorism and
      the insurgency by allowing fighters passage into Iraq through Western
      Syria, some of them going to Anbar. However, the rapidly deteriorat-
      ing security situation in Iraq during 2006 and 2007 produced circum-
      stances that were alarming for Damascus.
            In this regard, a key Syrian concern centered on the potential
      development of Kurdish separatism in northern Iraq and its possible
      influence on Syria’s own Kurdish population.25 Indeed, Syria’s Kurds,
      totaling 10 percent of the population, were already growing restive in
      the northeast and major cities like Damascus.26
            Also, any continuation of activities that sustained the insurgency
      threatened to put Syria in a more direct confrontation with Islamists.
      Several events offered warning signs. Al Qaeda–backed militants
      attacked a diplomatic enclave27 in Damascus, killing four in April
      2004.28 In 2006, Syrian intelligence thwarted an attack on the U.S.
      embassy.29 Al Qaeda had also spoken of opening a new front in Syria.
            Thus, the stream of jihadists entering Iraq via Syria was beginning
      to prove detrimental to Syrian interests. The attacks were a “wakeup
      call” that fighters returning to Syria posed a security threat at home.
      In addition, Syria began to feel the strain of some 1.5 million Iraqi
      refugees fleeing the violence in Iraq. The country could no longer with-

      25 Mona Yacoubian, United States Institute of Peace, interview by authors, Washington,
      D.C., July 26, 2009.
      26 In March 2004, dozens of Kurds were killed or wounded in al-Qamishli after days of pro-
      tests also left many injured. Such confrontations, once rare, have become more common and
      have raised Syrian government concerns about security in Kurdish areas and escalation in
      the confrontation. See Radwan Ziadeh, “The Kurds in Syria: Fueling Separatist Movements
      in the Region?” United States Institute of Peace, Special Report 220, April 2009.
      27 The attack, in the Rawda district, was near the British, Canadian, and Iranian embassies.

      28 Ewen MacAskil, “Syria Blames al-Qaida-linked Group for Attacks,” The Guardian, April
      29, 2004.
      29 Megan Stack, “Syrians Foil Strike on US Embassy,” Los Angeles Times, September 13,
      2006.



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      stand the economic and political challenges of the refugee crisis facing
      it, a crisis that it had helped to provoke.30
             In the section entitled “Setting the Stage for and Managing the
      Transition,” we describe key events related to some of the local factors
      that contributed to the transition from COIN in Anbar province and
      we focus on select components of the U.S. approach that are now cred-
      ited with enabling, launching, and sustaining the transition. However,
      the U.S. military made a number of attempts to secure Anbar and
      regain the initiative from AQI before it identified a successful approach.
      Before offering a detailed discussion of the local factors that contrib-
      uted to the transition in Anbar province, we provide a few examples
      of those attempts and assess the external actors’ understanding of the
      evolving conflict.

      False Starts and Missed Opportunities on the Road to Transition
      Anbar would eventually be recognized as the birthplace of the U.S.
      “tribal engagement” initiative, a type of “indirect, irregular warfare”
      strategy that led to a counterinsurgency alliance between coalition
      forces and most of the tribes in the province.31 Indeed, U.S. Special
      Operations Forces and personnel from other U.S. agencies had made
      contact with some tribes in western Iraq as early as 2003, during the
      invasion.32 Over time, certain tribal engagements evolved into efforts
      to recruit local national fighters and attach them to CF units, and
      thereafter to transition the fighters to the ISF.
            In April 2005, U.S. Marines began reporting, and it was later con-
      firmed, that local nationals were attacking AQI forces in the Husay-
      bah-Al Qaim region along the Syrian border in western Anbar.33 The


      30 Most of Syria’s refugees are concentrated in Damascus, with some also in Aleppo.
      Although Syria absorbed diverse refugees, most are thought to be Sunni. Compared to
      Jordan, and other host-states, Syria had a larger proportion of impoverished refugees.
      31 Thomas R. Searle, “Tribal Engagement in Anbar Province: The Critical Role of Special
      Operations Forces,” Joint Forces Quarterly, No. 50, 3rd Quarter, 2008, p. 65.
      32 Searle, “Tribal Engagement,” p. 63.

      33 U.S. Marine Corps, 2D Marines Division Public Affairs Office, “Operation Steel Curtain
      Update,” September 8, 2005.



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      attackers were from the powerful Albu Mahal and Albu Nimr tribes,
      which had formed the “Hamza Battalion” of some 400 to 1,000 fight-
      ers to take on AQI.34
            The Hamza Battalion was destroyed by AQI in August 2005.35
      However, around the same time, MNF-W began recruiting members
      of Albu Mahal and other tribes to serve as scouts and intelligence col-
      lectors. The scouts were dubbed the “Desert Protectors.”36 Their first
      action came in November 2005, when MNF-W and Iraqi Army (IA)
      soldiers, who were by this time some 15,000 strong in the province,
      launched “Operation Steel Curtain.” This undertaking was intended
      to “destroy the al Qaeda in Iraq terrorists operating throughout the al
      Qaim region.”37
            Although the Desert Protector program was a promising early
      example of CF teaming with indigenous forces to fight AQI, it was
      short-lived. The program had been authorized by Multi-National
      Corps-Iraq but with the anticipation that local nationals joining the
      Protectors would ultimately transition to the Iraqi Army. Transitioning
      the Protectors to the IA would decrease the chance that the force might
      evolve into a competing militia that could challenge the provincial gov-
      ernment. However, CF authorities apparently did not understand the
      limits of tribal members’ willingness to contribute to securing Iraq.
      The Albu Mahal and participants from other tribes wanted to serve
      near their homes; joining the IA could mean deployments anywhere
      in Iraq.38
            The Desert Protector program unraveled when many of the local
      Iraqi participants quit rather than join the Iraqi Army. Some Protectors


      34 Long, “The Anbar Awakening,” p. 79; Carter Malkasian, “Local Opposition to Al Qaeda
      in Iraq,” Center for Naval Analyses, slide presentation, February 12, 2009.
      35 Malkasian, “Local Opposition to Al Qaeda.”

      36 Searle, “Tribal Engagement,” pp. 64–65; and Malkasian, “Local Opposition to Al
      Qaeda.”
      37 U.S. Marine Corps, 2D Marines Division Public Affairs Office, “Operation Steel Curtain
      Update,” November 8, 2005.
      38 Searle, “Tribal Engagement,” p. 65.




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      did, however, later join Iraqi Police organizations in their local areas.39
      Moreover, following Operation Steel Curtain, the MNF-W and IA
      improved coordination with the Albu Mahal and effectively partnered
      with the tribe to provide security in al Qaim.40
            MNF-W continued to experiment with tribal engagement in late
      2005. A notable success came in December when nationalist insurgent
      groups actually collaborated with coalition forces to provide security
      during national elections. In the relatively secure environment, Anbar
      Sunnis turned out in force to cast their votes.41 During the same period,
      however, the coalition missed an opportunity to attempt an alliance
      with the Al Anbar People’s Council, a coalition of Sunni sheikhs and
      nationalist groups that had formed to fight AQI.42
            In the wake of the 2005 election process, insurgent violence
      dropped in al Anbar. According to one account, some MNF-W plan-
      ners had thought an anticipated reinforcement—one replacement
      brigade, two additional battalions, and a few hundred IA soldiers to
      join the MNF-W—could build on the positive momentum generated
      during the elections and assist in any collaboration with the Council.
      However, the reinforcing units were, in the end, not forthcoming. Some
      senior MNF-W leaders also continued to have reservations about col-
      laborating with tribal organizations to provide security.43 Meanwhile,
      AQI wasted no time in attacking its potential rival. By February 2006,
      AQI had assassinated the top leadership of the Anbar People’s Council
      and the organization had collapsed. Violence in the province increased
      dramatically thereafter.44 From this experience, the Command learned
      the necessity of protecting the leaders of organizations that might align
      themselves with the coalition.

      39 Searle, “Tribal Engagement,” p. 65.

      40 Long, “The Anbar Awakening,” p. 79.

      41 Ellen Knickmeyer and Jonathan Finer, “Iraqi Vote Draws Big Turnout of Sunnis,” Wash-
      ington Post, December 16, 2005, p. A1.
      42 Smith, “Anbar Awakens,” p. 42.

      43 Senior Analyst/All Source Fusion Officer, 1-MEF, 2005–2006, interview by authors,
      Arlington, Virginia, June 8, 2009.
      44 Senior Analyst/All Source Fusion Officer, interview, June 8, 2009.




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      External Actors’ Understanding of the Changing Conflict Dynamics
      Syria, Saudi Arabia, and Jordan saw the decline in violence in Anbar as
      beneficial to their domestic interests, the most important of which was
      internal stability. For its part, Syria believed that the changing conflict
      dynamics presented avenues of opportunity. For example, Syria’s abil-
      ity to influence the dynamics in Iraq strengthened its hand with the
      United States and regional actors on various regional issues. This meant
      that Damascus could exploit its ties with the United States and Iran to
      strengthen its regional position politically and economically.
            On the economic front, stability in Anbar and Iraq would allow
      for increased agricultural trade and potentially renewed access to the
      Kirkuk-Banias pipeline, which had been destroyed during the 2003
      invasion and rendered inoperable. Syria anticipated benefits from
      potential access to Iraq’s hydrocarbon sector, its railway lines and other
      infrastructure, and general trade opportunities as well.45
            The Saudis, meanwhile, interpreted the drop in violence as an
      opportunity to further support the integration of Awakening members
      into the Iraqi security forces. This effort decreased the likelihood that
      Anbar would fall again to the insurgency.


      Setting the Stage for and Managing the Transition

      By early-2006 the United States and the Iraqi government were still
      struggling to get the insurgency under control and move toward stabil-
      ity. U.S. forces were still learning nuances of the area and COIN tech-
      niques and tactics were still being perfected.
            MNF-W set the stage for the transition to stability operations in
      Anbar by implementing a new COIN strategy developed over time
      by planners at the Command. The new strategy enabled MNF-W to
      increasingly suppress insurgents operating in the province, which in
      turn enabled the Command to focus on mentoring and oversight ini-
      tiatives aimed at returning governance to Anbaris. A concerted effort

      45 Mona Yacoubian, United States Institute of Peace, interview by authors, Washington,
      D.C., July 26, 2009.



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      by MNF-W planners to better understand Anbar’s dynamic society
      underpinned the MNF-W approach.

      Transition Process Components
      In 2004, MNF-W undertook two major operations to secure Fallujah,
      a large population center in Anbar. The operations were kinetic, aimed
      primarily at killing and capturing terrorists and insurgents, and fea-
      tured a largely conventional assault on enemy forces in the city. While
      many enemy fighters were captured or killed, the Command was not
      able to assert control of Fallujah during the period, and local national
      civilians suffered as a result of the infrastructure damage that occurred
      during the fighting. USMC leaders realized in late 2005 or early 2006
      that they needed new methods, not only for the application of military
      power to the COIN campaign in al Anbar, but also for a better under-
      standing of Anbar’s dynamic society. The latter capability would help
      ensure that military and other instruments of power could be effec-
      tively applied to secure the province and to advance its recovery.
            Understanding the Al-Anbar Operational Environment. The
      Command’s experience in Anbar through 2005 had demonstrated
      that a focus on targeting terrorists and insurgents would not ultimately
      wrest provincial areas from enemy control. Indeed, by 2005, threat
      groups—of which AQI was the most dominant—controlled, intimi-
      dated, or otherwise influenced large segments of the Anbari populace.
      Insurgent groups depended on the support or at least acquiescence
      of local citizens to maintain their freedom of movement and ability
      to attack coalition forces. The USMC determined that it would have
      to divide the insurgents from the populace. To do that, the Marine
      Corps needed a more detailed understanding of Anbari society. This
      reasoning prompted the First Marine Expeditionary Force (IMEF) to
      establish the Economic and Political Intelligence Cell (EPIC) in March
      2006.
            The new EPIC was initially called the Political Intelligence Cell.
      It was meant to fill a gap in the USMC’s understanding of political
      power players in Anbar, including the complex relationships among
      various individuals and organizations, the political/tribal leadership
      dynamic, and the hierarchy of sheikhs in the province, among other


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      issues. The organization’s portfolio quickly expanded beyond the
      political focus, however, to include economic intelligence and analysis
      because economic activity (e.g., legal commerce, barter, black market-
      ing, and money laundering) was understood to be inextricably linked
      to Anbar’s political construct. EPIC analysts also tracked the activities,
      interests, and relationships of Sunni business leaders (and others in the
      “leadership diaspora”) living in Jordan and Syria.46
            The USMC had no professional track for training analysts in the
      skills required to support the EPIC mission. To fill the gap, the USMC
      brought in specialists from the Reserves to augment the staff.
            In 2006, the EPIC increased MNF-W decisionmakers’ under-
      standing of commerce (both legal and illegal) in Anbar and the key
      players in the province. The EPIC team identified, for example, the
      tribal interests in key business entities as well entities serving as fronts
      for insurgent groups. The EPIC tracked Syrian military intelligence
      funding of insurgent and organized crime groups in Anbar. It also
      revealed the extent of the insurgents’ control of black market fuel prod-
      ucts. This type of knowledge enabled MNF-W to invest its reconstruc-
      tion funds in a manner that would advance its objectives for the prov-
      ince while denying or disrupting insurgent financing.47
            The 2006 EPIC staff was “focused on the enemy”; that is, the
      cell supported commanders’ ability to identify insurgents, criminals,
      and other threat groups. The cell helped commanders understand the
      threats that the enemy posed to MNF-W’s political and economic lines
      of operation in Anbar, as well as how to counter those threats. The
      EPIC’s 2006 focus reflected the Command’s concentration on estab-
      lishing security.48 However, by 2007, MNF-W commanders’ requests
      for information were indicative of the transition away from COIN and
      the increasing focus on reconstruction and development. For example,
      the requests sought assessments of commodity supplies and prices, as


      46 EPIC Officer in Charge (USMC) 2006, email interview by authors on the subject “Your
      EPIC and JPEC Experience,” July 22, 2009.
      47 EPIC Officer in Charge (USMC), 2006.

      48 EPIC Officer in Charge (USMC), 2006.




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      well as the political affiliations and allegiances of all types of power
      players.49
            Another major MNF-W innovation and contributor to under-
      standing the Anbar environment was the Joint Prosecution and Exploi-
      tation Center (JPEC), established under the IMEF intelligence section
      (the G2) in June 2006. The JPEC was launched to fill a key capability
      gap: The USMC’s lack of a process to support law enforcement (LE) in
      Anbar and its lack of personnel with certain LE skills.
            Law enforcement skills and police intelligence techniques can be
      employed during irregular warfare to understand the insurgent and
      criminal elements threatening host nation stability, as well as their
      interaction and collaboration. The Command’s LE shortfall made it
      difficult to develop such understanding vis-à-vis Anbar.
            MNF-W tactical units typically did not have the policing skills or
      intelligence capacity needed to conduct evidence collection and inves-
      tigations and to process detainees. Therefore, when units captured a
      suspected criminal or insurgent, they were unable to develop a case file
      that could prove their suspicions to the Combined Review and Release
      Board (i.e., Task Force 134) or at the Criminal Courts of Iraq; hence,
      detainees were released back into the civilian population to repeat their
      crimes and/or attacks. In addition, tactical units typically could not
      effectively exploit (e.g., through interrogation) the detainees they had
      in custody to generate new information on the suspects’ activities and
      associates. This capability gap inhibited the units’ ability to achieve
      counterinsurgency objectives in their areas of operation. Finally,
      MNF-W’s process shortfall meant that it could not track detainees as
      they moved through the detention and judicial systems.50
            Detainees understood the MNF-W detention process. They knew
      they would likely be released quickly if they refused to provide evi-
      dence during interrogations.51 Moreover, the Command’s ineffective

      49 EPIC Officer in Charge (USMC), 2007, interview by RAND researchers, January 11,
      2008.
      50 JPEC Officer in Charge (USMC), 2006, interview by authors, July 27, 2009, Alexandria,
      Virginia.
      51 JPEC Officer in Charge (USMC), 2006, interview.




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      detention process meant that Iraqis who collaborated with CF to send
      an insurgent to jail would face the accused on the street in the near
      term. Such circumstances undermined CF efforts to gain the trust of
      Anbari citizens and acquire tips on insurgent activities.
            USMC senior intelligence officers recognized in early 2006 that
      much of the information and capability needed to provide effective
      support to law enforcement was already controlled by the Command
      or available to it. Different organizations with key information, how-
      ever, focused on their specific missions and did not share their data
      or findings with other organizations having a need to know. Marine
      Corps intelligence officers, therefore, sought to organize the disparate
      LE-related elements into an effective organization and system for law
      enforcement support .52 The JPEC they founded employed military
      and civilian experts, including reservist police officers. The JPEC sup-
      ported efforts to disrupt criminal and terror networks by performing
      the all-source intelligence analysis required to track and target network
      members. It conducted crime scene investigations and criminal case
      management to support the prosecution and incarceration of captured
      insurgents and criminals. It also organized the training of coalition
      and Iraqi forces in case management and crime scene investigation
      (also known as tactical or sensitive site exploitation, which included
      such essential functions as taking photographs and finger printing
      suspects).53
            According to one of the organization’s key architects, the JPEC
      quickly made an impact on the Anbar operational environment. Crim-
      inals and insurgents were effectively prosecuted or held as security
      threats; intelligence-driven operations increased and detainee recidi-
      vism had dropped significantly by fall 2006.54

      52 These elements included, for example, the MNF-W’s forensics laboratory and “Detainee
      Tracker” system; document exploitation teams; information from USMC radio battalions
      that exploited insurgent equipment such as cell phones; forensics data from the Biometrics
      Automated Tool Set and the Combined Explosives Exploitation Cell; Reserve and Federal
      agency law enforcement officials; judge advocates general with specific training in Iraqi rule
      of law; and liaison officers positioned at Task Force 134 and Iraq’s criminal courts.
      53 JPEC Officer in Charge (USMC) 2006, interview.

      54 JPEC Officer in Charge (USMC) 2006, interview.




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            Because it contributed to the disruption of threat networks, the
      JPEC contributed to MNF-W’s security-focused mission in 2006.
      Over time, the JPEC’s ability to promote the rule of law in Anbar
      Province—by training the ISF in LE tasks and by supporting the
      development of Iraq’s judicial system—enabled the JPEC to be a sig-
      nificant contributor to the Command’s transition from COIN to sta-
      bility operations in Anbar.
            MNF-W’s improved understanding of the Anbar operational
      environment came at a critical time. In Ramadi, Sheikh Sattar al-
      Rishawi of the Albu Risha tribe initiated a campaign against al Qaeda
      in September 2006.55 Sheikh Sattar had founded the Sahawat Al Anbar
      (Anbar Awakening Council), which eventually grew to include 42
      tribes. Having learned from earlier attempts to work with indigenous
      Iraqi forces, U.S. military forces moved quickly to help protect Anbar
      Awakening Council leaders and support its operations. By October
      2006, MNF-W was working with local leaders to arm and organize
      the irregular forces (frequently know as “the Sons of Iraq”) that were
      joining the Awakening movement.56 The fact that tribal leaders sup-
      ported this effort was of vital importance, because their approval was
      critical to legitimizing the developing of local forces to supplement the
      national Iraqi army and police. Young men in Anbar were now encour-
      aged and supported to join the growing security forces. The support of
      tribal leaders also contributed to the discipline of the local forces, since
      those locally recruited units were intended to be the protectors of their
      own people.
            The CF-Awakening collaboration would ultimately overwhelm
      AQI forces, help return governance to local and provincial authorities
      throughout most of Anbar, and enable many Sunni irregulars in the
      Awakening movement to later join the ISF, a key component in the
      transition from COIN to stability operations. Indeed, with support
      from new organizations, such as the EPIC and JPEC, MNF-W plan-
      ners achieved an increasingly sophisticated understanding of Anbari
      society, which enabled coalition forces to influence the environment

      55 Long, “The Anbar Awakening,” p. 80.

      56 Renny McPherson, “Operations in Anbar Province, Iraq,” unpublished RAND research.




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      in a way that supported MNF-W objectives for the province. Such
      understanding allowed the Command to sustain and propel the tran-
      sition process that had been made possible by the security initiatives
      launched in 2006.
             MNF-W’s Revamped Counterinsurgency Strategy, 2006. MNF-W
      had learned from experience that there were limits to its ability to influ-
      ence Anbar’s development via direct action, at least with the resources
      it had available. As part of the new approach it adopted in 2006,
      MNF-W sought to achieve more of its objectives by working with and
      through Iraqis and local institutions. This was the approach adopted to
      engage the Awakening movement, as described briefly above.
             MNF-W’s broader effort in 2006 could be described as the estab-
      lishment of an environment of trust in Anbar province. The Command
      would first build trust between its forces and the Anbari populace and
      then employ mentoring and oversight to generate trust between the
      Anbaris and themselves.
             MNF-W sought to build this relationship of trust by making
      population security a top priority. To accomplish this, the Command
      deployed tactical units to live among the people of Anbar and keep
      them secure. Foot patrols were extensively used to establish contact
      and relationships with local Iraqis. This approach contrasted with ear-
      lier efforts, in which Marines and soldiers lived on huge MNF-W bases
      and typically patrolled in vehicles.57
             During this period (mid to late 2006), many Anbaris were grow-
      ing weary of AQI’s violent tactics and harsh approach to governance.
      When they understood that the coalition forces now living in their
      neighborhoods would be there around the clock to protect them, they
      started providing tips on AQI activities.58 This human intelligence
      greatly facilitated MNF-W efforts to target or otherwise engage insur-
      gents and secure the province. The importance of AQI’s heavy-handed
      approach toward the local population cannot be overemphasized. The
      fact that AQI was terrorizing much of the population caused many
      Anbaris to turn against them and was of decisive importance to the

      57   McPherson, “Operations in Anbar Province.”
      58   McPherson, “Operations in Anbar Province.”



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      efforts of the coalition and the government of Iraq to stabilize Anbar.
      Perhaps more than any other factor, including the attempts of the coali-
      tion and Iraqi security forces to bring order to the region, this error by
      AQI created an environment where the population turned against the
      insurgents.
            Over time, MNF-W’s increasingly sophisticated understanding
      of the insurgent landscape and Anbar more generally, collaboration
      with indigenous Iraqi forces (e.g., the Awakening fighters), and efforts
      to secure the Anbari population created an environment in which Iraqi
      military and police forces could progressively take the lead in main-
      taining provincial security.
          Mentoring and Oversight to Foster Governance and Recovery in
      Anbar, 2007–2008. As part of the security component of its transition
      process, MNF-W had made a concerted effort to train and equip Iraqi
      Army and police forces and to recruit local nationals (including former
      insurgents) into the police and IA ranks. MNF-W was careful to work
      closely with local leaders in its recruitment efforts. In addition to gen-
      erating personnel for the security forces, working with local leaders
      helped shift the balance of power and influence away from groups such
      as AQI—which had offered jobs and money to local Anbaris—and
      back toward traditional leaders, the sheikhs. The sheikhs who had col-
      laborated with MNF-W’s recruitment drive delivered thousands of jobs
      to the local population, an effort that contributed to the restoration of
      the sheikhs’ traditional power.59
            MNF-W’s security force recruitment effort had gained significant
      momentum by late 2006, as large numbers of former insurgents and
      other local nationals joined local Iraqi police units in the province.60
      Some tribes took high-profile roles in the ISF:

            The Albu Mahal were allowed to effectively take over the Iraqi
            Army brigade in their region, while the Albu Risha came to dom-


      59 West and West, “Iraq’s Real ‘Civil War.’”

      60 Citing Marine Corps History Division sources, McPherson notes that there were just
      2,000 police in all of Anbar at the beginning of 2006. By late 2006, the number had
      increased to 8,500. McPherson, “Operations in Anbar Province.”



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            inate the Ramadi Police. The Iraqi government delegated signifi-
            cant authority to both tribes, along with the Albu Nimr around
            Hit.61

           The willingness of local nationals, especially former insurgents, to
      join government security forces could be seen as a key indicator that
      MNF-W was turning the tide against the insurgency and was posi-
      tioned to begin the transition from a COIN focus to one of stability
      operations and reconstruction. However, it seems likely that the per-
      ception of the AQI threat shared by MNF-W, tribal elements and gov-
      erning institutions in Anbar, and the central government in Baghdad,
      contributed to early successes in transitioning irregular fighters to the
      ISF. But by 2008, it was clear that efforts to transition irregulars were
      encountering significant difficulties.
           Developing the ISF’s swelling ranks into a professional force was
      another key component of MNF-W’s early transition effort. In fact,
      MNF-W had initiated both military and police training programs
      before the Awakening period. Military Transition Teams (MiTTs) were
      established to provide “day-to-day tactical training on urban combat,
      cordon and search, checkpoint procedures, and the intelligence cycle”
      to the Iraqi Army.62 The MiTTs trained all echelons of the two Iraqi
      Army divisions stationed in Anbar.
           Over time, MNF-W drew down and changed the structure of
      its MiTT program. The Command gradually decreased the number
      of U.S. trainers assigned to Iraqi units. It also decreased the rank of
      MiTT leaders from colonel to lieutenant colonel. These actions had
      the effect of forcing the developing Iraqi Army units to operate more
      independently while also clearly establishing that Iraqi general officers
      were in command.63


      61 Long, “The Anbar Awakening,” p. 81.

      62 McPherson, “Operations in Anbar Province.”

      63 Major General John Kelly, the IMEF/MNF-W commander in 2008, has explained that
      Iraqi general officers treated U.S. colonels as peers and at times deferred decisions to their
      U.S. colleagues as a result. When lieutenant colonels led the MiTTs, Iraqi generals were
      clearly the senior officers in charge of the Iraqi Army divisions. Major General John Kelly,



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            As MNF-W transitioned from COIN to stability operations, it
      shifted its relationship with the ISF in Anbar. Early in the mentoring
      process, MNF-W forces led with the ISF in support. The ISF progres-
      sively took the lead as its ranks and proficiency increased, while the
      MNF-W transitioned to a supporting role. The ISF later achieved the
      capability to operate independently. Thereafter, in April 2008 and with
      MNF-W consent, the ISF took over primary responsibility for main-
      taining security in Anbar.
            As Iraq security forces, both local and national, became more
      competent, U.S. forces increasingly assumed the role of trainers, men-
      tors, and enablers who provided key capabilities that the Iraqi security
      forces lacked. For example, while the indigenous Iraqi security forces
      had, of course, a much better ability to interact with the local popula-
      tion, they lacked sophisticated technical intelligence and surveillance
      capabilities. As the numbers and level of competence of the Iraqi police
      and military units increased, U.S. forces assisted them with training
      and equipment and provided them with technical intelligence that was
      an extremely useful supplement to the human intelligence they gener-
      ated from interacting with the population.
            In September 2008, MNF-W formally transferred security
      responsibility to the ISF.64 It could be argued that once MNF-W had
      transferred security responsibilities to the ISF and was able to achieve
      a sustained focus on stability and reconstruction, it had achieved the
      transition from COIN.
            MNF-W senior leaders were conscious of the need to prove to
      Anbaris that life was steadily improving. Moreover, MNF-W realized
      that, in the long run, peace and stability would be more likely and sus-
      tainable if Anbaris had confidence in their own government. In other
      words, there needed to be an atmosphere of trust and confidence, not
      only between the coalition forces and the people of Anbar but also
      between the people and their homegrown governing authorities and
      between competing groups in the province. Promoting this atmo-

      “Reflections of a Returning Commanding General on Counterinsurgency in Iraq,” presenta-
      tion at the RAND Corporation, April 24, 2009, Arlington, Virginia.
      64 Filkins, “U.S. Hands Off Pacified Anbar.”




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      sphere was another key component of the transition process MNF-W
      pursued.
            The ISF’s increasing proficiency afforded MNF-W the opportunity
      to take some high-profile initiatives aimed at improving Anbaris’ qual-
      ity of life and sense of sovereignty. For example, as security improved,
      MNF-W took steps to reduce the visibility of the coalition forces and
      the burdens they imposed on average Iraqis. In 2008 MNF-W ordered
      U.S. military supply convoys to operate overnight (between 9 PM and
      5 AM) to reduce traffic congestion. Signs on MNF-W vehicles warning
      Iraqis to stay back or be shot were replaced with new signs instructing
      Iraqi vehicles to proceed and pass when signaled by MNF-W person-
      nel. This had the effect of starting to change the population’s percep-
      tions: Rather than being thought of as foreign occupiers, coalition
      forces began to be recognized, along with the increasingly numerous
      Iraqi police and military, as being there to help the people. For exam-
      ple, coalition forces shared the road with Iraqis instead of taking it
      over. The Command also removed many checkpoints from major roads
      in the province; others were transferred to ISF control. Finally, in per-
      haps the most dramatic signal that the “occupation” was ending and
      life might get back to normal in the province, MNF-W began closing
      major operating bases in 2008. According to one senior leader, the
      closing of the USMC’s huge Camp Fallujah base, in particular, had a
      major, positive impact on Anbaris’ perception of the occupation.65
            In another effort to improve conditions for Anbaris, MNF-W
      made numerous reconstruction investments in Anbar, starting well
      before the 2006 strategy change. MNF-W undertook small initiatives
      that could be completed by local contractors. Examples included gen-
      eral cleanup and trash collection and the painting of mosques before
      the beginning of Ramadan.66 Many early investments in Anbar’s
      recovery were made via the Commander’s Emergency Response Pro-
      gram (CERP), which allowed coalition military commanders to pro-

      65 Kelly, “Reflections.”

      66 Department of Defense civilian member of Al Anbar Provincial Reconstruction Team,
      May 2007 to April 2008, interview by authors, Arlington, Virginia, May 13, 2009; and
      Senior USMC intelligence officer, interview by authors, Arlington, Virginia, July 14, 2009.



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      vide funds to “respond rapidly to urgent humanitarian, relief, and
      reconstruction needs in their geographic areas of responsibility.”67 The
      CERP funds were provided directly to local nationals while local gov-
      ernment officials were kept “informed of progress.”68
            MNF-W’s early investments, however, too often failed to have a
      lasting, positive impact. Before the Command had achieved a detailed
      understanding of the Anbar environment, it sponsored some projects
      that were not useful to the local people, and it often paid contrac-
      tors who failed to deliver promised work, such as the construction of a
      new building. MNF-W contracting officers did not speak the local lan-
      guage and did not understand the Anbari business environment well
      enough to evaluate who they were funding or the likelihood that con-
      tracted projects would be completed as agreed.69 There were even cases
      of MNF-W funds being diverted from aid projects to the insurgency.
      According to one USMC intelligence officer,

            We discovered early on that MNF was routinely giving money to
            insurgent front companies for reconstruction contracts that, in
            turn, went to fill those insurgents’ war chests.70

            The MNF-W came to understand that many local Iraqi contrac-
      tors viewed the CF as a temporary phenomenon; thus, there was no need
      to adhere to contracts because the relationship was short term. Some
      Iraqis sought only to bilk as much money as possible from MNF-W
      project managers.71 These experiences led MNF-W to shift from fund-
      ing Iraqis directly and coordinating with governing authorities to fund-

      67 Lieutenant Colonel Leonard J. DeFrancisci, “Money as a Force Multiplier in COIN,”
      Military Review, May–June 2008, p. 179.
      68 DeFrancisci, “Money,” p. 183.

      69 Senior Analyst/All Source Fusion Officer, interview, June 8, 2009.

      70 EPIC Officer in Charge (USMC) 2006, interview. As we indicated earlier, the EPIC
      reportedly made a significant impact by helping MNF-W commanders and project managers
      identify insurgent front companies.
      71 For example, one USMC officer and Anbar veteran related how Marines discovered that
      some Iraqis contracted by MNF-W to paint buildings actually mixed their paint with so
      much water that it peeled off the structures not long after the work was completed.



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      ing projects via governing institutions. Although this approach did not
      eliminate waste and fraud, it did increase the chance that funded proj-
      ects would be completed as envisioned and also strengthened the legiti-
      macy of government institutions. This is because local Iraqis under-
      stood the business environment they operated in. They understood
      what level of graft and corruption was to be expected in the course of
      business activity versus what was excessive and a threat to their busi-
      ness endeavors. Moreover, local contractors understood that govern-
      ing institutions, their new supervisors, might be in place for the long
      term. In such cases, local national contractors had incentives to deliver
      work of adequate quality and meet the terms of their agreements, lest
      they damage potentially enduring business relationships and be denied
      opportunities for additional contracts.72
            Improved contracting was just one element of a larger MNF-W
      effort to improve money flows into Anbar, convince Anbaris to invest
      in their own recovery, and, at the same time, reinforce the governing
      institutions that could contribute to stability. Once again, establishing
      an atmosphere of trust and confidence and providing mentoring and
      oversight were essential to the larger effort. Indeed, as one Anbar vet-
      eran explained to us, “capitalism requires confidence.” In this regard,
      the Marines we interviewed indicated that they sought to position the
      Command as something of an honest broker between the various com-
      peting elements in Anbar society. In contrast to previous approaches
      wherein direct action was typically used to influence developments
      in Anbar, during the transition period of 2007–2008 the Command
      sought to use mentoring and oversight to create an environment in
      which the Iraqis would see the benefit of cooperating among them-
      selves and with MNF-W in order to advance Anbar’s recovery. The
      Command developed several governance and business processes and
      forums to reinforce this effort; some were established as early as 2005
      but only came to fruition once the security environment had substan-
      tially improved after 2006.73


      72 Senior Analyst/All Source Fusion Officer, interview, June 8, 2009.

      73 Senior Analyst/All Source Fusion Officer interview, June 8, 2009.




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            Regarding governance, the Marines we interviewed for this case
      study indicated that MNF-W pursued (perhaps unofficially) a two-
      track approach. On the one hand, MNF-W undertook initiatives aimed
      at establishing the provincial government’s legitimacy and authority.
      On the other hand, MNF-W would, as appropriate, work through, or
      even help establish, traditional governance institutions to stabilize and
      secure the province. As one senior USMC officer who led engagement
      efforts explained to us, his goal was to foster “governance” that worked
      for Iraqis, not necessarily “government” as it is typically envisioned by
      Americans.74
            With respect to traditional institutions such as tribal councils,
      MNF-W used them to establish what one Marine described as an “arc
      of conversation” among various Iraqi groups and between Iraqis and the
      MNF-W. For example, MNF-W promoted development of a “Sheikh
      Shura” where local leaders could meet routinely to discuss issues and
      resolve disputes. MNF-W felt this initiative had succeeded when the
      sheikhs started meeting on their own without MNF-W participation.75
            As they pursued the participation of traditional institutions in
      recovery efforts, MNF-W officials sought to retain “distance and
      equanimity” in their dealings with local Anbari leaders. The Com-
      mand had learned from experience not to pick leaders for the people
      of Anbar. Such leaders had power because of their relationship to the
      coalition instead of an indigenous constituency; thus, they might be
      identified as illegitimate “fake sheikhs” by the populace and perhaps
      be toppled when their CF benefactors had departed. Instead, MNF-W
      engagement officials treated every Anbari leader as a potentially useful
      relationship. They were also careful not to marginalize leaders whose
      power had declined, understanding that it could take only a few dis-
      gruntled sheikhs to disrupt progress toward Anbar’s recovery and
      return to normalcy.76
            As another part of the governance component of its transition
      process, MNF-W maintained oversight to ensure that Iraq’s central

      74 Senior USMC intelligence officer, interview.

      75 Senior USMC intelligence officer, interview.

      76 Senior USMC intelligence officer, interview.




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      government in Baghdad honored its financial commitments to Anbar
      province. This effort sought to ensure, for example, that Anbaris who
      joined the ISF or other government-sanctioned security units stationed
      in the province were paid for their service.77 Delivering routine pay
      for Anbaris who worked for security services was critical to proving
      the central government’s effectiveness. The pay was important to the
      provincial economy as well and vital for keeping military-age males
      out of the insurgency and engaged in legitimate work. Nevertheless,
      the Shi’a-dominated central government often required coaxing from
      senior CF leaders to meet its obligations to Anbar, a province domi-
      nated by Sunnis, including insurgents who had fought central govern-
      ment forces prior to the Awakening movement.
           By 2007, reporting by a veteran observer indicated that MNF-W
      had succeeded in proving its good faith, at least to some tribal elements
      in Anbar:

            The tribes openly acknowledge that it has been the personal
            behavior, strength of arms and persistence of the American forces
            that convinced them to join the fight. “The American coalition is
            the only thing,” Sheik Abureeshah of Ramadi said, “that makes
            the Iraqi government give anything to Anbar.”78

            Regarding reconstruction projects, MNF-W accepted the view in
      time that projects were more likely to be successful if host nation gov-
      ernment institutions served as the conduit for funding, rather than
      the Command or other U.S. government agencies, whose presence was
      considered temporary by Iraqi contractors. MNF-W also understood
      that funding projects and creating jobs via government channels had
      the effect of strengthening the legitimacy and authority of the provin-
      cial government, a development that was judged essential to Anbar’s
      long-term stability. That being the case, MNF-W’s mentoring process
      included working with provincial government authorities to manage
      funds from various sources (e.g., from Iraq’s central government and


      77 Senior USMC intelligence officer, interview.

      78 West and West, “Iraq’s Real ‘Civil War.’”




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      U.S. and international donors) and to develop a contracting process
      that the Anbari business community would recognize as transparent
      and fairly administered. Once Anbaris shifted from petitioning the
      MNF-W for contracts and instead routinely approached their govern-
      ment for business, MNF-W officials understood that they had achieved
      a key step in the transition to stability.79 (See Figure 6.2.)
            MNF-W leaders knew that Iraqi government and international
      sources would not be able to fully finance Anbar’s recovery. Therefore,
      one of the Command’s major goals was to foster what a USMC offi-
      cer later called a “homegrown recovery” in Anbar; that is, to create an
      environment in which Anbaris at home and those living abroad would
      Figure 6.2
      Launching and Advancing the Transition in Anbar Province


      Successful CF Initiatives and Approaches
        • Implemented programs to ensure quality of life improvements for indigenous
          population
        • Supported leader selections by the populace
        • Empowered local national leaders to supplant insurgents
        • Facilitated recruitment of local nationals for ISF service
        • Transitioned security operations to the ISF
        • Fostered governance that worked for local nationals
        • Helped restore popular conﬁdence in provincial government
        • Acted as honest broker to facilitate local national collaboration for recovery
        • Helped establish business processes and forums designed to sustain recovery
        • Fostered development of governmental processes designed to support long-term
          recovery
        • Convinced local nationals and expatriates to invest in the recovery of their homeland
        • Developed rule of law support programs that advanced the development of indigenous
          police, judicial, and detention systems

      CF Shortfalls
        • Had insufﬁcient long-term programs and resources for insurgent demobilization and
          reintegration
        • Misunderstood economic environment, leading to diversion of some reconstruction
          funding to insurgents during early years of campaign
        • Failed to supply sufﬁcient resources for recovery programs
        • Inadequate rule of law support during early years of campaign
        • Lacked capacity for training local national police during early years of campaign
        • Lacked civil-military affairs capacity
        • Lacked civilian expertise needed to support long-term recovery programs
      RAND MG1111/2-6.3



      79 Senior Analyst/All Source Fusion Officer, interview, June 8, 2009.




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      invest in the province’s reconstruction and development. Not only
      would this approach generate more funds for recovery efforts, it would
      also give many native Anbaris, some of whom were quite influential, a
      stake in the recovery effort and its outcome. MNF-W therefore facili-
      tated a number of business forums designed, among other things, to
      inform Anbaris of the improved climate and processes for investment
      in the province. A USMC officer was stationed at the U.S. embassy
      in Amman and charged with engaging the wealthy Anbaris who had
      fled to Jordan and elsewhere after the 2003 invasion. By 2008, many
      powerful sheikhs who had fled abroad had agreed to return to Anbar.80
            MNF-W forces did not undertake the transition from COIN
      alone. Between 2006 and 2008, Iraqi forces and authorities played an
      increasingly important role in the endeavor. As described above, thou-
      sands of Anbaris participated in various training programs offered by
      coalition forces and designed to improve security and governance in
      the province. The government of Iraq authorized the hiring of thou-
      sands of police officers and, at times grudgingly, supported efforts to
      integrate some of the Sons of Iraq into the ISF. In March 2007, Prime-
      Minister Maliki visited Anbar and voiced support for the tribal leaders
      who were battling AQI.81
            According to accounts provided by Iraqi authorities, a concerted
      effort to reestablish police control in key areas of the province began
      in 2006.82 This move later proved vital to the transition. Iraqis rebuilt
      police stations destroyed by AQI fighters and hired thousands of police
      recruits, sending many of them to Jordan for training as part of a U.S.-
      sponsored program.83 Iraqi police were among the first to fight in the

      80 Senior Analyst/All Source Fusion Officer, interview, June 8, 2009; Senior USMC intel-
      ligence officer, interview.
      81 Kirk Semple, “Iraq Premier Meets Leaders in Area Torn by Insurgency, New York Times,
      March 14, 2007.
      82 Colonel Gary W. Montgomery and Chief Warrant Officer-4 Timothy S. McWilliams,
      eds., “Interview 12: Major General Tariq Yusif Mohammad al-Thiyabi, Provincial Director
      of Police, Al-Anbar Province,” in Al-Anbar Awakening Volume II: Iraqi Perspectives. From
      Insurgency to Counterinsurgency in Iraq, 2004–2009, Quantico, Va.: Marine Corps Univer-
      sity Press, 2009, pp. 186–188.
      83 Montgomery and McWilliams, “Interview 12,” pp. 184 and 192.




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      battles that would suppress AQI in Ramadi.84 In March 2007, some
      500 Iraqi police deployed to clear insurgents from part of the city.85
            Intelligence collection was a key contribution to the transition,
      according to Iraqi authorities. With MNF-W support, Iraqi police
      established intelligence organizations throughout Anbar.86 Clandestine
      intelligence collection operations conducted by the police supported
      MNF-W and ISF operations.87 And the engagement of local nationals
      by the Iraqi Army and police yielded vital information on insurgent,
      improvised explosive device (IED), and weapon cache locations.88

      Signs the Coalition Forces Were “Winning”
      AQI’s objective in Anbar was to establish a pan-Islamic, fundamen-
      talist theocracy, which it referred to as the Islamic State of Iraq. After
      initially portraying itself as a partner in the people of Anbar’s resistance
      to occupation, the AQI moved to dominate all aspects of Anbar society
      and usurp the power of the traditional authorities that had provided
      governance in the province. AQI had arguably succeeded in its goals,
      by and large, by 2005.
            As described above, MNF-W developed a new strategy for secur-
      ing Anbar at about the same time many Anbaris had become disil-
      lusioned with or violently hostile to AQI’s attempt to develop a new

      84 Montgomery and McWilliams, “Interview 12,” p. 191.

      85 Kimberly Kagan, “The Anbar Awakening: Displacing al Qaeda from Its Stronghold in
      Western Iraq,” Iraq Report, August 21, 2006–March 30, 2007, p. 12.
      86 Colonel Gary W. Montgomery and Chief Warrant Officer-4 Timothy S. McWilliams,
      eds., “Interview 13: Staff Brigadier General (Pilot) Nuri al-Din Abd al-Karim Mukhlif al-
      Fahadawi, Head, Directorate General of Intelligence and Security, Al-Anbar Province and
      Colonel Said Muhammed Muad al-Fahadawi, Director General, Iraqi Special Weapons and
      Tactics,” in Al-Anbar Awakening Volume II: Iraqi Perspectives. From Insurgency to Counterin-
      surgency in Iraq, 200–2009, Quantico, Va.: Marine Corps University Press, 2009, p. 208.
      87 Montgomery and McWilliams, “Interview 13,” p. 206.

      88 Montgomery and McWilliams, “Interview 13,” p. 206; Colonel Gary W. Montgomery
      and Chief Warrant Officer-4 Timothy S. McWilliams, eds., “Interview 14: Staff Major Gen-
      eral Abdullah Mohammad Badir al-Jaburi, Commanding General, 7th Iraqi Army Divi-
      sion,” in Al-Anbar Awakening Volume II: Iraqi Perspectives. From Insurgency to Counterin-
      surgency in Iraq, 2004–2009, Quantico, Va.: Marine Corps University Press, 2009, p. 216;
      Kagan, “The Anbar Awakening,” p. 9.



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      kind of society in the province. Veterans of the Anbar campaign told
      us that by 2008, it was clear that the Command had largely routed the
      insurgent group and gained the trust and support of many Anbaris.
      Officials we interviewed pointed to numerous indicators that suggested
      the Command’s approach was working and the transition from COIN
      was under way.
            One obvious sign that coalition forces were “winning” in Anbar
      was the dramatic decline in levels of violence between 2006 and 2008.
      Indeed, as indicated in Figure 6.3, the declining trend in attacks was
      already notable by summer 2007. MNF-W officials also pointed to
      tribal leaders’ and other insurgents’ defection from AQI and their deci-
      sion to join the irregular forces attacking AQI.89 Another clear sign that
      the transition was under way was the Anbaris’ decision to move from


       Figure 6.3
       Anbar Attack Trend, June 2006 to August 2007

                1,600

                1,400
                                                  Trend
                1,200

                1,000
      Attacks




                 800

                 600

                 400

                 200

                   0
                        Jun   Jul Aug Sep Oct Nov Dec Jan Feb Mar Apr May Jun           Jul Aug
                                     2006                                 2007
       SOURCE: GEN David H. Petraeus, Commander, Multi-National Force-Iraq, “Charts to
       Accompany the Testimony of GEN. David H. Petraeus,” September 10–11, 2007.
       RAND MG1111/2-6.4




      89 Senior Analyst/All Source Fusion Officer, interview, June 8, 2009.




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      irregular organizations and join the government-sanctioned ISF, which
      had expanded to some 37,000 personnel by September 2008.90
            The overall decrease in violence in Anbar and the shift in alle-
      giances, at least at the popular level, may have also been attributed
      to significant improvement in economic conditions in the province.
      According to surveys of Anbari households conducted by the United
      Nations Development Programme and RAND during 2006 and 2008,
      respectively, 91 the standard of living of households rose on a number of
      key measures. Importantly, the survey findings indicated that incomes
      in Anbar, for example, rose sharply between 2007 and June 2008.
            Over time, Anbaris also derived a greater proportion of income
      from labor, rather than from other economic activity. This is further
      evidence of greater availability of jobs and increased income among
      most households. As Anbaris saw greater economic opportunity, fewer
      were drawn to AQI and the insurgency.
            Beyond joining MNF-W in the fight against AQI, Anbari citi-
      zens offered still other measures of the Command’s success. Once a
      relatively trusting relationship had been established between coalition
      forces and Anbari citizens, the latter began to inform on AQI, tip-
      ping CF personnel off to the locations of AQI fighters and threats such
      as IEDs. Local Iraqis voluntarily joined MNF-W efforts to clean up
      provincial towns, increasing numbers of shops opened, and there were
      more people on the street in the evenings; all signs that the Command
      was turning the tide against AQI.92



      90 Ian Black, “U.S. Hands Back Control of Anbar to Iraqi Forces,” The Guardian, September
      2, 2008.
      91 The RAND findings are based on face-to-face interviews with 1,200 Anbari heads of
      households ages 18 years and older during May 28 to June 10, 2008. The survey relies on
      random probability techniques for sample selection. Results can be generalized over the
      entire population of the Al-Anbar province within a margin of error of +/– 3.7 percent. Local
      Anbari interviewers were trained over a period of four days after supervisors received separate
      training conducted by RAND experts.
      92 Department of Defense civilian member of Al Anbar PRT, interview; and USMC cap-
      tain, task force company commander, Ramadi, March to June 2007, interview by RAND
      researchers, January 14, 2008.



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            MNF-W officials believed that average Iraqis were beginning to
      feel the effects of the transition from COIN because the number of
      damage claims presented to the Command declined.93 Iraqis who did
      approach MNF-W for assistance increasingly asked not for security but
      instead for food, education, and public health aid.94
            During the 2007–2008 transition period, tribal governance orga-
      nizations reemerged and reasserted their authority after having been
      largely suppressed by AQI.95 Local leaders began routine meetings
      to manage issues and resolve disputes (e.g., in the Sheikh Shura), all
      without prompting from MNF-W.96 Anbaris increasingly approached
      their provincial government for business development and contracts,
      whereas before the transition period they had come to MNF-W seeking
      contracts. Business transactions increasingly took place within agreed
      institutional frameworks, and expatriate elites returned to Anbar from
      Jordan and elsewhere.97
            Major General John F. Kelly, MNF-W commander, pointed to
      what he perceived to be a key indicator of Anbaris’ restored faith in
      their governance and future: voter registration. According to Kelly,
      nearly 100 percent of Anbaris registered to vote in August 2008. More-
      over, during the January 2009 provincial election, Anbar was experi-
      encing enough stability that MNF-W felt no need to deploy forces to
      secure polling places.98 Finally, a senior MNF-W official who assisted
      with election preparations told us he knew that Anbar had turned the
      corner when provincial Governor Mamoon Sami Rashid started per-




      93 Department of Defense civilian member of Al Anbar PRT, interview.

      94 Kelly, “Reflections.”

      95 Senior Analyst/All Source Fusion Officer, interview, June 8, 2009.

      96 Senior USMC intelligence officer, interview.

      97 Senior Analyst/All Source Fusion Officer, interview, June 8, 2009; Senior USMC intel-
      ligence officer, interview.
      98 MNF-W deployed just 100 Marines during the election. The small force provided secu-
      rity to United Nations election monitors, at their request. Kelly, “Reflections.”



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      sonally promoting the election procedures agreed to by his government
      and the coalition.99

      The Transition Outcome in Al-Anbar
      By the end of 2008, Anbar was still undergoing the transition from
      COIN to enduring stability. Although the province had achieved a
      significant measure of stability, a RAND study of the period indicated
      that Anbar’s stability “seemed hopeful, but fragile” and “all the more
      uncertain in the face of imminent U.S. withdrawals.” Although it
      maintained a “weak foothold in some areas” of Anbar, the AQI group
      was largely suppressed by 2008.100
            As indicated above, Anbar’s relative security served as the foun-
      dation for significant gains in the standard of living. Surveys admin-
      istered by RAND during summer 2008, for example, indicated that
      although Anbaris did not feel broadly affluent, half of them described
      themselves as relatively comfortable, and they maintained a guarded
      optimism that circumstances would improve.
            Other opinion poll findings among the broader Iraqi population
      were suggestive of a growing sentiment that security conditions in the
      country were, likewise, improving.101 For example, a substantially larger
      percentage of Iraqis in 2008 rated conditions in their neighborhoods
      or villages as “good” overall (62 percent). In August 2007, consider-
      ably fewer (43 percent) had the same assessment. Asked about their
      views of security in the country as a whole, more than twice as many
      concluded that the security situation had “become better” (36 percent),
      a marked improvement from summer 2007 (11 percent). Most attrib-
      uted progress to Iraqi institutions, including the Iraqi government (30
      percent), Iraqi Army (13 percent), and the Iraqi police (11 percent).
      Public views of local government performance were consistent with

      99 Senior USMC intelligence officer, interview.

      100 James B. Bruce and Jeffrey Martini, Whither Al-Anbar Province: Five Scenarios for 2009–
      2011, Santa Monica, Calif.: RAND Corporation, OP-278-USMC, 2010, pp. 1, 6.
      101 Survey results are from polls conducted nationwide by KA Research and D3 Systems of
      Virginia among 2,228 Iraqi adult citizens aged 18 and older during August 2007 and Febru-
      ary 2008. The margin of error for these polls is 2.5 percentage points.



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      these positive evaluations. In spring 2008, 46 percent believed their
      local government was performing generally well, a slight improvement
      from August 2007, when 39 percent felt the same way.

      Major Gaps in Transition Capabilities
      MNF-W faced numerous challenges in its effort to secure Anbar prov-
      ince and to develop an effective transition from COIN to the stabil-
      ity and reconstruction operations required to ensure Anbar’s ultimate
      recovery. MNF-W officials interviewed for this case study indicated
      that U.S. Marines and soldiers pursued extensive experimentation on
      the ground as they struggled to find an effective formula for COIN in
      Anbar during 2005–2006.
            A fundamental capability gap the Command dealt with during the
      2005–2006 period (and earlier) was its inability to understand Anbar’s
      dynamic society at the level of detail required to effectively influence
      key actors in that society and events in the province. MNF-W person-
      nel pursued several innovations to fill that gap. Temporary constructs,
      including the EPIC and JPEC described earlier, were organized during
      the fight to generate assessments of Anbar’s operational environment
      or key elements of it. Products from these organizations, as well as
      increasingly sophisticated analytical methods employed by MNF-W
      staff in other organizations,102 enabled the Command’s decisionmak-
      ers to develop and pursue the COIN and reconstruction strategies that
      largely stabilized the province by 2008.
            Over the longer term, however, it remains to be seen whether the
      EPIC and JPEC constructs, and advanced analytical methods more
      generally, can be both disseminated to all Service components that
      might require such capabilities and institutionalized in some way to
      support future COIN and stability operations. Baring effective insti-
      tutionalization or some other approach that makes the EPIC/JPEC-


      102 A senior aide to the MNF-W commander explained to us that he advanced MNF-W ana-
      lytical methods by using a Complex Adaptive Systems construct to enable holistic analysis of
      Anbari society. This approach enabled him to understand the key players and interrelation-
      ships among business, political, and tribal elites and former members of the Saddam Hussein
      regime. Senior USMC intelligence officer, interview, 2008.



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      type capability available, the U.S. could face gaps in its ability to assess
      operational environments in the future.
            Anbar veterans in the Marine Corps explained in personal inter-
      views that support for “rule of law” programs and institutions was a
      significant capability gap during part of the Anbar campaign. The
      development of “rule of law intelligence” (e.g., intelligence needed to
      support development of arrest warrants) was vital to the transition from
      COIN. The JPEC was established to generate this type of intelligence
      and to train forces to support the targeting and prosecution of insur-
      gents, terrorists, and criminals.
            The JPEC filled a critical capability gap, at least temporarily.
      Nonetheless, one USMC expert advised us that gaps remain in the dis-
      semination of standard operating procedures for support to law enforce-
      ment during COIN and stability operations. He recommended that a
      field manual be developed to codify procedures as well as standards for
      training. The manual would provide general guidance that could be
      tailored by commanders to specific host country environments. This
      veteran also recommended that the Department of Defense (DoD)
      evaluate for possible wider adoption the “Detainee Tracker” database
      system. This database was invented by Marines to manage detainee
      case files and related information, including forensic evidence from the
      Biometrics Automated Tool Set. It was critical to ensuring incarcera-
      tion of Iraqis who threatened stability and security in Anbar and more
      generally to supporting rule of law development in the province.
            Major General Kelly said that during his 2008 command of
      MNF-W the United U.S. government failed to supply sufficient mon-
      etary resources for Anbar’s reconstruction. As a result, MNF-W was
      unable to fully make good on its commitment to Anbaris who sup-
      ported the security and recovery efforts. According to Kelly, had the
      U.S. government supplied adequate reconstruction funds, it could have
      held Anbar up as a model for security and recovery, an example that
      other Iraqi provinces could follow.




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            Kelly remarked that as late as 2008 the USMC lacked sufficient
      civil-military affairs expertise. As a stopgap, he trained some of his
      artillery battalions for the civil-military affairs mission.103
            As noted earlier, a senior aide to Kelly told us the USMC had no
      “professional track” to train intelligence officers for political and eco-
      nomic intelligence analysis. MNF-W supplemented its staff by calling
      up reservists who had acquired relevant expertise as part of the civilian
      workforce in the United States. The aide said Marines in Anbar also
      lacked the capability to train the Iraqi police to “protect and serve”
      Anbari communities, rather than focus solely on relatively kinetic secu-
      rity operations.104
            Marines we interviewed indicated that the most stubborn gap
      they faced was one they could not control: the lack of U.S. govern-
      ment civilian agency capacity to support Anbar’s recovery. For exam-
      ple, in 2006, a single Department of State (DoS) official was posted to
      Anbar.105 A major improvement in civilian capacity was attempted in
      2007 when the first provincial reconstruction team (PRT) deployed to
      Anbar. The PRT concept was developed jointly by DoS and DoD to
      deliver vital civilian expertise and leadership for reconstruction efforts
      in Afghanistan and Iraq.
            Transitioning key authorities and responsibilities from MNF-W
      military elements to the civilian-led PRT could be seen as a shift in
      focus from COIN to stability operations and thus as an indicator of
      the transition from COIN. However, according to a member of the
      2007 PRT in Anbar (a DoD civilian), the initial PRT effort fell short
      of expectations. According to this official, the “volume and depth” of
      DoS and USAID expertise on the PRT was inadequate, given the tasks
      envisioned for the team. In addition, doctrine for PRT operations was
      not established; thus, PRT staff established key processes and proce-
      dures for PRT operations via trial and error. Finally, DoD and DoS
      had not settled critical issues, such as who would pay for PRT opera-


      103 Kelly, “Reflections.”

      104 Kelly, “Reflections.”

      105 McPherson, “Operations in Anbar Province.”




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      tions.106 These and other shortfalls undermined the PRT’s ability to
      operate to its envisioned capability in 2007.
            A senior MNF-W official told us that as late as 2008 the PRT
      “in theory” had primary responsibility for political engagement in the
      province; in reality, however, MNF-W military elements still carried the
      load for political operations.107 Major General Kelly further confirmed
      that in 2008 the U.S. government was still largely unable to supply
      civil servants with the expertise MNF-W needed during the transi-
      tion from COIN. Kelly compensated by calling up USMC reservists
      who had the requisite skills. Similarly, from universities in the United
      States, Kelly recruited civilian specialists in fields such as agriculture
      and veterinary medicine.108 A senior advisor to Kelly expressed his view
      that, generally speaking, the U.S. government needs to develop a cadre
      of civilians who know how to conceptualize an objective future for a
      host country, develop a plan to achieve the objective, and then influ-
      ence the operational environment in the host country so as to achieve
      the U.S. goals.109
            Finally, the United States faced serious challenges in its effort to
      work with Iraq’s central government to foster complete integration of
      the Sons of Iraq (the Iraqi fighters generated by the Awakening move-
      ment) into Iraqi military and civilian institutions. This shortfall was
      widely recognized by 2008; the integration issue has the potential to
      remain a challenge in Anbar for the foreseeable future, particularly
      after the agreed U.S. withdrawal in 2011.
            It remains to be seen whether Iraq’s Shi’a-dominated government
      will support the integration process amid lingering mistrust of Sunni
      Iraqis and deep political divisions over how to manage the integration.
      A number of more specific issues have also arisen to impede the inte-
      gration process. These issues are largely beyond U.S. control, but they
      nevertheless have significant bearing on security gains in Anbar.


      106 Department of Defense civilian member of Al Anbar PRT, interview.

      107 Senior USMC intelligence officer, interview.

      108 Kelly, “Reflections.”

      109 Senior USMC intelligence officer, interview.




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            In this regard, only a small percentage of Anbar Awakening mem-
      bers have been absorbed into security and civilian bodies. The Iraqi
      government claimed to take responsibility for some 51,000 Awaken-
      ing members based in Iraq in October 2008, with expectations that it
      would take responsibility for the entire group in 2009. Regardless, some
      members have complained of not receiving pay in a timely fashion or
      of not receiving sufficient pay for work completed. In response, Sunni
      Awakening members have launched protests by staging “walkoffs” that
      have left security checkpoints unmanned.
            In 2009, Iraq’s oil revenues fell and its unemployment rate
      increased. Iraq’s economic downturn may have genuinely constrained
      the central government’s ability to pay the salaries of the Sons of Iraq
      (SoI), or it may have been used as an excuse not to compensate the SoI.
      In the meantime, according to one expert, civilian institutions in Iraq
      have become so bloated with bureaucrats that it is impossible to absorb
      more individuals.110
            Iraq’s central government has demonstrated its resistance to SoI
      integration by denying some members promised immunity from pros-
      ecution. Other members have been detained indefinitely. Awakening
      leaders, in particular, have been targeted by security forces, ostensibly
      to prevent consolidation of the entities’ power or at a minimum the
      reconsolidation of power among Awakening leaders. They have been
      charged with being associated with al Qaeda and of engaging in acts
      of terrorism.

      Conclusions

      This chapter’s findings are based on numerous interviews with or other
      accounts offered by participants in CF operations in Anbar province;
      their experience on the ground covers the period 2003 to 2008. These
      experts were in general agreement as to the challenges and capabil-
      ity gaps that confronted MNF-W ground forces. Their experiences in
      Iraq further point to the kinds of capabilities the United States must
      develop in its civilian and military organizations, or in a host nation

      110 Telephone interview with RAND expert, August 12, 2009, Washington, D.C.




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      partner, in order to transition from COIN to stability operations, and
      perhaps even to a condition of normalcy for the host country.
            For U.S. forces, the essential capability underlying all others is
      the ability to understand the host nation operational environment.
      This understanding must be of sufficient detail to permit U.S. forces
      to effectively influence the environment in a manner that will support
      their objectives for COIN, stability and reconstruction, and so forth.
            The United States needs a cadre of experts, preferably civilians,
      who can provide the needed depth to support COIN and related types
      of operations, as well as the transition from COIN. This cadre should
      be capable of providing the full suite of skills needed for COIN and
      reconstruction tasks—for example, cultural knowledge, governance,
      trade, policing, economics, agriculture, industry, medicine, and busi-
      ness processes. Table 6.1 indicates how MNF-W’s roles and missions
      emphasis shifted as the Command moved from a focus on COIN
      (roughly during the 2005–2006 period) to supporting long-term
      recovery and reconstruction efforts (roughly 2007–2008).


      Table 6.1
      MNF-W Roles and Missions Emphasis During COIN and Recovery Periods

      COIN Focus Period                                  Recovery Focus Period

      Place intelligence emphasis on           Collect intelligence on economics, politics,
      targeting insurgents                     governance, and to support rule of law

      Lead COIN operations                     Overwatch to support ISF

      Recruit local national fighters to       Support integration of local national
      support MNF-W                            fighters in ISF

      Conduct business and give                Support government role in local
      contracts to local nationals             commerce

      Conduct high-visibility patrols          Reduce forces and close operating bases

      Enforce travel restrictions to support   Accommodate transit by
      security                                 local nationals

      Actively shape environment               Promote autonomous local national
                                               collaboration to shape environment




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            U.S. forces should understand the key players in a host country
      society and their interrelationships. U.S. analysts should understand
      the players in a host country environment well enough that they will be
      familiar with leaders picked by the host country populace. U.S. forces
      should avoid picking leaders for the populace. Otherwise the United
      States risks picking leaders who will be seen as illegitimate, thereby
      impeding the development of governance in the host country.
            U.S. forces need to further develop techniques and procedures for
      establishing trust with a host country populace. As MNF-W proved
      in Anbar, this trust is a key building block in the foundation that first
      supports successful COIN and later supports transition activities.
            MNF-W veterans agree that financial flows were critical to
      Anbar’s recovery and to maintaining stability in the province. This
      experience suggests that U.S. forces need the capability to understand
      the legal and illegal economic system in a host country and the sources
      of finance, both within and outside the country.
            U.S. forces should also understand when to work through and
      reinforce host country government institutions to achieve objec-
      tives, and when to utilize traditional governance entities (the tribes,
      in Anbar’s case). Similarly, U.S. forces should be able to work with
      both government-sanctioned and irregular forces that can contribute
      to security and stability in a host country. Such efforts require careful
      coordination. The United States should also consider the development
      of techniques and procedures that can facilitate future efforts to demo-
      bilize irregular forces and reintegrate them into host country military
      and civilian institutions.
            Effective mentoring of security forces can enable the United States
      to transfer primary responsibility for security to host country forces.
      Shifting this burden can permit the United States to focus its resources
      on activities, such as reconstruction, that support the transition from
      COIN and ultimately, the redeployment of U.S. forces from the host
      nation. U.S. forces therefore need the capability to train host country
      security forces. This may in some circumstances include retraining host
      country police forces to “protect and serve” their communities rather
      than to act as paramilitary forces designed to defend the host country
      regime. Similarly, the United States should help host nations promote


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      the rule of law, an essential element in the transition from COIN. This
      requires development of not only police forces but also the supporting
      judicial and detention systems in the host nation.
            The United States should help the host nation develop an envi-
      ronment that will attract financial investment. Establishing security is
      the first step in this process.
            Beyond security matters, U.S. analysts can help a host country
      understand the foreign and domestic financial flows that are vital to
      its economic development. The United States can also assist host coun-
      try efforts to develop financial and contracting processes that offer a
      level playing field and the transparency required to attract foreign and
      domestic investment in the host country economy.




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      CHAPTER SEVEN

      Afghanistan




                      Map of Afghanistan




                      SOURCE: CIA World Factbook.
                      RAND MG1111/2-7.1




      Introduction

      The inclusion of Afghanistan in a study of transition from success-
      ful counterinsurgency to stability operations may be unconventional.
      Certainly, counterinsurgency in Afghanistan has yet to succeed, much
      less transition successfully to stabilization. This chapter provides back-



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      ground for the current situation and examines the reasons that there
      has not yet been a successful transition from COIN to stability.
            Following the Taliban’s refusal to turn over Osama bin Laden
      for his role in the 9/11 terrorist attacks, the United States launched
      Operation Enduring Freedom (OEF) with the intention of destroying
      al Qaeda and its Taliban shield and support structure and prevent-
      ing continued use of the territory as a safe haven for terrorist activity.1
      On October 7, U.S. and British forces, with the aid of Afghanistan’s
      internal anti-Taliban rebels (the Northern Alliance), began a military
      campaign against the Taliban to “disrupt the use of Afghanistan as a
      terrorist base of operations and to attack the military capability of the
      Taliban regime.”2 In December 2001, after less than three months of
      fighting, Taliban leaders surrendered the organization’s final territory
      in Afghanistan. For the next several months, U.S. troops, in combina-
      tion with a multinational coalition and increasing numbers of Afghan
      forces, launched a series of offensive operations into the southern and
      eastern provinces of the country in an attempt to remove the remain-
      ing presence of Taliban and al Qaeda and establish conditions neces-
      sary for stability and reconstruction activities. By early 2002, the Tali-
      ban appeared to have been shattered and there was no sign that an
      insurgency was imminent.
            International and local focus then shifted to rebuilding the Afghan
      nation. At the UN-directed Bonn Conference in 2001, Afghan politi-
      cal factions established a timetable for the creation of a representative
      and freely elected government.3 As part of the agreement, the Inter-
      national Security Assistance Force (ISAF), a multistate coalition, was
      created to provide security and support to the fledgling Afghan govern-
      ment in Kabul. Months later, the United States and other nations met


      1   Sean Maloney, “Afghanistan: From Here to Eternity?” Parameters, Spring 2004, p. 15.
      2   Department of State, Office of the Historian, “The United States and the Global Coali-
      tion Against Terrorism, September 2001–December 2003,” June 2004. George W. Bush,
      Speech of President Bush Announcing U.S. Attacks in Afghanistan, PBS Transcript, October
      7, 2001.
      3  Ministry of Foreign Affairs of Japan, “United Nations Talks on Afghanistan,” December
      6, 2001.



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      to outline the requirements for Afghanistan’s security sector reform.
      The UK agreed to lead the counternarcotics effort; Italy offered to run
      the judiciary; the United States volunteered to train the Afghan mili-
      tary and border security service; Germany pledged to train the police
      force; and Japan agreed to direct the disarmament, demobilization and
      reintegration of former combatants.4
            The clearing campaigns of 2002 and 2003 largely resulted in
      the Taliban, al Qaeda, and other foreign jihadists resettling in nearby
      Pakistan, where they were able to rest and regroup. Despite linger-
      ing militant activity in the region, U.S. Secretary of Defense Donald
      Rumsfeld and Afghan president Hamid Karzai had declared the end
      of major OEF combat operations by late 2003; in 2004, several com-
      manders claimed the military campaign and associated reconstruction
      efforts had succeeded against the Taliban.5 Attention turned to ensur-
      ing political stability and enhancing the capacity of indigenous Afghan
      forces to establish their own security.
            From mid-2002 onward, the Taliban, reinforced by al Qaeda
      militants, began to reconstitute themselves. Although attempts to
      destabilize both presidential and parliamentary elections in the fall of
      2004 and 2005 were thwarted, the trajectory of insurgent violence was
      steeply upward. By 2006, the Taliban’s overall ability to cause violence
      on Afghan territory had increased by 400 percent since their defeat in
      2001.6 Throughout 2006, coalition and ANA forces deployed to dis-
      rupt insurgents’ activities, deny them sanctuary, and prevent their abil-
      ity to regain strength. Despite high numbers of casualties, the Taliban
      often resisted in a more coordinated manner than anticipated. Cam-
      paigns undertaken by the forces from the United States and the North
      Atlantic Treaty Organization (NATO), which had assumed command


      4  U.S. Government Accountability Office, Afghanistan Security: Efforts to Establish Army
      and Police Have Made Progress, but Future Plans Need to Be Better Defined, Report to the
      Committee on International Relations, House of Representatives, Washington, D.C.: U.S.
      Government Accountability Office, GAO-05-575, June 2005, p. 5.
      5  Kenneth Katzman, Afghanistan: Current Issues and U.S. Policy, Congressional Research
      Service, Report RL30588, December 3, 2002, pp. 7, 23.
      6   RAND Database of Worldwide Terrorism Incidents, May 20, 2011.



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      of ISAF, could not permanently quell the insurgency; attacks contin-
      ued and intensified in regions where stability and reconstruction opera-
      tions were slated to commence.

      Key Domestic, International, and Transnational Actors
      Following the overthrow of the Taliban government, the United States
      supported the new government and deployed thousands of troops,
      mainly fulfilling counterterrorism roles in support of OEF, to Afghani-
      stan in order to eradicate insurgent activity as well as to help the politi-
      cal authority exercise and extend its authority.
            In addition to brokering dialogue among international and domes-
      tic Afghan parties to facilitate agreement on an interim and more per-
      manent Afghan government, the UN, through the Security Council,
      created the International Security Assistance Force in January 2002. A
      series of Security Council resolutions also guided NATO’s takeover of
      ISAF and approved its expansion beyond Kabul. Additionally, the UN
      established the UN Assistance Mission in Afghanistan (UNAMA) to
      direct and integrate humanitarian, relief, recovery, and reconstruction
      activities in support of the Bonn Agreement.7 NATO expanded the
      stabilization force’s presence in a series of stages to the northern (Octo-
      ber 2004), western (September 2005), southern (July 2006), and east-
      ern (October 2006) regions of the country.
            A new constitution, followed by presidential and parliamentary
      elections in 2004 and 2005, established the Government of the Islamic
      Republic of Afghanistan (GIRoA). GIRoA selected the ministers
      to direct and build up the leadership capacity of the Afghanistan
      National Security Forces (ANSF). One problem that plagued the
      Afghan government from its earliest days was the lack of capacity and
      knowledge of effective government process. In their early days, for
      example, ministries consisted of a few repatriated senior Afghans with
      almost no employees.


      7  United Nations, Agreement on Provisional Arrangement in Afghanistan Pending the Rees-
      tablishment of Permanent Government Institutions (“Bonn Agreement”), December 2001,
      Annex II; UN Security Council Resolution 1401, 2002; United Nations Assistance Mission
      in Afghanistan (UNAMA), web site.



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            Following the dispersal of the Taliban in 2001, a mixed group of
      insurgents launched a concerted effort to oust the Afghan government
      and coerce the withdrawal of U.S. and coalition forces from
      Afghanistan. Opposition groups included, but were not limited to, the
      Taliban, Hezb-i-Islami, the Haqqani network, and foreign fighters. This
      chapter focuses predominantly on the Taliban for three reasons. First,
      when accurately defined, true Taliban loyalists do have an agenda of
      state disruption, as well as the ability to compel more transient Taliban
      sympathizers or intimidated populations to act upon that goal. Second,
      the Taliban is the only group with a real ability to contest the state. Not
      only did the Taliban hold power in Afghanistan from 1996 to 2001,
      it also maintains a shadow government with provincial- and district-
      level officials and its own justice system. Finally, the Taliban threat is
      numerically superior to other threats, both in terms of foot soldiers
      involved and attacks believed to be perpetrated.
            After losing bases in Afghanistan as a result of OEF, the
      international al Qaeda organization took up residency in Pakistan,
      where it relied on its extensive support network to regroup and rearm.
      While efforts to rebuild and stabilize Afghanistan were starting,
      assistance from al Qaeda and other jihadist networks was enabling the
      Taliban and other opposition groups to rebuild, amplify, and sustain
      their operations against coalition forces and the Afghan population.
            According to RAND’s Seth Jones, “Every successful insurgency in
      Afghanistan since 1979 enjoyed a sanctuary in Pakistan and assistance
      from individuals within the Pakistan government, such as the Inter-
      Services Intelligence Directorate (ISI).”8 From Pakistan, opposition
      groups were able to transport operatives and supplies, recruit and train
      fighters, and launch and direct operations.




      8  Seth G. Jones, Counterinsurgency in Afghanistan, RAND Counterinsurgency Study—
      Volume 4, Santa Monica, Calif.: RAND Corporation, MG-595-OSD, 2008.



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      Stabilization Attempt
      Incumbent Strategy
      At its topmost level, coalition strategy has always espoused three basic
      lines of operation: security, development, and governance.
            Security. After OEF ousted the Taliban from power, the United
      States, UN, NATO, and indigenous political factions collaborated
      to create a national government, with power initially concentrated in
      Kabul and subsequently extending its influence and control outward.
      Coalition forces conducted operations with several missions—mainly
      peacekeeping and to a lesser extent, counterinsurgency—while assist-
      ing the reconstruction effort as the government built up the capacity to
      independently rule and provide stability.
            United States. The U.S. military contribution began with OEF,
      a counterterrorism campaign aimed at seeking and destroying Taliban
      and al Qaeda strongholds in Afghanistan. Upon entering the coun-
      try, Special Operations Forces (SOF) and CIA operatives blended with
      members of the Northern Alliance to collect intelligence and support
      the joint American-British air campaign. The Taliban relinquished its
      territory in Afghanistan within a few months, possibly more quickly
      than anticipated.9 As the focus of the U.S. government turned to plan-
      ning for an additional conflict in Iraq, debates ensued regarding the
      most advisable way to stabilize Afghanistan. Some believed an interna-
      tional peacekeeping force deployed throughout the country was imper-
      ative to ensuring long-term security; others argued that a continued
      counterterrorism role superseded the need for the United States to par-
      ticipate in nation-building. They preferred to restrict the peacekeeping
      mission to Kabul, as part of ISAF’s remit.10
            The United States concluded that the latter strategy, known as
      a “light footprint,” was most favorable, given its current and pend-
      ing warfighting commitments. In 2002, the United States deployed
      three conventional brigades consisting of soldiers, airmen, helicopter

      9   Maloney, “Afghanistan: From Here to Eternity?” p. 7.
      10 Seth G. Jones, In the Graveyard of Empires, New York: W.W. Norton & Company, 2009,
      p. 112.



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      assault crews, and close air support to Afghanistan. These forces did
      not serve a direct peacekeeping function; they mainly acted in parallel
      with the international peacekeeping effort to conduct counterterrorism
      operations—tracking and engaging Taliban and al Qaeda insurgents.
      This continued counterterrorism strategy was partly based on histori-
      cal precedent—the U.S. government wanted to prevent the large-scale
      resistance that was experienced by the Soviets in the 1980s; it also “ulti-
      mately believed that small numbers of ground troops and airpower,
      working with Afghan forces, would be sufficient to establish security.”11
            The effect of the initial so-called “light footprint” approach cannot
      be overstated. By mid-2002, the United States had no more than 8,000
      military personnel in Afghanistan; this in a country of some 30 million
      people whose government and security forces had been shattered the
      year before. The decisions of 2002 meant that for roughly three years
      the number of troops (U.S. and later NATO) in Afghanistan would
      remain low. The low number of troops meant that the ISAF had lim-
      ited ability to provide security in the region around Kabul. There was
      very limited ability to provide security elsewhere in the country, except
      for a modest presence in some of the larger Afghan cities. This inability
      to properly secure the country was a key factor in the increase in law-
      lessness and the return of the Taliban.
            In 2002 and 2003, as the United States devoted ever more
      resources to prepare for and wage war in Iraq, equipment and per-
      sonnel critical to the counterterrorism effort in Afghanistan dwindled,
      inhibiting the ability to sustain the transition to stability operations.
      The U.S. failure to properly resource the effort in Afghanistan, how-
      ever, was not due solely to the demands of the invasion of Iraq. The
      United States took the same approach to Iraq in 2003. The problem
      was not limited resources but opposition to conducting stability opera-
      tions. The focus of U.S. forces remained the same, with the Pentagon
      continuing to “view the situation in Afghanistan as one of counterter-
      orism, not counterinsurgency, and conduct operations accordingly.”12

      11 Jones, In the Graveyard, p. 117.

      12 Thomas H. Johnson, “On the Edge of the Big Muddy: The Taliban Resurgence in
      Afghanistan,” China and Eurasia Forum Quarterly, Vol. 5, No. 2, 2007, p. 97.



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      In late 2003, the newly designated U.S. ambassador to Afghanistan
      worked with the commander of U.S. forces to cement an updated,
      broad U.S. military strategy for its presence in the country. By focusing
      on the demilitarization of the militias, and weakening the warlords, the
      strategy proposed a shift from counterterrorism operations to nation-
      building and COIN.13 As a result of this new strategy, two regional
      command centers were established in the south and east of the coun-
      try, with one brigade assigned an area of operations spanning the terri-
      tory. U.S. troops were tasked with securing and protecting the popula-
      tion and providing a military presence more integrated with civilians.
      This new strategy “recast U.S. and other coalition units to fight COIN
      instead of counterterrorism missions.”14 However, the small number of
      U.S. troops in Afghanistan in 2002–2004 made it impossible to pro-
      vide security for the population outside a few major cities.
            UN/ISAF/NATO. The notion of a multistate peacekeeping force was
      developed during the Bonn negotiations as a way to protect the interim
      government in Kabul and enable reconstruction and stabilization
      operations, with the understanding that the responsibility to provide
      security to the nation rested ultimately with the new government,
      when it could build up an army and a police force. ISAF was officially
      established in December 2001 to “assist in the maintenance of security
      in Kabul and its surrounding areas” and “could, as appropriate, be
      progressively expanded to other urban centers and other areas.”15
      Details concerning force size, mission, possible expansion or withdrawal
      timelines were not mentioned.
            The United Kingdom led the multistate effort to negotiate ISAF’s
      duties with Afghan parties, resulting in a Military Technical Agreement
      (MTA) that “formalized the understanding between the stabilization
      force and local forces regarding roles and missions, expectations, size
      of the forces, rules of engagement and other aspects of an international



      13 Jones, In the Graveyard, p. 141.

      14 Jones, In the Graveyard, p. 142.

      15 UN, “Bonn Agreement,” Annex I.




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      force’s presence in a region.”16 The ISAF mission outlined in the MTA
      was broad: “[T]o assist in the maintenance of the security” in Kabul
      and its environs, the “area of responsibility.”17 The agreement also listed
      a nonspecific set of probable tasks “relating to assisting the Interim
      Government in achieving stability in Kabul by means of creating a
      security force.”18 References to humanitarian assistance, expansion
      beyond Kabul, and withdrawal of militias in Kabul (a criterion
      promised at Bonn) were absent.
            As pressure mounted on the Afghan interim administration to
      expand ISAF, U.S. officials relented. Turkey maintained the force’s
      original strategy when it took control of ISAF in mid-2002; ISAF
      continued to assist in the development of Afghan security forces
      and structures while supporting the reconstruction effort. Although
      ISAF could “conduct local and small-scale relief efforts in its area of
      operations, the force was not equipped, nor did it have the mandate, for
      large-scale policing or humanitarian aid operations.”19 After assuming
      command of ISAF from Turkey, Germany made some clarifications
      to the MTA. When assisting in the maintenance of security in Kabul,
      ISAF was now required to “liaise with political, social and religious
      leaders to ensure that religious, ethnic and cultural sensitivities in
      Afghanistan are appropriately respected within ISAF operations.”20
            NATO agreed to take over ISAF command in mid-2003.
      Despite pressure from Karzai and the UN, before the takeover NATO
      Secretary-General Lord Robertson insisted that an extension of the
      mission beyond the capital was “not on the table.”21 However, a few

      16 Sean Maloney, “The International Security Assistance Force: The Origins of a Stabilization
      Force,” Canadian Military Journal, Summer 2003, p. 7.
      17 “Military Technical Agreement Between the International Security Assistance Force and
      the Interim Administration of Afghanistan (‘Interim Administration’),” December 31, 2001.
      18 Maloney, “The International Security Assistance Force,” p. 7.

      19 Maloney, “The International Security Assistance Force,” p. 9.

      20 Maloney, “The International Security Assistance Force,” p. 9.

      21 Annalisa Monaco, “NATO Takes Stock and Keeps Looking Out of Area,” NATO Notes,
      in Gerrard Quille, ed., Vol. 5, No. 6a, Centre for European Security and Disarmament, June
      6, 2003.



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      months into NATO’s tenure, the UN Security Council unanimously
      approved a resolution authorizing the peacekeeping force to send troops
      anywhere in the country. This decision was attributed to several factors.
      First, the security situation had worsened: NGOs, UN personnel, and
      others were reporting a rise in armed attacks on humanitarian workers
      in the Afghan provinces. Second, NATO’s prospective ability to lead
      and recruit more troops from coalition members elicited confidence
      from donor countries. U.S. Ambassador John Negroponte, then UN
      Security Council president, explained that the “U.S. had proceeded
      cautiously . . . about expanding ISAF because of a lack of countries
      willing to contribute troops for such a mission. ‘Now NATO has
      taken this force over and there is a willingness, at least to a limited
      extent, to undertake missions outside of Kabul. And in that context we
      were willing to support such a resolution.’”22 Third, the resolution was
      considered critical to disarming factional militias and ensuring safe
      presidential and parliamentary elections.23
            ISAF incrementally expanded its presence by assuming command
      of efforts presided over by provincial reconstruction teams (PRTs), the
      primary instrument through which international aid had supported
      reconstruction projects. By December 2005, the force had extended
      to the north, the west, and partially the south of Afghanistan, when
      defense ministers met to revise ISAF’s operational plan. Building
      on ISAF’s increased footprint, which now included Regional Area
      Commands, larger forces and supporting elements were donated to ISAF
      in anticipation of the more operationally challenging environments in
      the south and east of the country. Critically, the revised operational
      plan “outlined clear arrangements for enhanced coordination and
      deconfliction between ISAF’s stabilization mission and OEF counter-
      terrorism mission.”24 This plan created new command arrangements
      between ISAF and Combined Forces Command Afghanistan,

      22 Ron Synovitz, “Afghanistan: Kabul Welcomes UN Resolution on Expanded ISAF, But
      Many Questions Unanswered,” Radio Free Europe, October 2003.
      23 Synovitz, “Afghanistan.”

      24 North Atlantic Treaty Organization, “Revised Operational Plan for NATO’s Expanded
      Mission in Afghanistan,” n.d.



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      enabling closer coordination and reducing overlap between the two
      organizations’ operations.25 ISAF and OEF continued to have separate
      mandates and missions; ISAF was a stabilization and security force
      while OEF served a counterterrorism role.26 Having no stabilization
      expertise outside of Europe, NATO was ill-prepared to take on the
      stabilization and security mission.
            GIRoA: Internal Reforms and Security Forces. Afghanistan
      does not have a history of strong central government. This reality
      has certainly had a major impact on the ability of the post-2001
      government in Kabul. The centuries-long tradition of weak central
      government compared to strong alliances to tribes and armed local
      leaders (“warlords”) undermines the ability of the central government
      in Kabul to exercise authority and to make policies that have national
      relevance. Additionally, Afghanistan is a very poor country, with the
      third-lowest per capita gross domestic product in the world. Therefore,
      the resources available to the government are at best modest, which
      in turns limits the government’s ability to develop programs that have
      significant meaning for the average person’s life, particularly if that
      person lives far from a major city where the government’s influence is
      greatest. Corruption and a massive narcotics underground economy
      further constrain the government’s ability to make needed reforms.
            Afghanistan’s indigenous security forces were in need of
      rehabilitation when the U.S.-backed Karzai administration took
      power. Various regional, ethnic, and private militias had replaced the
      professional Afghan army after it disintegrated in 1992, and had since
      wielded substantial control throughout their associated territories. After
      the Taliban fell, commanders of the various militias tried to further
      their independent aims at the expense of the elected government. One
      such militia leader, Mohammed Qasim Fahim, leveraged the assistance
      his forces had given U.S. troops during the initial OEF campaign to
      secure his post as Karzai’s defense minister. He subsequently refused to
      disarm his forces in Kabul, a criterion set forth in the Bonn Agreement,

      25 North  Atlantic Treaty Organization, “International Security Assistance Force:
      Chronology,” n.d.
      26 North Atlantic Treaty Organization, “Revised Operational Plan.”




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      contending that his private militia would form the core of the future
      Afghan National Army (ANA).27 Fighting between rival militias and
      inertia to demobilize hampered progress of building the ANA.
            The Afghan National Police (ANP) had similarly atrophied over
      the course of two decades. To help the Afghan government rebuild
      its security sector so that it could eventually provide essential safety
      services to its people, in April 2002 the United States and other donor
      nations outlined a five-pillar agenda for Afghanistan’s security sector
      reform. The United States pledged to train the Afghan military and
      border security service, and Germany agreed to train the police force.
            The new ANA was to be ethnically balanced, voluntary, and
      made up of 70,000 individuals. Command posts were designated for
      Kabul and other strategic locations. Although defense planners did not
      set a deadline for the completion of the army, U.S. and Afghan officials
      collaborated to develop an ANA force structure that included 43,000
      ground combat troops based in Kabul and four other cities; 21,000
      support staff organized in four sustaining commands (recruiting,
      education and training, acquisition and logistics, and communications
      and intelligence); 3,000 Ministry of Defense and general staff personnel;
      and 3,000 air staff to provide secure transportation for the president
      of Afghanistan.28 The missions slated for the ANA were to “include
      providing security for Afghanistan’s new central government and
      political process, replacing all other military forces in Afghanistan, and
      combating terrorists in cooperation with coalition and peacekeeping
      forces.”29
            As lead donor, the United States oversaw the development of
      the ANA force structure, decision processes, and garrisons; provided
      equipment; and constructed command facilities. Although recruitment
      and training programs made progress and accelerated, combat
      troops were regularly underequipped and unsupported following the
      completion of their training.

      27 Ron Synovitz, “Afghanistan: Two Years Later, Taliban’s Sudden Withdrawal from Kabul
      Still Affecting Transition,” November 12, 2003.
      28 GAO, Afghanistan Security, p. 6.

      29 GAO, Afghanistan Security.




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            The new ANP was to be a multiethnic, sustainable, and coun-
      trywide 62,000-member professional police service that extended
      throughout the provinces and districts outside of Kabul to enhance
      security and reinforce the rule of law.30 No deadline was established
      for completion of this force. Since the United States does not have
      an in-house capability to train domestic security providers, the U.S.
      State Department contracted with DynCorp Aerospace Technology to
      train and equip the police, advise the Ministry of Interior, and provide
      infrastructure assistance, including constructing several police training
      centers. The Pentagon also provided infrastructure and equipment to
      police in border regions. In addition, Germany established a training
      program for police officers at the Kabul Police Academy.
            The effort to rebuild the Afghan security forces was inadequate
      in the 2002–2006 period, particularly in the case of the police. Initial
      efforts at rebuilding and reforming the Afghan security forces were
      overly biased toward the Army, with far less emphasis on the ANP.
      This was a significant error. Historically, the police have been a critical
      component in combating insurgents. In many ways the police represent
      the first line of defense against insurgents because they are closely
      connected to the population—usually much more so than the military.
      Additionally, Afghanistan was (and still is) beset with lawlessness and
      lack of government presence and control. Had more early emphasis
      been placed on improving the numbers and capabilities of the ANP,
      it may have been more difficult for the Taliban to regenerate in the
      southern and eastern parts of the country.
            Development and Governance. While development and
      governance have typically been viewed as separate lines of operation
      in Afghanistan, in practice, good governance has been considered a
      prerequisite for effective development, and development projects were
      seen as a way of selling the population on the proposed government.
      Therefore, in describing Afghan and international strategies in this
      area, we have chosen to combine the two.
            Afghanistan’s initial governance plan was the Bonn Agreement
      of December 2001. The principal part of that document deals with

      30 GAO, Afghanistan Security, p. 8.




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      governing authority and the power-sharing agreement necessary prior
      to the first election. UN assistance was to consist of several types of
      tasks, including peacekeeping in the city of Kabul, assisting as necessary
      in the setup of the government in Kabul, assisting with reconstruction
      and development, and reintegrating militia fighters into the Afghan
      military force. At this conference, the size of the Afghan Army was set
      at 50,000 and the police set at 62,000.31
           The Bonn Agreement must be understood as the direct
      consequence of the combat operations that had been and were still
      taking place. Rather than settle the major issues of the time, the Bonn
      Agreement set forth a process that was in theory to lead to settlement.
      A rush to legitimacy meant that the players to the agreement were
      hand-picked by the UN, rather than representative of the people. The
      UN representative to the talks, Lakhdar Brahimi, supposedly stated
      frequently, “no one would remember how unrepresentative the meeting
      had been if the participants managed to fashion a process that would
      lead to a legitimate and representative government.”32 The principal
      players in the discussion of Afghanistan’s future were the commanders
      of the Northern Alliance—warlords and tribal leaders who had
      opposed the Taliban—and elite Afghan expatriates, particularly the
      royalist faction of former monarch Zahir Shah.
           Having established a process that was intended to install a rep-
      resentative government, the parties next turned to reconstruction of
      the impoverished and war-ravaged country. One of the earliest actions
      taken with respect to a strategy for development in Afghanistan was
      the request for a quick-turnaround needs assessment for the country
      by the World Bank, the UNDP, and the Asian Development Bank
      (ADB). This needs assessment was followed by a multitude of confer-
      ences, assessments, and groups. The next major conference in the Bonn
      Process was the Tokyo International Conference on Reconstruction


      31 United States Plan for Sustaining the Afghanistan National Security Forces, Report to
      Congress in accordance with the 2008 National Defense Authorization Act (Section 1231,
      Public Law 110-181), June 2008, p. 5.
      32 Barnett R. Rubin, “Crafting a Constitution for Afghanistan,” Journal of Democracy, Vol.
      15, No. 3, July 2004, p. 3.



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      Assistance to Afghanistan, held January 21–22, 2002, where donors
      made pledges of aid to meet the needs assessment’s $2.1 billion high
      estimate for first-year reconstruction costs, and a total of $5.2 billion
      over an unspecified time frame.33
            During this period, the interim government of Afghanistan wrote
      and began circulating a National Development Framework, intended
      to provide a basis for budgeting actions and donor commitments. This
      paper emphasized the need for Afghan ownership of development, citi-
      zen participation, and a development program nested in rule of law and
      public accountability.34 This approach was ratified in principle in the
      UN General Assembly Report, “The Situation in Afghanistan and Its
      Implications for International Peace And Security,” which explained
      this desire to empower the Afghan government as the logic for the
      “light footprint” approach.35
            Strategies for governance in Afghanistan have experienced a rhe-
      torical, if not wholly realized, shift in Afghanistan since 2001. The
      Bonn process, which focused on the national level, was given mixed
      reviews. Development documents, such as the National Development
      Framework, hedged their bets by advocating both a capable national
      government and direct engagement of the masses in the processes of
      reconstruction.
            By 2003 it was already becoming clear, particularly to aid work-
      ers, that the security situation had deteriorated to the point where the
      provinces had become fairly lawless. There were a number of calls for
      a focus on subnational governance, inspired by popular reaction to the
      consolidating but corrupt government and by the expansion of NATO,
      which had brought international forces face to face with provincial



      33 Peter Marsden, “Afghanistan: The Reconstruction Process,” International Affairs, Vol. 79,
      No. 1, January 2003, p. 94.
      34 Interim   Government of Afghanistan, “National Development Framework” (Draft,
      version 2), Institute for State Effectiveness, April 2002, pp. 5–6.
      35 United Nations General Assembly, Report of the Secretary-General on the Situation
      in Afghanistan and its Implications for International Peace and Security, Document
      A/56/875–S/2002/278, para. 98, March 18, 2002.



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      realities.36 Ironically, emphasizing the provincial and district level in
      some cases resulted in greater direct international involvement, as in
      the case of the governor of Helmand being replaced at the reported
      insistence of the British.
            The deteriorating security situation in 2003–2005 helped under-
      mine the value and effectiveness of economic aid. While a consider-
      able amount of U.S. and other foreign aid funding was arriving, in
      many cases it was not effectively used. The poor security situation
      in the southern and eastern parts of the country, lack of capacity of
      the Afghan government (whether in Kabul or the local jurisdictions)
      to manage the funds, and widespread corruption all undermined the
      reconstruction effort.

      Anti-Coalition Militant Strategy
      Essentially, the insurgent strategy was to break the political will of the
      United States and its coalition partners, coerce the withdrawal of their
      forces, and oust the foreign-backed government from Afghanistan.
            From September 2001 to March 2002, the insurgents conducted
      defensive operations in response to coalition efforts to overthrow the
      Taliban and to conduct follow-on missions and stability operations. By
      April 2002, they were regrouping and began to orchestrate a series of
      offensive operations. Taliban forces deployed in larger numbers over
      time, especially in such southern provinces as Helmand; however, the
      guerrillas deployed in smaller units as well. This indicates that the Tali-
      ban were progressively able to operate more freely in the south and
      resist detection by Afghan or coalition forces.37
            In 2004, the targeting focus of opposition groups seemed to
      shift from hard targets, such as coalition forces, to soft targets, such as

      36 See, for example, Afghan Research and Evaluation Unit, “Assessing Subnational
      Administration in Afghanistan: Early Observations and Recommendations for Action,”
      Working Draft, March 13, 2003, p. 5; Isobelle Jaques, “Afghanistan: Beyond Bonn,”
      report based on Wilton Park Conference, WPS05/28, May 12–14, 2005, on “Afghanistan:
      Beyond Bonn,” pp. 21–22; Sarah Lister and Andrew Wilder, “Strengthening Subnational
      Administration In Afghanistan: Technical Reform or State-Building?” Public Administration
      and Development, Vol. 25, 2005, pp. 39–48.
      37 Jones, Counterinsurgency in Afghanistan, p. 51.




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      Afghan police and personnel reportedly collaborating with the Afghan
      government or coalition forces. Experts contend that the larger, more
      viable fighting force that the Taliban faced over time made softer tar-
      gets more attractive.38 This targeting strategy helped to discredit those
      who worked with coalition forces, contributed to the defeat of recon-
      struction efforts, and forced the evacuation of coalition forces.39
            The insurgents primarily utilized asymmetric tactics, which
      included yielding the population centers to U.S. and Afghan forces,
      operating from rural areas, and distributing propaganda to the local
      population and opposition forces.40 They also relied on violence and
      intimidation to prevent NGOs and aid workers from delivering on
      reconstruction and humanitarian promises.41 As the insurgent cam-
      paign mounted, jihadist rhetoric and tactics, such as suicide bombings,
      as well as insurgent methods borrowed from the Iraq war, such as IED
      attacks, were increasingly used.42
            The Taliban also received assistance from external actors. They
      utilized ties to al Qaeda and other jihadist networks to rebuild, sustain,
      and amplify their operations against coalition forces and the Afghan
      population. Al Qaeda assisted opposition groups at the tactical, opera-
      tional, and strategic levels and provided impetus for the use of suicide
      attacks and sophisticated IEDs.43 Furthermore, some al Qaeda mem-
      bers blended with Taliban units and shared tactics from operations in
      Iraq and Chechnya.44
            In line with the Pakistani government’s past involvement with
      various Afghan opposition groups, members of the ISI and other gov-


      38 Seth G. Jones, “Averting Failure in Afghanistan,” Survival, Vol. 48, No. 1, Spring 2006,
      p. 113.
      39 Joseph Collins, “Planning Lessons from Iraq and Afghanistan,” Joint Force Quarterly, No.
      41, 2nd Quarter, 2006, p. 11.
      40 Jones, Counterinsurgency in Afghanistan, p. 50.

      41   Johnson, “On the Edge of the Big Muddy,” p. 105.
      42 Jones, Counterinsurgency in Afghanistan, pp. 62–63.

      43 Jones, Counterinsurgency in Afghanistan, pp. 62–63.

      44 Jones, Counterinsurgency in Afghanistan, p. 66.




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      ernment agencies provided two main types of assistance to the Taliban.
      The first form of assistance was resources—medical aid, training, intel-
      ligence, financial assistance, arms, ammunition, supplies, and logistics
      (in crossing the border). The second was the freedom to operate; after
      insurgents lost their Afghanistan base, they found a reliable, fertile, safe
      haven from which to recruit, train, fundraise, transport supplies, and
      stage operations. The adjacency to Pakistan of critical Afghan border
      towns had serious implications for the Taliban.
            Many of the Taliban’s strategies vis-à-vis development and gov-
      ernance have been negative: sabotaging development projects, intimi-
      dating the population to deter participation in government, and more.
      But The Taliban have taken some positive actions. One example is the
      Taliban justice system, an effort by the movement to dispense low-
      cost, sharia-compliant justice in the villages.45 Taliban judges run cir-
      cuits through the country to provide this convenience, in stark contrast
      to the slow and centralized Afghan courts. And while the country’s
      nascent justice system is seen as corrupt, religious judges are not.
            As the Taliban’s strategy matures, it has begun to establish a
      shadow government, with governors and severe penalties for corrup-
      tion and inefficiency. While the population may live in fear of the Tali-
      ban, it also provides a measure of stability and predictability. Imran
      Gul, a Pakistani NGO worker, believes the Taliban’s appeal is in pro-
      viding “peace, income, a sense of purpose, a social network.”46 These
      efforts represent an emerging strategy to out-administer the GIRoA,
      rather than simply disrupt its influence.

      External Powers
           Al Qaeda. Al Qaeda aimed to spread extremist global ideology
      to Afghanistan and Pakistan. It utilized its substantial financial
      resources, influence, and tactics learned in past experiences to act as
      a force multiplier for the Taliban regime in return for permission to

      45 Soraya Sarhaddi Nelson, “Taliban Courts Filling Justice Vacuum In Afghanistan,” NPR
      Morning Edition, December 16, 2008.
      46 David Montero, “Why the Taliban Appeal to Pakistani Youth,” Christian Science Monitor,
      June 16, 2006.



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      train operatives and plan operations on Afghan soil.47 The organization
      did have a different point of focus than the Taliban—while most of
      the opposition groups remained focused on Afghanistan, al Qaeda and
      its affiliates remained committed to fighting the United States and its
      global allies, including the Pakistani administration and presence in
      the Federally Administered Tribal Areas.48
             Pakistan. For two decades, Pakistan has sought to extend its influ-
      ence in Afghanistan, at times through the support of various armed
      groups, including the Taliban.49 Pakistan’s interest in Afghanistan has
      stemmed from its need to protect its territorial integrity on the west-
      ern flank. The Durand Line, which forms the border between the two
      countries, is a colonial artifact and creates an artificial division between
      tribes that are themselves not friendly to the Pakistani nation. Fol-
      lowing the September 2001 terrorist attacks, the United States needed
      support in the region and enlisted Pakistan as an ally in the war on
      terror. It was believed that Pakistani forces could address the situa-
      tion in the North-West Frontier and Baluchistan provinces, areas from
      which insurgents have staged offensive operations in Afghanistan in
      the past. Early efforts by President Pervez Musharraf to curb militant
      groups, enforce order, and reform the radical madrassas that had served
      as extremist recruiting centers at first appeared successful; unprece-
      dented counterterrorism campaigns were conducted by thousands of
      Pakistani regular and paramilitary troops deployed to the country’s
      border region.50 Although these operations were somewhat effective
      against al Qaeda and non-Pakistani militants, they did not accom-
      plished much toward containing the Taliban.51


      47 Jones, Counterinsurgency in Afghanistan.

      48 Johnson, “On the Edge of the Big Muddy,” p. 118.

      49 Barnett R. Rubin and Andrea Armstrong, “Regional Issues in the Reconstruction of
      Afghanistan,” World Policy Journal, Spring 2003, p. 31.
      50 K. Alan Kronstadt and Kenneth Katzman, Islamic Militancy in the Pakistan-Afghanistan
      Border Region and US Policy Relations, Congressional Research Service Report, RL34763,
      November 21, 2008, p. 5.
      51 Ali A. Jalali, “The Future of Afghanistan,” Parameters, Spring 2006, p. 8.




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             Although top U.S. officials praised Pakistan for its cooperation,
      doubts regarding Islamabad’s core interests persisted. Pakistan’s mixed
      record on battling Islamist extremism included a tolerance of Taliban
      elements operating from its territory.52 The Taliban continued to con-
      trol training camps, staging areas, recruiting centers, and safe havens
      in Pakistan. The significant portion of the Afghan insurgency’s politi-
      cal and military leadership living in the border regions benefited from
      technical and operational assistance provided by transnational extrem-
      ists also located there, as well as ethnic and political support from Paki-
      stan’s Pashtun population.53
             Some attributed Pakistan’s lack of decisiveness in containing
      the Taliban to political unrest in the country, claiming it had forced
      Islamabad to scale back its operations against the militants. However,
      reports continued to indicate that elements of Pakistan’s major intel-
      ligence agency and military forces were aiding the Taliban and other
      extremist forces as a matter of policy; such support may even have
      included the provision of training and fire support for Taliban offen-
      sives.54 State backing of the Afghan insurgency was suggested to have
      both ideological and geostrategic motivations; some in the Pakistani
      government may have sympathized with the jihad against U.S. and
      other Western forces; others may have wished to preserve a Pakistani
      foothold in Afghanistan.55
             Pakistan’s ineffectuality against insurgents using its territory as a
      sanctuary in which to regroup and expand their influence across bor-
      ders has directly contributed to the instability in Afghanistan and con-
      tinues to be the primary external barrier to defeating the insurgents in
      Afghanistan.
             Iran. Despite harsh rhetoric between Washington and Tehran,
      Iran’s policy toward Afghanistan—funding reconstruction projects,
      providing aid to various warlords—did not change as result of the “axis

      52 Kronstadt and Katzman, Islamic Militancy, p. 6.

      53   Jones, “Averting Failure in Afghanistan,” p. 121.
      54 Kronstadt and Katzman, Islamic Militancy, p. 7; Rubin and Armstrong, “Regional Issues,”
      p. 33.
      55   Jones, “Averting Failure in Afghanistan,” p. 121.



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      of evil speech” or the Ahmadinejad presidency.56 However, Iran has
      viewed its involvement in Afghanistan as a hedge against a possible
      deterioration of U.S.-Iranian relations.57 There was some evidence that
      individuals from the Iranian government provided arms and training
      to Taliban commanders and other insurgents, and several experts have
      speculated that Iran harbored members of al Qaeda. But these claims
      have been denied by both the Iranian and Afghan governments, and
      Iran’s historically poor relations with the Taliban support this repudia-
      tion.58 In any case, if there was Iranian support for opposition groups
      in Afghanistan during this time period, it was insignificant compared
      with that provided by the other external state and nonstate actions
      mentioned thus far.

      Strengths and Weaknesses of the Initial Stabilization Attempt
      In the wake of the apparent banishment of the Taliban, the international
      community’s primary concerns were adjudicating between warlords and
      crafting the advanced institutions of a modern state. The anti-Taliban
      faction that had helped to achieve victory had become fractious; each
      warlord and militia leader sought Kabul as a feather in his cap. With
      many thousands of militia forces underemployed, fostering a neutral
      government in Kabul seemed a productive objective. For their part,
      Afghan expatriates supported the use of the 1964 constitution of King
      Zahir Shah’s reign as an interim constitution, but that document treated
      Afghanistan as though it were a cohesive state, which it plainly was not.
      The mismatch among the foundational documents of the republic, the
      preoccupations of international parties, and the competition between
      the factions in the government proved disastrous in terms of creating
      strong beginnings for the Afghan rehabilitation effort.


      56 Mohsen M. Milani, “Iran’s Policy Toward Afghanistan,” Middle East Journal, Volume 60,
      No. 2, Spring 2006.
      57 Milani, “Iran’s Policy Toward Afghanistan”; Jones, Counterinsurgency in Afghanistan,
      p. 60.
      58 Milani, “Iran’s Policy Toward Afghanistan”; Douglas Jehl and Eric Schmitt, “U.S.
      Suggests a Qaeda Cell in Iran Directed Saudi Bombings,” New York Times, May 21, 2003;
      Rubin and Armstrong, “Regional Issues.”



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            Reviewing the multilateral needs assessment, it is obviously naïve
      in places—resting on rapid growth and “modernism” and relying on
      the Afghan government budget to set guiding principles for recovery.59
      This, despite the fact that surging economic growth and a government
      capable of setting such budget priorities were far from assured. The
      capacity-building and community involvement strategies envisioned by
      the document certainly never came to pass, but they may have been
      buried under a hodgepodge of suggested “immediate actions” that
      ranged from establishing a police force to providing limbs for the dis-
      abled, creating a civil air traffic control system, and appointing gender
      advisors.60 One major mistaken assumption was that there would be a
      distinction between the end of combat operations and the beginning of
      reconstruction, but in practice the former coexisted with, rather than
      gave way to, the latter. There was no distinct post-conflict phase.
            While the focus on Kabul and on Afghanistan’s expatriate, often
      technocratic, elite may have seemed reasonable at the time, it reflected
      a deep misunderstanding of power structure in the country. This mis-
      apprehension resulted in a sense of disillusionment about the capa-
      bilities of Afghanistan’s government, and was one of the reasons that
      the Afghan government was largely circumvented in the delivery of
      assistance.
            Had donor nations used their funding authorities to develop sus-
      tainable programs for the bulk of the population, the negative effects
      of short-circuiting the legitimate government might have been miti-
      gated. Instead, a great deal of focus was given to the process of delivery
      on pledges, which was complicated by the different budgetary cycles
      of the partners and a multitude of funding vehicles. While the inter-
      national community concentrated on meeting these initial pledges, it
      didn’t allocate them for projects according to the vision of the multi-
      laterals’ needs assessment. Nor did donor nations subscribe to the stra-
      tegic plan for Afghanistan drafted by the interim government in early

      59 Asian Development Bank, United Nations Development Programme, World Bank,
      “Afghanistan: Preliminary Needs Assessment for Recovery and Reconstruction,” January
      2002, pp. 3–5.
      60 Asian Development Bank, Appendix: Immediate Actions, p. 56.




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      2002; instead, the bulk of aid, some 60 peercent, went to humanitar-
      ian activities rather than the reconstruction projects recommended in
      strategy documents.61 This was due to a continuing drought and the
      higher than expected numbers of returning refugees. While the money
      was nobly given, it was no substitute for long-term reconstruction aid.
      What money did go to reconstruction efforts was predominantly spent
      on education, support for internally displaced people and support to
      refugee return, rather than on programs that would develop institu-
      tions more broadly.62 As mentioned earlier, much of the aid that was
      provided was lost due to corruption and the inability of the Afghan
      government—and the coalition—to adequately manage those
      resources.
            The interim government’s strategy seems to have been flawed in a
      number of respects. First, the constitution and government established
      during the Loya Jirga process favored centralized authority, rather
      than a parliamentary system or one with more distributed authority.
      Though the early government was derived from factions handpicked
      by the U.S. and other coalition members, the two-stage Bonn process
      did nothing to increase the representative nature of the government or
      move it from the path of heavy centralization. Instead, it was a contest
      of wills between Pashtuns and other factions, and between resident and
      expatriate elites.
            The second major weakness of the government strategy was the
      lack of bureaucratic capacity in the ministries and in sub-national posi-
      tions. When the government was reestablished, ministries were created
      on paper and quickly staffed with former bureaucrats from previous
      regimes. Those who were brought back in were typically senior offi-
      cials, while the rank-and-file positions were either unfilled or staffed
      with those who had no capacity.63 Although the National Develop-
      ment Framework specifies a need for capacity-building assistance, it
      presumed a fully capable state in the goals it laid out, namely a state
      that would

      61 Marsden, “Afghanistan: The Reconstruction Process,” p. 94.

      62 Marsden, “Afghanistan: The Reconstruction Process,” p. 94.

      63 Author interview with M. Ashraf Haidari, August 25, 2009.




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            Provide security, invest in human capital, and articulate and
            implement a social policy focused on assistance to the vulnerable
            and excluded and the elimination of poverty. [The government]
            must create an enabling environment for the activities of the pri-
            vate sector, make effective use of aid to attract trade and invest-
            ment, and put the economy on a sustainable path to growth.64

           With respect to governance at the provincial level and below,
      Afghanistan’s premier think tank has said simply, “subnational state-
      building in Afghanistan has been characterized by a lack of a subna-
      tional governance policy.”65

      Defining Victory
      One of the most serious problems with the international effort in
      Afghanistan was the almost total lack of criteria for defining victory
      in the context of this study—establishing lasting stability. In the areas
      of governance and development, no attainable vision for a viable state
      was ever arrived at. In a 2005 campaign plan, Combined Forces Com-
      mand-Afghanistan defined its endstate as

         • Moderate, stable and representative, though understanding that
           Afghans will not copy U.S.-style institutions
         • Representative of all responsible elements in Afghanistan and
           formed through the political participation of the Afghan people
         • Capable of effectively controlling and governing its territory
         • Capable of implementing policies to stimulate economic
           development
         • Willing to contribute to a continuing partnership with the U.S.-
           led coalition in the global war on terror.66


      64 Interim Government of Afghanistan, “National Development Framework,” p. 14.

      65 Martine van Bijlert, “Between Discipline and Discretion: Polices Surrounding Senior
      Subnational Appointments,” Afghanistan Research And Evaluation Unit Briefing Paper
      Series, May 2009, p. 6.
      66 Combined Forces Command–Afghanistan, “Campaign Plan Briefing in Support of
      Operation Enduring Freedom,” unpublished briefing, October 5, 2005, p. 16.



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            Such an explicit statement of U.S. objectives is rare, most docu-
      ments have simply tended to speak about indefinitely continuing lines
      of operation. But this document still lacks qualifications: what consti-
      tutes representative? How much of the population needs to be involved
      to be representative? How effectively does it have to control its terri-
      tory? Is this country more like Switzerland, or Bangladesh?


      Reasons the Initial Attempt to Transition Toward Stability
      Failed
      Factors That Resulted in Failure
      In this section, we move from symptoms to disease, aggregating the
      various apparent weaknesses of the coalition effort to attempt to
      understand at a higher level why these failures occurred. In assessing
      the recent history of the country it becomes clear that any perceptions
      of stability were illusory. The plan put forward by coalition partners
      in the wake of the Taliban’s ouster collapsed from within, encouraged
      along by insurgents who capitalized on disarray.
            When the Taliban regime collapsed in late 2001 and early 2002,
      it appeared that the main objectives of Operation Enduring Freedom
      had been achieved. Indeed during much of 2002 it appeared that there
      would not be an insurgency. It appears that the U.S. and its coali-
      tion partners believed that with relatively limited effort stability would
      return to a still-poor Afghanistan.
            By late 2002, however, it was clear that the Taliban was return-
      ing and starting to threaten the new, still very weak, U.S.-backed
      government in Kabul. The assumptions of a swift move to stability in
      Afghanistan were shown to have been overly optimistic. By mid-2003
      an increasingly serious insurgency was underway.67
            That U.S. and coalition forces will eventually achieve a transi-
      tion from insurgency to stability is not a foregone conclusion. The
      initial mission for ISAF forces was certainly conceived as a stabiliza-
      tion mission, committing ISAF forces to conduct all five of what the

      67 Jones, Counterinsurgency in Afghanistan, pp. 27–32.




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      U.S. considers to be the key tasks of stabilization: establish civil secu-
      rity, establish civil control, restore essential services, provide support
      to governance, and provide support to infrastructure and economic
      development.68
            Operation Enduring Freedom was conducting counterinsurgency
      operations at least as early as 2005, although the strategy is attributed
      to 2003.69 The ISAF mission in its initial stages was conducted entirely
      at the national level, with forces stationed only in Kabul. While still
      in a dangerous environment, there were neither offensive nor defen-
      sive operations conducted. The decision to expand ISAF’s mandate
      throughout Afghanistan likely had more to do with the counterinsur-
      gency in Iraq and the need to fully resource the conflict there than with
      any desire to conduct counterinsurgency in the Afghan hinterland.70
      Nevertheless, that expansion did involve both offensive and defensive
      operations in addition to the stabilization tasks already in the mandate.
            The failure to transition toward stability occurred because of
      three major oversights in the coalition approach. These oversights are
      interlocking and reinforcing, and some operational level evidence of
      instability may have multiple strategic antecedents.
            Inappropriate Strategy. In the case of Afghanistan, strategic-level
      decisions were made to use a “light footprint,” but although the avowed
      reason to do so was to empower the Afghan people to take charge of
      their futures, realistically much of the choice was driven by the desire of
      the international community for a labor and resource lean approach.71
             In the absence of a robust stabilization strategy, the focus of the
      conflict devolved to operations, where each operational authority was


      68 U.S. Department of the Army, Headquarters, Field Manual 3-07, Stability Opera-
      tions, October 2008, p. 2-5; United Nations Security Council, “Letter Dated 5 Decem-
      ber 2001 from the Secretary-General Addressed to the President of the Security Council,”
      S/2001/1154, December 5, 2001.
      69 Combined Forces Command–Afghanistan, “Campaign Plan Briefing,” p. 5.

      70 See, for example, Amin Tarzi, “Afghanistan: NATO Expansion Demands Common
      Approach,” Radio Free Europe/Radio Liberty, October 6, 2006.
      71 Simon Chesterman, “Walking Softly in Afghanistan: The Future of UN State-Building,”
      Survival, Vol. 44, No. 3, Autumn 2002, pp. 37–46.



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      left to its own devices. Performance was patchy across the country,
      with many military commanders focused on direct action, rather than
      population-centric measures. This is true for both the initial, special
      forces-led effort and the expanded conventional U.S. and NATO role:
      seeking to engage the enemy, rather than the population in an attempt
      to stamp out Taliban and al Qaeda members.
            The proclivity for direct action had an analog in development.
      While the international community paid lip service to the idea of
      the Afghan-led development strategy, what money was turned into
      actual projects went directly to international actors, rather than to the
      Afghans. Having thus bypassed any strategic plans for aid, the money
      went primarily for quick impact projects (QIP), CERP funds, and
      other quick fixes. These programs have generally failed in their goal
      to increase support for a pro-government and coalition status quo. As
      USAID’s Office of Transition Initiatives (USAID/OTI), the U.S. gov-
      ernment’s premier organization for the conduct of aid in emergency
      situations, found in its 2005 report:

            There is no evidence that relationships between citizens or between
            citizens and local authorities have been significantly affected by
            attempts to promote participatory democratic processes in local
            project selection, implementation, and monitoring. Afghan com-
            munities have a long tradition of local control by landowners and
            strongmen that are not easily affected by governmental service
            provision. This is especially true if projects remain focused on
            quick-impact infrastructure, in which traditional elites can easily
            speak for the community as a whole.72

      Rather, development professionals have found that

            The tactical deployment of aid risks undermining the higher policy
            goal of state-building, overstates the transformative potential of


      72 Social Impact, Inc., “U.S.AID/OTI Afghanistan Program Final Evaluation,” prepared
      for the Office of Transition Initiatives, Bureau for Democracy, Conflict, and Humanitarian
      Assistance, United States Agency for International Development, August 15, 2005,
      pp. 9–10.



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               development, and fails to appreciate the processes through which
               legitimacy is constructed in the Afghan context.73

            Similarly, governance-related assistance below the national level
      generally fell to military commanders in the field to execute. One hotly
      debated decision was the replacement of the governor of Helmand in
      2006 just as the British were taking charge of the NATO mission there.
      The national government blamed the British forces for insisting on the
      governor’s removal on grounds of corruption, an act that ultimately
      had a critically destabilizing effect on the province’s security.74
            There was also no way to clearly gauge progress. Although we
      can measure performance—schools opened, wells dug—we cannot
      measure effects and where those effects put us on the path to an end-
      state. Even today, this type of benchmarking is not common, as a recent
      article by a British commander in Afghanistan noted: “ISAF should be
      measuring the success of a PRT in terms of what it had achieved for its
      province, not in accomplishments or milestones for the PRT itself.”75
            Poor Understanding of Power Dynamics in the Population. Many
      of the failures of the stabilization strategy can be attributed to a mis-
      apprehension of the complexities of Afghanistan. This failure extends
      from the top of the bureaucratic structure to the smallest village, and
      accounts for why many coalition efforts produced unexpected results.
            At the national level, coalition forces failed to understand the
      power plays between high-level players in Kabul; the divisions among
      technocrats, Pashtun royalists, and minority warlords; and the bar-
      gaining mechanisms between them. Overestimating the capability
      and stability of the national government produced the disillusionment
      that was compounded by a misunderstanding of the balance between
      center and periphery in power relations that is now well documented.
      Coalition forces coped by assuming greater authority and responsibil-

      73 Jonathan Goodhand and Mark Sedra, “Who Owns the Peace? Aid, Reconstruction, and
      Peacebuilding in Afghanistan,” Disasters, Early View, March 27, 2009.
      74 van Bijlert, “Between Discipline and Discretion,” p. 6.

      75 Ian Westerman, “Pacifying Afghanistan,” RUSI Journal, Vol. 153, No. 5, October 2008,
      p. 19.



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      ity and cutting out the Afghan government at all levels, while simulta-
      neously trying to build the idea of a legitimate nation-state by putting
      an “Afghan face” on coalition efforts. But Afghans are acutely aware of
      who really authorizes and executes the work, no matter which entity
      is given credit for it. As one Afghan shura member said, “We know
      the PRT people from their uniforms. If they come and visit a project
      it means that the project is funded by the PRT.”76 A Kabul-based jour-
      nalist added,

            The PRT built a bridge in Mohammad Agha district, Logar prov-
            ince and people refrained from using it until a group of religious
            elders were organized to go and preach to the community that
            using the bridge built by the PRT is not a sin.77

            Unable to predict how Afghans would respond to any of their
      efforts and unsure who was friend or foe, foreign personnel made deci-
      sions about employment of force or funds based on beliefs about what
      ought to work, rather than real experience. This further explains the
      persistence of quick-impact development projects, despite evidence that
      they failed to secure support for the legitimate government. Even today,
      funding for this type of project outstrips other sources of funding.78
            Similarly, coalition forces failed to correctly gauge the level of resis-
      tance that they would face in the hinterland. They believed that most
      Afghans saw the Taliban regime as bad, and therefore thought they
      would encounter few difficulties in rooting out remaining militants.
      But as a recent report of the British government concluded, “Most ana-
      lysts believe that the initial UK strategy failed primarily because of a




      76 Sippi Azarbaijani-Moghaddam, Mirwais Wardak, Idrees Zaman, and Annabel Taylor,
      “Afghan Hearts, Afghan Minds: Exploring Afghan Perceptions of Civil-Military Relations,”
      research conducted for the European Network of NGOs in Afghanistan (ENNA) and the
      British and Irish Agencies Afghanistan Group (BAAG), 2008, p. 39.
      77 Azarbaijani-Moghaddam et al., “Afghan Hearts, Afghan Minds,” p. 38.

      78 Budget of the United States Government, Fiscal Year 2010. See Commander’s Emergency
      Response Program (CERP) funds relative to other funds.



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      lack of manpower, and a poor understanding of the local situation and
      the level of resistance that would emerge.”79
            Lack of a Sustained Focus. A third overarching cause of failure of
      the stabilization effort was the lack of sustained focus on Afghanistan.
      As described throughout this case study, officials in charge of the UN
      and U.S. efforts said that a more robust presence was “not necessary
      and not possible.”80 The first of these has already been dealt with in
      the preceding section, but the idea that resourcing the stabilization
      campaign was impossible referred to the lack of political will to focus
      on Afghanistan. The UN was already involved in Bosnia, Kosovo,
      Sierra Leone, the Democratic Republic of the Congo, and Burundi,
      and the United States was already looking forward to getting Saddam
      Hussein out of Iraq.81 So the international community set in motion
      the establishment of an underdeveloped government in Kabul and
      then promptly turned its attention to other things.


      Recommended Strategy for the Future

      The first requirement for stabilization is security, and the first task in
      any transition will be to sustain whatever level of security has been
      achieved. Coalition partners, particularly the United States, have
      devoted considerable attention and resources to achieving an accept-
      able level of safety and security for the Afghan people. Of the three
      lines of operation, security is frequently viewed as an enabler for devel-
      opment and governance directives; a relatively stable security envi-
      ronment increases the chances that such projects can gain sufficient

      79 United Kingdom, House of Commons Foreign Affairs Committee, “Global Security:
      Afghanistan and Pakistan,” Eighth Report of Session 2008–09, July 21, 2009, p. 86.
      According to an expert’s view, while efforts at promoting local development upset local power
      balances and met with resistance, the real deficiency was not to complement the top-down
      effort to build national level governance capacity with a complementary effort to strengthen
      local, largely informal institutions. (Comment by Ambassador James Dobbins, May 2011.)
      80 Lakhdar Brahimi, quoted in Chesterman, “Walking Softly in Afghanistan,” p. 38.

      81 Marina Ottaway, “Nation Building,” Foreign Policy, No. 132, September–October 2002,
      p. 20.



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      momentum. After OEF drove the Taliban and al Qaeda from their
      strongholds in the southern and eastern provinces, it appeared that
      the counterterrorism focus of operations had succeeded, but it is now
      clear that these initial victories were only temporary. When the Taliban
      returned to Afghanistan, regrouped and restocked by supporters from
      neighboring Pakistan, an insufficiently resourced international pres-
      ence and underdeveloped indigenous security institutions yielded little
      for the insurgency to contend with.
            At the outset, donor nations placed a great deal of emphasis on
      the creation of the Afghan National Security Forces, a priority that
      was not misplaced even if it was poorly executed upon. At present, the
      mechanisms for creating the army and police are fairly well developed;
      there are regional training centers and an increasing emphasis on men-
      toring and partnering. But making these forces effective will require a
      further increase in resources, with emphasis on ministerial-level capac-
      ity development, and a further extension of mentoring and partnership
      to ensure that all police and army units are capably tasked and execut-
      ing operations to the best of their ability. This will require additional
      troops to ensure that ANSF have daily partners, not simply partners for
      major combat operations.
            Despite its shortcomings, the ANA is increasingly viewed as a
      source of stability in the country and can handle some major aspects
      of operations. Although efforts to rehabilitate the ANP have not met
      with the same measure of success, a credible and capable police force is
      at least as important as an effective army. Consequently the same, if not
      greater, effort must be made to ensure ANP advancement. One pos-
      sible avenue for improvement could be an effort to reform the doctrine
      and mission of the police to ensure that mission, training and tasking
      are all aligned.
            At the very least, the missions of the different components of the
      ANSF should be better defined. There is no current rationale behind
      the range of operations to which the ANP is assigned; this results in
      an overlap with ANA directives, for which the police have not been
      trained or equipped. Appropriate mission statements for the ANA and
      ANP must be defined in order to distinguish the strategic and opera-
      tional focus for each line of the country’s defense. This includes defin-


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      ing which forces contribute to which campaigns in what capacity—
      infantry versus COIN, defensive versus offensive clearing operations,
      among others.
            The ANP mentor system is in need of improvement. Mentoring is
      critical to the success of the ANP reconstitution effort because it allows
      trainers to build on classroom instruction and provide a more system-
      atic basis for evaluating performance.82 As lead donor nation for the
      ANP, the United States could encourage vested interest on the part of
      the Afghans by developing Afghan-to-Afghan mentoring teams. Such
      a mechanism would offer a different approach from the current one of
      using an outside contractor, one that binds the indigenous police force
      more closely to their fellow countrymen. This would also prevent the
      problem of indefinite mentoring: Although the mentoring program is
      supposed to be term limited, in reality mentored units rarely “gradu-
      ate” from that status.83
            The advent of new, even more local, programs such as the Afghan
      Public Protection Force (APPF), involve applying concepts of village-
      based defense to problems of security. In parts of the country, the
      village-level citizens’ defense force is an indigenous concept and ISAF
      efforts to that point are likely to succeed. But rather than take from
      this the lesson that the APPF should be applied more broadly, we
      should instead derive the principle that understanding local definitions
      of security is key to propagating a belief of security. In some locations,
      the ANP may fulfill this role most closely, and in others it may be that
      as-yet-unknown methods should prevail.
            Finally, calls for larger contributions of manpower and resources
      can be focused on ways to increase the chances of achieving the “clear-
      hold-build” objective. The current coalition basing structure does not
      disperse forces far enough into the parts of the country where the
      insurgency originated: rural areas. The United States should rethink
      its basing structure to increase its presence in these areas. This would
      likely require a reduced dependence on logistics and supply. The ANA
      has an opportunity to play a key role in such deployments. U.S. and

      82 GAO, Afghanistan Security, pp. 24–25.

      83 Author interview, COL Thomas Staton, October 6, 2009.




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      coalition forces could share more bases with the ANA and transfer the
      majority or the entirety of the responsibility for logistics and supply to
      those who know the country best.
            Rethink Development. To be successful in a development strat-
      egy, we must rethink the proposition that charitable gifts of infrastruc-
      ture are a viable means to placate the population. Certain projects work
      but others do not, and we need to invest research into finding out why.
      Programs that are firmly rooted in the local context, that constructively
      address their impact on local power structures, that are truly Afghan—
      not merely with an “Afghan face”—are more likely to succeed. These
      programs should also be paired with a comprehensive monitoring and
      evaluation framework to assess success project by project, rather than
      the unhelpful national-level metrics currently favored. National indi-
      cators tell us virtually nothing about the strategic-level effects of our
      stabilization policies.
            Understand the Population Better. If poor understanding of the
      population is part of the problem, then the solution must necessarily
      entail developing a means to better understand the various commu-
      nities of interest. Modern counterinsurgency theory and practice are
      predicated on gaining the support of the people for the counterinsur-
      gency effort, yet we have a poor understanding of what the Afghan
      people actually need or desire.
            From the American and European point of view, government
      institutions exist to identify and meet the needs and desires of the
      people. This makes it difficult for us to understand an environment
      that is resistant to institutions, such as Afghanistan. We have no insti-
      tutional mechanism for systematically gaining an understanding of the
      people’s needs and desires, and our efforts to build such a mechanism
      have been frustrated at every turn by that very same poor understand-
      ing. This conundrum exists broadly across the security, development,
      and governance spheres. The tools we attempt to employ to break
      through this “fog of COIN,” such as public opinion surveys or key
      leader engagements, often say more about our own beliefs than they do
      about those of the Afghans. For example, after a brief introduction to
      the overall security section, The Asia Foundation’s most recent coun-
      trywide survey presents the results of a series of questions based on the


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      level of fear for one’s personal safety felt by the population.84 Not only
      does the survey not ask who the respondents are afraid of, it assumes
      that security itself is defined best by the frequency of fears for personal
      safety. But this may not be accurate. When journalist James Holland
      asked why villagers would support a regime that made them fear for
      their personal safety, he reported,

            The Taliban may operate an extremely harsh sharia-based rule
            of law, heavily dependent on intimidation and violence, but . . .
            under the Taliban, a person could leave his wallet on a wall in
            Musa Qala and find it there two days later.85

            Other factors, such as the level of predictability of the environ-
      ment or the provision of higher-paying jobs may be more important to
      the people’s sense of well-being.
            So how can we understand how to ask the right questions? One
      possibility is to construct a phased process of social science research.
      Ethnography and other tools of cultural anthropology are increasingly
      used by the government through programs such as the Human Terrain
      System, but these efforts usually end with normative recommendations
      to service members—the advisory “angel on the shoulder.” Perhaps it
      would be more constructive to use ethnographic knowledge to inform
      later-stage data collection efforts, such as public opinion polls, to
      increase the accuracy of our metrics.86 Such a structured field research
      process could result in more accurate diagnosis of local attitudes.
            Maintain a Sustained Commitment. Above all, the effort to create
      a durable transition from counterinsurgency to stability operations in
      Afghanistan rests on the sustained commitment of U.S. and coalition
      forces. Rather than indulge in the strategic narcolepsy that has defined
      U.S. intervention in Afghanistan for the past 30 years, we must exhibit
      a sustained interest in that country’s future. The depth of Afghani-


      84 Ruth Rennie, Sudhindra Sharma, and Pawan Kumar Sen, Afghanistan in 2008: A Survey
      of the Afghan People, The Asia Foundation, 2008, p. 29.
      85 James Holland, “Dispatches: Musa Qala, Afghanistan,” Granta, April 15, 2008.

      86 Author interview, Andrea Jackson, October 13, 2009.




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      stan’s instability demonstrated in this case study will require signifi-
      cant presence, resources, and attention at the strategic and policy level
      to remediate. If there is a key lesson to be gleaned from both the U.S.
      experience in Afghanistan during the time of the Soviet invasion and
      the “false dawn” of the immediate rout of the Taliban in 2002, it is that
      losing interest in Afghanistan before the transition to stability has been
      solidly achieved creates unpredictable and dangerous results.
            In summary, it can be said that the situation in Afghanistan is,
      as of this writing, still in the counterinsurgency stage, and that a tran-
      sition to protracted stability has not yet taken place. Indeed, as we
      pointed out earlier in the chapter, the “transition” that took place in
      Afghanistan was the move from early stability efforts toward COIN,
      which is the phase that is still under way today. The suggested shifts in
      U.S. and Afghan government policy listed above could contribute to
      an eventual move back toward stability.




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      CHAPTER EIGHT

      Conclusion




      This volume has examined a number of different insurgencies to deter-
      mine what was required to end them and to transition to more stable
      conditions. In some of the cases included in this study, there was con-
      siderable American involvement (Iraq, Afghanistan); in others, U.S.
      participation was limited (Colombia, El Salvador). In the Philippines,
      the United States has assisted the government, but not specifically in
      suppressing the NPA, while in the case of Mali there was no American
      involvement of consequence.
            In some of the examples we studied, the government conducting
      the counterinsurgency campaign developed effective and appropriate
      policies and techniques to transition from insurgency into sustained
      normalcy. In other cases, there was only partial success, and in the case
      of Afghanistan the insurgency is clearly not yet at the point of reach-
      ing a transition (indeed, some argue that the anti-Taliban coalition is
      struggling merely to maintain the present situation). In all these varied
      situations, we have seen examples of both effective and ineffective poli-
      cies and techniques, as governments attempted to defeat the insurgency
      and move toward stability. Therefore, U.S. policymakers and COIN
      practitioners have much to learn from these experiences.
            It should be noted that there were some similarities in the cases
      but also important differences. It is thus difficult to assess whether a
      more “military” or more “economic/political” approach was the most
      significant reason why a particular insurgency started to transition
      toward stability. It is, however, safe to say that in each case an approach




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      was needed that balanced security needs as against important reforms
      in other areas.


      Overarching Insights

      There were important differences in each of the cases that we examined.
      They range from small insurgencies with little U.S. participation (Mali)
      to major conflicts where the United States has been deeply involved
      (Iraq and Afghanistan). Other cases are in the middle of the spectrum
      in terms of size, complexity, and the level of American participation. As
      we examined what appeared to work and what did not in the six cases
      included in the study, all or a majority of them seemed to have several
      important factors in common.
            Successfully transitioning from COIN to relative stability requires an
      interagency approach. As insurgencies start to transition toward stability,
      there is a reduction in violence and a gradual increase in normal eco-
      nomic and political activity. Interagency cooperation is needed during
      all phases of an insurgency. During the transition period, this need
      may be particularly important, as the primary responsibility moves
      away from the military toward the police and as economic develop-
      ment and political reforms take effect and are refined.
             Although the military is best suited for providing protection and
      security while the insurgency is at its worst, the military is usually not
      the optimal agency, to say the least, to ensure that political and eco-
      nomic reforms are properly executed. Multiple agencies, both within
      the incumbent government and from the third party nation(s) that are
      helping to combat the insurgency, must work together during the criti-
      cal transition period to ensure that economic and political reforms are
      implemented in order to prevent a reignition of the insurgency.
            In the case of Colombia, the 2004 creation of the Center for Coor-
      dinated Integrated Action (CCAI) was a key step in integrating the
      overall efforts of the Colombian government (military, police, political,
      and economic) to consolidate gains made in the COIN effort against
      the FARC. Placing the CCAI at the cabinet level ensured participation
      and awareness of the Colombian president and his key advisors. Next,


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      the CCAI empowered representatives at the state level to coordinate
      security, economic development, and political reforms. Although this
      concept was not without problems, it has been instrumental in accel-
      erating the reestablishment of Colombian government authority in an
      ever-growing portion of the country. With the FARC already showing
      signs of weakness by the early part of the decade, this coordinated,
      intragovernmental approach has proved to be very effective. Today,
      it appears that Colombia is well along in the process of transitioning
      from a decades-long COIN campaign to relative stability in most of
      the country.
            Similarly, in the Philippines the government adopted (as of 2006)
      an “all of government” approach to counterinsurgency. While most
      people agree that the NPA was not completely defeated by the end of
      2010, there is general consensus that the government has made signifi-
      cant gains over the communist movement and that the influence of the
      NPA will continue to diminish over the next several years—so long
      as the Philippine government can continue the present level of effort.
      Overall, the Peace and Order Councils that coordinate the govern-
      ment’s approach to the insurgency at the national, regional, provincial,
      city, and lower levels of government have proved effective in rationaliz-
      ing the overall strategy and operations on the security and civil reform
      fronts. The POCs brought together all the key government agencies
      that were critical to the counterinsurgency effort.
            In other cases, increased cooperation between the security and
      political/economic COIN efforts paid off, even though a formal high-
      level interagency coordinating body was not created. In El Salvador,
      the initial approach to dealing with the insurgents was overly biased
      toward direct military action. While this certainly resulted in insur-
      gent casualties, military and police actions alone were not enough to
      undermine the support that the insurgents enjoyed within significant
      portions of the population. Once El Salvador adopted a more balanced
      approach, maintaining military pressure on the insurgents while simul-
      taneously placing much greater emphasis on political and economic
      reform, the support for the insurgents declined. This required a coordi-
      nated, interagency approach by the governments.


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            In contrast, in Iraq and Afghanistan there was a distinct lack of a
      unified interagency effort for the first several years of conflict. In both
      cases, the Department of Defense had to perform most of the security
      and reconstruction tasks. DoD was not well suited for the reconstruc-
      tion mission, since it lacked significant recent experience in nation-
      building (or rebuilding) and the reform of civil institutions. The initial
      U.S.-led COIN effort suffered badly in both countries as a result. To
      this day, U.S. involvement in Afghanistan still lacks adequate inter-
      agency coordination at the cabinet level. For example, even though the
      United States has been involved in Afghanistan for over eight years, the
      percentage of nonmilitary personnel in the PRTs that are so critical to
      capacity-building remains small, and military personnel are still per-
      forming most development tasks despite their relative lack of training
      and expertise in that area. It should be noted that from roughly 2002
      to 2005, the United States was not really conducting a counterinsur-
      gency operation in the classic sense of the term. Rather, it was engaging
      in a counterterrorism effort using the limited number of troops that
      were available during those years and initially trying to stabilize the
      country.
            It is important to develop an in-depth understanding of the partici-
      pants in the insurgency, including what issues are driving a portion of the
      population into the hands of the insurgents.This appears to be, in general,
      easier for the local government and its security forces than for exter-
      nal actors. For example, in the case of Iraq’s Anbar province, it took
      U.S. forces several years to develop sufficient knowledge of the key
      local personalities, economy, power hierarchies, and tribal structures.
      Additionally, in both Afghanistan and Iraq it took considerable time—
      years—for the United States and other outside forces to develop a good
      understanding of the real needs of the local population. This resulted
      in many well-intentioned, but inappropriate, aid programs that were of
      marginal benefit to the local population. Unfortunately, developing in-
      depth knowledge of the local situation took years because of an almost
      total prewar lack of familiarity on the part of the Americans.
            Perhaps one of the most important factors in understanding the
      nature of an insurgency is the need to recognize that the movement has
      a degree of popular support, even though support for the insurgents


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      might be limited, in some cases, to a small portion of the population.
      Often, armed forces see the insurgency as a strictly military “target set”
      and limit their approach to locating and destroying or capturing the
      insurgents. For the insurgency to be truly defeated, militaries—both
      those of the local country as well as any foreign forces that are there to
      assist—must recognize that the insurgency arose for a reason and that
      a multifaceted approach is almost always required to overcome it.
            The Anbar case provides an excellent contrast of the difference
      between a situation when foreign forces understand the local issues and
      when they do not. As Chapter Six makes clear, for the first several years
      of the U.S. occupation of Anbar province there was far more emphasis
      placed on direct military operations than on identifying the underlying
      causes of Sunni resentment and the needs of the population. Once the
      approach to COIN changed, which occurred roughly at the same time
      that the Iraqi branch of al Qaeda was making major miscalculations
      in its dealings with the local population, the level of violence dropped
      significantly.
            Once U.S. forces in Anbar had developed a better understanding
      of the local political, security, and economic issues, they could focus
      their efforts in a much more appropriate way. Trust started to build
      between the Americans and the local population, who began to view
      the U.S. forces as being on their side and able to help them. Once the
      relationship between U.S. forces and the population had developed—
      due to better understanding of the local environment on the part of
      the Americans—the process of starting the transition from COIN to a
      more peaceful and stable situation really began.
            Government officials and security forces of the nation being
      threatened by the insurgency should have an advantage over foreign
      forces—after all, it is their country. While this theoretical advantage
      appears obvious, even the military and police of the country in ques-
      tion can badly misinterpret the nature of the insurgency and the needs
      of the local population. For years, the indigenous governments of the
      Philippines and their security forces were oblivious to the grievances
      of their own populations. When the government and its military and
      police are seen as “not getting it” by disaffected elements of the popula-
      tion, increased support for the insurgents is almost inevitable.


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            Once participants in the counterinsurgency (in the local govern-
      ment as well as that of any external participants such as the United
      States) become well versed in the issues that the insurgency is attempt-
      ing to exploit, the key personalities involved, and the grievances and
      needs of the local population, meaningful efforts at reform become
      possible. For example, in the Philippines special operations teams
      were particularly useful in helping to ensure that nonkinetic measures
      were meaningful and relevant: The people in the conflict areas came
      to understand that they themselves had a direct stake in the effort to
      move toward stability. However, the longer the process of learning the
      nature of the insurgency takes, the greater the risk that support for the
      insurgents will increase, possibly to unmanageable levels.
            Mali represents a case where the government apparently correctly
      determined what the key issues were and acted accordingly, albeit
      within its limited resources. Because the essence of the insurgency was
      determined rather quickly, appropriate actions could be taken to pre-
      vent the insurgency from becoming a major threat.
            There is a clear need to manage the demobilization of the vari-
      ous militia groups, which may number many thousands of armed men.
      Reintegration of fighters into society is a key requirement for ending
      lawlessness and widespread violence. In many insurgencies, mili-
      tias fight alongside regular government forces. In some cases, these
      militias are sponsored by the government; in others, such as Colom-
      bia, they develop and operate independently. In yet other cases, they
      might respond to local powerholders. Counterinsurgency theory has
      long stressed the contribution of militias and other self-defense forces.
      Geraint Hughes and Christian Tripodi usefully distinguish between
      what they term “home guards,” locally recruited forces that provide
      static defense at the village or neighborhood level, and militias, larger
      forces aligned with the state that are typically raised from within an
      indigenous ethnic or tribal grouping.1 These forces can serve a number
      of important purposes. At the most basic level, what Frank Kitson


      1  Geraint Hughes and Christian Tripodi, “Anatomy of a Surrogate: Historical Precedents
      and Implications for Contemporary Counter-Insurgency and Counter-Terrorism,” Small
      Wars & Insurgencies, Vol. 20, No. 1, March 2009, p. 4.



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      terms “auxiliary forces” can carry out “less skilled functions, particu-
      larly those related to guarding.”2 Counterinsurgency is a manpower-
      intensive activity. Ideally, the employment of what Hughes and Tripodi
      term “surrogates” frees up the police and military forces for offensive
      operations—in other words, these irregulars function as force-multipli-
      ers. But militias and other self-defense forces can serve broader politi-
      cal and operational objectives as well. Members of locally based forces
      will necessarily have an intimate knowledge of local conditions that
      surpasses that of government security forces. Individuals recruited into
      auxiliaries become less available as a recruitment pool for insurgents
      and thus help deny a critical resource to the armed opposition. More-
      over, participation in surrogate forces can reinforce a population’s sense
      of common cause against the insurgency and, in so doing, foster popu-
      lar allegiance to the incumbent government.
            All the cases we examined reinforce the claims of counterinsur-
      gency theory regarding the contribution of local self-defense forces. In
      these cases, auxiliaries helped to “tip” the conflict in favor of the coun-
      terinsurgents and, in so doing, paved the way for significant transitions.
            At the same time, these cases suggest some major pitfalls regard-
      ing the employment of self-defense forces for counterinsurgency pur-
      poses. The first-order challenge involves questions of command and
      control. Auxiliaries operate in an administrative and political shadow
      zone. Some are organized, trained, equipped and paid by the state,
      while others (typically militias) are essentially self-organizing and
      self-sustaining. Although the intention behind the use of auxiliaries
      for counterinsurgency is to build popular allegiance to the state, this
      goal is not always achieved. Accountability remains a major challenge.
      Given the fluid nature of allegiance, and the often vague command-
      and-control arrangements, surrogate forces can commit serious human
      rights abuses with virtual impunity. In addition to the human cost,
      such abuses can create major political problems for the incumbent
      power and for any external power that is supporting the incumbent
      government.


      2   Frank Kitson, Bunch of Five, London: Faber & Faber Ltd., 1977, p. 295.



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            If militia groups that have developed during the insurgency are
      not properly managed during the transition phase, serious problems
      can arise. In the case of El Salvador, for example, although a political
      settlement was reached with the insurgents to bring about transition to
      “normalcy,” tens of thousands of former combatants were not properly
      dealt with in terms of postwar employment, including possible integra-
      tion into the security forces. Therefore, although the insurgency ended,
      lawlessness and violent criminal activity rose dramatically, to the point
      that more people were dying due to violent crime in the years immedi-
      ately after the end of the insurgency than were being killed during the
      actual COIN effort.
            In the Philippines, the growth of militia groups over a period of
      several decades has complicated the government’s efforts to transition
      from COIN to stability. In large part, this has been due to human
      rights abuses—overt war crimes in some cases—on the part of poorly
      supervised militia groups.
            Anbar province is a current, and very important, example of this
      issue. The Sons of Iraq, the local Sunni self-defense forces that arose to
      defend communities against al Qaeda extremists, were a key element in
      moving the province from a difficult insurgency to transition. For sev-
      eral years, the U.S. military paid the wages of thousands of SoI fight-
      ers. Today, however, it appears that the Iraqi government in Baghdad is
      much less concerned with managing the SoI. Already there have been
      indications that disillusioned, unemployed—and armed—SoI fight-
      ers are becoming increasingly restless, possibly to the point of armed
      opposition to the Baghdad regime.
            Colombia provides a good example of the management of mili-
      tia groups as an insurgency starts to transition into the end game and
      stability. For years, self-defense groups popularly known as paramili-
      taries were responsible for murders and other criminal activity in the
      name of opposing the FARC. The excessive, heavy-handed, tactics of
      these groups obstructed the Colombian government’s effort to reestab-
      lish its authority in conflict zones and—because of accusations that
      these units operated in collaboration with sectors of the Colombian
      military—complicated the Bogota government’s relationship with its
      allies. The Uribe government devoted considerable attention to disarm-


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      ing these groups and providing alternative means of making a living to
      former members.
            The handling of former militia members is related but distinct
      from the general challenges of disarmament, demobilization, and rein-
      tegration of former combatants, which are discussed in more detail in
      the first volume of this study. The overall number of combatants must
      be drastically reduced (for budgetary reasons, if no other); in most
      cases, some of the insurgents will have to be integrated into the official
      security establishment (assuming the war did not end in a clear-cut vic-
      tory). The important point is that, as an insurgency transitions toward
      stability, there is a clear need to manage the demobilization and rein-
      tegration of all of these groups, which are composed mostly of young
      men who all too often have no other skills than carrying a weapon—
      whether they did it on behalf of the government or the insurgents.
            Gaining cooperation from nearby nations to end or minimize support
      for the insurgents is essential. Numerous studies of counterinsurgency
      have noted that if an insurgent group is receiving aid and sanctuary
      from a nation or nations adjacent to the country threatened by the
      insurgency, the COIN effort will be far more difficult, if not impos-
      sible. The cases we examined in this study reinforce that viewpoint. To
      facilitate the transition from COIN to a more stable situation, some
      degree of cooperation from adjacent countries is necessary. In some
      cases, the cooperation of nearby states could be as simple as their neu-
      trality (including denial of sanctuary for the insurgents); in other cases,
      more overt assistance from nearby nations might be required, such as
      helping to monitor border areas, sharing the burden of dealing with
      refugees, denying political legitimacy to the insurgency, or providing
      economic assistance to the neighbor that is in the process of transition.
            In Mali and Iraq, gaining the cooperation of neighboring nations
      was key to defeating the insurgents and starting the transition process.
      In Mali’s case, obtaining cooperation from Algeria was critical, not
      only in preventing insurgents from using southern Algeria as a sanctu-
      ary, but also as a mediator and facilitator of the peace process.
            Iraq is an even better example. Once Syria, Jordan, and Saudi
      Arabia recognized that a destabilized, possibly radicalized, Iraq was
      certainly not in their best interests, they began to crack down on


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      insurgent activity emanating from within their borders. When com-
      bined with the serious missteps by al Qaeda in Anbar province and
      the improved COIN techniques that the U.S. forces were employing
      (notably, the improved understanding of the situation in Anbar; see the
      section above on developing an in-depth understanding of the partici-
      pants in the insurgency), this was a decisive step in transitioning from
      a difficult counterinsurgency situation toward stability.
            In the Philippines, the inability of the insurgents to obtain foreign
      sanctuary is certainly aiding the transition efforts of the government.
      Geography helps—the Philippines is a group of islands with no
      common land border with another nation. So, while the insurgents can
      try to hide and find sanctuary within remote areas of the Philippines,
      they do not have the ability to run across a border to avoid pursuit
      by government forces. Now that the entire Philippine government is
      conducting the COIN effort in a more integrated, interagency manner,
      the decreasing ability to find an internal sanctuary within the country
      is hurting the NPA.
            On the other hand, in Colombia the single most important factor
      in the potential resurgence of the much-weakened FARC is its ability to
      use Venezuela as a sanctuary and source of support. As the chapter on
      Colombia made clear, there is no doubt that the Chavez government in
      Venezuela has provided considerable assistance to the FARC, including
      sanctuary. As the Colombian government strives to transition toward
      a sustainable peace and normalcy, the situation could deteriorate—
      again—if the FARC is able to regroup and rebuild inside Venezuela
      and possibly Ecuador. Despite occasional pronouncements from
      President Chavez that his government is not supporting the FARC,
      the evidence is overwhelming that the Venezuelans are indeed helping
      the leftist insurgents. Should that support continue, the Colombian
      government’s COIN transition efforts could be gravely undermined.
            Afghanistan provides an even starker case. As with the Russian
      experience in the 1980s, the present Afghan government and the
      coalition that is helping it are at somewhat of a loss as to what to do
      about the insurgent sanctuary in Pakistan. In the northwest provinces
      of Pakistan the Taliban (and al Qaeda) enjoy considerable support
      among the population. For various reasons, the Afghan government


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      and the coalition are unwilling to take dramatic action either to
      close the border between Afghanistan and Pakistan (which would
      probably be an impossible task given the terrain and the sheer length
      of the border) or to attack insurgent strong points inside the Federally
      Administered Tribal Areas (FATA) other than occasional strikes by
      armed unmanned aerial vehicles. As of this writing in late 2009, the
      Pakistani government is starting to take a more direct approach toward
      the extremists in FATA. It remains to be seen how effective this effort
      will be and how long it will last.
            Until and unless some solution for the Taliban’s sanctuary inside
      northwest Pakistan can be devised, it is highly unlikely that the level
      of violence in southern Afghanistan will be reduced to the point that
      a meaningful transition effort can get under way. It is clear that at the
      present time the situation in eastern and southern Afghanistan is far
      from transitioning from COIN to lower intensity stability operations.
            There must be sufficient resources and time for meaningful transition
      efforts. This issue came up in most of the cases. Even if the security
      portion of the COIN effort is doing well (i.e., the host nation’s army
      and police have scored major successes against the insurgents and are
      generally able to protect the local population), the effort to transition
      from COIN to a more stable situation could still last years and require
      considerable resources. If resources are lacking or are used ineffectively
      to adequately address economic, political, and other nonsecurity
      issues and convince the disaffected elements in society to side with
      the government, the attempt to transition from COIN could be
      compromised.
            Several examples came out in the case studies. In Anbar province,
      resources for development projects were insufficient for several years.
      Most people were impoverished and had little prospect for a better
      future. This situation, of course, contributed to support for the
      insurgents. Once the U.S. and Iraqi governments reprioritized their
      countrywide efforts and began to use their resources in Anbar more
      effectively, the economic situation of the local population started to
      improve and, together with improvements in the security situation and
      major errors by al Qaeda, contributed to the transition to stability.


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            In El Salvador, there was an initial lack of resources to make
      the economic improvements needed to convince the people that the
      government was taking actions to better their lives. The steps taken by
      the government were initially half-hearted due to resistance from the
      wealthy classes (for example, opposition to land reform) and lack of
      resources to make meaningful reforms.
            The Philippines has, unfortunately, a long history of insurgencies
      ever since the last few years of Spanish rule in the late 19th century.
      In the post-independence period, from 1946 to today, the Philippine
      government has on several occasions thought that it had defeated the
      insurgents (who where usually communists, although some in the south
      were Muslim separatists). Although The Philippine Army, constabulary,
      and police have on several occasions gravely weakened the insurgents
      to the point that the insurgency appeared to be broken, the inability
      to sustain meaningful economic and political reforms has always
      provided a breeding ground for the eventual restart of the insurgency.
      While political corruption has been a large contributor to the inability
      to fully suppress insurgency in the Philippines, the lack of resources
      to institute, manage, and sustain needed economic reforms has been a
      major reason why insurgency has flared back over the decades. Today
      the Philippine government is hopeful that it can finally defeat the
      communist insurgency through an integrated intragovernmental effort.
      Whether this results in only short-term success, as has been the case
      in past insurgencies in the Philippines, or lasting stability will depend
      to a large extent on whether the Filipinos can muster the resources to
      sustain long-term reforms.
            Importantly, the need for sufficient resources (and time) during
      the transition to stability also means that there must be a proper
      allocation and correct use of those resources. Every case in this study
      includes glaring examples of misapplication of resources, waste through
      corruption, and well-intended projects that were often the wrong
      thing in the wrong place. As was highlighted above, there is a critical
      need to develop an in-depth understanding of the insurgency and the
      needs and wants of the local population. This is related directly to the
      requirement to properly and judiciously apply resources, over time, to


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      change the conditions of the population, thus correcting problems that
      may have been key to the rise of the insurgency in the first place.


      Insights and Implications for U.S. Policy in Iraq,
      Afghanistan, and Beyond

      The issues raised in the previous section can apply to the host nation,
      other countries (such as the United States or the UK) that are attempting
      to assist the host nation’s COIN effort, or both. There are, however,
      some insights derived from the cases that apply primarily to “external
      participants,” such as the United States. Ideally, a counterinsurgency
      effort should be overwhelmingly in the control of the host nation that
      is threatened by the insurgency. Although other countries can offer
      important help, it is ultimately the effectiveness and legitimacy of their
      own governments that will cause the local population to side either
      with that government—or with the insurgents. In situations where
      the host nation’s government and its security forces are so weak that
      considerable direct involvement by foreign forces is needed, the goal
      should be to strengthen the COIN capacity of the host nation as rapidly
      as possible and pass most of the effort to it as soon as it is capable of
      performing adequately.
            That said, there are some issues that primarily apply to “outside”
      parties—such as the United States. Several of these are highlighted
      below.

      Intelligence Support to the Host Nation
      In several of the cases, intelligence support to the host nation was a
      key capability provided by outside external powers. In the broadest
      terms, modes of intelligence collection fall into two categories: Techni-
      cal intelligence collection includes the interception of electronic com-
      munications, telemetry from missile tests, and electromagnetic ema-
      nations from military equipment such as radar transmitters (known
      collectively as signals intelligence, or SIGINT) and the gathering of
      photographic imagery. Human intelligence collection (HUMINT) is,
      in essence, the use of agents by an intelligence organization to col-


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      lect information. As demonstrated in the cases of El Salvador, Iraq,
      Afghanistan, and Colombia, the United States provided important
      technical intelligence to host nation governments and their security
      forces that often gave them significant advantages over the insurgents.
      This can, of course, help improve the security situation, thus facilitat-
      ing the transition from COIN to a more stable, less violent situation.
            In general terms, HUMINT should be an area where the host
      nation’s security forces have an advantage over foreign forces—at least
      in theory. The incumbent’s security forces are, after all, operating among
      their own people, and it seems unlikely that foreign forces would ever
      be able to develop the same degree of knowledge and detailed cultural
      insights as the local forces will. That said, it is certainly the case that in
      many instances the incumbent power badly misreads the nature, scope,
      and motivations of armed opposition groups. Typically, insurgents
      (particularly in the early stages of a given conflict) are dismissed as
      mere “bandits,” “criminals,” or “terrorists.” This may make good sense
      at the political level, since labeling the armed opposition as something
      other than criminal may provide them with a measure of legitimacy.3
      But such labeling is seldom the result of a prudent political calculation.
      More often, it reflects a profound lack of understanding of the insurgent
      challenge. Indeed, the emergence of a full-blown insurgency is in part a
      product of the incumbent’s inability and unwillingness to understand
      and take appropriate steps to thwart its growth and development.4 This
      appears to have been the case in Iraq in 2003–2004, when the incum-
      bent regime (effectively the United States, in this instance) branded the
      insurgents as mere malcontents and Baathist “dead-enders.”5 Paradoxi-
      cally, some of the most threatened regimes are often in a state of self-
      denial. Acknowledging the full scope of an insurgent challenge would


      3  For more on this point, see Philip Deery, “The Terminology of Terrorism: Malaya, 1948–
      52,” Journal of Southeast Asian Studies, Vol. 34, No. 2, June 2003, pp. 231–247.
      4   For more on thwarting “proto-insurgencies,” see Daniel Byman, Understanding Proto-
      Insurgencies, RAND Counterinsurgency Study, Paper 3, Santa Monica, Calif.: RAND
      Corporation, OP-178-OSD, 2007, particularly pp. 21–30.
      5  See for example, remarks delivered by Secretary of Defense Donald H. Rumsfeld,
      Veterans of Foreign Wars, San Antonio, Tex., Monday, August 25, 2003.



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      be a tacit (or perhaps even explicit) acknowledgment that the regime in
      question is facing a profound crisis that it is unable or unwilling to pre-
      vent, and for which it may be deemed responsible. Such an admission
      could further erode whatever standing and legitimacy the incumbent
      regime possessed.
            This all suggests that threatened “host nations” may not always be
      the most competent or reliable intelligence partners. The U.S. govern-
      ment is likely to be tempted to rely heavily on intelligence provided by
      the so-called “liaison services” of threatened regimes. Politically, such
      reliance can help reinforce the notion that the threatened government
      is a full counterinsurgency partner; in economic terms, depending on
      the host nation for intelligence on the insurgency is likely to be far
      cheaper than mounting “unilateral” U.S. collection operations. But
      for the reasons suggested above, such dependency can have potentially
      dangerous consequences for U.S. policy. Of course, the United States
      can ill-afford to ignore intelligence provided by a supported govern-
      ment. However, such intelligence (as with any intelligence provided
      by another government) must be evaluated and considered along with
      other sources of information, including unilateral U.S. sources.

      Managing Militias Toward the End Game
      American policymakers must be alert to the challenges surround-
      ing the use of militia forces. Self-defense units “clearly need support,
      or else the guerrillas will overwhelm them one village at a time,”
      as Anthony James Jones concludes.6 But in many instances, host
      nations underequip, undertrain, and underpay—and fail to protect—
      auxiliary forces such as militia groups. The incumbent government is
      often reluctant to provide modern arms to villagers, fearing that such
      weapons will “bleed out” and find their way into insurgent hands. Con-
      ventional military forces typically view self-defense militia forces with
      disdain and as a distraction from the “real business” of fighting guerril-
      las. Conventional forces also tend to regard militias as potential “little
      soldiers” and as low-cost light infantrymen who should be deployed to

      6 Anthony James Jones, Resisting Rebellion; The History and Politics of Counterinsurgency,
      Lexington, Ky.: The University Press of Kentucky, 2004, p. 121.



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      fight insurgents rather than guard villages.7 Recognizing their poten-
      tial utility as a counterinsurgency instrument, insurgents will typically
      make major efforts to infiltrate and otherwise disrupt auxiliary units.
      Insurgents are often successful in this regard—and this success serves
      to reinforce suspicions that surrogate forces are unreliable.
            In addition to understanding how self-defense forces can be
      neglected and misused by the host nation, US policymakers need to ask
      three questions before beginning any program of support to militias
      and home guards: (1) How will these forces contribute to broader polit-
      ical and military objectives? (2) How will they be organized, trained,
      equipped, and resourced, and by whom? (3) As the insurgency starts
      to transition toward stability, what is the “end game” plan for militia
      groups (i.e. will they be integrated into the host nation’s police and
      military, will they be “paid off” with money or jobs, etc). The answers
      to these questions are not usually self-evident early in an insurgency.
      Local conditions, culture, resources, and the nature of the insurgency
      should play a major part in determining the roles, missions, and func-
      tions of the auxiliaries. These factors should also shape the program for
      raising, training, and sustaining these forces.
            U.S. policymakers need to consider how such forces might upset
      local power balances in ways that undercut wider counterinsurgency
      objectives. For example, “[i]n states whose societies are divided by
      ethnic, racial, tribal or confessional strife, the use of surrogates from
      one particular group . . . can exacerbate internal tensions and encourage
      civil war,” as Hughes and Tripodi have observed.8 Iraq and Afghani-
      stan clearly fit these criteria, and so any program of support to auxiliary
      forces in those countries should be carefully crafted to avoid aggravat-
      ing communal tensions and grievances. Finally, the issue of the post-
      conflict role of self-defense forces (if any) requires careful consideration,
      ideally during early stages of planning and execution. As cases such as
      El Salvador demonstrate, the failure to properly plan and implement

      7 William Rosenau, “Low-Cost Trigger Pullers”: The Politics of Policing in the Context of
      Contemporary “State Building” and Counterinsurgency, Santa Monica, Calif.: RAND
      Corporation, WR-620-USCA, 2008, pp. 9–13.
      8   Hughes and Tripodi, “Anatomy of a Surrogate,” p. 25.



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      disarmament, demobilization, and reintegration (DDR) can undercut
      the prospects for long-term peace and security. Given the prominent
      role played by auxiliaries in many counterinsurgency campaigns, it is
      essential that these forces be included in any comprehensive program
      of DDR.

      Providing the Resources and Management Structure for a Protracted
      Transition Phase
      In all of the cases that had either successfully transitioned from COIN
      to stability (El Salvador) or were apparently well along in that process
      (Colombia, Iraq, the Philippines), the transition period lasted for years.
      The local government’s resources might be greatly strained following a
      multiyear COIN effort. For the transition period to be truly success-
      ful, economic, political, and other reforms will usually need to be car-
      ried through to completion. A considerable portion of these resources
      might have to come from the external power(s) that were assisting the
      incumbent government during the COIN phase.
            Not only is the sheer level of resources an issue, the management
      of their delivery is also critical for the external power. As COIN tran-
      sitions toward stability, there will probably be a change in roles and
      responsibility between, for example, the Department of Defense and
      the Department of State as the long-term assistance effort to ensure
      success unfolds. Volume I of this study examines this issue in greater
      detail, but we highlight it here because it became apparent in some of
      the cases we examined.
            For the United States, the implications are clear. As an insur-
      gency begins to transition to stability, U.S. policymakers should under-
      stand that despite the fact that an important corner has been turned
      in combating the insurgency, the transition period could last for years.
      The country that the United States has been helping might be gravely
      weakened by the time the transition phase begins. Therefore, there
      could be a need for continuing assistance for a considerable amount of
      time into the future.




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      APPENDIX

      Indicators of Transition




      What are the key indicators that an insurgency is transitioning toward
      stability? Four broad categories of metrics seem particularly appropri-
      ate: (1) popular perceptions of security; (2) insurgent operations; (3)
      economics; and (4) intelligence.

        1. Popular perceptions of security
            –– Increasingly favorable views on personal safety and on the
               government’s capabilities to protect the population
            –– Growing rates of security force enlistment (and reenlistment)
            –– Increasing local political engagement, e.g., participation in
               city councils, political parties, provision of public services
            –– Growing numbers of returnees to conflict area
            –– Rates of return to the country by the political and economic
               elite (particularly significant).
        2. Insurgent operations
            –– A significant drop in “open” opertions—e.g., public dis-
               plays, posters and other propaganda, overt recruitment
            –– Diminishing control of the population by insurgents
            –– Shrinking scale of operations—e.g., cell-size rather than
               battalion-size
            –– Types of operations—e.g., growing frequency of attacks on
               “soft” civilian targets versus “hard” security force targets
            –– Fewer areas under insurgent control
            –– Improved ratio of government-initiated attacks, as opposed
               to insurgent control of operational tempo.



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        3. Economics
            –– Growth of private-sector investment. Ultimately this indi-
               cator may be more significant than GDP or public-sector
               spending, because individuals are risking their own funds
            –– Commercial economic activity, e.g., new housing, shops
            –– Intercity commerce. Are business owners (and drivers) will-
               ing to travel over significant distances? Are people willing to
               travel to markets?
        4. Intelligence
            –– More high-quality, actionable intelligence provided by the
               local population, e.g., information on activities of the insur-
               gent underground, IEDs, weapons caches.




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      Foundations of
      the Islamic State
      Management, Money, and Terror in Iraq,
      2005–2010

      Patrick B. Johnston, Jacob N. Shapiro,
      Howard J. Shatz, Benjamin Bahney, Danielle F. Jung,
      Patrick K. Ryan, Jonathan Wallace




       C O R P O R AT I O N



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       Preface




       The group calling itself the Islamic State constitutes a dangerous chal-
       lenge to numerous Middle Eastern countries and a terrorist threat to
       Western Europe and the United States. The level of danger might be
       new, but the group is not. The Islamic State is the successor organiza-
       tion to al-Qa‘ida in Iraq (AQI) and subsequently the Islamic State of
       Iraq (ISI), and it has continued AQI’s organizational, management,
       and financial practices. The fact that coalition forces, led by the United
       States; Awakening forces, reflecting the people of Iraq; and official
       security forces of the government of Iraq once successfully degraded
       the group suggests that it can be stopped again.
             This report presents an analysis of foundations of the Islamic State,
       as reflected in more than 140 documents prepared by AQI and ISI. It
       represents the most comprehensive portrait available of the group, based
       on the group’s own records. ISI organized itself for statehood as early as
       2006. It used a bureaucratic management model based on that of core
       al-Qa‘ida but replicated the model at different geographic levels. It also
       carefully demarcated the administrative boundaries of its jurisdiction.
       ISI paid its personnel a wage that would draw true believers rather than
       opportunists; trained and allocated its membership with an eye toward
       group effectiveness; raised revenues locally through diversified sources;
       and was able to maintain itself, albeit at much reduced strength, in the
       face of a withering counterterrorism and counterinsurgency strategy
       put in place by its opponents, starting in late 2006.
             This report is a joint effort among the RAND Corporation, the
       Empirical Studies of Conflict Project at Princeton University, and
       the Combating Terrorism Center (CTC) at West Point. The CTC



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       arranged for the declassification and release of most of the documents
       used for this research and has posted on its website the documents
       on which this report is based, making them available to all research-
       ers. These documents and more can be found at https://www.ctc.usma.
       edu/isil-resources.
             This research was sponsored by the Defense Advanced Research
       Projects Agency and conducted within the International Security and
       Defense Policy Center of the RAND National Defense Research Insti-
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       by the Office of the Secretary of Defense, the Joint Staff, the Uni-
       fied Combatant Commands, the Navy, the Marine Corps, the defense
       agencies, and the defense Intelligence Community. Additional part-
       ners and funders are listed in the acknowledgments.
             For more information on the RAND International Security and
       Defense Policy Center, see www.rand.org/nsrd/ndri/centers/isdp or
       contact the director (contact information is provided on the web page).




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       Summary




       The group calling itself the Islamic State, which is based primarily
       in Iraq and Syria, presents a grave threat to the people and countries
       throughout the Middle East and a growing threat to nations outside
       that region. Despite the apparent surprise of the group’s stunning take-
       over of Mosul, Iraq’s second-largest city, in June 2014, the Islamic State
       is not new. Rather, the Islamic State is the successor of al-Qa‘ida in
       Iraq (AQI) and the Islamic State of Iraq (ISI), which the United States,
       coalition partners, the government of Iraq, and the people of Iraq have
       fought since the coalition invasion of Iraq.
             This report examines foundations of the Islamic State. Research
       was substantially completed in 2014, with selected updates in 2015.
       The report presents a comprehensive examination of the organization,
       territorial designs, management, personnel policies, and finances of
       AQI and ISI. The report draws from an examination of more than 140
       recently declassified ISI documents, which are now available in their
       original and translated forms on the website of the Combating Ter-
       rorism Center (CTC) at West Point (www.ctc.usma.edu/isil-resources).
       The report also presents recommendations applicable to countering the
       Islamic State.


       The Group’s Own Words

       Understanding clandestine organizations is difficult because they go
       to great lengths to shield their activities. However, running such an
       organization, especially one with the ambitions of the Islamic State,



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       requires a great deal of control and information, and that requires
       paperwork. Within the documents generated by the organization itself
       is highly detailed information about strategy, payrolls, personnel, rev-
       enues, and expenses—information that can be used not only to gain
       a greater understanding of the group but also to understand its weak
       points and thereby to combat it.
             This study presents an analysis of a large number of Islamic
       State–related documents, one of the largest sets of such documents
       ever declassified at one time. The documents were declassified for this
       study by the United States Special Operations Command and released
       to the CTC. In an accompanying report, released in December 2014,
       the CTC published a guide to the source documents.1
             A team of research assistants working at RAND and for the
       Empirical Studies of Conflict Project at Princeton University used
       these documents to develop multiple tabular data sets for quantitative
       analysis, as well as a geographic data set, including

             • boundaries of proposed district-level “sectors” in Iraq that formed
               subnational jurisdictions in ISI
             • individual-level data on the country of origin and qualifications
               of 499 ISI members who entered the country in 2004–2005,
               including 393 foreign members and 106 Iraqis
             • individual-level data on member status and unit assignments
               for 1,149 active members and 1,159 who were killed or captured
               by coalition and Iraqi forces; these data were derived from what
               appear to be near-complete personnel records maintained by ISI
               administrative emirs in Ninewa governorate in late 2007 and
               early 2009
             • individual-level salary data on 9,271 salary payments in various
               locations from 2005 to 2009
             • transaction-level expenditure and revenue records for Anbar gov-
               ernorate in 2005–2006 and Ninewa governorate in 2008–2009,

       1 Danielle F. Jung, Pat Ryan, Jacob N. Shapiro, Jon Wallace, and Pat Ryan, Managing a
       Transnational Insurgency: The Islamic State of Iraq’s “Paper Trail,” 2005–2010, Occasional
       Paper Series, Harmony Program, West Point, N.Y.: Combating Terrorism Center, West
       Point, December 15, 2014.




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            as well as several other locations and for the group as a whole for
            other short periods.

       Although neither fully representative nor complete, these records paint
       a clear picture of ISI practices and standard operating procedures.


       Relevance to Today

       An analysis of the Islamic State predecessor groups is more than a his-
       torical recounting. It provides significant understanding of how ISI
       evolved into the present-day Islamic State. As with any organization,
       certain characteristics concerning how the organization is run are
       slow to change, including organizational culture, personnel policies,
       and administrative structure. Understanding the starting point is thus
       valuable for understanding the Islamic State. One would not expect
       Islamic State leadership to adopt an entirely new mode of organization
       upon moving into Syria and then expanding its territorial control in
       Iraq. Under the old model, which relied primarily on guerrilla warfare
       and terrorist tactics, the organization fought quite well against the U.S.
       and Iraqi armies and the Iraqi population for more than four years,
       from 2004 to 2008; maintained its internal cohesion and plotted its
       comeback during subsequent years of reduced activity, through 2012;
       and then claimed jurisdiction over Syria, as well as Iraq, with its April
       2013 declaration of itself as the Islamic State of Iraq and al-Sham (ISIS;
       also known as the Islamic State of Iraq and Syria or the Islamic State of
       Iraq and the Levant [ISIL]), the immediate predecessor of the Islamic
       State. It makes little sense to expect the Islamic State to abandon the
       organizational principles that sustained it for more than a decade.
       Many senior Islamic State leaders were prominent in ISI, including the
       Islamic State leader Abu Bakr al-Baghdadi. He served on the group’s
       governing council, known as the shura council, before succeeding the
       ISI emir Abu Umar al-Baghdadi in May 2010, after the emir’s death
       in a U.S. airstrike. Abu Bakr al-Baghdadi appears in an ISI personnel
       roster, which was captured in northern Iraq in 2009, under his previ-
       ous nom de guerre, Abu Du‘a. A separate document, seized in a 2008




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       raid against ISI’s number three, Abu Qaswarah, lists Abu Du‘a as the
       top ISI leader in Mosul, the group’s most important stronghold.
             Several other prominent Islamic State leaders also appear in the
       same personnel records. Numerous recent news reports on the Islamic
       State illustrate how it has retained many of the same organizational
       structures, principles, and procedures. The Islamic State’s current status
       in Sunni areas of Iraq, Syria, and other countries in many ways reflects
       the achievement of the long-held goals present in its internal docu-
       ments, public statements, and press releases throughout the 2005–2010
       period we examine.


       Key Findings

       ISI leadership consciously designed the organization not just to fight but
       also to build an Islamic state governed by the laws dictated by its strict
       Salafi-jihadi Islamist ideology. ISI was a vertically integrated organiza-
       tion with a central management structure and functional bureaus. It
       sought to replicate these structures at multiple lower geographic levels
       across territory. Each geographic unit that the organization controlled
       had substantial autonomy to pursue the group’s strategic objectives in
       its jurisdiction but was required to send frequent reports to the group’s
       leadership detailing operational activities, personnel matters, finances,
       and equipment. The central organization used these reports to inform
       decisions and provide strategic guidance to the varied elements of ISI.
             Within this structure,

             • In its original form as AQI, ISI adopted a bureaucratic model that
               looked remarkably similar to the ideal structure al-Qa‘ida opera-
               tives described, but ISI replicated that structure at local levels to
               implement broad organizational control.
             • By 2008, ISI had subdivided Iraq into specific sectors but was
               struggling to fill its design at the subnational level with personnel;
               roughly 30 percent of its sectors lacked the desired administrative
               personnel.




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         • ISI allocated human capital rationally, with the suicide-bomber
           corps dominated by foreigners (who were more likely than Iraqis
           to be fanatical believers in the group’s religious ideology) and with
           intelligence and security personnel (where local knowledge was
           critical) dominated by its Iraqi members. However, the majority
           of foreign fighters were not suicide bombers. ISI vetted the for-
           eigners upon their entering Iraq and had them fill specific tactical
           and administrative roles as well.
         • The salaries and other compensation ISI paid to its members
           appear to have been designed for an environment where labor was
           plentiful and the organization needed to recruit loyal members
           and screen out opportunists. Yet even with such a screening pro-
           cess in place, its leadership faced substantial challenges managing
           trust within its ranks.
         • ISI’s monthly payroll consistently consumed the largest single
           portion of its revenues.
         • There was significant personnel mobility within ISI. Turnover
           was high, and the group frequently reassigned members to differ-
           ent military units or back-office positions on an as-needed basis.
         • ISI fundraising aimed to raise money locally, largely from crimi-
           nal activities but also partly from activities that resembled state
           action, such as taxation. As with the present-day Islamic State,
           ISI demonstrated sophisticated financial management, efficiently
           reallocating money within governorates and throughout Iraq to
           support organizational objectives.
         • ISI leadership sought substantial oversight of the group’s finances
           and put in place detailed record-keeping requirements for track-
           ing and auditing purposes.


       Implications and Policy Recommendations

       As noted above, the findings about ISI from 2005 to 2010 are relevant
       to combating the group today. Media reporting and analytic studies
       about the Islamic State indicate that the group’s methods, organiza-
       tion, and intent have exhibited great continuity. In addition, many of




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       the current leaders and members have been with the group since its
       early days in Iraq. The implications of this study can be broken down
       into two categories: methodology and policy. We first start with meth-
       odology implications and then move on to policy implications.

       Implications for Methodology
       The main methodological finding for analysts and scholars of terror-
       ist and insurgent organizations is simple: Systematic study of mili-
       tant groups’ internal records and media is necessary to gain the fullest
       possible understanding of how and why such groups as the Islamic
       State pose the threat they do. Greater collaboration between govern-
       ment analysts and social science researchers—including subject-matter
       experts, experts on methodology and theory, and linguists—on docu-
       ments and media obtained from militant groups, and jihadist mili-
       tant groups in particular, can be extremely productive for developing
       a richly grounded framework for understanding these organizations’
       strategies, finances, and behavior. Government analysts can gain from
       a strong conceptual framework—ideally supported by systematic and
       data-driven quantitative and qualitative analysis—with which to inter-
       pret and contextualize real-time information as they receive it. This
       is particularly true for developing useful ways of thinking about such
       groups as ISI, where strategic questions are of great importance and for
       which analysts may lack sufficient background knowledge and a clearly
       detailed intelligence picture. Social scientists, in turn, are likely to ben-
       efit from gaining detailed subject-matter knowledge based on primary
       sources of data that government analysts often use, as well as greater
       insight into how decisions get made, how operations are planned, and
       the rationales given to justify key decisions and actions at all levels of
       the policy and implementation cycles.
              Increasing the priority of document exploitation can be an
       extremely valuable adjunct to other forms of collection and analysis
       on militant groups. Systematic document exploitation may be under-
       valued. An organization’s internal documents may provide a rich por-
       trait of how it works and what its weaknesses and strengths are while
       remaining sensitive to its complexity and internal heterogeneity. Docu-
       ment exploitation can also identify important nodes and techniques



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       of internal communications and transactions, as well as higher-level
       insight into an organization’s plans and strategies. In the case of ISI,
       the documents show quite clearly an organization intent on build-
       ing an Islamic state based on internal coherence and administrative
       capacity, even as it struggled to sustain itself militarily as the campaign
       against it escalated.
             The usefulness of document exploitation should not be surprising.
       Societies have long understood the value of archives, and the opera-
       tional value of documentation is substantial, albeit short-lived. To be
       maximally useful, however, document collections need to be analyzed
       on a large scale, so that the representativeness of documents is more dis-
       cernible. Scholars need to be able to assess, with a reasonable amount
       of confidence, whether any given document is normal or a unique
       outlier and how that should affect their assessments and conclusions.
       Understanding the distribution of documents, as in the probability
       distribution, would shed light on how common are such documents
       as large-scale financial spreadsheets, personnel rosters, and reimburse-
       ment notes. Without knowledge of such a distribution, analysts cannot
       definitively conclude that the findings from a document analysis apply
       to the group as a whole over a long period or only to the specific faction
       of the group that generated those documents at the time they were gen-
       erated. In addition, these collections need to include systematic tagging
       with relevant metadata to enable analysts to employ thoughtful sam-
       pling strategies and methodological approaches to maximize the data’s
       analytical value for priority knowledge requirements.
             There are substantial challenges to achieving these goals. Main-
       taining large-scale document collections is expensive, and consistently
       recording metadata at the collection point entails practical challenges
       in high-intensity operational environments. These challenges, however,
       are predictable, and, given the long-run value of understanding insur-
       gent and terrorist organizations, future collection efforts should keep
       in mind these twin imperatives.
             Systematic document exploitation also needs people with multiple
       skills. We have found that to get the most out of any document set, it is
       valuable to have practiced intelligence analysts, social scientists, trans-




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       lators, and military personnel with battlefield experience. This argues
       for carefully building analytic teams for document exploitation.

       Implications for Policy
       Any strategy against the Islamic State will require multiple lines of
       effort. Here we describe how our findings about AQI and ISI relate to
       four issues: organization and territorial control, countering the Islamic
       State’s fighters, compensation policies, and financial policies.
       Organization and Territorial Control
       ISI’s organization mirrored that of traditional, legitimate states and
       organizations in many respects, even if the group’s ideas about ter-
       ritory and statehood, the rights of citizenship, and the provision of
       public goods were quite different from those of legitimate states. The
       combination of cognitive constraints on leadership, high turnover from
       warfighting, efforts to establish state-like services, and problems within
       the organization regarding the translation of management intent to
       member operations—the organization’s agency problems—all point
       to great value to the organization in having formalized organizational
       structures and substantial amounts of paperwork and record-keeping.
       This could well apply to any nonstate group striving to establish a state.
       In the case of the Islamic State, the persistence of such structures—and
       their likely extension to affiliates in Libya, Egypt, Afghanistan, and
       elsewhere—creates substantial vulnerabilities.
             In particular, the resulting documents create vulnerabilities
       as soon as a group faces an enemy whose military forces cannot be
       excluded from its territory. These documents reveal the group’s size, its
       specific personnel, its sources of revenue, and its overall strategy—all
       information useful for combating it. Thus, when the Islamic State, or
       any similarly sized group, faces a highly competent military force, all
       the things it does to organize well become a vulnerability.
             Exploiting the intelligence vulnerabilities of such an actor as the
       Islamic State requires substantial effort to fuse intelligence collection
       and analysis with counterterrorism and counterinsurgency operations.
       U.S.-led coalition forces were able to do this successfully from 2006
       to 2011, most notably U.S. and British special operations task forces.




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       The commitment of resources to countering AQI and ISI was signifi-
       cant, however, compared with intelligence efforts against most terrorist
       organizations. An effective operational capability that is conducted by
       the current Iraqi security forces, and, in particular, Iraqi special opera-
       tions forces, will require significant capacity-building on the analytical
       side, as well as substantial support from other parts of the U.S. gov-
       ernment interagency community. Specific capabilities include finan-
       cial investigations, which would be supported by the U.S. Department
       of Treasury and other parts of U.S. and coalition intelligence agen-
       cies. Criminal investigative capacity will also be necessary to counter
       Islamic State criminal-like activities, which provide a revenue stream
       and help the Islamic State control the Iraqi population in areas where
       it operates. Support from the U.S. Federal Bureau of Investigation and
       the U.S. Drug Enforcement Administration, or similar agencies from
       other countries, to the Iraqi government could help a great deal. On
       the intelligence-collection side, the vulnerability that stems from run-
       ning a highly bureaucratic state suggests that when members of the
       group are targeted for capture, emphasis should not only be put on the
       leadership but also on personnel who maintain and store records, such
       as administrative emirs.
             As with any state, the Islamic State has specific leaders. The his-
       tory of operations against ISI shows that targeting leaders of its func-
       tional areas is one effective aspect of combating the group. In addition,
       the very threat of targeting at any level pushes the group underground
       and makes coordinating actions more difficult. However, the group’s
       records show that it establishes a deep bench of personnel, so that
       attacking individual leaders alone will not lead to the Islamic State’s
       destruction. Therefore, any counterpersonnel strategy should focus on
       eliminating entire layers of high-level and midlevel managers, such as
       an administrative emir and his administrative committee.
       Countering the Islamic State’s Fighters
       Just as its predecessor did, the Islamic State draws its personnel from
       a diverse array of nationalities. Although no one, except, perhaps, the
       Islamic State’s top leaders, has a precise estimate of the group’s size,
       Islamic State membership has been estimated at anywhere from 9,000




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       to 200,000 throughout 2014 and 2015. In September 2014, a Central
       Intelligence Agency spokesperson said that the group had an estimated
       20,000 to 31,500 fighters, and that about 15,000 foreign fighters from
       80 countries, including 2,000 Westerners, had gone to Syria.2 By early
       2015, the U.S. intelligence community estimated that 20,000 foreign
       fighters from 90 countries have flowed into Syria since 2011, and more
       than 3,400 fighters from Western countries have gone to Syria and
       Iraq.3 Many have joined the Islamic State.
             Since 2012, the operating environment and the mission for ISI
       have dramatically changed, and it has rebalanced its activities to
       more-traditional military operations, using small arms, artillery, and
       maneuver in numbers. Under the new scale of operations, Iraqi and
       Syrian recruits appear to be playing an active role in planning and
       leading military operations because the Iraqi members are more edu-
       cated and have more experience with traditional military affairs from
       their time in Saddam Hussein’s military. Even with this reliance on
       local members, characteristic of other periods during the group’s his-
       tory, the Islamic State has a continuing need and use for foreigners.
       Furthermore, the combination of an ideological commitment to the
       pursuit of an Islamic caliphate and the group’s sophisticated infor-
       mation operations—designed to attract young Muslims worldwide—
       suggests that the Islamic State will continue to attract foreign fighters.
             The Islamic State’s use of foreigners is a grave concern to Western
       policymakers and security services. Assuming that the Islamic State
       has continued to train foreigners in the manner that ISI did, it has
       probably developed a group of trained and hardened foreign fighters
       with unconventional skills that the Islamic State could direct against
       countries across and outside the Middle East. Therefore, greater effort
       will need to be dedicated to stopping the flow of foreign fighters. Exist-

       2  Eyder Peralta, “CIA Doubles Its Estimate of Islamic State Fighters in Iraq and Syria,”
       NPR.org, September 11, 2014; Mario Trujillo, “CIA: ISIS Has 20,000 to 31,500 Fighters,”
       The Hill, September 11, 2014; Jim Sciutto, Jamie Crawford, and Chelsea J. Carter, “ISIS Can
       ‘Muster’ Between 20,000 and 31,500 Fighters, CIA Says,” CNN.com, September 12, 2014.
       3  James R. Clapper, “Opening Statement to Worldwide Threat Assessment Hearing,”
       Senate Armed Services Committee, Washington, D.C.: Office of the Director of National
       Intelligence, February 26, 2015.




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       ing efforts are clearly not working well: Foreign fighters are still flow-
       ing into Iraq and Syria at alarming rates, and the Islamic State has
       been linked to terrorist attacks in multiple countries outside the region.
       A European returnee from the Islamic State’s operations in Syria was
       a key organizer of the attacks in Paris in November 2015.4 Several
       enhanced efforts are needed. The first is enhancing border controls in
       transit countries—Turkey, most especially. The second is more effec-
       tively scrutinizing potential members from source countries. For liberal
       democracies, this will require difficult considerations about the trade-
       offs involved in balancing security concerns and the protection of civil
       liberties. Limiting the number of people who travel to the territory of
       the Islamic State also means stopping people from getting firsthand
       training and becoming integrated directly into fighter facilitation net-
       works. Both of these efforts will be enhanced by a third effort: greater
       information-sharing among intelligence and law-enforcement organi-
       zations, both within and across countries. Here again, civil liberties
       requirements and values will need to be honored. However, it is likely
       that more sharing can take place because of various stovepipes among
       agencies that have not been fully overcome.
       Taking Advantage of Compensation Policies
       One of the biggest unknowns about the current structure of the Islamic
       State is how well it compensates its members. Reports on Islamic State
       compensation are frequently contradictory, and it is often difficult
       to validate or invalidate the reliability of the sources on which these
       reports are based. For example, numerous reports in the months after
       the group conquered Mosul indicated that the Islamic State paid sala-
       ries ranging from $400 to $1,000 per month. If true, this would be a
       dramatic break from the group’s previous practices. However, evidence
       broadcast by the BBC in 2015 suggests that, in actuality, as with other
       practices, compensation has remained pretty much the same as it was
       under ISI. Salaries cited include $65 per month for a local fighter, an
       additional $43 for a wife, and $22 for each child, with foreign fighters


       4 Andrew Higgins and Kimiko de Freytas-Tamuranov, “Paris Attacks Suspect Killed in
       Shootout Had Plotted Terror for 11 Months,” New York Times, November 19, 2015.




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       receiving not a wage but food and housing. These sums are in line with
       what fighters received in Anbar in 2005 to 2006 and Mosul in 2008,
       adjusting somewhat for inflation.
             This suggests that many fighters are not necessarily living well,
       and that the group is largely able to maintain morale through appeals
       to ideology, through victories, and through intimidation. When ISI
       was under great pressure, it missed or delayed salary payments. We
       recognize that there is great uncertainty at this point regarding sala-
       ries, but if we are right, this fact also suggests that causing a cutoff of
       salaries could harm morale, as could demonstrations that some lead-
       ers are receiving bonuses or are living extravagantly, ignoring Islamic
       State rules and ideology. This argues for a more active counterfinance
       strategy.
       Countering Finances
       As it did throughout the period of 2005 to 2010, the Islamic State
       today raises money through what can be characterized largely as crimi-
       nal activities. Money-raising activities include oil-smuggling, sales of
       stolen goods, extortion, taxation, sales of looted antiquities, kidnap-
       ping for ransom, and even for a time taking a cut of the money that the
       Iraqi government sent to its employees in Islamic State territory. Dona-
       tions appear to constitute only a small portion of revenues. And that is
       the key point: What has characterized the group throughout its history
       and what appears to characterize the group today is that it places a
       premium on local fundraising because that gives it maximum control.
       Local fundraising also allows the group to look more like a state. The
       group’s taxation activities, including road tolls and export and import
       taxes, resemble what any state might do.
             The Islamic State’s internal fundraising capabilities mean that
       halting financial flows will likely remain challenging. But there are
       steps that the United States and coalition partners can take. Oil-
       smuggling has been dealt a blow by the coalition’s destruction of oil
       infrastructure and the recapture of some oil fields, but it still brings
       in considerable revenue. In addition, the Islamic State controls other
       resources, including gas fields and phosphate mines.




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             Moving resources—such as oil, refined oil products, phosphates,
       or even antiquities—requires intermediaries and transport. To broaden
       the fight against such revenues, the coalition will need to identify the
       intermediaries and end purchasers and either target them or sanction
       them and their financial institutions. It is unlikely that the Islamic
       State is using formal financial institutions, but somewhere along the
       sales chain, a formal financial institution might be involved. Sanction-
       ing intermediaries would mean blocking their access to the formal
       financial system and requiring formal financial institutions not to deal
       with them. Sanctioning a formal financial institution will cut that
       institution off from the international financial system. Such sanctions
       have been effective in the past, and, in this case, the United States
       should cast a wider net.
             As for transport, oil, in particular, must move by trucks from
       Islamic State territory. These trucks will load at an oil field and, for
       larger trucks, will have to take specific roads. Given the amount of
       money the Islamic State is reportedly raising from oil sales, the coali-
       tion should elevate efforts to interdict oil transport. This could involve
       destroying loading points; destroying road entrances to oil fields or
       loading points; destroying the trucks themselves; or sending a very
       strong signal, backed with action, that driving an oil truck would be
       an extraordinarily risky occupation.
             Finally, it may be the case that politicians or government officials—
       even of the anti–Islamic State coalition—are complicit in the oil trade.
       Any oil truck leaving Islamic State territory must pass through check-
       points or border crossings and should be noticed or recorded. Further
       investigation into how such trucks are able to get through checkpoints
       is merited, and the coalition should further address official complicity
       in the trade.
             There may be little that the coalition can do regarding other
       Islamic State funding sources, or, in some cases, stopping such sources
       could have consequences that are negative for the counter–Islamic
       State effort. For example, the Islamic State’s siphoning of potentially
       hundreds of millions of dollars per year from the salaries that the
       Iraqi government paid to its idled employees in Islamic State territory
       put the government in a bind. Ending payments to employees effec-



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       tively cut off money to the Islamic State. But that also contributed to a
       humanitarian problem, and it could have given the Islamic State a pro-
       paganda victory. The group could tell the largely Sunni recipients that
       the largely Shia government in Baghdad is abandoning them and that
       the Islamic State is their only alternative. Should the Iraqi government
       continue the payments, it would thereby fund the Islamic State’s war
       effort. Likewise, short of conquering the territory that the Islamic State
       now holds, halting the group’s taxation schemes would be extremely
       challenging.

       Political Reconciliation as the Final Requirement
       Local and regional military forces are taking the fight directly to the
       Islamic State. But these forces will need to become more effective if
       they are to defeat it. There is some question as to whether they could
       become effective enough to defeat the Islamic State even if Iraq receives
       substantially more foreign military assistance. As a result, there have
       been calls for the United States to provide resources to extragovern-
       mental forces by going around the Iraqi government, as well as calls
       for the commitment of U.S. ground forces. Even if the effectiveness of
       Iraqi security forces increases, however, military action may be neces-
       sary but insufficient to defeat the Islamic State.
             Any successful effort to defeat the Islamic State will need to
       involve a political accommodation in which Sunni communities feel
       that they have a reasonably secure future in both Iraq and Syria. The
       Islamic State draws support, or at least grudging acceptance, from
       aggrieved Sunnis in both countries. In some ways, the Islamic State is
       testing the limits to which any government can rule with brutality and
       without some degree of popular support. Discontent and rebellion have
       been met with extreme brutality, such as when the Islamic State massa-
       cred about 600 members of the Albu Nimr tribe in Anbar governorate,
       Iraq, in October 2014. But this resistance has continued in a variety of
       forms, including a clandestine assassination campaign against Islamic
       State personnel in Mosul in the summer of 2015. These Islamic State
       opponents will need to be essential in any effort to defeat the Islamic
       State and to ensure that the group does not reemerge as it did in 2013
       and 2014. Historically, the group raised money in ways that created



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       friction with local Sunni elites. Moreover, the way it managed human
       resources and finances reflected an organization that lacked internal
       cohesion and did not fully trust its operatives. This suggests that exter-
       nal support for the group can be peeled off and that the group is sub-
       ject to some degree of internal fracture. Although there is little chance
       that the Sunnis in Iraq, in particular, can ever return to the political
       dominance they enjoyed before the U.S.-led coalition invasion of 2003,
       some measure of political accommodation will be necessary to turn
       the Sunnis against the Islamic State. Without doing so, defeating the
       group will remain a distant goal.
             All of this suggests that defeating the Islamic State will require
       persistence. One of the as yet unanswered questions is the staying power
       of the Islamic State. What happens if the Islamic State maintains its
       current level of threat and level of territorial control for several years,
       if not longer? A related question is whether the Islamic State is finan-
       cially sustainable if current battle conditions are sustained indefinitely.
       So far, every indication suggests that it is: Just one year after declaring
       the caliphate, the Islamic State had more fighters and more territory,
       and the group may well have enough money to sustain its operations
       for years. Despite this, the record of counter-ISI operations from 2006
       through 2010 shows that military action and political accommodation
       can work together to degrade the group substantially, if not defeat it. It
       is incumbent on regional leaders—with international help—to make
       that possible.




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       CHAPTER ONE

       Introduction




       Although U.S. and allied coalition forces easily overthrew the govern-
       ment of Saddam Hussein in Iraq in 2003, a vicious insurgency soon
       developed, and the most vicious insurgent was a Sunni Muslim Jor-
       danian named Abu Mus‘ab al-Zarqawi. He aimed not only to expel
       the Americans and exterminate Shia Muslims—the majority of the
       Iraqi population—but to do this with the goal of establishing a Sunni
       Islamic government and spreading it into neighboring countries.1
             Al-Zarqawi did not to live to see the results—an American attack
       killed him in the summer of 2006. But in October of that year, his
       group, the Base of Jihad in the Land of the Two Rivers, better known
       as al-Qa‘ida in Iraq (AQI), led its allies in declaring a new entity, the
       Islamic State of Iraq (ISI).2 Fewer than three months later, in early Jan-
       uary 2007, the group’s media wing released a document titled Inform-
       ing the People About the Birth of the Islamic State of Iraq.3 In it, the
       author drew parallels between the new ISI and the proto-state estab-

       1  “The Al-Zarqawi Beliefs: ‘Allah Has Permitted Us to Repay Them in Kind,’” Irish Times,
       September 24, 2004; Abu Mus‘ab al-Zarqawi, “Zarqawi Letter: February 2004 Coalition
       Provisional Authority English Translation of Terrorist Musab al Zarqawi Letter Obtained
       by United States Government in Iraq,” U.S. Department of State, 2004.
       2   “The Base of Jihad” is a literal translation of the official full name of al-Qa‘ida, Qa‘idat
       al-Jihad, adopted after the 2001 merger of al-Qa‘ida and the Egyptian Islamic Jihad Group.
       Note that the Iraqi group (AQI) sometimes used an alternate name, al-Qa‘ida Organization
       in the Land of the Two Rivers. Both formal AQI names avoided the use of the name Iraq.
       3  Our description of this book and its contents draws from Brian Fishman, Fourth Genera-
       tion Governance—Sheikh Tamimi Defends the Islamic State of Iraq, West Point, N.Y.: Com-
       bating Terrorism Center, West Point, March 23, 2007.



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       lished by the Muslim prophet Muhammad when he fled from Mecca
       to Medina in the seventh century. These parallels immediately empha-
       sized that the group was authentically Muslim, without the accretion
       of interpretation and innovation that the group claimed had crept into
       Islam since the religion’s founding.
             The author emphasized that ISI was different from a modern
       state: Its territory would not be well defined but would extend any-
       where it could hold by force of arms, and all people within that terri-
       tory would swear allegiance to the emir, the leader. The group might
       not provide the same services as a modern state, but it would improve
       both the religious and worldly conditions of its citizens, with specific
       services, including judicial processes, dispute resolution, collection of
       the Islamically required charity (zakat), the freeing of prisoners, and
       support for families of people killed in the group’s service.4
             The world now faces a seemingly new foe: the Islamic State, a
       violent group that rules territory in Iraq and Syria and has affiliates in
       territories that it has declared to be its provinces, or wilayat, around the
       greater Middle East. The group has displaced hundreds of thousands of
       people, enslaved others, beheaded still others, and claims to be the rees-
       tablishment of the Islamic caliphate grounded in early Islamic history.5
             There is a clear line of descent from the AQI of 2004–2006, to
       the ISI of 2006–2013, to today’s Islamic State. ISI was routed from
       most of Iraq by a combination of coalition forces, led by the United
       States, under the command of Multi-National Force–Iraq (MNF-I);
       local Sunni militias; and Iraqi security forces (ISF), particularly Iraqi
       Army units, from mid-2006 through early 2009. The group withdrew
       into a limited terrorist campaign in northern Iraq and maintained a
       supporting network in the Mosul area of Ninewa governorate that
       resembled a ruthlessly violent and effective organized-crime syndicate.

       4   Fishman, 2007, p. 7.
       5   As explained more fully below, the Islamic State is also referred to as ISIS, for the Islamic
       State of Iraq and al-Sham or the Islamic State of Iraq and Syria; ISIL, for the Islamic State
       of Iraq and the Levant; or Daesh or Da‘ish, an abbreviation of the Arabic for both names, al-
       Dawla al-Islamiyya fi al-‘Iraq wa al-Sham. We refer to the group as the Islamic State, for ease
       of exposition and to reflect its expansive goals. In accordance with the rest of the world, we
       do not recognize it as an actual state, although it does conduct a variety of statelike activities.




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       As ISI developed this infrastructure, the United States was winnow-
       ing its military presence in Iraq in preparation for a full withdrawal in
       December 2011. Meanwhile, a bloody civil war in Syria broke out and
       divided much of the population and the armed groups, which formed
       along sectarian lines.
             Leaders in ISI quietly sent fighters into Syria in 2011 to fight
       covertly under the alias of Jabhat al-Nusrah. Differences of opinion
       over strategy, tactics, and goals led to a split with the Jabhat al-Nusrah
       leadership, and ISI, in April 2013, began fighting directly under its own
       banner in Syria and changed its name to the Islamic State in Iraq and
       al-Sham (ISIS, also known as the Islamic State of Iraq and Syria, or the
       Islamic State of Iraq and the Levant [ISIL]). Following extensive anti-
       government protests in Iraq’s Anbar governorate, from January 2013
       to December 2013, which were met by an aggressive Iraqi government
       response, ISIL expanded in Iraq in force with the support of some local
       political organizations—including many of the same tribal organiza-
       tions that had fought against it in 2006—and quickly overwhelmed
       Iraqi Army outposts in Fallujah and other cities. In June 2014, follow-
       ing the retreat of the Iraqi Army from Mosul and the group’s conquest
       of that city, the group renamed itself the Islamic State and proclaimed
       a caliphate with the Islamic State leader Abu Bakr al-Baghdadi as the
       caliph of all Muslims.6
             This report presents a comprehensive overview of the predecessors
       of the Islamic State, AQI and ISI, from 2005 to 2010, analyzing their
       organization and mechanisms of territorial control, their human capi-
       tal policies, their compensation practices and career paths, and their
       financial practices. Research was substantially completed in 2014, with
       selected updates made in 2015.
             There are two notable aspects to this report: an analysis of the
       group’s internal documents and a historical recounting that reveals
       enormous detail relevant to the group of today.



       6  For a useful overview, see Cole Bunzel, From Paper State to Caliphate: The Ideology of
       the Islamic State, Washington, D.C.: Brookings Institution, U.S. Relations with the Islamic
       World, Center for Middle East Public Policy, Analysis Paper No. 19, March 2015.




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       The Group’s Own Words

       First, the report provides an analysis of the Islamic State predecessors,
       based on more than 140 of their own internal documents, captured
       and found throughout Iraq.7 Documents captured by U.S. and Iraqi
       forces during the Iraq War offer a unique opportunity to understand
       the organization. These documents went into the U.S. Department of
       Defense’s Harmony database. For this report, we identified useful doc-
       uments and worked with the Combating Terrorism Center (CTC) at
       West Point to declassify them, providing a window into how ISI orga-
       nized, operated, and financed itself. CTC has posted documents on
       its Harmony Program website, making them available to analysts and
       researchers worldwide.8 In addition, a CTC report presents an over-
       view of what the documents reveal about ISI.9
             For example, the documents show that even as early as the 2005
       to 2006 period, the group was highly organized and bureaucratic.
       It also expected members to take religious obligation seriously. But
       during this period, when the Islamic State was still largely clandestine,
       it valued a lower profile, as this document captured in western Anbar
       governorate shows:

             In the name of God the merciful and the compassionate

             Some instructions to the beloved brothers, we expect compliance
             with it, those who fail will be held accountable.



       7   We have chosen to use the translations produced by linguists supporting U.S. and coali-
       tion forces during the Iraq war—even when these translations are sometimes difficult to
       fully understand—for two reasons. First, it will give the reader a sense of what U.S. analysts
       had to work with to understand AQI and ISI during the war. Second, many of the docu-
       ments were hard to comprehend in the original language, and in some cases it would be dif-
       ficult to improve on even a spotty translation.
       8  These documents are accessible online. See “ISIL, Syria and Iraq Resources,” database of
       declassified documents, Combating Terrorism Center, 2015.
       9  Danielle F. Jung, Jacob N. Shapiro, Jon Wallace, and Pat Ryan, Managing a Transnational
       Insurgency: The Islamic State in Iraq’s “Paper Trail,” 2005–2010, West Point, N.Y.: Combat-
       ing Terrorism Center, West Point, 2014.




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             1- All problems should be addressed to the Amir according to the
             chronology; problems should not be discussed in public in front
             of people.

             2- Speed limit in villages should be 50; while in public roads
             should not exceed 120.10

             3- Vehicle driver is the person in charge in terms of cleaning and
             maintenance.

             4- Emphasis on group prayer and remembrance [morning and
             evening] and to follow the norms for the cause of victory.

             5- Sleeping after dawn’s prayer is strictly forbidden, this period
             should be utilized to recite the Quran and remembrance and then
             to start their work.

             6- Security procedure should be followed; weapons must be con-
             cealed and should not be exposed in public, appearance in public
             place for no reason is forbidden.11


       Continuity

       The second notable aspect is that our analysis of the Islamic State’s
       predecessor groups is more than a historical recounting. This report
       provides enormous detail on the group of today. As with any organiza-
       tion, certain characteristics concerning how the organization is run are
       likely very slow to change, including organizational culture, person-
       nel policies, and administrative structure. Understanding the starting
       point is thus valuable for understanding the Islamic State. One would
       not expect the leadership to adopt an entirely new mode of organiza-
       tion upon moving into Syria and then expanding in Iraq. Under the
       old model, the organization fought quite well against the U.S. and
       Iraqi armies and the Iraqi population for more than four years (from

       10 Presumably, this was in terms of kilometers per hour.

       11 Harmony document MNFA-2007-000566; see “ISIL, Syria and Iraq Resources,” 2015.




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       2004 to 2008), maintained its internal cohesion and plotted its come-
       back during subsequent years of reduced activity (through 2012), and
       then claimed jurisdiction over Syria and Iraq as the group declared
       itself ISIS (in April 2013). It makes little sense to expect the group to
       suddenly abandon a model that had served it so well.
              Many Islamic State leaders were prominent in ISI, including the
       Islamic State leader Abu Bakr al-Baghdadi, who took over ISI in May
       2010, after serving on the group’s governing council, known as the
       shura council. We believe that al-Baghdadi also appears in a personnel-
       tracking spreadsheet from Mosul in 2009 under his previous nom de
       guerre, Abu Du‘a, and was listed in another document as the emir,
       or top leader, of ISI’s Mosul sector, which was then, as now, its most
       important sector in Iraq. Five other prominent Islamic State leaders
       also appear in the same tracking sheet: Abu Louay, also known as Abu
       Ali and Abdul Wahid Khutnayer Ahma; Abu Mohamed, also known
       as Bashar Ismail al-Hamdani; Abu Nabil, also known as Wissam Abed
       Zaid al-Zubeidi; Abu Abdul Salem, also known as Abu Mohammed
       al-Sweidawi; and Abu Maysara, also known as Ahmed Abdul Kader
       al-Jazza.12


       The Plan of This Report
       This report uses a sample of more than 140 documents from AQI and
       its successor, ISI, from 2005 to 2010, to study five aspects of the mili-
       tant organization:

           1.   organization, territorial aspirations, and management
           2.   human capital
           3.   compensation
           4.   career paths
           5.   financing.




       12 Harmony document NMEC-2009-633789; see “ISIL, Syria and Iraq Resources,” 2015.




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             The lessons we draw have both practical and academic implica-
       tions. On the policy side, the Islamic State is one of the largest current
       threats to stability in the Middle East. A great deal of evidence suggests
       that the Islamic State shares most of the management practices and
       organizational techniques of AQI and ISI.13 The report thus provides
       valuable insights to policymakers tasked with constructing strategies
       to counter the Islamic State and to analysts seeking to understand the
       conditions under which the Islamic State might achieve its goals.
             On the academic side, the Islamic State and its predecessor orga-
       nizations are one example of an increasingly important class of militant
       organization: those that exploit disorder within one country to advance
       territorial goals supported by transnational personnel or resource flows.
       By outlining the organizational challenges these groups faced and solu-
       tions they adopted, this report helps delineate the conditions under
       which they can operate and survive.
             We show that ISI was a vertically integrated organization that
       followed what is known in the management literature as an “M-form”
       (multidivisional form) hierarchy, in which a central management struc-
       ture with functional bureaus is replicated at multiple lower geographic
       levels.14 In organizations of this type, each geographic unit has sub-
       stantial autonomy, and differences between them—such as adjudicat-
       ing disputes over resources—are handled by the central organization.15

       13 Gregor Aisch, Joe Burgess, C. J. Chivers, Alicia Parlapiano, Sergio Peçanha, Archie Tse,
       Derek Watkins, and Karen Yourish, “How ISIS Works,” New York Times, September 15,
       2014; Patrick B. Johnston and Benjamin Bahney, “Hitting ISIS Where It Hurts: Disrupt
       ISIS’s Cash Flow in Iraq,” New York Times, August 13, 2014b; and Hannah Allam, “Records
       Show How Iraqi Extremists Withstood U.S. Anti-Terror Efforts,” McClatchy News, June 23,
       2014.
       14 For more on the M-forms, see Alfred D. Chandler, Strategy and Structure: Chapters in
       the History of the American Industrial Enterprise, Cambridge, Mass.: MIT Press, 1969; and
       Oliver E. Williamson, Markets and Hierarchies: Analysis and Antitrust Implications, New
       York: Free Press, 1975. An example of these organizational models applied to insurgent
       groups is Patrick B. Johnston, “The Geography of Insurgent Organization and Its Conse-
       quences for Civil Wars: Evidence from Liberia and Sierra Leone,” Security Studies, Vol. 17,
       No. 1, 2008.
       15 Bahney, Shatz, et al. provide a view of AQI’s management practices in Anbar gover-
       norate in 2007 (Benjamin Bahney, Howard J. Shatz, Carroll Ganier, Renny McPherson,




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             Within this structure,

           • In its original form as AQI, ISI adopted a bureaucratic model that
             looked remarkably similar to the ideal structure al-Qa‘ida opera-
             tives described, but ISI replicated that structure at local levels to
             implement broad organizational control.
           • By 2008, ISI had subdivided Iraq into specific sectors but was
             struggling to fill its design at the subnational level with personnel;
             roughly 30 percent of its sectors lacked the desired administrative
             personnel.
           • ISI allocated human capital rationally, with the suicide-bomber
             corps dominated by foreigners (who were more likely than Iraqis
             to be fanatical believers in the group’s religious ideology) and with
             intelligence and security personnel (where local knowledge was
             critical) dominated by its Iraqi members. However, the majority
             of foreign fighters were not suicide bombers. ISI vetted the for-
             eigners upon entering Iraq and had them fill specific tactical and
             administrative roles as well.
           • The salaries and other compensation ISI paid to its members
             appear to have been designed for an environment where labor was
             plentiful and the organization needed to recruit loyal members
             and screen out opportunists. Yet even with such a screening pro-
             cess in place, its leadership faced substantial challenges managing
             trust within its ranks.
           • ISI’s monthly payroll consistently consumed the largest single
             portion of its revenues.
           • There was significant personnel mobility within ISI. Turnover
             was high, and the group frequently reassigned members to differ-
             ent military units or back-office positions on an as-needed basis.



       and Barbara Sude, An Economic Analysis of the Financial Records of al-Qa‘ ida in Iraq, Santa
       Monica, Calif.: RAND Corporation, MG-1026-OSD, 2010). Shapiro analyzes a sample of
       documents from one part of AQI, with a focus on highlighting the group’s managerial prac-
       tices. See Jacob N. Shapiro, The Terrorist’s Dilemma: Managing Violent Covert Organizations,
       Princeton, N.J.: Princeton University Press, 2013.




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         • ISI fundraising aimed to raise money locally, largely from crimi-
           nal activities but also partly from activities that resembled state
           action, such as taxation. As with the present-day Islamic State,
           ISI demonstrated sophisticated financial management, efficiently
           reallocating money within governorates and throughout Iraq to
           support organizational objectives.
         • ISI leadership sought substantial oversight of the group’s finances
           and put in place detailed record-keeping requirements for track-
           ing and auditing purposes.

             The remainder of this report proceeds as follows: Chapter Two
       provides an overview of the insurgent environment in Iraq from 2005
       to 2010, with a particular focus on conditions in the governorates for
       which we have ISI documents. Chapter Three offers an overview of the
       organizational economics of insurgency and terrorism, discussing the
       management challenges for ISI and laying out expectations for what
       we will see in subsequent chapters. Chapter Four shows how ISI was
       organized and shares details of its plans for a state within the territory
       of Iraq. Chapter Five outlines the human capital of ISI members. The
       chapter provides strong evidence that ISI members were drawn from
       populations with outside opportunities for work; a lack of options for
       employment was not the reason members joined. Chapter Six analyzes
       ISI’s compensation practices, with a view toward assessing relations
       between management and operatives. Chapter Seven tracks the career
       trajectories of a subset of ISI members and builds on Chapter Six by
       showing how compensation for specific members changed over time.
       Chapter Eight assesses ISI financing practices at the governorate and
       subgovernorate levels, mostly in Anbar governorate, from 2005 to
       2006, and in Ninewa governorate, from 2008 to 2009. Chapter Nine
       expands on the treatment of finances by discussing the organization’s
       general treasury at the top level and reallocation across governorates,
       as well as specific financial control practices. Chapter Ten concludes
       with implications for policymakers responsible for combating terror-
       ist and insurgent groups, including the group calling itself the Islamic
       State, which now controls parts of Syria and Iraq, as well as for analysts
       of terrorism and insurgency. Appendix A discusses the challenges of




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       analyzing captured documents, known as document exploitation, and
       the specific documents used in this report. Appendix B provides two
       examples of other research efforts on covert and clandestine organiza-
       tions. Appendix C provides the list of documents from which we drew
       salary data.




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       CHAPTER TWO

       The Islamic State of Iraq and the Iraq War




       The Salafi-jihadi organization ISI evolved from AQI, officially formed
       by al-Zarqawi in October 2004. ISI was Salafi in that it adhered to
       an ideological strain in Sunni Islam that seeks to emulate, as purer,
       the thinking and practices of the prophet Muhammad and the earli-
       est generations of Muslims. It was jihadi in that it believed that violent
       struggle against non-Muslims and Muslims it judged to be apostate is
       an important religious duty. Although ISI originated as one of many
       Sunni insurgent groups operating throughout Iraq in the wake of the
       invasion by coalition forces in March 2003, the group rapidly increased
       its capability and influence from 2004 through 2005 and emerged as
       the dominant insurgent organization operating in the country by early
       2006. Composed of both foreign fighters and local Iraqis, ISI had a
       relatively hierarchical command structure, complex and bureaucratic
       administrative processes, and diverse sources of funding.
             The group actually went by two subtly different names: the Islamic
       State of Iraq and the Islamic State in Iraq. The of Iraq group was meant
       to be a haven for Iraq’s Sunnis as the Kurdish population in the north-
       east achieved greater autonomy and the Shia population in the center
       and south solidified control in territories where it held the majority. The
       in Iraq group was meant to serve as a state for all Muslims (or at least
       those considered Muslims by the group’s leaders, which would exclude
       the Shia), regardless of modern borders: “On balance, the Islamic ele-




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       ment prevailed over the Iraqi in the group’s propaganda, even though
       the Islamic State of Iraq remained the more official name.”1
             This chapter provides the background and context for our analysis
       of ISI. The chapter begins by reviewing the broad trends in the conflict:
       putting the formation of the Iraqi insurgency in context, highlighting
       the rise of ISI, and outlining the formation of the anti-ISI Awakening
       movement. We discuss the relevant socioeconomic conditions in Iraq,
       which affected ISI’s organizational structure and financing activities.
       The chapter concludes with a detailed examination of the operational
       environment in the four governorates for which we have substantive
       documents and data—Anbar, Diyala, Salah al-Din, and Ninewa. This
       discussion focuses on variations across time and space that help to put
       our data in context by explaining the operational constraints the group
       was under throughout the course of the conflict.
             Throughout this chapter, we refer to the group as ISI for pur-
       poses of clarity, although we occasionally refer to the group as AQI
       for events before the time it became ISI, if we believe that would
       improve clarity. It is important to note that the group’s original core
       of foreign fighters and leadership came from al-Zarqawi’s group
       Jama’at al-Tawhid wal-Jihad, which was formed in Jordan in the late
       1990s. ISI operated under several different names during the course
       of its insurgency in Iraq, such as Jama’at al-Tawhid wal-Jihad, AQI,
       and the Mujahidin Shura Council (MSC).


       The Iraq War

       After the United States and its partners that composed the coalition
       forces invaded Iraq in March 2003 and deposed Saddam Hussein’s
       government in April, a power vacuum rapidly emerged. Several ana-
       lysts assert that this created a “security dilemma” dynamic, which
       pitted three groups loosely aligned around ethnosectarian identities

       1  This paragraph is drawn from Bunzel, 2015. The final quotation is from p. 18. Through-
       out this report, we refer to the group as the Islamic State of Iraq because when the group’s
       names appear on the documents we use, it usually appears as Dawlah al-‘Iraq al-Islamiyya,
       or Islamic State of Iraq.




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       against each other to achieve political control—Sunni Arabs, Shia
       Arabs, and Kurds.2 The Sunnis, who ultimately lost the most in the
       wake of the coalition invasion, came to form the core of an insurgency
       that included an “amalgam of former Baathists, nationalists, Salafi
       jihadists, and criminals.”3 Although Sunnis represented a minority
       in terms of Iraq’s population, they had enjoyed near-exclusive politi-
       cal control for decades.4 U.S.-led decisions to disband the Iraqi Army,
       enact far-reaching laws barring members of Saddam Hussein’s Ba‘ath
       party from participation in the military or government (known as de-
       Ba‘athification), and reshape Iraq’s government as a democracy over-
       turned this system, giving the majority Shia population the dominant
       position in the national government.5 In addition, the Kurdish minor-
       ity was given an increased role in the political process, gaining status
       as the “kingmaker” at the national level and solidifying its de facto
       autonomy in much of northern Iraq.6
             A multitude of Sunni insurgent groups, including ISI, rapidly
       took advantage of the Sunni population’s political dispossession to
       mobilize large portions of the Sunni population against the coalition
       forces and the Iraqi government. Some commentators have described
       the early period of the insurgency in 2004 and 2005 as a “composite
       insurgency” that had no discernible leadership.7 These militant groups

       2  For more on the security dilemma, see Barry Posen, “The Security Dilemma and Ethnic
       Conflict,” Survival, Vol. 35, No. 1, Spring 1993. See also James Fearon, “Iraq’s Civil War,”
       Foreign Affairs, Vol. 86, No. 2, March/April 2007; and Chaim Kaufmann, “A Security
       Dilemma: Ethnic Partitioning in Iraq,” Harvard International Review, Vol. 28, No. 4, 2007.
       3   Bahney, Shatz, et al., 2010.
       4 Michael Eisenstadt and Jeffrey White, Assessing Iraq’s Sunni Arab Insurgency, Washington,
       D.C.: Washington Institute for Near East Policy, Policy Focus No. 50, December 2005.
       5   See Dale C. Kuehl, Unfinished Business: The Sons of Iraq and Political Reconciliation, Car-
       lisle, Pa.: U.S. Army War College, Strategy Research Paper, March 2010; and M. J. Kirdar,
       Al Qaeda in Iraq, Washington, D.C.: Center for Strategic and International Studies, AQAM
       Futures Project Case Study Series, June 2011.
       6   Kuehl, 2010.
       7  Eisenstadt and White, 2005; and Seth Jones and Martin Libicki, How Terrorist Groups
       End: Lessons for Countering al Qa‘ ida, Santa Monica, Calif.: RAND Corporation, MG-
       741-1-RC, 2008.




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       built their interactions on a “loose network of deep-seated familial,
       tribal, and local loyalties.”8 However, over the course of the first two
       years, the Saddam loyalists rapidly lost influence and more-extreme,
       Salafi-jihadist elements of the insurgency began to assert greater con-
       trol. The broader movement came to be dominated by a few large Salafi
       groups, especially ISI.9
             The predecessor to ISI, AQI, was officially formed in October
       2004, when Abu Mus‘ab al-Zarqawi aligned his group, Jama’at al-
       Tawhid wal-Jihad, with the larger al-Qa‘ida movement.10 Jama’at al-
       Tawhid wal-Jihad originated in Jordan during the late 1990s and then
       grew significantly in Afghanistan, under the supervision of al-Zarqawi
       and the funding of Usama Bin Ladin.11 The group was composed
       largely of recruits from the greater Levant countries, including Jordan,
       Lebanon, Syria, and the Palestinian territories. It grew to nearly 3,000
       members under al-Zarqawi, before the October 2001 U.S. airstrikes in
       Afghanistan in response to the 9/11 attacks.12 After the U.S. invasion
       of Afghanistan, al-Zarqawi relocated to Iran and then moved again to
       Syria, Lebanon, and, ultimately, northern Iraq, where he formed an alli-
       ance with the Kurdish Islamist group Ansar al-Islam.13 While in Iraq,
       however, al-Zarqawi traveled frequently throughout the Sunni Trian-
       gle area around Baghdad, deepening his network, recruiting fighters,
       and establishing bases.14 Al-Zarqawi’s expansion of his weapon- and
       fighter-smuggling networks made him the default conduit for most, if
       not all, foreign fighters flowing into Iraq in anticipation of the U.S.-led


       8    Bahney, Shatz, et al., 2010, p. 13.
       9 International Crisis Group, In Their Own Words: Reading the Iraqi Insurgency, Amman,
       Middle East Report No. 50, 2006.
       10 Kirdar, 2011.

       11 Kirdar, 2011.

       12 Mary Anne Weaver, “The Short, Violent Life of Abu Musab al-Zarqawi,” The Atlan-
       tic, July/August 2006.
       13 Gary Gambill, “Abu Musab al-Zarqawi: A Biographical Sketch,” Jamestown Terrorism
       Monitor, Vol. 2, No. 24, December 2004; and Weaver, 2006.
       14 Weaver, 2006.




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       invasion. In essence, he became the default emir of Islamist militants
       in Iraq.15
             After the coalition invasion, AQI rapidly emerged as the most
       capable and ruthless militant group operating in Iraq. As Brian Fish-
       man wrote, “AQI was brutal and imperious, but its successful attacks
       against U.S. forces, Shia militias, and the Iraqi government were useful.
       Zarqawi’s attacks . . . were welcomed by other Sunni insurgents.”16
       Al-Zarqawi directed a bloody campaign aimed at weakening coalition
       forces; deterring Iraqi cooperation through attacks on military, govern-
       ment, and tribal leaders who worked with coalition forces; achieving
       a psychological effect through high-profile spectacular attacks, kid-
       nappings, and beheadings; and fomenting sectarian conflict through
       a deliberate campaign that targeted Shia across Iraq.17 Using this
       multipronged strategy, AQI grafted its movement to the rising Sunni
       insurgency, mobilizing large portions of the Sunni population to sup-
       port AQI’s cause and prosecuting a violent campaign against coalition
       forces and ISF.
             AQI initially centered its activities in Anbar governorate, an
       expansive area in the western Iraqi desert and home to a majority-
       Sunni population with a long history of resistance to central govern-
       ment control. Al-Zarqawi based the group in Fallujah, a major city
       nestled along the Euphrates River Valley, which also served as one of
       the main routes for AQI’s expanding foreign-fighter facilitation net-
       work. The group quickly took control of the city through a violent
       campaign of attacks and intimidation, pushing aside the tribal sheiks
       who traditionally ruled throughout the governorate, and maintained a
       sanctuary in the city until coalition forces launched a major operation
       to clear it in November and December 2004.18 After the loss of Fallu-
       jah, the group headquartered its Anbar operations near the provincial

       15 Gambill, 2004.

       16 Brian Fishman, Dysfunction and Decline: Lessons Learned from Inside al-Qa‘ ida in Iraq,
       Harmony Project, West Point, N.Y.: Combating Terrorism Center, March 16, 2009, p. 2.
       17 Kirdar, 2011.

       18 Bing West, No True Glory: A Frontline Account of the Battle for Fallujah, New York:
       Bantam Dell, 2005.




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       capital of Ramadi. One of the primary sets of financial documents ana-
       lyzed in this report was captured in nearby Julaybah, a town just east
       of Ramadi. These records provide a snapshot of the group’s internal
       communications and record keeping from June 2005 through October
       2006.19
             Despite friction with the local Sunni population and other insur-
       gent groups, AQI maintained significant operational capability in
       Anbar, and much of the rest of Iraq, throughout 2006. In parallel to
       the group’s consolidation in Anbar, it established military and admin-
       istrative structures in each of the country’s Sunni-controlled governor-
       ates and Baghdad, the national capital and Iraq’s most populous city.
             Although this report does not focus on ISI’s activities in Baghdad
       specifically, the capital city clearly played a key role in the Iraq war
       and the Sunni insurgency. Home to an ethnically mixed population
       of more than 7 million, and the clear center of national-level politics,
       AQI early on recognized Baghdad as critical to its overall success, and
       it focused increasing attention on the city and its surrounding subur-
       ban “belts,” beginning in 2005.20
             In February 2006, AQI conducted one of its most success-
       ful attacks of the entire conflict, targeting the symbolic al-Askari
       Shrine in Samarra, the third-holiest religious site in Shia Islam.21 As
       al-Zarqawi intended, this attack ignited a wave of sectarian violence
       across the country, especially in Baghdad. Within weeks of the bomb-
       ing, an escalating cycle of tit-for-tat sectarian murders and attacks had
       engulfed the country, making all-out civil war between Sunni and
       Shia groups increasingly likely.22 This sectarian violence continued to

       19 The data include three transactions from November 1, 2006, and one transaction from
       November 2, 2006.
       20 For more on ISI’s strategy and operations in and around Baghdad, see Jennifer Griffin,
       “Zarqawi Map Aided Successes Against Iraqi Insurgency,” Fox News, November 21, 2007;
       and Michael Duffy and Mark Kukis, “The Surge at Year One,” Time, January 31, 2008.
       21 Carter Malkasian, “Counterinsurgency in Iraq: May 2003–January 2007,” in Daniel
       Marston and Carter Malkasian, eds., Counterinsurgency in Modern Warfare, New York:
       Osprey Publishing, 2008. For more on the al-Askari Shrine, see “History of the Shrine of
       Imam Ali Al-Naqi and Imam Hasan Al-Askari,” Al-Islam.org, n.d.
       22 Fearon, 2007.




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       escalate throughout 2006 and into early 2007, especially in mixed
       parts of Iraq, such as Baghdad and Diyala governorate, often prompt-
       ing Sunni groups in these areas to turn to ISI for protection against
       such Shia militias as Jaysh al-Mahdi.
             In Anbar, however, which was largely unaffected by the growing
       sectarian violence, opposition to AQI mounted in 2006, as the group
       increasingly targeted Sunni tribal leaders and rivals.23 In June 2006,
       al-Zarqawi was killed by a coalition airstrike, and his successor, Abu
       Ayyub al-Masri, an Egyptian national also known as Abu Hamza al-
       Muhajir, moved to strengthen AQI’s position by laying claim to ter-
       ritory in the guise of a new emirate under an Iraqi leader, something
       al-Zarqawi had wanted. In October 2006, al-Masri declared the estab-
       lishment of the Islamic State of Iraq, with Hamid Dawud Khalil al-
       Zawi, also known as Abu Umar al-Baghdadi, as emir and al-Masri
       acting as minister of war.24
             Even after the death of al-Zarqawi, ISI maintained the ability to
       conduct violent attacks in much of Anbar and across most other parts
       of Iraq throughout 2006. Although the group’s popular support was
       beginning to erode in Anbar, ISI still enjoyed de facto control in the
       predominately Sunni governorates to the north and west of Baghdad,
       largely because of the ongoing sectarian violence in Baghdad, Diyala,
       and Salah al-Din, as well as the failure of coalition forces and ISF
       to effectively weaken the group. Nationwide, violent attacks contin-
       ued to grow during 2006 and into the first half of 2007, illustrating
       ISI’s continued ability to project violence across much of the country
       (Figure 2.1).
             Beginning in late 2006, however, an interrelated set of changes
       on the ground in Iraq began to turn the tide against ISI. First, the for-
       mation of the Sunni Awakening movement in Anbar began to rapidly
       undercut ISI’s support in the governorate, especially in Ramadi. Build-
       ing on previous tribal attempts to realign with coalition forces against
       ISI, there was finally a breakthrough with the formation of a coalition

       23 Fishman, 2009.

       24 Christopher M. Blanchard, Al Qaeda: Statements and Evolving Ideology, Washington,
       D.C.: Congressional Research Service, updated July 2007.




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      Figure 2.1
      Nationwide Levels of Violent Attacks, 2004 to 2008




                                                                                                           Foundations of the Islamic State
      SOURCE: David Petraeus, MNF-I commander briefing to Congress, Washington, D.C., April 8, 2008a.
      NOTE: IEDs = improvised explosive devices.
      RAND RR1192-2.1




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       of 17 tribal sheiks into the Sahwat al-Anbar (the Anbar Awakening)
       in September of 2006.25 Throughout late 2006 and early 2007, this
       group partnered effectively with the coalition unit based in Ramadi
       (1st Brigade, 1st Armored Division), led by COL Sean MacFarland,
       to reestablish security in the city and aggressively target ISI.26 As the
       Awakening forces proved effective against ISI, they were successfully
       integrated into the formal ISF structure, serving as Iraqi Police forces
       and eventually receiving pay from the Iraqi government.27 Based on the
       initial success in Ramadi, other tribal groups across Anbar began to
       join the burgeoning Awakening movement, dramatically undercutting
       ISI’s popular support and operational capability across the governorate.
             Second, coalition leaders finally acknowledged that their previous
       strategy in Iraq was not working, and the George W. Bush administra-
       tion ordered a “new way forward.”28 Building on the initial successes
       seen in Anbar, and in a significant reversal of previous coalition strate-
       gies, this new plan provided additional U.S. combat forces and “put
       a premium on protecting the Iraqi population[,] . . . on the theory
       that improved security would provide Iraqi political leaders with the
       breathing space they needed to try political reconciliation.”29 The strat-
       egy, popularly known as the “surge,” also placed heavy emphasis on
       integrating this population-centric counterinsurgency campaign with
       continued “counter-terror operations against Al-Qaida and insurgent
       organizations.”30
             In response to increased pressure in Anbar governorate, primarily
       because of the effects of additional coalition surge forces and the grow-
       ing Awakening movement, ISI was forced to shift its base of operations
       from Anbar to the north and east, primarily into Diyala, Salah al-Din,

       25 Austin Long, “The Anbar Awakening,” Survival, Vol. 50, No. 2, April–May 2008.

       26 Niel Smith and Sean MacFarland, “Anbar Awakens: The Tipping Point,” Military Review,
       March–April 2008.
       27 N. Smith and MacFarland, 2008.

       28 White House, “Fact Sheet: The New Way Forward in Iraq,” January 2007.

       29 George W. Bush, “Transcript: President Bush Addresses Nation on Iraq War,” January 10,
       2007.
       30 White House, 2007.




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       and Ninewa governorates.31 While Anbar enjoyed the beginning of a
       steady decline in violent activity in late 2006, there were correspond-
       ing increases in attacks in these other governorates as ISI sought to
       gain control and influence through militant activity against coalition
       forces and ISF, as well as other tribal and militant groups that resisted
       ISI’s incursion (Figure 2.2). Although each of these areas had some
       preexisting Sunni insurgent activity, the level and intensity of violence
       increased significantly as ISI shifted greater attention and resources
       to Diyala and Salah al-Din in late 2006, and then subsequently to
       Ninewa and Mosul in late 2007.
              Throughout 2006, ISI significantly stepped up violent attacks
       across Diyala governorate, targeting the Shia minority to stoke sec-
       tarian tensions and aggressively coercing other Sunni tribal and mili-
       tant groups in an effort to consolidate control. By the end of the year,
       ISI controlled or exerted influence over most of Diyala. The group
       gained strength throughout early 2007, aided by a complete failure of
       the Diyala provincial government to function, limited coalition pres-
       ence, and a largely ineffective ISF organization. Reports from spring of
       2007 indicated that ISI had taken de facto control of the capital city
       of Baqubah and “entrenched itself across the southern portion of the
       province.”32 The documents from Diyala that we analyze in this report
       were captured by coalition forces during the summer of 2007 and pro-
       vide valuable insight into ISI’s structure, administrative processes, and
       financing operations in the governorate near the peak of the group’s
       capability and influence there.
              During the same period, ISI made significant gains in neighbor-
       ing Salah al-Din governorate, a majority Sunni governorate with long-
       standing insurgent activity against both coalition forces and ISF. With
       several pockets of Shia-controlled territory (such as in Balad and Ad
       Dujayl), Salah al-Din had some of the same potential for sectarian con-
       flict as Diyala and faced the similar challenges of ineffective provincial-

       31 Stephen Biddle, Jeffrey A. Friedman, and Jacob N. Shapiro, “Testing the Surge: Why Did
       Violence Decline in Iraq in 2007?” International Security, Vol. 37, No. 1, 2012.
       32 Eric Hamilton, “Expanding Security in Diyala,” Institute for the Study of War, August
       2008b.




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Figure 2.2
Trends in Combat Violence, by Governorate, 2005 to 2008


                1,500
                                                               Anbar                                                           Diyala
Total SIGACTS




                1,000


                     500


                      0

                1,500




                                                                                                                                         The Islamic State of Iraq and the Iraq War
                                                              Ninewa                                                      Salah al-Din
Total SIGACTS




                1,000


                     500


                      0
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                                Ju 006

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                                Ju 008

                                          08

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                                          09



                                    il 5
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                                Ju 008

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                               ob 00



                              A 200



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                                Ju 00

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                              A 200




                                        00




                              A 200



                               ob 200



                              A 200



                               ob 00




                                Ju 00

                               ob 00



                              A 200
                      20

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 SOURCE: MNF-I SIGACTS III Database (Empirical Studies of Conflict Project, “ESOC Iraq Civil War Dataset (Version 3),” Princeton,
 N.J.: Princeton University, n.d.).
 NOTES: Governorates shown are those with substantial financial data. The vertical lines mark the start of the surge. SIGACT =
 significant activity.




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 RAND RR1192-2.2




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       level governance, weak and unmotivated ISF, and too few coalition
       forces to effectively control the large expanse of territory. ISI established
       safe-haven zones north of the Tigris River that allowed for the free flow
       of weapons and fighters between Anbar, Diyala, and Ninewa.33 Addi-
       tionally, ISI stepped up its militant operations across the governorate,
       conducting the spectacular attack against the al-Askari Shrine in the
       governorate’s capital city of Samarra in February 2006, which ignited a
       national wave of sectarian violence, as well as several other complex sui-
       cide attacks against ISF and coalition forces in urban areas and High-
       way 1, the critical, primary line of communication for coalition forces
       north of Baghdad.34 In this report, we analyze a set of detailed ISI
       personnel records captured in Salah al-Din in July 2007, at the peak of
       ISI’s control of the governorate. These records shed light on the group’s
       composition, capabilities, and administrative procedures.
             As ISI continued to increase violent attacks and consolidate con-
       trol over territory in Diyala and Salah al-Din, signs of friction between
       the group and the local populations began to emerge, just as they had
       previously in Anbar. By the spring of 2007, several Sunni militant
       groups in Diyala had begun to fight back against ISI, led initially by
       fighters from the 1920s Revolution Brigades.35 In July 2007, one of the
       first organized anti-ISI groups, the Baqubah Guardians, emerged in
       Diyala.36 Similar events were unfolding in Salah al-Din as well, with
       several tribal groups turning against ISI and partnering with coali-
       tion elements in an alliance of convenience. In Duluiyah, previously
       a hotbed of the Sunni insurgency in Salah al-Din, leaders from the
       Jabouri tribe aligned with coalition forces in May 2007 and quickly



       33 Kimberly Kagan, “The Battle for Diyala,” Iraq Report IV, The Weekly Standard, 2007a.

       34 Richard A. Oppel Jr., “Iraq Reports Capture of Senior Al Qaeda Figure,” New York Times,
       September 3, 2006.
       35 John Ward Anderson and Salih Dehima, “Offensive Targets Al-Qaeda In Iraq,” Washing-
       ton Post, July 20, 2007. For more on the 1920s Revolution Brigades, see Martha Crenshaw,
       “1920s Revolution Brigades,” Mapping Militant Organizations, Stanford University Center
       of International Security and Cooperation, 2010.
       36 “Al-Qaeda in Iraq,” Jane’s World Insurgency and Terrorism, October 2013, p. 7.




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       began to turn the tide against ISI.37 As various grassroots anti-ISI
       groups began to form across the country, following in the footsteps of
       the Anbar Awakening, coalition leaders pushed the Iraqi government
       to create an official reconciliation program and to integrate these ele-
       ments into ISF, resulting in the formation of the Sons of Iraq (SOI)
       program.38 By the end of 2007, there were more than 91,000 Iraqis,
       mostly Sunnis, who had officially joined the program.39 The combi-
       nation of this anti-ISI Awakening movement and the coalition surge
       operations severely degraded ISI, denying it sanctuary in most of Iraq
       (Figure 2.3). ISI suffered dramatic losses across the country from late
       2006 through early 2008.
             Under growing pressure from coalition forces, ISF, and SOI ele-
       ments across most of Iraq, ISI was forced to retreat further north, to
       Ninewa governorate, which had always played a key role in the Sunni
       insurgency as a transit point for foreign fighters and as a major source
       of ISI financing.40 Located astride the Arab-Kurd sectarian fault line
       and home to many former regime leaders, Ninewa’s complex ethno-
       sectarian dynamics allowed ISI to maintain significant Sunni popular
       support and develop de facto control over much of the governorate,
       including Iraq’s second-largest city, Mosul, by late 2007.41 During the
       final months of 2007, violent attacks were higher in Ninewa than in
       any other governorate. Al-Masri, the ISI leader, was reportedly based
       in or around Mosul, along with most of the group’s other top leaders,
       including Abu Qaswarah, also known as Mohamed Moumou, ISI’s




       37 Bill Roggio, “Iraq Report: The Salahadin Awakening Forms,” The Long War Journal,
       May 21, 2007b.
       38 Kuehl, 2010.

       39 David Petraeus, Report to Congress on the Situation in Iraq: Testimony Before the Senate
       Armed Services Committee, Washington, D.C., April 8–9, 2008b.
       40 Michael R. Gordon, “Pushed Out of Baghdad Area, Insurgents Seek Hub in North,” New
       York Times, December 5, 2007.
       41 Michael Knights, “Al-Qa‘ida in Iraq: Lessons from the Mosul Security Operation,” CTC
       Sentinel, Vol. 1, No. 7, June 2008a.




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 Figure 2.3




                                                                         24
 The Coalition’s Assessments of ISI Strength




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                    December 2006              March 2008

  SOURCE: Petraeus, 2008a.
  RAND RR1192-2.3




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       third in command in 2008 and the day-to-day operational leader for
       the entire ISI.42
             With very limited coalition presence in the governorate and an
       ineffective ISF, the situation continued to deteriorate in Mosul during
       early 2008. By March, between one-half and two-thirds of all attacks in
       Iraq occurred in Ninewa, primarily centered in Mosul.43 Recognizing
       this dynamic, coalition forces sent additional forces to Ninewa in early
       2008 and began to reverse ISI’s gains, capturing or killing a multitude
       of ISI senior leaders throughout mid and late 2008 and significantly
       degrading the group’s operational capacity.44 Several of the key docu-
       ments analyzed in this report were captured by coalition forces during
       these operations against ISI in Mosul. For example, coalition forces
       captured Yasin Sabah Salih Jubayyir, ISI’s security emir for north-
       ern Iraq, in December 2007, and they recovered documents contain-
       ing a full roster of all ISI members in the region.45 As coalition forces
       exploited these documents, they were able to both better understand
       ISI’s organization and conduct follow-on operations against other top
       leaders. By early 2009, primarily because of increasingly effective joint
       counterterrorism operations, ISI was severely weakened in Ninewa,
       although the group maintained limited finance, media, and military
       capabilities throughout the governorate.
             By the end of 2010, ISI survived principally in northern Iraq but
       retained a capability to conduct spectacular attacks across much of the
       country.46 The group carried out several vehicle-borne explosive strikes
       against targets across the country in the second half of 2009 and in the
       first half of 2010. Despite the deaths of ISI’s two top leaders, al-Masri
       and al-Baghdadi, in a joint U.S. and Iraqi raid in April 2010 in the


       42 Gordon, 2007. For more background on Abu Qaswarah, see Ernesto Londono, “No. 2
       Leader of Al-Qaeda in Iraq Killed,” Washington Post, October 16, 2008.
       43 Greg Smith, operational briefing, Multi-National Force–Iraq, March 2, 2008.

       44 Eric Hamilton, “The Fight for Mosul,” Iraq Report VIII, The Weekly Standard, 2008c.

       45 MNF-I, “Coalition Forces Target Foreign Terrorist Facilitators, 11 Detained,” press
       release A071213a, December 13, 2007c.
       46 Bahney, Shatz, et al., 2010.




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       Tikrit area, the group was able to continue operations, name new lead-
       ers, and launch a new campaign against ISF.47


       The Operational Environment

       Having traced the key events of the Iraq war related to ISI, we now turn
       to an examination of the unique conditions driving the insurgency in
       the four governorates for which we have substantive data. While there
       were many important similarities across the operational environments
       in Anbar, Diyala, Salah al-Din, and Ninewa, there were also notable
       differences. Our analysis of both quantitative data on attacks, as cap-
       tured by the MNF-I SIGACTS III Database,48 and qualitative data
       captured with ISI leaders confirms that there was a large degree of
       heterogeneity in ISI’s operational environment across both time and
       space.49 It is vital to understand these variations to effectively analyze
       the broader trends of ISI’s evolution, explain why ISI operated differ-
       ently in each governorate, and place each of the captured documents
       we analyze in this study in context.
             Table 2.1 provides an overview of the key differences between
       the operating environments in the four governorates across four fac-
       tors: (1) geographic and demographic conditions, (2) the legitimacy
       and capacity of the Iraqi government and ISF, (3) ISI’s capability and




       47 Michael Roddy, “Qaeda Confirms Deaths of Leaders in Iraq: Statement,” Reuters,
       April 25, 2010; Aseel Kami and Michael Christie, “Al Qaeda’s Iraq Network Replaces Slain
       Leaders,” Reuters, May 16, 2010; Liz Sly, “Top Two Al-Qaeda in Iraq Leaders Are Dead,
       Officials Say,” Los Angeles Times, April 20, 2010.
       48 Empirical Studies of Conflict Project, n.d.

       49 Unclassified SIGACTS data, drawn from the MNF-I SIGACTS III Database, were pro-
       vided to the Empirical Studies of Conflict (ESOC) Project in 2008 and 2009. These data
       provide the location, date, time, and type of attack incidents but do not include any infor-
       mation pertaining to the coalition units involved, coalition casualties, or battle damage
       incurred. We filtered the data to remove the attacks we identified as being directed at civil-
       ians or other insurgent groups, leaving us with a sample of 168,730 attack incidents.




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Table 2.1
Characteristics of Local ISI Operating Environments, 2005 to 2010

                  Geographic and               Legitimacy and Capacity of        ISI Capability and Popular   Economic Situation and ISI
Location       Demographic Conditions           Iraqi Government and ISF                  Support                    Financing

Anbar      • Predominately Sunni Arab      •      Weak provincial                •   Original ISI base         •   Historical smuggling
             (approximately 90 percent)           government                     •   ISI consolidates control,     economy
           • Robust tribal structure, his- •      National government                despite tribal opposi-    •   AQI finance operations
             tory of “resistance”                 illegitimate                       tion (2004–2005)              severely weakened
           • Euphrates River Valley serves •      Shia Iraqi Army not            •   SOI severely degrades         post-SOI
             as foreign-fighter hub               legitimate; Iraqi Police           ISI (2006–2007)
                                                  intimidated

Diyala     • Mixed population (60 per-        • Minority Shia control;           • Diverse mix of militant    •    Major agricultural
             cent Sunni, 20 percent Shia,       ineffective provincial             actors                          center
             20 percent Kurd)                   government                       • ISI consolidates control   •    ISI has limited financ-




                                                                                                                                               The Islamic State of Iraq and the Iraq War
           • Ethnosectarian tensions          • Sectarian ISF exacerbate           (2006–2007)                     ing capacity in region
           • Complex terrain facilitates        tension                          • Rise of SOI undercuts
             safe haven                                                            ISI

Salah      •   Mostly Sunni (approximately    •   Limited provincial gover-      •   Significant popular      •    Primarily agricultural
al-Din         70 percent), some Shia             nance capacity                     support for Sunni             economy
               (approximately 15 percent)     •   Most ISF underresourced            resistance               •    ISI fails to collect sig-
           •   Legitimate tribal system           and intimidated                •   ISI maintains strong          nificant revenue from
           •   Transit hub for both coali-                                           influence until SOI           Salah al-Din, operates
               tion forces and ISI                                                   forms (late 2007)             at a loss

Ninewa     • Arab-Kurd fault line (60 per-    • Minority Kurds control pro- • ISI maintains significant •          Major national trade
             cent Sunni Arab, 30 percent        vincial government             support throughout                  hub
             Kurd)                            • Kurdish and Shia ISF seen as • ISI enjoys de facto con- •          Primary financing
           • Heavy population of former         illegitimate                   trol (2007–2008)                    center for ISI, espe-
             regime leaders                   • Sunni Arab Iraqi Police      • Coalition forces heavily            cially by early 2007
           • Strategic hub for smuggling        heavily intimidated            target ISI (late 2008)   •          Extensive racketeering
             fighters, weapons, money                                                                              and protection scams




                                                                                                                                               27
SOURCE: ESOC ethnicity data set (Empirical Studies of Conflict Project, n.d.).


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       popular support, and (4) the economic situation and ISI’s finance
       operations.50
            In the remainder of this section, we expand on these differences
       to help explain corresponding variations across time and space in ISI’s
       organizational structure, mobilization strategies, financing operations,
       and military capabilities from governorate to governorate.

       ISI and the Awakening in Anbar Governorate, 2005 to 2006
       From the beginning of the Sunni insurgency in Iraq, Anbar governor-
       ate played a critical role. With a predominately Sunni population and
       a long history of opposition to central-government control from Bagh-
       dad, the region was ideal for ISI to establish a foothold and develop
       a safe haven from which to operate and expand the group. Given the
       strong position of leading tribal sheiks in the region and their control
       of critical trade routes through the desert, the Iraqi government con-
       sistently struggled to assert control in the governorate. According to
       David Kilcullen, the tribes in Anbar constituted a “competing power
       center for the formal institutions of the Iraqi state and form a parallel
       hierarchy that overlaps the structures and political allegiances of formal
       government at every level.”51 Even during the days of Saddam Hussein’s
       rule, weaknesses in his internal position forced him to cede increasing
       amounts of power to tribal leaders to maintain their support, especially
       during the Iran-Iraq War (1980–1988) and after the 1991 Gulf War.52
             After the coalition invasion in 2003, the central government’s
       control and legitimacy in Anbar continued to decline. The majority
       of Anbar’s Sunni residents felt increasingly disenfranchised, resulting
       in growing resentment and extremely low voter turnout (reportedly as
       low as 2 percent) for the country’s first parliamentary and provincial


       50 These criteria were partially drawn from the Manwaring paradigm, which was developed
       to assess the likelihood of success of a particular counterinsurgency campaign. For more,
       see Max G. Manwaring and John T. Fishel, “Insurgency and Counter-Insurgency: Toward a
       New Analytical Approach,” Small Wars & Insurgencies, Vol. 3, No. 3, 1992.
       51 David J. Kilcullen, “Field Notes on Iraq’s Tribal Revolt Against Al-Qa’ida,” CTC Senti-
       nel, Vol. 1, No. 11, 2008.
       52 Long, 2008.




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       elections in January 2005, which the Sunnis formally boycotted.53 At
       the provincial level, there was no effective formal governance structure
       and very limited provision of basic public services, with the majority of
       Anbar citizens seeing the growing Sunni insurgency as the most legiti-
       mate force on the ground. As jihadist forces, led by ISI, began to gain
       greater control throughout 2004 and into early 2005, more-moderate
       tribal leaders were pushed aside or assassinated, creating an escalating
       cycle of violence and instability.
             In addition, the U.S. decision to disband the Iraqi Army after the
       2003 invasion reinforced the significant power vacuum in Anbar. For
       the most part, the formal ISF in the governorate were ineffective and
       seen as illegitimate by the local population. Since the reconstituted Iraqi
       Army was viewed as a Shia-dominated force, it was unable to earn the
       trust of the Anbar people and thus was largely ineffective in conduct-
       ing counterinsurgency operations.54 The local Iraqi Police were poorly
       equipped and trained, and they struggled to fill their ranks, largely
       because of intimidation by ISI and other Sunni militant groups.55
             Throughout 2004, al-Zarqawi and his group successfully estab-
       lished operational capability in Anbar and ratcheted up the level of
       violence, primarily focused on Fallujah. In October 2004, he formally
       pledged allegiance to al-Qa‘ida and formed AQI, basing the group
       in Fallujah and taking de facto control of most of the city. In April,
       with Operation Vigilant Resolve, and again in November 2004, with
       Operational Phantom Fury, coalition forces conducted major clear-
       ance operations in Fallujah, which temporarily pushed ISI from the
       city, but also resulted in significant deaths of civilians and damage to
       property, alienating most of the local population.56 Capitalizing on
       this local resentment and anger toward coalition forces in the wake of

       53 Liam Anderson and Gareth Stansfield, “The Implications for Federalism in Iraq: Toward
       a Five-Region Model,” Publius, Vol. 35, No. 3, 2005.
       54 Alfred B. Connable, interview, in Timothy S. McWilliams and Kurtis P. Wheeler, eds.,
       Al Anbar Awakening: Volume I, American Perspectives—U.S. Marines and Counterinsurgency
       in Iraq, 2004–2009, Quantico, Va.: Marine Corps University Press, 2009.
       55 Long, 2008.

       56 West, 2005.




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       these heavy-handed operations, ISI continued to consolidate control
       and influence across Anbar governorate throughout 2005, focusing on
       high-profile and coordinated suicide attacks, targeting ISF, coalition
       forces, and any local leaders who refused to support ISI’s control of the
       governorate.
             Despite their growing operational success and effective consolida-
       tion of much of the Sunni insurgency, al-Zarqawi and ISI were the tar-
       gets of criticism within Anbar from fairly early on, primarily centered
       on the fact that they were a foreign element unrepresentative of Sunni
       or Iraqi national aspirations.57 According to Fishman, “Zarqawi’s strat-
       egy was fundamentally designed to assert control over Sunni groups
       and replace tribal loyalty and Iraqi nationalism with an ideological
       commitment to Salafi-jihadist goals.”58 Thus, it was clear almost from
       the start that there would be significant tension between local Sunni
       leaders and ISI that would have to be carefully managed if ISI was to be
       successful. However, al-Zarqawi and his cadre of key lieutenants either
       failed to realize this or chose to ignore it.
             From 2004 through early 2006, there were four significant attempts
       by Sunni tribes in Anbar to “realign” with coalition forces against the
       increasingly repressive ISI.59 Although each of these attempts failed,
       primarily because of ISI’s extremely aggressive response each time, they
       clearly signaled a growing divide between ISI and the local population.
       ISI’s strategy and actions also caused tension and disagreement with
       several of the other prominent Sunni jihadist groups across the coun-
       try. As early as 2003, reports began to emerge of infighting between
       the groups. Beginning that year, fighters from the 1920 Revolution Bri-
       gades, one of Iraq’s more prominent Sunni insurgent groups, had com-
       plained to al-Zarqawi directly about murderous attacks on Iraqi civil-
       ians. Another telling example was an incident in Taji, located in Salah
       al-Din governorate, in 2005: AQI fighters gunned down two members



       57 Bahney, Shatz, et al., 2010.

       58 Fishman, 2009.

       59 Biddle, Friedman, and Shapiro, 2012.




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       of Jaysh al-Islami, also known as the Islamic Army in Iraq, another
       important Sunni insurgent group, after an ideological dispute.60
             In a 2005 letter, al-Qa‘ida’s then–deputy leader Ayman al-
       Zawahiri underscored to al-Zarqawi the need to accommodate the
       local population to retain the critical public support necessary to
       establish a territorial foothold for an emirate.61 In an effort to dem-
       onstrate a semblance of unity, in January 2006, AQI declared the for-
       mation of the MSC, nominally an umbrella of Iraqi Sunni jihadist
       groups, with AQI as a member.62 However, the MSC was part of a
       transitional phase intended to foster an Islamic state in Iraq—a goal
       al-Zarqawi shared with al-Qa‘ida’s senior leadership. At least three core
       al-Qa‘ida senior leaders—Sayf al-‘Adl, al-Zawahiri, and ‘Atiyyat Allah
       al-Libi—wrote al-Zarqawi between 2004 and his death in June 2006,
       encouraging him to establish an Islamic state in Iraq.63 Al-Zarqawi
       himself referred to the MSC as “the starting point for an Islamic state,”
       and, in April 2006, less than two months before he was killed by a U.S.
       airstrike, al-Zarqawi revealed his intention to declare an Islamic state
       “within the next three months.”64 Core al-Qa‘ida’s leadership in Paki-
       stan continued to support the Islamic state project after al-Zarqawi’s
       death. In al-Zawahiri’s eulogy of al-Zarqawi, he reiterated his sup-
       port for an Islamic state in Iraq. Al-Zawahiri wrote, “Know that the
       community of Islam has put its hopes on you, and that it is necessary
       for you to establish the Islamic State in Iraq, then to make your way
       toward captive Jerusalem and restore the caliphate.”65

       60 Sabrina Tavernise and Dexter Filkins, “Local Insurgents Tell of Clashes with Al Qaeda’s
       Forces in Iraq,” New York Times, January 12, 2006. For more on Jaysh al-Islami, see Daniel
       Cassman, “Islamic Army in Iraq,” Mapping Militant Organizations, Stanford University
       Center of International Security and Cooperation, 2010.
       61 Office of the Director of National Intelligence, “Letter from al-Zawahiri to al-Zarqawi,”
       news release No. 2-05, October 11, 2005.
       62 Brian Fishman, “After Zarqawi: The Dilemmas and Future of Al Qaeda in Iraq,” The
       Washington Quarterly, Vol. 29, No. 4, 2006, p. 26.
       63 Bunzel, 2015, pp. 15–16.

       64 Bunzel, 2015, p. 16.

       65 Bunzel, 2015, p. 16.




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             Foreshadowing its envisioned role in the Islamic state, after estab-
       lishing the MSC but before declaring ISI, AQI continued to assert itself
       as the dominant jihadist organization both in the MSC and in all of
       Iraq. Having blunted the tribes’ initial resistance efforts, AQI enjoyed
       significant control throughout early 2006 and was considered by coali-
       tion forces the “dominant organization of influence in Anbar prov-
       ince, surpassing the nationalist insurgents, the Government of Iraq,
       and [coalition forces] in its ability to control the day-to-day life of the
       average Sunni.”66
             This dynamic began to change beginning in late summer of
       2006. In September 2006, a coalition of 17 tribal sheiks, led by Sheik
       Sattar Abu Risha, announced the formation of the Anbar Awaken-
       ing.67 Sattar was a relatively minor sheikh who engaged in smuggling
       and highway robbery. He first tried to organize the tribes against AQI
       in 2005 because the group had moved in on his business interests.68
       As the 2006 Awakening movement began to gain traction throughout
       Anbar, starting primarily in Ramadi, there were significant synergistic
       effects with the coalition change of strategy.69 Coalition forces adopted
       a more population-centric counterinsurgency doctrine, with a greater
       focus on protecting the population from ISI. With the renewed focus
       on protecting the Iraqi population and the surge of additional combat
       forces into Anbar in early 2007, coalition forces finally had sufficient
       capacity and resources to protect the tribes willing to fight against ISI.
       As more and more local Anbar citizens joined ISF, they were aligned
       with coalition units that were able to protect them and eventually
       operated jointly to effectively target AQI across the governorate. Once
       again, AQI launched a violent counterattack against the Awakening
       during late 2006 and into 2007, but this time it was much less effective.
       ISI focused attacks on the tribes and ISF, but they successfully held
       together in the face of this pressure.


       66 Connable, 2009.

       67 Bahney, Shatz, et al., 2010.

       68 Long, 2008.

       69 Biddle, Friedman, and Shapiro, 2012.




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             On October 12, 2006, just one month after the start of the Awak-
       ening movement, AQI declared the formation of the Islamic State of
       Iraq. Based in the provincial capital of Ramadi, ISI outlined a strat-
       egy to address broad sectarian political grievances among Sunnis in
       Iraq—including Sunni tribes and other Sunni militant groups in Anbar
       governorate—under the banner of its Salafi-jihadist ideology.70 Numer-
       ous influential voices of the global jihadist movement celebrated ISI’s
       declaration, while others lamented it. But within Iraq, the timing of
       the ISI declaration was poor: AQI’s strict sharia law and brutal vio-
       lent enforcement of it had already alienated Anbar’s Sunni population.
       Among most Sunni, the declaration of the Islamic state tended to exac-
       erbate rather than repair existing tensions. As the Awakening movement
       continued to gain momentum throughout 2007, ISI’s popular support
       and legitimacy continued to decline. Awakening forces, partnered with
       coalition forces, engaged in a fierce campaign that targeted key nodes
       up and down the ISI hierarchy and denied it safe haven through most
       of the governorate, including in key cities closest to Baghdad, Ramadi,
       and Fallujah. Overall violence in the governorate decreased dramati-
       cally (Figure 2.4).

       ISI Sanctuary in Diyala and Salah al-Din Governorates, 2006 to 2007
       Throughout 2006, Sunni tribal groups and coalition forces increas-
       ingly challenged ISI across Anbar, resulting in a much less permissive
       environment for the group. At the same time, and partly in response
       to this growing pressure, ISI began to relocate many of its personnel to
       the east, with a particular focus on the Diyala and Salah al-Din gov-
       ernorates. This shift accelerated in early 2007 because of the Awaken-
       ing and the coalition surge. Given Diyala’s contentious ethnosectarian
       dynamics and largely ineffective local government, the region offered
       an excellent opportunity for ISI to reestablish safe haven. Although
       Diyala directly borders Baghdad, the Iraqi government had struggled
       to maintain effective control of the governorate since 2004.71 After the
       Sunni Arab boycott of the January 2005 national and provincial elec-

       70 Fishman, 2007.

       71 Kagan, 2007a.




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          Figure 2.4
          Trends in Combat Violence in Anbar, 2005 to 2008


                        1,600

                        1,400

                        1,200
        Total SIGACTS




                        1,000

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         SOURCE: MNF-I SIGACTS III Database (Empirical Studies of Conflict Project, n.d.).
         NOTE: The vertical line marks the start of the surge.
         RAND RR1192-2.4




       tions, the minority Shia attained a disproportionate role in provincial
       politics—earning control of the provincial council, appointing a Shia
       governor, and creating a Shia-led and primarily Shia-manned police
       force.72 These sectarian tensions were only exacerbated in the wake of
       ISI’s February 2006 bombing of the al-Askari Shrine in Samarra (in
       Salah al-Din governorate), resulting in increased Sunni-Shia fighting
       across the governorate and intense sectarian cleansing by both Shia
       police forces and Sunni militant groups throughout 2006–2007.
             With the provincial council paralyzed by sectarian battles for
       political control and the Shia-dominated ISF seen as largely illegiti-
       mate, the local government in Diyala enjoyed very little popular sup-
       port. Beginning in September 2006, the local government was no
       longer able to distribute food to Diyala’s population; by October, it

       72 Michael Knights, “Pursuing Al-Qa‘ida into Diyala Province,” CTC Sentinel, Vol. 1,
       No. 9, August 2008b, pp. 4–7.




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       could no longer distribute fuel.73 Also in October, the Diyala provin-
       cial government ceased meeting and effectively ceded control of the
       governorate to militant groups fighting for influence. By the end of the
       year, the provincial government had spent only 2 percent of its 2006
       capital investment budget.74 ISI capitalized on this political and secu-
       rity vacuum to establish greater control in the governorate. In many
       areas in late 2006, ISI successfully evicted the Shia police forces, which
       were understaffed and not locally recruited.75 By the end of 2006,
       ISI—not the government of Iraq—controlled Baqubah, the provincial
       capital, and much of the rest of the governorate.76 Violent incidents
       were steadily mounting (Figure 2.5).
             A similar dynamic was playing out in neighboring Salah al-Din
       governorate, as ISI increasingly shifted fighters, funding, and resources
       to the predominately Sunni governorate. Located directly north of
       Baghdad and straddling the Tigris River, Salah al-Din had a long his-
       tory as a center of Sunni resistance after the coalition invasion in 2003.
       Site of Saddam’s birth city of Tikrit, the important Baiji oil refinery,
       and the al-Askari Shrine, the governorate was a logical place for ISI to
       reassert itself. Given its central location between Anbar (to the west),
       Baghdad (to the south), and Diyala (to the east), Salah al-Din was an
       ideal transit hub for ISI leaders and fighters, and it offered significant
       opportunity for safe haven in the large, ungoverned desert areas north-
       east of the Tigris River and southwest of Highway 1. The majority-
       Sunni population had little tolerance for the Shia-controlled central
       government, and there was significant popular support for the insur-
       gency, which ISI was able to effectively capitalize on as it shifted focus
       to the governorate. With an ineffective and largely illegitimate provin-
       cial government and weak ISF, of which many members were Shia or
       Kurds deployed from other parts of Iraq, ISI was able to make rapid
       gains across the governorate.

       73 Kimberly Kagan, “Securing Diyala,” Iraq Report VII, The Weekly Standard, 2007b.

       74 Kagan, 2007b.

       75 Knights, 2008b.

       76 Kagan, 2007b; and Kagan, “Expanding Security in Diyala,” Iraq Report X, The Weekly
       Standard, 2008.




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        Figure 2.5
        Trends in Combat Violence in Diyala, 2005 to 2008


                        900
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                        700

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        Total SIGACTS




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         SOURCE: MNF-I SIGACTS III Database (Empirical Studies of Conflict Project, n.d.).
         NOTE: The vertical line marks the start of the surge.
         RAND RR1192-2.5




             As ISI leadership shifted focus to Salah al-Din, there was an
       increase in overall attacks throughout 2006 and a series of complex,
       spectacular attacks conducted by foreign fighters who were being sent
       into the governorate (Figure 2.6).77 For example, the February 2006
       bombing of the al-Askari Shrine was conducted by an ISI cell that
       was led by an Iraqi ISI commander and included several foreign fight-
       ers, including a Tunisian who was later captured by coalition forces.78
       This attack was followed by a series of bold assaults on ISF checkpoints
       and government buildings, primarily conducted by cells of ISI foreign
       fighters. By mid-2006, Salah al-Din was the second most violent gov-


       77 Jacob N. Shapiro, Eli Berman, Luke N. Condra, and Joseph H. Felter, “Empirical Study
       of Conflict Project’s Iraq War Dataset (ESOC-I),” Version 3, Empirical Studies of Conflict
       Project, Princeton, N.J.: Princeton University, 2014.
       78 Pierre Bairin and Mohammed Tawfeeq, “Military: Mastermind of Samarra Mosque
       Bombing Killed,” CNN.com, August 6, 2007.




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        Figure 2.6
        Trends in Combat Violence in Salah al-Din, 2005 to 2008


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        Total SIGACTS




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         SOURCE: MNF-I SIGACTS III Database (Empirical Studies of Conflict Project, n.d.).
         NOTE: The vertical line marks the start of the surge.
         RAND RR1192-2.6




       ernorate in Iraq (behind Anbar), and ISI continued to enjoy significant
       popular support.79
             By the end of 2006, ISI controlled or exerted influence over much
       of Salah al-Din. Mirroring the effective strategy employed in Diyala,
       ISI also attempted to stoke sectarian violence in Salah al-Din, con-
       ducting a series of kidnappings and murders of Shia workers from the
       majority-Shia town of Balad in October 2006. After the bodies were
       discovered, there were several days of riots and sectarian violence.80
       Throughout early 2007, violent attacks continued to mount across the
       governorate, mirroring the spike occurring in Diyala, as ISI increas-
       ingly asserted itself against rival Sunni militant groups, ISF, and coali-
       tion forces. Although the temporal patterns of violence in Diyala and

       79 Shapiro et al., 2014.

       80 MNF-I, “IA, CF Units Clear Jabouri Peninsula of Terrorists,” press release 20070217-12,
       Multi-National Division–North Public Affairs Office, February 17, 2007a.




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       Salah al-Din were similar, Salah al-Din experienced higher levels of
       violence. From February 2004 through February 2009, coalition forces
       recorded more than 21,000 total SIGACTS and 10,000 IED attacks
       in Salah al-Din, while they reported 14,800 total SIGACTS and more
       than 7,000 IED attacks in Diyala.81
             Beginning in early 2007, however, coalition forces attempted to
       build on the successes of the Anbar Awakening movement and engage
       more directly with Sunni tribal leaders and more-moderate Sunni mili-
       tant groups throughout Diyala and Salah al-Din. In parallel, coali-
       tion forces launched a series of large-scale security and clearance opera-
       tions in both areas during the summer of 2007 to regain control. In
       Diyala, this strategy showed rapid results; the influx of approximately
       10,000 coalition forces troops, as part of Operation Arrowhead Ripper,
       combined with deliberate tribal engagement and reconciliation efforts,
       began to pay off in the summer of 2007, resulting in reduced violence
       and the formation of the Baqubah Guardians in July.82 These initial
       events paved the way for a broader reconciliation effort in Diyala, cul-
       minating in a meeting in August 2007, where 18 leading sheiks swore
       and signed a reconciliation agreement.83 Several weeks later, more than
       100 tribal leaders from the Diyala River Valley met and swore to “coop-
       erate and support each other in fighting terrorism in [their] tribes.”84
       Between December 2007 and May 2008, SOI membership in Diyala
       grew to almost 10,000.85
             Similar efforts were under way in Salah al-Din, where coalition
       forces increased the number of forces operating in the governorate to
       pressure ISI and better support the nascent SOI groups. By mid-2007,
       there were reports of Sunni tribes joining forces with local Iraqi Police


       81 SIGACTS data are from Shapiro et al., 2014.

       82 Kagan, 2008; and Kagan, 2007b.

       83 MNF-I, “Tribal Leaders Continue Reconciliation Efforts Across Diyala,” press release,
       Multi-National Division–North Public Affairs Office, August 4, 2007b.
       84 Kagan, 2007b.

       85 Kirky Rider, “Fierce Thrasher Helps Displaced Families Return Home,” The Desert
       Raider, Vol. 1, No. 10, 2008.




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       elements to fight against ISI in Duluiyah, a former ISI stronghold.86 In
       May, several tribal leaders met in Taji, a key city at the southern end
       of Salah al-Din governorate, and announced the establishment of an
       alliance among several tribes to combat ISI in their area. Throughout
       the rest of the year, several more groups were formed across the gover-
       norate, including in Balad, Samarra, Tarmiyah, and Baiji, resulting in
       reduced operational capacity for ISI and a dramatic decrease in violent
       attacks. Just as the Awakening had dramatic effects in Anbar, the SOI
       programs in Diyala and Salah al-Din helped to drive ISI from sanctuar-
       ies, free coalition forces and ISF combat power to pursue enemy fight-
       ers, and offer short-term employment to jump-start local economies.87

       ISI Strategic Retreat to Ninewa Governorate, 2007 to 2010
       With ISI under significant pressure in Anbar, Diyala, and Salah al-Din,
       the group began to shift its center of gravity to northern Iraq. Begin-
       ning in 2007, most of ISI’s senior leaders and much of its operational
       capacity shifted to Ninewa governorate, which had always been a
       stronghold of the Sunni insurgency and served as a strategic hub for the
       group’s finance and foreign-fighter facilitation activities.88 Mosul rap-
       idly became the de facto headquarters of the remnants of ISI through-
       out 2007. The governorate’s complex ethnosectarian dynamics enabled
       ISI to retain support there even in the face of the spreading SOI move-
       ment in most other parts of Iraq.89 In addition, Mosul’s close proxim-
       ity to one of the primary routes for smuggling fighters and equipment
       into Iraq from Syria enabled ISI to maintain consistent access to critical
       military resources.90 With a limited coalition presence in the governor-
       ate and a provincial government viewed as illegitimate by the majority


       86 Roggio, 2007b.

       87 Multi-National Division–North Public Affairs, “Operation Raider Reaper Concludes
       with Tribal Reconciliation,” December 31, 2007.
       88 Brian Fishman, “Redefining the Islamic State: The Fall and Rise of Al-Qaeda in Iraq,”
       New America Foundation, August 2011.
       89 Knights, 2008a.

       90 Fishman, 2011.




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       Sunni population, Ninewa was the best option for ISI to attempt to
       reassert itself.
             Because of Ninewa’s ethnosectarian mix, there had been a long-
       standing political struggle in the governorate. The divide between Arabs
       and Kurds in Ninewa had been a problem since the fall of Saddam’s
       regime, when Kurdish Peshmerga forces attempted to enter Mosul
       after Iraqi Army forces were defeated by coalition forces.91 Although
       coalition leaders were able to negotiate a delicate truce, ethnic ten-
       sions remained high from that point forward. Despite the fact that
       the Kurds represent a minority in Mosul and in the governorate, they
       were able to secure control of the provincial government because of the
       Sunni Arab boycott of the 2005 parliamentary and provincial elec-
       tions. Once in control of the governorship and the provincial council,
       the Kurds continued to alienate the majority-Sunni Arab population,
       failing to deliver basic services or security to the governorate’s Arab
       areas.92 With both the national and provincial governments viewed as
       illegitimate by the Sunni population, ISI stepped into this void and
       began to assert itself across the governorate.
             The disposition of ISF in Ninewa further reinforced the friction
       between Arabs and Kurds. On the eastern edge of the governorate, the
       Kurdistan Regional Government maintained a highly trained military
       element, the Peshmerga, which it had used in the past to surge into
       cities as it determined necessary.93 This occurred in Mosul in Novem-
       ber 2004, after several hundred insurgents stormed police stations
       across the city, forcing almost all of Mosul’s 5,000 police officers to flee
       and cede control of the city to the militants.94 In the wake of the attack,
       Kurdistan security forces pushed into the eastern half of Mosul, and


       91 Sam Dagher, “Fractures in Iraq City as Kurds and Baghdad Vie,” New York Times, Octo-
       ber 28, 2008b.
       92 Sam Dagher, “Tensions Stoked Between Iraqi Kurds and Sunnis,” New York Times,
       May 18, 2009.
       93 Dagher, 2008b.

       94 Edward Wong, “Insurgents Attack Fiercely in North, Storming Police Stations in Mosul,”
       New York Times, November 12, 2004.




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       never left.95 Although the units were formally integrated into the offi-
       cial ISF command structure, they were still viewed by the city’s Sunni
       residents as Peshmerga. In the city’s western half, most of the ISF units
       were Shia-led and also viewed as illegitimate. Despite many attempts to
       bolster the capacity of the Iraqi Police in the city, through better train-
       ing and recruiting drives, the force had proven completely ineffective
       against ISI and other Sunni groups.96
             As coalition operations cleared ISI-controlled areas in Anbar,
       Baghdad, Diyala, and Salah al-Din from late 2005 through 2007, the
       group was pushed further north along the Tigris River Valley, toward
       Mosul. By November 2007, it was clear that ISI had migrated further
       north, where attacks were higher than anywhere else in the country
       (Figure 2.7).97 During this time, al-Masri, the ISI leader, is known to
       have transited Mosul twice.98 ISI’s operational leader, Abu Qaswarah,
       was based in Mosul. He directed nationwide operations for the group
       from a safe house in the city’s northwest quadrant, until he was killed
       by coalition forces in October 2008.99
             By fall 2007, ISI had dramatically increased its violent attacks
       in Ninewa governorate. There, in contrast to other parts of the coun-
       try, reported militant incidents increased to 662 in November 2007
       and peaked at 762 in December, remaining above 700 in January and
       March 2008 (710 and 708, respectively). They began to drop off in
       spring 2008.100 One particularly horrific ISI attack in late January
       2008 killed or wounded more than 300 Iraqis and flattened an entire


       95 Thanassis Cambanis, “In Mosul, Kurdish Militia Helps Keep Order,” Boston Globe,
       November 18, 2004.
       96 Anthony Cordesman, Iraqi Security Forces: A Strategy for Success, Westport, Conn.: Prae-
       ger Security International, 2006.
       97 Mark Hertling, Department of Defense news briefing, video teleconference from Iraq,
       November 19, 2007.
       98 Gordon, 2007.

       99 Bill Roggio, “Al Qaeda in Iraq’s Second in Command Was Swedish Citizen,” The Long
       War Journal, October 16, 2008.
       100 Shapiro et al., 2014.




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          Figure 2.7
          Trends in Combat Violence in Ninewa, 2005 to 2008


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        Total SIGACTS




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         SOURCE: MNF-I SIGACTS III Database (Empirical Studies of Conflict Project, n.d.).
         NOTE: The vertical line marks the start of the surge.
         RAND RR1192-2.7




       neighborhood.101 The following day, the Ninewa provincial police chief
       was killed, by a suicide bomber, while inspecting the carnage.102 ISI
       still enjoyed popular support among much of Mosul’s Sunni popula-
       tion, and the group’s supply line of fighters and weapons from Syria
       remained intact.
              Starting in early 2008, however, coalition forces began to adjust
       and sent reinforcements to Ninewa to put more pressure on ISI. The
       coalition’s attempts to stand up an SOI presence in the governorate
       were never very successful, in large part because of long-standing ten-
       sions between the Kurds and key Sunni Arab tribal leaders. In contrast,
       coalition forces were able to slowly bolster ISF capacity through joint

       101 Sam Dagher, “Al Qaeda Goes North: Police Chief Killed in Mosul,” Christian Science
       Monitor, January 25, 2008a.
       102 Dagher, 2008a.




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       operations and ratchet up the pressure on ISI leadership through a delib-
       erate counterterrorism targeting campaign across the governorate.103
              According to coalition press briefings, 161 ISI leaders were
       killed or detained between January 2005 and May 2006 (primarily
       in Anbar, which was the group’s headquarters at the time).104 As part
       of the surge, coalition forces dramatically increased the pace of these
       counterterrorism operations throughout 2007 and 2008—especially
       in Diyala, Salah al-Din, and Ninewa—which put significant pres-
       sure on the entire ISI network and degraded its operational capabili-
       ty.105 During the period from April 2007 through May 2008, coali-
       tion forces conducted 396 targeted operations against ISI leaders.106
       During this period, the frequency of counterterrorism operations, all
       focused against top ISI leadership targets, increased at a steady pace,
       from 13 events in May 2007 to a peak of 53 events in March 2008
       (Figure 2.8).
              Informed by a more comprehensive and nuanced understanding
       of ISI, coalition targeting operations became increasingly effective and
       precise.107 As Table 2.2 shows, operations were focused on ISI leaders,
       military and security personnel, and support personnel and were con-
       ducted primarily outside the capital city of Baghdad.



       103 Eric Hamilton, “The Fight for Mosul: March 2003–March 2008,” Institute for the Study
       of War, April 2008a.
       104 Rick Lynch, weekly press briefing, Multi-National Force–Iraq, May 4, 2006.

       105 Patrick Ryan, The Efficacy of Leadership Targeting Against Al Qaeda in Iraq, master’s
       research project, Washington, D.C.: Georgetown University, May 2013.
       106 Every month during that period, MNF-I leadership released a detailed “operational
       update” brief that captured key statistics related to coalition leadership’s targeting efforts
       against ISI. For each month, the brief outlined the total number of targeting events against
       the group, along with several valuable details related to each event, including target name,
       target hierarchy level, target functional role, targeting event location, targeting method, and
       target nationality. For more, see Ryan, 2013.
       107 Christopher Lamb and Evan Munsing, Secret Weapon: High-Value Target Teams as an
       Organizational Innovation, Washington, D.C.: Institute for National Strategic Studies,
       National Defense University, Strategic Perspectives 4, 2011.




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       Figure 2.8
       Coalition Forces Reported High-Value Targeting Operations Against ISI,
       2007 to 2008


                          60

                          50


                          40
       Total operations




                          30


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        SOURCE: Ryan Leadership Targeting Database 2013 (Ryan, 2013), based on monthly
        MNF-I press briefings.
        RAND RR1192-2.8




            By late 2008, largely attributable to these coalition counterter-
       rorism operations, ISI’s operational capacity in Ninewa governorate, as
       well as the rest of Iraq, was severely disrupted, and violent attack levels
       were much lower. In addition, the election of a Sunni Arab governor
       and a Sunni-controlled provincial council in January 2009 helped to
       reduce some of the popular support for ISI among Ninewa’s Sunni
       population, who saw a glimmer of hope for a more representative gov-
       ernment for the first time since the coalition invasion.108 Despite this


       108 Campbell Robertson and Stephen Farrell, “Iraqi Sunnis Turn to Politics and Renew
       Strength,” New York Times, April 17, 2009.




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       Table 2.2
       Coalition High-Value Targeting Operations Against ISI, 2007 to 2008


                                                                     All Locations

                                           Outside                    Military and
       Month              All Positions    Baghdad          Emirs      Security       Support

       May 2007                 13              13            4              3           6

       June 2007                13              10            3              7           3

       July 2007                18               9            2              5          11

       August 2007              25              22            4              4           1

       September 2007           29              22            7              8          13

       October 2007             43              30            3              5          28

       November 2007           40               36            6              6          23

       December 2007            51              48            8             12          23

       January 2008             35              30            8             10          12

       February 2008            26              24            8              8           9

       March 2008               53              49            4              5           0

       April 2008               50              47            1              2           3

       SOURCES: Ryan Leadership Targeting Database 2013 (Ryan, 2013), based on monthly
       MNF-I press briefings.
       NOTES: The category “emir” refers to people classified as emirs. The category
       “military and security” refers to people assigned to military, intelligence, or security
       roles. The category “support” refers to people in administrative, media, facilitator,
       and sharia roles.


       progress, ISI retained operational capacity in Ninewa throughout 2009
       and continued to conduct media and financing operations within the
       governorate. In a prescient statement, the U.S. spokesperson in Iraq,
       MG David Perkins, explained ISI’s maneuver in early 2009: “For [ISI]
       to win, they have to take Baghdad. To survive, they have to hold on to




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       Mosul.”109 By 2010, ISI had been pushed out of Baghdad and much of
       the rest of Iraq, but it had held enough of Mosul to survive.110


       Conclusion

       This chapter highlights the fact that ISI fought different wars in dif-
       ferent parts of Iraq. Each area presented unique dynamics. No single
       region represents the entirety of the war at any point in time.
            The analysis in this chapter has two implications for interpreting
       our data:

            1. Most of our documents come from a period when ISI was under
               tremendous pressure. It had lost its local allies in most places
               and was facing a seasoned U.S. and coalition military assisted
               by increasingly capable Iraqi forces.
            2. ISI’s ongoing use of documents in such settings reflects the high
               value it put on record keeping and using bureaucratic tools to
               achieve control over the organization.

            In some ways, the situation in Syria and Iraq today is much easier
       operationally for the Islamic State than the period under study was for
       ISI. We would therefore expect even more record keeping and organi-
       zational formality, given the easier security situation.
            The historical record in this chapter also highlights the elements
       that were needed to combat ISI. Coalition forces alone could not
       counter the group, nor could local tribal forces, nor could ISF alone.
       Instead, it took all three forces working together to bring the group
       near defeat. The population turned against the group and actively
       fought back. An improved ISF working in concert with local forces
       and coalition forces improved the counter-ISI effort. And a new coali-

       109 Tim Cocks, “U.S. Says Troops May Have to Stay in Iraq’s Mosul,” Reuters, May 1, 2009.

       110 Fishman, 2011; and Rod Nordland, “Exceptions to Iraq Deadline Are Proposed,” New
       York Times, April 27, 2009.




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       tion strategy proved effective in bringing these elements together. By
       2010, what remained was for the Iraqi government to continue build-
       ing the professionalism of ISF, for it to work toward the further inclu-
       sion of Iraq’s Sunnis in governance, for it to continue to pacify Mosul
       and build trust among the local population, and for coalition forces
       to continue to work closely with the Iraqi government, ISF, and the
       population to seal these gains. Unfortunately, none of this took place.




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       CHAPTER THREE

       The Organizational Economics of Insurgency and
       Terrorism




       The imperatives of ISI’s goals, including committing terrorist acts,
       combating coalition forces, engaging in an insurgency, killing Shia,
       and establishing a new Islamic state, required it to maintain detailed
       records, even though doing so elevated the risk it faced from its oppo-
       nents. This chapter analyzes ISI’s core organizational tasks and oper-
       ational environment from the perspective of organizational econom-
       ics. Fitting ISI’s activities into this perspective can provide not only a
       greater understanding of its activities but also insights into when les-
       sons learned from studying ISI can be applied and when they cannot.
             ISI faced many of the same managerial challenges as less violent
       organizations, but it did so in a uniquely challenging operational envi-
       ronment. The nature of that environment created strong pressures for
       hierarchy and paperwork, revealing that ISI’s administrative practices
       were often quite mundane.
             Insurgent organizations such as ISI need to complete a range of
       tasks in a particularly challenging environment. First, and perhaps
       foremost, they need to manage the production of violence. This entails
       various subtasks. These include making sure that violence is used in
       ways that advance the group’s political goals, because hitting the wrong
       targets in the wrong way can be damaging to the cause, and making
       the most of its resources, a task that requires both minimizing the mis-
       allocation of group funds and tracking where money is being spent so




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       that it can be reallocated when necessary.1 Second, insurgent organiza-
       tions need to bring in revenue to fund ongoing operations. Third, they
       need to pay their members.
             Each of these tasks has an analogue in nonviolent organizations.2
       Business firms manage the production of key outputs to maximize
       an objective, usually profit. In standard firms, this task involves set-
       ting production quotas within each market, ensuring a certain level of
       quality, distributing the proceeds from sales to various production and
       research and development units, and auditing employees to prevent
       graft and corruption. For ISI, managing production meant setting up a
       structure to help ensure that the right kinds of violence were employed
       within each area at the right intensity, given local political conditions,
       as well as organizing finances in such a manner that leaders could real-
       locate resources and monitor unit commanders’ spending.
             But business firms are not a suitable analogue for the ways in which
       insurgent groups raise revenues. Whereas businesses can raise money by
       selling goods and services, insurgent groups’ main product—political
       violence—is not readily marketable. What they can do is raise money
       in the same ways that charities, organized-crime groups, and even
       states do. Like charities, they can publicize the work they do and then
       solicit contributions from individuals and governments sympathetic to
       their goals. Like organized-crime groups, they can exploit their relative
       advantage in producing violence to run protection rackets, extort, and
       steal goods for resale.3 Like states, they can tax business activity and the
       population and fine people for violations of whatever legal code they put


       1  For evidence on the issue of hitting the right targets, see Luke N. Condra and Jacob N.
       Shapiro, “Who Takes the Blame? The Strategic Effects of Collateral Damage,” American
       Journal of Political Science, Vol. 56, No. 1, 2012. For a broader discussion of the phenom-
       enon, see Shapiro, 2013.
       2  For the similarities between organized crime and state-building, see Charles Tilly, “War
       Making and State Making as Organized Crime,” in Peter B. Evans, Dietrich Rueschemeyer,
       and Theda Skocpol, eds., Bringing the State Back In, Cambridge, UK: Cambridge University
       Press, 1985.
       3  Ahmad Salama, “Kidnapping and Construction: Al-Qaeda Turns to Big Business, Mafia
       Style,” Niqash, April 6, 2011; “Iraqis’ ‘Cruel Dilemma’: Pay Qaeda Tax or Pay the Price,”
       Agence France-Presse, September 14, 2011.




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       into effect. Insurgent groups can also run businesses that sell normal
       goods, like both charities and organized crime groups, although the
       extent to which AQI or ISI did so in Iraq is unclear.
             On the expenditures side, all firms set their compensation and
       employment policies to balance multiple objectives. Firms need to
       attract the right talent, motivate their employees to work hard, main-
       tain morale and a sense of equity within their workforces, and send
       signals about how workers should allocate their time. In labor markets
       in which there are large numbers of employers and potential workers,
       all of this has to happen in such a manner that workers’ compensa-
       tion matches the marginal product of their labor, at least in expecta-
       tion.4 ISI also had to achieve multiple objectives with its compensation
       policy, including

           • attracting talented people to work in a high-risk environment
           • screening for skills and unobservable human capital
           • motivating employees to work hard and take risks
           • maintaining morale.

              Insurgent organizations such as ISI face a unique environment in
       many ways. Most important, their leaders and middle managers are
       continually targeted by government forces and other nongovernmen-
       tal opponents. Unlike most organizations, ISI therefore had to deal
       with frequent death or capture of its middle- and upper-level ranks. ISI
       was also fairly heterogeneous, at least compared with other insurgent
       groups in Iraq, with many members flowing in from dozens of coun-
       tries.5 ISI could not rely, to the same extent, on preestablished social
       networks to ensure the trustworthiness of personnel and communicate
       a shared understanding of current conditions. Compared with non-
       violent organizations, the group also faced an unusually heavy cost for

       4   Such markets with large numbers of buyers and sellers are referred to in the social science
       literature as “thick.” In labor markets, this means high levels of supply and demand from
       multiple employers.
       5  See Chapter Five of this report, as well as Joseph Felter and Brian Fishman, Al-Qa‘ ida’s
       Foreign Fighters in Iraq: A First Look at the Sinjar Records, West Point, N.Y.: Combating Ter-
       rorism Center, West Point, 2007.




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       maintaining records. Every document could potentially be captured by
       counterinsurgents and provide leads that would enable the targeting of
       workers, managers, and supply depots.
             Critically, these environmental conditions pushed in opposite
       directions in terms of management practices. Frequent unplanned
       turnover and a diverse membership meant that it was hard for the lead-
       ership team to maintain a picture of what was going on in the organiza-
       tion without writing a great deal. The act of committing organizational
       matters to written files, however, was effectively a tax on future operat-
       ing potential, because it increased the probability of security breaches
       in all future periods. The group resolved this trade-off in a particular
       way, and the documents we analyze are the result of that. The simple
       fact that the group’s choice involved a fair amount of record keeping,
       albeit less than one would see in the typical business firm, is a critical
       piece of evidence about just how hard it is to manage an insurgency
       and establish parallel governance structures.
             ISI leaders fully recognized the desirability of monitoring mem-
       bers. One of our documents, a letter from As‘ad recommending Anas,
       also known as Abu ‘Abdallah, for a position as a high-level ISI adminis-
       trator, indicates that one of the key initiatives that Anas would propose
       upon becoming an administrator was a full ISI census, to be under-
       taken by ISI administrators.6 Presumably, such a census would collect
       and store detailed, personally identifying information about ISI opera-
       tives at all levels of the organization, which could be used against ISI
       by hostile intelligence and security services. It is unclear whether Anas
       or any other ISI administrator ever conducted the envisioned census,
       but the decision to undertake an organizationwide census would have
       required ISI’s leaders to accept significant operational security risks in
       exchange for better situational awareness through more-granular infor-
       mation about the composition of their organization.
             In the next section, we discuss insurgent management chal-
       lenges. Following that, we outline how rebel groups finance operations.
       We then discuss the issues an insurgent compensation scheme must
       address. Each section begins by describing the tasks for the organiza-

       6    Harmony document NMEC-2009-634370; see “ISIL, Syria and Iraq Resources,” 2015.




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       tion in that domain, then outlines the specifics of the task environ-
       ment in Iraq, and finishes by describing what we should expect in that
       domain, given those specifics.


       Management
       Tasks
       ISI had three basic managerial tasks in Iraq:

           • control group members’ use of violence
           • maximize the value of group resources
           • develop management capacity across diverse territories.

             The first of these tasks may seem surprising given ISI’s reputa-
       tion; this was the group, after all, that pioneered the beheading video
       with the 2004 murder of the American contractor Nicholas Berg. Yet
       the group actually had frequent political problems stemming from
       members’ excessive violence, both against civilian targets and against
       other militant groups. Excessive violence against civilians played a
       large role in motivating the Anbar Awakening and clearly concerned
       ISI leaders.7 In fact, there is a February 2006 letter that appears to
       be from a member of the group’s shura council to a commander in
       Ramadi, Abu Usamah; the letter directed the commander: “Stop the
       killing of people unless they are spying, military, or police officers.
       . . . [F]ind a secure method because if we continue using the same
       method, people will start fighting us in the streets.”8 Conflicts with
       local indigenous insurgent groups, such as Ansar al-Sunnah and the
       Islamic Army in Iraq, were often stoked by the unsanctioned actions
       of local fighters, similar to the dynamics reportedly underlying gang


       7 For richer discussions of the role of excess violence by ISI in stoking the Awakening, see
       Shapiro, 2013, Chapter Four; and Biddle, Friedman, and Shapiro, 2012.
       8   Harmony document IZ-060316-02; see “ISIL, Syria and Iraq Resources,” 2015. The letter
       is unsigned but was found with a situation report to that member, noting limitations on the
       killing of Sunni police and asking permission to kill eight individuals.




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       wars in Chicago.9 These conflicts distracted ISI from its core task of
       fighting the Iraqi government and coalition forces and helped turn
       local sentiment against the group.
             The second task—to maximize the value of group resources—
       required controlling graft and corruption, as well as allocating people
       and money to the locations where they could do the most good. The
       extent to which the group allocated resources over space changed dra-
       matically through the course of the war. In 2005 and early 2006, the
       group was making a great deal of money in Anbar governorate, the seat
       of its power at that time. Anbar’s leaders then reallocated some of this
       money throughout Iraq, including to Mosul, the border sections, and
       Basra.10 But by late 2008, the ISI organization had all but collapsed,
       and most of its members had retreated to northern Iraq, so what rev-
       enue there was in Mosul was basically what was available for the entire
       organization. This dynamic substantially simplified the allocation
       problem. What did not change over time was the extent of disagree-
       ments and conflicts over how money was being spent. Throughout its
       history, ISI had problems with operatives who did not want to work as
       hard as leaders would like, who spent money in ways more-senior lead-
       ers found wasteful, and who had to deal with other organizations that
       did not share the group’s priorities.11
             The third task of developing management capacity across terri-
       tory and bureaucracies was a necessary step toward forming a state.
       This task entailed little in the way of managerial complications but did
       require building the structures that could eventually manage territory,
       including raising revenue, providing some modicum of governance,
       and organizing local personnel.



       9  On conflicts between ISI and other groups, see, for example, the internal correspondence
       about the Battle of Amariyah, first documented in Fishman, 2009, pp. 10–20. On costly
       conflicts between gangs initiated by unsanctioned actions, see Steven D. Levitt and Sudhir
       Alladi Venkatesh, “An Economic Analysis of a Drug-Selling Gang’s Finances,” Quarterly
       Journal of Economics, Vol. 115, No. 3, 2000.
       10 This process is documented in detail in Bahney, Shatz, et al., 2010.

       11 See Shapiro, 2013, Chapter Four, for more details.




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             Both controlling violence and managing group finances entailed a
       broad range of what economists and political scientists call agency prob-
       lems. As a general matter, agency problems arise when three conditions
       exist: (1) one person, the principal, needs to delegate certain actions
       or decisions to another person, the agent (e.g., an individual hiring an
       accountant to do her taxes or voters electing politicians to write laws);
       (2) the principal cannot perfectly monitor the agent or punish him
       with certainty when he does not perform (e.g., when it is costly for a
       general contractor to verify all the work done by a subcontractor on
       a building site); and (3) the preferences of the principal and agent are
       not aligned (e.g., a worker does not derive the same value from putting
       effort into a task as her boss).12
             In managing these agency problems, ISI faced trade-offs between
       hierarchy and decentralized control. Hierarchical structures can help
       manage a broad range of internal coordination challenges, and verti-
       cal integration can be useful for addressing a range of inefficiencies
       that arise when transactions have to take place without complete and
       enforceable contracts.13 These benefits are why most business firms
       operate with a great deal of vertical structure rather than relying com-
       pletely on internal markets and relational contracts.14 These benefits
       are also why insurgent groups need hierarchy.15 Many inputs into the

       12 David M. Kreps, A Course in Microeconomic Theory, Princeton, N.J.: Princeton Univer-
       sity Press, 1990b. Chapters Sixteen and Seventeen provide an excellent general summary of
       agency theory.
       13 On coordination problems, see Gary J. Miller, Managerial Dilemmas: The Political Econ-
       omy of Hierarchy, New York: Cambridge University Press, 1992. Gibbons integrates various
       perspectives on the theoretical value of vertical integration, differentiating between those
       focusing on the value of ex ante incentives and those more interested in ex post governance;
       see Robert Gibbons, “Four Formal(izable) Theories of the Firm?” Journal of Economic Behav-
       ior and Organization, Vol. 58, No. 2, 2005.
       14 For a review of the theoretical and empirical literatures on vertical integration, see Timo-
       thy Bresnahan and Jonathan Levin, “Vertical Integration and Market Structure,” in Robert
       Gibbons and David J. Roberts, eds., Handbook of Organizational Economics, Princeton, N.J.:
       Princeton University Press, 2012.
       15 For analyses of the varying levels of hierarchy and internal discord in insurgent and ter-
       rorist groups, see Jeremy Weinstein, Inside Rebellion: The Politics of Insurgent Violence, Cam-
       bridge, UK: Cambridge University Press, 2007; Jacob N. Shapiro, “Terrorist Organizations’




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       production of insurgent activity are hard to measure—for example,
       how much should a cell in Sinjar compensate a smuggler for bringing
       someone with unknown skills across the Syrian border—and there is
       no system to enforce contracts.16 There are, of course, solutions to such
       problems that do not involve forming large organizations, but almost
       all rely on some combination of repeated interactions and reputation,
       both of which are hard to maintain in the context of an insurgency,
       where there is a premium on secrecy and where counterinsurgent activ-
       ity makes it hard to build enduring relationships.17
             Decentralized control also has potential advantages in insurgen-
       cies. The less hierarchy, the less paperwork and documentation there is
            18

       for counterinsurgents to capture and exploit for intelligence purposes.
       But delegation can also help operations in some circumstances. When
       agents have better knowledge than their principals about the task at
       hand, or about how actions relate to outcomes, the principals may be
       better off delegating to an agent than completing the task alone, even
       if the agent’s preferences differ substantially.19 Delegation is most obvi-
       ously advantageous when success depends on situational information
       that can be known only to those close to the action. When a deci-
       sion has to be made about when to launch a truck-bomb attack at

       Vulnerabilities and Inefficiencies,” in Harold Trinkunas and Jeanne K. Giraldo, eds., Terror-
       ist Financing in Comparative Perspective, Stanford, Calif.: Stanford University Press, 2007;
       Jacob N. Shapiro and David A. Siegel, “Underfunding in Terrorist Organizations,” Inter-
       national Studies Quarterly, Vol. 51, No. 2, 2007; and Shapiro, 2013. For a related perspec-
       tive, drawing mostly on the sociology literature on institutions, see Scott Helfstein, “Gover-
       nance of Terror: New Institutionalism and the Evolution of Terrorist Organizations,” Public
       Administration Review, Vol. 69, No. 4, 2009.
       16 Allowing the smuggler to take a substantial portion of the person’s money as compensa-
       tion is probably not ideal, though it did happen sometimes. See Brian Fishman, ed., Bombers,
       Bank Accounts, and Bleedout: Al-Qa’ ida’s Road in and out of Iraq, West Point, N.Y.: Combat-
       ing Terrorism Center, West Point, 2008, pp. 48–49.
       17 There is a large literature on how individuals coordinate activity in the absence of legally
       enforceable contracts. For a good summary, see Avinash K. Dixit, Lawlessness and Economics:
       Alternative Modes of Governance, Princeton, N.J.: Princeton University Press, 2007.
       18 This section substantially mirrors the discussion of delegation in Shapiro, 2013.

       19 Jonathan Bendor and Adam Meirowitz, “Spatial Models of Delegation,” American Politi-
       cal Science Review, Vol. 98, No. 2, 2004.




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       the entrance to a military base, for example, giving authority to the
       unit commander whose fighters have been observing the base can offer
       a significant advantage and minimize the need for communication
       with higher management. Similarly, allowing multiple unit command-
       ers to coordinate around loosely stated objectives can enable coordi-
       nated attacks that would be too complex for any one commander to
       manage.20

       Environment
       Three conditions are particularly relevant for understanding the man-
       agement environment for ISI. First, as with all firms, its managers were
       cognitively constrained. The problem was likely worse for ISI, because
       its political goal of radically restructuring society once the existing gov-
       ernment was defeated would surely have limited its appeal to the kinds
       of people with management experience. Sunnis who developed organi-
       zational skills through success in business or government in Iraq before
       the war had many organizations they could join, none of which pro-
       posed changes similar to those ISI proposed. However, some jihadists
       had these skills, either naturally, through previous work, or through
       learning them in the field, and the fact that strong managers emerged
       is one reason ISI proved to be an adaptive organization.
             Second, coalition forces and ISF were targeting ISI senior and
       midlevel leaders and key facilitators aggressively. The coalition’s target-
       ing campaign was especially aggressive from early 2006 through mid-
       2010. The targeting campaign forced such top leaders as al-Zarqawi,
       Abu Umar al-Baghdadi, and al-Masri to ensure their own security by
       limiting their direct contact with their organization’s activities and del-
       egating important functions of the organization to a bureaucracy of
       midlevel leaders. Nonetheless, the targeting campaign removed hun-
       dreds of leaders beneath the very top tier. This campaign might have
       caused the incapacity of ISI to regenerate new midlevel leadership and
       a rank-and-file cadre over time, trends that appear to have been signifi-
       cant in Mosul between 2007 and 2009, as well as in Anbar in 2006. In

       20 Sean J. A. Edwards, Swarming on the Battlefield: Past, Present, and Future, Santa Monica,
       Calif.: RAND Corporation, MR-1100-OSD, 2000.




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       Anbar, AQI documents containing a sample of 251 members suggest
       that roughly one-third might have been killed. Members faced roughly
       a 17-percent chance of violent death in a year—a mortality rate 50
       times higher than that of the civilian population of Anbar.21 The degra-
       dation of AQI and ISI grew over time. In one later tracking spreadsheet
       of ISI members in Mosul in the fall of 2007, 526 of 1,318 members
       were listed as having been killed or captured, more than 40 percent of
       the recorded membership.22
             Third, ISI brought together an extremely heterogeneous group
       of members. Many rebel groups have used preexisting social ties to
       mitigate agency problems. This can happen through screening or par-
       ticipation in prerevolutionary political activities,23 using community
       social pressure to increase the costs of shirking,24 and relying on pre-
       viously established norms to coordinate group expectations.25 Few of
       these strategies were available to ISI. The group had to rapidly integrate
       personnel from dozens of countries and was moving into areas where it
       often had little local history and few local ties. The traditional mana-
       gerial tools employed by “sons of the soil”–style rebellions simply were
       not available to ISI.

       Expectations
       The analysis above leads to several concrete expectations that we will
       carry forward into the chapters that follow. First, ISI should have done

       21 See Bahney, Shatz, et al., 2010.

       22 Harmony document NMEC-2008-614686; see “ISIL, Syria and Iraq Resources,” 2015.

       23 See Eli Berman, Radical, Religious, and Violent: The New Economics of Terrorism, Cam-
       bridge, Mass.: MIT Press, 2009, for a complete discussion of why religious groups have a
       relative advantage in exploiting preexisting social networks to manage agency problems. The
       core argument is that groups’ ability to screen recruits and credibly threaten members’ fami-
       lies for defections provides an advantage in maintaining discipline within groups.
       24 For a discussion of the many reasons why ethnic groups are relatively better at punishing
       deviant behavior by their own members, see James Fearon and David D. Laitin, “Explaining
       Interethnic Cooperation,” American Political Science Review, Vol. 90, No. 4, 1996.
       25 This is similar to the role envisioned for corporate culture in David M. Kreps, “Corporate
       Culture and Economic Theory,” in James Alt and Kenneth Shepsle, eds., Rational Perspectives
       on Political Science, Cambridge, UK: Cambridge University Press, 1990a.




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       a good deal to monitor what its operatives were doing day to day. Some
       of this can be accomplished by establishing hierarchical structures in
       which people have limited spans of control, essentially what firms do
       when they have to bring together heterogeneous groups of employees.
       But a substantial amount of control would have to be accomplished
       by having members document their activities. We should therefore
       expect to see regular situation reports, as well as reporting on financial
       expenditures.26 One common way organizations manage financial risk
       is to cover members’ expenses, after the fact, through a reimbursement
       system. As we will see in Chapter Nine, this is exactly what ISI did.
       It appears that members would incur expenses on behalf of the group,
       pay them out of their own funds, and then request reimbursement.
             Second, ISI should have produced substantial paper records, espe-
       cially as it became larger and needed to manage complex operations.
       We should also expect the group to take measures to track its opera-
       tives’ experiences. One of the benefits of size, after all, is the ability to
       allocate people to places where they will be most productive. But figur-
       ing out who will do best where requires knowing which of your mem-
       bers have the proper experience, training, and background. If leaders
       do not personally know all their fighters, which is not feasible in any
       modestly sized organization, then building that knowledge requires a
       database of personnel qualifications. As we will see in Chapters Five
       through Seven, ISI did just that.27




       26 ISI kept spreadsheets to track spending and income, often at the unit level, for most of its
       existence. On expenditures specifically, see, e.g., Harmony documents MNFA-2007-000564,
       MNFA-2007-000566, MNFA-2007-000572, MNFA-2007-000573, NMEC-2007-632533,
       NMEC-2009-634443, NMEC-2009-634921, NMEC-2010-183085, and MNFV-2007-
       000370; see “ISIL, Syria and Iraq Resources,” 2015. On the revenue side, see Harmony
       documents NMEC-2007-633700, NMEC-2009-600865, NMEC-2009-634444, NMEC-
       2009-634823, NMEC-2009-634838, NMEC-2010-175522, NMEC-2010-177375, and
       NMEC-2010-177378; see “ISIL, Syria and Iraq Resources,” 2015.
       27 The Provisional Irish Republican Army (IRA) in Belfast considered collecting such infor-
       mation in 1973 to “select the best men for the squads.” Gerry Bradley and Brian Feeney,
       Insider: Gerry Bradley’s Life in the IRA, Dublin: O’Brien Press, 2009, p. 160.




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       Revenue
       Task
       The basic revenue-generation task for ISI was quite simple: Bring in
       financial and material resources to enable the group’s military and politi-
       cal activities. What made this task challenging is that many options for
       raising money in Iraq during the war entailed smuggling, kidnapping,
       extortion, and other criminal activities that often set ISI at odds with
       local tribes, preexisting local militias, and criminal organizations.28
             Historically, insurgent organizations have raised money through
       a variety of means. Both the Provisional IRA and Loyalist paramilitary
       organizations in Northern Ireland, for example, raised money through
       a combination of overseas fundraising, armed robbery, protection rack-
       ets, and membership dues from the Loyalist side.29 Palestinian mili-
       tants raised money through taxing their constituents in the Palestinian
       diaspora, raising funds from sympathetic governments, and engaging
       in criminal schemes, as did the Tamil nationalist Liberation Tigers of
       Tamil Eelam.30

       Environment
       Fundraising opportunities for ISI varied dramatically across Iraq and
       over time. The basic environment was one with a functioning but
       hobbled economy that had massive levels of grey- and black-market
       activity. The performance of the economy also varied hugely across

       28 This process is well documented in Long, 2008.

       29 On Provisional IRA fundraising, see John Horgan and Max Taylor, “The Provisional
       Irish Republican Army: Command and Functional Structure,” Terrorism and Political Vio-
       lence, Vol. 9, No. 3, 1997, p. 21; and John Horgan and Max Taylor, “Playing the Green Card:
       Financing the Provisional IRA—Part 2,” Terrorism and Political Violence, Vol. 15, No. 2,
       2003. On Loyalist paramilitary fundraising, see Andrew Silke, “In Defense of the Realm:
       Financing Loyalist Terrorism in Northern Ireland—Part One: Extortion and Blackmail,”
       Studies in Conflict and Terrorism, Vol. 21, No. 4, 1998; and Andrew Silke, “Drink, Drugs,
       and Rock’n’Roll: Financing Loyalist Terrorism in Northern Ireland—Part Two,” Studies in
       Conflict and Terrorism, Vol. 23, No. 2, 2000.
       30 For a good summary of Palestine Liberation Organization fundraising activities in the
       pre-Oslo period, see James Adams, The Financing of Terror, New York: Simon and Schuster,
       1986.




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       the country. The 2007 Iraq Household Socio-Economic Survey reports
       unemployment in the four governorates where our documents were
       found, ranging from a low of 7.6 percent in Salah al-Din to a high
       of 20.4 percent in Diyala. Household income ranged from a low of
       474,300 Iraqi dinars per month in Diyala to 795,600 Iraqi dinars per
       month in Salah al-Din. And household expenditures showed a similar
       range. Within-governorate variance in economic performance was high
       as well, with the World Food Program’s Iraq Food Security and Vul-
       nerability Analysis 2007 survey reporting rates of stunting and chronic
       malnutrition by district that varied from 20.8 percent to 56.6 percent
       in Anbar and 17.2 percent to 56.0 percent in Ninewa.31

       Expectations
       Given the historical record of insurgent groups tapping all available
       sources of money, we expect that ISI documents will confirm the
       qualitative evidence that the group utilized a broad range of funding
       sources,32 including

          • kidnapping
          • black-market oil sales
          • vehicle and antiquities theft
          • extortion.




       31 Central Organization for Statistics and Information Technology, Kurdistan Region Sta-
       tistics Organization, and World Bank, Iraq Household Socio-Economic Survey: IHSES—2007,
       Baghdad, 2008; see Table 5-4, Table 9-2, and Table 8-2 and pp. 92 and 182. Central Organi-
       zation for Statistics and Information Technology, Kurdistan Region Statistics Office, Nutri-
       tion Research Institute (Ministry of Health), and United Nations World Food Programme
       Iraq Country Office, Comprehensive Food Security and Vulnerability Analysis (CFSVA): Iraq,
       Rome: United Nations World Food Programme, 2008.
       32 Phil Williams, Criminals, Militias, and Insurgents, Strategic Studies Institute Monograph
       930, Carlisle, Pa.: U.S. Army War College, 2009.




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       Compensation
       Task
       All firms set their compensation and employment policies to balance
       multiple objectives. Firms need to attract the right talent, motivate
       their employees to work hard, maintain morale and a sense of equity
       within their workforces, and send signals about how workers should
       allocate their time. In labor markets with many potential employers
       and employees, all of this has to happen in such a manner that work-
       ers’ compensation matches the marginal product of their labor, at least
       in expectation.
             There is a massive literature on the functions of compensation sys-
       tems in normal organizations. Literatures relevant to our study cover
       (1) using wages to screen for high-quality workers, (2) providing incen-
       tives for workers to take on risky or unpleasant jobs, and (3) providing
       wages for people who find that the reward of doing the job outweighs
       potential wages or the value that the employer puts on doing the job.
       The literature on using wages for screening starts from the observation
       that when the quality of workers is unobservable, low-quality workers
       have an incentive to seek high-wage jobs.33 Drawing on this insight
       and the literature that followed it, research shows that when insurgent
       groups use the promise of high wages to attract recruits, they end up
       bringing in large numbers of opportunistic joiners who are hard to
       discipline and often abuse noncombatants.34 Screening mechanisms
       to avoid such problems, known as adverse selection, include incentive
       schemes (such as piecework),35 requiring costly investments in educa-
       tion as a precondition for employment,36 participation in costly ritual

       33 George Akerlof, “The Market for ‘Lemons’: Quality Uncertainty and the Market Mecha-
       nism,” The Quarterly Journal of Economics, Vol. 84, No. 3, August 1970.
       34 Weinstein, 2007.

       35 Edward P. Lazear, “Personnel Economics: Past Lessons and Future Directions: Presiden-
       tial Address to the Society of Labor Economists, San Francisco, May 1, 1998,” Journal of
       Labor Economics, Vol. 17, No. 2, 1999.
       36 On education as screening in traditional jobs, see A. Michael Spence, “The Learning
       Curve and Competition,” Bell Journal of Economics, Vol. 12, No. 1, 1981. On costly invest-
       ment in religious or ideological knowledge as a way to screen to militant groups, see Berman,




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       activity,37 and low entry-level wages that will be attractive only to mis-
       sion-oriented individuals.38
             When it comes to creating incentives for workers to take on risky
       jobs, the literature has largely focused on the role of what are called
       compensating wage differentials. This literature considers the wage paid
       to workers as a function of (1) the worker’s marginal productivity and
       (2) the attributes of the job, typically expressed through the notion of
       riskiness or dirtiness. Inducing workers to undertake risky or dirty jobs
       is thought to require a wage premium, although recent evidence sug-
       gests there is a substantial population that has a preference for risky
       work, and thus the wage premium for high-risk jobs is much lower
       than the statistical value of life would suggest it should be.39
             Another literature studies the motivation for performance among
       government bureaucrats. This literature starts from the observation
       that the financial reward for performance in many jobs is modest, but
       the intrinsic rewards for exerting effort are quite high. In such settings,
       there are obvious benefits to self-selection (e.g., lower wage require-
       ments) but also costs to select people with strong intrinsic motivations,
       including a bias toward doing the job over optimizing financial effi-
       ciency (e.g., social workers might not watch budgets as closely as elected
       officials would like, because they are focused on serving the poor).40
       And, indeed, recent empirical work confirms that, just as the theo-
       retical literature would expect, more–pro-social workers exert higher
       effort on pro-social tasks at the same wage level, and when wages are


       2009; and Shapiro, 2013, especially Chapter Six, which discusses problems that Marxist ter-
       rorists groups had using this screening strategy.
       37 Berman, 2009.

       38 George Baker, Michael Gibbs, and Bengt Holmstrom, “The Internal Economics of the
       Firm: Evidence from Personnel Data,” The Quarterly Journal of Economics, Vol. 109, No. 4,
       November 1994.
       39 Kurt J. Lavetti, “The Estimation of Compensating Differentials and Preferences for
       Occupational Fatality Risk,” unpublished manuscript, Ohio State University, 2012.
       40 For a good review and theoretical model showing the policy bias that can result from
       self-selection, see Candice Prendergast, “The Motivation and Bias of Bureaucrats,” American
       Economic Review, Vol. 97, No. 1.




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       increased, less pro-social individuals will consider pro-social jobs.41
       This is consistent with earlier work on rebel groups, which showed that
       those groups attracting fighters through paying good wages and offer-
       ing opportunities for plunder also attract more-abusive fighters.42
             Just like any other firm, ISI faced this trade-off between bring-
       ing in mission-oriented people who would work for relatively little and
       using wages to attract workers. More broadly, ISI had to achieve mul-
       tiple objectives with its compensation policy, including

            • attracting talented people to work in a high-risk environment
            • screening for skills and unobservable human capital
            • motivating employees to work hard and take risks
            • maintaining morale.

       Environment
       There were three facts about ISI’s operational environment that set it
       apart. First, the group did not have a particularly easy environment
       for using wages to attract members. Compared with violent organiza-
       tions operating in largely dysfunctional economic environments (al-
       Shabaab in Somalia or ethnic militias in the Central African Republic),
       ISI faced a relatively less challenging economic environment. Although
       economic conditions during the war were far from ideal, the rates of
       intense want and deprivation were low, on average. This was in part
       because the Iraqi government had a long-standing policy of providing
       every household with monthly rations from the country’s public food-
       distribution system. And although unemployment rates were high in
       some places, on average they were comparable with those of many
       developing economies.43

       41 Sheheryar Banuri and Philip Keefer, “Intrinsic Motivation, Effort and the Call to Public
       Service,” Policy Research Working Paper 6729, World Bank, 2013.
       42 Weinstein, 2007.

       43 Central Organization for Statistics and Information Technology, Kurdistan Region Sta-
       tistics Organization, and World Bank, 2007; and Central Organization for Statistics and
       Information Technology, Kurdistan Region Statistics Office, Nutrition Research Institute
       (Ministry of Health), and United Nations World Food Programme Iraq Country Office,
       2008.




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             Second, the group did not appear to have a hard time attracting
       fighters. ISI documents suggest that, for some of the war, the group
       had more fighters than it used.44 Put in terms of the literature on
       public-sector wages, there were many intrinsically motivated types in
       ISI’s labor pool. Because of the coalition’s intelligence activities and
       the opportunism of many potential fighters, however, there were also
       a substantial number of “bad” types. Here bad refers to people who
       would readily give up information if captured or who would take
       advantage of positions of authority to skim funds.
             Finally, when it came to the managerial functions of the wage
       plan, ISI faced a difficult environment. As noted, ISI had a hetero-
       geneous set of employees, many of whom had little experience work-
       ing together. ISI also had to deal with frequent managerial turnover
       because of coalition targeting. Furthermore, working for the group,
       even as a regular member, was extremely risky. Achieving the group’s
       mission therefore required that managers, who did not have much time
       to form bonds of trust, be able to motivate their fighters to engage in
       extremely risky activities.

       Expectations
       Given the combination of screening and motivational challenges ISI
       faced, we expect its compensation scheme to have several traits. First,
       the wage structure should be relatively flat to encourage a sense of
       equity among members. Second, since the group did not have a hard
       time finding fighters, wages should be used as a screening mechanism.
       Uncommitted individuals posed security risks for the group, and there
       was a glut of willing fighters, so there was no reason for the group to
       pay market wages. Third, the wage structure should have some flexibil-
       ity to accommodate members who have larger financial commitments.
       Fourth, the compensation scheme should have some elements that serve
       to build trust by requiring leaders to make credible future commit-

       44 See, for example, Harmony document NMEC-2008-612449 (“ISIL, Syria and Iraq
       Resources,” 2015), in which the writer lamented that foreigners who came to be suicide
       bombers were not being used, and, as a result, the prospective suicide bomber has “an impo-
       tent mental status and disappointment, his qualification will decrease and disappear because
       of depression and lack of help.”




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       ments of resources whenever they ask members to take on extremely
       risky duties in the present.45 The compensation scheme should send a
       credible signal, in other words, that leaders value their members’ lives
       and will only spend them to good purpose.


       Conclusion

       In handling its managerial challenges, ISI faced two key environmen-
       tal conditions. First, it had a diverse workforce, with varied views and
       levels of motivation, that often disagreed on how to spend money and
       how to use violence. Second, ISI had to deal with frequent, unplanned
       leadership turnover because of intense coalition counterinsurgency
       operations. Given these conditions, the organizational economics lit-
       erature leads to several clear predictions.
             ISI should not have to offer high wages to attract talent, but the
       workers it does attract at low wages will often want to overproduce or
       pad their wages through graft. Those agency problems create a need to
       track workers’ expenditures and provide opportunities for management
       to identify and correct misbehavior. Additionally, with frequent turn-
       over, there will be a need to maintain organizational memory.
             Therefore, the group will need to employ a great deal of formal
       record keeping. Furthermore, with the high turnover and need to moti-
       vate risky action, ISI should employ compensation practices that create
       credible signals by leaders that they are using their fighters wisely, given
       the high risk of death or, in the case of voluntary suicide bombers, the
       desire to have a death that has a large effect.
             As we will see in subsequent chapters, each of these expectations
       is borne out. ISI, it turns out, faced the same challenges as many legiti-
       mate organizations, and therefore the perspectives used to understand
       these organizations can be applied to an analysis of ISI.

       45 Such commitments are known in the economics and political science literature as
       time-consistent.




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       CHAPTER FOUR

       Organizing Insurgency and Terrorism in Iraq




       Three organizational issues have sparked debate among terrorism
       experts and scholars in recent years. These are (1) the organization and
       structure of terrorist or militant groups, (2) the functions performed by
       such groups and the organizational structures that enable the perfor-
       mance of these functions, and (3) how militants manage the territory
       they occupy. We term these issues rebel governance.
             This chapter examines these organizational issues. The documents
       we analyze allow us to report how the militants themselves viewed
       these issues. Analysts, policymakers, and scholars have devoted signifi-
       cant attention to each issue. However, militants’ internal documents
       offer unique insights.
             Three key findings emerge. First, ISI designed its organization as a
       hierarchy in which each level practiced considerable top-down control
       over subordinates who administered a bureaucratic organization with
       strict standard operating procedures. ISI, in late 2008, was a standard
       multidivisional hierarchy, commonly known as an “M-form,” in which
       a central management structure with functional bureaus is replicated at
       multiple lower geographic levels.1 Second, ISI’s chosen organizational
       structure at the central level and within regional units was almost iden-
       tical to that espoused by Usama Bin Ladin’s al-Qa‘ida in the late 1990s.
       Third, although ISI had a clear geographic strategy for the territory in
       Iraq it sought to control, by late 2008, its ability to administer territory
       was more limited than its ambitions. By that time, the group simply


       1   Chandler, 1969; Bahney, Shatz et al., 2010.



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       was unable to fill out its organization chart at the mid to senior levels
       of management. Unfortunately, the documents released for this report
       are insufficiently complete to let us determine exactly why we see these
       patterns. There are at least two explanations for each of these facts,
       which are consistent with the data; we lay them out below.
             What is clear is that ISI had a centralized hierarchy composed of
       multiple levels that drove the day-to-day operations of the group. The
       degree of organizational similarity, known by organization scholars as
       isomorphism, between ISI and al-Qa‘ida makes sense from the perspec-
       tive offered in Chapter Three, which discussed how bureaucracy and
       formal hierarchy can help militant groups perform key functions for
       both war fighting and state building.
             This chapter proceeds as follows: We first briefly outline debates
       about how terrorist groups have organized. We then describe how ISI
       was organized and how much this organization mimics the structure
       that core al-Qa‘ida sought to establish during its peak years in Afghan-
       istan. This section also outlines two possible explanations for the
       remarkable similarity between al-Qa‘ida’s ideal structure and what ISI
       sought to establish. The next section discusses ISI’s geographic strategy
       and highlights its inability to fill positions by late 2008.


       Terrorist Organizations as Networks and Hierarchies

       Since the early 2000s, terrorism analysis discussing group structures
       has focused on two ideal types: networks and hierarchies.2 Networks
       are self-organized and self-enrolling. Sets of actors or nodes connected
       through ties, which are often social or informal, form the bulk of most
       networks. The origins and structure of terrorist networks make them
       fluid and resilient, according to terrorism analysts. Members of these

       2  Much of the foundation of this debate comes from the organizational economics lit-
       erature. See, for example, Chandler, 1969; Williamson, 1975; Miller, 1992; and Grahame
       Thompson, Between Hierarchies and Markets, New York: Oxford University Press, 2003. For
       applications of ideas from the organizational economics literature to a wide range of politi-
       cal organizations, see Alexander Cooley, Logics of Hierarchy: Problems of Organization in
       Empires, States, and Military Occupations, Ithaca, N.Y.: Cornell University Press, 2005.




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       networks often come from a variety of locations. Compact pockets of
       terrorists then congeal around a central idea but largely operate inde-
       pendently. People can form cells without meeting in person (e.g., over
       the Internet). Terrorist networks use intermediaries to keep cells iso-
       lated from each other but in communication with leadership. Interme-
       diaries enmesh cells in the organization but keep them at arm’s length
       from its vulnerable nodes. This offers operational-security advantages.
       No node should have evidence that could compromise the organiza-
       tion as a whole. Networked organizations thus should be difficult for
       security services to detect and dismantle.3
              A counterargument is that networks are vulnerable by design. In
       this view, networks are poorly organized for effective counterintelligence
       practices because they are relatively easy to detect but hard to disman-
       tle. They therefore struggle to operate clandestinely and must replace
       nodes that security forces neutralize. New members must be recruited
       to replace these nodes and perform additional tasks as a networked
       organization attempts to expand its influence. Recruiting is largely
       decentralized in networks, and these decentralized decisionmaking
       structures make it difficult for a group’s leaders to screen recruits to
       their preferred satisfaction, which can lead to operational-security
       lapses that cause networks to unravel. Yet nabbing a cell, or even a key
       node, is unlikely to do as much damage to a networked group’s security
       as targeting key members of hierarchical organizations, so networked
       groups are often simultaneously weak relative to their state adversaries
       but resilient to their adversaries’ countermeasures.4
              Hierarchical terrorist organizations are more akin to conven-
       tional armies or guerrilla movements. They use unconventional bat-
       tlefield tactics, but their organization centralizes authority from the
       top down.5 Sophisticated organizations have hierarchies that include

       3  Jessica Stern and Amit Modi, “Producing Terror: Organizational Dynamics of Survival,”
       in Thomas Biersteker and Sue Eckert, eds., Countering Financing of Terrorism, New York:
       Routledge, 2008, pp. 27–28.
       4   The authors thank Daniel Byman for suggesting this trade-off.
       5  For examples of this phenomenon and a theoretical logic underpinning it, see Shapiro,
       2013, pp. 15–18.




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       different functional areas and that delegate decisionmaking. As with
       multidivisional firms, hierarchical organizations maintain governance
       over multifaceted activities to realize economies of scale and ensure
       that people lower down the hierarchy do what leaders expect them
       to do. Most use standard operating procedures and written rules to
       mitigate the challenges such complexity poses. Hierarchy also provides
       certain operational advantages, allowing groups to plan and execute
       complex attacks and to deconflict other operational activities.6
              Most organizations fall somewhere between these two ideal types,
       but the lines of debate in the terrorism literature have been organized
       around which ideal best describes al-Qa‘ida and like-minded groups;
       is it akin to a “leaderless jihad,” or are leaders and bureaucracy central
       to the execution of its plans and strategy?7 The answers are relevant
       for understanding the group’s capabilities and its vulnerabilities.8 For
       example, if terrorist groups require substantial hierarchy to operate at
       scale, then terrorism could be self-limiting, particularly if the govern-
       ment makes a strong effort to contest territory and exploit inefficiencies
       and vulnerabilities in these terrorist groups’ organizational structures
       and bureaucracies, including record keeping and other intelligence that
       can be gleaned and used to dismantle the groups.9 As soon as groups
       get big, the necessities of managing a large workforce require a good
       deal of communications and record keeping. That, in turn, means that

       6   Candace Jones, William S. Hesterly, and Stephen P. Borgatti, “A General Theory of
       Network Governance,” The Academy of Management Review, Vol. 22, No. 4, October 1997,
       p. 923. Also see Rohan Gunaratna and Aviv Oreg, “Al Qaeda’s Organizational Structure and
       Its Evolution,” Studies in Conflict & Terrorism, Vol. 33, No. 12, 2010, p. 1045.
       7  See, for example, Bruce Hoffman, “The Myth of Grass-Roots Terrorism: Why Osama
       Bin Laden Still Matters,” Foreign Affairs, Vol. 87, No. 3, July/August 2008; Marc Sageman
       and Bruce Hoffman, “The Reality of Grass-Roots Terrorism [with Reply],” Foreign Affairs,
       Vol. 87, No. 4, July/August 2008; and Peter Neumann, Ryan Evans, and Raffaello Pantucci,
       “Locating Al Qaeda’s Center of Gravity: The Role of Middle Managers,” Studies in Conflict
       & Terrorism, Vol. 34, No. 11, 2011.
       8  James J. F. Forest, Jarret Brachman, and Joseph Felter, Harmony and Disharmony: Exploit-
       ing al-Qa‘ ida’s Organizational Vulnerabilities, West Point, N.Y.: Combating Terrorism
       Center, West Point, 2006.
       9  On this point, see Jacob N. Shapiro, “108 Terrorist Memoirs, Analyzed,” Boston Globe,
       January 19, 2014.




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       the groups begin producing a large signal—essentially a trail of paper
       and data that governments can detect and follow.
            This concept has most often been applied to classic terrorist
       groups. The issue becomes more complex with a group such as ISI, then,
       and the Islamic State, now, because the group is not simply a terrorist
       group; it is also an insurgent group and a proto-government and in fact
       draws advantages from territorial control. Therefore, fully understand-
       ing not only the advantages but also the limitations of such a group
       having a substantial hierarchy would help combat it and groups like it.


       ISI’s Organizational Blueprint

       Our ISI documents suggest that the group was a hierarchical, func-
       tionally differentiated organization, unlike the transnational jihadi
       movement often characterized as being organized around ad hoc per-
       sonal networks.10 To understand why, it is helpful to begin with a brief
       discussion of how core al-Qa‘ida sought to organize.

       Al-Qa‘ida’s Organizational Model
       Some scholars have described al-Qa‘ida as a flat transnational net-
       work.11 This network consists of a core group and a largely autono-
       mous set of franchises and cells in Algeria, Iraq (at one time), Somalia,
       Yemen, and elsewhere. To achieve a global reach, al-Qa‘ida’s leadership
       has relinquished control and delegates responsibility to its operatives.
       These operatives are diffuse and self-organizing. Marc Sageman, who
       provided the first rigorous treatment of what he termed the global Salafi
       jihad, wrote in 2004:

       10 Marc Sageman, Leaderless Jihad: Terror Networks in the Twenty-First Century, Philadel-
       phia: University of Pennsylvania Press, 2008.
       11 Marc Sageman, Understanding Terror Networks, Philadelphia: University of Pennsylva-
       nia Press, 2004; and James A. Piazza, “Is Islamist Terrorism More Dangerous? An Empiri-
       cal Study of Group Ideology, Organization, and Goal Structure,” Terrorism and Political
       Violence, Vol. 21, No. 1, January 2009, pp. 66–67. For exceptions, see Shapiro, 2013; and
       Leah Farrall, “How Al Qaeda Works: What the Organization’s Subsidiaries Say About Its
       Strength,” Foreign Affairs, Vol. 90, No. 2, March/April 2011.




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             Participants in the global jihad are not atomized individuals but
             actors linked to each other through complex webs of direct or
             mediated exchanges. . . . A group of people can be viewed as a
             network, a collection of nodes connected through links. Some
             nodes are more popular and are attached to more links, connect-
             ing them to other more isolated nodes. These more connected
             nodes, called hubs, are important components of a terrorist net-
             work. . . . One significant aspect of a small-word topology is its
             suggestion of a spontaneous process of self-organization rather
             than intentional construction from above. . . . [A lack of] a com-
             prehensive recruitment drive left the global jihad at the mercy of
             self-recruits, establishing clusters of mujahedin who built upon
             preexisting linkages to the jihad. This “natural” growth of the
             jihad took place within particular social niches that were suscep-
             tible to its message.12

       This view was held by some after the U.S. invasion of Afghanistan in
       2001, as analysts and researchers tried to make sense of al-Qa‘ida.13 Al-
       Qa‘ida’s persistence following the deaths of many leaders—including
       Usama Bin Ladin in May 2011—provided some support to the view
       that hierarchy was not central to how the group worked day to day in
       the period after 9/11.14
             As Islamist terrorist organizations flourished in Iraq and else-
       where, and as an increasingly large sample of al-Qa‘ida’s internal
       documents became publicly available, it became apparent that core
       al-Qa‘ida, during its peak from the late 1990s to late 2001, and sim-
       ilar groups operating elsewhere were actually highly organized. A
       broad range of documentary evidence indicates that al-Qa‘ida leaders
       designed the organization to have a well-institutionalized, hierarchical


       12 Sageman, 2004, pp. 137–139.

       13 Bill Braniff and Assaf Moghadam, “Towards Global Jihadism: Al-Qaeda’s Strategic, Ide-
       ological and Structural Adaptations Since 9/11,” Perspectives on Terrorism, Vol. 5, No. 2, May
       2011.
       14 Jason Burke, Al-Qaeda: The True Story of Radical Islam, London: I.B. Tauris, 2004; Bruce
       Hoffman, “The Changing Face of Al Qaeda and the Global War on Terrorism,” Studies in
       Conflict & Terrorism, Vol. 27, No. 6, 2004, pp. 551–552.




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       structure.15 The extent to which that structure was realized is unclear,
       but the intent is quite well documented. Al-Qa‘ida’s organizational
       design was first described in the testimony of an al-Qa‘ida defector and
       further illustrated in al-Qa‘ida documents captured by U.S. forces in
       Afghanistan.16 These documents revealed that Bin Ladin had designed
       al-Qa‘ida to be a bureaucratic organization that could be managed and
       audited, much like a business.
             In his court testimony in February 2001, Jamal al-Fadl, a former
       al-Qa‘ida operative, described al-Qa‘ida’s structure as akin to a “pyra-
       mid.” According to al-Fadl, this hierarchical structure had an “emir”
       (Bin Ladin) as the organization’s top leader, who was supported directly
       by a deputy and a secretary. The emir was to be responsible for all
       aspects of the organization, including operational, strategic, and tac-
       tical planning, as well as logistical and organizational planning. Al-
       Qa‘ida’s organizational charter specified that the emir should approve
       an annual “work plan,” approve an annual budget, and be responsible
       for amending plans or budgets as necessary. In terms of managing al-
       Qa‘ida’s human capital, the emir was to be responsible for overseeing
       nominations, promotions, and appointments to all senior positions
       within the organization, based on guidance from the shura council—
       an advisory board—and committee heads (Figure 4.1).17
             The emir’s deputy was to have qualities that closely resembled
       those of the leader, but with fewer authorities. His duties were to
       depend on what the emir would entrust to him. The documents reveal
       that the emir’s secretary should be appointed by him and be respon-


       15 We are not the first to have observed this pattern of hierarchy. Several other analysts
       have observed that al-Qa’ida is primarily a hierarchical organization. Gunaratna and Oreg,
       2010, for example, write that “since its establishment, Al Qaeda has evolved into a strict
       and clear-cut hierarchical structure organization,” and that “this formal infrastructure is the
       main factor which enabled Al Qaeda to adapt and overcome the setbacks it suffered from
       the Global War on Terrorism led by the United States that erupted following 9/11 and the
       subsequent invasion of Afghanistan in October 2001.”
       16 See Jamal al-Fadl, testimony in United States v. Usama bin Laden, No. S(7) 98 Cr. 1023
       (S.D. N.Y.), February 6, 2001; see also Harmony document AFGP-2002-000080; see “Har-
       mony Program,” database of declassified documents, Combating Terrorism Center, 2015.
       17 See al-Fadl, 2001.




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       Figure 4.1
       Al-Qa‘ida’s Organizational Structure


                                                  Emir
                  Islamic Army              (al-Qa‘ida Shura/
                                            Advisory Council)




           Foreign        Sharia and
                                         Finance        Security        Military      Information
          Purchases        Political
                                        Committee      Committee       Committee       Committee
         Committee        Committee


                                                                                     Camp
                                                             Training
                                                                                 Administration
                                                          Subcommittee
                                                                                 Subcommittee

        SOURCE: Derived from National Commission on Terrorist Attacks upon the
        United States, “Overview of the Enemy,” Staff Statement No. 15, 2004.
        RAND RR1192-4.1




       sible for such duties as organizing the emir’s appointments, external
       relations, and work schedule. The secretary, the documents indicate,
       should accompany the emir wherever he goes.18
              Supporting the emir was a shura council composed of individuals
       appointed by the emir, based on their suitability for al-Qa‘ida’s various
       needs. The next tier beneath this advisory council consisted of various
       committees, which were responsible for administering the organiza-
       tion’s day-to-day activities in key functional areas. The functional areas
       listed in al-Qa‘ida’s original charter included a military committee, a
       political committee, a financial committee, a security committee, an

       18 Gunaratna and Oreg, 2010. It is not clear whether the secretary position is currently
       occupied. A previous personal secretary, Wadih El Hage, was arrested in Arlington, Texas, in
       1998 and is currently serving a life sentence is a U.S. federal prison (Russ Buettner, “Resen-
       tenced to Life in Prison, Terrorist Plans to Appeal,” New York Times, April 23, 2013). A
       successor as personal secretary, Nasir al-Wuhayshi, became the leader of al-Qa‘ida in the
       Arabian Peninsula, in Yemen, and presumably was killed by a U.S. drone strike in June
       2015 (Kareem Shaheen, “US Drone Strike Kills Yemen al-Qaida Leader Nasir al-Wuhayshi,”
       Guardian, June 16, 2015; “Nasir al-Wuhayshi: From Bin Laden Aide to AQAP Chief,” VOA
       News, June 16, 2015).




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       intelligence committee, and a committee in charge of media affairs and
       propaganda.19
             The foreign purchases committee was responsible for acquiring
       weapons, explosives, and technical equipment. The sharia and politi-
       cal committee was responsible for reviewing Islamic law—sharia—and
       adjudicating whether certain actions would comply with its dictates.
       A religious emir might also act more generally as a spiritual adviser to
       al-Qa‘ida’s senior leadership.20 The committee’s political responsibili-
       ties involved spreading political awareness within an al-Qa‘ida emir-
       ate (and to Muslims more generally). The main objective of this com-
       mittee was to develop and train a like-minded, disciplined, political
       cadre within an al-Qa‘ida target area to reflect the group’s objectives,
       in accord with sharia, as interpreted by the sharia emir. As a result, the
       sharia emir had a lot of power in determining what is permissible under
       law in an al-Qa‘ida–controlled area.21
             The finance (or administrative) committee was tasked with
       accounting for the group’s financial records and business and fundrais-
       ing activities, as well as with overseeing the organization’s personnel.
       These responsibilities generally include maintaining documentation
       of all of the organization’s members and their dependents, overseeing
       the payroll, and formulating general financial-policy initiatives to be
       considered for implementation. The security committee was tasked
       with providing personal security and protective services for senior
       leaders, preventing information leaks, and conducting other counter-
       intelligence tasks, including screening recruits for enemy infiltrators
       penetrating the organization. The military committee was tasked with

       19 Harmony document AFGP-2002-000080; see “Harmony Program,” 2015. The intelli-
       gence committee is referred to in the English translation of the document as the “surveillance
       committee.” See also al-Fadl, 2001, p. 56.
       20 Al-Zarqawi famously used Sheikh Abd al-Rahman, his spiritual advisor, as a close aide
       and a member of his inner circle. Ultimately, al-Rahman’s signature of movement helped
       lead U.S. forces to al-Zarqawi’s hideout for the airstrike that resulted in al-Zarqawi’s death.
       See Richard A. Oppel Jr. and Mark Mazetti, “Hunt Ends with Pair of 500-Lb. Bombs,” New
       York Times, June 8, 2006.
       21 This point was reiterated during interviews with U.S. special operations forces, conducted
       in May 2013 in Arlington, Virginia.




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       al-Qa‘ida’s operational and other military activities. Its responsibilities
       included the mental and physical preparation of members for combat
       through military training. It was responsible for fighters’ combat skills
       and technical skills relevant to military functions, as well as for instill-
       ing discipline in the organization’s military personnel, based on the
       group’s interpretation of the Qur‘an. The information committee
       served as the organization’s propaganda arm. The committee dissemi-
       nated information regarding jihadist ideology to the population and
       other relevant targets, such as other local jihadist militant outfits. It
       also produced videos, printed materials, and online content as part of
       al-Qa‘ida’s messaging strategy.22

       ISI’s Organizational Model
       ISI’s governorate-level structure for Anbar in 2006 was well articu-
       lated in a set of documents seized by a local militia cooperating with
       coalition forces in Anbar governorate in March 2007. The documents
       depicted a provincial administrative structure nearly identical to that
       of core al-Qa‘ida (Figure 4.2). The provincial organization of ISI, then
       still known as AQI, looked very similar to that of core al-Qa‘ida and

        Figure 4.2
        ISI’s Provincial Organizational Chart for Anbar Governorate


                                            Emir al-Anbar




                                                                               Sector Emir



         Media            Legal         Administrative      Security    Military
         Committee        Committee     Committee           Committee   Committee


        SOURCE: Harmony document NMEC-2007-632298; see “ISIL, Syria and Iraq
        Resources,” 2015.
        RAND RR1192-4.2




       22 National Commission on Terrorist Attacks upon the United States, 2004; and Gunaratna
       and Oreg, 2010.




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       included a legal committee (sharia), a military committee, an admin-
       istrative committee, a security committee, and a media committee.23
              One difference to note is that the translation of the captured
       organization chart shown in Figure 4.2 does not indicate that Anbar
       governorate had a separate foreign purchases committee. Another dif-
       ference is the absence of a provincial-level deputy, secretary, and advi-
       sory council. This might indicate that provincial-level emirs were not
       expected to preside over high-level decisionmaking and strategy to the
       degree that core al-Qa‘ida’s leadership did. Note too that, at the provin-
       cial level, ISI broke down its administrative functions a bit further than
       core al-Qa‘ida envisioned, as seen in Figure 4.3, which is from the same
       document and shows the functional areas reporting to the provincial
        Figure 4.3
        ISI’s Provincial Organizational Chart for the Administrative
        Committee for Anbar Governorate, Late 2006 or Early 2007

                                                   Administrative
                                                   Committee Emir in
                                                   Al-Anbar




         Economical                                                                      Administrative
         Studies Unit                                                                    Programs
                                                                                         Improvement
                                                                                         and Training
                                                                                         Unit

                        Loot and   Aid and   Human       Inventory     Movement      Finance
                        Sales      Storage   Resources   and           and           and
                        Section    Section   Section     Audit         Maintenance   Accounting
                                                         Section       Section       Section

        SOURCE: Harmony document NMEC-2007-632298; see “ISIL, Syria and Iraq
        Resources,” 2015.
        RAND RR1192-4.3




       23 Figure 4.2 shows an administrative committee, which, based on our reading of the ISI
       documents captured from several of the group’s administrative emirs, served in the capac-
       ity as the financial committee depicted in the core al-Qa‘ida organizational chart shown in
       Figure 4.1. See Chapter Five for more information on the financial information captured
       from ISI administrative emirs. Moreover, Figure 4.2 displays a media committee, which was
       the functional equivalent of the information committee shown in the core al-Qa‘ida organi-
       zation chart in Figure 4.1 and the propaganda emir function in the ISI sector-level organiza-
       tion chart displayed in Figure 4.4.




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       administrative committee. That further division could make sense,
       because ISI in 2006 was a much larger organization than al-Qa‘ida in
       the 1990s, and their administered territories were different. Therefore,
       ISI might have required a more specialized committee structure.
            Turning to lower levels of administration, al-Qa‘ida’s organiza-
       tional blueprint persisted down to the sector level—ISI’s lowest-level
       administrative unit, also called districts and similar to Iraqi districts,
       a geographic level lower than the provincial or governorate level. Fig-
       ures 4.4 and 4.5 display organization charts found in two different
       places in early 2007; both figures provide the same picture of ISI’s
       sector-level organization in Anbar governorate.24
            As Figures 4.4 and 4.5 show, ISI’s sector organization had the
       same core emirs as the higher organizations. Unlike those levels, how-

             Figure 4.4
             ISI’s Sector-Level Organizational Chart for the Western Sector,
             Anbar Governorate




             SOURCE: Harmony document MNFA-2007-000566; see “ISIL, Syria and Iraq
             Resources,” 2015.
             RAND RR1192-4.4




       24 Harmony document MNFA-2007-000566 was captured in Tuzliyah in January 2007.
       Harmony document NMEC-2007-632298 was captured in Julayba in March 2007. These
       towns are approximately 80 miles apart, by road, along the Euphrates River. See “ISIL, Syria
       and Iraq Resources,” 2015.




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        Figure 4.5
        ISI’s Sector-Level Organizational Chart for the Administrative
        Committee, Western Sector, Anbar Governorate

                   The Structure that Belongs to the Administrative Executive in the Sector, Structure
                   number (2)


                                                     Administrative
                                                     executive in the
                                                     sector




         Administrative        Administrative          Administrative             Administrative         Administrative
         Responsible           responsible for         responsible for            responsible for        Responsible
         for aid and           the loot group          members                    maintenance            for finance and
         storage                                       matters                    and movement           accounting.


        SOURCE: Harmony document MNFA-2007-000566; see “ISIL, Syria and Iraq
        Resources,” 2015.
        RAND RR1192-4.5




       ever, the sector-level charts also included a medical emir. One plausible
       explanation for the presence of a medical emir in the sector-level orga-
       nization, but not in the higher-level al-Qa‘ida organizations, was that
       ISI’s local operational units needed to treat wounded combatants more
       often.
              Over time, ISI found that the structure described above pro-
       vided insufficient checks on managerial challenges. Between August
       and October 2008, two senior ISI administrative emirs—Abu Wahab
       and Abu Qaswarah—were captured or killed. This appears to have
       provided the impetus for an organizational reform that deepened the
       group’s bureaucracy by separating revenue-collection activities from
       disbursements and management. In a letter accompanying a report
       on financial activities, an ISI manager named As‘ad recommended an




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       individual for administrative duties and suggested that the financial
       organization be expanded in two steps (Figure 4.6).25
            As As‘ad noted, this new structure “makes the issue of monitor-
       ing the Treasury easier and makes the Administration of Finance dis-
        Figure 4.6
        Proposed Reorganization of Financial Administration, Fall 2008




        Course of action on the structure for my organization of the administration,
        and in order to clarify, it is in the figure below.


                                                                         Coordination
                                                 General
                                                                        or organization
                                               administrator
                                                                         administrator

         Foundational step                                                     Foundational step


                                                                        Army
                             Finance
                                                                    administrator
                          administrator
                                                                  (or office [Diwan]
                          [al-Tamweel]
                                                                    of the Army)


                                         Treasury
                                                          Taxation
                     Future step      administrator                         Future step
                                                        administrator
                                       [al-Amwaal]

        SOURCE: Harmony document NMEC-2009-636065; see “ISIL, Syria and Iraq
        Resources,” 2015.
        RAND RR1192-4.6




       25 Harmony documents NMEC-2009-636065, NMEC-2009-636153, and NMEC-2009-
       634370; see “ISIL, Syria and Iraq Resources,” 2015.




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       tinct from the Taxation of Treasury [sic], and the Administration of
       Taxation distinct from the Administration of Finance, and this issue
       is important to minimize the problem of embezzlement and fraud,
       first, and second, [to allow] the Finance Administrator to secure the
       mission and operations from destruction of the Sunni at the hands of
       the enemy.”26 In this new setup, the taxation administrator would be
       responsible for raising money, and the treasury administrator respon-
       sible for spending it. The memo suggests that at least one member of
       ISI found that grouping all finance-related activities under one author-
       ity created opportunities for both graft and security failures. Finding
       corruption and skimming in a militant group, where midlevel opera-
       tives are hard to supervise, should not be surprising.27 As‘ad’s preferred
       solution was to add another layer to the hierarchy, suggesting that the
       theoretical benefits of hierarchy have some basis in reality.

       Why ISI Looked So Similar to Al-Qa‘ida
       A simple comparison of al-Qa‘ida’s and ISI’s organization charts shows
       a large degree of similarity in how the organizations were structured,
       from the highest levels to the lowest. Some analysis has claimed that al-
       Qa‘ida’s affiliate groups bear little resemblance to al-Qa‘ida central, and
       that such groups tend to ally themselves with core al-Qa‘ida to capital-
       ize on al-Qa‘ida’s “brand,” prestige, and material support but other-
       wise operate as independent, autonomous organizations.28 Although
       it is true that core al-Qa‘ida had little direct oversight of ISI’s day-to-
       day operations, ISI’s internal documents provide strong evidence that it
       adopted core al-Qa‘ida’s hierarchical and highly bureaucratic organiza-
       tional design. There is no evidence that ISI had any intention of deviat-
       ing from these structures. In fact, the only deviation it planned was to

       26 Harmony    document NMEC-2009-636153 (translation); see “ISIL, Syria and Iraq
       Resources,” 2015.
       27 Shapiro and Siegel, 2007.

       28 For variants of this arguments, see Angel Rabasa, Peter Chalk, Kim Cragin, Sara A. Daly,
       Heather S. Gregg, Theodore W. Karasik, Kevin A. O’Brien, and William Rosenau, Beyond
       al-Qaeda: Part 1, The Global Jihadist Movement, Santa Monica, Calif.: Rand Corporation,
       MG-429-AF, 2002, pp. 3–4; Sageman, 2011; and Barak Mendelsohn, “Al-Qaeda’s Franchis-
       ing Strategy,” Survival, Vol. 53, No. 3, 2011.




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       add a layer of bureaucracy to improve the oversight of administrative
       and financial activities.
             Table 4.1 compares the organizational structures of core al-Qa‘ida
       and ISI, based on translated versions of documents captured from each
       group, in Afghanistan and Iraq, respectively. The structures of these
       organizations were nearly identical at each functional level.
             That both groups had hierarchical structures is not at all surpris-
       ing, given the benefits of hierarchy (discussed in Chapter Three). What
       is surprising is that the specific functional areas they chose would be so
       similar. There are two likely explanations for this similarity. The first
       is that al-Qa‘ida consciously and successfully pushed a specific model
       down to its affiliate organizations. The second is that this method of
       organizing formed a focal point for the early leaders of AQI, which
       eventually became ISI. Many of those individuals had spent time with
       core al-Qa‘ida previously, receiving training and religious indoctrina-
       tion in Afghanistan, Yemen, and other countries in which al-Qa‘ida
       operates. Although ISI’s organization vastly eclipsed al-Qa‘ida in scale,
       and ISI’s leadership disagreed ideologically with core al-Qa‘ida in sev-
       eral respects, it is nonetheless likely that ISI’s leadership looked to al-

       Table 4.1
       Core Al-Qa‘ida’s and ISI’s (AQI’s) Organizational Structures


       Core Al-Qa‘ida                 Governorate-Level AQI          District-Level AQI

       Emir                         Emir                      Emir
          Secretary                    Sector emirs              Military emir
       Deputy                       Committees                   Security emir
       Advisory council                Military                  Administrative emir
       Committees                      Administrative            Legal (sharia) emir
          Military                     Security                  Media (propaganda) emir
          Political                    Legal (sharia)            Medical emir
          Administration and           Media
          finance
          Security
          Intelligence
          Media

       SOURCES: Harmony document AFGP-2002-000080 (see “Harmony Program,” 2015);
       and Harmony documents NMEC-2007-632298 and MNFA-2007-000566 (see “ISIL,
       Syria and Iraq Resources,” 2015).
       NOTE: All three levels were hierarchical and functionally differentiated.




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       Qa‘ida’s experience as their primary guide for building a new jihadist
       organization.


       The Geography of ISI Militancy

       This section analyzes how ISI organized over space. After laying out
       the theoretical reasons to expect ISI to try to implement a structure
       with well-defined geographic subunits, we discuss the specifics of ISI’s
       sector organization in late 2008. We then provide direct evidence that
       the group was having trouble filling out its organization chart and dis-
       cuss reasons why that would be the case.

       Literature on the Relationship Between Geography and Insurgency
       Relatively little insurgency or terrorism analysis focuses on how mil-
       itant groups organize themselves geographically or how the geogra-
       phy of militant organizations may influence their collective ability to
       operate effectively, based on top-down command and control. One
       study that does explicitly address geography extends the organiza-
       tional-economics literature on firms to suggest that more–geographi-
       cally dispersed groups are more likely to encounter serious principal-
       agent problems. In these situations, geographic dispersion reduces the
       oversight of upper-level leadership (the principal), so the members of
       field units or cells (agents) operate with limited supervision. These less
       supervised units could be more likely to engage in parochial practices
       and tactics that limit group cohesiveness and effectiveness.29 In the case
       of ISI, such practices would have involved skimming money intended
       for operations, engaging in politically counterproductive brutality, and
       feuding with other insurgents. An implication of this analysis is that
       we should expect groups with territorial ambitions to stake out and
       attempt to staff clear geographic divisions so that they can set up the
       structures necessary to manage their agency problems.
             Our ISI documents suggest that the group tried to do just that.
       It had a distinct geographic strategy aimed at capturing specific, geo-

       29 Johnston, 2008.




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       graphically demarcated territories and establishing ISI subemirates
       within them, based on the organizational form and bureaucratic struc-
       tures described above. The documents also suggest, however, that the
       group lacked the capacity to administer these territories. By late 2008,
       ISI was struggling to fill out its organization chart.

       Data and Background
       Documents seized during a raid that killed ISI’s number-three leader,
       Abu Qaswarah, in Mosul on October 5, 2008, provide considerable
       insight into ISI’s strategy of geographic organization, an important
       aspect of its objective to build an Islamic state in Iraq. The informa-
       tion in the documents is novel, since it lays bare the architecture ISI
       used to organize and govern across different types of geographic spaces.
       The documents describe how ISI defined a sector, the group’s smallest
       general administrative unit, what the typical components of a sector
       should be, and how sectors should be demarcated geographically, as
       well as the extent to which the group had managed to fill sector leader-
       ship and top bureaucratic positions. In short, the documents illustrate
       how ISI leaders wanted their administration to function across space,
       and the documents show where the group both succeeded and failed to
       establish and consolidate bureaucratic structures.

       How ISI Sought to Organize Geographically
       The sector—roughly akin to Iraqi districts, the third-level adminis-
       trative unit in Iraq—was the fundamental unit of geographic orga-
       nization addressed in the documents captured in the Abu Qaswarah
       raid. It appears that ISI used rational calculations to demarcate its sec-
       tors. Sector boundaries were based on strategic calculations about the
       local conflict environment and geographic characteristics. ISI defined a
       sector as “an establishment identified by a certain number that is regu-
       lated by administrative regulations and has either natural or artificial
       geographical borders.”30 Although the available documents indicate
       that ISI had changed, or planned to change, most of the sector names

       30 Report of the Borders of the Sectors, NMEC-2009-602145, captured and declassified ISI
       document, Harmony Database, Washington, D.C.: U.S. Department of Defense, 2009.




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       to reflect its Islamist ideology, they do not mention religious factors as
       an influence in decisionmaking regarding ISI’s geographic expanse and
       organization.31
             ISI sectors required certain components: “individuals, weapons
       and vehicles, (a reasonably hospitable) social reality, and (a reasonably
       favorable) geographical spot.”32 The main considerations in selecting
       geographic areas to become sectors, and in demarcating these areas’
       boundaries, were (1) the availability of an adequate quantity of per-
       sonnel, (2) the presence of a subdistrict center, (3) the presence of
       “strategic locations” and “essential considerations” for the group, and
       (4) the presence of (natural or artificial) geographical dividers.33 Fur-
       ther, “insignificant groups” would be required to either join a nearby
       sector or, if they preferred to remain independent, work on developing
       their organization and administrative capacity to the level of a sector.34
             Table 4.2 reproduces the ISI document defining the group’s 31
       sector boundaries as of 2008. The document’s original ISI author made
       various annotations regarding the sectors, noting in particular where
       the group had cells operating far outside the desired sector borders. The
       author wanted to attach most of these cells to existing sectors, consis-
       tent with the “doctrine” described above. However, some of these cells
       were allowed to remain independent in practice.35 One such sector,
       called al-Birr and al-Taqwa, was located in Anbar governorate, south
       of Fallujah. ISI leadership decided to bring all units in al-Birr and al-
       Taqwa under the administration of the al-Ramadi sector. Al-Birr and
       al-Taqwa units operating outside these boundaries were to be consid-



       31 Report of the Borders of the Sectors, 2009.

       32 Report of the Borders of the Sectors, 2009. This is consistent with cross-national literature
       on insurgencies; this literature suggests that they are likely to emerge where geographic and
       social conditions are favorable to them. James D. Fearon and David D. Laitin, “Ethnicity,
       Insurgency, and Civil War,” American Political Science Review, Vol. 97, No. 1, 2003.
       33 Subdistricts are the fourth level of geographic subdivision in Iraq, below the nation, gov-
       ernorates (provinces), and districts.
       34 Report of the Borders of the Sectors, 2009.

       35 Report of the Borders of the Sectors, 2009.




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       ered “independent battalions and companies till (al-Birr and al-Taqwa)
       is completed as a sector.”36

       Table 4.2
       The Geographic Organization of ISI Sectors, as of 2008

       Serial
       Number       Sector Name                   Sector Borders                 ISI Comments

       1           Mosul             West toward Rabi’ah, south to al-        To be divided into
                                     Qiyarah (internal) side, north is        two sectors in
                                     Dahuk, and east is the border of         accordance with the
                                     al-Mosul city                            requirements

       2           Left Sharqat      From the borders of al-Qiyarah
                                     north of the left coast to the south
                                     of al-Zab side, east of al-Zab river
                                     and west of Dijlah river

       3           Right Sharqat     From the borders of al-Qiyarah
                                     subdistrict north of the right coast
                                     to al-Sharqat district inside the
                                     borders of the south of Baiji district
                                     and east of Dijlah river

       4           al-Huwayjah       From the center of al-Huwayjah           (To be divided
                                     toward the south of al-Fatah area,       into two sectors in
                                     west of al-’Abbasi subdistrict to        accordance with the
                                     Dijlah river toward the east of          requirements)
                                     Kirkuk city and north of al-Dibs
                                     district

       5           Tikrit            From al-Fatah and the borders of        Work on
                                     Baiji district from the north and the establishing a sector
                                     city center of Tikrit, the south of the in Baiji
                                     borders of Makishifah subdistrict,
                                     south of the center and al-Dur city,
                                     east of the divider of the district
                                     of al-Tuz, Kirkuk, and west of the
                                     highway outside the city of Tikrit

       6           Samarra’          From the north of the city center of     Work on having two
                                     Samarra’ to al-Dur city, and from        sectors (Samarra’
                                     the side of Baghdad road to              and al-Mu’tasam)
                                     Makishifah Dijlah sub district and
                                     to the divider of the south of
                                     al-Therthar and the border of al-
                                     Dulu’iyyah sub district




       36 Report of the Borders of the Sectors, 2009.




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       Table 4.2—Continued


       Serial
       Number    Sector Name               Sector Borders                   ISI Comments

       7        al-Dulu’iyyah   Inside the borders of al-Dulu’iyyah
                                sub district to the borders of the
                                north of al-Mu’tasam sub district,
                                and east of al-’Azim river, and both
                                west and south of Dijlah river

       8        al-Ishaqi       From the borders of Samarra’             (An order came
                                intersecting from the north with         from the city to
                                al-Therthar to the border of Balad       divide it into two
                                station toward al-Dulu’iyyah new         sectors to solve the
                                bridge from the east (inside) and        present problems,
                                toward the entrances of Balad city       and the order is
                                and west of al-Rewashed area and         being executed)
                                oil road

       9        al-Mazary       The station road and bridge of al-       A military
                (Western        Dulu’iyyah inside from the north,        sector, work on
                Yethrib)        and west from the station of Balad       establishing it as a
                                (outside) and Baghdad road to al-        complete sector
                                ’Ani mosque (inside) west, to the
                                headquarters of National Guard,
                                beginning of Yathrub sub district
                                from the east

       10       Yethrib         West from the beginning of the sub
                                district center to al-’Ani mosque
                                outside the road of Baghdad,
                                west of al-Mosul toward al-Bakr
                                headquarters inside, south and
                                north of the border of Dijlah river

       11       al-’Azim        North from the divider of al-Tuz,        Work on making it
                                Kirkuk toward Hamrin mountain            two sectors
                                and Kirkuk, Baghdad road, east
                                of Jalula’, Qurrah Tabah, and Dali
                                ‘Abbas, south of al-Dujmah and al-
                                Nay and west of al-’Azim river

       12       al-Tarmiyyah    From north of al-’Bayji, Baghdad
                                al-Mosul road from the west, Dijlah
                                river from the east, and Dhira’ Dijlah
                                from the south

       13       al-Taji         From north of al-Dajil, Baghdad
                                road from the east, al-Naba’i from
                                west, and Dhira’ Dijlah from the
                                south




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       Table 4.2—Continued


       Serial
       Number      Sector Name                 Sector Borders               ISI Comments

       14        al-Karmah         From Sab’ al-Bur toward Ibrahim       Verify a sufficient
                                   Bin-’Ali, al-Karmah, al-Saqlawiyyah   quantity for
                                   from the west, and adjacent to        the sector after
                                   Dhira’ Dijlah from the north          separating Sa’d
                                                                         battalion

       15        Abu Ghraib        From Abu-Gharib in south, Baghdad     Add the groups that
                                   al-Ramadi old road to al-Fallujah,    are part of al-Birr
                                   north of al-Ghazaliyyah highway       and al-Taqwa to the
                                   road to al-’Ayayshah and al-Haswah    nearby sectors (in al-
                                   from the west                         Zaydan)

       16        al-Fallujah       al-Fallujah and its western suburbs   Add the groups of
                                                                         al-Birr and al-Taqwa
                                                                         that are available
                                                                         amongst the sector

       17        al-Birr and al-   From al-Zaydan toward ‘Amiriyyah      The remainder
                 Taqwa             al-Fallujah in the west, and al-      sectors from al-Birr-
                                   ’Uwaysat area from the south          wa-al-Taqwa will
                                                                         be independent
                                                                         battalions and
                                                                         companies till it
                                                                         is completed as a
                                                                         sector

       18        Jarf al-Sakhr     From the east is the border of
                                   Euphrates river, from the south
                                   al-Masib area, from the north of
                                   ‘Amiriyyah al-Fallujah area (al-
                                   ’Uwaysat) and from the west the
                                   desert of al-Ramadi—Karbala

       19        Baghdad           Inside the border of Baghdad city     Has a special system

       20        Diyala            Inside Ba’qubah city and al-          Will be two sectors
                                   Muqdadayah from the east              (Ba’qubah and al-
                                                                         Muqdadayah)

       21        West of Dijlah    To al-Qa’id river from the south,
                                   Dijlah river from the east, Hillah
                                   Baghdad road from the border of
                                   Baghdad sector in the north and
                                   highway from the west




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       Table 4.2—Continued


       Serial
       Number    Sector Name              Sector Borders                  ISI Comments

       22       al-Dayrah      From the north al-Qa’id river to the    Establish a sector
                               east of Dijlah river, west of Baghdad   in al-Dayrah and
                               road and al-Hillah highway to the       separate it from
                               border of Jablah sub district on the    al-Gharir (‘Umar bin
                               south                                   ‘Abd-al-’Aziz)

       23       al-Rashid      From the west Baghdad road Old
                subdistrict    Hillah, from the north and the east
                               Baghdad road highway Hillah and
                               from the south al-Mazra’ah road

       24       East of al-    From the north al-Mazra’ah road,        (Special exception
                Latifiyah      Baghdad road al-Hillah highway          due to the
                               from the east, Baghdad road Old         conditions of area)
                               Hilah from the west and Jablah
                               project from the south

       25       Jablah         From the east Dijlah river, Baghdad
                Suwayrah       al-Hillah highway [TC: Quick] from
                               the west, Muyalahah road – al-Haq
                               village from the north and to al-
                               Hillah city from the south

       26       al-Radwanayah From the east Baghdad Old al-            Divide it into two
                              Hillah, from the south al-Yusifiyyah     sectors
                              river, from the west Euphrates river,
                              and from the north to the borders
                              of Baghdad and Abu-Gharib sectors

       27       al-         al-Yusifiyyah river from the north,
                Mahmudiyyah Baghdad – Old Hillah from the east,
                            al-Latifiyyah river from the south
                            and Euphrates river from the west

       28       West of al-    al-Latifiyyah river from the north,
                Latifiyyah     Baghdad – Old Hillah from the east,
                               al-Latifiyyah river from the south,
                               Euphrates river from the west and
                               Alexandria sub district from the
                               south

       29       Southern       Diyala river from the north, Dijlah
                Cities         river from the west, al-Nahrawan
                               from the east, and the districts of
                               the cities (inside) from south




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       Table 4.2—Continued

       Serial
       Number      Sector Name                 Sector Borders                  ISI Comments

       30         Northern         The districts of the cities (inside) in
                  Cities           north, Baghdad – al-Kut from the
                                   east, al-Hafriyyah sub district from
                                   south, and Dijlah river from the west

       31         al-Ramadi        From the east of Fallujah to the city Will be a new
                                   center of al-Ramadi and al-Ratbah. and independent
                                   West toward Rawah and ‘Anah areas battalion and make
                                                                         part of Rawah and
                                                                         ‘Anah

       SOURCE: Report of the Borders of the Sectors, 2009.
       NOTES: This table is a verbatim reprinting of the Harmony document’s official
       English translation. The brackets appear in that version. TC = translator comment. In
       the Arabic version of the document, the column heading that appears in English as
       “serial number” is the Arabic letter ta, the equivalent of a T in English. This likely is
       an abbreviation for tarqim (numbering).



       To visualize the boundaries described in Table 4.2, Figure 4.7 shows
       the ISI sectors overlaid on maps of Iraqi governorates. (The first map
       is of the entire country, and the second map is of the smaller sectors in
       the center of the country.)
              As Table 4.2 and Figure 4.7 show, ISI listed 31 sectors in its doc-
       umentation of the group’s geography. The territory covered by these
       sectors was substantial, ranging as far south as Hamzah and Shamiya
       districts in Diwaniyah governorate (previously known as Qadisiyah
       governorate); as far west as Rutbah in western Anbar governorate, a
       strategic location on the Amman-Baghdad road and on the Mosul-
       Haifa oil pipeline; as far east as Mazra‘ah, in the oil-rich Khanaqin
       district of Diyala governorate, near the Iranian border, in which there
       are sizable Kurdish and Shia populations that had been targeted by
       ISI; and as far north as Duhok, the predominantly Kurdish capital
       city of Iraq’s northernmost governorate, also called Duhok. Perhaps
       more interesting, Duhok is located in northern Iraq’s semiautonomous
       Kurdistan Region, indicating that ISI envisioned or even forged a pres-
       ence within at least certain parts of Iraqi Kurdistan.




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       Figure 4.7
       ISI Sector-Level Map, as of 2007


                                                       Duhok


                                          Al-Masul
                                                                   Erbil
                                           Ninewa
                                                           Left Sharqat
                                       Right Sharqat              Kirkuk      Sulaymaniya
                                                               al-Huwayjah

                                                                  Tikrit
                                                       Salah al-Din        al-'Azim
                                                        Samarra

                                                                              Diyala
                           al-Ramadi
                                                                           Baghdad
                                         Anbar
                                                                               Jablah
                                                                               Suwayrah Wasit
                               Jarf al-Sakhr                Karbala        Babil
                                                                            Northern Cities
                                                                             Qadissiya                  Maysan


                                                            Najaf                             Dhi-Qar


                                                                                                           Basra
                                                                               Muthanna




        RAND RR1192-4.7a




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       Figure 4.7—Continued


                                    Samarra                          al-Dulu'iyyah
                                                                                                           al-'Azim


                                                                          Al Mazary
                          Salah al-Din                                  (West Yethrib)

                                                                                        Yethrib                    Diyala
                                                                                         (East)
                                                 Al Ishaq


                                                                                     Al Tarmiyah


                                                                                                       Southern
                                                                                    al Taji              Cities

        al-Ramadi
                                                            al Karmah
                                         al Fallujah

                                 Anbar                   Abu Ghraib
                                                                                          Baghdad
                                                            al Birr and al Taqwa

                                                                          al Radwanayah          West of Dijlah

                                                                          al Mahmudiyah

                           Jarf al-Sakhr                                                      al Rashid
                                                                                             Subdistrict
                                                                                     West of             al Dayrah
                                                                                   al Latifiyah




                                                                                                                   Jablah
                                                                                                    East of       Suwayrah
                                                                                                 al Latifiyah

                                                                                                        Babil

                                                       Karbala
                                                                                              Northern Cities

       SOURCES: Harmony Document NMEC-2009-602125 (see ISIL, Syria and Iraq
       Resources,” 2015); Report of the Borders of the Sectors, 2009.
       NOTES: Names in gray are those of Iraqi governorates. Names in purple are those of
       ISI sectors. Although these documents were undated, they were captured from ISI’s
       number-three leader in late 2008, and were thus likely to be at least a fairly
       up-to-date approximation of the group’s geographic organization at that time,
       which was well after the surge and other factors had substantially cut into ISI’s overall
       capacity. Those factors explain why the geography of ISI in Anbar entails much larger
       sectors than that which existed when the group was at its peak strength there in 2005
       and 2006, when it had six sectors.
       RAND RR1192-4.7b




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             ISI’s boundaries were dynamic. Figure 4.8 shows the estimated
       ISI sectors for Anbar governorate in 2005–2006. At the time, ISI’s
       strength in Anbar was substantial, and the group used many more sub-
       divisions. Whereas the group had two sectors in Anbar in 2008, it had
       six in 2005–2006. ISI’s geographic organization shifted in accordance
       with the group’s fortunes.

       Figure 4.8
       Estimated ISI Sectors in Anbar, 2005 to 2006




                                                Gharbiya                         Ta’mim
                                                              Awsat


                                                                      Ramadi
                                                                                Fallujah
                                                                                  and
                                                                                    belts
                                           Rutbah




        SOURCE: Bahney, Shatz et al., 2010, which drew from Harmony batches MA7029-5
        and Ala Daham Hanush.
        NOTES: The figure shows the authors’ assessments of ISI’s six sector divisions of Anbar
        governorate. These include Rutbah, Gharbiyah, Awsat, Ta‘mim, Ramadi, and Fallujah
        and belts. These divisions are similar to the official Iraqi administrative divisions of
        Anbar governorate.
        RAND RR1192-4.8




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       ISI Administration Across Space
       In addition to defining sectors, the documents provide more informa-
       tion about ISI’s plans for renaming certain sectors, as well as fields con-
       taining the names of four specific sector positions:

            • sector emir
            • sharia (or legal) emir
            • military emir
            • media emir.37

       These documents offer substantial insight into three important organi-
       zational issues on which there is no extant analysis of al-Qa‘ida or an
       al-Qa‘ida–affiliated group, such as ISI, based on internal documents.
              The first organizational issue is the strategic logic that underlay
       ISI’s geographic organization. In 2008, the year in which the docu-
       ments were captured and likely the year in which they were written, ISI
       was under heavy pressure because of aggressive and persistent counter-
       terrorism operations conducted by coalition and Iraqi forces.
              The second organizational issue is the preferences of top ISI lead-
       ers regarding how they planned to optimize their organization in the
       future. The leadership’s aims, elaborated in the documents, can be
       fruitfully compared with the set of baseline conditions around which
       ISI had organized itself in 2008. Given the baseline conditions that ISI
       faced in 2008, the plans reveal what ISI’s aims as an organization were
       and what ISI’s leadership believed was possible under these conditions.
              The third organizational issue concerns the group’s ability to fill
       key local leadership and administrative positions across the sector-level
       subunits that made up much or all of the de facto state that ISI was
       working to establish. Despite ISI leadership’s apparent strong prefer-
       ence to have a systematic, hierarchical organization at the local, pro-
       vincial, and national levels, the group appears to have failed to find the
       personnel to fill key positions and replenish the large-scale losses it suf-
       fered from counterterrorism operations. This human capital constraint
       is slightly different from the one normally addressed in the literature on

       37 Harmony document NMEC-2009-602125; see “ISIL, Syria and Iraq Resources,” 2015.




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       insurgency. Rather than being constrained by the supply of low-skilled
       fighters, these documents suggest that ISI was constrained in some way
       by the scarcity of middle managers.
       ISI’s Preferred Administration Within an Islamic State
       Numerous entries in the comments field of the document reproduced
       in Table 4.2 show that ISI leadership wanted to divide a significant
       proportion of its sectors into multiple sectors. Although it is not explic-
       itly stated in the available documents, the simplest and most compel-
       ling hypothesis for this pattern is that ISI leaders sought to increase
       the group’s direct control over valued territories whose sizes, as delin-
       eated by the boundaries described in Table 4.2, were too expansive for
       the group’s sector-level administrators to oversee. The resulting lack of
       administrative capability could hinder ISI’s ability to exercise control
       over its designated sectors, and thus open the door for other insurgent
       groups or tribal militias to seize control of ISI sectors.
              Poor administrative capacity might also have affected ISI leader-
       ship’s ability to maintain a high level of control over the group’s inter-
       nal affairs, including the detection and punishment of corruption, dis-
       loyalty, or other acts of insubordination from below.38 By carving large
       sectors into multiple smaller ones and implementing new sector-level
       administrative structures in each newly designated smaller sector, ISI
       would be better equipped to avert these threats and establish or consoli-
       date tighter control across the Islamic emirate sought by ISI leadership.
       Who Governs, and Where? ISI’s Lack of Local Administrators
       It is clear that ISI had well-laid-out plans to construct hierarchical and
       highly bureaucratic organizational structures to administer various
       components of an Islamic state at the national, provincial, and dis-
       trict (or sector) levels. But how successful was the group at establishing
       and maintaining these structures? Measuring administrative capac-

       38 On geographic obstacles to oversight in insurgent organizations, see Johnston, 2008;
       and Francisco Gutiérrez Sanín and Antonio Giustozzi; “Networks and Armies: Structuring
       Rebellion in Colombia and Afghanistan,” Studies in Conflict & Terrorism, Vol. 33, No. 9,
       2010. In the traditional management literature, the issues that arise when managers have
       excessively large numbers of subordinates to supervise are often discussed in terms of setting
       the appropriate span of control.




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       ity is notoriously difficult. A variety of measures, for example, have
       been constructed to gauge the governance capacity of nation-states,
       but scholars disagree over the concepts and data that underlie many
       of the indexes and variables.39 Assessing the administrative capacity of
       militant groups is an even more daunting task. Little information and
       almost no quantitative data are available.
             One way of gleaning insight into this issue is by examining an
       organization’s ability to fill key positions that are laid out in its organi-
       zation chart. An organization that can fill key leadership and admin-
       istrative positions will be more likely to have the capacity to carry out
       administrative and bureaucratic tasks than one that cannot. To be sure,
       being able to fill key positions within an organization is not necessarily
       synonymous with being able to carry out these functions, but an orga-
       nization that lacks the human capital at the top level is unlikely to be
       able to organize and conduct the full scope of the functions it seeks to
       execute or to build the institutions it needs to impose and consolidate
       control over particular geographic areas.
             ISI’s documents show that it had difficulty filling the four key
       positions for each sector. Of the 31 sectors listed, 30 also listed the
       status of appointments to the four specified positions. Of 120 total
       positions listed for the 30 sectors, ISI had filled only 46, as of the writ-
       ing of the document (Table 4.3).
             ISI listed a leader (sector emir) as present in only 18 of the 30
       sectors for which these data were recorded. This finding is striking,
       as 40 percent of ISI’s local subsidiaries lacked the presence of a leader.
       This is particularly important not only because the number of unfilled
       sector leader positions is high but also because, as shown earlier in
       this chapter, sector emirs play an important role beyond leadership,

       39 For a variety of applications using different measures of institutional or governance capac-
       ity, see Stephen Knack and Philip Keefer, “Institutions and Economic Performance: Cross-
       Country Tests Using Alternative Institutional Measures,” Economics and Politics, Vol. 7,
       No. 3, 1995; Daron Acemoglu, Simon Johnson, and James A. Robinson, “The Colonial Ori-
       gins of Comparative Development: An Empirical Investigation,” American Economic Review,
       Vol. 91, No. 5, 2001; Cullen S. Hendrix, “Measuring State Capacity: Theoretical and Empir-
       ical Implications for the Study of Civil Conflict,” Journal of Peace Research, Vol. 47, No. 3,
       May 2010; James D. Fearon, Governance and Civil War Onset, Washington, D.C.: World
       Bank, World Development Report Background Paper, August 2011.




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       Table 4.3
       ISI’s Filled Sector Leadership and Administrative Positions, as of 2008

       Type                                      Number Filled                 Share Filled (%)

       Sector emir                                     18                             60

       Sharia emir                                     11                             37

       Military emir                                   17                             56

       Media emir                                        0                             0

       All                                             46                             38

       SOURCE: Harmony document NMEC-2009-602125; see “ISIL, Syria and Iraq
       Resources,” 2015.
       NOTES: For each type of leader, the calculations made were based on the 30 total
       sectors that were listed in the documents captured in the Abu Qaswarah raid
       and that had data on leadership. The grand total of 38 percent (of all available
       sector-level positions filled) is inclusive of media emir positions, of which none was
       recorded as filled. Excluding media emir positions from this calculation, 51 percent of
       ISI sector, sharia, and military emir positions were filled.


       decisionmaking, and general sector oversight—they are responsible for
       transmitting information from their sectors up the chain of command
       to higher-level provincial leaders. For the 12 sectors for which the sector
       emir position was not filled, it is unclear how, if at all, detailed reports
       were submitted to ISI higher-ups, or who, if anyone, oversaw opera-
       tions and administered remaining ISI structures on the ground.
             As noted, the documents indicated that no sectors had filled the
       position of media emir. As a result, ISI failed to fill all of the four key
       positions listed in the document in all of the 30 sectors for which
       data were available (Table 4.4). Nine of the 30 ISI sectors (30 per-
       cent) for which data were recorded, however, had filled each of the
       three remaining positions.40 These sectors are Mosul, Left Sharqat,
       al-Dulu‘iyyah (also spelled Duluiyah), al-Ishaq, al-Mazary (West
       Yethrib), al-Tarmiyah, al-Taji, Abu Ghraib, and Jarf al-Sakhr. Seven
       of these nine sectors appear to have been located north of Baghdad,
       where ISI was able to maintain a physical presence and organizational
       infrastructure in the wake of increased pressure from coalition forces

       40 No information was available for one sector, al-Birr and al-Taqwa.




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       Table 4.4
       Sectors with Different Numbers of Positions Filled

       Total Number of Positions Filled         Number of Sectors         Share of Sectors (%)

       4                                                 0                            0

       3                                                 9                           30

       2                                                 7                           23

       1                                                 5                           17

       0                                                 9                           30

       Overall                                          30                          100

       SOURCE: Harmony document NMEC-2009-602125; see “ISIL, Syria and Iraq
       Resources,” 2015.


       and ISF. Abu Ghraib and Jarf al-Sakhr, both west of Baghdad, were
       the only two mostly administered sectors that were not located north
       of Baghdad—the areas to which ISI increasingly moved its base after
       2006 because of coalition and Iraqi counterinsurgency and counter-
       terrorism operations. In seven sectors, ISI filled two of the four posi-
       tions, and in five sectors, ISI filled one of the four key positions. Four
       of the five had a sector emir only, with no other ISI official listed.41
             Perhaps most striking about the sector-position data is that in
       nine sectors, ISI was unable to fill any of the four positions, meaning
       that nearly one-third of ISI sectors lacked not only a top sector leader
       but also any leaders to administer key functions. These sectors include
       Baghdad, Diyala, West of Dijlah, al-Dayrah, al-Rashid subdistrict,
       Jablah Suwayrah, Southern Cities, Northern Cities, and Ramadi.
             The size of the sector in terms of population appears to bear little
       relationship to whether ISI was able to fill the positions. If we construct
       an additive index indicating the number of positions filled (which
       ranges from 0 to 3), the bivariate correlation between that index and
       the sector population is weakly negative if we include the two largest


       41 The other sector that had only one ISI official was al-Karmah. Al-Karmah’s only listed ISI
       official, Abu Ahmad, was listed as the sector’s military emir (Harmony document NMEC-
       2009-602125; see “ISIL, Syria and Iraq Resources,” 2015).




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       sectors (which had no positions filled) and weakly positive if we exclude
       those sectors.
             The geography of these sectors is revealing: seven were in or
       around Baghdad; two were in Anbar governorate, in western Iraq; and
       one was in Diyala governorate. In each location, coalition-led surge or
       SOI operations had cleared ISI from its former sanctuaries, from late
       2006 through early 2008, most notably in Anbar governorate, Bagh-
       dad and its surrounding belts, and Diyala governorate.42
              Previous analysis of coalition and ISF operations indicated that
       ISI had been routed in its previous strongholds.43 Indeed, in Janu-
       ary 2008, LTG Raymond Odierno commented: “Al Qaeda has been
       pushed out of urban centers like Baghdad, Ramadi, Fallujah and
       Baqubah, and forced into isolated rural areas. Many of their top lead-
       ers have been eliminated, and finding qualified replacements is increas-
       ingly difficult for them.”44 The captured documents provide another
       source of information that clearly corroborates Odierno’s assessment.
       This information is valuable, because systematically analyzing mili-
       tants’ own internal documents can help analysts overcome some of
       the ambiguity of observed violence, such as the attacks documented
       in the MNF-I SIGACTS III Database.45 This ambiguity, in isolation,
       makes it difficult to discern militants’ strategic choices to reallocate or
       constrain violence from observer effects stemming from troop deploy-
       ments or from genuine reductions in the capacity to perpetrate attacks.
       The documentary evidence helps remedy this potential shortcoming of
       other available data sources by demonstrating that not only did coali-
       tion forces and Iraqi operations significantly reduce violence in areas
       previously under ISI control but that it was unlikely that the decline in
       violence was an artifact of ISI leadership opting to constrain violence
       in these areas. Instead, it appears that, as an organization, ISI no longer
       had a significant presence in these areas, and its capacity to perpetrate

       42 Hamilton, 2008b, p. 3.

       43 Hamilton, 2008a, pp. 2–3.

       44 Raymond Odierno, “DoD News Briefing with Lt. Gen. Odierno from Iraq,” January 18,
       2008.
       45 Empirical Studies of Conflict Project, n.d.




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       violence diminished as these areas were secured under coalition and
       Iraqi control.

       ISI’s Efficiency Across Space
       Although the available data do not permit a thorough analysis of how
       ISI’s operational efficiency varied across space, we gain a preliminary
       understanding by looking at the simple relationship between admin-
       istrative positions filled and the production of violence. ISI more pre-
       cisely produced violence relative to the population in areas where it had
       more positions filled in its administrative apparatus.
             Assuming that ISI’s attacks were roughly proportional with over-
       all combat violence, the variation in the production of violence across
       the 31 ISI sectors during 2008 was very large.46 The group’s three most
       productive sectors had between 13.7 and 30.4 combat incidents per
       1,000 residents in 2008. The next most productive sector had only
       4.7 combat incidents per 1,000. ISI sectors in Anbar were the least pro-
       ductive during this period—not surprisingly, given that the group had
       been largely routed from that governorate by late 2007.
             There are some differences in ISI attack rates depending on the
       proportion of administrative positions filled, but it is unclear whether
       those differences highlight the importance of filling administrative
       positions for producing violence or the fact that, during this period, the
       ISI hierarchy was encouraging its fighters to lay low. If we look at aver-
       age rates of combat, effective ISI administration seems to have played a
       restraining role on the group’s production of violence. In the nine sec-
       tors in which no leadership positions were filled, the average number of
       combat incidents per 1,000 residents was 4.8. In the 12 sectors where
       one or two positions were filled, it was 4.3, and in the nine with three
       positions filled, it was 2.4.
             If, however, we look at the ability of ISI to produce levels of combat
       commensurate with an area’s population, a different picture emerges.

       46 This is a potentially flawed assumption, but there are no unclassified data on insurgent
       attacks in Iraq that provide the precise geolocation required to attribute them to the ISI sec-
       tors we have identified and that attribute attacks to specific groups. Since anecdotal accounts
       attribute much of the combat outside the south in 2008 to fighting against ISI, we believe
       that the assumption is a reasonable starting point.




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       Once we drop the two sectors that covered areas with populations of
       more than 2 million people (Baghdad and the Northern Cities), then
       the bivariate correlation between the count of combat incidents and
       a sector’s civilian population is 0.63 in places with no administrative
       positions filled, 0.38 in sectors with one or two positions filled, and
       0.88 in sectors in which ISI filled all positions.

       ISI’s Services Within Its Territories
       In Chapters Eight and Nine, we discuss, in detail, how AQI and ISI
       made and spent their money. However, we preview the findings here
       because they are relevant to a key question that follows from ISI’s lack
       of administrative capacity, as demonstrated earlier in this chapter. Spe-
       cifically, did the group provide services, as a normal government would?
             Overall, we see that neither AQI in Anbar nor ISI in Ninewa
       spent much of its budget on social services. In Anbar governorate, the
       AQI administrator’s records show that the group spent the vast major-
       ity of its revenue on operational expenses—transfers from the AQI
       Anbar governorate level to local sectors on an as-needed basis. Costs
       that the AQI administrator categorized as “administrative” were the
       second-largest expenditure category in the Anbar database, but admin-
       istrative expenses amounted to less than one-fifth the amount that AQI
       spent on sector transfers. The Anbar administrator also included a cat-
       egory of expenses called “support,” which included expenditures made
       on various types of social support. The Anbar administrator’s records
       show that AQI spent 10–15 percent of AQI’s budget on services.47
             AQI’s declaration of an Islamic state (of Iraq) did not increase the
       group’s spending on social services. To preview our findings in Chap-
       ter Eight concerning how ISI in Ninewa governorate spent its money
       in late 2008 to early 2009, only a tiny fraction was spent on social
       services. During this period, ISI in Ninewa spent vastly more money
       to pay its own personnel than on anything else. Military-related pur-
       chases made up about 10 percent of its budget. ISI spent very little on
       social services—funding disbursed for the group’s medical committee,
       for example, made up less than 1 percent of ISI’s total spending during

       47 For a detailed breakdown of AQI and ISI income and expenses, see Chapter Eight.




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       the period. No other expenditure categories that would seem to repre-
       sent spending on social services appear in the group’s financial records.
             An important question is whether ISI’s successor group, the
       Islamic State, operates differently. Specifically, does the Islamic State
       provide services, unlike its forerunners studied in this report? Over-
       all, ISI simply was unable or unwilling to allocate much of its budget
       to service provision. Although we do not have high-quality primary-
       source data to assess this proposition, it appears that, as of early 2015,
       the Islamic State’s newfound riches enabled it to provide better qual-
       ity and more services in areas firmly under its control, such as Raqqa,
       Syria. As of the summer of 2015, the Islamic State appeared to be offer-
       ing a variety of services in Mosul and throughout its territories.48 This
       suggests that the group’s goals for a state extended well beyond mark-
       ing internal boundaries and appointing officials. Rather, this suggests
       that had ISI not been severely damaged starting in 2006, it too would
       have built more-complex institutions for administering a territory and
       population.


       Conclusion

       We present three key findings about the group’s organization. First,
       ISI’s internal organizational structures much more closely resembled
       a hierarchy than a network. This finding is important but not revela-
       tory: Previous research based on captured ISI documents had reached
       a similar conclusion, although based on a narrower set of evidence.49
             Second, ISI’s internal organization appears to closely mirror
       that of core al-Qa‘ida, dating back to the pre-9/11 period in Afghan-
       istan.50 There are two possible explanations for this. The first is a
       path-dependence argument: Al-Qa‘ida’s affiliates and successors are

       48 Ben Hubbard, “Offering Services, ISIS Digs Deeper in Seized Territories,” New York
       Times, June 16, 2015a; Nour Malas, “Iraqi City of Mosul Transformed a Year After Islamic
       State Capture,” Wall Street Journal, June 9, 2015.
       49 Bahney, Shatz, et al., 2010.

       50 National Commission on Terrorist Attacks Upon the United States, 2004.




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       not nearly as adaptive and dynamic as many have argued.51 Rather,
       ISI adopted organizational structures used by al-Qa‘ida’s core because
       that was how the people who set up the groups were indoctrinated and
       trained during the 1990s and the first part of the 21st century. The
       second explanation for the similarities between how ISI and core al-
       Qa‘ida sought to organize is a functional one: the exigencies of man-
       aging a territorially oriented insurgency mean that any rebels with
       territorial ambitions will naturally gravitate to the kind of hierarchical
       structure that ISI used. Under this view, the coincidence in naming
       conventions between ISI and al-Qa‘ida may reflect shared ideologi-
       cal origins, but their structural similarities reflect similar managerial
       challenges and operational environments.
              This degree of similarity is striking. It suggests that al-Qa‘ida–
       affiliated groups will tend to adopt organizational structures and stan-
       dard operating procedures that are similar to those of core al-Qa‘ida
       because they have been taught doctrine that includes the basic al-
       Qa‘ida structure.52 Although affiliated groups’ internal organizational
       structures reveal nothing about their intent to strike at “far enemy”
       countries, such as the United States and the United Kingdom, they do
       have implications for developing strategies to counter these groups. Al-
       Qa‘ida’s internal organizational structures and standard operating pro-
       cedures are well-known. The United States and its allies will not need
       to start from scratch in devising countermeasures aimed at dismantling


       51 For example, see Hoffman, 2004; Christopher M. Blanchard, Al Qaeda: Statements and
       Evolving Ideology, Washington, D.C.: Congressional Research Service, November 2004; and
       Assaf Moghadam, “How Al Qaeda Innovates,” Security Studies, Vol. 22, No. 3, 2013. See
       also Rabasa et al., 2002; and Seth G. Jones, A Persistent Threat: The Evolution of al Qa’ ida and
       Other Salafi Jihadists, Santa Monica, Calif.: RAND Corporation, RR-637-OSD, 2014.
       52 For example, many of the themes that al-Qa‘ida in the Islamic Maghreb (AQIM) lead-
       ers discussed in documents uncovered by the then–Associated Press reporter Rukmini Cal-
       limachi also appeared in al-Qa‘ida documents from Somalia and Afghanistan, as well as
       in AQI and ISI documents from Iraq. Callimachi writes about AQIM’s detailed financial
       reporting requirements, as well as challenges managing relationships with locals, reigning
       in overly enthusiastic operatives, and making sure organizational resources are well spent.
       See Callimachi’s series “The Al Qaeda Papers,” published between January 22, 2013, and
       December 29, 2013 (the Pulitzer Prizes website hosts PDFs of ten of these articles).




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       new affiliate groups when they emerge or existing groups when they are
       resurgent.53
             Third, regarding the geography of ISI’s organization, ISI appeared
       to use straightforward logic to define the local areas it wanted as con-
       stituent parts of a larger emirate. The geographic factors that ISI used
       might provide useful guidance for security forces tasked with disrupt-
       ing and dismantling other insurgent and terrorist organizations that
       seek control over a given area of operations.
             Although ISI had specific territorial ambitions and governance
       goals over its defined jurisdictions, the group failed to fill a large pro-
       portion of the positions necessary to establish and consolidate local,
       sector-level subsidiaries. As the group’s reemergence and takeover of
       Fallujah, Ramadi, and Mosul in 2014 demonstrate, ISI was down but
       never completely out. Nonetheless, its failure to administer a large
       proportion of its Islamic state implies that ISI, and possibly other
       al-Qa‘ida affiliates, may be vulnerable to systematic human-capital
       deficits. Recruiting low-level fighters to a war that represents a popu-
       lar cause among a substantial proportion of the local, national, and
       regional populations can be relatively easy. Maintaining a strong cadre
       of skilled, trusted leaders is difficult for covert organizations under
       attack. Recruiting middle managers will be difficult in the long run for
       any group that fails to win some measure of popular support.

       53 See, for example, Brett McGurk, “Al-Qaeda’s Resurgence in Iraq: A Threat to U.S. Inter-
       ests,” testimony to the House Foreign Affairs Committee, February 5, 2014.




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       CHAPTER FIVE

       Foreign Fighters, Human Capital, and Terrorism
       in Iraq




       Like any organization, ISI needed workers with specific skills to achieve
       its objectives. In some cases, it found these skills among the domestic
       labor pool in Iraq. In others, it imported foreign fighters who possessed
       sought-after skills. Foreign jihadists traveled from many countries to
       join the insurgency in Iraq.1 This chapter analyzes the “human capital”
       of ISI members, and specifically how ISI managed its human capital. A
       number of documents—in particular, two sets of documents captured
       in 2007 in Salah al-Din and Anbar governorates—provide significant
       new details about the demographics, skills, education, and other attri-
       butes of a large set of ISI members. At the time of our research, the data
       analyzed here were unique among the hundreds of ISI document col-
       lections we have reviewed. They reveal how ISI administrative officials
       methodically collected, organized, and stored information on demo-
       graphics and skills about a subset of the group’s members to match
       capabilities with the group’s requirements. An ISI administrative emir
       likely collected and stored this information to help fill the specific and
       dynamic human-capital needs of his organization, which was experi-
       encing rapid personnel attrition at the time, from arrests and raids. As
       we discuss in Chapter Seven, we believe that many of the members in
       these 2007 data—at least those who survived—are still active in ISIL.

       1 The foreigners here fit a broad definition of the term foreign fighter. Namely, a foreign
       fighter is a “non-citizen of a state experiencing civil conflict who arrives from an external
       state to join an insurgency” (David Malet, “Foreign Fighter Mobilization and Persistence in
       a Global Context,” Terrorism and Political Violence, Vol. 27., No. 3, 2015).



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             These data are unlikely to be atypical. In mid-2014, high-ranking
       Iraqi security officials indicated that the Islamic State kept analogous
       data on its members’ skills and operational roles.2 More recently, a new
       study of leaked Islamic State internal documents from 2013 and 2014
       suggests that the group is currently keeping similar data on its mem-
       bers. As with our study, the new study similarly concluded that the
       group was keeping these data to scout for specific types of talent within
       its ranks.3
             ISI faced unique personnel and human-capital challenges during
       the period we consider here. Prior RAND analysis showed that a
       sample of individuals in ISI faced a very high degree of occupational
       risk in 2006, with high annual violent mortality rates of more than
       17 percent, and that risk increased dramatically in subsequent years.4
       Furthermore, ISI needed a continuous inflow of committed individu-
       als to Iraq to support its signature tactic—suicide attacks—which ISI
       and broader al-Qa‘ida referred to as martyrdom operations.5 Based on
       the group’s varied requirements, ISI needed steady inflows of various
       types of human capital to maintain the group’s high operational tempo
       and to efficiently operate its administrative apparatus. Specifically, the
       group required both highly motivated operatives willing to sacrifice
       their lives in suicide operations and operatives with the varied skill sets
       required to ensure that the organization could function according to
       plan and remain resilient in the face of the pressure from coalition and
       Iraqi counterinsurgency and counterterrorism operations.
             Our analysis of the documents supports three key hypotheses
       about ISI’s labor pool. The first is that ISI’s foreign labor force was
       diverse. The second is that foreign jihadists’ skills tended to be dis-
       tinct from skills more common among native Iraqi jihadists. The third

       2  “World’s Richest Terror Army,” reported by Peter Taylor, This World, BBC Two, April 22,
       2015.
       3  Brian Dodwell, Daniel Milton, and Don Rassler, The Caliphate’s Global Workforce: An
       Inside Look at the Islamic State’s Foreign Fighter Paper Trail, West Point, N.Y.: Combating
       Terrorism Center, West Point, April 18, 2016.
       4   Bahney, Shatz, et al., 2010; Fishman, 2008.
       5   Felter and Fishman, 2007.




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       is that ISI invested in human-capital development in ways that were
       responsive to its needs for specific skills among its workforce.
             With respect to the first hypothesis, ISI foreigners can be easily
       divided into two groups: (1) a largely unskilled group that showed up
       without prior experience and (2) experienced terrorist operatives. These
       skilled operatives contributed a variety of knowledge and expertise
       to ISI and were likely placed into specific positions based on human-
       resources data that ISI collected on hundreds of foreign volunteers. The
       unskilled operatives were typically routed into either suicide-bombing
       operations or training.
             With respect to Iraqi fighters, the information gathered by ISI
       suggests that Iraqis were also recruited and placed based on specialized
       skill sets. Those skills were different from those of the foreigners, how-
       ever. Iraqi national recruits were more likely to have had traditional
       military skills and training in small-arms tactics.
             Our evidence on the third hypothesis follows from the way for-
       eign fighters were prepared if they were designated to operations other
       than suicide attacks. In contrast to other studies, we find evidence that
       ISI used foreign labor much more expansively than just for suicide
       operations.6 ISI trained foreign individuals to execute a range of opera-
       tions and was using foreign labor primarily for nonsuicide operations
       prior to 2008.7
             Such training was part of ISI’s organizational culture, going back
       to training camps that AQI’s first leader, Abu Mus‘ab al-Zarqawi, set
       up outside Herat, Afghanistan, in early 2000 for his original organiza-
       tion, Jund al-Sham;8 these camps have continued through the present
       day in various locations in Iraq and Syria.9 Accounts vary about how


       6  For an exemplar of earlier work, see Mohammed Hafez, Suicide Bombers in Iraq: The
       Strategy and Ideology of Martyrdom, Washington, D.C.: United States Institute of Peace,
       2007.
       7 Brian Fishman, “The Islamic State: A Persistent Threat,” prepared testimony to the House
       Armed Services Committee, July 29, 2014.
       8   Weaver, 2006.
       9 John Reynolds, “French Airstrikes Target ISIS Training Camps in Raqqah,” Guardian,
       November 16, 2015; Hassan Hassan, “The Secret World of ISIS Training Camps—Ruled by




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       ISI managed training during the war in Iraq. One detailed investiga-
       tion into ISI training found that the group faced severe challenges in
       training its foreign recruits in Iraq during the height of the coalition
       involvement and resorted to training foreigners either in larger camps
       in Syria or in small safe houses inside Iraqi cities.10 This report is con-
       sistent with others claiming that ISI commonly trained foreign opera-
       tives in rural eastern Syria.11 Other reports from the period, however,
       document instances where ISI set up large camps in Iraqi towns under
       its control.12
             Regardless of where training occurred, it is clear that ISI invested
       in its people. And the group appears to have allocated training dol-
       lars in a rational manner. According to the documents we analyze, ISI
       disproportionally trained foreign fighters over Iraqis. That difference is
       consistent with compensating for the foreigners’ relative lack of mili-
       tary experience.
             Of course, using non-Iraqi labor exposed the group to significant
       operational risks. Foreigners in Iraq were more likely to be detected
       as terrorists by the local population and by security forces, since they
       could easily be identified unless they were hidden in a back-office job
       or sheltered away in a safe house.13 This dilemma raises an important

       Sacred Texts and the Sword,” Guardian, January 24, 2015; Duraid Adnan and Tim Arango,
       “Suicide Bomb Trainer in Iraq Accidentally Blows Up His Class,” New York Times, February
       10, 2014; Brett McGurk, “Iraq at a Crossroads: Options for U.S. Policy,” statement for the
       record, Senate Foreign Relations Committee hearing, July 24, 2014; Bill Roggio, “Islamic
       State Touts Training Camp in Northern Iraq,” The Long War Journal, July 22, 2014; Human
       Rights Council, Report of the Independent International Commission of Inquiry on the Syrian
       Arab Republic, Geneva: United Nations General Assembly, A/HRC/27/60, August 13, 2014;
       and “Gun Safety, Self Defense, and Road Marches—Finding an ISIS Training Camp,” Bell-
       ingcat, August 22, 2014.
       10 Truls Hallberg Tønnessen, “Training on a Battlefield: Iraq as a Training Ground for
       Global Jihadis,” Terrorism and Political Violence, Vol. 20, No. 4, 2008.
       11 Bill Roggio, “Iraq Attacks and the Syria Connection,” The Long War Journal, August 29,
       2009.
       12 Mike Few, “The Break Point: AQIZ Establishes the ISI in Zaganiyah,” Small Wars Jour-
       nal, April 17, 2008.
       13 Fishman, 2009; Brian Fishman, “Syria Proving More Fertile Than Iraq to al-Qa‘ida’s
       Operations,” CTC Sentinel, November 26, 2013.




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       general question for understanding such terrorist organizations as ISI:
       Why recruit foreign Islamists who pose security risks and are likely
       to further exacerbate relations with the local population? The answer
       must be that, once trained, the additional labor added value, even con-
       sidering risks.
             In the remainder of this chapter, we first discuss the data we have
       on ISI human capital. Second, we report our analysis of differences in
       how foreign and Iraqi ISI members recruited and assigned personnel.
       We conclude by discussing potential implications of these findings for
       the current U.S.-led coalition campaign against the Islamic State.


       Data on ISI Human Capital

       Our data on ISI’s human capital come primarily from two sets of records
       captured in Anbar and Salah al-Din governorates in 2007.14 The Salah
       al-Din data contain entries for 82 fighters, all of whom were Iraqi in
       origin. The data captured in Anbar contain entries for 417 fighters, pri-
       marily foreign fighters. Many of the foreign fighters have a date of entry
       into Iraq. All fighters with a date recorded entered Iraq in 2004 and
       2005. Taken together, we have 393 foreign fighters and 106 Iraqi fight-
       ers, a total of 499 unique personnel records detailing attributes that ISI
       tracked. Entries for fighters detail demographic information, educa-
       tion, combat and other skills, and training. Although the record keep-
       ers did not track all attributes for each fighter, the combined records
       give us insight into the needs and priorities that ISI had in managing
       its human capital. The data provide insight into how ISI managed a
       diverse workforce during a period in which the group was being routed
       militarily and thus needed to manage the constant personnel turnover
       that resulted from the high rate at which ISI members were captured
       and killed.



       14 The full set of documents used in analysis here includes Harmony documents MNFT-
       2007-005315, MNFT-2007-005316, MNFT-2007-005318, MNFT-2007-005319, NMEC-
       2007-633795, and NMEC-2007-634059; see “ISIL, Syria and Iraq Resources,” 2015.




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            The personnel records shown in Figure 5.1 come from documents
       captured in Anbar governorate in March 2007. This particular docu-
       ment shows how ISI tracked battle experience and locations where the
       members were active. The documents resemble the advice that the al-
       Qa‘ida leaders Usama Bin Ladin and Ayman al-Zawahiri sent to ISI
       leaders in a letter in March 2008, which was intercepted by U.S. forces:

             a. The sheikh [Bin Ladin]—may God preserve him—advises you
             to set up a department in the bureau for the affairs of the muja-
             hideen in the Islamic State of Iraq, part of its duties would be the
             following:15

             (1) To look for hidden capabilities among the brothers who have
             joined the [Islamic] State and activate them, by gathering detailed
             questionnaires from each member in which he would clarify his
             age, health condition, experience, level of education and the com-
             mendations he has received, the areas where he excels, and so
             on, and what ideas he has to develop the work and support the
             Jihad, and what advice he has for the [Islamic] State and its lead-
             ers, bearing in mind the various security aspects to safeguard the
             information for the safety of the brothers. Also, only nicknames
             are to be used in identifying them.

             (2) To develop the expertise of the brothers in the various required
             fields through the available capabilities and accessible means.

             (3) To identify the gaps in required expertise in terms of quality
             and quantity.

             b. Seek to appoint some qualified brothers to set up a higher legal
             council and form a higher sharia court for the Muslims in gen-
             eral, including the mujahideen, which would not follow the State
             or any of the groups, and whose task is to rule in disputes by
             applying the provisions of Sharia, so that justice would prevail
             and security would settle and disputes would disappear.


       15 Mujahideen is the plural for mujahid, which means “one who engages in jihad.” Al-Qa‘ida
       and ISI often referred to their members as mujahideen.




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  Figure 5.1
  ISI’s Records of Skills, Country of Origin, and Experience

                      Previous Missions                                 Previous Tours                      Location Series
                                                                                                                                            Security
       Types          Location       Date   Assignment       Type         Duration       Date      1         2           3         4         Status
                     Baghdad -
                     Abughraib -                          Estensive
                     Rawah- Al-                          Engagement
       Battels          'Ubaydi                            Course                                                                            wanted
                    Al-'Ubaydi-Al-
       Battels           M'adid                           Informatory                                                                       very good




                                                                                                                                                                Foreign Fighters, Human Capital, and Terrorism in Iraq
      Battle          Haditha                                                                                                                 good
   Administrative     Haditha
                     Al-Khisah -                         Engagement -
      Battles         Haditha                               Mines
   Administration     Hadithah


                                                          Penetrations                           Rawa/ 9
    Rawa clashes                                         / IED courses     15 days               months                                     Wanted

        Attack                                             various
   checkpoints and                                         military
    Military base/                                       courses/ al-
    Heet ambush/                                           Ma'adid       2 months/ 1
        Attack     //Abu-Gharib                            course           week                Rawa/'Ana   Heet      Baghdad   al-'Ubydi

  SOURCE: Harmony document NMEC-2007-634059-1; see “ISIL, Syria and Iraq Resources,” 2015.
  RAND RR1192-5.1




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             c. Advancing the strong and faithful in general wardships and
             important jobs, and training the others in finance and the like.

             d. As for what concerns external support, the brothers in the
             State must include in their communiqués the required needs and
             expertise and to specify their quantities. We in turn will confirm
             in our communiqués what you have requested.16

             Given that the documents predate this letter from al-Qa‘ida, it is
       possible that ISI had previously received this guidance or had arrived
       at the idea independently. Our documents suggest that ISI tried this
       system in a limited fashion, and it might have determined that either
       the system did not fit its needs or was too risky to document identify-
       ing information about its members.
             We emphasize that these data are a nonrandom selection of
       records, and the record keeper documented attributes of ISI mem-
       bers inconsistently within—as well as across—the documents. Conse-
       quently, there are limits to our analysis, and we have chosen to present
       a conservative description of the population in the records.17




       16 Bill Roggio, Daveed Gartenstein-Ross, and Tony Badran, “Intercepted Letters from al-
       Qaeda Leaders Shed Light on State of Network in Iraq,” The Long War Journal, Septem-
       ber 12, 2008.
       17 When the record keeper listed attributes for some but not for others, we assume that
       the member with the blank record did not possess those attributes. For instance, it is pos-
       sible that an individual not listed as desiring suicide may in fact have later volunteered for
       a suicide mission. Because we are able to observe only where ISI recorded actual data, it is
       difficult to determine whether missing data entries are either meant to be recorded as 0 or
       whether the data are simply missing. Wherever possible, we note these issues and identify
       from which document the records came, as record keepers were more consistent in tracking
       similar characteristics within their own document than different record keepers were across
       documents. Although these entries span several years of record keeping on human capital, we
       do not see repeated entries and cannot disentangle updated entries—if there are any—from
       the documents. This has the added analytical disadvantage of not allowing for claims about
       how ISI leadership chose to develop and manage its human capital over time and in response
       to changing operating conditions because of the presence of coalition forces.




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       ISI Human Capital: Foreign Fighters Versus Iraqi Members

       Among the 499 members listed in the documents were 393 foreign
       fighters and 106 Iraqis. We compare these two groups to weigh possi-
       ble explanations for why ISI imported foreign fighters. These explana-
       tions include (1) ISI faced a shortage of members who were both true
       believers—Salafi jihadists of the al-Qa‘ida ilk—and local Iraqis, who
       could continually replenish the ranks of the group’s fighters and mili-
       tary leadership; (2) ISI experienced continuous shortages in skilled
       technical positions in its ranks, which it needed to replenish with
       skilled or trained foreigners; and (3) ISI needed a continuous flow of
       ideologically committed foreign fighters to use for its trademark sui-
       cide bombings.
             Our documents show that ISI drew its foreign fighters from a vari-
       ety of countries, with the largest group coming from Arabian Penin-
       sula countries and the second largest group coming from North Africa
       (Figure 5.2 and Table 5.1). In Figure 5.2, the map in Panel B is derived
       from the well-known “Sinjar documents,” a cache of insurgent records
       found in Sinjar, Iraq, in September 2007. The Sinjar documents con-
       tained significant details about foreign fighters, much of which is con-
       sistent with the information that was recorded in the documents that
       were declassified for this study. The Sinjar documents accounted for
       foreign fighters who entered Iraq from August 2006 through August
       2007.18 Many of these recruits came from North Africa and even West-
       ern Europe, in addition to a large number of entrants from the Arabian
       Peninsula. The map in Panel A illustrates our data, showing members
       who entered in 2004 and 2005, earlier in the insurgency. In contrast
       to the Sinjar collection, the new documents analyzed for this study
       show a somewhat different picture, suggesting that the types of ISI
       foreign-fighter flows might have varied over time, as circumstances on
       the ground changed. For example, our data suggest that, in this earlier
       period, a much larger percentage of ISI members from neighboring
       countries flowed into Iraq, and there were more fighters from Tunisia.


       18 Fishman, 2008.




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       Figure 5.2
       Sources of Foreign Fighters
       Panel A: Fighters Entering in 2004 and 2005



                     Inflows in 2004                                                     Number of
                         and 2005                                                         fighters
                                                                                            1–5
                                                                                            6–30
                                                                                            31–49
                                                                                            50+
                               Belgium
                                  (1)

                                                                         Karachay-Cherkess
                                                                                (1)
                                                                                         Dagestan
                                                                                            (1)
                                                                    Lebanon
                                         Tunisia                       (5)
                                          (48)                                   Syria
                                                            Palestinian           (61)
                                                            Territories
             Morocco                                            (2)                         Kuwait
                                                                        Jordan
               (5)            Algeria                                                         (5)
                                                   Libya                 (8)
                               (26)
                                                    (14)
                                                                                 Saudi Arabia
                                                                                    (149)



                                                     Chad        Sudan
                                                                  (10)                     Yemen
                                                      (3)                                   (45)




                                                                                            Somalia
                                                                                              (2)



        RAND RR1192-5.2a




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       Figure 5.2—Continued
       Panel B: Fighters Entering in 2006 and 2007 (the Sinjar documents)



             Inflows from August 2006                                                 Number of
                  to August 2007                                                       fighters
                                                Sweden
                                                  (1)                                       1–5
                                                                                            6–30
                                                                                            31–49
                           UK                                                               50+
                           (1)      Belgium
                                       (1)
                                                Bosnia and
                                 France        Herzegovina
                                   (2)              (1)




                                          Tunisia                           Syria
                                           (30)                   Lebanon (48)
                 Morocco
                                                                     (1)
                  (35)                                                                   Kuwait
                                                                         Jordan             (1)
                             Algeria                                      (12)
                              (40)                  Libya      Egypt
                                                    (109)       (5)             Saudi Arabia
                                                                                    (232)

          Mauritania
             (1)                                                Sudan
                                                                 (1)                    Yemen
                                                                                         (42)




       SOURCES: Harmony documents NMEC-2007-633795 and NMEC-2007-634059 (see
       “ISIL, Syria and Iraq Resources,” 2015) and Sinjar documents, as listed in Felter and
       Fishman, 2007.
       RAND RR1192-5.2b




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       Table 5.1
       ISI Members, by Country, in Our Data

                                     Number of ISI
       Country                        Members         Share (%)           Rank

       Saudi Arabia                        149           30.3                1

       Iraq                                106           21.5                2

       Syria                                 61          12.4                3

       Tunisia                              48            9.8                4

       Yemen                                45            9.2                5

       Algeria                               26           5.3                6

       Libya                                 14           2.9                7

       Sudan                                 10           2.0                8

       Jordan                                 8           1.6                9

       Kuwait                                 5           1.0              10

       Lebanon                                5           1.0              10

       Morocco                                5           1.0              10

       Chad                                   3           0.6               13

       Palestinian territories                2           0.4              14

       Somalia                                2           0.4              14

       Belgium                                1           0.2              16

       Cherkessia                             1           0.2              16

       Dagestan                               1           0.2              16

       Total                               492          100.0

       SOURCES: Harmony documents MNFT-2007-005315, MNFT-2007-005316, MNFT-2007-
       00531 MNFT-2007-005318, MNFT-2007-005319, NMEC-2007-633795, and NMEC-2007-
       634059; see “ISIL, Syria and Iraq Resources,” 2015.
       NOTE: The individuals of unknown, but presumed Iraqi, origin are not included.




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             As a general matter, foreign fighters tended to be more tied ideo-
       logically to the transnational Salafi-jihadi ideology that characterizes
       the current Islamic State than our sample of Iraqi members. Foreign
       individuals and groups traveled far and gave up much to fight with ISI.
       This dynamic created a well-known schism within ISI.19 “Imperious”
       foreigners had a sense of superiority, but locals sensed that the foreign-
       ers could not do anything for themselves, had little understanding of
       the local culture or dialect, and created security risks for the group.
       One study judged that foreign labor was a key to both ISI’s lethality
       from 2005 to 2007 and its decline post-2007, as Sunni tribal groups
       rose up against it in the Awakening.20 Perhaps as a result of this, as ISI
       came under greater pressure, local ISI leaders tended to tuck foreigners
       away and either not use them or misuse them. A strategist writing in
       late 2007 or 2008 noted:

             The moment the Mujahid enters the land of Jihad [in this case,
             Iraq], he will be faced with a series of transitions, particularly
             those who enter into al-Anbar, and who are selected to go to the
             western region. . . . At the beginning of their arrival, they are
             placed in a dreary, peculiar desert and forced to live with rough
             Arabs who probably never prayed to Allah but who are only hos-
             pitable because the guests are also Arabs. The new brother will
             stay at this peculiar location until he reaches one of the guest
             houses of the brothers where he will be shocked with the reali-
             ties of the lack of work and idleness at the camps in the desert
             where people are idle for several months. . . . Additionally, this
             person is not able to meet his immediate Emir during which he
             witnesses the problems of the military brothers. His operation has
             been postponed for months while he lives in a violent atmosphere
             of the fighter brothers and their issues because of their inactiv-
             ity. He lives without having a military Emir to lead them and
             conduct their operations inside the cities. After a month of wait-
             ing and being discharged from his faith, the suicide bomber will
             be notified that his mission is coming soon with God’s will and


       19 Fishman, 2009.

       20 Fishman, 2009.




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             with God’s permission, relief is coming. The brother’s hope will
             be refreshed, but he starts hearing stories and episodes of previous
             suicide bombers who carried out their attacks in the air or against
             walls. He hears also that the brothers will be sending him to an
             easy target that can be dealt with by a security or military opera-
             tion. One of the brothers will inform the suicide bomber that the
             target will be against two police cars or one of the apostate lead-
             ers; as result, his morale will deteriorate as he was hoping to cause
             huge damage to the apostate group, and devilish thoughts and
             depression crawls to his heart. . . . The brother decides to transfer
             from suicide bomber to fighter, but his request will be rejected by
             some Emirs, as it is considered the State’s decision, they have no
             authority to transfer him to a fighter. The suicide bomber then
             returns to his country or he will be obliged to accept the status
             quo and choose any target on which to execute.21

       ISI later judged that the political backlash against its foreign identity
       was so severe that, in 2008, the group decided to no longer accept for-
       eign recruits.22
              We consider a number of personnel characteristics in the remain-
       der of this chapter and how they are correlated with foreign or Iraqi
       origin (Table 5.2). There is a strong relationship between foreign mem-
       bers and training, which may reflect a resource-allocation decision by
       ISI to train the relatively inexperienced and uneducated foreigners in
       fighting skills, or for people to seek training with the intent of joining
       ISI. This interpretation is supported by the observation that foreign-
       ers were much less likely to have battle experience or formal educa-
       tion. Across the sample, there is a weak relationship between records
       of having received training and noncombat skills. These correlations
       emphasize that the key dimension along which many other differences
       fall is the Iraqi–foreign fighter difference, which we examine in more
       detail in the following pages.



       21 Harmony document NMEC-2008-612449; see “ISIL, Syria and Iraq Resources,” 2015.

       22 Fishman, 2009.




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       Table 5.2
       Correlations Between Foreign Status, Training, and Education

                                Any       Combat Noncombat         Formal   Any Battle
                    Foreign   Training     Skills   Skills        Education Experience
                    Member    Recorded   Recorded Recorded        Recorded Recorded

       Foreign        1.000
       Member

       Any           0.3202    1.000
       Training
       Recorded

       Combat       −0.0240    0.0693      1.000
       Skills
       Recorded

       Noncombat     0.0652    0.1101     −0.0336      1.000
       Skills
       Recorded

       Formal       −0.4071    0.0611      0.0712      0.0725       1.000
       Education
       Recorded

       Any Battle   −0.5332   −0.0773      0.0273     −0.0173       0.2589       1.000
       Experience
       Recorded



       Human Capital and Terrorism: Comparing Iraqi and
       Foreign ISI Operatives
       In general, ISI’s foreign fighters were less educated and less skilled than
       Iraqi fighters. They were more likely to be placed in traditional ter-
       rorist roles—suicide bombings and irregular attacks—than in more-
       traditional military roles. In some cases, perhaps because they tended
       to be more ideologically committed, they were placed in key military
       leadership roles.

       Education
       Foreign ISI members were much less likely to be educated than Iraqi
       ISI members. This finding is highly significant, with a likelihood of
       being random at less than 1 percent (p < 0.01). ISI recorded whether its
       members were “formally” educated. We believe that formal education
       likely means education beyond primary school, since the vast majority



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       of Arabs of fighting age are literate and received primary education.23
       Although it is difficult to interpret these data, because we cannot deter-
       mine the group’s definition of formal education, it seems clear that ISI
       found its foreign members to be poorly educated, compared with the
       Iraqis. Only roughly one in 13 foreigners were listed with some formal
       education, while nearly half of Iraqis were (Table 5.3).

       Dying to Win?
       Previous studies have found that most ISI suicide operations from
       2005 to 2007 were conducted by foreign recruits. The Sinjar docu-
       ments contain records on 389 foreigners who designated their work
       in Iraq. Of these, more than 50 percent—217 of the 389—were
       recruited into suicide-bomber roles.24 Almost all of the remainder
       were listed with “military” roles, while only a handful (six total) were
       listed in the legal, media, or medical departments. The Sinjar docu-
       ments showed that recruits from different countries had vastly dif-
       ferent predilections—although the vast majority of Libyans, Moroc-
       cans, and Syrians were suicide bombers, the majority of Algerians were
       listed as fighters. Another study of ISI documents found that foreigners
       were kept separate from Iraqis—possibly because of the security risk

       Table 5.3
       Differences in Formal Education Among ISI Members

                                                          Number with Formal
       Type                         Total                 Education Recorded           Share (%)

       Iraqis                        106                             46                   43.4

       Foreigners                    393                             30                       7.6

       Total                         499                             76                   15.2

       SOURCES: Harmony documents MNFT-2007-005315, MNFT-2007-005316, MNFT-2007-
       005318, MNFT-2007-005319, NMEC-2007-633795, and NMEC-2007-634059; see “ISIL,
       Syria and Iraq Resources,” 2015.



       23 Education for All Global Monitoring Report, Regional Fact Sheet: Education in the Arab
       States, Paris: UNESCO, January 2013.
       24 Felter and Fishman, 2007; see their appendix for a list of studies on this topic.




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       that foreigners constituted—and many wavered in their desire for sui-
       cide after lingering for some time in Iraq. Some also tried to switch to
       being regular fighters, despite having “little training.”25 Abu Qaswarah
       reportedly killed some foreigners who lost their nerve to commit a sui-
       cide attack and asked to return to their home countries.26
             Our data show 40 people listed with “desires martyrdom” under
       the field “skills.” ISI leadership apparently viewed recruits’ desire to
       commit a suicide attack—or lack thereof—as information worth
       including in incoming members’ personnel files. ISI did not record any
       other data about these individuals beyond their countries of origin.27
       In contrast, the group collected a substantial amount of data about
       its foreign-fighter recruits who were not suicide bombers, including
       age, education, types of skills, and operational experience. Other ISI
       document sets from this period similarly distinguish prospective sui-
       cide bombers and foreign fighters and suggest that, once a foreigner
       submits to being a suicide bomber, it is very difficult to convert to
       being a fighter.28
             None of the 40 suicide bombers in our documents is Iraqi, which
       supports previous studies showing that ISI mostly used foreign suicide
       bombers (Table 5.4). This could reflect either a lack of Iraqi volun-
       teers for the role or a preference on the part of ISI to save Iraqis for
       other roles. Similarly, only two out of the 61 Syrians were listed as
       suicide bombers, indicating that ISI treated Syrians more like locals,
       despite the fact that Syrians looked, demographically, like foreigners.
       We also infer that ISI had a standard way of managing suicide bomb-
       ers because it consistently recorded only willingness to be a suicide
       bomber and country of origin for this subset of members. ISI did not
       provide would-be suicide bombers with training; only one of the 40
       individuals listed as a would-be suicide bomber is also listed as having
       been trained. That 2.5-percent training rate is vastly lower than the

       25 Fishman, 2009.

       26 MNF-I, “Al-Qa‘ida in Iraq’s Number Two Leader Killed,” press release, October 15,
       2008.
       27 In one case, it was recorded that a single individual received operational training.

       28 Harmony document NMEC‐2008‐612449; see “ISIL, Syria and Iraq Resources,” 2015.




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       Table 5.4
       Foreign Status and Allocation to Suicide and Operational Roles

                                                         Operational     Share That Were
       Type                  Total      Suicide Bomber      Role       Suicide Bombers (%)

       Iraqis                 106                  0         106               0.0

       Foreigners              393             40            353              10.2

       Total                  499              40            459               8.0

       SOURCES: Harmony documents MNFT-2007-005315, MNFT-2007-005316, MNFT-2007-
       005318, MNFT-2007-005319, NMEC-2007-633795, and NMEC-2007-634059; see “ISIL,
       Syria and Iraq Resources,” 2015.


       34 percent of non–suicide bombers who were trained. This finding is
       statistically significant at the 0.001-percent level. The group simply
       did not invest resources in adding human capital to those designated
       for suicide bombings.
             Because only 10 percent of the foreigners listed in our new ISI
       data were designated as would-be suicide bombers, potentially up to
       90 percent of ISI’s foreign workers were employed within the organiza-
       tion in non–suicide attacker roles. This means that, in these data, most
       ISI members, both Iraqi and foreign, took long-term positions in the
       group.

       Battlefield Experience and Training for Terrorism
       Iraqi ISI members were much more likely to have had some battle-
       field experience than were foreign fighters. An ISI document from this
       period stated that “most of the fighters in Iraq are well trained, expe-
       rienced, professionals with high qualifications,” suggesting that the
       foreign-origin members were more in need of training (Table 5.5).29
             Other elements of our data also support this idea. For instance,
       Iraqis’ weapon experience was broader and more varied than foreign-
       ers’ (Table 5.6).
             The combination of greater weapon and battlefield experience
       among Iraqis suggests that combat or weapon experience was not a

       29 Harmony document NMEC‐2008‐612449; see “ISIL, Syria and Iraq Resources,” 2015.




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       Table 5.5
       Foreign Status, Training, and Battle Experience

                                                   Training                   Battle Experience

       Type                 Total         Number         Share (%)       Number              Share (%)

       Iraqis                106               3               2.8             94               88.7

       Foreigners            393             154              39.2             99               25.2

       Total                 499             157              31.5            193               38.7

       SOURCES: Harmony documents MNFT-2007-005315, MNFT-2007-005316, MNFT-2007-
       005318, MNFT-2007-005319, NMEC-2007-633795, and NMEC-2007-634059; see “ISIL,
       Syria and Iraq Resources,” 2015.


       Table 5.6
       Foreign Status and Weapon Experience

                                      Weapons                 Machine Guns                  Rifles

                            Average Members               Members                   Members
                     Total    per     with                  with      Share           with           Share
       Type         Members Membera Expertise             Expertise    (%)          Expertise         (%)

       Iraqis         106           1.1        87              18      17.0            47            44.3

       Foreigners     393           0.5        105             27      6.9             45            11.5

       Total          499           0.6        192             45      9.0             92            18.4

       SOURCES: Harmony documents MNFT-2007-005315, MNFT-2007-005316, MNFT-2007-
       005318, MNFT-2007-005319, NMEC-2007-633795, and NMEC-2007-634059; see “ISIL,
       Syria and Iraq Resources,” 2015.
       a “Average per Member” is the average number of weapons with which a member
       has expertise. The results show that, on average, Iraqi members had expertise with
       more weapons than did foreign members.


       motivating factor for importing foreign labor. These findings are also
       consistent with previous research, which found that Iraqis brought tra-
       ditional military skills, while foreigners brought more-unconventional
       skills.
             We see this pattern repeated when we examine the training that
       ISI afforded Iraqi and foreign members, compared with the battle
       experience those members had (Table 5.5). Foreigners were more likely
       to be trained, while Iraqis were much more likely to have battle experi-




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       ence. However, even though foreigners might have presented unique
       operational risks, they clearly brought skills for certain types of opera-
       tions, since ISI appears to have been putting its foreign operatives into
       operational roles.
             Even though foreigners were less educated, it appears that ISI
       valued education. Holding all else equal, ISI was much more likely to
       train foreign and educated recruits (Table 5.7). It may also be the case
       that the more educated disproportionately sought training—meaning
       that the causality ran the reverse direction. However, as noted above,


       Table 5.7
       Determinants of Training

                                                                              (2)
                                                  (1)              Conditional Fixed-Effects
       Determinants                          Logit Model                 Logit Model

       Foreign fighter                          5.09***                      1.51**
                                                 (1.50)                      (0.66)

       Formal education                         2.42*                        3.85***
                                                (0.99)                        (1.03)

       Battle experience                         0.42                         0.50*
                                                (0.77)                        (0.25)

       Combat skills                            0.60***                        0.64
                                                 (0.05)                       (0.44)

       Noncombat skills                          0.12                         −0.03
                                                (0.24)                        (0.28)

       Constant                                 −6.44
                                                (1.09)

       Observations                              460                           377

       Pseudo R-squared                          0.195                        0.108

       SOURCES: Harmony documents NMEC-2007- 633795 and NMEC-2007-634059 for all
       models; MNFT-2007-005315, MNFT-2007-005316, MNFT-2007-005319, and MNFT-
       2007-005318 only included in model 1; unable to estimate model 2 with these
       records; see “ISIL, Syria and Iraq Resources,” 2015.
       NOTES: The dependent variable for both models is dichotomous, indicating whether
       the fighter had any documented training. Model 1 clusters standard errors on the
       document. Model 2 is a conditional fixed-effects logit estimation with document
       fixed effects. Standard errors are in parentheses. *** p < 0.01, ** p < 0.05, * p < 0.1.




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       there is evidence that ISI’s decision to train an individual was purpose-
       ful and intentional.
              If ISI desired members with education and battle experience, why
       did it accept so many uneducated and inexperienced foreigners? First,
       it was perhaps easier to train foreigners in groups before they arrived
       in Iraq, out of reach of direct coalition military operations. It was also
       likely much easier to train foreigners before they arrived in Iraq than it
       would have been to later transport Iraqis out of the country for train-
       ing. Sending Iraqis out of the country for training would have required
       the extra risk of crossing the border twice—once to get out of Iraq for
       training and a second crossing to get back into Iraq to fight. Some of
       the document entries note that foreigners had a “full course in Yemen,”
       including details of the training.30 This also suggests that either ISI had
       training camps in countries further afield than Iraq and Syria or ISI
       accepted training from other jihadist groups, such as other al-Qa‘ida
       affiliates.
              Second, it is possible that ISI desired foreigners over Iraqis despite
       the educational and experience advantages that Iraqis presented. For-
       eigners incurred large travel costs to get to Iraq, thereby demonstrat-
       ing their commitment to jihad. Further, during this period, coalition
       forces had payment incentives available for informing on terrorist oper-
       ations, so it is possible that, for security reasons, ISI wanted committed
       jihadists planning and executing military operations.31
              Third, it is possible that there were more foreigners who wanted
       to join ISI at this point than there were Iraqis, and it may be that ISI
       wanted to train the foreigners who had only a minimal skill set. Most
       of the Iraqis might have joined earlier in the conflict and were therefore
       already battle-hardened, so they needed less training.

       30 Harmony document NMEC-2007-633795; see “ISIL, Syria and Iraq Resources,” 2015.

       31 On incentives, see Multi-National Corps–Iraq, Money as a Weapons System (MAAWS),
       MNC-I CJ8 SOP, January 2009, p. 12 and Appendix E. This possibility follows from theo-
       ries presented in Eli Berman and David D. Laitin, “Religion, Terrorism, and Public Goods:
       Testing the Club Goods Model,” Journal of Public Economics, Vol. 92, 2008; as well as Eli
       Berman, Jacob N. Shapiro, and Joseph H. Felter, “Can Hearts and Minds Be Bought? The
       Economics of Counterinsurgency in Iraq,” Journal of Political Economy, Vol. 119, No. 4,
       2001.




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             Fourth, as we note below, security jobs were given solely to Iraqis,
       perhaps because ISI wanted locals—who also were more likely to be
       educated—to run its security operations. From our analysis of the
       documents and from secondary sources, we know that security posi-
       tions conducted surveillance, reconnaissance, counterintelligence, and
       detainee operations.32 Although regular military operations almost cer-
       tainly entailed exposure to the population, perhaps the security cadre
       required much more exposure, thereby making Iraqis more desirable
       for security operations because they had local knowledge and language
       skills. ISI perhaps then mostly trained foreigners to do military opera-
       tions, where they were less exposed to detection and generally needed
       less knowledge about the local environment.

       Working for the State
       Other ISI captured documents state that there are four basic job func-
       tions within the organization: legal (sharia), administrative, security,
       and military.33 The documents we discussed in Chapter Four also high-
       light the importance of the group’s media functions.
             In our documents that list the skills of ISI members, ISI split out
       media positions, suicide bombers, and irregular fighting skills as sepa-
       rate domains of expertise. ISI disproportionately placed members with
       formal education—who were predominantly Iraqi—in security posi-
       tions. Almost one in four of the Iraqi members were in security, whereas
       no foreigners were. Even if ISI determined that locals were better suited
       for security functions because of their knowledge of the local environ-
       ment, their native language capabilities, and their higher educational
       status, it is also possible that ISI believed that Iraqis were also not as
       well suited for unconventional terrorist operations as foreigners.
             ISI administrators’ records were not as comprehensive for foreign-
       ers as they were for Iraqis, making it harder to ascertain what specific
       roles foreigners played within ISI (Table 5.8). The administrators were

       32 Mohammed Hafez, “Suicide Terrorism in Iraq: A Preliminary Assessment of the Quan-
       titative Data and Documentary Evidence,” Studies in Conflict and Terrorism, Vol. 29, No. 6,
       2006; and Fishman, 2009.
       33 Harmony document NMEC-2008-612449; see “ISIL, Syria and Iraq Resources,” 2015.




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       Table 5.8
       Foreign Status and Job-Position Data

                                                                             Share of All
       Position            Iraqi Fighter   Foreign Fighter      Total        Fighters (%)

       Administration            10                 7              17             3.4

       Suicide bomber             0               40               40             8.0

       Irregular                  0                 5               5             1.0

       Other                      6                 0               6             1.2

       Security                  23                 0              23             4.6

       Soldier                   60               92              152            30.5

       Total                     99              144              243            48.7

       Share of each             93.4              36.6
       category with
       occupation listed
       (%)

       SOURCES: Harmony documents MNFT-2007-005315, MNFT-2007-005316, MNFT-2007-
       005318, MNFT-2007-005319, NMEC-2007-633795, and NMEC-2007-634059; see “ISIL,
       Syria and Iraq Resources,” 2015.
       NOTE: Only 243 fighters, or 48.7 percent of the total, had job status listed. Another
       had “detainee” listed under job category, and we do not include that person in this
       table.



       almost three times more likely to list the positions of their Iraqi mem-
       bers than the foreign ones. In addition, almost two-thirds of the for-
       eign members with a listed role were recorded as having a traditional
       military position (“soldier” in the documents). Accordingly, it is pos-
       sible that ISI saw foreigners as a resource it could train with a standard,
       minimum skill set that would qualify them for military roles in the
       group and that foreigners were more expendable.

       Mobility
       Most ISI members tended to stay in one location, but a large share
       served in two or more locations (Table 5.9).34 In multiple locations in


       34 The maximum number of locations where a member was recorded as active was eight.




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       Table 5.9
       Foreign Status and Active Locations

                                         Iraqis                     Foreigners

                                                 Share, If                  Share, If
       Active Locations        Number           Known (%)    Number        Known (%)

       Unknown locations           15                         331

       1 location known            63               69         26                 42

       2–4 locations               26               29         26                 42
       known

       5 or more locations          2                2         10                 16
       known

       Total known                 91              100         62                100

       SOURCES: Harmony documents MNFT-2007-005315, MNFT-2007-005316, MNFT-2007-
       005318, MNFT-2007-005319, NMEC-2007-633795, and NMEC-2007-634059; see “ISIL,
       Syria and Iraq Resources,” 2015.



       Iraq, the group made use of a set of trained Iraqi members with combat
       skills. In general, we find that Iraqi members were slightly less mobile
       than foreign members, but this finding appears to be driven by other
       factors that are correlated with foreignness, rather than foreign status
       itself. As noted above, foreigners stood out in Iraqi society, and by pre-
       senting a security risk, they were less likely to be moved unless they had
       specific skills needed in an area or unless there was a specific task to be
       accomplished, such as a suicide bombing.
              Statistical analysis provides clearer explanation for mobility
       trends (Table 5.10). Although the raw data indicate that foreign fight-
       ers served in more locations, the difference with Iraqi members was
       not statistically significant once other factors were taken into account.
       In addition, noncombat skills are statistically related to lower mobility
       regardless of other factors (see models 3 and 7 in Table 5.10). In this
       light, ISI might have developed a cadre of back-office workers with spe-
       cific skills—such as clerics, administrators, and media officials—who
       generally stayed in one place. Overall, the relationships between skills
       and mobility show that ISI used military skills and training quite flex-
       ibly across locations, and other skills and training much less so.



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       Table 5.10
       Correlates of Number of Active Locations

       Variable        (1)       (2)        (3)       (4)       (5)        (6)       (7)

       Training      1.005*                                    0.842    1.084**     0.905
                     (0.39)                                    (0.48)    (0.38)     (0.47)

       Combat                   0.450                                    0.658      0.619
       skills                   (0.55)                                   (0.54)     (0.52)

       Noncombat                         −0.823**                                 −0.678*
       skills                             (0.26)                                   (0.28)

       Foreign                                      0.765*     0.345                0.124
                                                    (0.34)     (0.41)               (0.39)

       Constant       1.018     0.227     1.612      1.021     1.105     0.321      1.094

       N              153        153       153        153       153       153        153

       R-squared      0.180     0.132     0.169      0.155     0.185     0.194      0.225

       NOTES: The dependent variable for each of these models is the number of active
       locations. All models are ordinary least squares estimates, with document (record
       keeper) controlled for. The sample includes only non–suicide bombers and those
       with at least one known location. Robust standard errors are in parentheses.
       *** p < 0.01, ** p < 0.05, * p < 0.1.


       Findings and Implications

       Although ISI focused its operations on local targets in Iraq (and, as
       the Islamic State, more recently, in Iraq and Syria), the group has long
       depended on the recruitment of foreign labor for its human capital. Our
       findings show that ISI used foreign and domestic labor supplies in distinct
       ways. ISI employed and trained foreigners for violence. It needed both
       trained recruits and suicide volunteers for terrorist-style operations,
       and foreign operatives largely ended up as trained fighters or as suicide
       bombers. It is possible that ISI put foreigners in specific key military
       positions because foreigners were more ideologically aligned with ISI
       than the Iraqis were, as they had given up much more to join the fight.
       But ISI used Iraqis with skills, battle experience, and training more
       flexibly across locations than other types of personnel.
             Foreign jihadists in ISI tended to have a different profile from
       Iraqis. Foreigners were not as well educated as Iraqi recruits, but they



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       were more likely to have previous training in low-intensity combat.
       Perhaps as a result, ISI leadership continued recruiting foreigners in
       2006 and 2007, despite the distinct operational and strategic risks that
       foreigners presented. The group did not start turning away foreigners
       until it shifted to a more covert terrorist posture from 2008 to 2011.




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       CHAPTER SIX

       Islamic State of Iraq Compensation




       Participating in insurgency is almost always physically risky, raising
       questions about what motivates people to do so.1 Political economy the-
       ories of crime, insurgency, and rebellion suggest some opportunity-cost
       constraint, so the net value of participation must be at least as good as
       the next-best option.2 That net value may contain a component that has
       nothing to do with money, such as soothing personal grievance or gain-
       ing prestige, but it also contains monetary rewards.3 Sometimes these
       rewards are implicit: the ability, usually of middle managers, to take
       advantage of one’s position to skim funds or tax civilians.4 Typically,
       however, the monetary rewards are explicit: Wages are paid, as in other
       jobs. How those wages vary has implications for counterinsurgency
       policies and provides evidence regarding the agency problems that the
       compensation scheme is designed to solve.
             In this chapter, we analyze ISI compensation practices using
       qualitative and quantitative data. On the qualitative side, we discuss a
       document captured in January 2007, outside Tuzliyah, in Anbar gov-
       ernorate, “Rules for Social Assistance.” On the quantitative side, we
       developed data on 9,271 payments to ISI members recorded in 87 dif-

       1  This chapter draws from Benjamin W. Bahney, Radha K. Iyengar, Patrick B. Johnston,
       Danielle F. Jung, Jacob N. Shapiro, and Howard J. Shatz, “Insurgent Compensation: Evi-
       dence from Iraq,” American Economic Review, Vol. 103, No. 3, 2013.
       2  See, e.g., Ethan Bueno de Mesquita, “Rebel Tactics,” Journal of Political Economy,
       Vol. 121, No. 2, 2013.
       3   Such a component would be termed nonpecuniary in the academic literature.
       4   Weinstein, 2007; Shapiro and Siegel, 2007.



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       ferent documents.5 Using these data, we analyze the level of ISI com-
       pensation, how payments to members were divided between salary
       payments and rental assistance, and how salaries varied with family
       composition and over time and space. Taken as a whole, the answers
       to these questions provide valuable insight into the capacity of ISI, the
       motivations of its fighters, and the managerial challenges the group
       faced.
             This chapter is divided into four main sections. We first summa-
       rize our data on ISI compensation. We then provide a detailed analysis
       of ISI salary payments. Following that, we discuss expense reimburse-
       ments. We conclude by reviewing what the apparent compensation
       scheme tells us about ISI’s organizational structure and challenges. In
       the next chapter, we further trace changes in ISI compensation over
       time for a specific set of fighters in two periods.


       Compensation Data

       Our compensation data are drawn from 9,271 records pertaining to
       at least 3,757 individuals, the number of unique war aliases, known in
       Arabic as kunyas, in the data. These records come from 87 documents
       listing ISI members. These documents typically list individuals by unit
       and describe their current status (active versus killed or detained); mar-
       ital status; number of children or overall dependents; and payments of
       various kinds, including a monthly stipend (typically translated as bail)
       and the amount paid to members who required funding for accommo-
       dations or to run safe houses (typically translated as rent). Some of the
       documents record lists of individuals along with their assets—weapons
       and cars, for example—but do not specify payments.
              The number of personnel listed per document varies widely. Some
       documents were used by small-unit commanders to report to sector
       administrators and thus contain relatively few individuals. Other
       documents were used by administrative emirs to track payments to
       personnel across multiple units. The median number of personnel per

       5   Appendix C provides the full breakdown of payments recorded by document.




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       document is 31, the mean is 107, and the two largest documents each
       record more than 1,000 salary payments, with 13 more documents list-
       ing between 200 and 590 payments. When documents were in Excel
       spreadsheets, we had the original and translated versions declassified
       whenever possible. There is a large amount of contextual information
       in these spreadsheets. Some of the administrators employed the Excel
       comment feature a good deal, as well as macros and links to other
       spreadsheets. For handwritten and PDF source documents, our coding
       team transcribed the salary payments.
            Geographically, our sample is concentrated in Ninewa (3,615 pay-
       ments), Anbar (2,917 payments), and Diyala (2,193 payments), with a
       smaller numbers from Salah al-Din (546 payments). Table 6.1 shows
       the distribution of payments by governorate and year. Twenty-three of
       the documents list a single amount of compensation paid to each indi-
       vidual. Eleven documents disaggregate payments into a base rate and
       additional payments for food (groceries or a ration card), accommo-
       dations (rent), or other expenses (translated as assistance, which could
       have also been rent). In ISI’s compensation scheme, salary payments
       were to continue to the families of those killed or captured.6 Eleven


       Table 6.1
       Compensation Data, by Governorate and Year

                                                  Number of Payments

       Governorate               2006             2007             2008             Total

       Anbar                    1,263            1,588                66            2,917

       Diyala                       0             2,193                0            2,193

       Ninewa                      39            3,072              504             3,615

       Salah al-Din               159              387                 0                546

       Total                    1,461            7,240              570             9,271

       NOTE: A complete list of the documents used in the construction of these data is in
       Appendix C.



       6   As we show in Chapter Seven, ISI did not always make good on this promise.




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       documents clearly record fighters’ status, and in these only 57 percent
       of the payments went to active fighters.
             Nearly all documents also track family structure—marital status
       most commonly, but also the number of children per fighter. Although
       the Mosul administrator, in Ninewa, used unique identification num-
       bers for fighters to track them across documents, others recorded only
       names, making it hard to distinguish repeated payments from those to
       different fighters sharing a name.
             We also analyze compensation against the risk that members
       bore. To do so, we combine the compensation data with data on con-
       flict intensity, including combat incidents recorded in the MNF-I
       SIGACTS III Database and with data on civilian casualties from Iraq
       Body Count, a database that tracks civilian deaths in Iraq using press
       reports.7


       ISI Compensation Rules

       To reiterate the point made in Chapter Three: All firms set their com-
       pensation and employment policies to balance multiple objectives.
       Firms need to attract the right talent, motivate their employees to work
       hard, maintain morale and a sense of equity within their workforces,
       and send signals about how workers should allocate their time. In labor
       markets with plentiful employers and potential employees, all of this
       has to happen in such a manner that workers’ compensation matches
       the marginal product of their labor, at least in expectation.
             Like a standard firm, ISI had to achieve multiple objectives with
       its compensation policy, including

           • attract talented people to work in a high-risk environment
           • screen for skills and unobservable human capital
           • motivate employees to work hard and take risks
           • maintain morale.


       7 Empirical Studies of Conflict Project, n.d. The Iraq Body Count project can be found at
       www.iraqbodycount.org.




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              To meet these objectives, ISI appears to have mandated a flat
       salary structure. The “Rules for Social Assistance,” found in Anbar in
       January 2007, listed the monthly base salary for a fighter as 60,000
       Iraqi dinars, about $41 in nominal terms at then-current exchange
       rates.8 The document specified that fighters get an additional 30,000
       Iraqi dinars for each child and that wages continue if a fighter is killed
       or captured.9 Such payments could serve several purposes. They might
       be seen as providing insurance if fighters believed that they would be
       paid as long as the organization survived and if they expected that it
       would remain viable. Even if neither belief was present, continuing
       payments upon death can help leaders signal that they will spend fight-
       ers’ lives carefully by accepting a loss in future operating revenue when
       fighters are killed. That function does not require that the payments
       actually be made in perpetuity; it only requires that they be made for
       some time after a person has been killed.
              These “rules” reveal a clear interest in establishing standardized
       salary guidelines that account clearly for what will happen in a range
       of contingencies, while abiding by norms of equity in the distribution
       of funds. Below we provide the translated rules; the formatting is rep-
       licated as much as possible to provide a feel for the original. It is not
       clear what distinction is made between “fighters” and “Members of the
       Organization.”

              Rule of Social Assistance.


              Singles:

              1- The ration for single fighter is 60,000 [dinars]

              2- The ration for single fighter with dependents as follows


       8   Harmony document MNFA-2007-000566; see “ISIL, Syria and Iraq Resources,” 2015.
       9  The Provisional IRA made similar payments to the families of captured fighters, an
       expense that put the group under considerable pressure over time, as salaries to prisoners’
       families came to consume a large portion of the organization’s budget. See James M. Glover,
       Northern Ireland: Future Terrorist Trends, London: UK Ministry of Defence, 1978.




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             A – Fighter himself 60,000

             B – His parents 30,000

             C – Single sister 30,000

             D – His brother under 15 30,000

             3- Material assistance to a single fighter when getting married
             is $500.00 to [$]1,000.00 based on Al-Anbar Amir assessment,
             based on his financial situation, his work, and reputation, also
             should be based on the recommendation of his supervisor.

             4- When a fighter dies, $500.00 should be paid to his family
             through Amir of Al-Anbar according to the priority and order #.

             5- His salary should be stopped if he has no dependents


             Married.

             1- Ration of married individual is 60,000

             2- His wife 30,000

             3- Son and daughter 30,000 if she is not married also the son
             should be under 15

             4- If he is the only one in his family they should be paid as follows

             His parents 30,000

             Unmarried sister 30,000

             His brothers under 15 30,000

             3- Assistance for the sick should be assessed by the Amir himself




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           Families of the martyrs, detainees and the wounded.

           1- The same amount a martyr gets when he was alive, should be
           given to his family which is 60,000 and everyone dependent on
           him 30,000, that includes parents, a brother under 15 or unmar-
           ried sister.

           2- Detainee families, the same amount when he was not captured
           and which is 60,000 and each individual he was responsible for,
           30,000 for the parents and a brother under 15 and unmarried
           sister.

           3- The wounded, they should have what the fighter’s family gets,
           also, they should be paid for their treatment.


           Employees and the forced out:

           Employee who gets paid a salary above the assessed assistance
           that he gets, will not be paid, he will be paid a difference in case
           his pay is less than the assistance, example, if the assistance is
           200,000 and his pay is 150,000 he will be paid the difference of
           50,000.


           The forced out:

           1- He will be paid a house rent in the area where he settles and the
           matter will be in the hand of the Amir exclusively.

           2- The rent will be the median of the area

           3- Amir of the sector will be responsible over them and their
           living conditions.


           Rules of the Social Assistance for the members of the
           Organization.




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             1- A martyr with sons under 15 for males, however, for the females
             until they get married they will get 30,000 Dinar. In case the par-
             ents and his brothers under 15 are dependent on him, each one
             will get 30,000 Dinar and unmarried sisters will get 30,000 each.

             2- In case one of the group member becomes a martyr $500.00
             will be paid to his relatives through the Amir of Al-Anbar, names
             will be submitted and will be paid according to the priority.

             3- Guardian of the individuals will be directly responsible for the
             family of the martyr and he should follow their living and health
             matters.

             4- If a brother becomes a martyr and he was single, his pay should
             be stopped.

             5- If a brother is employed and he has a salary more or equal to
             the dues that he gets he will not be paid, if the salary is less than
             his dues, the difference should be paid.

             6- A brother who lives in a rented house, his rent should be paid
             based on the rent median.

             7- Each working brother should be paid the sum of 60,000 Dinar,
             and if he has dependents each should get 30,000, provided that
             males should be under 15 and the females are not married.

             8- If a brother is completely devoted to jihad, assistance should be
             paid to his family if they depend on him.

             9- Wounded brothers should be paid the cost of their treatment
             after submitting it to the area guardian.

             10- A detained brother will have the same dues as mentioned
             above

             11- A brother who moves from town to town should be rented a
             house based on the median of rent with furniture if he does not
             have one and should be the property of the group.




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             12- A brother who is willing to get married should get between
             $500.00 to $1,000.00 according to his work, reputation and obe-
             dience, and recommendation of his boss.


             Remarks:

             Family of the martyr or a detainee or a wounded or temporarily
             handicap due to his wounds, will consider if his wife is the one
             running the house she will be paid her husband’s salary 60,000
             Dinar, if she is with her relatives her husband’s money will be
             stopped [60,000] Dinar be it the wife or the family.10

             The extent to which these “rules” were followed outside Anbar and
       in other periods is an open question. In documents for other locations,
       the implicit formula was changed to 75,000 Iraqi dinars per fighter
       and either 25,000 or 10,000 Iraqi dinars per dependent. For example,
       in Mosul in 2007, fighters appeared to have been paid 75,000 Iraqi
       dinars for themselves, 25,000 per wife, and then 10,000 for dependent
       children and women.11 What is clear is that the rules evince a strong
       concern with equitable compensation and with making the standards
       clear and replicable. This focus makes sense in an environment where
       turnover was high (as we will discuss in Chapter Seven), opportunities
       for corruption were rampant, and the group had to maintain a strong
       sense of shared mission.
             Regardless of the purpose of the continuation of payment upon
       death, the base salary of 60,000 Iraqi dinars per month appears to be

       10 Harmony document MNFA-2007-000566; see “ISIL, Syria and Iraq Resources,” 2015.
       Put more plainly, this instruction says that if a member is killed in action, detained, or
       wounded, then if the wife is running the household, she will get her husband’s full salary.
       But if she goes to live with other family members, the salary will stop.
       11 Harmony document NMEC-2008-614685; see “ISIL, Syria and Iraq Resources,” 2015.
       The “total workers” tab of this roster and payroll spreadsheet lists 768 people with specific
       salary figures. Of these, without imputing values when there are obvious errors, 476, or
       62.0 percent, earned a salary exactly equal to the 75,000/25,000/10,000 formula. In some
       cases, the spreadsheet had “M” or “provider” or other nonnumerical entries in columns for
       dependent children or women. When we converted these to 0, 521, or 67.8 percent, earned a
       salary exactly equal to the 75,000/25,000/10,000 formula.




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       quite low by Iraqi standards. Based on a 2004 listing of job openings,
       the following monthly salaries were described as low: approximately
       220,000 Iraqi dinars for an experienced bricklayer; 73,000 Iraqi dinars
       at the low end for an unskilled worker in plastic-bag production, vend-
       ing, and metalworking shops; and 146,000 Iraqi dinars at the high end
       for an unskilled worker in those same venues, or $150, $50, and $100,
       respectively.12 In the nationally representative 2007 Iraq Household
       Socio-Economic Survey of 18,144 households, the average wage among
       men who reported earning wages from employment was 357,000 Iraqi
       dinars per month. For illiterate men, it was 319,000 Iraqi dinars, and
       even those unemployed at the time of their interviews reported earning
       178,000 Iraqi dinars per month during the previous 12 months.13 An
       ISI member would need nine dependents to approach the average 2007
       monthly wages reported by illiterate wage earners.
             Furthermore, these salaries are strikingly low considering the
       risks that ISI fighters accepted. Bahney and coauthors found that, in
       Anbar in 2005 and 2006, the mortality risk for AQI fighters was more
       than 47 times that for men ages 18 to 48 populationwide.14 In the
       21 documents specifically recording the status of those receiving pay-
       ment, 49 percent of payments went to members who had been killed
       and detainees. As we will see in Chapter Eight, the apparent turnover
       from 2007 to 2009 in Ninewa was greater than 50 percent annually.
       Although we cannot tell how many of these people were voluntary
       departures versus deaths, these numbers surely reflect the fact that
       being in ISI was an extremely dangerous job.
             For such low wages to be paid for such a risky job, ISI members
       must have received a substantial portion of their compensation through
       the value they placed on being part of the group. This ideological com-


       12 Craig Davis, “Reinserting Labor into the Iraqi Ministry of Labor and Social Affairs,”
       Monthly Labor Review, Vol. 128, No. 6, 2005. When these dollar figures are translated to
       2006 values, adjusting for the high Iraqi inflation that persisted in 2005 and 2006, they are
       equivalent to $310, $100, and $200, respectively.
       13 Central Organization for Statistics and Information Technology, Kurdistan Region Sta-
       tistics Organization, and World Bank, 2008, Tables 9-10 and 9-11.
       14 Bahney, Shatz, et al., 2010.




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        pensation was apparently quite large, since even the most-optimistic
        estimates based on these data place the median total monthly payments
        within the group at about 120,000 Iraqi dinars per month.15
              Beyond base salary, nonsalary payments to members could be
        quite substantial, largely because of the payments categorized as rent
        or assistance (Figure 6.1). Of the 5,951 ISI members for whom we have
        information on salary and other payments, many received total pay-
        ments well above the implied monthly salary in the “Rules for Social
        Assistance.” As one can see, the payments do not cluster on the y = x
        line (green line) in Figure 6.1, which plots monthly salary implied by
        the rules against total payments. Rather, the vast majority of members
        received compensation above and beyond what the “Rules for Social
        Figure 6.1
        Implied Base Salary Versus Total Payments


                                                 600
       Implied monthly salary rules for social
         assistance (Iraqi dinars, thousands)




                                                 400




                                                 200




                                                  0
                                                       0             200                     400                      600
                                                           Total monthly payments (Iraqi dinars, thousands)
         SOURCE: Authors’ calculations based on data contained in documents listed
         in Appendix C.
         NOTE: For this figure, we dropped 55 payments above 600,000 Iraqi dinars per month,
         the 99th percentile of the payment distribution.
         RAND RR1192-6.1




        15 This figure is based on 5,946 payments, dropping outliers beyond four standard devia-
        tions but including rental-assistance payments.




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       Assistance” would imply. In fact, regressing total payments on implied
       base salary explains only 10 percent of the variance in total payments.
             Salaries and total payments differed by region, with additional
       payments for rent varying most dramatically. On average, most of the
       payments were through salary. Among the 2,200 payments listed in 25
       documents that distinguish clearly between salary and rental or assis-
       tance payments (80 percent of which were from Ninewa), the average
       proportion of total payments devoted to rent was 19 percent, but this
       varied widely, with a standard deviation of 26 percent.
             Payments beyond salary were a substantial portion of total pay-
       ments for the highly compensated. Among those receiving more than
       330,000 Iraqi dinars per month (the 90th percentile of total pay-
       ments, for the sample, that clearly separated salary and rent), the aver-
       age additional payment for rent or assistance was 212,000 Iraqi dinars
       per month, almost 51 percent greater than the median total payment
       within the overall subsample.
             This pattern suggests that one way the group might have paid
       select personnel higher wages without violating its egalitarian compen-
       sation norms was to allow these personnel a large monthly housing
       allowance—some of which for such things as rent on safe houses and
       some as an implicit salary, similar to how expense allowances enable
       corporate executives to enjoy perks above and beyond their notional
       salaries. Alternatively, the allowance could have reflected true rental
       assistance to members who had been displaced in the fighting between
       ISI and coalition forces, ISF, and Awakening forces.
             The most surprising pattern in the data is that average compen-
       sation did not differ in the expected way by levels of violence. Typi-
       cal models of wages suggest that, holding labor supply constant, we
       should see more-productive workers earning more and those facing
       higher risk earning more, the latter known as a compensating differen-
       tial. Neither appears to have clearly been the case in Iraq (Table 6.2).
       Mean and median total payments were relatively similar in Anbar and
       Ninewa, while ISI fighters in Diyala were paid substantially less. What
       is surprising is that those operating in the least-violent governorate
       (Ninewa), employing the lowest-risk attack portfolio, made almost as
       much as those in the most violent, highest-risk governorate.



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       Table 6.2
       Monthly Compensation and Violence, by Governorate

                                       Panel A. Personnel

                                        Total Payments
                                      (dinars per month)       Proportion
                                                                Married      Children per
       Governorate     Members        Mean        Median          (%)          Member

       Anbar             1,985        157,507     140,000         64.8             0.81

       Diyala            1,235       102,466      100,000         66.2             1.23

       Ninewa            2,094       175,082      150,000         74.7             0.85

       Salah al-Din        384       105,525       110,000        63.5             1.21

                  Panel B. Violence in Governorates, and Years with Salary Data

                          Total        Combat       Combat       Civilian    Riskiness of
       Governorate       Combat       Incidents    Incidents    Casualties      Attack
       (years)          Incidents    per Month     per 1,000    per 1,000     Portfolio

       Anbar (2005–     20,324          847        19.0           2.3             0.53
       2006)

       Diyala (2007)     6,143          512          5.0          2.7             0.63

       Ninewa (2007–    11,675          486          5.1          1.7             0.60
       2008)

       Salah al-Din      9,701          404        16.0           3.2             0.56
       (2006–2007)

       SOURCES: Compensation figures from author calculations. Combat incidents and
       civilian casualties from Condra and Shapiro, 2012.
       NOTES: Compensation figures exclude outliers where total payments were above
       the 99th percentile. The number of dependents was not recorded for all members.
       Riskiness is defined as the proportion of attacks that are not indirect fire or IED
       attacks, the two kinds that can be conducted without exposing fighters to immediate
       risk of counterattack.



            These salary figures suggest that there was little monetary com-
       pensation for risk in ISI. To compare across governorates, we can simply
       take the monthly median payment and divide by the average number
       of combat incidents per month. The median payment in Anbar came to
       approximately 165 Iraqi dinars per incident of violence, compared with
       195 Iraqi dinars in Diyala, 308 Iraqi dinars in Ninewa, and 272 Iraqi




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       dinars in Salah al-Din. In our sample, the total payment per attack
       was higher in areas with lower levels of overall and per-capita combat
       violence. Indeed, there is a negative correlation between payments and
       combat at the governorate level, after controlling for marital status and
       allowing a mean shift for observations that cannot be located in a spe-
       cific district.
             Some of the apparent homogeneity of wages may be due to aggre-
       gation to the governorate level. Trends in violence varied quite a bit
       across smaller geographic units. We see some variation in pay across
       subunits in these data.16 Within the 37 identifiable subunits that had
       20 or more fighters, median monthly payments were 110,000 Iraqi
       dinars, in line with provincial averages, but across these subunits, they
       ranged from 50,000 to 390,000 Iraqi dinars. These differences were
       not fully explained by family structure, although family structure
       played an important role. The average rate of married personnel was
       64 percent across subunits, but it ranged from 30 percent to 90 per-
       cent. The percentage married is positively correlated with median total
       payments within units and accounts for 36 percent of the variance in
       median total payments. Overall, there is little strong evidence within
       the payment data for compensating differentials.
             It may be the case that differences in labor supply explain some of
       this result. Qualitatively, the war was going much more poorly for ISI
       in Ninewa in 2007 and 2008 than it was in Anbar in early 2006. Over
       the course of 2007, ISI was pushed out of Anbar almost entirely and
       shifted to Ninewa, where it rapidly lost ground throughout 2008. That
       might have made it harder for the group to recruit fighters. No one,
       after all, wants to be on the losing side in an insurgency. If that were
       the case, then the group would have had to increase compensation to
       maintain its forces. This would have been a subtle break with the goal
       of providing low wages to attract more-devoted members, but even
       the later amounts were not large. The apparent lack of compensation
       for risk may therefore simply reflect the fact that ISI had a harder time
       recruiting fighters later in the war and, as any firm facing a person-
       nel shortage might do, it increased compensation in response. Alterna-

       16 For variations in violence, see Biddle, Friedman, and Shapiro, 2012.




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       tively, it could be that later in the war, Ninewa had large numbers of
       displaced fighters from Anbar, Diyala, and Salah al-Din and therefore
       had higher rent obligations.


       Reimbursements

       One of the more interesting aspects of the ISI payments to fighters was
       that members were apparently expected to incur expenses on behalf of
       the organization for which they would later be reimbursed. The docu-
       ment collection includes several large ledgers recording payments for
       ad hoc expenses, and many of the salary-reporting documents sub-
       mitted by cell leaders to higher authorities included both fighter ros-
       ters and records of expenses. We further discuss in Chapter Nine the
       implications for the organization of the reimbursement system. In the
       remainder of this chapter, we provide examples of how reimbursements
       formed a part of overall payments to members.
             ISI documents reveal a close attention to how money was spent
       and to whom it was distributed. Although some of the line items are
       rather vague, it is clear that reimbursements to individuals, as well
       as units, were carefully tracked and documented. Figure 6.2 shows a
       sample of reimbursements from Diyala. Disbursements were made for
       standard payroll and vague expenses (e.g., miscellaneous expenses in
       item 4), as well as specific expenses, such as for the purchase of a motor
       or fuel containers (items 6 and 7), or 20,000 Iraqi dinars for an injured
       fighter (item 9).
             Expense sheets from Anbar reveal similar reimbursements
       (Figure 6.3). Reimbursements included guesthouse expenses, as well as
       expenses for cars, repairs to houses, and the value of a refrigerator for
       one group. Reimbursements to individuals for such expenses as “booby
       traps” are also common in the documentation. Although it is unclear
       what the limits of reimbursable expenses were, those granted were care-
       fully documented, specifying the amount, name, and purpose.
             Correspondence from Ninewa indicates the care, and timeliness,
       that ISI leadership expected (Figure 6.4). In this correspondence, pre-
       sumably a cover letter to the documented expenses (and income), the




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Figure 6.2




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Examples of Reimbursements from Diyala




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     In the name of God the Merciful and Compassionate
                   The Iraqi Islamic State
                       Diyala Province
                    List of Disbursements

       Name          Platoon Name Details
 1     Abu Dhikra    A S Platoon  200,000 Dinars
                                  Miscellaneous
                                  For Abu Haydar
 2 Abu Sayder   Admin Section     47,000 Fuel
 3 Abu Ishaq    Al-‘Askar Platoon 100,000
 4 Abu Waqas    Mortar Platoon    70,000 Misc.
 5 227          Al-‘Askar Platoon Abu Zayyad’s
                                  Disbursements
 6 Abu ‘Abdulla Al-‘Askar Platoon 55,000
    Al-Jareh                      Purchase of Motor
 7 Abu Haydar   Admin Section     Fuel Containers
 8 Abu Faleh    Amer Sariya       100,000
 9 Abu ‘Abdulla Injured           20,000
 10 Samir       Admin [UNK-2]     5,000
SOURCE: Harmony document MNFV-2007-000345; see “ISIL, Syria and Iraq Resources,” 2015.
NOTE: UNK-2 is a translator’s mark meaning unknown.
RAND RR1192-6.2




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       Figure 6.3
       Expenses Documented from Anbar


                                                                                  Al Anbar Expenses
            Amount    $          Recipient           Date                     Committee - Sector- Division
            337,837   $            Firas           23-Jun-05      Reparations for the Al Qa'im and Al Karabilah houses
            20,270    $         Abu-'Azzam          23-Jun                             Ar Rutbah
             2,027    $      Abu-Ahmad Nizar        25-Jun                 al-Ma'adid guest house expenses
            10,135    $        Abu-Sulayman         30-Jun                            Al Anbar Emir
            69,324    $           Jarrah            22-Jun            Ar Ramadi, in the hands of Hamid al-'Ubaydi
            20,270    $           Dhanun            28-Jun                               Rawah
            15,540    $            Firas            22-Jun                        Purchasing two cars
             2,000    $           Hisham            28-Jun                         Baghdad Expense
            40,000    $        Abu-Hammam            1-Jul                              Hadithah
            15,000    $   Abu-Shihab Ahmad Subar     1-Jul                Kirkuk, by orders from Abu-Sulayman


            15,000    $         Abu-'Abbas          19-Aug                         Al Qa'im expenses
             1,500    $           'Azzam            19-Aug                              Security
            10,000    $         Abu-Sa'id           21-Aug                               Media
             6,750    $         Hajji Mut'ab        21-Aug         Aid for Hajji Hammad's house- attacks in al-Ma'adid
             6,750    $        Hajji Hammad         22-Aug         Aid for Hajji Hammad's house- attacks in al-Ma'adid
            10,000    $          Abu-Wa'il          22-Aug                             Weapons
             200      $          Abu-Tibah          22-Aug               Aid to add on the expenses of Rawah
              200     $      Spoils of war group    22-Aug                        Aid and expenses
             5,000    $        Islamic Judges       22-Aug                    Abu-Muhammad al-Maghribi
             4,200    $          Abu-Yasir          23-Aug                            Booby traps
             5,500    $            Firas            24-Aug                      Value of a Toyota Sedan
             5,800    $         Abu-Yasir           26-Aug                            Booby traps
              65      $        Abu-al-Harith        26-Aug                             Expenses
             200      $         Abu-Tibah           27-Aug                Rawah group, value of a refregirator
             200      $        Abu-'Abdallah        27-Aug                     Hadithah, spoils of war
             200      $          Abu-Tibah          29-Aug                      Abu-Khattab's expenses
             8,500    $          Abu-Tibah          30-Aug                     Building for Rawah group

        SOURCE: Harmony document NMEC-2007-633541; see “ISIL, Syria and Iraq Resources,” 2015.
        RAND RR1192-6.3




       author asks for permission to move to filing administrative reports of
       this type from a weekly to twice-monthly schedule.
             Although many of the reimbursements were to individuals for
       their expenses, transfers and reimbursements within the organization
       were also closely documented. Figure 6.5 shows correspondence from
       a platoon to its regimental administration in Diyala, asking for reim-
       bursement for the provisions for a guest fighter. The request is signed
       by four officials, at platoon, regimental, and section levels. The four-
       signature procedure appears to have been fairly standard. Forms allow-
       ing for travel, for medical-expense approval, and for separation from
       the group contain similar sets of signatures.




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 Figure 6.4




                                                                                                                                                                 148
 Correspondence Documenting Expenditures in Ninewa over Several Weeks, 2008




                                                                                                                                                                 Foundations of the Islamic State
                                                 As for the finance administrator [TC: Possibly Administration], this department is also a future
                                                 developmental step, God willing, with the goal of which is to first protect the funds and safeguard
                                                 the issue of the amounts of money received and disbursed. However, this is currently a
                                                 supplementary and insignificant issue.

                                                 - This is in regards to the administrative operation that I will follow, God willing. Moreover, as
                                                 for the coordination or organization administrator, this brother has been present since the period
                                                 of brother Wahab. He is a good and skillful brother with an average experience in administrative
                                                 organization, such as computer programs, preparation of records, projects, and good ideas for the
                                                 administration. Brother Anas, who is an immigrant [TC: Foreign or Arab mujahid] brother of
                                                 whom we now nickname as (Abu-'Abdallah). This brother requested a meeting with you
                                                 regarding some important issues related to the organization of the administration, statistical issue,
                                                 and so forth. So please arrange an appointment for him, may Allah reward you with blessings.

                                                 - I will attach for you with this report a review of the expenditures and revenues which I have
                                                 received and spent during the period of 28 AUG through 16 SEP 2008.

                                                 - As for the administrative report, please let it be bi-monthly [Every two weeks] instead of
                                                 weekly, because I deem it appropriate for the administration because of the lack of rapid
                                                 developments of the other systems [TC: Organizations/departments]. I will inform you about the
                                                 significant matters and every progress/development within the month, God's willing.

                                                 - This is what I have for now, and may God reward you with blessings.

                                                 Peace

                                                 Your beloved brother
                                                 As'ad
                                                 17 SEP 2008


 SOURCE: Harmony document NMEC 2009 634370; see “ISIL, Syria and Iraq Resources,” 2015.
 NOTE: TC = translator comment.
 RAND RR1192-6.4




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         Figure 6.5
         Request to Regimental Administration for Reimbursement, Diyala




         In the Name of the Merciful and Compassionate God
         The Islamic State of Iraq
         Diyala Province

         From: Abu Dajana Platoon Administration
         To: Khaled Ben Al-Walid Regimental Administration

         We wish to inform you that Brother ‘Amar is a guest at our platoon. Please issue his
         provisions for this month.

         s/Platoon Administration, Abu Wisam
         s/Platoon Commander, Abu [U/I-1]
         s/Regimental Administration, Abu Saydar
         s/Section Commander, Abu Khatiya

         SOURCE: Harmony document MNFV-2007-000389; see “ISIL, Syria and Iraq
         Resources,” 2015.
         NOTE: U/I-1 is a translator’s mark meaning unknown.
         RAND RR1192-6.5




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       Conclusion

       In a typical labor market, compensation rewards employees for what
       they do for the firm. In the case of insurgent groups, this would entail
       compensation for risks taken on behalf of the group, as well as produc-
       tivity, and would lead one to expect that fighters operating in places
       with more combat would receive higher wages. That was manifestly
       not the case for ISI. So how should we understand the observed wage
       structure?
             One possibility is that labor supply was just much tighter in
       Ninewa and Diyala than it was in Anbar in 2006. The group had to pay
       roughly 17 percent more per attack in Diyala than in Anbar and fully
       84 percent more in Ninewa than Anbar. This explanation certainly
       makes sense given qualitative accounts of the war, wherein the Awak-
       ening made it much harder for ISI fighters to operate and legitimized
       parallel militias that were competing for recruits. The differences in
       labor supply cannot, however, explain the fact that ISI’s monthly wages
       were much lower than what even illiterate Iraqis reported making.
             A second possibility is that ISI used wages as a screening mecha-
       nism in an environment where uncommitted individuals posed secu-
       rity risks for the group and where there was a glut of willing fighters.
       For wages to screen effectively while still allowing the group to operate,
       ISI would have to set them high enough so that members could survive
       and support their families but low enough that only sufficiently com-
       mitted individuals would accept. That members were expected to bear
       some expenses in hopes of getting reimbursed might also have served
       a managerial purpose: If operatives performed poorly, reimbursements
       could be withheld.
             A third possibility could pertain to ISI’s desire to create a popula-
       tion that viewed it as a state, rather than an insurgent or terrorist group.
       The marginal increase in wages for being married and having children
       makes sense as a way of embedding the group in local communities,
       consistent with a view of insurgency as a form of armed state-building.17


       17 Johnston, 2008.




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             This still leaves the issue of payments to the families of killed
       and captured members. For ISI, these payments guaranteed that legacy
       costs would rise inexorably over time. Perhaps such payments served to
       buttress low salaries by providing implicit life insurance, although it
       seems unlikely that the organization’s guarantee of lifetime payments
       would be completely credible given the range of groups competing for
       power and, therefore, ISI’s expected longevity, should it be eclipsed by
       other groups. An alternative theory is that ISI leaders needed to signal
       something about their type to potential operatives. These payments
       could serve to build member loyalty and trust by showing that leaders
       were willing to spend resources on fighters’ families instead of allocat-
       ing those resources to attacks.
             Our results raise two questions. First, how did ISI retain Iraqi
       talent in the presence of competing insurgent groups when it paid
       such low wages? We can only speculate: Talented people might have
       expected rapid promotion or might have placed a high value on life
       insurance; ISI’s ideology and organizational strengths might have made
       it the best jihadi organization, regardless of salary levels; or ISI might
       have enforced a no-exit policy for Iraqis (Felter and Fishman showed
       that foreign fighters could go home18). However, the documents sug-
       gest that a number of individuals did voluntarily leave the group, and
       the “Rules of Social Assistance” explicitly provide for that possibility.
             Second, and more important, if insurgents are not paid market
       wages, then how should we think about opportunity-cost constraints?
       Such constraints are critical in almost all economic models of conflict,
       but compensation practices by the most prominent insurgent group in
       the largest recent war suggest that they were not critical.

       18 Felter and Fishman, 2007.




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       CHAPTER SEVEN

       The Fates of Terrorists: Tracking Militants’
       “Career Paths”




       From the time of the surge through the end of the period we analyze,
       ISI was under aggressive, persistent counterterrorism pressure in Iraq
       and had to adapt continuously. Adaptation included reorganizing after
       the loss of key personnel, resulting in career paths that were estab-
       lished in a highly fluid context. Outside of anecdotes, terrorism ana-
       lysts have not systematically addressed career dynamics within terrorist
       organizations. Relevant dimensions include (1) the level of personnel
       turnover experienced over time, (2) mobility by individual members
       between positions, and (3) changes in compensation rates for existing
       members over time. Uncovering trends, patterns, and anomalies along
       each dimension can illuminate how militant organizations adapt to
       changing operational conditions, as well as the internal requirements
       for managing their personnel.
             This chapter analyzes personnel movements in ISI using docu-
       ments that cover two different periods. Both document sets were cap-
       tured from the senior ISI administrator who accounted for ISI person-
       nel in and around the city of Mosul in the northern Iraqi governorate
       of Ninewa. The first set of documents was current as of September
       2007. The second set was current as of January 2009.
             Comparing documents from the same organization in the same
       location at different times allows an evaluation of how ISI and its per-
       sonnel fared over time, how the group adapted its organization and
       human-resources policies, and how the career arcs of individual ISI
       personnel changed as the organization experienced major battlefield



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       setbacks that led to significant personnel turnover. It also allows us to
       build on our analysis of compensation by seeing how compensation
       adjusted over time.
             These two sets of documents also help us understand ISI’s evolu-
       tion in Mosul during a particularly important period of the Iraq war.
       Between 2007 and 2009, the war’s course underwent a dramatic rever-
       sal, as we described in Chapter Two. During this period, successful
       raids by coalition and Iraqi special operations forces, which targeted
       ISI’s leadership; facilitator networks; and midlevel bureaucrats put ISI
       under heavy pressure. ISI’s rank and file was degraded at the same time
       through resistance to ISI rule by Sunni Awakening militias, many of
       which included people who had fought with ISI, and by U.S. coun-
       terinsurgency operations that reversed ISI’s territorial gains and rees-
       tablished Iraqi control in Anbar, Baghdad, Diyala, and Salah al-Din.
       Documentation of ISI’s organization, personnel, and behavior during
       this period offers a unique opportunity to examine how the Islamic
       State’s predecessor adapted to these events and offers lessons about how
       the Islamic State might react to similar stresses.
              This chapter first provides background on our data on ISI per-
       sonnel movements. We then discuss the group’s workforce in Mosul
       in 2007 and 2009, analyze mortality and turnover within the group
       across that period, and assess how ISI personnel moved geographically
       from 2007 to 2009. We also examine the case of the “unknowns,” a
       fighter designation that could imply an attempt by ISI bookkeepers to
       balance the twin challenges of managerial record keeping and orga-
       nizational secrecy, or it perhaps reflects graft through the creation of
       ghost employees. We conclude by discussing what the career paths of
       ISI personnel tell us about the organization.


       Documents and Data

       To understand career paths within ISI, we analyzed two sets of doc-
       uments captured by coalition forces in the northern Iraq governor-
       ate of Ninewa, of which three documents in particular provide rela-
       tively complete records of the group’s personnel in the area, roughly




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       18 months apart.1 In total, these documents provide information on
       1,149 fighters who were alive and active at the time the documents were
       written and 1,159 fighters who were dead or imprisoned at the time the
       documents were written. The two sets of documents allow us to iden-
       tify common ISI personnel listed in both sets, indicating that they were
       on ISI’s Mosul payroll in both periods. Using temporal variation in the
       data on each matched individual, we can assess the extent to which
       experienced personnel received increased compensation and enjoyed
       upward mobility in the organization.
             The first set, from which we drew two key documents, was cap-
       tured from the files of an ISI member named Khalid, who was associ-
       ated with ISI’s Mosul media office, in a raid near Mosul in early 2008
       by conventional forces from the 3rd Squadron of the 3rd Armored
       Cavalry Regiment (3-3 ACR) of the U.S. Army. We refer to this collec-
       tion of documents as the Abu Hareth documents because he was the
       administrative emir for the group in Mosul at the time.2 This data set
       contains information on ISI members in Ninewa governorate through
       late 2007.
             The second set of documents, from which we drew one key docu-
       ment, was captured in February 2009 from a Ninewa administrative
       emir named Ahmed Zayd, who was a successor to Abu Hareth.3 This
       data set contains information on ISI members in Ninewa governor-
       ate during Ahmed Zayd’s tenure as administrative emir, from August
       2008 through January 2009.4


       1  The three Harmony documents are NMEC-2008-614685, NMEC-2008-614686, and
       NMEC-2009-633789; see “ISIL, Syria and Iraq Resources,” 2015. NMEC-2008-614685
       and NMEC-2008-614686 are from the Abu Hareth documents; NMEC-2009-633789 is
       from the Ahmed Zayd collection.
       2   Within the Harmony system, these documents are referred to as 3-3 TXFR 12.
       3  There were several other administrative emirs between Abu Hareth and Ahmed Zayd,
       including a certain Abu Wahab, who held the position for much of 2008. Ahmed Zayd was
       also known as Abu Zayd.
       4  Our rationale for this judgment is that the other key documents seized in the February
       2009 raid contained daily financial information on ISI activities from late August 2008
       through the end of January 2009.




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             Each document contains two types of information. The first is
       individual-level information on ISI personnel, including unit assign-
       ments, the amount of compensation, and the number of dependents.
       Importantly, the administrator assigned each person in these docu-
       ments a serial number, which served as a unique identifier when com-
       bined with individuals’ names. That identifier presumably enabled ISI
       administrators to track personnel accurately, which would have been
       otherwise difficult to do based on the “name” field alone in payroll
       documents, because many ISI personnel shared the same kunya, or
       nom de guerre. This tracking system would have allowed ISI leaders
       better oversight and control of their organization. It would allow them
       to audit the personnel reports submitted by midlevel leaders—those
       who formed the bureaucratic core of the group and were responsible
       for disbursing and accounting for the group’s money. This is particu-
       larly important because payroll accounted for the largest share of the
       organization’s costs. These costs included payments to killed and cap-
       tured members’ dependents—a nontrivial cost that, unlike spending
       on weapons and active personnel, brought no tangible productivity
       return for the organization. In the earlier set of documents, ISI used a
       five-digit serial number. By the time of the later set of documents, the
       group had switched to a system that assigned each member a new, four-
       digit serial number.
             Second, each document contains a report that aggregates the
       individual-level personnel data. In the case of the 2009 document, the
       aggregate report lists more fighters than the section with individual-level
       personnel data. We believe that these aggregate reports were intended to
       inform ISI’s leadership to support personnel and human-resources deci-
       sionmaking. Examples of decisions that ISI’s leadership likely needed to
       address include how to deal with imbalances or inadequacies in person-
       nel across units and whether the group’s salary and overall compensa-
       tion practices required revision in response to changing circumstances
       on the ground that were straining the organization.




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       Summary Characteristics of ISI Personnel in Mosul in 2007
       and 2009

       The most striking fact about ISI’s personnel records in the 2009 versus
       2007 data is that ISI in Mosul appears to have had fewer than half
       as many active fighters in January 2009 as it did in September 2007
       (Table 7.1). The Mosul administrator’s records included 792 active per-
       sonnel as of September 2007 and only 357 active personnel as of Janu-
       ary 2009. Although these rosters account only for Mosul and not ISI
       nationwide, Mosul was ISI’s main operational center in 2009, meaning
       that the relative drop understates the change in the group’s fortunes.
             ISI fighters received substantially more compensation, on average,
       in 2009, both in terms of base salary and funding for accommodations
       and expenses (Table 7.2). As will be discussed in the next chapter, base
       salary was in large part determined by family size, and so the rise in
       base salary could have been due to an increase in the number of depen-
       dents for which each member was responsible.


       Tracking Militants over Time

       We track ISI members over time, as well as changes in ISI itself, in
       several ways. The first is to simply assume that these documents are
       inclusive. If the documents are inclusive, then the size of ISI in Mosul
       fell by roughly 60 percent from 2007 to 2009, a number consistent

       Table 7.1
       ISI Roster Statistics, September 2007 and January 2009

                                                Deceased or                   Share Active
       Date                      Active          Detained          Total          (%)

       September 2007             792               526            1,318          60.1

       January 2009               357               633             990           36.1

       SOURCES: The 2007 data come from Harmony document NMEC-2008-614685; the
       2009 data come from Harmony document NMEC-2009-633789; see “ISIL, Syria and
       Iraq Resources,” 2015.
       NOTE: The 2009 data come specifically from the aggregate statistics shown on p. 28
       of Harmony document NMEC-2009-633789.




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       Table 7.2
       ISI Family Structure and Compensation, 2007 and 2009

       Variable                    Total           2007         2009           Difference

       Family structure

             Number of              1,822           1,318         504              −814
             members (with
             compensation
             recorded)

             Share married         72.5%           71.0%        76.2%         5.2 percentage
                                                                                       points

             Share with            55.8%           53.7%        61.1%         7.4 percentage
             children                                                                  points

       Average monthly
       compensation, per
       member

             Base salary (Iraqi   124,627         117,018     144,359             27,341
             dinars)

             Total payments       175,821         159,695     216,875             57,180
             (base + ”rent”;
             Iraqi dinars)

       SOURCES: Harmony documents NMEC-2008-614685 and NMEC-2009-633789; see
       “ISIL, Syria and Iraq Resources,” 2015.
       NOTES: Salary and rent figures are in nominal Iraqi dinars. Base salary is not inclusive
       of funds paid to some ISI members for accommodations. Total payments are inclusive
       of both base salary and any funding for accommodations. Calculations in this table
       include only fighters with salary recorded.


       with qualitative accounts of coalition forces effectively targeting the
       group. The second is to match ISI personnel between payroll docu-
       ments, either based on ISI-assigned serial numbers or other features,
       such as family structure, and ask how the personnel fared. Among the
       personnel listed, some in the later records had only five-digit numbers,
       some had only four-digit numbers, and some had both. We used the
       five-digit numbers.
             We used two methods for the second approach—matching ISI
       personnel listed in the group’s 2007 Mosul payrolls to personnel listed
       in the group’s 2009 Mosul payroll. The first method—doing a simple
       database “join” operation on the 2007 and 2009 payroll tables’ serial-




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       number field—is the simplest but also the crudest technique. This
       method yielded 244 matches between the 1,327 personnel listed on
       the 2007 roster and the 504 individuals listed on the payroll in 2009
       (48.4 percent of the 2009 total).5 The second method improves on that
       relatively crude approach by assigning two analysts to independently
       confirm or reject each of the matches using other entity-resolution
       approaches.6
              The two methods used to match ISI personnel over time resulted in
       different numbers of matches (Table 7.3). Of the 244 matches obtained
       from combining the 2007 and 2009 payroll tables based on individu-
       als’ five-digit numeric identifier alone, 124 also matched on other avail-
       able information associated with each individual in the payroll files
       (name, marital status, number of wives, and number of children).

       Table 7.3
       Results of Methodologies Used to Match ISI Personnel, 2007 and 2009

       Method                                      Matches             Percentage Matched

       Automated join                                 244                     48.4

       Human entity resolution                        124                     24.6

       Difference                                     120             23.8 percentage points

       SOURCES: Harmony documents NMEC-2008-614685 and NMEC-2009-633789; see
       “ISIL, Syria and Iraq Resources,” 2015.
       NOTES: The number and percentage of matches are out of the 990 militants listed
       in ISI’s January 2009 Mosul payrolls. The key used for the automated database join
       was the five-digit serial number assigned by ISI administrators to uniquely identify
       members. The entity-resolution procedures used ISI-assigned serial numbers and
       additional individual-level information to further refine the matched sample.


       5  We have previously reported 1,318 personnel for this roster. However, nine were listed as
       “deleted,” and we have excluded them from all totals except this one.
       6  To execute the second method, one analyst used entity-resolution tools available in the
       Palantir Gotham analysis software platform. The other analyst resolved the serial number
       matches manually using other information in the payroll documents about the group of indi-
       viduals who had the same serial number in both sets of documents. These entity-resolution
       efforts were conducted independently to prevent intercoder bias. A senior researcher then
       examined both sets of matches, which were nearly identical, and adjudicated the remaining
       discrepancies.




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       Militant Mortality and Turnover

       ISI members faced high mortality rates throughout the course of the
       Iraq war. One of the key findings from our documents is that when
       the group faced pressure, it appeared to renege on its promise to con-
       tinue payments to families of killed members. Our documents do not
       allow us to say whether this was a temporary response or a permanent
       response.
              We assess attrition rates in ISI from 2007 to 2009 two different
       ways. First, we calculate turnover as the share of personnel recorded
       in one period who are not present in the next period. That turnover
       will reflect some combination of mortality because of enemy action
       and voluntary turnover (e.g., people leaving Iraq or getting injured and
       going home). Second, in documents tracking salary payments, we look
       at the share of payments to dead or imprisoned members.
              Using the first approach yields extremely high attrition estimates.
       Of 792 active ISI operatives on the payroll in Mosul in 2007, only 124
       can be matched to the 2009 data. Assuming 18 months in between
       these data sources provides an estimated departure rate of 71 percent
       per year, a massive rate for any organization, and one that suggests that
       ISI’s promises that it would continue to pay martyr payments in per-
       petuity was false; many of the killed fighters whose families were listed
       as receiving payments in 2007 were missing from the rolls in 2009.7
       Another way to benchmark changes in the group is to assess how many
       of its units changed. The 2007 documents listed 62 specific units. Only
       eight of those appeared in the 2009 documents, a retention rate at the
       unit level of 13 percent. That number is consistent with massive losses,
       although it could also have resulted from reorganization and renaming.
              Taking the second approach to examining the proportion of salary
       going to killed or captured fighters shows that ISI in Ninewa experi-
       enced a dramatic shift in its overall personnel, mortality rates, and unit
       composition from September 2007 to January 2009. ISI’s September
       2007 personnel rosters for Mosul listed 1,318 members on the organi-


       7  The implied attrition rates would be even higher if we assumed only a year between the
       reports.




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       zation’s payroll. Not everyone on the payroll, however, was active in
       the group. Of the 1,318 entries, 792 (60.1 percent) were listed as active,
       while 526 (39.9 percent) were reported as having been either detained
       or killed. The 2009 personnel rosters indicate that ISI’s numbers in
       Mosul governorate had shrunk over time, and the ratio of captured
       and killed to active members increased significantly. ISI’s 2009 Mosul
       payroll records contain aggregated information on 990 ISI personnel,
       broken down into two groups: fighters and deceased. According to the
       document, the fighter group consisted of 357 members, while 633 were
       deceased.
             To highlight the extent to which high mortality rates and ISI’s
       policy of supporting dependents of its deceased members were affect-
       ing the group’s finances, the administrator included a table illustrating
       the disproportionate and growing amount of the group’s payroll being
       devoted to supporting families of deceased members, as opposed to
       active members.8 Given that ISI spent almost all of the revenues it gen-
       erated on a month-to-month basis, these payouts suggest that ISI’s com-
       pensation policy constrained its ability to recruit and pay new members
       without having to stop payments to deceased members’ dependents.
       Common approaches that firms take to reduce such legacy costs would
       have been quite difficult for ISI. Reducing the group’s equivalent of
       pension liabilities by recruiting new members and stopping payments
       to former fighters’ families could not have been popular. The pressures
       on payroll generated by the killing and capture of members thus rep-
       resent a notable vulnerability for groups with similar compensation
       plans, such as core al-Qa‘ida, several of its non-Iraqi affiliates, and the
       Provisional IRA, historically.
             Regardless of how ISI dealt with these costs, and we will see evi-
       dence that it did so by falling short on its commitments, the share of
       deceased members on the payroll was much higher in 2009 than in
       2007 (Table 7.4), increasing from 40 percent to 64 percent. Even if the
       Mosul documents are not exhaustive of all members, the increased rel-
       ative mortality rate meant that the group would have had relatively less
       for its routine operating costs, as well as for collecting intelligence; con-

       8   Harmony document NMEC-2009-633789; see “ISIL, Syria and Iraq Resources,” 2015.




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       Table 7.4
       ISI Personnel Mortality in Mosul, 2007 and 2009

                                                Percentage of                  Percentage of
       Category                      2007        2007 Total         2009        2009 Total

       Number of personnel           1,318                            990

       Active personnel               792           60.1              357           36.1

       Deceased or detained           526           39.9              633           63.9
       personnel

       Number of units                  24                             14

       NOTES: The Mosul 2007 calculations are based on units listed in the “All Workers”
       worksheet of NMEC-2008-614686. The Mosul 2009 calculations are based on the
       units listed on p. 28 of NMEC-2009-633789; see “ISIL, Syria and Iraq Resources,” 2015.


       ducting surveillance; administering sharia law; and conducting attacks
       on coalition forces, ISF targets, local Shia and Christian civilians, and
       Sunnis viewed as disloyal to the group.


       Militants’ Career Paths: Personnel Mobility, Promotions,
       and Lateral Transfers
       As with employees of firms, governments, and other types of legiti-
       mate organizations, members of militant organizations are promoted,
       demoted, fired, or moved laterally to perform new functions or to sup-
       port an organization’s efforts in a different geographic region as cir-
       cumstances or priorities change. Because militant organizations are
       secretive by nature, the extent to which such changes occur, and what
       they look like in practice, has, in large measure, remained a mystery to
       analysts and policymakers, despite other advances in analysis of how
       terrorist groups function and operate as organizations.9

       9  Sun-Ki Chai, “An Organizational Economics Approach to Anti-Government Vio-
       lence,” Comparative Politics, Vol. 26, No. 1, October 1993, pp. 101–105; Weinstein, 2007,
       pp. 27–60; Johnston, 2008, pp. 107–112; Aaron Zelinsky and Martin Shubik, “Terrorist
       Groups as Business Firms: A New Typological Framework,” Terrorism and Political Violence,
       Vol. 21, No. 2 March 2009; Shapiro, 2013, pp. 1–21, 249–251.




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       Personnel Mobility
       Analysis of the sample of the 124 ISI members who could be identi-
       fied with high confidence (in the group’s September 2007 and January
       2009 payrolls) suggests a great deal of mobility within the group. Of
       these members, 96, or more than three-quarters (77 percent), who had
       been on payroll in September 2007, were in a different unit in 2009.
             Such personnel mobility represents a puzzle: Why would ISI reas-
       sign such a large proportion of its personnel to different units? Doing
       so clearly violates the principle of strict compartmentalization used by
       ideal type cell-based organizations. In such groups, only one individual
       connects each cell to the larger group, minimizing what cell members
       know about other cells to reduce the risk of information being lost to
       the government should one or more cell members be apprehended. ISI
       seems to never have tried to implement such a structure—and if it did,
       we have found little evidence of it.
             Rather, the group seemed to value tracking its members. In the
       2007 payroll documents, for example, the administrator made numer-
       ous notes about individuals who were transferred from one unit
       to another. Some transfers were made after the leadership of a unit
       expressed a need for additional manpower to support his unit’s opera-
       tions. In the cases of these transfers, there was a trade-off between
       operational security and practical operational requirements, and the
       latter won out. Some transfers, however, were made at the request of
       individual ISI members because of their personal preferences or needs.
       For example, the administrator noted several cases in which members
       requested to be transferred to a specific unit, often so that the militant
       would be closer to his family or hometown.
             Such transfers were made in the context of an organization facing
       high attrition. It therefore seems likely that many transfers were made
       based on organizational exigencies and the need to adapt. This would
       not have been all bad. To the extent that these changes were promo-
       tions, promoting operatives with extensive experience would help
       maintain continuity and enable the organization to capitalize on their
       knowledge.




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       Promotions
       To identify militants who moved upward within ISI’s hierarchy
       between 2007 and 2009, we separate ISI units listed in the 2007 doc-
       uments and the 2009 documents into “field” units (those we think
       were tasked with day-to-day fighting or other tactical field-level activi-
       ties) and “nonfield” units (which we believe managed and led ISI). We
       made these assessments based on the structures described in Chap-
       ter Four. Field units were typically named after individuals, perhaps
       their leaders. Nonfield units were typically named according to their
       bureaucratic function. An example of a field unit that appears in both
       sets of documents is a unit referred to as Fayyad. An example of a non-
       field unit that appears in the 2009 documents is the Media Battalion.
             Among the 124 ISI members who could be identified in both the
       2007 and 2009 documents, there were 23 people (18.5 percent) who,
       according to this criterion, were promoted from a field unit to a non-
       field unit. If we calculate ISI promotion rates using only the universe of
       fighters who changed units between 2007 and 2009, about one-quarter
       (24 percent) of militants who survived had been promoted, by 2009, to
       nonfield positions.10 Of course, the fact that only 124 of 1,318 opera-
       tives in 2007 show up in the 2009 data, with high confidence, suggests
       massive attrition, greater than 90 percent over 18 months.

       Lateral Transfers
       There are numerous examples in the documents of what appear to be
       lateral personnel transfers. The rationale for some of these transfers is
       briefly explained in notes contained in the administrative emir Abu
       Hareth’s master spreadsheets. The notes indicate that many lateral
       transfers were made to provide manpower to bolster the capabilities
       of certain units as circumstances on the ground, and units’ attendant
       requirements, changed.11


       10 For these calculations, we simply add the people who moved from field to nonfield (23),
       for the total 124 members and the 96 members who had a different unit in 2009 than 2007.
       11 See, for example, notes inserted into the administrative emir Abu Hareth’s Excel spread-
       sheets. Good examples can be found in Harmony documents NMEC-2008-614685 and
       NMEC-2008-614686; see “ISIL, Syria and Iraq Resources,” 2015.




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             Unfortunately, information in the available documents does not
       allow us to discern whether any ISI members were promoted to the
       highest levels of the group—ISI’s top leadership—which, by design,
       were separate from the midlevel core that oversaw the group’s day-to-
       day operations. Nonetheless, snapshots taken over time of ISI’s human
       resources suggest that the organization was far from static. On the con-
       trary, external forces might have forced fairly dynamic personnel prac-
       tices to compensate for losses within the midlevel bureaucratic corps.


       Compensation Trends over Time

       ISI followed a flat compensation structure. However, ISI did not follow
       its written guidelines to the letter, and the salary formula appears to
       have changed over time, although still remaining flat. Salaries and total
       payments differed by region, with reimbursable expenses varying more,
       as would be expected given differential economic conditions. The pay-
       roll records from Mosul indicate that, for individuals for whom data
       are available in both years, total payment levels tended to increase. So
       too, however, did the average number of dependents associated with
       ISI members, at least partially explaining this result.
             To parse the differences in more detail, we disaggregate the total
       amount that ISI personnel received each month into two categories:
       salary and supplemental. These categories appear separately in the doc-
       uments, and are usually (but not always) translated from the original
       Arabic as bail and rent. Bail corresponds with salary, as we use it here;
       rent corresponds with our use of supplemental.12

       Differences in Compensation from September 2007 to January 2009
       The average total monthly payments made to the 124 ISI members
       for whom data were available in both periods increased from 155,806

       12 Indeed, both the documents and interviews with subject-matter experts indicate that
       funds disbursed to ISI members for “rent” were often used for accommodations, which were
       frequently needed by ISI members who did not own a home in Iraq. Presumably, this was
       the case for most of ISI’s foreign fighters, as well as for fighters who had been displaced from
       their home governorates.




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       to 189,323 Iraqi dinars (Table 7.5). This 22-percent increase in total
       payments is similar to the core inflation rate of 23.8 percent, reported
       by the Central Bank of Iraq, over the same period.13 Table 7.5 also
       breaks down changes in ISI member payments over time by the type
       of payments these members received. The average difference between
       the base-salary payments ISI paid its members in January 2009 and
       September 2007 was 13,032 Iraqi dinars. Supplemental payments rose
       more, to 20,484 Iraqi dinars over the period, on average. How large
       were these increases in U.S. dollars? We converted these amounts at an
       exchange rate of 1,193 Iraqi dinars per dollar, the average exchange rate
       in 2008, according to Central Bank of Iraq in 2010.14 Using this con-
       version rate, the changes in ISI payments from 2007 to 2009 represent


       Table 7.5
       ISI Compensation in Mosul, 2007 and 2009 (Iraqi dinars)

                         Total Payments                              Salary        Dependents
       Period                (mean)              Salary (mean)      (median)         (mean)

       2007                  155,806               116,048           110,000            2.3

       2009                  189,323               129,081           125,000            2.6

       Difference              33,516               13,033            15,000            0.3

       Percentage                 21.5                  11.2              13.6        13.0
       increase

       SOURCES: Harmony documents NMEC-2008-614685, NMEC-2008-614686, and
       NMEC-2009-633789; see “ISIL, Syria and Iraq Resources,” 2015; Central Bank of Iraq,
       2007–2009.
       NOTES: Values are in Iraqi dinars. Data are from the payroll records of the 124
       ISI personnel who appear in both the late 2007 and early 2009 sets of captured
       documents. Consumer price index inflation from 2007 to 2009 was 23.8 percent.




       13 Central Bank of Iraq, Key Financial Indicators, Baghdad, updated regularly between Sep-
       tember 2007 and January 2009.
       14 This is consistent with other conversions from Iraqi dinars to U.S. dollars in previous
       studies of AQI’s captured documents. See those performed in Bahney, Shatz, et al., 2010,
       p. 26.




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       increases in base salary of $10.92 and supplemental income of $17.17,
       for an average monthly increase of $28.09.15
             Although ISI paid its members more, on average, in 2009 than in
       2007, not all ISI members for whom we had data received more. Most
       did—74 of the 124, or about 60 percent—but 25 of the 124 (about
       20 percent) had their pay lowered between 2007 and 2009. Part of the
       explanation for these declines appears to have been a change in family
       structure. Individuals whose pay was cut reported fewer dependents
       in 2009 than in 2007, which would explain why their pay had been
       reduced. On average, these fighters lost about 0.8 dependents between
       2007 and 2009. Those losses would account for a reduction in salary of
       about 24,000 Iraqi dinars. However, the 25 members who lost money
       lost an average of 87,600 Iraqi dinars per month.16 In contrast, indi-
       viduals whom ISI paid the same monthly salary in 2009 as it had in
       2007 had no median change in dependents—exactly what would be
       expected based on the standard operating procedures ISI laid out in its
       “Rules for Social Assistance” document.17 Given that changes in asso-
       ciated dependents do not fully explain the pay decreases that 20 per-
       cent of our sample suffered, we suspect that the group decided to dock
       the pay of certain individuals, perhaps because of performance prob-
       lems or personal indiscretions, or because the group found its budget
       for personnel compensation squeezed. Consistent with evidence from
       Chapter Six, this suggests ISI might have become less rigid over time
       about its flat compensation structure.

       Did Promotions Come with Raises?
       The ISI payroll data suggest that ISI members who moved from field
       units into units that had greater administrative responsibility tended

       15 It is important to note that these are within-individual increases, which are not depen-
       dent on cross-sectional variation across different individuals over time, since these individu-
       als might have different personal characteristics, skills and levels and types of experience,
       or numbers of dependents. As a result, we are confident that these increases capture real
       changes in the compensation paid to AQI personnel.
       16 Individuals who had received raises since 2007 reported a median increase in dependents
       of one dependent.
       17 Harmony document MNFA-2007-000566; see “ISIL, Syria and Iraq Resources,” 2015.




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       to receive increased payments, but not at a higher rate than those who
       moved laterally to other field units within ISI (Table 7.6).
             In fact, ISI members who moved laterally saw their total pay-
       ments increase at a higher rate than those who were promoted. This
       result cannot be explained by the increase in dependents. For those who
       moved laterally, their dependents did not increase, on average, from
       Table 7.6
       Compensation Increases from 2007 to 2009, Promoted Versus Lateral
       Mobility (thousands of Iraqi dinars)

       Promoted
       Versus           Compensation                   Standard
       Lateral Move       Variable         Mean        Deviation   Median   Min.    Max.

       Lateral move   2007 salary               110       32         110     75     250
       (N = 73)
                      2007 total
                                                146       76         120     75     375
                      payments
                      2009 salary               127       51         125      0     250
                      2009 total
                                                188      100         175      0     450
                      payments
                      Difference
                      (total payments
                                                42        24          55    −75      75
                      between 2009
                      and 2007)

       Promoted       2007 salary                121       62         110     75     370
       (N = 23)
                      2007 total                166        84         130     75     370
                      payments

                      2009 salary               104        69         125      0     225

                      2009 total                180       121         150      0     400
                      payments

                      Difference                 14        37         20     −75      30
                      (total payments
                      between 2009 and
                      2007)

       SOURCES: Harmony documents NMEC-2008-614685, NMEC-2008-614686, and NMEC-
       2009-633789; see “ISIL, Syria and Iraq Resources,” 2015.
       NOTES: Values are in thousands of Iraqi dinars. The table reflects the authors’
       calculations of the 124 ISI personnel in Mosul, tracked from the group’s September
       2007 payrolls to its January 2009 payrolls. An additional 28 fighters out of the 124
       stayed in the same group, and therefore were neither promoted nor moved laterally.




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       2007 to 2009, staying at an average of two dependents per member
       for the 73 nonpromoted fighters we could track. The promoted fight-
       ers saw their average dependent count increase from 2.34 in 2007 to
       3.00 in 2009. ISI members who moved laterally saw their average total
       payments beat the rate of inflation, while those who were promoted
       saw their total payments lag behind inflation by about 25,000 Iraqi
       dinars.18
             Several dynamics could explain these shifts. Perhaps the increased
       pressure of coalition forces and ISF required ISI bureaucrats to increase
       pay to those in more-dangerous positions to keep the group’s fighting
       force as strong as possible in difficult circumstances. This would be a
       reversal of long-standing payment policy, but in a difficult operating
       environment, it is not hard to envision a shift to retain the necessary
       fighters and maintain relevance against an advancing foe. An alterna-
       tive possibility is that more people in field units had been displaced
       from other areas to Mosul, which would be consistent with the fact
       that the increase came mostly in nonsalary compensation.
             As mentioned in Chapter Three, the political economy theory on
       compensation shows us that wages for people taking on risky jobs usu-
       ally come with a premium for the inherently dangerous nature of this
       work. ISI could have added this premium for the field members to keep
       its fighting force robust in the face of a tougher operating environ-
       ment. This behavior would have differed from ISI’s expressed policies
       and the average pattern in the full compensation data but would be
       closer to the payment procedures of other clandestine groups, at least
       anecdotally.19




       18 This estimate was calculated by multiplying the average amount of compensation paid
       to ISI members in 2007 with ISI members for both sets by 1.238 (the consumer price index
       inflation rate between 2007 and 2009); we then compared that result with the actual com-
       pensation recorded for 2009.
       19 Adams, 1986, for example, discussed how, in the 1980s, Palestinian groups that offered
       their operatives a riskier life with fewer opportunities for corruption had to pay higher
       salaries.




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       The Curious Case of ISI’s “Unknowns” in Mosul

       The 2007 payroll and personnel document identified 1,318 ISI mem-
       bers. In this document, the administrator separated personnel by unit
       and their status as active, deceased, or detained. Organizing the doc-
       ument in this way makes sense: Administrative emirs were responsi-
       ble for maintaining personnel records for each unit, keeping track of
       ISI personnel who were killed or captured, and calculating the grand
       total of compensation to be paid to each unit based on compensation
       guidelines.
              Keeping records by fighter status also allowed the administrator to
       perform another important function: producing brief statistical reports
       for ISI leadership on overall and unit-level attrition. Units suffering
       from disproportionately high attrition rates were at risk of either having
       to abandon controlled or contested areas because of low capacity or
       being defeated militarily by coalition forces and ISF. Since adminis-
       trative emirs were the only element in the ISI organization with full
       knowledge of the status of all units operating in their areas of respon-
       sibility, ISI leadership had a strong incentive to require such reporting
       from its administrators to make well-informed decisions about how
       to allocate money and manpower. Such reporting would have been
       particularly important in and around the city of Mosul, which was
       ISI’s last stronghold during the first insurgency. By late 2007, and even
       more so in late 2008 and early 2009, ISI had no good alternative to the
       Mosul area should the group be dislodged from northern Iraq. Coali-
       tion forces and ISF, along with local SOI Sunni militia, had cleared ISI
       from Baghdad, Anbar, and most of Diyala and Salah al-Din, leaving
       ISI without a Sunni population center inside Iraq where it could relo-
       cate and reconstitute its forces.
              As noted, the organization experienced a sharp decline in mem-
       bership in Mosul between 2007 and 2009, and a higher proportion
       of members on ISI’s roster is listed as killed. In addition to the sharp
       decline in the number of operational ISI personnel, the 2009 per-
       sonnel roster reveals another interesting pattern. After the first 357
       individuals—the same number listed as being “active fighters” in the
       summary report at the end of the document—the standard format of




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       the personnel roster abruptly changes. After the administrator com-
       piled the roster and compensation information about members of ISI
       Mosul’s “support” unit, he sketched a wide, gray band across the docu-
       ment, which he labeled “all unknown.” He then inserted a page break
       and used a fresh set of row numbers, beginning at 1, to distinguish
       the 138 subsequent entries (Figure 7.1). An additional nine personnel
       are vaguely listed as assigned to units with nondescript names, includ-
       ing “work location unknown,” “special cases,” and “outside Mosul.”20
             Why were these individuals accounted for separately from the rest
       of the group, and why would the rest of the group be considered opera-
       tional while the remaining members were not listed that way? At least
       three possibilities are plausible.
             The first is that this group consisted of new fighters. They all have
       new four-digit serial numbers and not the old five-digit ones, suggest-
       ing that they might have joined the group after it stopped assigning
       five-digit numerical identifiers in its files. This does not explain, how-
       ever, why these members would not have unit assignments. Thus, it
       seems unlikely that the individuals listed in ISI’s personnel roster were
       new personnel who simply had not received a unit assignment yet, par-
       ticularly because they all appear to have already been on the group’s
       monthly payroll.
             A second possibility is that ISI administrators had actually lost
       track of these individuals. It is possible that constraints made commu-
       nications between certain field personnel and ISI administrators too
       dangerous or difficult to conduct. Without regular status reports from
       the field, ISI administrators with little knowledge of the situations or
       activities of these individuals and units might categorize their status as
       unknown. Yet if this were the case, we would expect some individuals
       among currently the “unknown” to have both types of serial numbers
       in their entries, as well as for their units to be listed. After all, this
       kind of information could be helpful in coordinating cross-ISI efforts
       to locate and support units and personnel whose status was unknown.
       Thus, it is unlikely that the individuals listed separately from ISI’s

       20 Harmony document NMEC-2009-633789 Trans, pp. 18–19; see “ISIL, Syria and Iraq
       Resources,” 2015.




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                Figure 7.1
                2009 Personnel Roster Document Break, English
                Translation and Arabic Original


                 Panel A




                 Panel B




                SOURCES: Panel A shows Harmony document NMEC-2009-633789
                Trans, p. 20; Panel B shows Harmony document NMEC-2009-633789
                Orig, p. 34; see “ISIL, Syria and Iraq Resources,” 2015.
                NOTES: Works is salary, and rent is supplemental, as
                discussed above. Number Q is the 5-digit serial number.
                RAND RR1192-7.1




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       active personnel had gone missing or were unaccounted by the group’s
       administrators.
            A third possibility is that these personnel consisted at least partly
       of mid- and senior-level ISI leadership and that these leaders were
       accounted for separately from those in lower-level operational positions
       in the field to attempt to preserve their security.21
            At least five patterns in the documents we examine are consistent
       with patterns one would expect to see if the document broke out senior
       personnel differently. These patterns merit explication, because they
       bear strongly on how to interpret the links between some of these indi-
       viduals and reporting on the Islamic State leadership.

       Pattern 1: Names on the List Correspond with Those of Known ISI
       Senior Leaders
       The first pattern that is consistent with the 2009 roster being split into
       operational and leadership elements involves war aliases. The kunyas
       of numerous individuals listed among the group with suppressed five-
       digit serial numbers and unit information are the same as those used
       by known ISI mid- and senior-tier leaders. Several of the most inter-
       esting are Abu Zayd (a name by which Ahmed Zayd was also known;
       he maintained the group’s records examined here); Muhammad Abu
       Ayyub (a possible variant of ISI leader Abu Ayyub al-Masri); Qahtan
       Abu ‘Abd al-Rahman; Abu Sarah (a known alias of ISI number three
       Abu Qaswarah); and Abu Du‘a (an alias of the current Islamic State
       leader, Abu Bakr al-Baghdadi). Experts on the Islamic State have iden-
       tified other kunyas consistent with lower-level ISI leaders.22


       21 In strictly compartmented organizations, the senior leadership of the organization com-
       municates with subordinates only through “cutouts” and other indirect channels for opera-
       tional security in the face of a capable intelligence adversary.
       22 Possible name matches include Abu Ali (number 1,023, and possibly the administrative
       emir who paid transferees from Anbar to Mosul); Abu Bakr (number 1,090, and possibly
       Hajji Bakr, the now-deceased military emir of ISI); Abu Ridwan (number 1,166, and pos-
       sibly Abu Radwan, a.k.a. Abu Mahdi, who was the deputy wali of northern Iraq after Abu
       Qaswarah was killed); Abu Nabil (number 1,080, and possibly Abu Nabil, a.k.a. Wissam
       Abed Zaid; see Hisham al-Hashimi and Telegraph Interactive Team, “Revealed: The Islamic
       State ‘Cabinet,’ from Finance Minister to Suicide Bomb Deployer,” Telegraph, July 9, 2014);




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             Because the listed names are aliases, it is impossible to verify that
       these individuals were in fact senior ISI leaders. However, the prepon-
       derance of them in a single document that appears to have been pre-
       pared expressly with certain individuals’ security in mind remains strik-
       ing. Such patterns cannot definitively prove that the correlation between
       the predictions and observed values is correct in any given case. What
       these patterns can do is provide a method for assessing whether avail-
       able evidence can confirm the plausibility of the operational-security
       hypothesis. The more cases in which candidate factors correlate with
       defined outcomes of interest (in the predicted direction), the more plau-
       sible the explanation.

       Pattern 2: Individuals in the “Unknown” Group Were Likely More
       Senior
       A second pattern in the document—consistent with the leadership
       hypothesis concerning the individuals listed separately from the group’s
       operational elements or fighters—is found in indirect measures that are
       reasonable proxies for members’ levels of seniority. More-senior indi-
       viduals should be more likely to be married, have more wives, and have
       more children (if married). These factors would not indicate that these
       individuals are necessarily senior leaders, but it would be another pat-
       tern consistent with the hypothesis that the administrator’s separate list
       consisted of senior leaders.
             The data contained in the 2009 personnel roster are consistent
       with these patterns. The nonoperational ISI members listed separately
       in ISI Mosul’s 2009 payroll and personnel document were more likely
       to be married than others in the group (Table 7.7). They were 10 per-
       cent more likely to be married than members listed among the group’s
       operational fighters—85 percent of the individuals in the former list
       for whom data were available were listed as married, whereas only
       75 percent of the individuals in the latter list were married, according
       to the document.



       Abu Muhannad al-Suwaydawi (no number provided, but possibly Abu Abdel Salem, a.k.a.
       Abu Mohammad al-Sweidawi; see al-Hashimi and Telegraph Interactive Team, 2014).




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       Table 7.7
       T-Test of Differences in Means of Marital Status, Operational Versus
       Nonoperational Members

                                                                  Standard        Standard
       Group                            N           Mean            Error         Deviation

       Operational                     361           0.75            0.02            0.44

       Nonoperational                  136           0.85            0.03            0.36

       Combined                        497           0.77            0.02            0.42

       Difference between              225         −0.10**           0.04
       operational and
       nonoperational

       SOURCE: Harmony document NMEC-2009-633789; see “ISIL, Syria and Iraq
       Resources,” 2015.
       NOTES: *** p < 0.01, ** p < 0.05, * p < 0.1. The p-value of the difference in marital
       status between the two groups is 0.017, indicating that the difference in means is
       statistically significant at the 5-percent level.


             These individuals also had more wives (Table 7.8). The mean
       count of wives of the individuals in the nonoperational cases group
       was 0.12 higher than for operational fighters, 0.91 versus 0.79. There
       are several reasons why more-senior members could be more likely to
       be married. First, marital status in Iraq could correlate strongly with
       ability, which also correlates with promotion. Second, those who reach
       senior ranks may be older, and thus more likely to have gotten married
       through a simple cohort effect. Third, there was substantial anecdotal
       reporting of forced marriages to ISI members, so these extra spouses
       may represent additional compensation to senior leaders. Regardless of
       the reason, the greater number of wives suggests that members listed
       separately are more senior in the group.
             Another piece of evidence is that the nonoperational “spe-
       cial group” had more children, on average, than did the operational
       fighter group, conditional on each member’s marital status (Table 7.9).
       Table 7.9 shows the results of two statistical tests in which the relation-
       ship between number of children and group is explored.
             Both models tell a similar story. The model shown in column 1
       indicates that ISI members in the nonoperational group had an average




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       Table 7.8
       T-Test of Differences in Means of Number of Wives, Operational Versus
       Nonoperational Members

                                                                  Standard       Standard
       Group                               N        Mean            Error        Deviation

       Operational                        357        0.79           0.027               0.51

       Nonoperational                     136        0.91           0.047               0.46

       Combined                           493        0.82           0.022               0.50

       Difference between                 221      −0.12**           0.05
       operational and
       nonoperational

       SOURCE: Harmony document NMEC-2009-633789; see “ISIL, Syria and Iraq
       Resources,” 2015.
       NOTES: *** p < 0.01, ** p < 0.05, * p < 0.1. The p-value of the difference in marital
       status between the two groups is 0.013, indicating that the difference in means is
       statistically significant at the 5-percent level.



       Table 7.9
       Difference in Estimated Number of Children, by Group

       Group                                                (1)                   (2)

       Nonoperational group                               1.24                   0.48
                                                        (0.278)                 (0.097)

       Married                                           2.48                    2.57
                                                        (0.168)                 (0.537)

       Constant                                          −0.03                   −1.70
                                                        (0.099)                 (0.523)

       Observations                                         497                   497

       R-squared                                         0.228

       SOURCE: Authors’ calculations based on Harmony document NMEC-2009-633789; see
       “ISIL, Syria and Iraq Resources,” 2015.
       NOTES: Column 1 shows the results of an ordinary least squares regression. Column 2
       shows the results of a Poisson regression. Robust standard errors are in parentheses.
       The p-values are statistically significant at the 1-percent level.




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       of 1.24 more children than did operational fighters. The model shown
       in column 2 estimates that the nonoperational group averaged 1.08
       more children than the operational group (based on a transformation
       of the Poisson regression coefficient). Both estimates were statistically
       significant at conventional levels, meaning that the results are likely
       not random.23
             The evidence suggests that the nonoperational group was likely
       more senior, by virtue of the family characteristics of its members.
       These personnel were more likely to be married, were likely to have
       more wives than operational fighters, and were likely to have more
       children. We next add one more layer of evidence to suggest that the
       unlisted, nonoperational ISI personnel consisted largely of ISI leader-
       ship; to do this, we examine the tribal and family names of individuals
       listed among personnel in the nonoperational group.

       Pattern 3: Family Names of ISI Members in the “Unknown” Group
       Consist of a Cross-Section of Iraqi Names, Not Just Names Common
       to Mosul
       The third pattern evident in the document is the presence of a sig-
       nificant number of tribal (and subtribal or family) names that are not
       traditionally affiliated with the Mosul area. If this group of individu-
       als were in fact part of ISI’s mid- and senior-level leadership, we would
       expect that they would represent a fairly broad swath of the Iraqi popu-
       lation, with a particular focus on the areas where ISI had had a pres-
       ence, such as Anbar governorate. ISI was forced to shift its base of
       operations to northern Iraq because of the combined pressure from
       coalition forces and ISF on the group elsewhere; consequently, many
       of the group’s leaders would have been displaced from their previous
       safe havens. Based on the predominance of “nonlocal” tribal names
       represented in the “unknown” group, we can say with a high degree of
       confidence that this group does in fact represent a population that was
       not native to Mosul or Ninewa governorate. Although this does not


       23 In column 2, the results of a Poisson regression, we interpret the coefficient for the non-
       operational group as a marginal effect—the interpretation most similar to the interpretation
       of the coefficient in the ordinary least squares regression of column 1.




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       necessarily mean that the group was composed of more-senior leaders,
       it is relatively unlikely that ISI would dedicate significant effort to relo-
       cate, protect, and pay lower-level members of the group.
               Of the 138 individuals listed in the “unknown” section of the
       2009 Mosul roster, there were 21 with an included tribal affiliation of
       some sort. The remainder of the individuals listed in this section had
       only a kunya, which does not allow us to assess their tribal or family
       affiliations. However, of the 21 individuals listed in the “unknown”
       section who did have a listed tribal affiliation, virtually all of them rep-
       resented a tribe or clan that was not traditionally based in or around
       Mosul. For example, the most-listed tribal affiliation was with the Albu
       Issa tribe (marked as al-Issawi in the document), which is the dominant
       Sunni Arab tribe in an area about 80 kilometers south of Fallujah, in
       the western governorate of Anbar.24
              With the majority of the tribal affiliations representing loca-
       tions other than Ninewa governorate—primarily Anbar, Salah al-Din,
       Baghdad, and Diyala—it is likely that this group of unknowns rep-
       resented an important group of ISI leaders that the group wanted to
       protect by relocating to the Mosul area, which at the time was the only
       place where the group could guarantee relative safety. Of course, there
       are always other possible explanations for the unknowns. It could be
       that they represent a secret merger with another organization, such as
       the Sunni-Sufi insurgent group Jaish Rijal al-Tariqa al-Naqshbandiya,
       or that their identities were being deliberately protected because they
       were members of a defecting faction from another Sunni insurgent
       organization. It could also have been possible that the unknowns were
       across the border in Syria and could not be easily accounted for by ISI’s
       administrators in northern Iraq.25 However, there is no evidence in the
       personnel rosters to suggest that the unknowns were new members
       from other groups or that they had moved outside the country. Indeed,


       24 See Lin Todd, W. Patrick Lang Jr., R. Alan King, Andrea V. Jackson, Montgomery
       McFate, Ahmed S. Hashim, and Jeremy S. Harrington, Iraq Tribal Study—Al-Anbar Gov-
       ernorate: The Albu Fahd Tribe, the Albu Mahal Tribe and the Albu Issa Tribe, Arlington, Va.:
       Global Resources Group and Global Risk, 2006.
       25 We thank Brian Fishman for suggesting these alternative hypotheses.




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       ISI began sending fighters of this number into Syria only after the
       Syrian civil war began in 2011.26
             If, in fact, the “unknowns” represent ISI leadership, this has sev-
       eral important implications for our understanding of ISI’s organization
       and strategic priorities. First, the existence of this group of unknowns
       who needed to be relocated confirms the fact that ISI no longer felt
       safe and secure enough in its previous strongholds to continue to keep
       these leaders based in those areas. Second, the fact that the majority of
       these unknowns who did list tribal affiliations were from Anbar high-
       lights the continued importance to the group of the governorate, which
       was ISI’s original base of operations. Third, although we cannot be
       completely sure that this group of unknowns represents key ISI leader-
       ship, the fact that ISI was willing to commit significant financial and
       administrative resources to relocating and protecting this group con-
       firms that the group must have held some level of operational or sym-
       bolic significance within ISI.

       Pattern 4: There Are Discrepancies in Recording Personally
       Identifying Information
       The fourth pattern is the relative dearth of information on these sepa-
       rately recorded individuals. A clandestine organization—such as ISI—
       would likely attempt to improve its operational security by minimizing
       the intelligence signatures that its operatives could leave (at least where
       such signatures might be found). Known intelligence breaches, such
       as the one that occurred with the coalition’s seizure in 2008 of the
       2007 Abu Hareth documents, often lead organizations to take actions
       intended to limit the potential damage caused by the compromised
       information. One such action would be to redact information from
       group records produced after intelligence was compromised. One obvi-
       ous type of information that could compromise a group would be per-
       sonally identifying information about the identities of group members.
       The 2007 documents linked a five-digit numeric identifier to more
       than 1,200 ISI members. As noted, in the period between the seizure

       26 Noman Benotman and Roisin Blake, Jabhat al-Nusra: A Strategic Briefing, London: Quil-
       liam Foundation, January 2013, p. 2.




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       of the Abu Hareth documents on ISI in Mosul and the seizure of simi-
       lar ISI documents in 2009, ISI switched to a system that assigned each
       member a four-digit identifier.
             For the personnel entries at the end of the document, not only
       did ISI not list a five-digit serial number but it did not even include a
       column for these members’ five-digit serial numbers. This is consistent
       with a security precaution that would not allow these members to be
       linked to earlier records and, consequently, for an overtime intelligence
       picture to be developed about these members, which might reveal their
       roles in the organization. This would be more likely for members in
       the mid- and upper-level leadership ranks, who did have access to or
       knowledge of information that could compromise large parts of the
       organization. This is one reason to surmise that these individuals were
       members of ISI leadership.

       Pattern 5: There Are Discrepancies in Recording Unit Information
       Finally, no unit information was associated with the entries of the indi-
       viduals in the second group, who were not counted among the group’s
       fighters. Rather than listing unit information, many of the entries
       simply mention that the individual was “outside Mosul.” There are no
       directly comparable entries in the 2007 document. It is unlikely that
       these were regular fighters who had been displaced from other gover-
       norates, because ISI likely would have attached them to units and used
       them for its operations. A more likely hypothesis is that these entries
       were intended to designate that key individuals had left Mosul and
       were hiding out in ISI safe houses in areas outside the city proper. This
       pattern does not seem to have been uncommon for AQI and ISI leaders
       with special security concerns. For example, the AQI leader al-Zarqawi
       and the ISI leaders Abu Umar al-Baghdadi and Abu Ayyub al-Masri
       were found hidden in safe houses located away from population cen-
       ters, in Diyala and Salah al-Din governorates, respectively.27 However,
       the information in the documents cannot independently confirm this


       27 Stanley McChrystal, My Share of the Task: A Memoir, New York: Portfolio/Penguin,
       2013, p. 228; and Hamza Obeid, “Governor of Baghdad in al-Qaeda Organization Reveals
       Details About It,” Islamic Times, June 6, 2010.




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       hypothesis, because these individuals might have had other responsi-
       bilities or reasons for being located outside Mosul, despite being on the
       Mosul administrator’s payroll.28


       Conclusion

       Our analysis of personnel records and career paths yields six key find-
       ings. The first is that ISI in Mosul experienced massive turnover and
       attrition between 2007 and 2009. Using our most generous matching
       approach across documents, we find that less than 22 percent of those
       present in the 2007 payroll show up in 2009 (although they make up a
       fair proportion of the 2009 members), and the proportion of members
       on the payroll who were dead or in prison increased substantially.
             The second key finding is that the manpower available to ISI in
       Mosul in 2009 appears to have decreased significantly from the man-
       power that was available to the group in 2007. In other words, recruit-
       ment did not keep up with attrition. Although this finding could be
       an artifact of the particular documents that were recovered, it is also
       consistent with the general trend of ISI’s broader decline and weaken-
       ing during this period.
             The third key finding is that ISI personnel who survived across the
       two periods were highly mobile within the organization. Ninety-six of
       the 124 members whom we were able to track across documents with
       high confidence changed units (77 percent). The high rate of personnel
       mobility within an organization that required cohesion, bureaucratic
       administration, and secrecy is surprising. It is less surprising, however,
       in light of the significant turnover during this period of ISI personnel
       at all levels of the organization. This turnover was because of aggres-
       sive coalition forces and ISF counterterrorism operations, the Awaken-
       ing, and the surge, which resulted in ISI losing control of strongholds
       in and around Baghdad and in Anbar and Diyala governorates but


       28 The Mosul administrator might have been the de facto ISI administrator for northern
       Iraq. The bulk of his entries were from the group’s operational center in Mosul, but other
       entries could be from outside Mosul.




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       maintaining a last major holdout in Ninewa governorate. Such turn-
       over appears to have resulted in an ISI organization that had no better
       choice than to constantly reassign its personnel to adapt to the chang-
       ing circumstances on the ground and the new challenges it confronted,
       despite the likely costs attendant in doing so.
             Fourth, we find a general increase in total payments to members
       over time, which roughly match the core inflation rate. These increases
       were not in salary payments, which lagged inflation, but came in the
       form of payments for expenses and changes in ISI members’ number
       of dependents, which other studies have shown to help predict ISI’s
       compensation rates.29 Several of the militants who received the largest
       increases in payments, independent of any increase in their number of
       dependents, are recorded as having moved to units listed under such
       names as “work location unknown.” It is possible that these members
       were elevated to leadership or other top-tier status within the group
       and hence given raises and better “cover” unit assignments to hide their
       real status and locations for operational security purposes, intended to
       protect the group’s senior leadership.
             Fifth, we find that those ISI members who were promoted from
       field positions to bureaucratic positions did receive pay increases from
       their 2007 salaries, but those increases lagged behind those received by
       members who moved laterally to other field units. Possible explanations
       for this include that the fighters who moved to field units were facing a
       more difficult operating environment than those who fought in 2007,
       that they had greater responsibilities in 2009, and that they were dis-
       placed from other areas and so were less likely to own their own homes.
       To help maintain a strong fighting force, compensation might have
       increased for those who had the riskiest positions.
              Sixth, we find evidence in the January 2009 documents that is
       consistent with an ISI effort to omit identifying information about a
       group of mid- or senior-level leaders by sanitizing such information
       in the group’s own documents. The group had experienced significant
       intelligence losses from past seizures of similar documentation and had
       good reasons to seek to protect such information while still having

       29 Bahney, Iyengar, et al., 2013.




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       sufficient data to account for the personnel who were on its current
       payroll.
             These findings have implications for broader U.S. counterterror-
       ism efforts against not only the Islamic State but also al-Qa‘ida and
       similar groups worldwide. Al-Qa‘ida’s and ISI’s survival and growth
       in the wake of persistent organizational upheavals indicate that well-
       organized terrorists can survive the intense pressures placed on them
       by counterterrorist forces. But it is not clear whether the costs and
       challenges of effectively adapting such organizations internally might
       affect their ability to pose a significant threat outside the Middle East
       and North Africa.




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       CHAPTER EIGHT

       Assessing the Islamic State of Iraq’s Finances: The
       Governorate Dimension




       ISI was a complex organization—a terrorist group, an insurgent group,
       and, in its own planning, a proto-state. Any one of these activities—
       terrorism, insurgency, state-building—would take money. All three of
       them required enormous amounts of cash.
             In this chapter, we discuss how ISI managed its finances at the
       governorate level and below. In the next chapter, we discuss higher
       levels of finance, as well as methods of financial control. Our analysis
       in this chapter is based on three large data sets relating to the finances
       of AQI in Anbar governorate in 2005 and 2006 and ISI in Ninewa
       governorate in 2008 and 2009. We also have two small data snapshots
       of ISI’s finances in two other locations for short periods—Baghdad in
       2007 and al-Jazirah (the western desert region between the Tigris and
       Euphrates rivers) in 2010. The Ninewa, Baghdad, and al-Jazirah analy-
       sis extends previous RAND research about AQI’s financial activities
       in Anbar governorate during parts of 2005 and 2006.1 Together, these
       data allow us to analyze the evolution of ISI’s financing.
             The most important finding is that the group raised most of
       its revenues locally, and did so, in part, for strategic reasons. In an
       undated letter from an official of the Mosul state of ISI to a select
       group of “sheikhs”—most likely Abu Ayyub al-Masri and Abu Umar
       al-Baghdadi, from whom the documents were captured in April
       2010—the official explained, as part of a broader discussion of ISI

       1   Bahney, Shatz, et al., 2010.



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       strategy and operations, where ISI’s money was coming from. The
       official listed the source of ISI’s income as the following:

             First: A percentage of the contracts and projects that are con-
             ducted within the State, and that is done by calling the contrac-
             tors or the executers of these projects. The percentages range
             between 8 to 10 percent, and sometimes it reaches 5 percent from
             the value of the profits of each project knowing that these projects
             will benefit the general public, and it shouldn’t benefit the infidel
             apostates.

             Second: From the Gas Stations named in the administrator’s (of
             the ISI) terminology as (al-Bayadat) which are Propane, Kerosene
             and Gas.

             Third: From the transportation offices that transports merchan-
             dise inside and outside the country

             Fourth: The flour factories and the factories of construction
             materials.

             Fifth: The fines from some individuals who committed violations
             of the Islamic Shari‘ah that don’t require killing or beheading.

             Sixth: Some donations from generous Muslims even if it was
             small.

             Seventh: Some collected from the directorates of the apostate
             government such as the municipality, education and so forth.2

       Similar sources of revenue were prominent in the documents back
       to 2006 and appear to have remained important to ISI throughout
       2010. Press reports detail extortion by ISI as a major source of revenue
       throughout 2010 and 2011 in Ninewa governorate, suggesting that the


       2  Harmony document NMEC-2010-186331 Trans, p. 2; see “ISIL, Syria and Iraq
       Resources,” 2015. Donations from wealthy individuals appear to have been a minor part of
       the ISI funding stream.




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       group developed an enduring revenue-generating infrastructure, simi-
       lar to the one detailed here.3
             This chapter lays out what we know about ISI’s revenue genera-
       tion. We first provide background on the financial data. We then move
       to revenues in Anbar and Ninewa governorates and then expenses in
       both governorates. We conclude with a brief discussion of finances in
       two other areas of Iraq.


       Data on AQI and ISI Financing

       Our analysis of AQI’s finances in Anbar governorate is based on two
       sets of documents relating to the administration of AQI in Anbar gov-
       ernorate in 2005 through 2006. The first set of documents is referred
       to as the “Travelstar” documents. Awakening forces found these when
       they raided the residence of Ala Daham Hanush in Julaybah, Iraq, on
       March 15, 2007. The hard drive of Hanush’s computer contained the
       documentation of AQI’s provincial administration of Anbar governor-
       ate from mid-2005 through the end of 2006. This unit of the orga-
       nization reviewed and regulated the activities of AQI in its different
       geographic sectors within Anbar governorate and provided money to
       these sectors when they needed financing. The master financial ledgers
       formed the basis of our analysis; these are aggregates of many of the
       1,200 files in the collection.
             The second set of documents was found in a ditch in the town of
       Tuzliyah in western Anbar in January 2007 by a U.S. Marine Corps
       unit that was patrolling the area. This set of nine documents contained
       financial records for AQI in Anbar’s “western” sector, from Septem-
       ber 2006 through mid-December 2006, including payrolls, records of
       equipment and supply purchases, and the flow of funds into and out of
       the sector. This western sector reported to the governorate administra-
       tion of Anbar. Both document sets show interaction between these two


       3  “Iraq: Al-Qaeda Extorting Businesses in Mosul,” Asharq al-Awsat, September 9, 2010; “Al
       Qaeda in Iraq Tightening Economic Grip on Mosul,” Albawaba Business, May 3, 2011; “In
       Iraq’s Mosul, Pay Qaeda Tax or Pay the Price,” Middle East Online, September 15, 2011.




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       distinct levels of AQI command, including financial transfers, memo-
       randa, and military and administrative reporting.
             Our analysis of ISI’s finances in Ninewa derives from a set of
       documents captured by coalition forces in a February 2009 raid that
       resulted in the detention of an ISI administrative emir operating in
       Ninewa—Ahmed Zayd.4 Data from these documents allow us to
       extend earlier RAND research on AQI’s financial activities in Anbar
       governorate during parts of 2005 and 2006 and cover a key period in
       the Iraq war, in general, and the Islamic State’s history, in particular
       (2008 and early 2009).
             Among the documents captured from Ahmed Zayd were two
       master ledgers—one tracking income and one tracking expenditures—
       containing transaction-level detail on ISI’s financial activities in the
       Mosul area. We exploit this detail to document patterns in ISI’s finan-
       cial transactions, revenues and revenue sources, and aggregate expen-
       ditures and what it was spending its money on.5 We built our data
       set from the transaction-level observations recorded in the documents.
       When dollar figures were used, we used the figures in the document.
       When dinar figures were used, we converted them to dollars at market
       exchange rates. Our totals by category and time period are different
       from the totals recorded in the documents. We do not have further
       information to explain these differences.



       4  It is possible that Ahmed Zayd was ISI’s administrative emir not only for Mosul but also
       for all Ninewa governorate or greater northern Iraq. We are unable to discern from the avail-
       able documents the full expanse of Ahmed Zayd’s jurisdiction. By the point when the docu-
       ments were captured, Mosul was the epicenter of ISI’s financial activities, making it compa-
       rable to the documents examined in this report from AQI’s stronghold in Anbar governorate.
       5   One notable difference in the document collections from Anbar and Ninewa is the length
       of time covered by transaction-level information. The Anbar data span a longer period
       than the Ninewa data. The Anbar documents include detailed financial data beginning on
       June 22, 2005, and ending on November 2, 2006, a total of 498 days, or approximately
       16 months. The Ninewa documents include detailed financial data from August 26, 2008,
       through January 29, 2009, a total of 157 days, or about five months. Together, the two time-
       series data span a total of 655 days, or roughly 21 months. We have data covering 16.33
       months for Anbar and 5.15 for Ninewa. We use these more-precise measures to compute
       monthly statistics.




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            We have a limited set of documents from two other locations.
       These locations are the al-Jazirah sector of Ninewa governorate and
       Baghdad. Although these documents cover only very short periods,
       they allow us to learn more about ISI’s financial activities elsewhere.


       ISI Provincial and Sector Revenues

       ISI’s leadership focused on raising revenue locally. The sources of
       income that senior leaders were quoted as seeking appear to have been
       the main sources of income for the group, according to data captured
       from AQI and ISI in Anbar and Ninewa governorates. The group’s
       records of its income and expenses typically came from its administra-
       tive emirs. In Anbar, the governorate revenues were tallied on two dif-
       ferent master sheets in the document collection. The first corresponds
       to the administrative period of Firas (June 2005 to May 2006), and the
       second corresponds to the administrative period of ‘Imad (May 2006
       through October 2006).6 As in earlier RAND research, we analyze
       these two periods separately because of a difference in the administra-
       tors’ accounting; the first broke out individual revenue transactions
       by their detailed descriptions, whereas the second used only the broad
       categories spoils and sales, donations, and transfers from the sectors.7
             In Ninewa, provincial revenues were tallied on a single master
       sheet. The sheet corresponds to Ahmed Zayd’s administration of the
       governorate from August 2008 through January 2009. Ahmed Zayd
       disaggregated individual revenue transactions into four broad cat-
       egories: contracting work, oil, real estate, and spoils. Other revenue-
       generating activities were filed as miscellaneous.




       6 The data include three transactions from November 1, 2006, and one from November 2,
       2006.
       7   Bahney, Shatz, et al., 2010, pp. 34–36.




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       AQI Revenues in Anbar Governorate

       The Anbar governorate administration collected revenue mostly from
       sales of stolen commercial goods and did not collect much revenue
       from black-market fuel sales, large-scale extortion, or direct taxation of
       the population. We present a more detailed profile of revenue collec-
       tion in two periods.

       AQI Revenues in Anbar Governorate, June 2005 Through May 2006
       From June 2005 to May 2006, AQI’s Anbar administration raised
       nearly $4.5 million, or roughly $373,000 per month. The group
       obtained roughly $2.3 million—more than 51 percent of its revenue—
       from selling what appear to be stolen goods, most of which were highly
       valuable capital items, such as construction equipment, generators, and
       electrical cables (Figure 8.1).8 In contrast to what has been suggested in
       much news reporting, the data do not support the claim that the group
       was largely financed by selling stolen oil or refined oil products, such
       as gasoline, since the revenue garnered from oil and these products
       appears to be small in the context of total group revenues at this level
       of administration (note that revenues from oil and refined oil products
       are not shown separately in Figure 8.1 but are instead a small portion of
       the stolen-goods entry in the figure).9 However, it is also entirely pos-
       sible that revenues from oil and refined oil products were included in
       one of the many Anbar AQI sectors for which we do not have data, or
       in the ledgers of the national AQI administration, which had a number
       of purported ministries and claimed to have a specific oil minister.10


       8  We assume that these goods were all stolen, as in some cases they are explicitly denoted as
       “booty” and in others they simply appear on the group’s balance sheets without any record
       of payment for them. It is also possible that goods that simply appear on the books were
       donated in Iraq or donated abroad.
       9 Richard A. Oppel, “Iraq’s Insurgency Runs on Stolen Oil Profits,” New York Times,
       March 16, 2008; Lennox Samuels, “Al Qaeda Nostra,” Newsweek, web exclusive, May 21,
       2008b.
       10 “Al-Furqan Media Wing Declares the Members of the Cabinet of the Islamic State of
       Iraq,” Al-Furqan Media Wing, April 19, 2007; also see Evan F. Kohlmann, State of the Sunni
       Insurgency in Iraq: August 2007, New York: The NEFA Foundation, 2007; “Oil Smuggler




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       Figure 8.1
       Sources of Revenue in Anbar Governorate, June 2005 Through May 2006


                                 2,600
                                 2,400                                                           51.4%
                                 2,200
                                 2,000
       U.S. dollars, thousands




                                 1,800
                                 1,600
                                 1,400
                                 1,200
                                 1,000                                             20.7%
                                   800
                                   600                 10.6%         12.2%
                                   400
                                           5.2%
                                   200
                                     0
                                         Donations     Car sales      Spoils        Sector       Stolen
                                                                                  transfers      goods
         SOURCE: Harmony batch Ala Daham Hanush; see “ISIL, Syria and Iraq
         Resources,” 2015.
         NOTES: These amounts ran through late May, when a new governorate administrator
         took over. Percentages do not sum to 100 because of rounding.
         RAND RR1192-8.1




             AQI’s Anbar governorate administration also collected a substan-
       tial amount of revenue that was raised by the sectors and transferred
       to the center, constituting approximately 21 percent of the governorate
       administration’s total revenues. This indicates that each sector had its
       own revenue-generating activities, and it appears that the sectors with
       excess cash on hand were expected to pass funds up to the governorate
       administrator.
             Car sales and spoils each constituted between 10 and 12 percent
       of the Anbar provincial revenues. Spoils are the goods and other prop-
       erty taken with violence from those whom AQI designated as infi-
       dels and as apostates by the group’s Islamic law section. We believe
       that these people encompass the Iraqi Shia population, other religious


       and Al Qaida Supplier Arrested in Bayji,” Al Mashriq Newspaper, November 22, 2007; and
       P. Williams, 2009.




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       minorities, and Iraqis associated with the Iraqi government. Explicit
       donations accounted for only about 5 percent of total revenues.

       AQI Revenues in Anbar Governorate, June Through November 2006
       From June to November 2006, the governorate administrative unit
       dramatically increased its revenues, making $4.3 million over the
       period, or $860,000 per month (Figure 8.2). The group realized this
       dramatic uptick in revenue—from $373,000 a month to $860,000—
       through an increase in all revenue streams except transfers from sec-
       tors, which declined substantially. Revenue from spoils and from sales
       (both cars and stolen goods) increased disproportionately. Spoils and
       sales increased from 73 percent of revenues in the earlier period to
       93 percent in the later period, whereas transfers from sectors decreased
       as a share of total revenues.
             The financing of the western sector was similar to that of Anbar
       governorate as a whole. In the western sector, AQI funded itself

       Figure 8.2
       Composition of Revenue, June 2006 Through November 2006


                                 4,000

                                 3,500

                                 3,000
       U.S. dollars, thousands




                                 2,500

                                 2,000

                                 1,500

                                 1,000

                                  500

                                    0
                                                Donations              Sector    Spoils, looting,
                                                                     transfers     and sales
         SOURCE: Harmony batch ALA DAHAM HANUSH; see “ISIL, Syria and Iraq
         Resources,” 2015.
         NOTE: These amounts actually started in late May, when a new provincial
         administrator took over.
         RAND RR1192-8.2




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       through the sale of cars and lesser-valued commercial goods. The west-
       ern group focused on taking spoils and booty from those whom the
       group deemed to be infidels and apostates, following AQI ideology
       in strict, exploitative terms. As noted, spoils are taken with violence.
       In contrast, booty includes the goods and other property taken from
       people without a fight.
             The AQI financing model can be characterized as local, religiously
       radical, and politically destabilizing. It encompassed vigorous indepen-
       dence (specifically, focusing on local financing), exploitation based
       on radical religious beliefs, sensitivity to the perception of the average
       Sunni, and an explicit attempt to subvert the power of a number of
       key tribes. Another noteworthy aspect of AQI’s revenue activity was
       the demarcation of revenues being collected by “spoils groups.” This
       notation may indicate that AQI had specifically designated units for
       extortion and theft.11 Even though AQI viewed the taking of spoils as
       entirely legitimate, this activity was clearly extortion or theft under-
       taken by either this activity was clearly extortion or theft undertaken
       by either AQI members or criminal elements that were co-opted by
       AQI and, as noted in press reporting, was perceived as such by much
       of the population.
             Revenues were commonly generated by units that were directly
       administered by the sectors, although large revenue streams seemed
       to pass directly to the Anbar administration. This could mean that
       the Anbar administrator had business assets that operated within the
       sectors or that sector assets were passed up to the governorate admin-
       istration by rule. Although we do not know which of these occurred,
       it seems likely that sector-based groups passed large revenue streams to
       the governorate administration, because the higher administrative unit
       had clear bureaucratic precedence in many other ways.
             Although AQI in Anbar generated an average of $138,600 in
       weekly revenue, the group’s weekly take fluctuated, and it could not

       11 There is historical precedent for specialized revenue-generation units. A “Staff Report”
       captured in 1977 detailed reorganization plans for the Provisional IRA. The report advo-
       cated forming specialized units, including one that would conduct robberies to raise group
       funds. The report is reproduced in Tim Pat Coogan, I.R.A., 5th ed., London: HarperCollins,
       2000.




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       count on a consistent weekly funding stream (Figure 8.3). In mid-
       November 2005, the administrator had reported weekly revenues
       amounting to only $150. However, in the following week, he reported
       revenues of well above $100,000, which demonstrates the dramatic
       short-term fluctuations in AQI’s revenues.
             Income booms came more often than busts for AQI in Anbar.
       AQI recorded more than $700,000 in weekly revenues twice during
       the 15-plus months covered by the records and more than $580,000
       in two additional weeks. Overall, AQI Anbar’s median weekly revenue
       was $97,740, demonstrating that the group was able to consistently
       raise substantial funds, despite the occasional short-lived dry spells.
       The rate at which AQI was able to raise funds increased substantially
       over time. From June 2005 to December 2005, AQI’s median weekly


       Figure 8.3
       AQI’s Weekly Revenue in Anbar Governorate, June 2005 Through October
       2006

                                  800

                                  700

                                  600
        U.S. dollars, thousands




                                  500

                                  400

                                  300

                                  200

                                  100

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          SOURCES: Harmony documents NMEC-2007-633809 and NMEC-2007-633893-HT;
          see “ISIL, Syria and Iraq Resources,” 2015.
          NOTE: The data include one observation of $64,770 from November 1, 2006.
          RAND RR1192-8.3




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       revenue was $56,900. From January 2006 to December 2006, the
       group reported median weekly revenues of $102,960.12
            If we look at our data broken down into three roughly equal
       periods—the first from mid-June 2005 through the end of December
       2005, the second from January 2006 to May 2006, and the third from
       June 2006 to October 2006—AQI was able to raise progressively more
       money as time passed, from a median weekly rate of $56,900 from
       June 2005 to December 2005, to $73,983 from January 2006 to May
       2006, and to $150,898 from June 2006 to October 2006.

       Changes in Revenue-Generating Activities over Time
       Stolen goods played a prominent role in AQI’s revenue-generating
       activities in Anbar throughout the period for which we have data
       (Figure 8.4). In June 2005, most provincial revenues came from sector
       transfers, and these continued to be important in mid to late 2006.
       However, throughout the period, stolen goods were far more important.
       This is clear in the period when Firas was administrative emir, through
       May 2006; he categorized stolen goods separately. ‘Imad, whose first
       full month was June 2006, wrapped stolen-goods revenues into a more
       general category of “looting and sales section.” It is unlikely that spoils
       alone would have jumped that much between the 12 months from June
       2005 to May 2006 and the five months from June 2006 to October
       2006 (which includes one observation of $64,770 from November 1,
       2006), so most of the revenue in that category must have been from
       sales of stolen goods.


       ISI Revenues in Ninewa

       From late August 2008 through January 2009, AQI’s Ninewa admin-
       istration, including the key city of Mosul, recorded $4,820,090 in
       revenues, or roughly $964,000 per month. The group obtained about
       $1.87 million—almost 39 percent of its revenue—from oil-related

       12 The weekly means for these periods were $107,743 and $154,385, respectively. The means
       are influenced by outlier observations, so they differ from the median calculations.




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       Figure 8.4
       AQI’s Monthly Revenue in Anbar Governorate, by Type, June 2005 Through
       October 2006


                                  1,400
                                                 Car sales
                                                 Donations
                                  1,200          Sector transfers
                                                 Spoils
                                                 Stolen goods
                                  1,000
        U.S. dollars, thousands




                                   800



                                   600



                                   400



                                   200



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        SOURCES: Harmony documents NMEC-2007-633809 and NMEC-2007-633893-HT;
        see “ISIL, Syria and Iraq Resources,” 2015.
        NOTES: There is a break in the series between May 2006 and June 2006. Starting in
        June, no proceeds of stolen goods were recorded. Such sales continued, but they
        were wrapped into a new “looting and sales” category by the new administrative
        emir. Data for October 2006 include one observation from November 1, 2006.
        RAND RR1192-8.4




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       activities, such as gas stations and fuel-trucking companies that it set
       up in Ninewa governorate and elsewhere (Figure 8.5).13 In many cases,
       these gas stations were likely fake, set up to gain rights to fuel ship-
       ments.14 The group also exploited the Mosul area’s ripe smuggling envi-
       ronment to resell hijacked fuels, including gasoline, cooking gas, and
       diesel.15
             ISI became more involved in other organized criminal activi-
       ties in Mosul as well. The group’s second-largest revenue source from
       August 2008 to January 2009 was contracting work—the extortion of
       contracted projects in and around Mosul—from which it brought in
       $1.83 million over the five-month period (37.9 percent of its revenue
       during that time). These schemes involved extorting hundreds of thou-

       Figure 8.5
       Sources of Revenue in Ninewa Governorate, Late August 2008 Through
       January 2009


                                  2,000
                                  1,800
                                  1,600
        U.S. dollars, thousands




                                  1,400
                                  1,200
                                  1,000
                                   800
                                   600
                                   400
                                   200
                                     0
                                          Miscellaneous    Real      Contracting      Spoils         Oil
                                                          estate        work
        SOURCE: Harmony document NMEC-2009-634823; see “ISIL, Syria and Iraq
        Resources,” 2015.
        RAND RR1192-8.5




       13 P. Williams, 2009, pp. 231–232.

       14 P. Williams, 2009.

       15 Knights, 2008a, p. 3.




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       sands of dollars from businesses in the area, including soft-drink man-
       ufacturers, mobile-phone companies, and flour and cement factories.
       In real estate, ISI reportedly stole some 26 ledgers containing the deeds
       to almost $90 million worth of property and resold at least some of it.16
             ISI intimidated or co-opted firms under contract to conduct
       reconstruction activities in the Mosul area, typically demanding 10
       to 20 percent of a contract’s value, in exchange for protection. The
       transactions recorded in Ahmed Zayd’s ledgers show a diverse criminal
       enterprise. For example, on September 3, 2008, ISI recorded a $50,000
       credit obtained through the extortion of a firm under contract to pave
       local roads. On the same day, ISI recorded another credit of almost
       $100,000, which was obtained through the extortion of a contractor
       implementing a water project in western Mosul. A little more than a
       week later, on September 12, Ahmed Zayd recorded ISI’s largest “con-
       tracting work” windfall in the five-month period—a $160,000 pay-
       ment from a mobile-phone operator in Iraq.17 Interestingly, Ahmed
       Zayd’s notes indicate that the mobile-phone company still had a bal-
       ance of $40,000, suggesting that the company paid ISI $200,000 per
       month to operate in northern Iraq. Consistent with this hypothesis,
       Ahmed Zayd’s records show two $100,000 payments from the com-
       pany the following month, on October 9 and 12. The company made
       the latter payment exactly one month to the day after its $160,000
       payment, providing further evidence that the company paid ISI a large
       standard fee each month to continue operating in the region.18


       16 Knights, 2008a, p. 3. It remains unclear precisely when, or for how much, ISI resold the
       deeds. From September 2008 to January 2009, ISI’s Mosul administrator attributed only
       $134,361 of ISI revenues to real estate. However, it is possible that he categorized some of
       this revenue as “spoils” or “miscellaneous.”
       17 Harmony document NMEC-2009-634823; see “ISIL, Syria and Iraq Resources,” 2015.

       18 Over time, relations between the mobile company and ISI became strained. By February
       2009, ISI accused the company, Asiacell, of cooperating with the United States to collect
       technical intelligence that threatened to compromise ISI operatives and activities. By March,
       ISI’s media wing issued a printed declaration that read: “After taking this to our legislative
       group, we have decided to apply the rule of Allah to them. We will kill whoever works for
       them, and we will strike their offices and towers” (Daniel W. Smith, “Asiacell Targetted by
       ‘Islamic State of Iraq’: Attacks/Claims of Government Surveillance Target Popular Mobile




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             In exploiting Ninewa’s contracting environment, ISI did not
       always act alone. Documents seized from the compound of the ISI’s
       two top leaders, Abu Ayyub al-Masri and Abu Umar al-Baghdadi,
       reveal instances of high-dollar collusion between ISI and certain Iraqi
       government officials.
             One instance was a scheme that involved two senior ISI opera-
       tives identified by their pseudonyms, Abu Ahmad and Abu Layth, who
       established good relations with numerous Iraqi government officials,
       including a high-level provincial official, a senior Iraqi government offi-
       cial, and the office director of another senior Iraqi government official.
       According to the documents, these officials agreed to deal with ISI
       and to provide assistance to the group, on the condition that this assis-
       tance would benefit Mosul. For example, ISI positioned itself to exploit
       contracts for various construction projects in and around Mosul. Abu
       Layth was appointed as a representative and deputy for one of the senior
       governing officials in the chairmanship of a governing council for the
       reconstruction of Mosul. Abu Ahmad was appointed to Ninewa’s mail
       and communications directorate. Under the auspices of the directorate,
       he initiated a project to erect a building, which would have provided
       ISI with 4.9 billion Iraqi dinars skimmed from the contract.19 Docu-
       ments also contain a list of a number of large projects with costs vary-
       ing from 8 billion Iraqi dinars to 40 billion Iraqi dinars, which could
       have provided an opportunity for ISI to secure its funding.
             The large-scale extraction of revenue from the country’s oil and
       contracting industries marked a significant change from AQI’s revenue-
       generating activities in Anbar, as did the group’s revenue stream from
       real estate, which yielded about $134,000, or 2.8 percent of its total
       recorded revenue from Ninewa (Table 8.1).
             As in Anbar, spoils remained a lucrative source of revenue for ISI
       in Ninewa, bringing in more than $950,000. And as in Anbar, where

       Company,” Iraq Slogger, March 23, 2009). Smith’s article includes a link to the ISI declara-
       tion (in Arabic).
       19 Harmony document NMEC-2010-186334; see “ISIL, Syria and Iraq Resources,” 2015.
       For a discussion about what this might mean for the fight against the Islamic State, see Ben-
       jamin Bahney, Patrick B. Johnston, and Patrick Ryan, “The Enemy You Know and the Ally
       You Don’t,” Foreign Policy, June 23, 2015.




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                Table 8.1
                Ninewa Revenue, by Type, August 2008 Through January 2009

                                            Total Revenue       Share of Revenue
                Category                       (U.S. $)                (%)

                Contracting work              1,826,544                37.9

                Miscellaneous                      41,464               0.9

                Oil                           1,866,593                38.7

                Real estate                       134,362               2.8

                Spoils                            951,128              19.7

                Total                         4,820,090               100.0

                SOURCE: Harmony document NMEC-2009-634823; see “ISIL, Syria and
                Iraq Resources,” 2015.
                NOTE: The data run from August 29, 2008, to January 29, 2009.


       donations accounted for only 5 percent of AQI’s total revenues, dona-
       tions still composed a very small portion of ISI’s revenues, accord-
       ing to an ISI official in Mosul, writing later in the war. As Table 8.1
       shows, donations were not significant enough to be coded as a sepa-
       rate revenue category.20 Other Ninewa revenue-generating transac-
       tions, labeled “miscellaneous,” amounted to the lowest amount of
       any of the categories defined by ISI, at $41,464—less than 1 percent
       of ISI’s total revenue from August 2008 through January 2009.
             As in the Anbar documents, the ISI Mosul documents reveal that
       the group’s week-to-week revenues fluctuated considerably. ISI Mosul’s
       average weekly revenue was almost $210,000 (Figure 8.6). However,
       on average, ISI Mosul brought in more money at the beginning of
       the period that the records cover, and less over time. ISI Mosul’s rev-
       enues dropped from $1.31 million in September 2008 ($1.51 million
       including the end of August) to only $506,000 in November 2008 and
       $572,000 in December 2008, before sharply increasing to $1.32 mil-
       lion in January 2009, the last month included in the documents. The
       Mosul administrator recorded one transaction for more than $652,000

       20 Harmony document NMEC-2009-634823 Trans; see “ISIL, Syria and Iraq Resources,”
       2015.




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       Figure 8.6
       ISI’s Weekly Revenue in Ninewa Governorate, August 2008 Through
       January 2009


                      800,000

                      700,000

                      600,000

                      500,000
       U.S. dollars




                      400,000

                      300,000

                      200,000

                      100,000

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                                                                             First day of week
        SOURCE: Harmony document NMEC-2009-634823; see “ISIL, Syria and Iraq
        Resources,” 2015.
        NOTES: We calculated weeks as starting on Saturday and ending on Friday. The first
        week starts on August 23, 2008, but has revenue only for August 29. The last week
        starts on January 24, 2009, and has revenue through January 29, 2009.
        RAND RR1192-8.6




       on January 1, 2009, which was attributed to “spoils from al-Ayman.”21
       This is by far the largest revenue-generating transaction recorded by
       ISI in either set of documents. The next-largest revenue transaction
       recorded was for $160,000, on September 12, 2008, categorized under
       contracting work and described as “revenues from Asia.”22 If the out-


       21 Al-Ayman denotes West, indicating that the spoils had been looted from western Mosul
       (Harmony document NMEC-2009-634823 Trans; see “ISIL, Syria and Iraq Resources,”
       2015).
       22 Harmony document NMEC-2009-634823 Trans; see “ISIL, Syria and Iraq Resources,”
       2015. These revenues were likely from the Asiacell mobile-phone company, which ISI was




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       lier transaction for $652,000 is removed, ISI Mosul’s January revenue
       would have amounted to $665,323, which would have been well below
       the revenue generated in both September and October 2008.
              The bulk of ISI’s monthly revenue came from the oil sector and
       extorting local contract work (Figure 8.7). These dominant positions
       remained fairly constant over the five months the documents cover,
       with the exception of January 2009, when revenues from spoils com-
       posed a substantially larger share of AQI’s revenues than they had
       during the previous months, largely because of the $652,000 looted in
       western Mosul in early January.
              One important trend is the declining share of ISI’s Ninewa rev-
       enues obtained from extorting contractors. Contractor extortion was
       Figure 8.7
       ISI Monthly Revenue in Ninewa Governorate, by Type



        September 2008


           October 2008
                                                                            Oil
                                                                            Contracting work
        November 2008                                                       Spoils
                                                                            Real estate
        December 2008                                                       Miscellaneous


            January 2009


                           0    200     400        600     800     1,000    1,200   1,400   1,600
                                                  U.S. dollars, thousands
        SOURCE: Harmony document NMEC-2009-634823); see “ISIL, Syria and Iraq
        Resources,” 2015.
        NOTE: September 2008 includes $181,000 from August 29, 2008, through
        August 31, 2008.
        RAND RR1192-8.7




       known to extort. See, for example, Jamal al-Badrani and Jim Loney, “Asiacell Building
       Bombed in Iraq City of Mosul,” Reuters, February 3, 2012.




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       the largest source of ISI revenue in September 2008 (49.8 percent, but
       44.8 percent if $181,000 in total revenue from the end of August is
       included) but diminished significantly from October 2008 (41.5 per-
       cent) through January 2009 (18.9 percent). This decline—from almost
       $662,000 in September ($676,000 including the end of August) to
       $249,000 in January—amounted to a 62-percent decrease in revenue
       from extorting contractors (63 percent including the end of August).
       The decrease in ISI contracting revenue was notably steep in October
       and November 2008, after the ISI deputy Abu Qaswarah was killed.
       Revenues from extorting contracted projects dropped from Septem-
       ber to October by more than $280,000, a 43-percent decrease in the
       month of Abu Qaswarah’s death and a 68-percent decrease from Sep-
       tember to November. Abu Qaswarah was known as one of ISI’s sav-
       viest operatives at financing and administration, and he was ISI’s top
       leader in northern Iraq at the time of his death.23 August 2009 corre-
       spondence from a high-level ISI operative to Abu Ayyub al-Masri and
       Abu Umar al-Baghdadi revealed that Abu Qaswarah’s previous deputy,
       who assumed some of his duties after Abu Qaswarah was killed, had
       hatched a plot to infiltrate the Iraqi government to divert funding from
       it to ISI, suggesting that while Abu Qaswarah’s death might have had a
       relatively short-lived impact on ISI’s fundraising activities, his replace-
       ment was able to successfully facilitate complex, risky schemes that had
       lucrative payoffs.24
              As with its revenue from extorting contracted projects in the
       Mosul area, ISI’s oil-related revenue declined between September 2008
       and January 2009, from a peak of more than a half-million dollars
       in October to $321,000 in January. ISI’s oil revenue fluctuated nota-
       bly over time. Its reported oil revenue in September 2008—the first

       23 “AQI’s Swedish emir,” Jane’s Terrorism and Security Monitor, October 27, 2008. See Abu
       Umar al-Baghdadi, “Eulogy for the Martyr, Abu Qaswarah al Maghribi,” English transla-
       tion, October 2008.
       24 The letter seized from al-Masri and al-Baghdadi’s hideout was dated August 7, 2009—
       more than ten months after Abu Qaswarah was killed—explaining how Abu Qaswarah’s
       deputy had instructed the author’s group to infiltrate the Iraqi government administratively
       to direct some of the financial and economic decisions toward the interest of the Islamic State
       (Harmony document NMEC-2010-186334; see “ISIL, Syria and Iraq Resources,” 2015).




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       full month for which we have data—was $371,000 ($497,000 includ-
       ing the end of August). Its October oil revenues spiked to more than
       $532,000, but then decreased 59 percent by December, to approxi-
       mately $218,000, before increasing in January 2009 to $321,000, a
       13-percent decrease from ISI’s September oil revenue.
             ISI’s capture of spoils-related revenue fluctuated even more dramat-
       ically. In September 2008, Ahmed Zayd recorded just under $235,000
       in spoils revenue, followed by three months with almost none.25 In
       January, he recorded more than $715,000 in spoils revenue—more
       than twice that of ISI’s next-largest source that month, oil, and almost
       $150,000 more than oil and contractor extortion combined, its normal
       top-two revenue categories.26
             ISI’s revenues did not grow linearly (Figure 8.8). Rather, the rev-
       enues fluctuated dramatically week to week. Revenues also fluctuated
       day to day, although the differences were not dramatic, and there was
       no obvious collection day.


       Internal Financing Strategy

       One of our most notable findings about ISI’s fundraising in both
       Anbar and Ninewa governorates is a nonfinding: There is no evidence
       in any of the documents we analyze that private donors or foreign
       states played any meaningful role in financing ISI. This fact is borne
       out not only in the group’s actual financial records. Documents out-

       25 Ahmed Zayd reported $1,389 in spoils revenue in October 2008 and none in Novem-
       ber and December (Harmony document NMEC-2009-634823; see “ISIL, Syria and Iraq
       Resources,” 2015).
       26 Nearly all of ISI’s January 2009 spoils revenue was received in a single transaction, dated
       January 1, 2009, in which the ISI administrator recorded a credit of 939,000,000 Iraqi
       dinars (approximately $652,000 at 2009 exchange rates), attributed to “security,” for “spoils
       from al-Ayman” (western Mosul). Incidentally, January 1, 2009, was the same day that the
       Iraqi government assumed formal control from the United States of Baghdad’s Green Zone.
       There is no evidence in the document suggesting that the two events were related. It is more
       likely that these spoils were obtained in violence targeting the local Christian and Shia popu-
       lations in the run-up to the January 31, 2009, governorate elections. See Timothy Williams,
       “Attacks Occur as Iraq Takes Control of Key Sites,” New York Times, January 1, 2009.




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       Figure 8.8
       Weekly Changes in ISI Total Revenue in Mosul, Top Two Categories, August
       29, 2008, Through January 29, 2009


                          Average
                          Weekly
           Revenue        Revenue
             Type          (U.S. $)                       Weekly Trend


         Contracting
                           70,308
            work



               Oil         81,156



        SOURCE: Harmony document NMEC-2009-634823; see “ISIL, Syria and Iraq
        Resources,” 2015.
        NOTES: The third column presents data points showing the change in revenue from
        week to week, starting from August 29, 2008, through January 29, 2009. The first
        week runs from August 23, 2008, through August 29, 2008, but includes data from
        only August 29, 2008. The last week runs from January 24, 2009, through January 30,
        2009, but has data ending on January 29, 2009.
        RAND RR1192-8.8




       lining the group’s strategy and recording “lessons learned” make clear
       that remaining financially self-sufficient was part of the group’s strat-
       egy to remain resilient in the face of the challenges it had encountered
       and anticipated facing in the future. ISI strategists emphasized self-
       financing as a way to remain independent from the political whims of
       foreign patrons, who, in other cases, had stopped sending money to
       other jihadist groups, leaving them vulnerable to military attacks and
       internal collapse.
             In a lengthy assessment of ISI economic strengths and weak-
       nesses, one of the group’s strategic thinkers wrote:

               The second economical issue that I would like to mention is to
               rely on only one source of financing and having in the same time
               a bad management of financing. We have noticed that many of
               the groups like the Lebanese Allat Group and the Islamic Army
               in Iraq base their financing on some countries represented by
               some well-known political or religious figures. These individuals




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             are properly guided by the intelligence services of that country,
             which finances these groups for malicious political reasons which
             usually end by infiltrating these fighting groups and imposing
             conditions and restrictions on their leaders leading to its destruc-
             tion. Pay close attention to this issue and be aware of the proverb
             “Make your dog hungry and he will follow you.”27

             The document’s author then went on, however, to emphasize the
       importance of the group’s management of funds, suggesting a rationale
       for a pattern of ISI’s reimbursement of its members’ expenses instead
       of providing funds up-front for anticipated expenses, suggesting that
       ISI leaders and administrators recognized potential limitations in their
       fundraising strategy:

             The third economical issue is bad economic management espe-
             cially when there are many demands from the fighters for money
             from the Emirs and ignoring any efforts for self-sufficiency.
             Brothers start asking for many unnecessary things like soda bev-
             erages, clothes and many other things that the brother wouldn’t
             think about buying it if the money had to come from his pocket.
             In addition, these bargains are usually neglected and thrown here
             and there.28

       We examine this strategy of reimbursement in the next chapter.
            ISI was not alone among jihadi groups in recognizing the value of
       internal fundraising. In a lessons-learned document about the Muslim
       Brotherhood violence and uprising in Syria from 1976 to 1982, the
       writer notes:

             The inside field commanders may have been the 1st. to think of a
             strategic plan, but their fatal mistake was their dependence on the
             outside for financing, resources and support; this got things out
             of their control and [will] lead to their destruction.29


       27 Harmony document NMEC-2008-612449, “Analysis of the State of ISI,” n.d., p. 23.

       28 Harmony document NMEC-2008-612449, “Analysis of the State of ISI,” n.d., p. 23.

       29 Harmony document AFGP-2002-600080; see “ISIL, Syria and Iraq Resources,” 2015.




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       This document, recovered in Afghanistan, was attributed to the Syrian
       jihadist Abu Mus‘ab al-Suri, an al-Qa‘ida strategist.30


       ISI Expenditures and Funding of Subsidiary Units

       AQI in Anbar and ISI in Ninewa spent nearly as much money as they
       made (Figure 8.9). The overall amounts for Anbar are higher than
       Ninewa because of the longer time for which revenue and expenditures
       data were available (16 months for Anbar, five months for Ninewa).
       Even though the group collected slightly more money than it spent in
       both governorates, clearly neither AQI in Anbar nor ISI in Ninewa was
       able to amass a substantial funding surplus, as the Islamic State has
       reportedly been able to do in Iraq and Syria from 2013 to 2014.31

       Figure 8.9
       Total Revenue and Expenditures in Anbar and Ninewa Governorates


                       10,000,000
                        9,000,000                                                          Revenues
                        8,000,000                                                          Expenses

                        7,000,000
        U.S. dollars




                        6,000,000
                        5,000,000
                        4,000,000
                        3,000,000
                        2,000,000
                        1,000,000
                               0
                                                     Anbar                      Ninewa
         NOTES: The Anbar data span from June 2005 to October 2006 (but include three
         transactions from November 1, 2006, and one from November 2, 2006). The Ninewa
         data cover September 2008 through January 2009.
         RAND RR1192-8.9




       30 Forest, Brachman, and Felter, 2006, p. 25.

       31 See, e.g., Johnston and Bahney, 2014b.




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             A comparison of the Anbar and Ninewa provincial emirs’ docu-
       ments shows an organization adapting in the face of pressure. In Anbar,
       spending at the level of the governorate administrator was focused on
       operational expenses, consistent with a desire to maintain a high opera-
       tional tempo and a well-articulated organization. The Tuzliyah docu-
       ments from the western sector of Anbar show that sectors maintained
       personnel rosters and distributed payroll. In Ninewa, in late 2008 and
       2009, in contrast, such nonmilitary costs as payroll and medical costs
       appear to have been centralized at the governorate level and consumed
       the bulk of the group’s budget, consistent with a group retreating in
       the face of more than two years of intense pressure by coalition forces,
       ISF, and Awakening forces and accumulating legacy costs over time.
       This section outlines the differences between Anbar and Ninewa in
       more detail.

       Anbar Governorate
       AQI’s Anbar administrator funded a multitude of affiliated units;
       in particular, he sent more than 50 percent of his funds to the six
       subsidiary sector-level administrators (Figure 8.10). The governor-
       ate administrative section used 11 percent of total spending to fund
       administrative operations. In comparison, direct military activities—
       constituting an attached military battalion and a military procure-
       ment section—received only 10 percent of the group’s spending. An
       entity called the General Treasury received 9 percent of total revenue.
       The General Treasury might have been a shared fund for AQI’s senior
       leaders or al-Qa‘ida outside Iraq.32 We discuss this further in the next
       chapter. Returning to Anbar expenses, interestingly, payroll and medi-
       cal expenses constituted only 5 percent of spending at the governorate
       level, while the other administrative subsections, such as legal and mail,


       32 The Anbar AQI documents we examined give no further clues as to the purpose of the
       General Treasury. However, more information may exist in the document set. On possible
       payments to al-Qa’ida’s core leadership in Pakistan, see Ayman al-Zawahiri’s July 2005 letter
       to al-Zarqawi, in which al-Zawahiri writes that he heard about AQI’s interest in sending
       funding to support al-Qa‘ida in Pakistan. Office of the Director of National Intelligence,
       2005.




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       Figure 8.10
       Composition of Expenditures by AQI in Anbar Governorate, May 2005
       Through October 2006


                                 5,000
                                 4,500
                                 4,000
       U.S. dollars, thousands




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         SOURCE: Harmony batch ALA DAHAM HANUSH; see “ISIL, Syria and Iraq
         Resources,” 2015.
         NOTE: Expenses also include two transactions on November 1, 2006, and one
         on November 2, 2006.
         RAND RR1192-8.10




       received less than 1 percent of the total budget.33 This suggests a lean
       central administration with extensive delegation to sector authorities.
             The sectors that were farthest from the western border and simul-
       taneously most central to AQI’s operations, Fallujah and Ramadi,
       received the most in net money transfers. The group generated most of
       its revenues away from the cities where it focused its operations. This
       geographic separation could be explained by illicit trade and large-scale
       theft being most profitable in rural areas along smuggling routes or by
       a strategic decision to keep its unpopular revenue-generating opera-
       tions away from the scrutiny of most of the Anbar public.


       33 Bahney, Shatz, et al., 2010, pp. 39–43.




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             The governorate administration functioned as both a unit of
       financial oversight and financial facilitation, enabling high levels of
       operational tempo across large geographic areas by sharing revenue
       streams. The governorate administration did so by moving funding
       from sectors that raised more revenue relative to their expenses to those
       that raised less, as well as managing large revenue streams that other-
       wise might not have been contributed to a shared pool.
             By analyzing the funding flows to the sectors, we find that the
       monthly transfers to the different sectors largely rose and fell in unison,
       again with the exception of Ramadi and Fallujah. As revenues increased
       after May 2006, nonsector spending increased disproportionately. Such
       an increase may indicate that the administrative emir preferred to send
       excess funding to units that he directly controlled, which might have
       increased his power relative to the sectors or relative to other governor-
       ate administrators. This increase appears in the Anbar-level funding to
       military, administration, and payrolls, as opposed to financial flows to
       sectors for the sectors to distribute.
             The administrator exhibited a strong, consistent preference to
       move money rather than hold it. He sent extremely large amounts on
       the same day he received them, usually to the governorate administra-
       tive units, the local military wing, or the General Treasury. The Anbar
       administrator kept only between $25,000 and $250,000 in cash on
       hand throughout the period, and he transferred large excess revenues
       to the General Treasury. The Anbar administrative emir transferred a
       net sum of $390,000 to the General Treasury over the entire period,
       which leads us to believe that Anbar was a net contributor to AQI
       nationally or perhaps to al-Qa‘ida central during this period. The fact
       that the Anbar administrative emir transferred funds to such far-flung
       places as Mosul, the border sections, and Basra bolsters the argument
       that Anbar was a highly profitable locale for AQI.
             The data allow us to analyze AQI at the peak of its power in
       Anbar in mid-2006 and during its change to ISI. The administrative
       emir added the sectors of Rutbah, Ta‘mim, and Fallujah in May 2006,
       when the group’s revenue streams were markedly increasing, adding to
       the extant sectors of Ramadi, Awsat, and Gharbiyah. The documents
       also show the reaction of the administration to the adversity it faced



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       when the Awakening organized and attacked AQI in Ramadi in late
       September and early October 2006. During this period, the governor-
       ate administration provided increased funding to the Ramadi sector,
       where coalition forces were also conducting intensive military opera-
       tions against AQI. On October 16, 2006, the administrator eliminated
       the Ta‘mim, Fallujah, and Rutbah sectors from his ledgers and renum-
       bered those that remained. The three eliminated sectors provided less
       than 5 percent of the provincial administration’s revenues over the
       period. Accordingly, we believe that this action indicates a choice
       by the administrative leaders to consolidate the areas being funded
       by AQI’s higher leaders because of the intense fighting taking place
       against Awakening forces. This type of strategic decisionmaking by
       AQI’s administration would have been possible only through a man-
       aged, hierarchical organization. However, it is also the case that AQI
       leaders established ISI on October 15, 2006, and this might have been
       accompanied by administrative changes mandated by ISI’s senior lead-
       ers. It cannot be discerned from the available data whether the change
       in the sectors was due to fighting Awakening forces or new rules stem-
       ming from the creation of ISI.

       Temporal Trends in AQI Expenditures
       AQI’s weekly expenditures followed a fairly steady longer-term trend
       from mid-2005 through late 2006, although with short-term volatil-
       ity (Figure 8.11). Spending spiked in spring 2006, then declined to
       roughly its previous level, before increasing again markedly in July and
       August 2006 before declining again in fall 2006. Despite this decline,
       however, spending leveled out at a higher weekly rate than that at
       which the group had spent its money in 2005.
             Over this time, AQI’s overall spending fluctuated, and so did the
       types of goods and services on which it spent money (Figure 8.12).
       Transfers to sectors within Anbar governorate always constituted a large
       portion of provincial expenditures. Beyond those, from June through
       October 2005, the group spent more on military-related expenditures
       than on any other category of expense, except for sector transfers. Over
       time, AQI began spending proportionally more on support functions
       and transfers and less on military-related items. From November 2005



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       Figure 8.11
       AQI’s Weekly Expenditures in Anbar Governorate, June 2005 Through
       October 2006


                                  900
                                  800

                                  700
        U.S. dollars, thousands




                                  600

                                  500

                                  400

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          SOURCES: Harmony documents NMEC-2007-633809 and NMEC-2007-633893-HT; see
          “ISIL, Syria and Iraq Resources,” 2015.
          NOTE: Expenses also include two transactions on November 1, 2006, and one
          on November 2, 2006.
          RAND RR1192-8.11




       through October 2006, administrative expenses outstripped military
       in eight of the 12 months. When AQI’s expenditures increased dra-
       matically in July and August 2006 to a combined total of $2.5 million
       in those two months, more than $1 million of those expenditures were
       transfers to subsidiary units in its local Anbar sectors and $550,000 was
       to the General Treasury, likely AQI leadership. Military expenditures
       were also higher those months, outstripping administrative expenses
       and hitting a peak of $156,000 in August 2006.

       Ninewa Governorate
       In Ninewa, by contrast, there was little evidence that the governorate
       administrative emir funded sector-level subsidiary units in the same
       fashion as the Anbar administrator. The Ninewa administrator spent,



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       Figure 8.12
       AQI’s Anbar Expenditures over Time, June 2005 Through October 2006


                                  1,400



                                  1,200



                                  1,000
        U.S. dollars, thousands




                                   800



                                   600



                                   400



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                                    Miscellaneous                     Mail                       Military
                                    Mujahidin shura council           Payrolls and medical       Administrative
                                    Legal                             Funding to borders         Sector transfers
                                    The South                         Security
                                    Media                             General Treasury

        SOURCES: Harmony documents NMEC-2007-633809 and NMEC-2007-633893-HT; see
        “ISIL, Syria and Iraq Resources,” 2015.
        NOTE: October 2006 expenses include two transactions on November 1, 2006, and
        one on November 2, 2006, totaling $41,000.
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       by far, the largest percentage on “allowances and leases,” at 38.5 per-
       cent (Figure 8.13). This spending was to compensate ISI members and
       provide for their families, as well as for disbursements to certain mem-
       bers to rent a home or apartment if they did not own one or otherwise
       have accommodations, and, in some cases, to operate safe houses that
       provided accommodations and cover to ISI operatives. This might have
       put considerable pressure on central administration to aggressively
       fundraise.34

       Figure 8.13
       Composition of Expenditures by ISI in Ninewa Governorate, August 2008
       Through January 2009


        Allowances and leases                                                              38.5%
                 Miscellaneous                            10.7%
                       Military                          10.3%
                     Unknown                            10.0%
         Detainee committee                     5.0%
            Weapons purchase                   4.6%
                     Governor                3.6%
              Industrialization            2.9%
                     Al-Khums              2.8%
                       Security            2.7%
             Vehicles purchase             2.5%
                         Sharia           2.2%
                Sector transfer          1.9%
           Medical committee           0.7%
             Media committee           0.6%
                    Equipment         0.3%
                       Systems        0.3%
                       Borders        0.2%

                                  0          5         10     15   20     25    30    35   40      45
                                                                   Percentage
        SOURCE: Harmony document NMEC-2009-634921; see “ISIL, Syria and Iraq
        Resources,” 2015.
        NOTES: “Al-Khums” is a one-fifth tax. Recent evidence suggests it is specifically a tax
        on war booty. See Andrew Keller, “Documenting ISIL’s Antiquities Trafficking: The
        Looting and Destruction of Iraqi and Syrian Cultural Heritage; What We Know and
        What Can Be Done,” remarks at the Metropolitan Museum of Art, New York, U.S.
        Department of State, September 29, 2015.
        RAND RR1192-8.13



       34 Meeting payroll was also a challenge for the Ulster Volunteer Forces in Northern Ireland.
       See Henry McDonald and Jim Cusack, UDA: Inside the Heart of Loyalist Terror, Dublin:
       Penguin Ireland, 2004, pp. 189, 230–232.




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             In Ninewa, ISI’s spending on compensation was nearly four
       times greater than the amount the group paid for its second-largest
       specific expenditure type, military expenses. The third-largest specific
       expense type was the detainee committee, which might have involved
       payments to the families of detained ISI members or expenditures for
       other detainee-related issues, such as legal fees or bribes to government
       officials within the Iraqi legal system to attain favorable outcomes for
       ISI detainees. These findings stand in stark contrast to the Anbar find-
       ings, which revealed that, in 2005–2006, AQI in Anbar at the gover-
       norate level spent only 5 percent of its budget on payrolls and medical
       expenses, with the sectors handling these expenses.
             Weapon purchases constituted the fourth-largest specific expendi-
       ture in Ninewa, at 4.6 percent of total expenditures. If combined with
       military spending, this would mean that ISI in Ninewa was actually
       spending about 15 percent of its budget for military-specific purposes.35
       ISI spent almost none of its budget—0.6 percent—for media purposes.
       The lack of ISI investment in media is consistent with a key finding of
       Chapter Four—that AQI had filled none of the “media emir” positions
       in its 30 sectors, for which we have available data, as of 2008.36
             As with AQI in Anbar, ISI in Ninewa invested little in courts, or,
       as this is translated in the declassified documents, in sharia. Courts
       made up less than 1 percent of AQI’s budget in Anbar. In Ninewa,
       sharia constituted only 2.2 percent of ISI’s budget.
             Militant groups in many settings provide dispute-adjudication
       services, which entail little fixed infrastructure. However, many groups
       provide more. Given ISI’s goal of running a state, the fact that the
       group provided legal services raises the question of why it did not use
       service provision as part of an effort to win popular support, a strat-
       egy that such groups as Hezbollah and the Liberation Tigers of Tamil
       Eelam used to great effect.37 One hypothesis consistent with this broad

       35 It is unclear what governor and industrialization referred to, but ISI indicated that it spent
       3.6 and 2.9 percent of its budget in Ninewa in these areas, respectively.
       36 Harmony document NMEC-2009-602125; see “ISIL, Syria and Iraq Resources,” 2015.

       37 Shawn Teresa Flanigan, “Nonprofit Service Provision by Insurgent Organizations: The
       Cases of Hizballah and the Tamil Tigers,” Studies in Conflict and Terrorism, Vol. 31, No. 6,
       2008.



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        pattern is that robust service provision might not be a feasible insurgent
        strategy when counterinsurgents can use force throughout the con-
        tested territory. For service provision to work, it has to be recognized by
        the public to be coming from the insurgent organization, which neces-
        sarily makes it is easy for counterinsurgents to identify and target it.
              ISI’s weekly expenditures in Ninewa fluctuated considerably,
        from only $250 in its worst week to nearly $500,000 (Figure 8.14).
        As before, we consider a week to run from Saturday through Friday,
        starting on August 23, 2008. Even though these expenditures dipped
        considerably in certain periods—the weeks of November 22 to 28,
        December 6 to 12, and December 20 to 26, for example—the ISI
        rate of expenditures was nonetheless steadier than in the earlier period,
        indicating the possibility that ISI’s finances had stabilized by the later

        Figure 8.14
        ISI’s Weekly Expenditures in Ninewa Governorate, August 2008 Through
        January 2009


                      500,000
                      450,000
                      400,000
                      350,000
       U.S. dollars




                      300,000
                      250,000
                      200,000
                      150,000
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        SOURCE: Harmony document NMEC-2009-634921; see “ISIL, Syria and Iraq
        Resources,” 2015.
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       period, possibly because of a more standardized set of tactics, tech-
       niques, and procedures for the revenue sources targeted by ISI.
             The nature of ISI Mosul’s expenditures varied over time, but less so
       than it had in Anbar governorate (Figure 8.15). From September 2008
       through January 2009, payroll (allowances and leases) expenses were
       ISI’s predominant costs. The contrast to Anbar might reflect a degree of
       centralization that the group carried out in the face of coalition forces,
       ISF, and Awakening pressure. Although payroll costs became ISI’s
       main type of spending in Ninewa—a pattern that persisted during the
       period the documents cover—the share of its budget spent on those
       and all other types of expenses varied from month to month. The pat-
       tern of payroll expenditures provides further evidence that ISI missed
       or delayed such payments when it was under pressure. Those monthly
       payments ranged between $184,000 and $478,000 (excluding expen-
       ditures for August 2008), a variation too large to be accounted for by
       changes in the number of personnel.


       ISI Revenues and Expenditures in Other Locations and
       Periods

       The captured documents also contained revenue and expense reports
       from other locations and periods. Although these reports were not as
       thoroughly documented or as extensive as the revenue and expense
       reports from Anbar and Ninewa, they allow us to compare ISI activi-
       ties in other locations in Iraq where the security environment and local
       economies differed. These reports provide a fuller picture of ISI’s finan-
       cial clout, or lack thereof, that is at least somewhat more representative
       of a cross-section of provincial ISI groups. We provide overviews from
       the documents of ISI’s overall revenues and expenditures, as well as
       how it was making and spending the money, in Baghdad in March
       2007 and in al-Jazirah sector in Ninewa governorate in February 2010.

       Baghdad, Mid-February 2007 Through Mid-March 2007
       From February 24, 2007, through March 13, 2007, Baghdad reported
       an income of $197,310 and expenditures amounting to $253,358




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       Figure 8.15
       ISI’s Monthly Expenditures in Ninewa Governorate, August 2008 Through
       January 2009


                                  1,200




                                  1,000




                                   800
        U.S. dollars, thousands




                                   600




                                   400




                                   200




                                     0
                                            August   September       October   November December       January
                                             2008       2008          2008       2008     2008           2009

                                                      Al-Khums                     Miscellaneous
                                                      Allowances and leases        Sector transfer
                                                      Detainee committee           Security
                                                      Equipment                    Sharia
                                                      Governor                     Systems
                                                      Industrialization            Unknown
                                                      Media committee              Vehicles purchase
                                                      Medical committee            Weapons purchase
                                                      Military

        SOURCE: Harmony document NMEC-2009-634921; see “ISIL, Syria and Iraq
        Resources,” 2015.
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       (Table 8.2). Let us briefly assume that these revenue and expendi-
       ture rates would have remained constant to extrapolate comparison
       to Anbar and Mosul. If this were the case, ISI’s Baghdad subsidiary
       would have earned just under $395,000 for a full month and spent just
       over $507,000. This deficit is notable for several reasons. First, unlike
       Anbar and Mosul—where ISI was strongest—ISI in Baghdad failed to
       balance its revenues and expenditures. In this short window, ISI spent
       about $56,000 more than it generated in revenue, meaning that it is
       possible that the group lost $100,000 or more in Baghdad that month.
       These estimates are not definitive—the revenue and expenditures from
       this reporting period might not be representative of ISI Baghdad’s
       normal finances, especially since, as we showed regarding revenues in
       Anbar and Ninewa, ISI revenues were highly volatile. Still, this report
       was compiled during a period when the U.S. troop surge was under
       way and ISI was struggling to remain a viable player in the fight for
       Baghdad. It is thus possible that ISI was able to balance its expendi-
       tures with commensurate revenues only in areas firmly under its con-
       trol and was not able to do so in areas where its presence was sporadic
       and its control was inconsistent or largely lacking.
             Was ISI’s Baghdad group making its money from sources similar
       to those tapped in Anbar or Mosul? The answer is maybe. By far, the
       largest revenue source in the document was listed as “Baghdad prov-
       ince” (wilaya Baghdad in the original; Table 8.3). It is unclear whether
       Table 8.2
       ISI’s Baghdad Income and Expenses, Mid-February Through Mid-March
       2007

       Type            Time Span         Days      Total (U.S. $)    Daily Mean (U.S. $)

       Expense     February 24, 2007,     18         253,358              14,903
                   to March 13, 2007

       Revenue     February 24, 2007,     16         197,310              13,154
                   to March 11, 2007

                   Balance                           −56,048               −1,749

       SOURCE: Harmony document NMEC-2010-198595 Orig; see “ISIL, Syria and Iraq
       Resources,” 2015.
       NOTES: Revenue includes $11,435 dated February 24, 2007, but noted as rollover
       since February 19, 2007. All dates in the original are Hijra calendar dates.




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              Table 8.3
              ISI’s Baghdad Income, by Source, March 2007

              Revenue Source                Total (U.S. $)     Share (%)

              Baghdad province                  167,100           84.7

             Charity                             6,300             3.2

             Rollover                           23,910            12.1

             Total                              197,310          100.0

             SOURCE: Harmony document NMEC-2010-198595 Orig; see “ISIL, Syria
             and Iraq Resources,” 2015.


       this refers to spoils gained from looting money or goods from Shias in
       Baghdad during the broader Sunni-Shia sectarian conflict that was still
       simmering in March 2007 or from other revenues generated within
       Baghdad, such as the type of extortion that was a leading revenue
       source for ISI in Mosul a year later.
             What is clear is that, unlike AQI in Anbar and ISI in Mosul, the
       group had few other reliable sources of income. “Rollover,” its second-
       largest revenue source, made up only 12 percent of ISI’s Baghdad rev-
       enue and does not represent new funding; rather, it is previous rev-
       enue unspent. Given the losses seen during the February 2007 through
       March 2007 reporting period, it appears that ISI Baghdad could not
       rely on a surplus of funding each month. Charity is the only other
       source of revenue listed in the ISI Baghdad report. It is unclear whether
       these funds came from local or international charities. But the point is
       largely moot, as charitable contributions made up only $6,300 of the
       group’s almost $200,000 of income—roughly 3 percent.
             ISI’s Baghdad group spent money on a variety of things, ranging
       from ammunition, to sheep, to vehicles, to suicide bombers (Table 8.4).
       Aside from ammunition, arms spending also probably included other
       weapons or materiel, given that the total two-week ammunition
       expense was $70,000 and accounted for more than a quarter of the
       group’s spending. The largest expense category was labeled “needs of
       the district,” which was probably mostly or entirely payroll costs for
       ISI’s Baghdad organization, as the percentage of expenditures is com-




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       Table 8.4
       Baghdad Expenses, by Source, March 2007

       Expense Type                                       Total (U.S. $)      Share (%)

       Needs of the district                                116,000              45.8

       Ammunition                                            70,000              27.6

       1/5 of governorate                                    30,000              11.8

       None listed                                           11,000               4.3

       Bonds of brothers + POW and martyrs                    8,198               3.2

       Purchase of a pickup                                   6,300               2.5

       Media needs of the district                            4,000               1.6

       Friendly fire compensation                             2,500               1.0

       Purchase of sheep                                      2,100               0.8

       1/5 of charity                                         1,260               0.5

       Expenses of brothers                                   1,000               0.4

       Unit martyrs                                           1,000               0.4

       Total                                                253,358              99.9

       SOURCE: Harmony document NMEC-2010-198595 Orig; see “ISIL, Syria and Iraq
       Resources,” 2015.
       NOTES: The “Share” column does not sum to 100 because of rounding. POW =
       prisoner of war.


       parable to the approximately 40 percent of the Mosul budget that was
       spent on personnel costs.
             It is unlikely that “needs of the district” costs were being spent on
       social services: According to the ISI sector leadership roster captured
       from Abu Qaswarah in 2008, it is possible that, by March 2007, ISI
       Baghdad had no established sector leadership or administrators in the
       area. As the document seized from Abu Qaswarah’s residence shows,
       this was the case by 2008.38 This would have meant that there was no
       official who could determine how to allocate social spending. Another

       38 Harmony document NMEC-2009-602125; see “ISIL, Syria and Iraq Resources,” 2015.




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       possibility is that funds recorded as “needs of the districts” referred to
       the type of sector transfers seen in the Anbar ledgers.
             Another noteworthy category among the expenses is “1/5 of gov-
       ernorate.” As we discuss in the next chapter, ISI units across Iraq sent
       one-fifth of their revenues, known as the khums, to a central treasury,
       likely the General Treasury discussed earlier. Combined with the
       Anbar documents from 2005–2006 and evidence in the next chapter
       from late 2008, it appears that this was standard procedure throughout
       the life of the organization.

       Al-Jazirah Sector, February 2010
       Another area covered by our documents is ISI al-Jazirah sector’s reve-
       nue and expenses. Unlike the Baghdad document, the al-Jazirah docu-
       ment appears to cover the entire month of February 2010. As in Bagh-
       dad, al-Jazirah sector was in the red during the month covered by our
       document, spending almost $35,000 more than it generated in revenue
       (Table 8.5). The sector ran a deficit of 10 percent of revenues.
            The al-Jazirah sector administrator categorized revenues into five
       types: revenue from the economic security, revenue from the military,
       donations from Muslims and fines, revenue through Abu ‘Uthman,
       and revenue from cars (Table 8.6). The first was, by far, ISI’s largest
       revenue source in al-Jazirah, composing 72.0 percent of the group’s rev-
       enue, and might have represented protection rackets or other forms of
       extortion the group actively practiced. Its next-largest revenue source,
       composing only 12.2 percent of the group’s revenue, was revenue from
       the military.
             Table 8.5
             Al-Jazirah Sector Revenues and Expenditures, February 2010

             Type                       Total (U.S. $)    Share of Cash Flow (%)

             Revenue                       328,100                  47.5

             Expenditures                 362,400                  52.5

             Balance                      −34,300                   5.0

             SOURCE: Harmony document NMEC-2010-175522; see “ISIL, Syria and Iraq
             Resources,” 2015.




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       Table 8.6
       ISI’s Revenue Sources from al-Jazirah Sector, February 2010

       Revenue Source                               Amount (U.S. $)        Share (%)

       Revenue from economic security                   236,100               72.0

       Revenue from the military                         40,000               12.2

       Donations from Muslims and fines                  34,500               10.5

       Revenue through Abu ‘Uthman                       10,000                3.0

       Revenue from cars                                   7,500               2.3

       Total                                            328,100              100.0

       SOURCE: Harmony document NMEC-2010-175522; see “ISIL, Syria and Iraq
       Resources,” 2015.


             As with the Baghdad document, we cannot discern whether
       donations from Muslims consisted of donations from local Iraqis or
       from foreign donors. Regardless, the share of al-Jazirah’s income from
       donations was relatively small, at 10.5 percent, and that category also
       included fines, which likely were judgments for violations of Islamic
       law.
             The al-Jazirah sector spent five times more on compensation
       (called “financial sponsorship” in the document) and rent than on any
       other expense category (Table 8.7). The sector spent almost twice as
       much buying or maintaining vehicles than it did on military expenses,
       suggesting that the group either had logistics challenges or that its mili-
       tary presence in the sector was small and thus did not require a large
       budget.
             Tellingly, ISI’s al-Jazirah group spent almost nothing on assistance
       (service provision to the population). Nearly all of its money went to
       the organization’s operating costs, not service provision or warfighting,
       suggesting that investing in the organization was either necessary for
       its survival or that the group had little interest in delivering services to
       the population in its sector of ISI.




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       Table 8.7
       ISI’s Expenditure in al-Jazirah Sector, by Type, February 2010

       Expense Type                                Amount (U.S. $)         Share (%)

       Financial sponsorship and rent                  237,700               65.6

       Vehicle expense                                  46,000               12.7

       Military expense                                 24,000                6.6

       Detainee expense                                 20,800                5.7

       Purchasing a house for Abu Dijanah               10,000                2.8

       Security expense                                  6,800                1.9

       Marriage expense for the sector                   4,900                1.4

       Deported personnel expense                        2,200                0.6

       Purchasing a shop                                 1,700                0.5

       Purchasing house furniture                        1,700                0.5

       Medical expense and doctors’ fees                 1,500                0.4

       Media expense                                     1,300                0.4

       Martyr’s bonus                                    1,000                0.3

       Purchasing food                                     800                0.2

       Assistance                                          600                0.2

       Debt payment                                        600                0.2

       Expense for Abu ‘Uthman                             400                0.1

       Purchasing supplies for the shop                    400                0.1

       Total                                           362,400              100.2

       SOURCE: Harmony document NMEC-2010-175522; see “ISIL, Syria and Iraq
       Resources,” 2015.
       NOTE: The “Share” column does not sum to 100 because of rounding.




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       Conclusion

       ISI had a sophisticated, diversified fundraising operation that relied
       almost entirely on raising money from within its operating territory.
       The group purposely avoided seeking outside donations, so that it could
       retain autonomy. This fundraising took place throughout the organiza-
       tion, at the governorate level and, below that, at the sector level. Each
       level sent a certain amount upward, but each level also appeared to
       retain most of what it raised.
             ISI’s revenue-generating activities in its formative years in Anbar
       governorate closely resembled that of petty criminality, including sig-
       nificant revenues generated from sales of stolen goods. In its new strong-
       hold of Mosul, the group made money from new sources, particularly
       theft and extortion from the local oil sector and contract-based projects
       that were vulnerable to the group’s influence. ISI’s revenue-generating
       activities in Mosul in 2008 and 2009 closely resembled activities com-
       monly used by organized-crime syndicates.
             ISI at the sector and governorate levels did not maintain a surplus.
       Expenditures closely matched revenues. As an organization bent on
       creating a state, this could have been a conscious decision to expand as
       rapidly as possible when strong to keep itself intact for future battles to
       come when it was weak.
             Spending focused on organization maintenance and opera-
       tions. Maintenance included payrolls, rent, safe houses, and medical
       expenses. Operations included all expenditures related to military and
       security, as well as media. Despite ISI’s goal of becoming a function-
       ing state—the Islamic state—it appears that ISI spent very little on
       social services for the communities in which it operated. This might
       have been because it could not successfully raise enough money to
       do so, in part because its fatality and capture rate put pressure on its
       payrolls. Or it might have been because providing such services would
       have forced it to take a public posture, exposing it to counterinsurgent
       and counterterror operations.




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       CHAPTER NINE

       Assessing the Islamic State of Iraq’s Finances:
       Central Activities and Financial Control




       ISI faced three major financial issues, aside from raising money and
       determining how to spend it. The first was how to fund the central
       administration. The second was how to reallocate money across geo-
       graphic areas. In 2005–2006, AQI in Anbar was highly successful at
       raising money and sent money to the AQI central administration. It is
       highly likely that, during that same period, AQI in other governorates
       was less successful and needed financial help to achieve the organiza-
       tion’s goals. Certainly, ISI reallocated money from governorates where
       fundraising was successful to governorates that were less successful.
       The third issue was that ISI faced the problem of financial control. It
       needed to ensure that its members were using money to achieve the
       group’s goals and were not stealing money to enrich themselves.
             We cover these issues in this chapter. We discuss evidence regard-
       ing a central treasury and ISI reallocation efforts, and we discuss issues
       of financial control and what they meant for the organization.


       Transfers to and from the ISI Treasury

       As early as 2005–2006, AQI had in place systems for reallocating fund-
       ing within the organization. The Anbar administrative emir recorded




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       transferring money to Mosul and the border sections, and even a small
       amount to Basra, along with noting transfers to the General Treasury.1
             Documents seized from the ISI senior leader Abu Qaswarah, in
       an operation in October 2008, provide greater insight into how ISI
       leaders internally reallocated funding to and from its highest levels to
       manage its revenues centrally and to match them with operational pri-
       orities and the operating costs its units incurred. Governorate-level ISI
       branches sent one-fifth of their revenues to the organization’s top-level
       leadership. In practice, it appears that these payments were sent to,
       and reallocated by, Abu Qaswarah, or that Abu Qaswarah at least had
       knowledge of these financial transfers.2
             Of the revenue ISI generated from its governorate-level subsidiar-
       ies, those from Baghdad, Mosul, and the al-Jazirah sector (recorded as
       al-Jazeera in the published translations of the documents) were, by far,
       the largest. These areas were the only subsidiaries able to contribute
       substantial funds in 2008. Redistribution of funding appears to have
       gone to areas where ISI presence was the weakest and was under severe
       threat because of the Sunni Awakening and counterinsurgency tactics
       by coalition and Iraqi forces.

       Content of the Documents
       The financial documents seized from Abu Qaswarah’s compound pro-
       vide a unique and revealing glimpse into ISI’s financial health in 2008.
       Much is known about the decline in attacks conducted by ISI and
       other militant groups across key governorates during and after the U.S.
       troop surge of 2007, but little corresponding information has been
       hitherto available concerning the financial status of ISI across the Iraqi
       governorates, nor has there been information on the proportion of ISI
       revenues from its various subsidiaries operating nationwide or how ISI
       spent money on these subsidiaries.
            The documents detail a list of ISI’s revenue-generating activities
       and expenditures, over one month. The primary financial document

       1   Bahney, Shatz, et al., 2010, pp. 34, 42–43.
       2For more on Abu Qaswarah, see “AQI’s Swedish Emir,” 2008; and Harmony document
       NMEC-2009-602764; see “ISIL, Syria and Iraq Resources,” 2015.




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       we analyze was not dated but was likely composed sometime in 2008,
       prior to Abu Qaswarah’s death that October.
             The documents were structured differently from the ones captured
       from Ala Daham Hanush in Anbar and Ahmed Zayd in Ninewa, both
       governorate-level administrative emirs who were responsible for main-
       taining detailed master financial ledgers that documented ISI’s rev-
       enues and expenses in their areas of responsibility, down to the trans-
       action level. The financial documents seized from Abu Qaswarah’s
       compound appear to be summary reports of ISI’s national-level rev-
       enues and expenditures (Figure 9.1). It is for this reason that the finan-
       cial documents seized from Abu Qaswarah’s compound are of special
       interest.3
             Abu Qaswarah held ISI’s financial documents that, analogous
       to the Anbar transfers to and from sectors, contained information on
       major ISI governorate-level subsidiaries in Iraq, from which ISI received
       and sent money, as well as other group revenues and expenses.

       The One-Fifth Transfers
       Mosul was the largest source of ISI funding from the “one-fifth”
       transfer of any area listed, transferring $170,000 to ISI leadership.
       Of the revenue-generating transfers in the Abu Qaswarah document,
       funding from Mosul constituted 40 percent of incoming funds to ISI.
       The Abu Qaswarah document also indicates that ISI’s Baghdad sector
       transferred 4.5 kilograms of gold, in addition to $2,500 in cash, to
       ISI’s senior leadership as its “one-fifth.” We estimate the value of the
       transferred gold to be $138,400, suggesting that the total size of Bagh-
       dad’s one-fifth transfer was approximately $140,900, or 33 percent of
       the revenue ISI generated from sector transfers.4 It is not clear whether
       Baghdad transferred one-fifth of the gold it had or whether it used
       the gold to pay its one-fifth and retained the cash. An argument for

       3   Harmony document NMEC-2009-602764; see “ISIL, Syria and Iraq Resources,” 2015.
       4  Since the document is undated but was likely drafted in 2008, we base this estimate on
       the average daily price of gold in 2008, $871.91 per ounce, multiplied by the number of
       ounces of gold transferred from Baghdad to AQI leadership, 158.7 (at 35.3 ounces per kilo-
       gram), for a total of approximately $138,400. Data on daily gold prices were obtained from
       the USAGOLD website (www.usagold.com).




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             Figure 9.1
             Original Financial Document Seized from Abu Qaswarah,
             Original and English Translation


             Panel A




             Panel B           Sources of Incoming Revenues                     Issuing [export] Sources
                               Source                  Amount                  Issued to
                               'Ashraf                 600,000 USD             Abu-Sawsan                45,000 USD
                               One fifth of al-Jazeera 100,000 USD             Herbalist                 15,000 USD
                               One fifth of al-Mosul   100,000 USD             Baghdad                   180,000 USD
                               Cement                  90,000 USD              Al-Anbar                  170,000 USD
                               One fifth of J          40,000USD               Diyala                    120,000 USD
                               [SATTS]of al-Mosul
                               One fifth of al-Basrah 2,300 USD                Salah al-Din           120,000 USD
                               One fifth of al-Basrah 800 USD                  Media                  110,000 USD
                               One fifth of Baghdad    4 kilograms of Gold     House                  50,000 USD
                               One fifth of Baghdad    2,500 USD               Materials              30,000 USD
                               One fifth of Baghdad    0.5 kilograms of Gold   Syria                  5000 USD
                                                                               Al-Basra               40,000 USD
                               One fifth of al-Mosul   30,000 USD              Donations              300 USD
                               One fifth               10,200 USD              Kirkuk                 20,000 USD
                               One fifth of Salah      300 USD                 Detonators             10,000 USD
                               Booty money [TC:        5,400 USD               Private Vehicle        10,000 USD
                               Possibly also money
                               from sheep sold]
                                                                               Kirkuk                 10,200 USD
                                                                               Abu-Nashwan            5,000 USD


             SOURCES: Harmony documents NMEC-2009-602764-ELC, p. 7, and
             NMEC-2009-602764-HT; see “ISIL, Syria and Iraq Resources,” 2015.
             NOTES: TC = translator comment. SATTS likely means Standard Arabic
             Technical Transliteration System. In the original Arabic document, the
             letter jim, which sounds like a J, appears between the Arabic words for
             one-fifth and Mosul. J likely stands for janoub (south).
             RAND RR1192-9.1




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       the latter is that, because of its value, gold is difficult to use in day-to-
       day transactions, whereas cash is far more useful. Al-Jazirah sector’s
       $100,000 (about 24 percent of the total sector transfers to ISI) was
       next in order of size. Somewhat surprisingly, at least in the document
       seized from Abu Qaswarah, no other subnational ISI group sent much
       money to the group’s core national leadership. Basra, Salah al-Din,
       and another sector, the name of which was omitted from the docu-
       ment, all made “one-fifth” transfers of less than $11,000 (Table 9.1).
             Assuming that the sector transfers recorded in the document were
       exhaustive of all sector transfers for the reporting period and that each
       sector actually sent one-fifth of its total revenue from the period to ISI’s
       senior leadership, we estimate that ISI’s sectors brought in a total rev-
       enue of more than $2.1 million.5
             Beyond transfers, the documents reinforce the importance of
       taxing the oil trade. The largest single source of ISI’s revenue recorded
       in the captured document is $600,000, from an entity referred to only


       Table 9.1
       ISI’s Revenues from Sector Transfers, from Document Seized from Abu
       Qaswarah in October 2008

                                                                           Share of Total Transfer
       Location                                   Total (U.S. $)                Revenue (%)

       Al-Jazirah                                    100,000                          23.6

       Baghdad                                       140,900                          33.2

       Basra                                            3,100                          0.7

       Mosul                                         170,000                          40.0

       Salah al-Din                                      300                           0.1

       Unidentified location                          10,200                           2.4

       Total                                         424,500                        100.0

       SOURCE: Harmony document NMEC-2009-602764; see “ISIL, Syria and Iraq
       Resources,” 2015.



       5   Multiplying the total reported one-fifth transfers by five gives a total of $2,118,000.




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       as ‘Ashraf. Abu Ashraf was a pseudonym for Abu Ibrahim, ISI’s oil
       minister, a senior position.

       Reallocation from the Center
       As the Anbar governorate administrators had done vis-à-vis Anbar’s
       sector-level subsidiaries, it appears that ISI’s national-level leadership
       collected payments from governorate-level ISI subsidiaries and reallo-
       cated these funds by pushing them back to the governorate ISI subsid-
       iaries as necessary. ISI leadership sent the largest transfers to the areas
       in which the Awakening and the surge had the greatest effects—Anbar
       governorate and Baghdad, which received $170,000 and $180,000,
       respectively (Table 9.2). At the same time, ISI in Anbar and Baghdad
       apparently failed to generate sufficient revenue during this period to
       match those amounts in their obligatory 20-percent income tax pay-
       ments made up the chain of command. According to Abu Qaswarah’s
       Table 9.2
       ISI’s Net Financial Transfers to the Governorates, from Document Seized
       from Abu Qaswarah in October 2008

                                   Transfers to   Revenues from
       Location                      (U.S. $)        (U.S. $)         Difference

       Al-Jazirah                                   100,000             100,000

       Anbar                         170,000                           −170,000

       Baghdad                       180,000         137,500           −42,500

       Basra                          40,000           3,100           −36,900

       Diyala                        120,000                           −120,000

       Kirkuk                         32,200                          −32,0200

       Mosul                                        170,000             170,000

       Salah al-Din                  120,000            300            −119,700

       Syria                           5,000                             −5,000

       Unidentified location                         10,200              10,200

       Total                         667,200         421,100           −246,100

       SOURCE: Harmony document NMEC-2009-602764; see “ISIL, Syria and Iraq
       Resources,” 2015.




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       records, ISI in Anbar is not listed as transferring any money to ISI
       senior leadership, while ISI in Baghdad transferred $137,500 to ISI’s
       top leadership, or $40,000 less than it received in top-down transfers
       per Abu Qaswarah’s records.
              Other governorates fared no better. ISI’s Diyala administration
       had been severely degraded in mid and late 2007 by tribal revolts by
       local Awakening groups and intense counterinsurgency operations that
       fanned out from Baghdad north to Diyala on the heels of the coali-
       tion’s successful stabilization of Baghdad following the surge.6 At risk
       of losing another stronghold to coalition and Iraqi forces, ISI’s leader-
       ship sent $120,000 to ISI in Diyala to stem the tide. There is no record
       of ISI’s Diyala branch transferring any funds to ISI leadership as a
       one-fifth payment, likely because it was forced to expend many of its
       resources on fighting instead of pursuing the revenue-generating activi-
       ties it enjoyed previously.7 The financial dynamic in Salah al-Din gov-
       ernorate was similar, with ISI’s leadership transferring $120,000 there
       and receiving only a token $300 payment back from the group. The
       Abu Qaswarah documents also show that ISI leadership went in the
       red to support its governorate-level subsidiaries in Basra and Kirkuk,
       although to a lesser degree than in the aforementioned governorates.
              Strikingly, Mosul was the only area that transferred more money
       to ISI’s top level than it received—and it did so by a wide margin. ISI
       leadership received $170,000 in transfers from Mosul during the period
       that our documents cover and transferred no funds to ISI in Mosul.
       The relatively large amount of funds that ISI leadership received from
       Mosul, combined with its relatively good security and the group’s pros-
       pects for continued economic extraction there, suggest that, by 2008,
       ISI viewed Mosul as its last secure, sustainable stronghold in Iraq.




       6 See, for example, Kagan, 2007b. See also Bill Roggio, “The Diyala Salvation Front,” The
       Long War Journal, May 10, 2007a.
       7  In Diyala, AQI reportedly engaged in widespread auto theft and kidnap-for-ransom
       operations to fund its operations, as well as smuggling. Lennox Samuels, “Al Qaeda in Iraq
       Ramps Up Its Racketeering,” Newsweek, May 20, 2008a.




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       Financial Management Within ISI

       ISI appeared to manage its money carefully. The group demanded
       extensive reporting on expenses from lower levels in ways that ensured
       that money was spent properly but that added risk to the group’s oper-
       ations. ISI administrators occasionally produced summary financial
       reports that could prove useful for creating greater situational aware-
       ness among ISI’s midlevel and senior decisionmakers. This kind of
       behavior in a covert group is consistent with leaders worrying about
       the financial probity of their underlings. There is some direct evidence
       that such concerns were warranted.

       ISI Expenses
       ISI appears to have kept a very close eye on expenses. This is consis-
       tent with an organization that faced challenges managing its finances
       and making sure that all goods and services charged to the group were
       actually used to its benefit.
              There are three ways that any organization can handle expenses.
       First, it can provide a sum of money to its members for any expenses
       they might have and not require further reporting. This is similar to
       a travel per diem given by many businesses. Second, the organization
       can provide a sum of money but require reporting of how it is spent.
       Third, it can have the member or employee incur the expense and then
       file for a reimbursement. The last two carry greater risks to a clandes-
       tine organization; ISI appears to have used these two methods.
              At times, the group appears to have provided members with reim-
       bursements for expenses incurred on behalf of the organization. At
       other times, it merely recorded disbursements in large spreadsheets and
       then required follow-up reporting about how the distributed funds were
       spent.8 Requiring postspending reports and using reimbursements to
       cover expenses both require additional communications. If the group
       had sufficient funds, it would be safer to simply transfer fixed fees to
       fighters and managers that would be more than adequate to meet their


       8 Examples can be found in Harmony documents NMEC-2008-614685 and NMEC-
       2008-614686; see “ISIL, Syria and Iraq Resources,” 2015.




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       expected operational needs. This requires only one transaction, sending
       money for expenses in a given period, which needs to happen anyway
       to pay the operative’s salary.
             However, it looks as if individuals either (1) requested funds,
       which the administrator then distributed, after which the recipient
       reported back, or (2) incurred small-scale expenses on behalf of the
       group and then requested to be paid back. Either method would triple
       the number of transactions required. For specific budgeting ahead of
       time, the unit had to report up the chain what it wanted to spend money
       on, then the money was sent down, and then a report was sent back up
       about the expenditures. For reimbursements, the operative had to send
       his request for payment up and receive a separate payment back. Both
       methods entail a total of three transactions. Since each transaction has
       some marginal risk, these reporting methods make sense only from the
       perspective that the group faced a tight-enough budget constraint that
       it could not afford to simply pad operatives’ salaries with the amount
       of costs they were expected to incur.
             The evidence for careful expense tracking shows up in docu-
       ments we analyzed. Often, such evidence appears either as entries in a
       notebook or as specific notes detailing expenses. For example, a note-
       book found in January 2007, among the Tuzliyah documents, regard-
       ing activities in the western sector of Anbar, contains AQI expense
       accounts, distributions of payments, and handwritten annotated lists
       that were used as daily reports and personnel lists.9 This notebook
       records a wide variety of expenditures, including:

           • $50.00 to Abu Hajir to buy a Thurya (satellite phone) card on
             November 20, 2006
           • 35,000 Iraqi dinars to Abu ‘Abbas for “expenses car rent” on an
             unspecified date
           • $90 to the Abu Haydar (Logistics) unit for “tires for Nissan,”
             $100 to that unit for “oil valves,” and 87,000 Iraqi dinars for that
             unit to purchase “3 batteries 12 Volts with the acid.”


       9   Harmony document MNFA-2007-000564; see “ISIL, Syria and Iraq Resources,” 2015.




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             Such documentation of small-scale expenses is pervasive in AQI
       and ISI expense reports. Other documents in the declassified collec-
       tions we analyzed contained short narrative entries regarding expenses
       and were submitted up the hierarchy to the group’s leadership, as we
       found when we discovered that ISI leaders Abu Ayyub al-Masri and
       Abu Umar al-Baghdadi were in possession of copies of the Anbar rev-
       enue and expense reports we analyzed in Chapter Eight.
             The use of such short narrative entries, as opposed to a rigid selec-
       tion from a given list of categories, suggests that ISI opted to collect
       itemized accounts of its members’ expenses on behalf of the organiza-
       tion, as opposed to providing operatives with general per diem pay-
       ments. For example, one handwritten note from a Tuzliyah document
       includes a range of such short narrative entries. One of these entries
       consisted of the following, written by Abu ‘Abdallah al-Hubli:

             I received sum of ($1900) from Brother Abu Shad through
             Brother Abu Walid, on Shawal 23rd 1427. I gave to Amir of naval
             boats Abu Umar sum of ($200) on Shawal 23rd 1427. Abu Tahah
             Amir of fuels, I gave Abu Zarifah $400 to buy a boat + 100 dol-
             lars his expenses.10

            A note in which Abu Walid wrote to Abu Yunis, detailing the dis-
       tribution of money to individuals, was even more detailed:

             To my generous brother Abu Yunis may God preserve him, peace
             of God and his blessings.

             These are some of the works that I have accomplished in the sector
             before the appointments of Brother Abu Jihad as Al-Shamyiah
             administrator:

              Two weeks ago I received $1,300 from Abu Shahd and used it
             as follows.

             1- Two weeks ago I received $1300 from Abu Shahd and used it
             as follows.

       10 Harmony document MNFA-2007-000566; see “ISIL, Syria and Iraq Resources,” 2015.




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            1[sic] - I handed over to Abu Hajir $600.00 he is the chief of Al-
            Sadrin company.

            2- I gave Brother Abu Haydar Al-Salmani $100.00 expenses for
            his family

            ...

            Then I received from you in Al-Ma’adid $2,500 and it was spent
            as following

            1- I gave to brother Taha $500, a loan that the group owed him

            2- $100 to Abu ‘Abdullah the Amir of Al-Safra‘

            3- $100 to Abu Dajanah the Amir of Al-Sadiq Company

            4- $200 for Abu Hasan Fahd from ‘Ana group

            5- $100 expenses for Abu Husayn and Abu Taha because his
            house is a guest house.

            6- $100 Abu Usama, Maintenance and movement

            7- $200 for Abu Khalid to buy a barrels for storage

            8- $100 for Abu Muhammad Al-Ma’adidi, public relation

            9- $100 for Abu Shahd

            10- $1,000 I hand it to Abu Jihad the Administrator.

       Such detailed documentation of expenses was not unique to that area
       of Anbar in late 2006 and perhaps through early 2007. An expenditure
       tracking spreadsheet from 2008, for an unspecified location, records
       payments in Iraqi dinars and U.S. dollars (one column for each) and
       includes such items as:




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          • $5,000 “Handed over by Mu la Salim as the remainder of the
            Equipment debts” to Abu Ali al‐Afari on September 4.
          • $5,950 to Ahmad, “the purchasing manager,” for the purchase of
            “5 pistols for Baghdad” and $7,400 more to him for “the purchase
            of 6 more” on September 15.
          • $400 to “Prepare and install Siplit air‐conditioner” to Muham-
            mad on September 22.11

       What is unclear is whether the listed payments were made ahead of the
       expenses being incurred or afterward.
             For some expenses, it seems clear that the group provided up-
       front payments and then tracked spending. One nicely formatted
       memo from the Borders Emirate of the Mujahidin Shura Council
       (MSC; basically, the ISI unit responsible for the area around Sinjar in
       late 2006 or early 2007) came complete with a bordered cover page
       featuring the MSC logo.12 The memo listed various administrative
       requirements for Border Emirate personnel; for example: “For every
       amount paid out of the Muslim people funds, the recipient is required
       to provide two signatures, in his own handwriting, one for receiv-
       ing the money and another one to show how the money was spent.”13
       The document then helpfully provided templates for the forms to be
       maintained when receiving funds and then when reporting about their
       expenditure (Figure 9.2).
             Such reporting requirements were apparently followed in the Bor-
       ders Emirate. Multiple documents report expenses at the unit level or
       record payments to specific individuals.14
             A few documents included in our collection suggest that the
       reimbursement model was also used. One administrative spreadsheet
       covering expenses in Anbar governorate from January 31, 2006, to

       11 Harmony document NMEC-2009-634443; see “ISIL, Syria and Iraq Resources,” 2015.

       12 Harmony document NMEC-2007-657926; see “ISIL, Syria and Iraq Resources,” 2015.

       13 Translation from Fishman, 2008, p. 72, which quotes Harmony document NMEC-
       2007-657926 (see “ISIL, Syria and Iraq Resources,” 2015).
       14 Harmony documents NMEC-2007-657980, NMEC-2007-647974, and NMEC-2007-
       657977; see “ISIL, Syria and Iraq Resources,” 2015.




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         Figure 9.2
         ISI Receipt and Expense-Report Forms


                                           A Receipt
          The brother …………. Place of work ……………………….. Section belongs to
          T brother ……………. The amount of ……………………….. USD
          Day ……………..         Date ………………………….

          Recipient brother ……………..               Administrator …………………….
          Signature ………………………                     Signature …………………………….

                                            Expense Report

          I, ………………… work at …………………… and section belong to …………..
          Brother …………………. Provide this detailed report about the finds I received from
          brother ………………………. For the amount of ……………… USD
          Day ………………………..        Date ……………………… ?

          Serial           Supplies     Amount USD                       Remarks
            1
            2
            3
            4
            5
            6

          Amount Received ……………………. USD
          Amount Spent …………………………USD
          Remaining Balance ……………………USD

          Alias: ……………
          Signature: …………….

         SOURCE: Harmony document NMEC-2007-657945; see “ISIL, Syria and Iraq
         Resources,” 2015.
         NOTE: T brother is a quick translation of The brother.
         RAND RR1192-9.2




       October 20, 2006, includes line items, such as 6,400 Iraqi dinars for
       “reimbursement pay to Abu Abd Al Kadir” on April 9, and 4,270 Iraqi
       dinars to Imad for “expenses of the Administrative Committee” on
       June 3.15 A document tracking a range of expenses incurred by the
       Borders Emirate in early 2007 included 20,000 Iraqi dinars for a “busi-


       15 Harmony document NMEC-2007-631844; see “ISIL, Syria and Iraq Resources,” 2015.




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       ness expense to Abu ‘Ubaydah” and 45,000 Iraqi dinars paid to Abu
       Ahmad for a “clutch plate.”16
            In some cases, documentation could include simple handwrit-
       ten notes, such as one for the Umar Ibn Alkhattab Platoon, which
       requested reimbursement from a sector administrator for 120,000 Iraqi
       dinars for medical expenses (Figure 9.3).17 It was for the medical needs
       of the platoon commander Abu Haytham’s family, according to the
       note, and was signed by four individuals, including the sector com-
       mander, Abu Khitbah. Another note similarly requested the payment
       of 40,000 Iraqi dinars for the family medical expenses of Abu Yas and

        Figure 9.3
        ISI Reimbursement Chit for Medical Care




        SOURCE: Harmony document MNFV-2007-000468; see “ISIL, Syria and Iraq
        Resources,” 2015.
        RAND RR1192-9.3




       16 Harmony document NMEC-2007-657731; see “ISIL, Syria and Iraq Resources,” 2015.

       17 Harmony document MNFV-2007-000468; see “ISIL, Syria and Iraq Resources,” 2015.




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       was signed by the platoon commander and administrator, as well as
       the sector commander and sector administrator.18 Although we have
       relatively few such documents in our collection, a collection that was
       selected to include as many large spreadsheets as possible, these expense
       notes are not unusual. In fact, they are likely voluminous, given the
       disparate information that administrators collected from individual
       members or their unit leaders to accurately document revenues and
       expenses for their entire jurisdictions, including military, intelligence
       and security, and media units.
             Overall, the amount of attention to tracking expenses in ISI
       strongly suggests that the group faced both substantial revenue con-
       straints and difficulties with operatives using group resources for per-
       sonal benefit. Otherwise, such record keeping simply does not make
       sense.19 For example, even though we noted that ISI’s average monthly
       revenues in and around Mosul in 2008 and early 2009 were substan-
       tially higher than they were in Anbar governorate earlier in the war, the
       group’s fiscal constraints were similar because its expenses were roughly
       equivalent to its revenues, suggesting a need to minimize payments
       to avoid deficits that would limit its ability to pay active fighters and
       finance attacks critical to its military campaign. Such minimization of
       expenditures required an extensive book-keeping apparatus, which is
       evident in the way that ISI operatives recorded and reported expenses
       to administrative officials.

       Midlevel Tracking Spreadsheets and Economies of Scale
       A final revealing fact about ISI’s financial-management practices is that
       the group periodically produced roll-up reports and statistics on its
       spending. Such documents are not particularly useful for solving the
       problems faced by management regarding getting their subordinates
       to fulfill management’s goals.20 These documents do, however, provide
       higher-level senior leaders with information on the group’s progress.


       18 Harmony document MNFV-2007-000481; see “ISIL, Syria and Iraq Resources,” 2015.

       19 See Shapiro, 2013, Chapter Two, for a full discussion of this point.

       20 As noted, this is known in the technical social science literature as an agency problem.




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             Such information is provided in a number of forms. For exam-
       ple, a document recording expenses and revenues in Anbar governorate
       from June 22, 2005, to January 30, 2006, includes graphs summariz-
       ing revenue and expenditures (Figure 9.4).21
             This sheet was not unique. Two other documents had similar
       graphs; one records revenues and expenditures from January 30, 2006,
       to May 19, 2006, on two lengthy spreadsheets, and the other records
       revenues and expenses from May 19, 2006, to October 19, 2006 (Fig-
       ures 9.5 and 9.6).22

       Figure 9.4
       AQI Anbar Governorate Revenue Graph, June 2005 Through January 2006


                                                                                     700000

                                                                            605810
                                                               588325
                                                                                     600000


                                                                                     500000


                                                                                     400000

                                                      302847
                                         260175                                      300000

                         208650 208450
                165116                                                               200000


                                                                                     100000

                                                                        0
                                                                                     0
                                                  1

       SOURCE: Harmony document NMEC-2007-633541 Orig; see “ISIL, Syria and Iraq
       Resources,” 2015.
       RAND RR1192-9.4




       21 Harmony document NMEC-2007-633541; see “ISIL, Syria and Iraq Resources,” 2015.

       22 Harmony documents NMEC-2007-633919 and NMEC-2007-633700, respectively; see
       “ISIL, Syria and Iraq Resources,” 2015. Harmony document NMEC-2007-633893 has simi-
       lar plots; see “ISIL, Syria and Iraq Resources,” 2015.




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          Figure 9.5
          AQI Anbar Governorate Revenue Graph, Winter and Spring 2006




          SOURCE: Harmony document NMEC-2007-633919 Orig; see “ISIL, Syria and Iraq
          Resources,” 2015.
          RAND RR1192-9.5




             Although the presence of time-series bar charts showing revenues
       and expenditures might have been unique to the AQI administrators
       in Anbar in 2005–2007, the general principle of providing occasional
       roll-up reports was pervasive and continued through ISI’s history. In
       2010, for example, one document reported specific monthly revenues
       and then recorded salaries by category.23 One of the largest salary
       spreadsheets from Mosul recorded individual payments by unit and
       then calculated various statistics. In it, the administrator recorded pay-
       ments to 357 active fighters; then calculated overall spending by unit,
       the number of fighters and dependents per unit, and the number of
       dead fighters’ families still being paid; and finally calculated some sta-
       tistics on his overall payroll.24

       23 Harmony document NMEC-2010-175522; see “ISIL, Syria and Iraq Resources,” 2015.

       24 Harmony document NMEC-2009-633789; see “ISIL, Syria and Iraq Resources,” 2015.




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       Figure 9.6
       AQI Anbar Governorate Revenue Graph, Summer and Fall 2006




        SOURCE: Harmony document NMEC-2007-633700 Orig; see “ISIL, Syria and Iraq
        Resources,” 2015.
        RAND RR1192-9.6




             These documents reinforce our earlier point that the standard
       cognitive constraints that compel all senior managers to seek summary
       statistics about their organizations apply to ISI leaders, and likely to the
       leaders of other large terrorist organizations as well. The group’s leaders
       worked hard to conduct jihad in a rational, efficient manner and there-
       fore sought the kinds of inputs that any high-quality manager would.

       Ghost Employees
       In light of the security pressure that ISI was under from 2006 to 2009,
       the expenditure tracking and the use of roll-up reports suggest an orga-
       nization whose management was strongly motivated to track spend-
       ing. If those tools were working perfectly to deter potential graft, there
       would be no evidence of it in the documents. Although there is indeed
       little direct evidence of graft in the documents we examine, there is
       some.




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             A 41-sheet administrative tracking spreadsheet captured in early
       2008 provides some evidence (Figure 9.7).25 The document, which
       appears to be from September 2007, records the amounts paid in sala-
       ries and expenses to 26 different subunits, and the spreadsheet contains
       some roll-up reports of expenses and total personnel, which aggregated
       everyone from the unit-level reports, and a few miscellaneous items.
       Figure 9.7 shows the serial numbers, kunyas, family status, and pay-
       ments made to 57 active fighters (under an orange banner) and the
       families of 33 dead members (under a green banner) for a unit called
       Fayyad. This sheet is notable because of the documentation on the
       upper right. Translated into English, the text reads, roughly, “Abu-
       Nasir had these names, he deleted them, we do not if they were real or
       fake ones.”26 None of the serial numbers for those individuals show up
       in the “Total Workers” sheet, suggesting that payments were no longer
       made to them. This was odd because had they been killed in battle,
       their families should have continued to draw salaries, per the group’s
       rules, and these individuals should have been recorded under a green
       banner. Our interpretation is that the unit leader suspected Abu Nasir
       of listing ghost employees to pad his payroll and reported this up his
       chain of command.
             More-direct evidence of the use of ghost employees comes from
       Ahmed Zayd’s spreadsheets, which were captured in February 2009.
       At the bottom of a spreadsheet listing all the members in various
       units, Ahmed Zayd reports the number of active fighters, the number
       of deceased fighters, and dependents in each category (Figure 9.8).27
       His 633 deceased fighters had 1,478 children and 489 widows. His
       357 active fighters had 661 children and 278 wives. Simple divi-
       sion shows that the average deceased fighter had 2.33 children and
       0.77 wives. His active fighters had 1.85 children and 0.78 wives. Over-
       all, deceased fighters had 3.10 dependents, on average, while active

       25 Harmony document NMEC-2008-614685; see “ISIL, Syria and Iraq Resources,” 2015.
       Note that a second version of this spreadsheet, with 39 sheets, exists as NMEC-2008-
       614686; see “ISIL, Syria and Iraq Resources,” 2015.
       26 Harmony document NMEC-2008-614685; see “ISIL, Syria and Iraq Resources,” 2015.

       27 Harmony document NMEC-2009-633789; see “ISIL, Syria and Iraq Resources,” 2015.




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    Figure 9.7




                                                                                                     246
    ISI Administrator Spreadsheet, September 2007




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    SOURCE: Harmony document NMEC-2008-614685; see “ISIL, Syria and Iraq Resources,” 2015.
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        Figure 9.8
        ISI Administrator Spreadsheet, 2009

           ‫ﻋﺪد زوﺟﺎت اﻟﺮاﺣﻠﯿﻦ‬   ‫ﻋﺪد اﻃﻔﺎل اﻟﺮاﺣﻠﯿﻦ‬   ‫اﻟﺮاﺣﻠﯿﻦ‬   ‫ﻋﺪد اﻟﺰوﺟﺎت‬   ‫ﻋﺪد اﻻﻃﻔﺎل‬   ‫اﻟﻘﻮة اﻟﻘﺘﺎﻟﯿﺔ‬                  ‫اﻟﻜﺘﯿﺒﺔ \اﻟﻘﺴﻢ‬
                                                                     8           18             10                      ‫ﺗﺼﻨﯿﻊ اﻟﻼآﺘﺮوﻧﻲ‬
                                                                   23            57             21                         ‫اﻟﻜﺘﯿﺒﺔ اﻻدارﯾﺔ‬
                                                                   14            33             13                          ‫ﺳﺮﯾﺔ اﻟﺘﻤﻮﯾﻞ‬
                                                                    6            14              6                         ‫ﺳﺮﯾﺔ اﻟﺮاﺣﻠﯿﻦ‬
                                                                    6            25              7                          ‫ﺳﺮﯾﺔ ادارﯾﺔ‬
                                                                   17            29             36                ‫آﺘﯿﺒﺔ أﺑﻮ ﻣﯿﺴﺮة اﻟﻐﺮﯾﺐ اﻻﻋﻼﻣﯿﺔ‬
                                                                    0             0              2                     ‫ﺳﺮﯾﺔ اﻋﻼﻣﯿﺔ ﻣﺴﺘﻘﻠﺔ‬
                                                                   10            26             14               ‫آﺘﯿﺒﺔ اﻟﺸﯿﺦ أﺑﻮ ﯾﺤﻲ اﻟﻠﯿﺒﻲ اﻟﺸﺮﻋﯿﺔ‬
                                                                   66            152            88              ‫آﺘﯿﺒﺔ أﺑﻮ ﻃﻠﺤﺔ اﻟﺤﻤﺪاﻧﻲ ﻓﻚ اﷲ أﺳﺮه‬
                                                                   11            14             12                          ‫آﺘﯿﺒﺔ اﻟﺘﻔﺨﯿﺦ‬
                                                                   16            61             20                    ‫آﺘﯿﺒﺔ اﻟﺘﺼﻨﯿﻊ اﻟﻌﺴﻜﺮي‬
                                                                    45           109            64            ‫آﺘﯿﺒﺔ اﻟﺸﯿﺦ أﺑﻮ ﻋﺒﺪ اﷲ اﻟﻜﺮدي رﺣﻤﺔ اﷲ‬
                                                                   51            110            59           ‫آﺘﯿﺒﺔ اﻟﺸﯿﺦ أﺑﻮ ﻣﺼﻌﺐ اﻟﺰرﻗﺎوي رﺣﻤﺔ اﷲ‬
                                                                     5           13              5          ) ‫ﺳﺮﯾﺔ اﻟﻤﺸﺎﺟﺐ اﻟﺼﺤﺮاوﯾﺔ (ﻣﺤﻤﻮد ﺣﺪﯾﺪ‬
                 489                 1478             633            0            0              0                         ‫اﻟﺠﻨﺪ اﻟﺮاﺣﻠﯿﻦ‬
                 489                 1478             633          278           661           357                            ‫اﻻﺟﻤﺎﻟﻲ‬


        SOURCE: Harmony document NMEC-2009-633789; see “ISIL, Syria and Iraq
        Resources,” 2015.
        RAND RR1192-9.8




       fighters had only 2.63. Deceased fighters, in other words, had 18 per-
       cent more dependents, on average.28 This would be consistent with
       unit leaders padding their payrolls by reporting additional dependents
       for deceased fighters, which would have been easier to get away with
       than padding the payroll for active fighters who could be directly asked
       about their families.


       Conclusion

       ISI’s financial practices reinforce the idea that it was a hierarchical,
       bureaucratic organization. Governorate and local subsidiaries trans-
       mitted 20 percent of their revenues upward. These revenues were then
       reallocated from high-level headquarters, to both the governorate and
       the national levels. Such reallocations are important because they are
       a potential factor in explaining AQI’s and ISI’s resilience to the intense

       28 We do not have enough underlying data to determine whether this is a statistically signifi-
       cant difference.




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       military pressures they faced at various times and in various areas.
       Such infusions of resources might have enabled subsidiary AQI and ISI
       units to avoid complete annihilation or disintegration. As evidence of
       the vitalizing effect of such transfers, previous research on the effect of
       transfers to AQI sectors in Anbar governorate showed that these trans-
       fers were associated with increases in the rate of AQI attacks in recipi-
       ent areas for up to the next four weeks.29
             The group tasked its administrators with financial reporting semi-
       monthly or monthly, which provided information that might have
       informed these reallocation decisions. We do not have access to docu-
       ments from the period after the current leader, Abu Bakr al-Baghdadi,
       assumed control over ISI and its successor, ISIS. However, the organi-
       zation’s continued use of such calculated financial practices would have
       been a sound means to develop its capabilities to conduct persistent
       violent campaigns in Syria and Iraq, as al-Baghdadi’s organization has
       done especially effectively in 2013 and 2014.

       29 Bahney, Shatz, et al., 2010, pp. 57–71.




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       CHAPTER TEN

       Conclusions and Implications




       The Islamic State as of 2016 represented a deadly challenge to the
       people of the Middle East and to governments throughout the region,
       as well as to other countries worldwide. This organization did not arise
       out of nowhere. The group, which had roots in Jordan dating back to
       the early 1990s, has been active in Iraq since 2002. Since around 2004,
       the group’s fundamental characteristics have apparently changed very
       little, as this chapter shows using more-recent information (through
       2015). This means that findings about the group dating from 2005 to
       2010 can help develop the strategy and methods to combat it in 2015.
       Its fundamental characteristics that exhibit great continuity include a
       desire to establish an Islamic state based on the group’s vision of early
       Islam,1 the use of indiscriminate violence against Shia civilians,2 the
       desire to kill those they consider to be apostates or those from unpro-
       tected religions, and the view that violent jihad is necessary.3
              In many ways, the group has fulfilled this vision, exemplified by
       its rule over a territory the size of Great Britain, the massacre of 1,700
       Shia at Camp Speicher in June 2014,4 and the establishment of slave


       1   Fishman, 2007; Bunzel, 2015.
       2   Al-Zarqawi, 2004.
       3  Pascale Combelles Siegel, “Islamic State of Iraq Commemorates Its Two-Year Anniver-
       sary,” CTC Sentinel, Vol. 1, No. 11, October 2008; Bunzel, 2015.
       4  Tim Arango, “Escaping Death in Northern Iraq: Video Feature: Surviving an ISIS Mas-
       sacre,” New York Times, September 3, 2014; Wassim Bassem, “IS Massacre Leaves Families
       of Victims Stunned,” trans. Sahar Ghoussoub, Iraq Pulse, Al-Monitor, August 28, 2014.



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       markets, where girls from the Yazidi religion, viewed by the Islamic
       State as a form of devil worship, are sold for sex.5
             Even where there seems to be dramatic change, there has been
       continuity. The Islamic State has unleashed a sophisticated propaganda
       campaign, across multiple platforms, including video, print, and social
       media. The analyst Charlie Winter has written that this propaganda
       “has generated a comprehensive brand . . . composed of six non-discrete
       narratives—brutality, mercy, victimhood, war, belonging and utopia-
       nism.” Of these, new recruits are most drawn to the utopianism.6 In
       the realm of social media, analysts found that in the last quarter of
       2014, Islamic State supporters used at least 46,000 Twitter accounts,
       with 20 percent selecting English as their primary language.7 As noted
       in Chapter Four, AQI’s early organizational blueprint included media
       operations, and media emirs were counted as an essential position in
       the subnational divisions of ISI in 2008, although none of those posi-
       tions was filled.
             Because of the continuity of the group’s goals and methods,
       understanding its past can help design policies and actions to limit
       its future.8 This report provides a comprehensive examination of the
       finances, organization, personnel policies, and management of ISI,
       the predecessor of today’s Islamic State. Working with more than
       140 recently declassified ISI documents, including personnel tracking
       spreadsheets, expense reports, and financial logs, we analyzed



       5  Patrick Osgood and Rawaz Tahir, “Iraq’s Yezidi Minority Faces Massacre,” Iraq Oil
       Report, August 6, 2014; Nick Squires, “Yazidi Girl Tells of Horrific Ordeal as ISIL Sex
       Slave,” Telegraph, September 7, 2014.
       6  Charlie Winter, The Virtual “Caliphate”: Understanding Islamic State’s Propaganda Strat-
       egy, London: Quilliam Foundation, 2015, p. 6.
       7  J. M. Berger and Jonathon Morgan, The ISIS Twitter Census: Defining and Describing
       the Population of ISIS Supporters on Twitter, Washington, D.C.: Brookings Institution, U.S.
       Relations with the Islamic World, Analysis Paper No. 20, March 2015.
       8  See Michael Weiss and Hassan Hassan, ISIS: Inside the Army of Terror, New York:
       Regan Arts, 2015, which presents the group’s background and a strong account of its recent
       activities.




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         • plans for geographic organization and state-building in northern
           and western Iraq
         • individual-level data on the country of origin and practical quali-
           fications of more than 499 ISI members in 2007–2008, including
           393 foreign members and 106 Iraqis
         • individual-level data on member status and unit assignments for
           1,149 active members and 1,159 dead or imprisoned members
           derived from what appear to be near-complete personnel records
           maintained by ISI administrative emirs in Ninewa governorate in
           late 2007 and early 2009
         • individual-level salary data on 9,271 salary payments in Anbar,
           Diyala, Ninewa, and Salah al-Din governorates from 2005 to
           2009
         • transaction-level expenditure and income records for Anbar gov-
           ernorate in 2005–2006, Ninewa governorate in 2008–2009, and,
           more modestly, two other locations.

             Although neither representative nor fully exhaustive, these records
       paint the clearest picture available in the open-source literature of how
       ISI developed and implemented many of the same organizational strat-
       egies, methods, and procedures that typify how the Islamic State now
       operates and finances itself on a grand scale.
             ISI designed its organization to be a top-down multidivisional
       hierarchy, in which a central management structure with functional
       bureaus was to be replicated at multiple lower geographic levels, as con-
       ditions permitted. As in most organizations of this type, each geo-
       graphic unit had substantial autonomy, while issues requiring coordi-
       nation between units—such as the allocation of resources, both human
       and financial—were handled by the central organization. Although
       this structure is associated with the unprecedented successes of the
       Islamic State, it does have certain inherent weaknesses and vulnerabili-
       ties that constrained and undermined ISI. The group raised money in
       ways that created friction with local economic elites. Moreover, the
       way that the group managed human resources and finances reflected
       an organization that lacked internal cohesion and did not fully trust
       its operatives. At the same time, the group created durable manage-




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       ment institutions that enabled it to survive massive personnel losses,
       high turnover of senior leadership, and an ideological break in forming
       ISI. After multiple failures of the Iraqi government, Middle Eastern
       countries, and the international community regarding policy toward
       Syria, as well as of the United States, coalition partners, and Iranian
       policymakers and operatives regarding influence over Iraqi government
       policies and decisionmaking, these institutions enabled the group to
       resurge. They put it in a position to expand its operations and capture
       large swaths of Syria, declare the Islamic State in Iraq and al-Sham,
       accelerate operations in Sunni areas of Anbar and Ninewa governor-
       ates, and ultimately to declare the Islamic State caliphate in territory
       spanning the Iraqi-Syrian border.
              ISI applied an organizational structure that was originated by al-
       Qa‘ida. Where al-Qa‘ida built an organization focused on setting up
       branches around the world, ISI used this model to set up subnational
       jurisdictions throughout Iraq. ISI applied the model with great empha-
       sis on controlling territory, contiguous, if possible; farming the local
       economy for revenue; and spreading its control and operations outward
       by violently applying a simple yet effective template for state-building
       that involved specific organizational and ideological principles and tac-
       tics, techniques, and procedures for administering territory after it had
       been infiltrated and subverted or overrun. From 2006 through 2010,
       coordinated action by the United States and coalition forces, as well
       as the Iraqi government, military, police forces, tribal elements, and
       intelligence agencies, degraded this structure, but the system was able
       to survive at lower levels of activity and reemerge when political and
       security conditions changed. This may have been due, in part, to ISI’s
       strategic use of human capital. ISI appeared to assign roles inside the
       organization based on skills and beliefs. For example, foreigners were
       more likely than Iraqis to be true believers in ISI’s ideology, and so
       foreigners dominated the suicide-bomber corps. In contrast, Iraqis had
       better local knowledge and could mix more easily with the population,
       and so they dominated security roles. In the remainder of this chap-
       ter, we review our key findings and discuss the implications, both for
       methods and policy.




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       Key Findings

       Studying ISI’s documents provides evidence on several aspects of how
       one particular jihadist militant organization worked and highlights its
       ultimate limitations. To the extent one believes that ISI faced a set of
       organizational imperatives and challenges common to terrorism and
       insurgency, and that the Islamic State today faces the same challenges
       while increasing its global influence by expanding across many Muslim
       countries, analysis of ISI also provides possible ideas about how other
       jihadist groups may try to organize and finance themselves under the
       Islamic State’s banner. The lessons from examining the group’s history
       are also useful for setting expectations about the strengths and vulner-
       abilities of the Islamic State and its ability to combat its opponents,
       designing a coordinated and effective campaign against it, and under-
       standing why it might be able to survive such an effort and sustain
       itself into the future, albeit perhaps at a lower level of threat.

       Militant Organization Structures and Management Practices
       Four facts about militant management stand out in our analysis. First,
       this report reinforces the idea that rebel and insurgent organizations
       need hierarchical governance to operate at scale. Both AQI’s and ISI’s
       organizational structures resembled those designed by al-Qa‘ida in the
       1990s, when al-Qa‘ida was engaged in training jihadis to export Salafi-
       jihadist militancy to establish Islamic emirates in far-flung parts of the
       Muslim world. As of 2008, ISI had articulated its governance of Iraq in
       great detail, subdividing the country into sectors, defining governing
       positions for each of those sectors, and recording which positions were
       filled. As of 2015, the most-authoritative reporting on the Islamic State
       suggested that these basic structures have remained largely the same.
       The group’s managerial responsibilities and structures have remained
       almost identical despite many changes on the battlefield, although the
       Islamic State appears to have added more bureaucratic subsidiaries to
       exploit opportunities and deal with requirements associated with the
       expanded territory it controls. The Islamic State might have lacked the
       ability to reorganize when its original blueprint failed, or the hierarchi-
       cal structures we observe might have remained intact because of their




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       robustness and suitability to the Islamic State’s aims and objectives.
       The latter argument appears far more likely to be correct, given how
       adaptive the Islamic State and its predecessors have proved in tactical
       proficiency and operational planning and execution.
             Second, rationally managing human resources in these settings,
       although challenging, was a characteristic of ISI. Examples include its
       use of foreign fighters versus Iraqi personnel and its use of tracking
       spreadsheets that listed personnel qualifications and a bit about their
       operational histories. We also found evidence of substantial mobility
       over space and between units. There appeared to be limits, however.
       We found no documents reporting centrally directed efforts to allo-
       cate members to specific jobs. Given the systematic way that financial
       matters were recorded, this gap is surprising. It suggests that person-
       nel allocations were made at lower levels, or in a more ad hoc manner,
       based on members’ relationships with specific emirs or on members’
       general reputations.
             Third, some of the unexpected aspects of the groups’ compensa-
       tion and financial schemes—its low salaries, for example—were poten-
       tially useful for managing agency problems. In particular, having salary
       structures that emphasized equity and making payments to the fami-
       lies of killed or detained militants makes sense from the perspective
       of managing internal agency problems. These are the problems leaders
       face in getting their followers to carry out orders when the leaders do
       not have complete control over followers’ actions. Policies regarding
       expense reporting make sense from the same perspective. Although
       creating a paper trail and courier networks exposed the group to great
       risk of exposure, those practices also gave leadership greater control.
       And, as we showed in Chapter Nine, there is some direct evidence of
       corruption in ISI.
             Fourth, although ISI’s management and information reporting
       requirements appeared quite systematic for an ostensibly covert mili-
       tant organization, they pale in contrast with those of even modestly
       capable state militaries and other government bureaucracies. For all
       of ISI’s attempts to document its human resources, finances, attack
       and military operations, and other facets of its organizational activities,
       such reporting occurred in piecemeal fashion, with a proliferation of



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       nonstandard formats for reporting, even during periods when admin-
       istrative officials were trying to enforce common standards.
             All of this makes sense from an organizational theory perspective.
       Even highly effective militant organizations face substantial manage-
       ment challenges. These organizations recruit a diverse workforce will-
       ing to violate all manner of behavioral norms, particularly if employing
       foreign fighters, and have to operate under challenging conditions with
       limited oversight. In such conditions, it is hardly surprising that these
       groups have a great deal of trouble making sure members behave as the
       organizations want at all times. Our documents clearly show that AQI
       and ISI were no different, and there is no reason to believe that the
       Islamic State is either.
             But as the long-run history of the predecessors of the Islamic
       State shows, one should not mistake those challenges for an inability
       to endure and regenerate. The group took enormous losses from 2006
       to 2010 but was able to maintain its command and control structures,
       send trained members and leaders into a neighboring country twice—
       once as Jabhat al-Nusrah and once under its own command—and
       return to take control of large swathes of territory from western Iraq to
       eastern Syria.

       Insurgent and Terrorist Financing
       The most important lesson from ISI’s revenue-raising practices is that
       insurgent groups do not need external backers if they can tax the econ-
       omy. As of mid-2015, the Islamic State reportedly generated more than
       $1 million per day in extortion and taxation, about $1.3 million per
       day from oil smuggling and other means of farming the oil sector, and
       additional revenues from kidnapping for ransom, antiquities smug-
       gling, and bank heists.9 Oil had at one point generated $1 million,
       and even up to $3 million, per day in revenue, and the Islamic State
       has been described since its reemergence as the richest terrorist group



       9  Sarah Almukhtar, “ISIS Finances Are Strong,” New York Times, May 19, 2015; Michael
       R. Gordon and Eric Schmitt, “U.S. Steps Up Its Attacks on ISIS-Controlled Oil Fields in
       Syria,” New York Times, November 12, 2015.




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       on the planet.10 Faced with an accelerated effort to attack its oil assets
       starting in late 2015, the Islamic State was still reportedly earning as
       much as $1 million per day from oil assets in April 2016.11 Neither
       AQI nor ISI generated revenue on this scale during the period in our
       documents. According to the AQI and ISI ledgers analyzed for this
       study, AQI in Anbar governorate generated an average of $18,000 per
       day from June 2005 through October 2006 (including one revenue
       transaction on November 1, 2006). ISI in the Mosul area of Ninewa
       governorate generated an average of about $31,000 a day—a 72-per-
       cent increase over time. These are governorate revenues, but even so,
       it is highly unlikely that additional revenues from other governorates
       would have amounted to the total the group is taking in today. For
       the group as a whole before 2010, oil smuggling might have netted ISI
       $200 million annually—almost $550,000 per day—with $50,000 to
       $100,000 per day coming from operations related to the Baiji refinery
       in early 2008.12
             These daily revenues were far lower than the current estimates of
       the Islamic State’s daily revenues in mid-2015. This should not be sur-
       prising; ISI controlled far less territory and thus had fewer opportuni-
       ties to tax or directly take over crude oil production and refineries, as
       it reportedly has done in Syria; to sell oil and gas to the Syrian regime
       and others throughout Syria; or to demand a cut from intermediary
       black-market actors that smuggle oil through northern Iraq and into
       Turkey.13 By 2008, however, profits from involvement in Iraq’s black-
       market oil sector were already one of ISI’s top two sources of revenue.

       10 Johnston and Bahney, 2014c; Vivienne Walt, “How Guns and Oil Net ISIS $1 Million a
       Day,” Fortune, June 24, 2014; Howard J. Shatz, “How ISIS Funds Its Reign of Terror,” New
       York Daily News, September 8, 2014a; and Howard J. Shatz, “To Defeat the Islamic State,
       Follow the Money,” Politico Magazine, September 10, 2014b.
       11 Benoit Faucon and Margaret Coker, “The Rise and Deadly Fall of Islamic State’s Oil
       Tycoon,” Wall Street Journal, April 24, 2016.
       12 Ayman Oghanna, “Corruption Stemmed at Beiji Refinery—But for How Long?” Iraq Oil
       Report, posted by Alice Fordham, February 16, 2010; Oppel, 2008.
       13 See, e.g., David E. Sanger and Julie Hirschfeld Davis, “Struggling to Starve ISIS of Oil
       Revenue, U.S. Seeks Assistance from Turkey,” New York Times, September 13, 2014; Erika
       Solomon, Guy Chazan, and Sam Jones, “ISIS Inc.: How Oil Fuels the Jihadi Terrorists,”




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       The group’s transition from relying on petty crime, to more sophisti-
       cated mafia-style protection rackets, to direct involvement in oil pro-
       duction and smuggling reflects the organization’s gradual improvement
       in revenue collection.
             Access to funding is important to the Islamic State—militant
       groups that become significant threats to U.S. national security are
       those that both establish safe havens in which operations and attack
       planning can be conducted freely and have the resources necessary to
       finance external operations. Historically, terrorist groups have pursued
       these prerequisites through external state sponsorship—for example,
       the Taliban provided al-Qa‘ida under Usama Bin Ladin with a safe
       haven in Afghanistan after Bin Ladin was forced to leave Sudan in the
       mid-1990s. Al-Qa‘ida raised money from foreign donors, among other
       sources.
             ISI and its successor, the Islamic State, are different. In the case
       of ISI, the group explicitly noted that gaining external backers imposes
       substantial liabilities and gives the backers leverage over the organiza-
       tion.14 It and the Islamic State rely largely on taxing economic activity
       in areas they control, or at least where they can pose a serious threat of
       violence against those being taxed. As the group’s survival from 2010
       to 2012 shows, such revenue generation can clearly happen in a sus-
       tainable way, even in the presence of a substantial counterterrorist cam-
       paign. But ramping up taxes to high levels can only happen when mili-
       tants have a substantial measure of control in an area and can operate
       with relative impunity, as the Islamic State has had in northern Iraq
       between June 2014 and mid-2015. Such taxation cannot be conducted
       without revealing an organization’s forces to outside observers. It can
       also not be done without the organization interacting with the commu-
       nity. At minimum, the people being taxed will know something about
       the organization, and the organization’s tax collectors must expose


       Financial Times, October 14, 2015; and Erika Solomon and Ahmed Mhidi, “ISIS Inc.: Syria’s
       ‘Mafia-Style’ Gas Deals with Jihadis,” Financial Times, October 15, 2015.
       14 See, e.g., Harmony document NMEC-2008-612449, “Analysis of the State of ISI,” a
       declassified captured document about ISI’s “lessons learned” (from both its own and other
       Islamic militant organizations).




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       themselves. This therefore opens up the organization to counteraction
       by an adversary with the ability to act in the group’s territory, as many
       states with effective air power and special operations forces can do.

       Compensation and Participation in Militant Organizations
       ISI had a well-developed payroll system with clearly defined salaries.
       This should not seem odd. Even the most dedicated jihadis need to
       make a living. In the context of a violent insurgency where large num-
       bers of fighters need to be recruited, people with families and other
       financial obligations are a valuable labor source, both because any
       group that cannot recruit them has a smaller labor pool to draw from
       and because success in marriage markets correlates with human capital
       in most places.
             But ISI did not pay competitive wages. Nonmonetary compen-
       sation must therefore have been a big part of the overall package for
       ISI fighters. In fact, pay was often lower in places with higher levels
       of fighting and during periods when combat was more intense. This
       suggests two possibilities: either (1) the group’s members have negative
       risk premiums (so that martyrdom risk is an amenity) or (2) there were
       substantially more people willing to fight for the group in 2006, when
       the war was going relatively well, than in 2008, when it was not, and
       therefore their risk-adjusted pay had to be higher later in the war.
             All of this poses a challenge for traditional opportunity-cost
       models of conflict. In such settings as this one, improvements and
       declines in the legitimate economy might be immaterial to the popula-
       tion being recruited. The information in these documents can therefore
       help make sense of the positive relationship between employment and
       violence observed in Iraq.15




       15 Eli Berman, Michael Callen, Joseph H. Felter, and Jacob N. Shapiro, “Do Working Men
       Rebel? Insurgency and Unemployment in Afghanistan, Iraq, and the Philippines,” Journal of
       Conflict Resolution, Vol. 55, No. 4, 2011.




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       Implications and Recommendations for Analysis

       The implications of this study can be broken down into two categories:
       methodology and policy. We first address the methodology issues and
       then close with policy implications. The methodological considerations
       are simple: More systematic study of captured documents and media is
       necessary to gain the fullest possible understanding of the threat that
       groups such as the Islamic State actually pose. There is a gap in both the
       policy and academic analytic cycle—neither group combines in-depth
       analysis with the kind of theoretical sophistication that lets one draw
       broader lessons. We have made some progress on this score, but much
       more could be done. There are substantial limitations on what can be
       achieved analytically and inferentially in a study such as this because
       of the limited availability of documents, as described in Appendix A.
             Greater collaboration between government analysts and social sci-
       ence researchers—including subject-matter experts, experts on meth-
       odology and theory, and linguists—on documents and media that
       have been obtained from militant groups (jihadist militant groups in
       particular) could be extremely productive. Government analysts can
       gain from a better conceptual framework—ideally one supported by
       systematic analysis of data—with which to interpret and contextual-
       ize real-time, tactical information as they receive it. This is particularly
       true for threat groups such as ISI, where strategic questions are of great
       importance and for which analysts may lack substantial background
       knowledge and a good intelligence picture of the details and actors in
       play on the ground16 or knowledge of advanced methodologies.
             Systematic document exploitation can provide a valuable adjunct
       to other forms of collection and analysis about militant groups. Docu-
       ment exploitation may be undervalued, as exemplified by the closure
       of the Conflict Records Research Center, a document repository at the
       National Defense University.17

       16 The massive focus on the group from 2005 to 2010 was not sustained after the U.S. with-
       drawal from Iraq.
       17 Michael R. Gordon, “Archive of Captured Enemy Documents Closes,” New York Times,
       June 21, 2015; Mark Stout, “Understand Our Wars and Enemies? Nah . . .” War on the Rocks,
       August 21, 2013.




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            Documents can provide a portrait of how the organization works
       and what its weaknesses and strengths are. They can identify impor-
       tant nodes of communication. They can identify the organization’s
       plans and its strategy—in the case of ISI, the documents show clearly
       an organization intent on state-building. The usefulness of document
       exploitation should not be surprising. Societies have long understood
       the value of archives, and the operational value of documentation is
       substantial, albeit short-lived.
            To be maximally useful, however, such document collections
       need to be

          • large scale, so that the representativeness of documents is discern-
            ible18 (scholars need to be able to assess whether any given docu-
            ment is normal or a unique outlier)
          • well documented, since high-quality metadata enable thoughtful
            sampling strategies and the efficient selection of documents for
            closer inspections.

             There are substantial challenges to achieving these goals. Main-
       taining large-scale document collections is expensive, and consistently
       recording metadata at the collection point entails practical challenges
       in high-intensity operational environments. These challenges, however,
       are predictable, and, given the long-run value of understanding insur-
       gent and terrorist organizations, future collection efforts should keep
       in mind these twin imperatives.
             Systematic document exploitation also needs people with multiple
       skills. We have found that to get the most out of any document set, it is
       valuable to have practiced intelligence analysts, social scientists, trans-
       lators, and military personnel with battlefield experience. This argues
       for carefully building analytic teams for document exploitation.

       18 Technically, we would want to know the distribution of documents, as in the probability
       distribution. This would shed light on how common are such documents as large-scale finan-
       cial spreadsheets, personnel rosters, and reimbursement notes. Without knowledge of such
       a distribution, we cannot definitively conclude that the findings from a document analysis
       apply to the group as a whole over a long period or only to the specific faction of the group
       that generated those documents at the time they were generated.




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       Implications and Recommendations for Policy

       In spite of the Sunni Awakening movement in 2006, the U.S. troop
       surge in 2007, and a campaign of highly refined U.S., coalition, and
       Iraqi counterterrorism operations that badly damaged ISI, the group
       was strong enough to persist. A successful strategy against the Islamic
       State will comprise many elements. Militarily, these elements will
       include direct action against the group; training, advising, and assist-
       ing troops involved in the fight; and providing arms, intelligence, and
       other support. Socially, deradicalization efforts are needed, not only in
       Iraq and Syria but throughout the world.
             A full understanding of the group’s traditional goals, manage-
       ment methods, human resource policies, and financial practices, as
       analyzed in this report, can also inform a counter–Islamic State strat-
       egy. In fact, such an understanding can point out vulnerabilities and
       avenues for eroding the group’s power and influence.

       Organization and Territorial Control
       ISI’s organization mirrored that of traditional, legitimate states and
       organizations in many respects, even though the group’s ideas about
       statehood, the rights of citizenship, and the provision of public goods
       were quite different from those of legitimate states. The reasons why
       are simple: This is the most effective way to organize collectively across
       a large area of strategic importance. Such structures also signaled to
       enemies and allies that the group looked like a state. And, most impor-
       tant, establishing a state was a goal, one that has been approximately
       realized.
             By 2008, ISI had articulated 31 specific geographic subdivisions
       of its Islamic State of Iraq, building on previous pronouncements of
       founding an Islamic state. By 2015, the Islamic State had declared
       33 wilayat, or provinces, throughout the greater Middle East, includ-
       ing ten in Iraq, seven in Syria, two spanning the border of Iraq and




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       Syria, six in Yemen, three in Libya, and one each in Saudi Arabia, Alge-
       ria, Egypt, Afghanistan-Pakistan, and Nigeria.19
             The combination of cognitive constraints on leadership, high turn-
       over from warfighting, efforts to establish state-like services, and prob-
       lems within the organization regarding the translation of management
       intent to member operations—the organization’s agency problems—all
       point to great value in having formalized organizational structures and
       substantial amounts of paperwork and record keeping. This could well
       apply to any nonstate group striving to establish a state. In the case of
       the Islamic State, the persistence of such structures—and their likely
       extension to affiliates in Libya, Egypt, Afghanistan, and elsewhere—
       creates substantial vulnerabilities.
             In particular, the resulting documents create a vulnerability as
       soon as groups face an enemy whose military forces cannot be excluded
       from their territory. These documents can show a group’s size, its spe-
       cific personnel, its sources of revenue, and its overall strategy—all
       information useful for combating it. Thus, when the Islamic State, or
       any similarly sized group, faces a highly competent military force, all
       the things it does to organize well become a major vulnerability. As we
       have shown, the group’s records are particularly rich. A short organiza-
       tional instruction from 2007, or earlier, doubled as an instruction for
       generating documents. The main responsibilities of the finance depart-
       ment were to

             1. Open and Maintain a Register for the incoming documents

             2. Open and Maintain a Register for the outgoing documents

             3. Incoming status report with the Daily situations

             4. Outgoing status report with list of monthly miscellaneous
             expenses.20


       19 Aaron Zelin, “The Islamic State’s Model,” Monkey Cage, Washington Post, January 28,
       2015a; Aaron Zelin, “Full List of the 33-Officially-Claimed Wilayat of the Islamic State as
       of Today,” Twitter, June 20, 2015b.
       20 Harmony document MNFT-2007-005313; see “ISIL, Syria and Iraq Resources,” 2015.




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             The main responsibilities of the soldiers department were to

             1. Tally the number of active, non-active fighters, captures and
             martyrs who pledged their life for the cause only plus sectors mis-
             cellaneous expenses

             2. Following up the fighters rental expenses

             3. Following up the Fighters marriage Issues

             4. Following up the pledges of the new comers (fighters)

             5. Daily status report about any changes in the fighters situation
             such as number captured, killed, injured, marriage.21

             For the intelligence vulnerabilities of an actor such as the Islamic
       State to be exploited, there must be commensurate efforts in intelli-
       gence collection, analysis, counterterrorism, and counterinsurgency.
       U.S.-led coalition forces were able to do this successfully, most notably
       by task forces of U.S. and British special operations forces. The com-
       mitment of resources to countering AQI and ISI was significant, how-
       ever, compared with most intelligence efforts. For a similar intelligence
       and operational capability to be established by ISF, and in particular,
       Iraqi special operations forces, will require significant capacity-build-
       ing on the analytical side, as well as substantial support from other
       parts of the U.S. government interagency community. Specific capa-
       bilities necessary include financial investigations, which would be sup-
       ported by the U.S. Department of Treasury. They also include street-
       level investigative capacity necessary to counter criminal-like activities
       by the Islamic State, which provide a revenue stream and help it con-
       trol the Iraqi population in areas where it operates. Support from the
       U.S. Federal Bureau of Investigation and the U.S. Drug Enforcement
       Administration, or similar agencies from other countries, to the Iraqi
       government could help a great deal. On the collection side, the vulner-
       ability that stems from running a highly bureaucratic state suggests


       21 Harmony document MNFT-2007-005313; see “ISIL, Syria and Iraq Resources,” 2015.




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       that when members of the group are targeted for capture, emphasis
       should be put not only on the leadership but on personnel who main-
       tain and store records, such as administrative emirs.
             As with any state, the Islamic State has specific leaders. The his-
       tory of operations against ISI shows that leader targeting is one effec-
       tive aspect of combating the group. First, it removes competent people,
       potentially leading to a pause in operations or to less effective opera-
       tions as the group finds replacements. Second, it damages morale, espe-
       cially when a particularly charismatic leader is targeted. ISI’s contract-
       ing revenue fell steeply in October and November 2008, after the ISI
       deputy Abu Qaswarah was killed. Morale was also damaged.
             Also, the very threat of targeting at any level pushes the group
       underground and makes it more difficult to coordinate actions. It can
       also breed fear. An ISI strategist writing in late 2007 or early 2008
       noted the effects of U.S. and coalition targeting operations on group
       morale, cohesion, and operations:

             These kinds of Emirs started setting fear in the hearts of Muja-
             hidin [person who performs jihad, in this case an ISI member]
             through their description of American airdrops [insertion of
             troops by air], their air superiority and armored vehicles and
             Hummers, and that we are lacking the effective weapon for con-
             fronting them, to include that we are outnumbered and they
             are better equipped. As soon as the brother Mujahid hears these
             words about the Americans, fear starts creeping into his heart, as
             if the Americans were on foot, and one begins comforting himself
             with the idea of the Americans definitely pulling out and no one
             else being left except the apostates [the Shia and the Iraqi govern-
             ment and its institutions] who they will extract from their roots.22

             Eliminating leaders has two problems. First, it can backfire by
       paving the way for more-effective leaders. The 2010 U.S. and Iraqi raid
       that killed Abu Ayyub al-Masri and Abu Umar al-Baghdadi cleared
       the way for Abu Bakr al-Baghdadi to take the reins of the group, and
       he is the current leader. This is a problem that cannot be solved, and

       22 Harmony document NMEC-2008-612449; see “ISIL, Syria and Iraq Resources,” 2015.




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       we suggest that, in general, the benefits of eliminating leadership have
       outweighed the risks.
             Second, the group’s records show that it establishes a deep bench
       of personnel, so that attacking individual leaders will not destroy the
       group. Organizational charts from Anbar and Mosul at different peri-
       ods show committee structures, and ISI reallocated people across units
       and into back-office functions when needed. Therefore, any counter-
       personnel strategy must strive to eliminate entire layers of high-level
       and midlevel managers, such as an administrative emir and his admin-
       istrative committee.

       Countering the Islamic State’s Fighters
       Just as its predecessor did, the Islamic State draws its personnel from
       a diverse array of nationalities. Although no one, except, perhaps, the
       group’s leaders, knows its membership numbers, membership has been
       estimated at anywhere from 9,000 to 200,000 throughout 2014 and
       2015.23 In September 2014, a Central Intelligence Agency spokesper-
       son said that the group had an estimated 20,000 to 31,500 fighters and
       that about 15,000 foreign fighters from 80 countries, including 2,000
       Westerners, had gone to Syria.24 By early 2015, the U.S. intelligence
       community estimated that 20,000 foreign fighters from 90 countries
       have flowed into Syria since 2011, and more than 3,400 fighters from
       Western countries have gone to Syria or Iraq.25 Many have joined the
       Islamic State. Not only do they tend to be the most ideologically com-
       mitted but they also represent a threat to their own countries should


       23 Daveed Gartenstein-Ross, “How Many Fighters Does the Islamic State Really Have?”
       War on the Rocks, February 9, 2015.
       24 Eyder Peralta, “CIA Doubles Its Estimate of Islamic State Fighters in Iraq and Syria,”
       NPR.org, September 11, 2014; Mario Trujillo, “CIA: ISIS Has 20,000 to 31,500 Fighters,”
       The Hill, September 11, 2014; Jim Sciutto, Jamie Crawford, and Chelsea J. Carter, “ISIS Can
       ‘Muster’ Between 20,000 and 31,500 Fighters, CIA Says,” CNN.com, September 12, 2014;
       Michael Walsh, “ISIS Can Muster 20,000 to 31,500 Fighters, Triple Previous Estimates:
       CIA,” New York Daily News, September 12, 2014.
       25 James R. Clapper, “Opening Statement to Worldwide Threat Assessment Hearing,”
       Senate Armed Services Committee, Washington, D.C.: Office of the Director of National
       Intelligence, February 26, 2015.




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       they try to return home. During the period of our documents, ISI was
       placing people into jobs and giving them training in an apparently
       intentional manner. ISI was also using them rationally. Iraqis, who
       had local knowledge and could blend into their communities, were the
       primary staff members of security functions—running counterintelli-
       gence operations, handling street-level financial activities, and protect-
       ing leadership. In contrast, foreigners, more likely to be true believers,
       were the primary fodder for the suicide-bomber corps. However, most
       foreigners held regular jobs in ISI, working in military roles and con-
       ducting terrorist operations.
             Since 2012, the operating environment and mission for ISI have
       dramatically changed, and it has rebalanced its activities to more-
       traditional military operations using small arms, artillery, and maneu-
       ver in numbers. Under the new scale of operations, Iraqi and Syrian
       recruits appear to be playing an active role in planning and leading
       military operations, because the Iraqi members, especially, are more
       educated and have more experience with traditional military affairs
       from their time in Saddam Hussein’s military.
             Even with this reliance on local members, characteristic of other
       periods during the group’s history, the group has a continuing need
       and use for foreigners. For example, the group has been advertising as
       far as North Africa for skilled oil field technicians.26 And it is thought
       that it has been recruiting chemical weapons specialists.27
             Furthermore, the Islamic State’s ideology and its outward image
       are based on Salafi jihadism, in the vein of what some scholars have
       called a foreign-fighter ideology. This ideology is based on the idea that
       an existential external threat faces the Muslim nation—in this case,
       the coalition force and the Shia-dominated government of Iraq—and
       that Islamic law demands that all Muslims fight back militarily.28 In

       26 John C. K. Daly, “Operation Inherent Resolve: The War Against Islamic State’s Oil Net-
       work,” Terrorism Monitor, Vol. 13, No. 1, January 9, 2015.
       27 Jane Norman, “Islamic State Recruiting ‘Highly Trained Professionals’ to Manufacture
       Chemical Weapons, Julie Bishop Warns,” ABC (Australia), June 6, 2015.
       28 Thomas Hegghammer, “The Rise of Muslim Foreign Fighters,” International Security,
       Vol. 35, No. 3, Winter 2010–2011.




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       this light, the Islamic State has long had a natural tension between the
       skills and ideology of the local Iraqi (and now Syrian) members and the
       foreign fighters who have joined the fight from abroad.
             The use of foreigners should raise great concern to policymak-
       ers. Contrary to reports that ISI groomed the vast majority of its for-
       eigner fighters for suicide operations in the pre-2010 period, it trained
       a large share of the foreign fighters who traveled to Iraq in the arts of
       unconventional military operations, bomb-making, and IED attacks.
       Assuming that the Islamic State has continued to train foreigners in
       the manner we see in these documents, the organization has developed
       a group of trained and hardened foreign fighters with unconventional
       skills that could be directed against other countries. As other schol-
       ars have pointed out, a majority of transnational terrorist operatives to
       date began their careers as foreign-fighter volunteers, and most trans-
       national jihadist groups are by-products of foreign-fighter mobiliza-
       tions.29 An obvious concern for Western policymakers is that Muslims
       are traveling from North America and Europe to Iraq and Syria to
       join the Islamic State in far greater numbers than were ever conceiv-
       able in the 2005–2010 period. Returned travelers pose a serious threat
       in terms of conducting attacks and spreading the ideology and meth-
       ods of jihad in an attempt to radicalize elements of the predominantly
       moderate Muslim populations of these countries. These travelers also
       pose a continued threat, because of intelligence gaps concerning the
       Islamic State’s radicalization and recruitment of Western citizens and
       the ability of Western citizens to travel to and from their home coun-
       tries with few legal restrictions.
             As of 2015, the Islamic State is training jihadist fighters—as many
       as two-thirds of them foreign—in camps it has established in Iraq and
       Syria at roughly ten times the rate ISI was able to. Available reporting
       indicates that, at times, ISI had as few as four (or possibly even fewer)
       training camps in Iraq. By November 2014, 46 jihadist training camps,


       29 See Mohammed Hafez, “Jihad After Iraq: Lessons from the Arab Afghans,” Studies in
       Conflict and Terrorism, Vol. 32, No. 2, February 2009, p. 77; Thomas Hegghammer, Jihad in
       Saudi Arabia: Violence in Pan-Islamism Since 1979, Cambridge, UK: Cambridge University
       Press, 2010.




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       the majority attached to the Islamic State, had been identified in Iraq
       and Syria.30 We found that foreigners were more likely to have received
       jihadist training than were Iraqis during the ISI era. One of the causes
       likely was the difficulty of training ISI members inside Iraq at the time.
       Training is almost certainly easier to conduct at present in Iraq and
       especially in Syria.
             Therefore, greater effort will need to be dedicated to stopping the
       flow of foreign fighters. This has already started but is clearly not work-
       ing well, because foreign fighters are still flowing in. Several enhanced
       efforts are needed. The first is enhancing border controls in transit
       countries—Turkey, most especially. This may require greater technical
       assistance and further negotiations by partner countries, the United
       States, and North Atlantic Treaty Organization allies in Europe.
       Whatever benefit Islamic State action against Syrian President Bashar
       al-Assad brings to Turkey, the group may represent a serious future
       threat to Turkey itself. After all, Assad did little to stem the flow of for-
       eign fighters through Syria to Iraq and, consequently, ISI in the 2000s,
       and his population is paying for that policy today.
             The second effort is greater scrutiny of potential members from
       sending countries. For some countries, this will require a careful bal-
       ancing between security needs and civil liberty requirements. Stopping
       people from arriving at the territory of the Islamic State also means
       stopping people from being trained and increasing the ability to learn
       about fighter-facilitation networks.
             Both of these efforts will be enhanced by a third: greater informa-
       tion sharing among intelligence and law-enforcement organizations,
       both within and across countries. Here again, civil liberty requirements
       and values will need to be honored. However, it is likely that more
       sharing can take place because of various stovepipes among agencies
       that have not been fully overcome.
             In the wake of the Lebanon and Paris attacks in November 2015,
       it is now clear that the Islamic State has dedicated real resources to
       foreign targets, including in the West. The Islamic State appeared to

       30 Bill Roggio and Caleb Weiss, “More Jihadist Training Camps Identified in Iraq and
       Syria,” The Long War Journal, November 23, 2014.




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       shift its posture against the West after the coalition intervened in the
       Iraq conflict, as signified by the group spokesperson Muhammad al-
       Adnani’s speech in September 2014, in which he called for Muslims
       to strike at coalition targets—military or civilian—wherever they are
       found. He also specifically alluded to the group “drawing and dragging”
       America into a ground war.31 Subsequent to this speech, a number of
       Islamic State–linked attacks occurred in coalition countries—including
       Canada, Belgium, France, and Australia. Al-Adnani released another
       speech in January 2015 lauding these attacks and encouraging more.32
       French authorities have indicated that Islamic State militants began
       organizing in Europe 11 months before the Paris attacks, suggesting
       that the attacks were authorized shortly after al-Adnani’s speech some-
       time around January 2015.33
             The Islamic State has long dedicated significant resources to train-
       ing foreign fighters for combat. If it decides to deploy more of these
       fighters against coalition countries to deflect battlefield losses in Iraq
       and Syria, for example, it could be a challenge for policymakers not to
       escalate their military commitment against the group, leading to a dif-
       ficult quandary: A significant foreign intervention could be the most
       militarily effective action against the group, but it could also further
       exacerbate the conflict by empowering the foreign-fighter ideology,
       mandating a defensive jihad against an external threat to the Muslim
       nation.

       Taking Advantage of Compensation Policies
       One of the biggest unknowns about the current structure of the Islamic
       State is how well it compensates its members. Numerous reports pub-
       lished in the months after the group conquered Mosul indicated sala-



       31 Abu Mohammad al-Adnani, “Indeed Your Lord Is Ever Watchful,” Al-Furqan Media
       Productions, September 22, 2014.
       32 Abu Mohammad al-Adnani, “Die in Your Rage!” Al-Furqan Media Productions, January
       2015.
       33 Andrew Higgins and Kimiko de Freytas-Tamuranov, “Paris Attacks Suspect Killed in
       Shootout Had Plotted Terror for 11 Months,” New York Times, November 19, 2015.




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       ries ranging from $400 to $1,000 per month.34 If true, this would be
       a dramatic break from the group’s previous practices. However, new
       evidence has arrived that suggests that, in actuality, as with other prac-
       tices, compensation practices have remained similar for more than a
       decade.
             In an interview with the BBC in 2015, a captured senior member
       said that of the group’s 50,000 core fighters, an “Iraqi fighter would be
       paid $65 [a month]. If married an additional $43 [and] for each child
       $22.” A foreign fighter would not receive a wage, but would be “given
       food and housing, not money.”35 Further evidence has appeared sug-
       gesting that the Islamic State has been paying fighters “$50 a month,
       with an additional $50 for each wife, $35 for each child, $50 for each
       sex slave, $35 for each child of a sex slave, $50 for each dependent
       parent, and $35 each for other dependents.”36 These sums are in line
       with what fighters received in Anbar in 2005 to 2006 and Mosul in
       2008, perhaps adjusting for inflation. There are other constants. Just as
       a fighter in Anbar governorate in 2005 to 2006 was to receive between
       $500 and $1,000 upon getting married,37 indications are that fighters
       getting married in 2015 receive $500 to $1,500.38 Again, this is close
       to previous practice.
             Even with a flat salary structure, there was some uncertainty in our
       documents as to whether fighters were receiving additional amounts as
       rewards for performance. The prevailing pattern is that, for most fight-


       34 “Islamic State Group Sets Out First Budget, Worth $2bn,” Al-Araby al-Jadeed, January 4,
       2015; Sarah Birke, “How ISIS Rules,” The New York Review of Books, December 9, 2014;
       Yaroslav Trofimov, “In Islamic State Stronghold of Raqqa, Foreign Fighters Dominate,” Wall
       Street Journal, February 4, 2015; “ISIS Pays Foreign Fighters $1,000 a Month: Jordan King,”
       NBC News, September 22, 2014.
       35 Heather Saul, “Senior ISIS Leader Gives Televised Interview Revealing Exactly How
       Group Amassed Its Fortune,” Independent, April 22, 2015.
       36 Aymenn al-Tamimi, “A Caliphate Under Strain: The Documentary Evidence,” CTC Sen-
       tinel, Vol. 9, No. 4, April 2016, p. 3.
       37 Harmony document MNFA-2007-000566; see “ISIL, Syria and Iraq Resources,” 2015.

       38 Sarah El Deeb, “For an IS Fighter, a Paid Honeymoon in the Caliphate’s Heart,” Associ-
       ated Press, May 26, 2015.




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       ers, individual salaries were, and likely still are, very low and are not
       adjusted for performance or risk.
             This suggests that many fighters are not necessarily living well
       and that the group is largely able to maintain morale through appeals
       to ideology, through victories, and through intimidation. Conflicting
       reporting on the salaries paid by the Islamic State to its members means
       that we cannot disconfirm the possibility that, after its resurgence, the
       Islamic State adopted a substantial policy change on compensation. If
       we are right, however, this fact also suggests that causing a cutoff of
       salaries could harm morale within, and support for, the Islamic State
       for a failure to deliver on promises made to recruits. This could be
       even more damaging if combined with evidence that some leaders were
       embezzling money that could have been used to deliver on promises to
       support families of Islamic State members who were killed or detained
       and unable to receive support directly from the group.
             Analysis of multiple sets of ISI master financial ledgers reveals
       that ISI did miss or delay salary payments to its members, usually
       during periods of aggressive and multifaceted operations to degrade
       the group’s senior and midlevel leadership and to push the group out of
       territories where it had previously enjoyed strong control.

       Countering Finances
       Today, as it did from 2005 to 2010, the Islamic State raises money
       through what can be largely characterized as criminal activities.39 These
       include oil sales and smuggling, sales of stolen goods, extortion, taxa-
       tion, sales of looted antiquities, kidnapping for ransom, and even, for a
       time, taking a cut of the money Iraq sends to its employees in Islamic
       State territory.40 Donations, as before, appear to constitute only a small
       portion of revenues. And that is the key point: What has characterized
       the group throughout its history and what appears to characterize the

       39 Shatz, 2014a.

       40 Financial Action Task Force, “Financing of the Terrorist Organisation Islamic State of
       Iraq and the Levant (ISIL),” February 2015. Iraq is reported to have cut off salary payments
       as of summer 2015, although this might have been only for Ninewa governorate, and not for
       Anbar governorate (Mirren Gidda, “ISIS Is Facing a Cash Crunch in the Caliphate,” News-
       week, September 23, 2015).




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       group today is that it places a premium on local fundraising because
       that gives it maximum control. Fundraising also allows the group to
       look more like a state. Its taxation activities, including road tolls and
       export and import taxes, resemble what any state might do.
              This means that control of territory will play an important role
       for the coalition, as will working with local and regional partners to
       develop better financial intelligence on the Islamic State. Short of ter-
       ritorial control—and even with territorial control—local fundraising
       means that halting financial flows will remain a challenge. But there
       are steps the coalition can take.41
              Oil sales have been dealt a blow by the coalition’s destruction of
       oil infrastructure and the recapture of some oil fields, but it still brings
       in considerable revenue. In addition, the Islamic State controls other
       resources, including gas fields and, as of May 2015, two Syrian phos-
       phate mines.42
              We note that the Islamic State might not be capitalizing directly
       from all the resources it owns. Even if it is not selling them, control of
       resources allows it to cut off funds that its enemies might have earned,
       primarily the legitimate government in Iraq or the Assad regime in
       Syria. Furthermore, control of resources allows the Islamic State to
       punish its enemies. In June 2015, an Islamic State embargo of fuel to
       rebel-held areas of Syria caused severe fuel shortages, harming hospi-
       tals, stopping ambulances from operating, and closing bakeries.43 Even
       if the coalition cannot return resource flows and revenues to where
       they are most needed or to their rightful owners, there is still great
       value in stopping their use for revenue raising by the Islamic State.
              Moving resources, such as oil, refined oil products, phosphates,
       and even antiquities, requires intermediaries and transport. To broaden


       41 Patrick B. Johnston, “Countering ISIL’s Financing,” testimony before the Committee on
       Financial Services, U.S. House of Representatives, Santa Monica, Calif.: RAND Corpora-
       tion, CT-419, 2014.
       42 Ruth Sherlock, “ISIL Seizes Syrian Regime’s Lucrative Phosphate Mines,” Telegraph,
       May 27, 2015.
       43 Ben Hubbard, “ISIS-Imposed Fuel Embargo Threatens Syria’s Medical Centers,” New
       York Times, June 18, 2015b.




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       the fight against the Islamic State’s revenues, the coalition will need
       to identify the intermediaries and end purchasers and either target
       them or sanction them and their financial institutions. It is unlikely
       that the Islamic State is using formal financial institutions. Therefore,
       greater efforts against informal financial institutions and other means
       of transferring cash may need to be taken.44 But somewhere along the
       sales chain, a formal financial institution may be involved. Sanctioning
       an intermediary would mean blocking access to the formal financial
       system and requiring formal financial institutions not to deal with this
       intermediary. Sanctioning a formal financial institution will cut that
       institution off from the international financial system. Such sanctions
       have been effective in the past, and in this case, a wider net should be
       cast.
             As for transport, oil, in particular, must move by trucks from
       Islamic State territory. These trucks will load at an oil field and, for
       larger trucks, will take specific roads. Given the amount of money the
       Islamic State is reportedly raising from oil sales, the coalition should
       elevate efforts to interdict oil transport. This could involve destroying
       loading points, destroying road entrances to oil fields or loading points,
       destroying the trucks themselves, or sending a very strong signal,
       backed with action, that driving an oil truck would be an extraordi-
       narily risky occupation.
             Finally, it might be the case that politicians or government offi-
       cials, even of the anti–Islamic State coalition, are complicit in the
       oil trade. Any oil truck leaving the Islamic State territory must pass
       through checkpoints or border crossings and should be noticed or
       recorded. Further investigation into how such trucks are able to get
       through checkpoints is merited, and official complicity in this should
       be addressed.
             There may be little that the coalition can do regarding other
       Islamic State funding sources, and stopping such sources could actually
       be counterproductive. For example, the fact that the group had been
       siphoning potentially hundreds of millions of dollars per year from the

       44 Patrick B. Johnston and Benjamin Bahney, “Opinion: Hit the Islamic State’s Pocket-
       book,” Newsday, October 5, 2014c.




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       salaries that the Iraqi government was paying its idled employees in
       Islamic State territory put the government in a bind. It could end pay-
       ments to employees, effectively cutting off money to the Islamic State.
       But not only would that create a humanitarian problem, it would give
       the Islamic State a propaganda victory. The group could tell the largely
       Sunni recipients that the largely Shia government in Baghdad is aban-
       doning them and that the Islamic State is their only protection. Or the
       Iraqi government could continue the payments and thereby fund the
       Islamic State’s war effort.45 In fact, the salary cutoff in Ninewa gover-
       norate has caused hardship.46 Likewise, short of conquering territory
       that the Islamic State now holds, halting the group’s taxation schemes
       will be difficult.

       Politics and Patience
       Local and regional military forces are now taking the fight directly to
       the Islamic State. But these forces certainly will need to be more effec-
       tive to defeat the group, suggesting a strong role for a U.S. or allied
       advise-and-assist mission and for the provision of intelligence sup-
       port.47 Even with that help, there is some question as to whether the
       forces will ever be effective enough. As a result, there have been some
       calls for the commitment of U.S. ground troops.48 Even if the effective-
       ness of local troops is increased, military action is necessary but not
       sufficient to defeat and destroy the Islamic State.
             Any successful effort to destroy the group will involve political
       accommodation in which Sunni communities feel that they have a
       future in both Iraq and Syria. The Islamic State draws support, or at
       least grudging acceptance, from aggrieved Sunnis in both countries.
       In some ways, the Islamic State is testing the limits to which any gov-

       45 Howard J. Shatz, “Iraq Is Bankrolling ISIL,” Politico Magazine, May 24, 2015.

       46 Isabel Coles, “Despair, Hardship as Iraq Cuts Off Wages in Islamic State Cities,” Reuters,
       October 2, 2015.
       47 Patrick Johnston and Benjamin Bahney, “Obama’s Iraq Dilemma,” U.S. News and World
       Report, June 17, 2014a.
       48 David E. Johnson, “Fighting the ‘Islamic State’: The Case for U.S. Ground Forces,” spe-
       cial commentary, Parameters, Vol. 45, No. 1, Spring 2015.




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       ernment can rule without some degree of popular support. Discontent
       and rebellion have been met with extreme brutality, such as when the
       Islamic State massacred about 600 members of the Albu Nimr tribe
       in Anbar governorate, Iraq, in October 2014.49 But this resistance has
       continued in a variety of forms, including a clandestine assassination
       campaign against Islamic State personnel in Mosul in the summer of
       2015.50 Although it will be difficult to find fissures inside the group,
       capitalizing on any that do exist will be essential in any effort to defeat
       the Islamic State and to ensure that the group does not reemerge as it
       did in 2013 and 2014.51 Although there is little chance that the Sunnis
       in Iraq, in particular, can ever return to the political dominance they
       enjoyed until the U.S.-led coalition invasion of 2003, some measure of
       political accommodation will be necessary to turn the Sunnis against
       the Islamic State.
             Defeating the Islamic State will also require persistence. One of
       the as yet unanswered questions is the staying power of the Islamic
       State. A related question is whether it is financially sustainable under
       current battle conditions. So far, the group has given every indication
       that it is: Just one year after declaring the caliphate, it had more fighters
       and more territory and remained well financed; although it has lost ter-
       ritory since then, it may well have enough money to sustain its opera-
       tions for years. Despite this, the record of counter-ISI operations from
       2006 through 2010 shows that military action and political accom-
       modation can work together to degrade the group, if not defeat it. Yet
       such gains can be extremely fragile and may require a longer-term com-
       mitment if they are to be sustained; this can be accomplished through
       investments that minimize the risk of a catastrophic reversal, such as
       that of the Islamic State of Iraq evolving into the Islamic State. It is
       incumbent on host-nation and regional leaders—with international
       help, if necessary—to ensure that long-term commitment.

       49 Alice Fordham, “Despite a Massacre by ISIS, an Iraqi Tribe Vows to Fight Back,” Morning
       Edition, NPR, November 20, 2014.
       50 “Mosul Insurgents Challenge Islamic State Occupiers,” Iraq Oil Report, July 22, 2015.

       51 Benjamin Bahney and Patrick Johnston, “Who Runs the Islamic State Group?” U.S.
       News and World Report, May 22, 2015.




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       APPENDIX A

       Captured Documents: Description, Methodology,
       and Analysis




       This report is built around an analysis of more than 140 captured doc-
       uments. Analyzing captured documents entails a number of method-
       ological challenges. First, there are the sampling challenges involved in
       using the U.S. Department of Defense’s Harmony database, the source
       of our documents. Second, there are the interpretive challenges that
       accompany any original source material. This appendix discusses each
       in turn. This discussion will help provide greater context for our find-
       ings and any uncertainties regarding them, and can serve as the basis
       for improving document exploitation methodology in the future.


       Sampling Challenges

       All of our source documents were drawn from the Harmony database.
       The database contains more than 1 million documents captured by
       U.S. and allied forces during operations in Afghanistan, Iraq, and else-
       where. Roughly a quarter of these documents have been fully trans-
       lated, and all are accompanied by metadata of varying quality, cover-
       ing the circumstances of capture and nature of the documents. The
       documents run the gamut from strategic policy studies, to accounting
       reports, to membership lists, to technical training manuals, to draft
       ideological screeds, to letters between family members.
             Using the Harmony data to develop a broad understanding of
       ISI’s finances and managerial practices poses two different sampling



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       challenges. The first challenge is inherent to the database. Documents
       do not enter the database through a random sampling process. Rather,
       the documents in the larger database represent those documents whose
       custodians were either unlucky (e.g., they were arrested at a checkpoint
       or had their houses raided while in possession of key documents) or
       insufficiently careful (e.g., they buried USB drives, holding key docu-
       ments, along with explosives that were found by an explosive ordnance
       disposal team). The documents in Harmony regarding ISI therefore
       might not be representative of all ISI documents produced in Iraq.
             The second challenge is sampling the Harmony database in a sys-
       tematic manner. One method we tried was to search via keyword in the
       metadata, but, unfortunately, the metadata accompanying the docu-
       ments are not consistent or complete in terms of group designations,
       the level of detail provided in various fields, or the classification of
       documents by subject. We therefore searched the database for financial
       documents using snowball sampling on search terms found in particu-
       larly informative documents. Given this process, the documents we
       analyze do not represent a random sample of all ISI documents cap-
       tured in Iraq from 2005 to 2010, much less a random sample of all ISI
       managerial documents produced during this period.
             As with most archival research, the team tried to ensure that the
       documents used were representative of the broader data. Although we
       found it impossible to follow a formal sampling approach, the team,
       collectively, has significant experience and expertise working with the
       Harmony database and researching the conflicts in Iraq and ISI, and
       therefore has substantial expertise from which to judge the representa-
       tiveness of the documents we used. Skeptical readers might adjust their
       confidence in our findings accordingly.


       Interpretive Challenges

       In addition to sampling challenges, analyzing these documents presents
       a number of interpretive challenges. The first is that the translations of
       many of the Harmony documents were done quickly, in settings where
       getting information out rapidly for intelligence and operational pur-




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       poses took priority over complete accuracy. Wherever possible, we have
       tried to verify translations and ensure that mistranslations of subtle
       nuances do not drive our interpretation of documents. The translation
       issue should not be too concerning, however, because we focus almost
       entirely on the substantive content of the documents and on quantita-
       tive data developed from them.
             The second interpretive challenge is that many of the documents
       do not include clear indications of the time and place they refer to or
       the context in which they were produced. This is particularly true for
       handwritten ledgers found at the small-unit level. The vast majority
       of the documents can be classified to the governorate and year level
       of aggregation, but classification below that level is often impossible.
       For many of the correspondence documents, full context is hard to
       parse. We often see one side of a conversation that is carried out with
       shorthand references to past events and have to infer the meaning from
       context and other declassified documents, such as the ones available
       through the CTC’s Harmony Program.1
             The third interpretive challenge is that the source documents
       often have errors. Salary fields, for example, are inconsistently entered
       by different ISI subunits. Sometimes ISI administrators broke down
       payments into salaries and reimbursables, and sometimes they failed
       to do so. Handwritten documents often contained illegible portions,
       and transcription errors are common in the source documents (adding
       extra zeros and the like). These kinds of errors are understandable. Pre-
       sumably, few people joined ISI because of their penchant for impecca-
       ble paperwork. However, the errors at least partly obscure the relation-
       ship between what is recorded in the documents and what happened
       on the ground.
             The fourth and final interpretive challenge is that the authors of
       the source documents often sought to obscure their activities, from
       adversaries, and sometimes from their own superiors. For the former,
       authors employed code words and ambiguous terms to refer to vari-
       ous activities. For the latter, we see the reporting net of the group’s

       1 These documents from the Harmony Program are available on the CTC’s website (see
       www.ctc.usma.edu/programs-resources/harmony-program).




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       internal agency problems. For example, when a unit leader reported
       that a given fighter has six children, we cannot be certain whether
       that fighter actually had six children or whether he had fewer, allowing
       the unit leader a possible opportunity to pocket the extra allowances.
       The administrative emirs responsible for reporting such information
       could not always sort out such problems without further investigation,
       and there is some evidence that unit commanders took advantage of
       opportunities to exploit these principal-agent dilemmas. There is thus
       an unknown amount of measurement error in the documented data
       when it comes to such things as family structure, which may be corre-
       lated with unobserved factors—for example, how well an administra-
       tor knows the units operating in his territory.
             Despite these challenges, the U.S. Department of Defense’s Har-
       mony data are a uniquely rich source of information on ISI and simi-
       lar groups. Ours is the most extensive and transparent effort yet to
       use these data to understand the finances and management of ISI. We
       hope that other scholars will build on the rich data we analyze through
       their own work with the source documents.


       Documents and Data Sources

       The data for this report were developed through a unique collaboration
       between the CTC (at West Point), the ESOC Project at Princeton, and
       the RAND Corporation. A team at RAND searched the Department
       of Defense’s Harmony database for financial and organizational docu-
       ments, as well as for militant correspondence and memorandums that
       provided context for the financial and organizational documents. The
       RAND team passed the documents it identified to the CTC, which
       worked with U.S. Special Operations Command to declassify them.
       Various data were then generated from the documents by the ESOC
       and RAND teams, including geospatial boundaries for ISI units and
       transaction-level records of salaries.




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       Declassified Documents by Group, Topic, Year, and Governorate
       A total of 158 documents were declassified for use in the present study.
       We focus on the 143 documents pertaining to ISI (Table A.1 and Fig-
       ures A.1, A.2, and A.3). In addition to variation across time and space,
       the documents varied significantly in density. On average, each docu-
       ment contained 12 pages. Some were as short as one page, and one
       contained 468 pages.

       Violent Incident Data
       Our data on the intensity of conflict come from incident-level infor-
       mation on 193,264 SIGACT reports by coalition forces. These reports
       capture a wide variety of information about “executed enemy attacks
       targeted against coalition, ISF, civilians, Iraqi infrastructure and gov-
       ernment organizations” occurring between February 4, 2004, and Feb-
       ruary 24, 2009.2 Unclassified data drawn from the MNF-I SIGACTS
                  Table A.1
                  Number of Declassified Documents, by Group

                  Group                                                Documents

                  ISI                                                      143

                  Badr Corps                                                  2

                  Jaish al-Mahdi                                             10

                  Jaish Rijal al-Tariqa al-Naqshbandiya                       3

                  Total                                                    158

                  NOTES: ISI is the Sunni group we analyze in this document. The
                  Badr Corps is a Shia group associated with the Islamic Supreme
                  Council of Iraq (formerly the Supreme Council for Islamic
                  Revolution in Iraq), a political party. Jaish al-Mahdi is a Shia
                  group associated with political leader Muqtada al-Sadr. And
                  Jaish Rijal al-Tariqa al-Naqshbandiya is a Sunni group at least
                  loosely associated with the Naqshbandi Sufi order.

       2  U.S. Department of Defense, Measuring Stability and Security in Iraq, Report to Congress
       in Accordance with the Department of Defense Appropriations Act 2008 (Section 9010,
       Public Law 109-289), Washington, D.C., June 2008. See also U.S. Government Account-
       ability Office, Military Operations: The Department of Defense’s Use of Solatia and Condolence
       Payments in Iraq and Afghanistan, Report to Congressional Requesters, Washington, D.C.,
       GAO-07-699, May 2007.




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       Figure A.1
       Number of Declassified Documents, by Year

                               70

                               60
       Number of documents




                               50

                               40

                               30

                               20

                               10

                                0
                                        2005          2006         2007    2008   2009   2010
        NOTES: Each bar represents the total number of documents that were specifically
        dated during the year shown on the x-axis. For a number of documents, we can infer
        the year in which they were produced from context—for example, by names of unit
        commanders, signature blocks, and other references embedded in the documents.
        In addition, year refers to the year of the date listed on a given document or our
        best estimate of the year in which it was produced. Year does not refer to the year
        the document was declassified.
        RAND RR1192-A.1




       III Database were provided to the ESOC project in 2008 and 2009.3
       These data provide the location, date, time, and type of attack incidents
       but do not include any information pertaining to the coalition units
       involved, coalition casualties, or battle damage incurred. We filtered
       the data to remove the attacks we identified as being directed at civil-
       ians or other insurgent groups, leaving us with a sample of 168,730
       attack incidents.4 Depending on level of analysis, we aggregated these


       3                     Empirical Studies of Conflict Project, n.d.
       4  We filter the attack data to focus on combat incidents, because they are systematically
       reported. Records of other kinds of violence suffer from various unknown reporting biases—
       for example, coalition forces would be more likely to produce SIGACT reports of militant
       attacks on civilians near major transit routes than in sparsely populated parts of Iraq, where
       the coalition had a smaller presence. In contrast, coalition forces were far more likely to




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       Figure A.2
       Number of Declassified Documents, by Subject

                              60

                              50
       Number of documents




                              40


                              30


                              20


                              10


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        NOTES: Each bar represents the number of the 158 declassified documents
        categorized according to the topics on the x-axis.
        RAND RR1192-A.2



       events yearly at the level of the governorate and the ISI-designated geo-
       graphic unit.
             It is useful to normalize measures of conflict by population den-
       sity in some circumstances. We estimated the population of different
       areas using the fine-grained population data from LandScan, aggre-
       gated to the governorate or ISI unit level.5


       Constructed Data Sources

       Drawing on the captured documents, we created data files on salary
       payments, personnel, and unit boundaries.

       report significant activities in the areas in which they operated. We thank Lee Ewing for his
       suggestion to filter the SIGACT data to account for such reporting discrepancies.
       5                     Oak Ridge National Laboratory, “LandScan,” web page, undated.




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       Figure A.3
       Number of Documents, by Governorate


                             50
                             45
                             40
       Number of documents




                             35
                             30
                             25
                             20
                             15
                             10
                             5
                             0
                                  Anbar   Baghdad Basrah        Diyala   Kirkuk   Maysan Ninewa   Salah
                                                                                                  al-Din
        NOTE: Bars represent the total number of documents attributed to insurgent units
        located in the governorates shown on the x-axis.
        RAND RR1192-A.3



       Salaries and Personnel
       Salary data were compiled from numerous ISI documents that con-
       tained membership lists and information on each member’s ISI unit,
       status (active versus killed or detained), marital status, number of chil-
       dren or overall dependents, and monthly salary and rent. These files
       limited the need for ISI to keep both payroll files of benefits to its
       members and a separate membership census, particularly when the
       group began to standardize its use of an assigned number that would
       uniquely identify each member. An example of information from such
       a document is shown in Figure A.4. We discuss these salary data exten-
       sively in Chapter Six, in which we examine the economics of ISI com-
       pensation practices.
             In some documents, additional information on individual mem-
       bers was given. At times, this information was detailed. Some doc-
       uments contain full-paragraph descriptions of certain militants who
       were joining or had joined the group. This level of documentation on
       certain members was made independent of the payroll lists, sometimes




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Figure A.4
Example of Salary Data for ISI Personnel


       Number           Alias            Marital Status   Number of Wives   Number of Children   Number of Dependents   Support   Rent       Comments           Residence
  1     1003      Abu-Hudhayfah Na'im      Married              1                   3                                     175     100
  2     1005      Abu-Nabil al-Suwaydi     Married              1                   8                                     300                                  Outside Mosul




                                                                                                                                                                               Captured Documents: Description, Methodology, and Analysis
  39     1065         Doctor Khalaf         Married              1                  5                                     225     250    Receives from Mosul
  40     1068         Abu-Da'wah            Single                                  5                                     200                                  Outside Mosul
  41     1069          Umm-Anas             Married              1                  6                                     250
  42     1073       'Ali Abu-Ibrahim        Married              1                  4                                     200     125     Does not have rent
  43     1075          Abu-Karam            Married              1                  5                                     225     125     Does not have rent

  55     1093            Basir              Married              1                  8                                     300     300
  56     1094             'Ali              Married              1                  2                                     150     300
  57     1095           'Abbud              Married              1                  2                                     150
  58     1096            Lu'ay              Married              1                  2                                     150     250                          Outside Mosul
  59     1097            Maher              Single                                                                        75      300          Single

  72     1125     Abu-'Ammar Husam          Married              1                                                        100     125     Does not have rent
  73     1142      Family of Thamir         Married              1                  2                                     150                                  Outside Mosul
  74     1143       Family of 'Amir         Married              1                  3                                     175                                  Outside Mosul
  75     1101        Abu-'Amshah            Married              1                                                        100     150

  84     1131          Abu-Du'a'            Married              1                  4                                     200

  86     1135         Abu-Shahad            Married              1                  1                                    125      125     Does not have rent
  87     1136             Samir             Single                                  9                                    300      150
  88     1137          Abu-Layth            Married              1                  6                                    250      150
  89     1139          Abu-Yasin            Married              1                  2                                    150      150
  90     1140        Abu-Mukhallis          Married              1                  1                                    125      100
  91     1145       'Adil Abu-'Umar         Married              1                  1                                    125      230     Does not have rent

SOURCE: Derived from Harmony document NMEC-2009-633789; see “ISIL, Syria and Iraq Resources,” 2015.
NOTES: This document was discussed in Chapter Seven. The document was captured in February 2009 from a Ninewa administrative
emir named Ahmed Zayd and most likely contains information from August 2008 through January 2009, his tenure in that position.
It appears that the monthly salary (“Support”) formula for members at this time and place was 75,000 Iraqi dinars per member, plus
25,000 per wife and 25,000 per child. No members listed had any dependents recorded. According to an earlier document,
MNFA-2007-000566, dependents would have included parents, single sisters, and brothers under age 15. We assess as extremely
likely that the Abu-Du‘a appearing in line 84, number 1131, is Abu Bakr al-Baghdadi, the leader of the Islamic State.
RAND RR1192-A.4




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       in separate documents that read more like intelligence assessments of
       the backgrounds of key new recruits to the group or possibly existing
       al-Qa‘ida members traveling to Iraq to join and support the group.
       Figure A.5 provides an example of a document in tabular format that
       contains more-detailed information on 17 ISI members, who were per-
       haps key individuals in the organization or the members of a certain
       cell. As an example, only three militants from the table are shown.
       But the remaining entries in the table were made in similar format
       and levels of detail. We examine such documents and data in detail
       in Chapter Five, which focuses on ISI’s “human capital,” particularly
       among the foreign fighters on whom the group appears to have col-
       lected the most-detailed information, as well as a set of more than 80
       Iraqi ISI members on whom similar information was collected.

       Unit Boundaries
       Finally, we constructed a geospatial data set of ISI sectors, or district
       boundaries, based on a document seized in a raid on the compound of
       ISI senior leader Abu Qaswarah. The document contains a description
       of the boundaries delineating 31 ISI sectors. Within ISI, sectors were
       an administrative level beneath the governorate level. They reported up
       the administrative chain of command to ISI officials responsible for
       overseeing all ISI sector-level subsidiaries.
             Based on the document’s description of ISI sector boundaries, we
       consulted with numerous subject-matter experts to overlay ISI’s sector
       boundaries onto a standard shapefile map of Iraq, creating a spatial-
       polygon data set of ISI sectors. We then assigned other data on sector
       leadership and administration of ISI sectors to the spatial-polygon
       data set (referred to as a spatial polygon dataframe in R, the language
       in which we programmed the map), as well as other geospatial data
       of interest, including data from the MNF-I SIGACTS III database.
       We filtered the SIGACTS to a data set that included SIGACTS in
       2008—the year the ISI sector-boundary document was most likely
       generated—and we joined the georeferenced SIGACTS as points on
       the ISI sector map to assess the extent to which ISI conducted attacks
       across its declared sectors, both unconditionally and conditional on its
       leadership and administrative presence in these areas. These data are
       described at length in Chapter Four.


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Figure A.5
Example of Detailed Documentation of ISI Personnel

  No              Full name    Code        Alias          Date       Address       Passport          Skills       Guest house   Destination        Notes
   1              [Redacted]     \1    Abu-‘Abdallah   2004/04/07   [Redacted]     used with      Fighter from    Al-Himmah                   Strained left leg
                                                                                 authorization      Fallujah                                     muscle in
                               Tunis                                                                                                              Fallujah-
                                                                                                                                                  Pledged




                                                                                                                                                                  Captured Documents: Description, Methodology, and Analysis
                                                                                                                                                 allegiance
   2              [Redacted]     \2    Abu-Khattab     2004/11/05   [Redacted]   Abu-Mazin       Administration   Al-Himmah
                               Syria    al-Basuni                                                 experience -
                                                                                                 Training camp
                                                                                                    graduate
   3              [Redacted]     \3    Abu-‘Abdallah   2004/11/05   [Redacted]   Abu-Mazin          Turkish       Al-Himmah
                               Syria                                                               language-
                                                                                                 Training camp
                                                                                                    graduate

SOURCE: Harmony document NMEC-2007-633795; see “ISIL, Syria and Iraq Resources,” 2015.
RAND RR1192-A.5




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       APPENDIX B

       Research on Covert and Clandestine
       Organizations




       The literature drawing from primary data sources on individual and
       organizational changes in covert and clandestine organizations is lim-
       ited, in large part because source information is difficult to obtain. The
       literature that exists focuses largely on street gangs rather than insur-
       gent or terrorist organizations. Two studies have been able to track
       gang members over time to assess the economic and social fates of gang
       members in various ways.
             In the first study, an economist and a sociologist collected data on
       105 of 118 residents of one high-rise housing-project building in Chi-
       cago, retrospectively reconstructing in 2000 the economic and social
       histories of young men who spent their adolescence in the housing
       project during the early 1990s. The researchers carried out this recon-
       struction through the use of community contacts and self-reporting
       by many of the men who lived in the building, most of whom were
       then in their late twenties or early thirties. This approach enabled the
       researchers to study and compare the career paths of gang members
       and non–gang members from the building over nearly a decade. The
       researchers found in their follow-up survey that one-quarter of those in
       their sample were not employed in the legitimate sector and that those
       who reported income brought in 20 percent from illegal sources. They
       also found that the returns to education were quite large in the legiti-




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       mate sector. Physical strength was an important determinant of illegal
       income.1
             A separate study focuses on the selection of youth into Brazil-
       ian favela (lower-income neighborhoods, or slums) drug-selling gangs,
       the occupational structure of favelas, and the typical “careers” of their
       members.2 The researchers show, from a sample of Brazilian gang mem-
       bers surveyed in 2004, that gang members earned on average $300 per
       month, or about 23 percent more than other youth from the favelas,
       and typically worked more than ten hours a day. There were large risks
       associated with these jobs: More than half of those interviewed had
       participated in armed confrontations with rival gangs, and roughly
       two-thirds had participated in gunfights with the police. At the end of
       the two-year study period, 20 percent of the initial sample had died.
       Job characteristics varied according to occupation within the gang.
       For example, the risks were even larger for more-elite members in the
       drug-trafficking hierarchy. Members at the top of this hierarchy earned
       90 percent more than members in entry-level occupations. They were,
       however, also 10 percentage points more likely to die within two years.3
             No extant study drawing on primary sources has spanned the
       breadth and depth of a clandestine militant organization to the same
       extent as this one. This study should serve as a useful point of departure
       for further studies of ISI in its current incarnation as the Islamic State,
       or of other militant organizations.

       1  Steven D. Levitt and Sudhir Alladi Venkatesh, “Growing Up in the Projects: The Eco-
       nomic Lives of a Cohort of Men Who Came of Age in Chicago Public Housing,” American
       Economic Review, Vol. 91, No. 2, May 2001.
       2  Leandro Carvalho and Rodrigo Reis Soares, Living on the Edge: Youth Entry, Career and
       Exit in Drug-Selling Gangs, Discussion Paper Series, Bonn: Institute for the Study of Labor,
       January 2013.
       3   Carvalho and Soares, 2013, pp. 2–3.




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       APPENDIX C

       Compensation Documents List




       Chapter Six explores the compensation patterns of ISI members, draw-
       ing data on 9,271 payments from 87 documents. Table C.1 provides
       the complete list of source documents.

       Table C.1
       Number of Salary Payments, by Document

       Document Number                   Payments           Governorate

       NMEC-2008-614685                      1,327            Ninewa

       NMEC-2008-614687                      1,070            Ninewa

       MNFV-2007-000322                       590             Diyala

       NMEC-2009-633789                       504             Ninewa

       NMEC-2008-614561                       480             Ninewa

       NMEC-2008-617456                       466             Anbar

       MNFV-2007-000378                       368             Anbar

       JDECB-2008-002857                      360           Salah al-Din

       NMEC-2007-633679                       345             Anbar

       NMEC-2008-614563                       332             Anbar

       NMEC-2008-614447                       316             Anbar

       MNFA-2007-000562                       275             Anbar

       MNFV-2007-000331                       238             Diyala

       MNFV-2007-000379                       235             Diyala




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       Table C.1—Continued

       Document Number                          Payments   Governorate

       MNFV-2007-000325                            152       Diyala

       MNFV-2007-000327                            152       Diyala

       MNFV-2007-000326                            133       Diyala

       NMEC-2008-614562                            118       Anbar

       MNFV-2007-000373                             98       Diyala

       MNFV-2007-000328                             97       Diyala

       NMEC-2007-632101                             83       Anbar

       NMEC-2007-631819                             75       Anbar

       NMEC-2007-000326                             71       Anbar

       MNFV-2007-000330                             67       Diyala

       MNFF-2008-002536                             66       Anbar

       NMEC-2007-631687                             62       Anbar

       MNFV-2007-000323                             61       Diyala

       INFZ-2006-00012                              59     Salah al-Din

       MNFV-2007-000332                             56       Diyala

       MNFV-2007-000333                             55       Diyala

       MNFT-2007-005311                             52     Salah al-Din

       MNFT-2007-005312                             48     Salah al-Din

       NMEC-2007-631494                             48       Anbar

       NMEC-2007-658070                             39       Ninewa

       NMEC-2008-614650                             37       Ninewa

       NMEC-2007-631954                             34       Anbar

       NMEC-2007-632448                             33       Anbar

       NMEC-2007-657683                             32       Ninewa

       NMEC-2007-657775                             32       Ninewa

       NMEC-2007-657850                             32       Ninewa




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       Table C.1—Continued

       Document Number            Payments            Governorate

       NMEC-2007-657921               32                Ninewa

       NMEC-2007-657927               32                Ninewa

       NMEC-2008-614338               32                 Anbar

       NMEC-2007-631750               31                 Anbar

       MNFF-2008-002537               30                 Anbar

       MNFV-2007-000344               28                 Diyala

       NMEC-2008-614625               27              Salah al-Din

       NMEC-2008-614405               24                 Anbar

       NMEC-2008-614422               24                 Anbar

       NMEC-2007-632520               22                 Anbar

       NMEC-2007-633559               21                 Anbar

       MNFV-2007-000364               20                 Diyala

       MNFV-2007-000484               20                 Diyala

       MNFV-2007-000413               18                 Diyala

       MNFV-2007-000336               16                 Diyala

       NMEC-2008-614354               14                 Anbar

       MNFV-2007-000324               13                 Diyala

       MNFV-2007-000397               13                 Diyala

       MNFV-2007-000414               13                 Diyala

       MNFV-2007-000485               13                 Diyala

       MNFV-2007-000478               12                 Diyala

       MNFV-2007-000376               11                 Diyala

       NMEC-2008-614545               11                 Anbar

       MNFV-2007-000370               10                 Diyala

       MNFV-2007-000438               10                 Diyala

       NMEC-2008-614368               10                 Anbar




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       Table C.1—Continued

       Document Number                          Payments   Governorate

       MNFV-2007-000418                              6       Diyala

       MNFV-2007-000435                              6       Diyala

       MNFV-2007-000389                              5       Diyala

       MNFV-2007-000424                              5       Diyala

       MNFV-2007-000433                              5       Diyala

       MNFV-2007-000481                              5       Diyala

       MNFV-2007-000402                              4       Diyala

       MNFV-2007-000428                              4       Diyala

       MNFV-2007-000468                              4       Diyala

       NMEC-2007-631571                              4       Anbar

       MNFV-2007-000430                              3       Diyala

       MNFV-2007-000459                              3       Diyala

       MNFV-2007-000383                              2       Diyala

       MNFV-2007-000422                              2       Diyala

       MNFV-2007-000429                              2       Diyala

       MNFV-2007-000461                              1       Diyala

       MNFV-2007-000462                              1       Diyala

       MNFV-2007-000463                              1       Diyala

       MNFV-2007-000464                              1       Diyala

       MNFV-2007-000465                              1       Diyala

       MNFV-2007-000466                              1       Diyala




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       Abbreviations




           AQI           al-Qa‘ida in Iraq
           CTC           Combating Terrorism Center
           ESOC          Empirical Studies of Conflict
           IED           improvised explosive device
           IRA           Irish Republican Army
           ISF           Iraqi security forces
           ISI           Islamic State of Iraq
           ISIL          Islamic State in Iraq and the Levant
           ISIS          Islamic State in Iraq and al-Sham
           MNF-I         Multi-National Force–Iraq
           MSC           Mujahidin Shura Council
           SIGACT        significant activity
           SOI           Sons of Iraq




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       This report draws from more than 140 recently declassiﬁed documents to
       present a comprehensive examination of the organization, territorial designs,
       management, personnel policies, and ﬁnances of the Islamic State of Iraq (ISI)
       and al-Qa‘ida in Iraq (AQI), both predecessors of the Islamic State. These
       records paint a clear picture of ISI practices and standard operating procedures.
       Leadership consciously designed the organization not just to ﬁght but also to build
       an Islamic state governed by the laws dictated by its strict Islamist ideology.

       An analysis of the Islamic State predecessor groups is more than a historical
       recounting. The lessons from examining the group’s history are useful for setting
       expectations about the strengths and vulnerabilities of the Islamic State and its
       ability to combat its opponents, designing a coordinated and effective campaign
       against it, and understanding why it might be able to survive such an effort and
       sustain itself in the future, albeit perhaps at a lower level of threat. Defeating the
       Islamic State will require persistence. The record of counter-ISI operations from
       2006 through 2010 shows that military action and political accommodation can
       work together to degrade the group substantially, if not defeat it.




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